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   Buyer First Name         Buyer Last Name          Gift Card Amount
   Aruna                    Krishnamachari                      $350.00
   Vanessa                  Krishnamachari                       $50.00
   Valerie J                Kristof                             $250.00
   Joseph                   Krivanek                            $200.00
   Sharon                   Kroeber                             $100.00
   Janelle                  Kroenung                            $120.00
   Simon                    Krokhmal                             $50.00
   Elise                    Kroll                               $200.00
   Cindy                    Kron                                $250.00
   Jennifer                 Krone                               $100.00
   Sharifa                  Krongold                             $25.00
   Cassandra                Kroskrity                           $100.00
   Ally                     Krueger                             $100.00
   Dani                     Krueger                              $50.00
   Jordan                   Krueger                              $50.00
   Kevin                    Krueger                              $50.00
   Guy                      Krug                                 $50.00
   Wendi                    Kruger                               $50.00
   Michael                  Krumboltz                            $42.50
   Whitney                  Kruse                                $50.00
   Sarah                    Kruttschnitt                        $200.00
   Diana                    Kruze                                $75.00
   Diana                    Kruze                               $100.00
   Kevin C                  Krycka                              $250.00
   Althea                   Ku                                   $25.00
   Grace                    Ku                                  $250.00
   Joy                      Ku                                   $50.00
   Mary                     Ku                                  $100.00
   Sarah                    Ku                                  $100.00
   Eric                     Kubat                                $42.50
   Nathan                   Kugland                             $800.00
   Francesca                Kuglen                              $100.00
   Francesca                Kuglen                              $100.00
   Francesca                Kuglen                              $150.00
   Karen                    Kuhar                               $250.00
   Brooke                   Kuhn                                 $50.00
   Brooke                   Kuhn                                 $50.00
   Tom                      Kuhn                                 $50.00
   Michele                  Kuhns                               $100.00
   Luke                     Kuipers                              $50.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Luke                      Kuipers                          $100.00
   Ayse                      Kulahci                           $50.00
   Natasha                   Kulik                            $250.00
   Natasha                   Kulik                            $250.00
   Ryan                      Kullberg                         $150.00
   Kimberly                  Kumabe                           $100.00
   Kristine                  Kumangai                          $30.00
   Anjali                    Kumar                            $250.00
   Diane                     Kumar                             $50.00
   Jane                      Kumar                            $100.00
   Jessica                   Kumar                            $150.00
   Megan                     Kumar                             $40.00
   Pragati                   Kumar                            $250.00
   Vineet                    Kumar                            $212.50
   Chiemi                    Kumiji                            $40.00
   Chiemi                    Kumiji                            $40.00
   Rebecca                   Kunder                            $50.00
   Anjana                    Kundu                            $100.00
   Kenneth                   Kunec                            $250.00
   Vakil                     Kuner                             $25.00
   Kirsten                   Kunkel                            $75.00
   Samuel                    Kuntz                             $50.00
   John                      Kunze                            $300.00
   Kristin                   Kunzelman                         $50.00
   Cara                      Kuo                               $50.00
   Evelyn                    Kuo                              $127.50
   Lisa                      Kuo                               $42.50
   Shirley                   Kuo                              $100.00
   Tim                       Kuper                            $100.00
   Lindsay                   Kupeski                           $50.00
   Lisa                      Kurano                            $85.00
   Renee                     Kurdzos                           $50.00
   Annie                     Kure                              $50.00
   Daniel                    Kuriyama                          $42.50
   Leslie                    Kurkjian                         $100.00
   Meghen                    Kurtzig                          $100.00
   Ruth                      Kurz                              $40.00
   Laurina                   Kusell                           $100.00
   Eric                      Kushins                          $200.00
   Shelli                    Kushins                          $150.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Stephanie                 Kusinski                         $100.00
   Jason                     Kuzia                             $50.00
   Liz                       Kuznia                            $50.00
   Liz                       Kvaavik                           $50.00
   Kathy                     Kvale                             $40.00
   Dara                      Kvamme                            $50.00
   Alina                     Kwak                              $42.50
   Alina                     Kwak                             $100.00
   Daniel                    Kwak                              $60.00
   Lj                        Kwak                             $100.00
   Rosa                      Kwak                              $50.00
   Rosa                      Kwak                              $50.00
   Rosa                      Kwak                             $100.00
   Amy                       Kwan                             $250.00
   Helen                     Kwan                              $50.00
   Marilyn                   Kwan                              $85.00
   Terence                   Kwan                              $10.00
   Terence                   Kwan                              $10.00
   Terence                   Kwan                              $10.00
   Terence                   Kwan                              $12.00
   Terence                   Kwan                              $14.00
   Terence                   Kwan                              $14.00
   Terence                   Kwan                              $19.00
   Terence                   Kwan                              $28.00
   Terence                   Kwan                              $28.00
   Terence                   Kwan                              $28.00
   Terence                   Kwan                              $29.00
   Terence                   Kwan                              $29.00
   Terence                   Kwan                              $30.00
   Terence                   Kwan                              $30.00
   Terence                   Kwan                              $30.00
   Terence                   Kwan                              $30.00
   Terence                   Kwan                              $30.00
   Vivian                    Kwan                              $50.00
   Wendy                     Kwan                             $180.00
   Dave                      Kwok                             $100.00
   Dave                      Kwok                             $250.00
   Vivian                    Kwok                              $50.00
   Kwokysan                  Kwokysan                          $40.00
   Kwokysan                  Kwokysan                          $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Jean                      Kwolek                             $50.00
   Olivia                    Kwon                              $100.00
   Agnes                     Kwong                             $150.00
   Edna                      Kwong                             $100.00
   Frances                   Kwong                              $50.00
   Peggy                     Kwun                              $150.00
   Molly                     Kyle                              $100.00
   Jill                      Kyte                              $300.00
   J                         L                                 $100.00
   Stacy                     La                                 $50.00
   Bob                       La France                          $40.00
   Terri                     La Mariana                        $100.00
   Erin                      La Rosa                            $50.00
   Caroline                  La Voie                            $20.00
   Leisha                    Laatsch                            $50.00
   Lime                      Lab                               $100.00
   Lime                      Lab                               $100.00
   Lime                      Lab                               $100.00
   Lime                      Lab                               $100.00
   Jeff                      Labarge                           $100.00
   Joshua                    Labella                            $50.00
   Natasha                   Labelle                           $150.00
   Ashley                    Laber                              $25.00
   K                         Labiaga                           $100.00
   Sarah                     Labieniec                          $50.00
   Julie                     Labonte                            $50.00
   Cassandra                 Labouff                           $150.00
   Trinka                    Labranche                          $50.00
   Jennifer                  Labuguen                           $40.00
   Caitlin                   Lacey                              $25.00
   Katie                     Lacey                              $50.00
   Michelle                  Lachman                            $50.00
   Todd                      Lachman                           $250.00
   Urraca                    Lacie                             $250.00
   Urraca                    Lacie                             $250.00
   Nancy                     Lacombe                            $60.00
   Bea                       Lacson                             $50.00
   Michelle                  Lacues                             $35.00
   Sarah                     Lacy                               $42.50
   Seth                      Ladd                               $50.00


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   Buyer First Name         Buyer Last Name             Gift Card Amount
   Paige                    Ladensack                              $100.00
   Mary Catherine           Lader                                  $100.00
   Joleen                   Lafayette                              $100.00
   Kara                     Lafferty                                $40.00
   Rebekah                  Laffoon                                $100.00
   Ernie                    Lageson                                 $40.00
   Peter                    Lagomarsino                             $75.00
   Janeen                   Lagrace                                 $50.00
   Eva                      Laguda                                 $100.00
   Olga                     Lah                                     $21.25
   Cindy                    Lai                                    $100.00
   Danny                    Lai                                    $150.00
   Evonne                   Lai                                    $160.00
   Jennifer                 Lai                                     $40.00
   Jennifer                 Lai                                    $100.00
   Jennifer                 Lai                                    $170.00
   Joyce                    Lai                                     $21.25
   Kawai                    Lai                                     $50.00
   Kerri                    Lai                                     $50.00
   Laura                    Lai                                    $100.00
   Margaret                 Lai                                     $50.00
   Nancy                    Lai                                    $100.00
   Rosanna                  Lai                                    $100.00
   Rosanna                  Lai                                    $100.00
   Rosanna                  Lai                                    $100.00
   Selena                   Lai                                     $40.00
   Steve                    Lai                                     $50.00
   Amanda                   Laidlaw                                 $30.00
   Amanda                   Laidlaw                                 $50.00
   Leiann                   Laiks                                   $50.00
   Sheridan                 Laine                                   $85.00
   Jennifer                 Lai-Peterson                            $50.00
   Chrysteena               Lairamore                               $85.00
   Melissa                  Laird                                  $106.25
   Faith                    Laisure Collins                         $50.00
   Alexandra                Lajoie                                  $35.00
   Darius                   Lakdawalla                             $125.00
   Tammy                    Lake                                   $100.00
   Amy                      Lakhani                                 $25.00
   Manisha                  Lakhanpal                               $30.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Lisa                      Lalanne                           $100.00
   Heidi                     Lalonde                            $50.00
   Heidi                     Lalonde                            $50.00
   Belinda                   Lam                               $100.00
   Belinda                   Lam                               $150.00
   Hayley                    Lam                                $80.00
   Hayley                    Lam                               $250.00
   Helene                    Lam                               $150.00
   Jennifer                  Lam                                $50.00
   Linda                     Lam                               $100.00
   Lisa                      Lam                                $50.00
   Lisa                      Lam                                $50.00
   Marcus                    Lam                               $100.00
   Michael                   Lam                                $50.00
   Sandy                     Lam                                $50.00
   Susan                     Lam                               $150.00
   Alia                      Lamaadar                           $50.00
   Jason                     Lamacchia                          $50.00
   Jason                     Lamacchia                         $150.00
   Leslie                    Lamarre                           $100.00
   Leslie                    Lamarre                           $100.00
   Victoria                  Lamb                               $40.00
   Dominic                   Lambek                             $90.00
   Dawn                      Lambert                           $100.00
   Denise                    Lambert                            $75.00
   Doug                      Lambert                            $25.00
   Michael                   Lambert                           $250.00
   Pamela                    Lambert                            $24.00
   Megan                     Lamberti (Udemy)                   $50.00
   Megan                     Lamberti (Udemy)                   $50.00
   Kiersten                  Lammerding                        $102.00
   Christina                 Lammers                            $40.00
   Erika                     Lamoreaux                         $150.00
   Ashley                    Lampe                             $100.00
   Kyle                      Lampe                              $50.00
   Andrew                    Lan                               $100.00
   Jennifer                  Lan                                $40.00
   Louise                    Lance                             $100.00
   Crystal                   Land                               $50.00
   Whitney                   Landa                              $40.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Judith                    Landau                             $150.00
   Sangeeta                  Landau                              $50.00
   Sangeeta                  Landau                              $50.00
   Sarah                     Landau                              $50.00
   Kris                      Lande                               $50.00
   Kris                      Lande                              $375.00
   Charles                   Landefeld                          $100.00
   Cheryl                    Lander                              $50.00
   Cheryl                    Lander                              $50.00
   Rachel                    Landers                             $50.00
   Roberta                   Landers                             $50.00
   Sarah                     Landes                              $50.00
   Stacy                     Landgraf                           $100.00
   Gina                      Landis                             $100.00
   Sarah                     Landis                              $75.00
   Shelly                    Landon                              $40.00
   Kristina                  Landry                              $50.00
   Richard                   Landry                              $30.00
   Anya                      Lane                               $100.00
   Beth                      Lane                               $100.00
   Jana                      Lane                               $100.00
   Jennifer                  Lane                                $50.00
   Jennifer                  Lane                               $100.00
   Mary                      Lane                                $80.00
   Matthew                   Lane                                $50.00
   Matthew                   Lane                               $100.00
   Nevada                    Lane                               $100.00
   Caitlin                   Lang                                $30.00
   Eric                      Lang                                $50.00
   Heather                   Lang                                $50.00
   Jeanette                  Langdell                           $100.00
   Ashley                    Langdon                            $100.00
   Annie                     Lange                               $50.00
   Dawn                      Langeland                          $100.00
   Kathryn                   Langemak                            $50.00
   Jonelyn                   Langenstein                         $50.00
   Leigh Ann                 Langford                           $250.00
   Stephanie                 Langford                           $300.00
   Jason                     Langheier                          $250.00
   Louise                    Langheier                           $25.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Louise                   Langheier                           $25.00
   Louise                   Langheier                           $25.00
   Louise                   Langheier                           $25.00
   Louise                   Langheier                           $25.00
   Aloisia                  Langi                              $100.00
   Rachel                   Langland                            $50.00
   Kerry                    Lanigan                            $100.00
   Danielle                 Lanthier                            $50.00
   Brett                    Lantz                               $29.75
   Jane                     Lanzillotti                        $100.00
   Kimberly                 Lapides                            $100.00
   Kathy                    Lapine                              $50.00
   Michelle                 Lapinski                            $50.00
   Hans                     Lapping                            $100.00
   Maria                    Lara                                $50.00
   Sasha                    Lara                               $100.00
   Kiela                    Lara Conway                         $20.00
   Dorothy                  Lariviere                           $40.00
   Peggy                    Larkin                             $150.00
   Rhoda                    Larner                              $50.00
   Sara                     Larose                             $500.00
   Anne                     Larsen                              $80.00
   Chris                    Larsen                              $50.00
   Jenny                    Larsen                             $100.00
   Mara                     Larsen                             $200.00
   Megan                    Larsen                             $150.00
   Michelle                 Larsen                              $80.00
   Chris                    Larson                              $50.00
   Erica                    Larson                             $100.00
   Erica                    Larson                             $100.00
   Erica                    Larson                             $100.00
   Erica                    Larson                             $150.00
   Jennifer                 Larson                             $100.00
   Mary-Anne                Larson                             $100.00
   Robert                   Larson                             $100.00
   Shana                    Larson                             $100.00
   Shana                    Larson                             $100.00
   Shana                    Larson                             $127.00
   Shana                    Larson                             $150.00
   Todd                     Lash                               $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Jeff                      Lashins                             $40.00
   Linda                     Laskowski                           $50.00
   Emily                     Latourrette                         $50.00
   Emily                     Latourrette                        $150.00
   Heather                   Latta                               $50.00
   Katie                     Latypov                            $150.00
   Antonia                   Lau                                 $40.00
   Cherrie                   Lau                                 $50.00
   Christine                 Lau                                $100.00
   Doris                     Lau                                 $50.00
   Elisabet                  Lau                                $250.00
   Gloria                    Lau                                 $50.00
   Helen                     Lau                                 $40.00
   Isabel                    Lau                                 $40.00
   Julie                     Lau                                 $50.00
   Lisa                      Lau                                 $35.00
   Pam                       Lau                                $100.00
   Rosa                      Lau                                 $50.00
   Barbara                   Laubacher                           $40.00
   Jessica                   Laudermilk                          $30.00
   Wendy                     Lauer                               $50.00
   Holly                     Laughlin                           $100.00
   Kim                       Laughton                           $100.00
   Cynthia                   Lauman                              $75.00
   Jennifer                  Laurence                            $75.00
   Jesse                     Lauro                               $85.00
   Sara                      Lautenbach                          $36.00
   Mia                       Lauter                              $75.00
   Jody                      Lavallee                           $100.00
   Melissa                   Lavasani                           $450.00
   Theresa                   Lavelle                             $25.00
   Tricia                    Lavenson                            $30.00
   Zachariah                 Laverty                            $100.00
   Ellen                     Laves                              $100.00
   Deborah                   Laviale                             $60.00
   Geoff                     Law                                $100.00
   Geoff                     Law                                $170.00
   Geoff                     Law                                $170.00
   Michelle                  Law                                 $40.00
   Stephanie                 Law                                 $50.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Tamara                     Law                                 $30.00
   Maureen                    Lawlor                              $40.00
   Allison                    Lawrence                            $40.00
   Thomas                     Lawrence                            $75.00
   Debbie                     Lawson                              $30.00
   Erica                      Lawson                             $250.00
   Gini                       Lawson                              $50.00
   Lollie                     Lawson                              $50.00
   Anne                       Lawton                              $50.00
   Edward                     Lawton                             $100.00
   Michelle                   Lawton                             $100.00
   Neely                      Lawton                              $75.00
   Karen                      Lay                                 $30.00
   Katie                      Layng                               $50.00
   Samara                     Laynor                             $100.00
   Kate                       Layton                              $50.00
   Stephanie                  Layton                              $40.00
   David                      Lazerwitz                          $200.00
   Teagan                     Lazzarotti                          $25.00
   Michelle                   L'Don Hayuk                         $50.00
   David                      Le                                 $100.00
   Mary                       Le                                  $25.00
   Pauline                    Le                                  $50.00
   Rosalynn                   Le                                 $100.00
   Tuyet                      Le                                 $100.00
   Yui                        Le                                  $50.00
   Karen                      Le Cornet                          $100.00
   Brady                      Lea                                $250.00
   Bridget                    Leach                              $150.00
   Kristi                     Leach                               $40.00
   Suzanne                    Leach                               $50.00
   Erin                       Leach-Kemon                        $100.00
   Katie                      Leadbetter                         $170.00
   Margo                      Leahy                              $250.00
   Nick                       Leahy                              $100.00
   Susan                      Leahy                               $50.00
   Cristina                   Leal                                $50.00
   Perla                      Leal                               $150.00
   Celeste                    Lear                               $530.00
   Bradford                   Leary                               $50.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Megan                     Leary                                 $40.00
   Megan                     Leary                                $100.00
   Judith                    Leash                                 $50.00
   Cynthia                   Leathers                              $50.00
   Cynthia                   Leathers                              $50.00
   Emily                     Leathers                             $100.00
   Kelley                    Leathers                              $50.00
   Catherine                 Leavell                               $50.00
   Jenny                     Leavens                              $100.00
   Jenny                     Leavens                              $400.00
   Benjamin                  Leaverton                            $125.00
   Michelle                  Leavitt                              $100.00
   Ron                       Leavy                                $100.00
   Angie                     Lea-Wilson                            $50.00
   Maura                     Lebaron-Hsieh                        $350.00
   Mahasty                   Lebastchi                             $50.00
   Susan                     Lebens                               $250.00
   Beth                      Leber                                 $30.00
   Wendi                     Lebow                                 $40.00
   Wendi                     Lebow                                 $40.00
   Wendi                     Lebow                                 $40.00
   Trisha                    Lebus                                 $25.00
   Trisha                    Lebus                                 $50.00
   Kate                      Lechner                               $50.00
   Dyana                     Lechuga                              $500.00
   Valerie                   Leclair                              $100.00
   Cristina                  Leclerc                              $100.00
   Alexis                    Lecount                               $50.00
   Paul                      Ledeboer                              $50.00
   Michelle                  Lederman                             $140.00
   Julia                     Ledesma                               $40.00
   Raquel                    Ledesma                               $50.00
   Ann                       Ledo-Lane                             $50.00
   A                         Lee                                   $40.00
   A                         Lee                                  $200.00
   Alexa                     Lee                                   $50.00
   Alexa                     Lee                                   $75.00
   Alexa                     Lee                                   $80.00
   Ann                       Lee                                  $120.00
   Anna                      Lee                                  $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Annabel                   Lee                                $42.50
   Annie                     Lee                               $125.00
   Arlene                    Lee                                $40.00
   Arnel                     Lee                                $50.00
   Audrey                    Lee                                $50.00
   Bisim                     Lee                                $50.00
   Bob                       Lee                               $100.00
   Cara                      Lee                               $106.25
   Catherine                 Lee                               $100.00
   Celestine                 Lee                               $100.00
   Charisse                  Lee                               $220.00
   Cheryl                    Lee                                $35.00
   Chris                     Lee                               $500.00
   Christina                 Lee                                $40.00
   Christina                 Lee                               $100.00
   Christine                 Lee                                $50.00
   Claudia                   Lee                                $80.00
   Corinna                   Lee                                $50.00
   Craig                     Lee                               $250.00
   Crystal                   Lee                                $40.00
   Cyndi                     Lee                               $200.00
   Dale                      Lee                               $100.00
   Dana                      Lee                                $50.00
   David                     Lee                                $50.00
   Derek                     Lee                                $50.00
   Diana                     Lee                               $100.00
   Diana                     Lee                               $100.00
   Diana                     Lee                               $200.00
   Elaine                    Lee                                $75.00
   Ellen                     Lee                                $50.00
   Ellen                     Lee                               $100.00
   Ellen                     Lee                               $100.00
   Ellen                     Lee                               $150.00
   Ellen                     Lee                               $200.00
   Ellen                     Lee                               $225.00
   Ellen                     Lee                               $250.00
   Eva                       Lee                                $50.00
   Evelyn                    Lee                               $200.00
   Felix                     Lee                                $50.00
   Fiona                     Lee                               $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Frank                     Lee                               $100.00
   Fredrick                  Lee                               $425.00
   Gina                      Lee                                $50.00
   Gingle                    Lee                               $100.00
   Grace                     Lee                                $50.00
   Grace                     Lee                               $100.00
   Guenavere                 Lee                               $100.00
   Hanmin                    Lee                               $100.00
   Helen                     Lee                                $50.00
   Helen                     Lee                               $400.00
   Hyeonah                   Lee                                $50.00
   James                     Lee                               $100.00
   James                     Lee                               $100.00
   Jamie                     Lee                                $40.00
   Jayne                     Lee                                $40.00
   Jennifer                  Lee                               $100.00
   Jennifer                  Lee                               $100.00
   Jennifer                  Lee                               $300.00
   Joanne                    Lee                                $50.00
   Jonathan                  Lee                               $125.00
   Justine                   Lee                                $25.00
   Justine                   Lee                               $100.00
   Karen                     Lee                                $50.00
   Katherine                 Lee                                $85.00
   Kathryn                   Lee                                $40.00
   Kathy                     Lee                                $50.00
   Kaylin                    Lee                               $100.00
   Kristine                  Lee                               $100.00
   Kristine                  Lee                               $100.00
   Lana                      Lee                                $50.00
   Laura                     Lee                                $42.50
   Lily                      Lee                               $150.00
   Lisa                      Lee                               $100.00
   Lucia                     Lee                                $80.00
   Lucy                      Lee                               $100.00
   Marc                      Lee                               $200.00
   Maria                     Lee                               $100.00
   Maria                     Lee                               $250.00
   Maria                     Lee                               $250.00
   Marlena                   Lee                                $40.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   Mary                       Lee                                  $50.00
   Mary                       Lee                                 $150.00
   May                        Lee                                 $100.00
   Mayuko                     Lee                                  $50.00
   Michael                    Lee                                 $250.00
   Michele                    Lee                                  $50.00
   Michele                    Lee                                  $50.00
   Mija                       Lee                                 $450.00
   Nina                       Lee                                 $100.00
   Peggy                      Lee                                 $250.00
   Ryan                       Lee                                 $250.00
   Sandra                     Lee                                  $40.00
   Sandra                     Lee                                  $85.00
   Sara                       Lee                                  $50.00
   Sarah                      Lee                                  $50.00
   Sarah                      Lee                                  $75.00
   Sarah                      Lee                                  $75.00
   Sarah                      Lee                                  $75.00
   Sarah                      Lee                                  $75.00
   Sarah                      Lee                                  $75.00
   Sherise                    Lee                                  $25.00
   Shirley                    Lee                                 $525.00
   Su-May                     Lee                                  $50.00
   Susan                      Lee                                  $50.00
   Susan                      Lee                                  $50.00
   Susan                      Lee                                 $100.00
   Susanna                    Lee                                 $200.00
   Suzie                      Lee                                 $100.00
   Timothy                    Lee                                 $100.00
   Tina                       Lee                                  $30.00
   Tina                       Lee                                  $40.00
   Tina                       Lee                                  $50.00
   Tina                       Lee                                  $50.00
   Tracey                     Lee                                  $25.00
   Tracey                     Lee                                 $100.00
   Yvonne                     Lee                                 $100.00
   Susan                      Lee Char                            $100.00
   Carolyn                    Lee Molinaro                        $160.00
   Celeste                    Lee-Bobroff                          $50.00
   Brian                      Leece                               $500.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Tricia                     Leech                              $50.00
   Kathryn                    Leehane                            $75.00
   Laura                      Leets                             $150.00
   Denise                     Lefberg                           $100.00
   Barbara                    Lefcourt                          $250.00
   Sharon                     Legallet                           $50.00
   Diana                      Legaspi                            $40.00
   Kasey                      Leger                              $40.00
   Jamie                      Leggett                           $200.00
   Adriana                    Lehman                             $50.00
   Adriana                    Lehman                             $50.00
   John D                     Lehman                            $100.00
   Meredith                   Lehr                               $40.00
   Becky                      Lei                                $40.00
   Benjamin                   Lei                               $250.00
   Benjamin                   Lei                               $250.00
   Roberta                    Leibel                             $50.00
   Carol                      Leichter                          $212.50
   Jeffrey                    Leider                             $40.00
   Frank                      Leidman                           $200.00
   Anna                       Leifeld                            $75.00
   Azucena                    Leigh                              $63.75
   Azucena                    Leigh                             $100.00
   Mary Jae                   Leigh                             $100.00
   Mary Jae                   Leigh                             $200.00
   Jessica                    Leiman                            $150.00
   Courtney                   Leimkuhler                        $100.00
   Annie                      Lein                              $100.00
   Jessica                    Leino                             $212.50
   Michelle                   Leirer                            $100.00
   Janice                     Leiser                             $85.00
   Katherine                  Leiser                             $50.00
   Katherine                  Leiser                             $50.00
   Katherine                  Leiser                            $200.00
   Deloris                    Leiter                            $250.00
   Anna                       Leivers                           $100.00
   Curtis                     Lelash                            $125.00
   Jeffrie                    Lelea                              $50.00
   Jeffrie                    Lelea                             $150.00
   Erin                       Lem                               $200.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Lisa                      Lem                                  $100.00
   Sharly                    Lembkey                               $50.00
   Kristen                   Lemieux                              $100.00
   Alison                    Lemire                                $40.00
   Alison                    Lemire                                $40.00
   Alison                    Lemire                                $60.00
   Alison                    Lemire                                $75.00
   Michele                   Lemire                                $50.00
   Kerith                    Lemon                                $100.00
   Bridget                   Lemos                                 $40.00
   Bridget                   Lemos                                 $40.00
   Dorothy                   Lemoult                               $40.00
   Cynthia                   Lennon                               $100.00
   Brad                      Lensing                               $40.00
   Brad                      Lensing                               $40.00
   Brad                      Lensing                               $42.50
   Veronica                  Lentfer                              $100.00
   Lauren                    Lenzen                                $40.00
   Amanda                    Leon                                  $50.00
   Lucia                     Leon                                  $40.00
   Christine                 Leonard                               $50.00
   Joshua                    Leonard                              $100.00
   Jennifer                  Leonardini                            $50.00
   Ashli                     Leone                                $100.00
   Elisa M                   Leone                                 $50.00
   Andrea                    Leong                                 $50.00
   Benny                     Leong                                 $50.00
   Cheryl                    Leong                                 $50.00
   Gail                      Leong                                 $50.00
   Lisa                      Leong                                $100.00
   Michele                   Leong                                 $50.00
   Vivien                    Leong                                 $50.00
   Rinamarie                 Leon-Guerrero                         $50.00
   Chris                     Leopold                               $50.00
   Natalie                   Leopold                               $50.00
   Deanna                    Lepp                                  $50.00
   Dylan                     Leptich                               $30.00
   Razi                      Leptich                               $50.00
   Alana                     Lerner                               $100.00
   Jennifer                  Lerner                                $40.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Laura                      Lerner                                $100.00
   Leslie                     Lerner                                $250.00
   Renata                     Lerner                                $100.00
   Kate                       Leroux                                 $60.00
   Pavinee                    Lertjitbanjong                         $85.00
   Pavinee                    Lertjitbanjong                        $100.00
   Johnna                     Lesch                                 $100.00
   Stephanie                  Leschber                               $50.00
   Benjamin                   Leslie                                 $42.50
   Christine                  Lessard                               $112.00
   Alyssa                     Lesser                                 $50.00
   Lenard                     Lesser                                 $20.00
   Lenard                     Lesser                                 $50.00
   Irene                      Lestari                                $50.00
   Felicia                    Lester                                $100.00
   Sarah                      Letourneau                             $50.00
   Jane                       Leu                                    $50.00
   Angela                     Leung                                 $100.00
   Anne                       Leung                                 $200.00
   Dan                        Leung                                  $50.00
   Eva                        Leung                                 $250.00
   Gordon                     Leung                                 $500.00
   Grace                      Leung                                  $50.00
   Kat                        Leung                                  $60.00
   Roxanne                    Leung                                 $100.00
   Susan                      Leupold                                $50.00
   Heather                    Leutwyler                             $100.00
   Logan                      Levan                                  $50.00
   Richard                    Levasseur                             $150.00
   Marilyn                    Levene                                 $42.50
   Joshua                     Levenson                              $100.00
   Ingrid                     Leverett                              $212.50
   Mary Kay                   Leveroni                               $50.00
   Mary Kay                   Leveroni                              $100.00
   Michele                    Levesque                              $100.00
   Galeet                     Levi                                   $50.00
   Mina                       Levi                                  $100.00
   Hana                       Levin                                 $100.00
   June                       Levin                                  $50.00
   Michelle                   Levin                                  $50.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   Sara                       Levin                                $40.00
   Stephanie                  Levin                                $50.00
   Alexia                     Levine                               $50.00
   Anne                       Levine                               $50.00
   Ashley                     Levine                               $50.00
   Aviva                      Levine                               $42.50
   Carol                      Levine                              $100.00
   Christa                    Levine                               $50.00
   Christa                    Levine                              $100.00
   Eve                        Levine                              $100.00
   Gary                       Levine                               $50.00
   Katherine                  Levine                               $50.00
   Michael                    Levine                               $40.00
   Nicole                     Levine                              $125.00
   Paula                      Levine                               $50.00
   Kathryn                    Levis Williamson                     $50.00
   Kathryn                    Levis Williamson                     $50.00
   Michael                    Levy                                $100.00
   Oren                       Levy                                 $42.50
   Brian                      Lew                                  $42.50
   Darren                     Lew                                 $100.00
   Janine                     Lew                                 $100.00
   Jessica                    Lew                                 $100.00
   Linda                      Lew                                  $50.00
   Linda                      Lew                                  $50.00
   Theresa                    Lew                                 $100.00
   Ulric                      Lewen                                $50.00
   Gail                       Lewetzow                             $50.00
   Lillian                    Lew-Hailer                          $100.00
   Tovah                      Lewinter                             $60.00
   Alicia                     Lewis                                $50.00
   Caroline                   Lewis                                $25.00
   Caroline                   Lewis                               $100.00
   Caron                      Lewis                                $42.50
   Charlotte                  Lewis                                $80.00
   Christina                  Lewis                               $100.00
   Flynne                     Lewis                                $35.00
   Jack                       Lewis                               $100.00
   Jennifer                   Lewis                                $20.00
   John                       Lewis                                $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Julie                     Lewis                              $50.00
   Ken                       Lewis                             $250.00
   Laurie                    Lewis                              $50.00
   Marc                      Lewis                             $150.00
   Michael                   Lewis                             $250.00
   Michele                   Lewis                             $100.00
   Patti                     Lewis                              $85.00
   Patti                     Lewis                              $85.00
   Patti                     Lewis                              $85.00
   Patti                     Lewis                              $85.00
   Patti                     Lewis                              $85.00
   Penny                     Lewis                             $250.00
   Rayburn S                 Lewis                             $100.00
   Rita                      Lewis                              $75.00
   Rita                      Lewis                             $150.00
   Rosie                     Lewis                             $200.00
   Ryan                      Lewis                              $40.00
   Ryan                      Lewis                              $40.00
   Ryan                      Lewis                              $40.00
   Sara                      Lewis                              $50.00
   Sarah                     Lewis                              $50.00
   Sheryl                    Lewis                             $100.00
   Simone                    Lewis                              $50.00
   Tony                      Lewis                             $100.00
   Beau                      Leyvand                            $50.00
   Christina                 Lhi                                $42.50
   Han                       Li                                $250.00
   Julia                     Li                                 $85.00
   Julia                     Li                                $100.00
   Julia                     Li                                $150.00
   Lyz                       Li                                 $50.00
   Meng                      Li                                 $63.75
   Pamela                    Li                                $250.00
   Rebecca                   Li                                $100.00
   Sarena                    Li                                 $50.00
   Shaw                      Li                                 $42.50
   Simon                     Li                                 $50.00
   Susan                     Li                                 $30.00
   Tommy                     Li                                 $50.00
   Ken                       Liao                              $100.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Sanny                     Liao                                $100.00
   Yulan                     Liao                                 $50.00
   Yulan                     Liao                                $100.00
   Carol                     Liaw                                 $50.00
   Laura                     Libbey                               $45.00
   Lisa                      Licata                              $250.00
   Josh                      Lich                                 $50.00
   Eileen                    Licitri                              $25.00
   Robin                     Lickliter                           $200.00
   Lynne                     Licouris                            $100.00
   Linda                     Liebelt                             $215.05
   Nicholas                  Lieberknecht                         $50.00
   Bonnie                    Lieberman                            $50.00
   Michael                   Lieberman                           $102.00
   Tabitha                   Lieberman                            $80.00
   Lauren                    Lien                                 $50.00
   Sacha                     Lien                                $280.00
   Miguel                    Liencres                            $100.00
   Klein                     Lieu                                 $10.00
   Klein                     Lieu                                 $10.00
   Theo                      Lieu                                $250.00
   Valerie                   Lieu                                $100.00
   Noopur                    Liffick                              $75.00
   Laura                     Light                                $30.00
   Jessica                   Lightcap                            $200.00
   James                     Lik                                 $100.00
   Bernadette                Lilhanand                            $30.00
   Nicole                    Liljegren                           $100.00
   Jenny                     Lill                                 $50.00
   Madeline                  Lilley                              $150.00
   Anthony                   Lim                                  $50.00
   Bernadette                Lim                                 $100.00
   Daniel                    Lim                                  $50.00
   Gina                      Lim                                 $100.00
   Jack                      Lim                                 $210.00
   Jane                      Lim                                  $75.00
   Lauren                    Lim                                  $40.00
   Lilia                     Lim                                  $80.00
   Lily                      Lim                                 $500.00
   Liz                       Lim                                  $17.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Peggy                      Lim                               $350.00
   Stan                       Lim                               $100.00
   Teresa                     Lim                               $100.00
   Yew Jin                    Lim                                $50.00
   Yew Jin                    Lim                               $100.00
   Catherine                  Lim-Healy                          $50.00
   A                          Lin                               $500.00
   Charles                    Lin                               $100.00
   Chun                       Lin                               $100.00
   Irene                      Lin                               $200.00
   Jason                      Lin                                $50.00
   Jeannie                    Lin                                $50.00
   Jeff                       Lin                               $100.00
   Jeffrey                    Lin                               $100.00
   Jennifer                   Lin                               $120.00
   Jennifer                   Lin                               $250.00
   Marilyn                    Lin                               $100.00
   Melissa                    Lin                                $50.00
   Michelle                   Lin                                $40.00
   Michelle                   Lin                                $50.00
   Michelle                   Lin                               $100.00
   Michelle                   Lin                               $125.00
   Natalie                    Lin                                $25.00
   Pancy                      Lin                               $100.00
   Shally                     Lin                                $20.00
   Shally                     Lin                                $40.00
   Shirley                    Lin                               $100.00
   Tiffany                    Lin                                $50.00
   X                          Lin                                $50.00
   Dan                        Lind                              $250.00
   Emilie                     Lind                               $68.00
   Katharine                  Lind                              $150.00
   Allie                      Lindahl                           $250.00
   Denise                     Lindberg                           $30.00
   Jack                       Lindberg                           $50.00
   Brian                      Linde                             $200.00
   Melina                     Linder                             $50.00
   Logan                      Linderman                         $100.00
   Nikki                      Lindgren                           $50.00
   Courtney                   Lindl                              $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Ben                       Lindquist                          $50.00
   Claire                    Lindsey                           $200.00
   Ursula                    Lindsey                            $80.00
   Kim                       Lindstrom                         $100.00
   Louis                     Linebarger                         $50.00
   Louis                     Linebarger                        $100.00
   Connie                    Linehan                           $100.00
   Erin                      Link                              $100.00
   Shari                     Link                               $50.00
   Sandra                    Linke                              $50.00
   Clover                    Linne                              $50.00
   Jannah                    Linneman                           $50.00
   Doris                     Lin-Song                          $250.00
   Marie Claude              Linteau                            $50.00
   Tamy S                    Linver                            $100.00
   Laurent                   Linville                          $100.00
   Rachel                    Lipkin                            $100.00
   Grant                     Lipman                             $80.00
   Michael                   Lipnick                            $50.00
   Mary                      Lipp                              $100.00
   Ashley                    Lippert                           $100.00
   Jennie                    Lippincott                         $50.00
   Jennie                    Lippincott                         $50.00
   Jennie                    Lippincott                         $50.00
   Rosanna                   Lipscomb                          $100.00
   Linda                     Lipson                             $25.00
   Melissa                   Lirtsman                           $50.00
   Melissa                   Lirtsman                           $85.00
   Kelly                     Lisbakken                         $100.00
   Jacob                     Liskin                            $100.00
   Peyton                    Lister                             $40.00
   Elizabeth                 Liston                             $30.00
   Jean A.                   Litarowsky                        $100.00
   Paula                     Litchfield                        $100.00
   Paula                     Litchfield                        $100.00
   Paula                     Litchfield                        $100.00
   Norman                    Litell                             $40.00
   Carissa                   Little                            $150.00
   Carissa                   Little                            $150.00
   Jennifer                  Little                             $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Karina                    Little                            $100.00
   Mary                      Little                            $500.00
   Susan                     Little                             $25.00
   Peter                     Littleton                          $50.00
   Beatriz                   Lituanio                          $100.00
   Elizabeth                 Litwin                             $50.00
   Adrienne                  Liu                                $40.00
   Ami                       Liu                                $50.00
   Deanne                    Liu                                $50.00
   Deanne                    Liu                                $50.00
   Ellen                     Liu                               $100.00
   Jimmy                     Liu                               $100.00
   Julie                     Liu                                $20.00
   Julie And Allen           Liu                               $100.00
   Lisa                      Liu                                $50.00
   Lynette                   Liu                               $100.00
   Maureen                   Liu                                $63.75
   May                       Liu                               $100.00
   Sharon                    Liu                                $80.00
   Lindsay                   Livanos                            $35.00
   Amanda                    Livingood                          $40.00
   Amanda                    Livingood                          $40.00
   Amanda                    Livingood                          $40.00
   Amanda                    Livingood                         $100.00
   Brooke                    Livingston                        $100.00
   Angelina                  Liwanag                            $50.00
   Lindsay                   Llewellyn                          $50.00
   Paul                      Llewellyn                         $100.00
   Morgan                    Lloyd                              $50.00
   Thomas                    Lloyd                             $500.00
   Alyssa                    Lo                                $100.00
   Carmen                    Lo                                 $50.00
   Carol                     Lo                                 $50.00
   Chiyan                    Lo                                 $80.00
   Eric                      Lo                                 $50.00
   Eric                      Lo                                 $50.00
   Jessica                   Lo                                $100.00
   Sabrina                   Lo                                 $40.00
   Sabrina                   Lo                                 $40.00
   Erin                      Loback                             $30.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   Andrew                     Lobel                                $50.00
   Charlene                   Lobo Soriano                         $50.00
   Ruth                       Locala                              $150.00
   Lynn                       Locher                              $100.00
   Sarah                      Locher                               $50.00
   Andrew                     Lochotzki                            $25.00
   Jill                       Lochridge                            $50.00
   Diana                      Lock                                $100.00
   Mckenzie                   Lock                                 $40.00
   Bonnie                     Lockahrt                             $50.00
   Robert                     Locke                               $100.00
   Trever                     Lockley                              $50.00
   Rachel                     Lockmon                              $50.00
   Jillian                    Locks                                $25.00
   Evelyn                     Lockton                              $50.00
   Mike                       Loebe                                $50.00
   Barbara                    Loebel                               $50.00
   Paula                      Loeffler                             $50.00
   Jennifer                   Loerzel                              $50.00
   Virginia                   Loesch                              $100.00
   Virginia                   Loesch                              $100.00
   Kari                       Loeser                               $50.00
   Jennifer                   Loewen                              $150.00
   Rebecca                    Loewke                               $50.00
   Aaron                      Lofrano                             $100.00
   Marilyn                    Loftesness                          $100.00
   Shanon                     Loftus                               $50.00
   Gina                       Logan                               $100.00
   Jessica                    Logan                                $50.00
   Leah                       Logan                                $40.00
   Boris                      Logvinskiy                           $50.00
   Boris                      Logvinskiy                           $50.00
   Helen                      Loh                                  $25.00
   Kong                       Loh                                  $75.00
   Anne                       Lohier                               $30.00
   Joan                       Lohr                                $100.00
   Kim                        Lohse                               $100.00
   Kara                       Loiacono                             $40.00
   Stephanie                  Lom                                  $50.00
   Monica                     Lomas                                $50.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Ashley                     Lomax                              $100.00
   Mary Ellen                 Lomax                               $50.00
   Jane                       Lommasson                           $50.00
   Annette                    Lomont                             $100.00
   Annette                    Lomont                             $100.00
   Michelle                   Londono                             $50.00
   Peggy                      Londre                             $125.00
   Peggy                      Londre                             $200.00
   Mandi                      Lonergan                           $250.00
   Allison                    Long                                $21.25
   Amy                        Long                                $50.00
   Audrey                     Long                               $100.00
   Elias                      Long                               $500.00
   Eric                       Long                               $100.00
   John                       Long                               $100.00
   Kate                       Long                               $500.00
   Noela                      Long                                $30.00
   Stacey                     Long                               $270.00
   Rhoda                      Longhenry                           $80.00
   Jen                        Longman                             $50.00
   Julia                      Longnecker                          $50.00
   Michelle                   Longosz                             $65.00
   Marshall                   Longtin                            $100.00
   Rebecca                    Look                                $50.00
   Alison                     Loper                               $50.00
   Amanda                     Loper                               $50.00
   Megan                      Lopes Cunha                         $50.00
   Amelia                     Lopez                               $50.00
   Brenda                     Lopez                               $25.00
   Emily                      Lopez                               $50.00
   Emily                      Lopez                              $100.00
   Isak                       Lopez                              $200.00
   Isak                       Lopez                              $250.00
   Jamie                      Lopez                              $100.00
   Janelle                    Lopez                               $50.00
   Janelle                    Lopez                              $150.00
   Jennifer                   Lopez                              $100.00
   Jessica                    Lopez                              $100.00
   Katy                       Lopez                               $50.00
   Pamela                     Lopez                               $50.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Rose                       Lopez                                 $100.00
   Krystal                    Lopilato                               $40.00
   Krystal                    Lopilato                               $50.00
   Andrea                     Lopus Cardozo                          $50.00
   Andrea                     Lopus Cardozo                         $150.00
   Melanie                    Lord                                   $25.00
   Elizabeth                  Lorence                                $35.00
   Nadia                      Lorenson                               $30.00
   Paul                       Lorentz                                $75.00
   Lea Theresa                Lorenzen                              $100.00
   Sarah                      Lorimer                                $50.00
   Sarah                      Lorimer                               $220.00
   Taina                      Lorizio                               $100.00
   Andrea                     Lo-Rossi                              $100.00
   Jenna                      Lose                                  $100.00
   Amy                        Losson                                 $50.00
   Rachel                     Lotspeich                              $50.00
   Christina                  Lotz                                  $110.00
   Debbie                     Lotz                                  $100.00
   Stephen                    Loughlin                              $200.00
   Baldwin                    Louie                                  $40.00
   Beverly                    Louie                                 $100.00
   Monica                     Louie                                 $356.00
   Raquel                     Louie                                  $50.00
   Stanley                    Louie                                  $42.50
   Stephanie                  Louie                                  $50.00
   Avianne                    Louie-Smith                            $50.00
   Kim                        Louis                                  $50.00
   Amy                        Louv                                  $100.00
   Elizabeth                  Loux                                   $50.00
   Benoit                     Louzaouen                              $50.00
   Emily                      Lovallo                               $100.00
   Amy                        Lovasco                               $100.00
   Ada                        Love                                  $100.00
   Amy                        Love                                   $50.00
   Cynthia                    Love                                  $100.00
   Leanne                     Loveday-Smith                          $50.00
   Catherine                  Loveland                               $50.00
   Courtney                   Lovell                                $100.00
   Carla                      Lovett Dasilva                         $20.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Carla                     Lovett Dasilva                        $300.00
   Shelby                    Lovitt                                $100.00
   Annie                     Low                                    $25.00
   C                         Low                                    $30.00
   C                         Low                                    $30.00
   C                         Low                                    $42.50
   C                         Low                                    $42.50
   C                         Low                                    $80.00
   Lori                      Low                                    $50.00
   Marty                     Low                                   $250.00
   Marty                     Low                                   $250.00
   Matt                      Low                                    $50.00
   Matt                      Low                                    $50.00
   Matt                      Low                                    $50.00
   Michael                   Low                                    $50.00
   Valerie                   Low                                    $50.00
   Claudia                   Lowder                                 $42.50
   Corinna                   Lowe                                   $50.00
   Craig                     Lowe                                   $50.00
   Kimberly                  Lowe                                   $25.00
   Alicia                    Lowen                                  $50.00
   Alicia                    Lowen                                 $100.00
   Bryan                     Lowenberg                              $50.00
   Margaret                  Lowenstein                             $50.00
   Tara                      Lowery                                 $50.00
   Daniel                    Lowinger                              $100.00
   Rachel                    Lownds                                 $50.00
   William                   Lowrey                                 $85.00
   William                   Lowrey                                 $90.00
   Melissa                   Lowry                                  $50.00
   Marsha                    Lowther                               $100.00
   James                     Loyd                                  $100.00
   Bibiana                   Lozano                                $100.00
   Philip                    Lozano                                $100.00
   Joshua                    Lozman                                 $50.00
   Michelle                  Lozzi                                  $50.00
   Michelle                  Lozzi                                 $220.00
   Corinna                   Lu                                     $50.00
   Wenhuei                   Lu                                     $40.00
   Yao                       Lu                                     $30.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Maria                     Lubamersky                         $50.00
   Rosemary                  Lubarov                           $100.00
   Jacob                     Lubarsky                           $63.75
   Sami                      Lubega                             $80.00
   Elizabeth                 Luby                               $85.00
   Nicole                    Lucas                              $50.00
   Brenda                    Lucero                             $50.00
   Elvin                     Lucero                             $50.00
   Steve J                   Lucia                             $250.00
   Linda                     Lucido                            $100.00
   Megan                     Luckhardt                          $40.00
   Melanie                   Luders                             $50.00
   Debbie                    Ludvik                             $50.00
   Pehr                      Luedtke                            $40.00
   Philip                    Luedtke                           $100.00
   Melanie                   Luenenborg                         $75.00
   Vivian                    Lufkin                            $500.00
   Catherine                 Lui                               $120.00
   Kathleen                  Lui                                $40.00
   Rosanna                   Lui                                $75.00
   Rosanna                   Lui                                $75.00
   Rosanna                   Lui                                $75.00
   Rosanna                   Lui                               $100.00
   Rosanna                   Lui                               $100.00
   Tyler                     Luiten                             $50.00
   Joanne                    Lujan                              $80.00
   Wilman                    Luk                                $50.00
   Nancy                     Lukacs                             $12.75
   Nancy                     Lukacs                             $15.00
   Melissa                   Luke                              $230.00
   Julie                     Luker                              $50.00
   Deborah                   Lum                               $100.00
   Karen                     Lum                               $250.00
   Kristen                   Lum                               $100.00
   Kristen                   Lum                               $200.00
   Nicole                    Lum                                $34.00
   Nicole                    Lum                                $42.50
   Nicole                    Lum                                $42.50
   Ooi Leng                  Lum                               $100.00
   Eric                      Lun                                $50.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Sandra                     Luna                                  $100.00
   Lisa                       Lunday                                 $50.00
   Erin                       Lundberg                               $50.00
   Erin                       Lundberg                               $75.00
   Jenifer                    Lundberg                              $100.00
   Jean                       Lundell                                $75.00
   Adrian                     Lundquist                              $50.00
   Angie                      Lundstedt                             $100.00
   Matthew                    Lundsten                              $100.00
   Vivian                     Lung                                  $210.00
   John                       Lunn                                  $100.00
   Meredith                   Lunsford                               $50.00
   Muller                     Luo                                   $100.00
   Anthony                    Lupian                                $150.00
   Daniel                     Lurie                                  $50.00
   Eve                        Lurie                                  $50.00
   Veronica                   Lutz                                   $50.00
   Sally                      Luz                                    $30.00
   Sarah                      Luzader                                $40.00
   Brandi                     Ly                                     $20.00
   Kathy                      Lycette                               $100.00
   Annica                     Lydenberg                              $50.00
   David                      Ly-Gagnon                              $40.00
   Stephanie                  Lykam                                  $75.00
   Diane                      Lynch                                  $80.00
   Elizabetta                 Lynch                                 $250.00
   Emilie                     Lynch                                 $250.00
   Erin                       Lynch                                 $100.00
   Jack                       Lynch                                 $150.00
   Kaity And Peter            Lynch                                  $50.00
   Michael                    Lynch                                 $100.00
   Nancy                      Lynch                                 $225.00
   Steven                     Lynch                                 $100.00
   Teresa                     Lynch                                  $50.00
   Timothy                    Lynch                                  $40.00
   Christina                  Lynch Thibault                        $100.00
   Marcy                      Lynn                                   $50.00
   Kristin                    Lyon                                   $42.50
   Samara                     Lyon                                  $250.00
   Jeannine                   Lyons                                  $50.00


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   Meghan                     Lyons                               $100.00
   Michele                    Lyons                                $50.00
   Steven                     Lyons                                $85.00
   Vanessa                    Lyons                               $200.00
   Belinda                    Lyons-Newman                         $50.00
   Sheryl                     Lyss                                 $50.00
   Stella                     Lyssyakevich                        $200.00
   L                          M                                    $78.00
   Scott                      M                                   $100.00
   Ashley                     Ma                                   $50.00
   Calvin                     Ma                                   $50.00
   Melissa                    Ma                                  $100.00
   Michelle                   Ma                                   $30.00
   Michelle                   Ma                                   $30.00
   Sandy                      Ma                                   $50.00
   Sandy                      Ma                                  $100.00
   Susan                      Ma                                   $40.00
   Trisha                     Ma                                  $250.00
   Paul                       Maa                                  $50.00
   Homam                      Maalouf                             $130.00
   Dan                        Maass                               $100.00
   Andrea                     Maayeh                              $100.00
   Thu Yen                    Mac                                  $50.00
   Janette                    Mac Donell                          $100.00
   Erika                      Macalinao                            $50.00
   Meghan                     Macaluso                            $150.00
   Jamila                     Macarthur                            $25.00
   Jean                       Macbarron                           $160.00
   Mandy                      Maccalla                             $50.00
   Debbie                     Macchello                            $40.00
   Gerry                      Macchello                            $42.50
   Ann                        Macchi                               $50.00
   Heather                    Macclelland                          $50.00
   Wally                      Macdermid                           $100.00
   Jessica                    Macdiarmid                           $50.00
   Caitlin                    Macdonald                           $100.00
   Gerald                     Macdonald                           $100.00
   Heather                    Macdonald                            $50.00
   Lisa                       Macdonald                            $50.00
   Mark                       Macdonald                           $100.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   Ripley                     Macdonald                           $150.00
   Roger                      Macdonald                           $105.12
   Windy                      Macdowell                           $100.00
   Windy                      Macdowell                           $100.00
   Windy                      Macdowell                           $100.00
   Phyllis                    Mace                                 $50.00
   Liz                        Macera                              $100.00
   Jenny                      Macewen                             $100.00
   Hilary                     Macgillivray                        $250.00
   Elizabeth                  Macgregor                            $40.00
   Rick                       Macguidwin                           $50.00
   Jennifer                   Machado                              $50.00
   Emily                      Machalow                            $250.00
   Bernadette                 Machell                              $50.00
   Erin                       Machell                              $50.00
   Jennifer                   Machida                              $50.00
   Ken                        Macinnis                            $100.00
   Ken                        Macinnis                            $150.00
   Dual                       Macintyre                            $50.00
   Rebecca                    Macintyre                           $350.00
   Louisa                     Mackenzie                            $80.00
   Stephanie                  Mackenzie                           $150.00
   Suzanne                    Mackenzie                           $100.00
   Jennifer                   Mackinney                            $50.00
   Alison                     Mackinnon                            $42.50
   Darrah                     Maclean                              $50.00
   Darrah                     Maclean                              $50.00
   Darrah                     Maclean                              $50.00
   Brie                       Macleod                              $80.00
   Dianne                     Macleod                              $50.00
   Gillian                    Macmannis                            $50.00
   Alex                       Macmillan                           $100.00
   Michele                    Macmillan                           $100.00
   Marylee                    Macnulty                             $80.00
   Andrew                     Macrae                               $50.00
   Tony                       Macri                                $50.00
   Emma                       Macstay                              $50.00
   Emma                       Macstay                              $50.00
   Emma                       Macstay                              $50.00
   Emma                       Macstay                              $50.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Janelle                    Macswain                           $100.00
   Celine                     Mactaggart                         $100.00
   Casey                      Madden                              $60.00
   Damian                     Madden                             $252.00
   Dick                       Madden                             $100.00
   Dre                        Madden                              $50.00
   Jaime                      Madden                             $100.00
   Jasmyn                     Madden                              $30.00
   Stephanie                  Madden                             $250.00
   Leticia                    Madeiros                           $350.00
   Austin                     Mader-Clark                         $50.00
   Austin                     Mader-Clark                         $50.00
   Catherine                  Madison                            $100.00
   Priscilla                  Madison                             $60.00
   Priscilla                  Madison                            $100.00
   William                    Madison                            $100.00
   Jenny                      Madrid                              $50.00
   Stefani                    Madril                              $50.00
   Jeremy                     Madsen                             $250.00
   Jillian                    Maes                                $30.00
   Lynn                       Maestretti                          $85.00
   Lynn                       Maeyama                            $100.00
   Heather                    Maffeo                              $40.00
   Heather                    Maffeo                              $40.00
   Heather                    Maffeo                              $40.00
   Heather                    Maffeo                              $45.00
   Heather                    Maffeo                              $75.00
   Nicole                     Magaddino                           $50.00
   Nicole                     Magaddino                           $50.00
   Nicole                     Magaddino                           $50.00
   Nicole                     Magaddino                           $50.00
   Nicole                     Magaddino                           $50.00
   Nicole                     Magalit                             $50.00
   Valerie                    Magalong                           $100.00
   Lara                       Magarinos                           $42.50
   Katie                      Magee                               $50.00
   Katie                      Magee                               $50.00
   Janet                      Magennis                            $50.00
   Susan                      Maggay                              $85.00
   Tatum                      Maggio                              $50.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Adi                        Magid                              $150.00
   Beth                       Magin                               $50.00
   Emily                      Maglietti                           $50.00
   Melissa                    Magnan                              $85.00
   Ann                        Magner-Danz                         $50.00
   Terry                      Magnin                             $100.00
   Lara                       Magnusen                            $40.00
   Niki                       Magtoto                            $100.00
   Elizabeth                  Maguire                             $22.50
   Mark                       Maguire                            $250.00
   Alan                       Mah                                $100.00
   Salli                      Mahaffy                            $100.00
   Anjlee                     Mahajan                            $150.00
   Megan                      Mahar                               $25.50
   Megan                      Mahar                               $80.00
   Linda                      Maher                               $30.00
   Eric                       Mahlstedt                          $150.00
   Caitlin                    Mahon                              $100.00
   Shannon                    Mahon                               $45.00
   Caithlin                   Mahoney                             $50.00
   Caithlin                   Mahoney                            $150.00
   Cameron                    Mahoney                            $150.00
   Ryan                       Mahoney                             $50.00
   Brianna                    Mahony                              $50.00
   Julie                      Mahony                              $50.00
   Siesel                     Maibach                             $85.00
   Jeremy                     Mailen                             $100.00
   David                      Main                               $100.00
   Tammy                      Maionchi                            $50.00
   Andrew                     Maiorana                           $100.00
   Natalya                    Maisel                              $30.00
   Josh                       Mait                               $100.00
   Robin                      Maitino                            $175.00
   Quinn                      Majeski                             $50.00
   Katherine                  Mak                                $150.00
   Katie                      Mak                                 $50.00
   Theresa                    Mak                                 $50.00
   Marina                     Makarenko                          $100.00
   Armine                     Makasdjian                          $50.00
   Armine                     Makasdjian                          $50.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Sarah                     Makhija                              $100.00
   Isabel                    Maki                                 $100.00
   Isabel                    Maki                                 $100.00
   Lu                        Makin-Byrd                            $50.00
   Vandana                   Makker                                $50.00
   Victoria                  Makol                                 $42.50
   Seema                     Makyadath                            $100.00
   Peter                     Malafronte                           $500.00
   Eric                      Maland                               $250.00
   Jodi                      Malandaras                           $100.00
   Johanna                   Malen                                 $50.00
   Ahsan                     Malik                                $200.00
   Ahsan                     Malik                                $650.00
   Aila                      Malik                                 $25.00
   Steffanie                 Malla                                $100.00
   Pravin                    Mallavaram                            $50.00
   Cynthia                   Maller                               $100.00
   Marc                      Mallett                               $80.00
   Marc                      Mallett                               $80.00
   Jennifer                  Malley                               $100.00
   Michael                   Malloy                               $100.00
   Jessica                   Malone                                $50.00
   Katie                     Malone                                $50.00
   Kirsten                   Malone                                $30.00
   Laura                     Malone                               $100.00
   Lindsay                   Malone                               $150.00
   Robert                    Malone                               $100.00
   Susan                     Malone                                $75.00
   Christina                 Maloney                              $100.00
   Mary                      Maloney                              $100.00
   Nancy                     Maloney, Ph.D                         $50.00
   Audrey                    Malong                                $42.50
   Audrey                    Malong                               $200.00
   Katrina                   Malot                                $100.00
   Rosemary                  Malouf                               $100.00
   Jules                     Maltz                                 $50.00
   Martha                    Man                                  $250.00
   Office                    Manager                              $150.00
   Teresa                    Manalo                               $250.00
   Rickke                    Mananzala                            $100.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Nadia                      Mancarti                           $100.00
   Colby                      Mancasola                           $75.00
   Jessica                    Mancini                             $50.00
   Sara                       Mancini                            $100.00
   Kate                       Manciocchi                          $50.00
   Emily                      Manders                             $50.00
   Neha                       Mandhani                            $50.00
   Rob                        Mandrov                            $100.00
   Myla                       Manese                             $100.00
   Yvette                     Mangalindan                        $100.00
   Peggy                      Mangot                             $100.00
   Coli And Ryan              Mangroo                             $60.00
   Linda                      Manion-Camenzind                    $50.00
   Armando                    Mann                               $200.00
   Lisa                       Mann                               $100.00
   Philip                     Mann                                $50.00
   Gayla                      Manning                             $40.00
   Gayla                      Manning                             $50.00
   Kristie                    Manning                             $50.00
   Laura                      Manning                            $100.00
   Melanie                    Manning                             $50.00
   Michael                    Manning                            $100.00
   Seth                       Manoff                              $60.00
   Christina                  Manonian                           $100.00
   Zachary                    Manprin                            $250.00
   Laura                      Mans                                $25.00
   Sarah-Beth                 Mansfield                           $50.00
   Sonia                      Mansfield                           $50.00
   Elana                      Manson                              $50.00
   Janet M                    Manson                              $30.00
   Janet M                    Manson                              $50.00
   Sarah                      Manthey                             $34.00
   Donna                      Manuel                              $75.00
   Erik                       Manuevo                            $250.00
   Weston                     Manzer                              $50.00
   Angela                     Mapa                                $50.00
   Katie                      Mapes                              $100.00
   Ryan                       Maples                              $60.00
   Kiley                      Mar                                 $90.00
   Shirley                    Mar                                 $90.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Araz                       Marachelian                           $200.00
   Araz                       Marachelian                           $250.00
   Kevin                      Maragh                                 $50.00
   Kat                        Maramba                                $40.00
   Cara                       Marasco                               $100.00
   Nicole                     Marble                                 $50.00
   Elisa                      Marcaletti                             $50.00
   Rob                        Marcaletti                            $120.00
   Amanda                     Marchand                               $50.00
   Joseph                     Marchesano                             $50.00
   Claire                     Marchiano                             $100.00
   Barbara                    Marchini-Ellis                        $150.00
   Barbara                    Marchini-Ellis                        $300.00
   Rachel                     Marcic                                $100.00
   Deborah                    Marcus                                 $50.00
   Deborah                    Marcus                                 $50.00
   Deborah                    Marcus                                $150.00
   Julia                      Marcus                                 $75.00
   Taylor                     Marcus                                 $50.00
   Taylor                     Marcus                                 $50.00
   Janet                      Marder                                $250.00
   Andrea                     Mardesich                              $42.50
   Andrea                     Mardesich                              $50.00
   Roxane                     Marenberg                             $100.00
   Lindsay                    Marett                                $100.00
   Barry                      Margerum                              $100.00
   Julie                      Margett                                $50.00
   Becky                      Margiotta                              $50.00
   Frank                      Margolis                              $100.00
   Jason                      Margolis                              $100.00
   Jeffrey                    Margolis                              $100.00
   Peter                      Margolis                              $100.00
   Angela                     Margraf                                $60.00
   Bree                       Maria                                  $30.00
   Evangeline                 Mariano                               $100.00
   Karley                     Mariano                               $100.00
   Cecile                     Marie                                 $100.00
   Marieque                   Marieque                               $50.00
   Emily                      Mariko-Sanders                         $50.00
   Gerardo                    Marin                                 $100.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Neyssa                     Marina                             $100.00
   Sue Ann                    Marinas                             $50.00
   Christina                  Marini                             $250.00
   Christina                  Marini                             $250.00
   Margaret                   Marino                             $100.00
   Michelle                   Marion                              $50.00
   Erin                       Maris                               $50.00
   Elaine                     Mark                               $100.00
   Sara                       Mark                                $50.00
   Anna                       Markee                              $50.00
   Anna                       Markee                              $75.00
   Lydia L                    Markoff                             $20.00
   Lydia L                    Markoff                             $50.00
   Abby                       Marks                               $50.00
   Jaclyn                     Marks                               $50.00
   Kathleen                   Marks                               $40.00
   Amy                        Markus                             $100.00
   Mariam                     Markus                              $50.00
   Tamara                     Markwick Demille                    $50.00
   Mike                       Marl                                $50.00
   Tara                       Marlovits                           $50.00
   Elizabeth                  Marlow                             $150.00
   Amanda                     Marmer                             $100.00
   Carrie                     Marmesh                             $40.00
   Carrie                     Marmesh                             $50.00
   Cathy                      Marmol                             $100.00
   Andrea                     Marmor                              $80.00
   Christine                  Marosvary                           $50.00
   Pam                        Marquez                            $100.00
   Elisabeth                  Marquis                            $250.00
   Alison                     Marquiss                            $75.00
   La                         Marr                               $100.00
   Laura                      Marr                               $100.00
   Laura                      Marr                               $100.00
   Laura                      Marr                               $100.00
   Laura                      Marr                               $100.00
   Allison                    Marrazzo                            $50.00
   Allison                    Marrazzo                           $100.00
   Allison                    Marrazzo                           $100.00
   Jackie                     Marsey                              $50.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Beth                       Marsh                               $50.00
   Carole                     Marsh                               $50.00
   Kristin                    Marsh                               $50.00
   Sarah                      Marsh                              $100.00
   Susan                      Marsh                              $250.00
   Tara                       Marsh                              $150.00
   Zula                       Marsh                               $40.00
   Anne                       Marshall                            $42.50
   Chae                       Marshall                            $50.00
   Deborah                    Marshall                           $250.00
   Leanne                     Marshall                           $500.00
   Mary                       Marshall                            $75.00
   Maureen                    Marshall                           $100.00
   Robyn                      Marshall                            $50.00
   Tristi                     Marshall                            $50.00
   Lauren                     Marshman                            $40.00
   Tanya                      Marston                             $40.00
   Brad                       Martens                             $50.00
   Wendy                      Marti                              $100.00
   Yana                       Martichonok                        $100.00
   Adam                       Martin                              $75.00
   Alice                      Martin                             $100.00
   Alice                      Martin                             $100.00
   Brant                      Martin                             $100.00
   Brian                      Martin                             $100.00
   Britt                      Martin                              $50.00
   Cherilyn                   Martin                              $50.00
   Craig                      Martin                              $42.50
   Dalton                     Martin                              $50.00
   Dalton                     Martin                             $100.00
   Dan                        Martin                             $100.00
   Danielle                   Martin                              $50.00
   Ellen                      Martin                             $100.00
   Erin                       Martin                              $50.00
   Jackie                     Martin                              $50.00
   Jacque                     Martin                              $50.00
   Jillian                    Martin                             $100.00
   Kimberly                   Martin                              $40.00
   Kimberly                   Martin                              $50.00
   Kimberly                   Martin                              $50.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Laura                      Martin                                $100.00
   Lavonna                    Martin                                 $75.00
   Michelle                   Martin                                $150.00
   Nicolette                  Martin                                $150.00
   Rebecca                    Martin                                $100.00
   Sandra L                   Martin                                $100.00
   Sandy                      Martin                                $100.00
   Stef                       Martin                                 $80.00
   Taylor                     Martin                                 $40.00
   Taylor                     Martin                                 $40.00
   Valerie                    Martin                                 $50.00
   Valerie                    Martin                                 $50.00
   Adrienne                   Martinez                              $150.00
   Amanda                     Martinez                               $40.00
   Amanda                     Martinez                               $50.00
   Cheryl                     Martinez                              $200.00
   Jenifer                    Martinez                              $100.00
   Jenny                      Martinez                               $50.00
   Jenny                      Martinez                               $50.00
   Jessica                    Martinez                              $100.00
   Kimberly                   Martinez                              $100.00
   Kimberly                   Martinez                              $200.00
   Nancy                      Martinez                               $40.00
   Suzanne                    Martinez                              $250.00
   Suzanne                    Martinez                              $500.00
   Teri                       Martinez                               $50.00
   Tory                       Martinez                               $50.00
   Virginia                   Martinez                               $25.00
   Laura                      Martinez-Fonts                         $50.00
   Laura                      Martinez-Fonts                         $50.00
   Ashley                     Martin-Golis                           $42.50
   Ashley                     Martin-Golis                           $50.00
   Ann                        Martini                                $50.00
   Alex                       Martin-Laws                            $50.00
   Alex                       Martin-Laws                            $50.00
   Keri                       Martinowich                           $250.00
   Kelly                      Martinsen                              $50.00
   Kelly                      Martinsen                              $50.00
   Susan                      Martinson                             $100.00
   Nancy                      Martira                                $50.00


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   Buyer First Name           Buyer Last Name           Gift Card Amount
   Nancy                      Martira                               $50.00
   Andy                       Martone                               $40.00
   Trina                      Martynowicz                          $150.00
   Dawn                       Martynuik                            $100.00
   Umaima                     Marvi                                 $50.00
   Anne                       Marvin                                $50.00
   Sara                       Marxmiller                            $42.50
   Meredith                   Marzuoli                              $85.00
   Amy                        Maschio                              $100.00
   Leigh Ann                  Masen                                 $50.00
   Carrie                     Maser                                 $25.00
   Tracy                      Masington                             $80.00
   Cory                       Mason                                 $50.00
   Cory                       Mason                                 $50.00
   Happy                      Mason                                $100.00
   Kate                       Mason                                 $50.00
   Kathleen                   Mason                                $100.00
   Kristin                    Mason                                $100.00
   Marilyn                    Mason                                 $50.00
   Sandra                     Massa                                $500.00
   John                       Massaro                               $30.00
   Rigel                      Massaro                              $100.00
   Tracy                      Massaro                               $40.00
   Sharon'S                   Masse                                 $50.00
   Amber                      Masselot                             $100.00
   Christina                  Masson                                $50.00
   Christina                  Masson                                $50.00
   Nicole                     Massoni                              $100.00
   Judy                       Mastracchio                           $42.50
   Dan                        Mastrian                             $100.00
   Trina                      Mastro                                $50.00
   Robin                      Masuda                                $50.00
   Erin                       Masuoka                               $50.00
   Asha                       Masurekar                             $50.00
   Ronit                      Matabuena-Lev                         $25.00
   Katya                      Matanovic                             $50.00
   Kyle                       Matarrese                             $20.00
   Jessica                    Mateja                                $50.00
   Julie                      Mateo                                $170.00
   Angelo                     Matheou                              $250.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Lauren                    Matheou                            $40.00
   Lauren                    Matheou                           $100.00
   Sarah                     Matheson                          $100.00
   Curtis                    Mathew                             $50.00
   Brooklyn                  Mathison                           $50.00
   Michelle                  Matisin                           $150.00
   Nancy                     Matlin                             $50.00
   Nancy                     Matlin                             $50.00
   Ashley                    Matsui                            $100.00
   Ashley                    Matsui                            $100.00
   Bruce I                   Matsui                             $50.00
   Bruce I                   Matsui                             $50.00
   Bruce I                   Matsui                             $80.00
   Bruce I                   Matsui                            $150.00
   Ryan                      Matsumura                          $50.00
   Sharon                    Matsumura                         $100.00
   Sharon                    Matsumura                         $100.00
   Lani                      Matsunaga                          $65.00
   Kathy                     Matsushita                        $100.00
   Kathy                     Matsushita                        $150.00
   Rachel                    Matt                               $80.00
   Sheri                     Matteo                            $100.00
   Laura                     Matteucci                         $100.00
   Celene                    Matthews                           $50.00
   Emily                     Matthews                           $40.00
   Joan                      Matthews                           $40.00
   Kimberly                  Matthews                          $100.00
   Lauren                    Matthews                           $50.00
   Lindsey                   Matthews                           $40.00
   Marc                      Matthews                           $50.00
   Marc                      Matthews                           $50.00
   Samantha                  Matthews                           $50.00
   Carol                     Matthys                           $100.00
   Amy                       Mattila                           $100.00
   Heather                   Mattingly                         $100.00
   Angela                    Mattioli                           $25.00
   Hilary                    Mattis                            $150.00
   Lucia                     Mattox                            $100.00
   Cia                       Mattress                           $20.00
   Erin                      Mattson                            $50.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Monica                     Mattson                            $50.00
   Thelxe                     Matty                             $200.00
   Aliza                      Matusevich                         $50.00
   Crystal                    Matye                              $50.00
   Michelle                   Matz                              $100.00
   Emily                      Mau                                $30.00
   Ryan                       Mau                               $120.00
   Mark                       Mauberret                          $50.00
   Christina                  Mauch                             $100.00
   Ellen                      Mauldin                            $50.00
   Christine                  Maulhardt                         $250.00
   Michelle                   Maurer                             $50.00
   Patrick                    Mauro                             $100.00
   Linda                      Mavity                             $50.00
   Linda                      Maxell                             $50.00
   Jamaica                    Maxwell                            $50.00
   Jodi                       Maxwell                           $250.00
   Louella                    Maxwell                            $50.00
   Alissa                     May                                $50.00
   Dalynn                     May                                $50.00
   Jacqueline                 May                               $100.00
   Linda                      May                               $250.00
   Margaret                   May                               $100.00
   Cassandra                  Mayall                             $40.00
   Courtney                   Mayeda                             $40.00
   Maria                      Mayer                              $50.00
   Marsha                     Mayer                             $100.00
   Tricia                     Maynard                           $100.00
   Rachel                     Mayne                              $42.50
   Julie                      Mayo                              $100.00
   Julie                      Mayo                              $100.00
   Maggie                     Mayo                               $50.00
   Maggie                     Mayo                               $50.00
   Maggie                     Mayo                              $100.00
   Marcia                     Mayo                               $80.00
   Anne-Sophie                Mayos                             $240.00
   Marilyn                    Mazer                              $90.00
   Hilarie                    Mazur                              $50.00
   Gina                       Mazza                              $50.00
   Jennifer                   Mazza                             $100.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Misty                     Mazzara                               $100.00
   Sabrina                   Mazzei                                 $25.00
   Miriam                    Mc Guinness                           $100.00
   Evan                      Mcafee                                 $50.00
   Jamie                     Mcafee                                 $50.00
   Timothy                   Mcafee                                $125.00
   Jennifer                  Mcalister                             $300.00
   Kristi                    Mcalister                             $100.00
   Christie                  Mcallister                             $50.00
   Katie                     Mcallister                            $100.00
   Mercedes                  Mcandrew                              $100.00
   Michele                   Mcardle                                $50.00
   Ann                       Mcateer                                $30.00
   Ann                       Mcateer                                $30.00
   Colin                     Mcauliffe                             $100.00
   Emily                     Mcauliffe                              $50.00
   Christina                 Mcbride                                $40.00
   Tara                      Mcbride                                $50.00
   Jacqueline                Mccabe                                $250.00
   Liana                     Mccabe                                $100.00
   Linda                     Mccabe                                 $50.00
   Scott                     Mccabe                                 $40.00
   Kate                      Mccaffrey                              $50.00
   Kim                       Mccall                                $100.00
   Megan                     Mccall                                 $25.00
   Megan                     Mccall                                 $50.00
   Traci                     Mccallick                              $60.00
   Colleen                   Mccallion                              $50.00
   Colleen                   Mccallion                             $200.00
   Jocelyn                   Mccanles                               $50.00
   Tim                       Mccanna                                $50.00
   Tim                       Mccanna                                $50.00
   Kevan                     Mccarten-Gibbs                        $250.00
   Callie Rae                Mccarthy                               $50.00
   Drue                      Mccarthy                               $40.00
   Jennifer                  Mccarthy                               $80.00
   Kara                      Mccarthy                               $50.00
   Kate                      Mccarthy                               $50.00
   Katherine                 Mccarthy                               $50.00
   Robin                     Mccarthy                              $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Sarah                     Mccarthy                           $50.00
   Stacy                     Mccarthy                           $40.00
   Pamela                    Mccarthy-Hudson                    $50.00
   Pamela                    Mccarthy-Hudson                    $50.00
   Pamela                    Mccarthy-Hudson                    $50.00
   Pamela                    Mccarthy-Hudson                    $50.00
   Pamela                    Mccarthy-Hudson                    $50.00
   Darren                    Mccartney                          $50.00
   Monica                    Mccarty                            $42.50
   Sarah                     Mccasland                          $50.00
   Alex                      Mcclain                            $42.50
   David                     Mcclain                           $100.00
   David                     Mcclain                           $125.00
   Jennifer                  Mcclain                            $50.00
   Kevin                     Mcclain                            $40.00
   Patricia                  Mcclain                           $100.00
   Turi                      Mcclain                           $100.00
   Cristina                  Mcclanahan                        $100.00
   Marieke                   Mccloskey                         $100.00
   Chelsea                   Mcclure                           $100.00
   Rose                      Mcclure                            $50.00
   Gail                      Mccollom                          $100.00
   Marcella                  Mccollum                           $37.00
   Suzanne                   Mccombs                           $100.00
   Chris                     Mcconnell                          $50.00
   Garrett                   Mcconnell                         $250.00
   Courtney                  Mccook                            $200.00
   Jon                       Mccord                            $100.00
   Sarah                     Mccord                            $100.00
   Brigid                    Mccormack                          $42.50
   Joan                      Mccormack                         $100.00
   Kristen                   Mccormack                          $42.50
   Betsy                     Mccormick                          $90.00
   Dan                       Mccormick                         $100.00
   Jen                       Mccormick                         $120.00
   Jennifer                  Mccormick                         $125.00
   Kathleen                  Mccormick                         $100.00
   Kinsey                    Mccormick                         $100.00
   Lindsay                   Mccormick                         $100.00
   Pete                      Mccormick                         $100.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Christopher                Mccown                            $100.00
   Mary                       Mccoy                             $200.00
   Myra                       Mccoy                              $50.00
   Myra                       Mccoy                             $100.00
   Myra                       Mccoy                             $100.00
   Andrea                     Mccracken                          $85.00
   Kailyn                     Mccracken                          $42.50
   Kailyn                     Mccracken                          $50.00
   Lisette                    Mccracken                         $100.00
   Meredith                   Mccracken                          $50.00
   Allia                      Mccrank                            $50.00
   Heather                    Mccrary                            $50.00
   Patty                      Mccrary                           $100.00
   Chad                       Mccrea                             $60.00
   Eric                       Mccrea                             $50.00
   Laura                      Mccreary                           $85.00
   Elizabeth                  Mccue                              $30.00
   Mary                       Mccue                             $250.00
   Michael                    Mccue                             $100.00
   Lara                       Mccullough                        $120.00
   Lara                       Mccullough                        $135.00
   Lara                       Mccullough                        $170.00
   Lara                       Mccullough                        $250.00
   Lara                       Mccullough                        $250.00
   Maureen                    Mccullough                         $40.00
   Lucy                       Mccully                           $250.00
   Shannon                    Mccumber                          $200.00
   Ellie                      Mccune                            $100.00
   Brenda                     Mccurley                          $225.00
   Eimear                     Mccurry                           $100.00
   Leslie                     Mcdaniel                           $40.00
   Katy                       Mcdermott                          $50.00
   Ana                        Mcdevitt                          $100.00
   Elizabeth                  Mcdevitt                          $127.50
   Nancy                      Mcdevitt                           $40.00
   Nancy                      Mcdevitt                           $40.00
   Nancy                      Mcdevitt                           $40.00
   Nancy                      Mcdevitt                           $40.00
   Amelia                     Mcdonald                          $100.00
   Caroline                   Mcdonald                          $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   John                      Mcdonald                          $150.00
   Lisa                      Mcdonald                          $100.00
   Mckenzie                  Mcdonald                          $100.00
   Nancy                     Mcdonald                          $100.00
   Peter                     Mcdonald                           $50.00
   Robin                     Mcdonald                          $100.00
   Robin                     Mcdonald                          $150.00
   Rowyn                     Mcdonald                           $40.00
   Sarah                     Mcdonald                          $150.00
   Taslim                    Mcdonald                          $100.00
   Elizabeth                 Mcdonald-Zwoyer                    $40.00
   Colleen                   Mcdonnell                         $450.00
   Philip                    Mcdonnell                         $100.00
   Sade                      Mcdougal                           $40.00
   Heather                   Mcdowell                           $50.00
   Meta                      Mcdowell                          $250.00
   Christine                 Mcelhaney                         $100.00
   Patricia                  Mcelroy                            $25.00
   Sharon                    Mcelroy                            $50.00
   Mary Elaine               Mcenery                            $90.00
   Erika                     Mcenroe                           $100.00
   Rebecca                   Mcentee                            $50.00
   Rebecca                   Mcentee                            $50.00
   Jacquie                   Mcevoy                            $100.00
   Jacquie                   Mcevoy                            $100.00
   Dana                      Mcfadden                          $150.00
   Greg                      Mcfann                             $40.00
   Carrie                    Mcfarland                          $30.00
   Kelsey                    Mcfarland                         $100.00
   Rachel                    Mcfarland                         $100.00
   Rachel                    Mcfarland                         $200.00
   Rachel                    Mcfarland                         $200.00
   Tammy                     Mcfarland                          $50.00
   Karen                     Mcgahey                           $500.00
   Karen                     Mcgahey                           $500.00
   Karen                     Mcgahey                           $500.00
   Alison                    Mcgann                            $100.00
   Kris                      Mcgann                             $42.50
   Kris                      Mcgann                             $42.50
   Lisa                      Mcgann                             $40.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Jeff                      Mcgarry                            $50.00
   Tom                       Mcgaugh                           $100.00
   Heather                   Mcgill                             $25.00
   Heather                   Mcgill                             $25.00
   Amy                       Mcginnis                          $150.00
   Michael                   Mcginnis                          $100.00
   David                     Mcgivney                          $100.00
   David                     Mcgivney                          $100.00
   David                     Mcgivney                          $100.00
   Cassandra                 Mcgoldrick                        $100.00
   Cassandra                 Mcgoldrick                        $100.00
   Gregory                   Mcgonigal                         $250.00
   Gregory                   Mcgonigal                         $250.00
   Anna                      Mcgough                            $48.00
   Kate                      Mcgovern                           $40.00
   Ann-Marie                 Mcgowan                           $100.00
   Jamese                    Mcgowan                           $150.00
   Lily                      Mcgowan                           $250.00
   Andrew                    Mcgraime                           $80.00
   Marcia                    Mcgraime                          $100.00
   Lee                       Mcgrath                            $42.50
   Meaghan                   Mcgrath                            $50.00
   Sheryl                    Mcgrath                           $100.00
   Stephanie                 Mcgraw                             $80.00
   David                     Mcgregor                          $100.00
   Reiann                    Mcgrew                            $100.00
   Sam                       Mcgue                              $30.00
   Gail                      Mcguffey                           $60.00
   Jean                      Mcguiness                          $50.00
   Julia                     Mcguire                           $100.00
   Kristen                   Mcguire                           $150.00
   Kristen                   Mcguire                           $150.00
   Leah                      Mcguire                           $100.00
   Michael                   Mcguire                            $50.00
   Kristen                   Mchale                            $100.00
   Jessica                   Mchugh                            $100.00
   Courtney                  Mcilhenny                         $100.00
   Maureen                   Mcinerney                          $50.00
   Diane                     Mcinerny                          $100.00
   Kris                      Mcintosh                           $75.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Alexa                      Mcintyre                           $50.00
   June                       Mcintyre                          $100.00
   Sarah                      Mcintyre                           $50.00
   Claudia                    Mcisaac                            $21.25
   Brendan                    Mckasy                             $50.00
   Jessica                    Mckay                              $60.00
   Paula                      Mckay                              $80.00
   Roseanna                   Mckay                              $25.50
   Andrew                     Mckee                             $100.00
   Arielle                    Mckee                             $100.00
   Beverly                    Mckee                              $50.00
   Marcy                      Mckee                             $150.00
   Jim & Judy (Lindsey)       Mckellar                          $500.00
   Laura                      Mckelvey                           $25.00
   Laura                      Mckelvey                           $25.00
   Meighan                    Mckelvey                           $75.00
   Michelle                   Mckendree                         $100.00
   Nicole                     Mckendry                          $100.00
   Fiona                      Mckenna                           $120.00
   Kelly                      Mckenna                            $50.00
   Meghann                    Mckenna                            $38.00
   Robyn                      Mckenzie                           $50.00
   Carla                      Mckiernan                         $100.00
   Diana                      Mckim                              $50.00
   Diana                      Mckim                              $60.00
   Maddie                     Mckinley                           $50.00
   Blake                      Mckinney                          $100.00
   Kim                        Mckinney                          $250.00
   Lauren                     Mckinney                           $80.00
   William                    Mckinney                           $75.00
   Meg                        Mcknight                          $100.00
   Laurie                     Mclachlan                          $42.50
   Barbara                    Mclaughlin                        $100.00
   Christopher                Mclaughlin                         $50.00
   Gavin                      Mclaughlin                         $50.00
   Marcia                     Mclaughlin                        $100.00
   Monica                     Mclaughlin                         $50.00
   Rosie                      Mclaughlin                        $170.00
   Cory                       Mclean                            $100.00
   Melissa                    Mclean                             $75.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Meredith                   Mclean                             $50.00
   Lori                       Mcleese                           $100.00
   Brittney                   Mcleod                             $50.00
   Courtney                   Mcleod                            $100.00
   Kaitlyn                    Mcloughlin                         $50.00
   Tracy                      Mcmahan                           $100.00
   Kate                       Mcmahon                            $50.00
   Niamh                      Mcmahon                            $50.00
   Shannon                    Mcmahon                            $50.00
   Kimberlea                  Mcmanigal                          $50.00
   James                      Mcmanis                            $50.00
   Charmaine                  Mcmanus                            $75.00
   Joan                       Mcmanus                            $50.00
   Stephanie                  Mcmichael                          $42.50
   Stephanie                  Mcmichael                          $42.50
   Stephanie                  Mcmichael                          $50.00
   Stephanie                  Mcmichael                          $50.00
   Megan                      Mcmillan                           $75.00
   Sarah                      Mcmillan                          $100.00
   Sarah                      Mcmillan                          $150.00
   Karen                      Mcmullen                          $100.00
   Jennifer                   Mcnab                              $50.00
   Jessica                    Mcnally                            $30.00
   Kathleen                   Mcnamara                           $35.00
   Kathleen                   Mcnamara                           $40.00
   Kathleen                   Mcnamara                           $50.00
   Lacey                      Mcneal                             $50.00
   Michelle                   Mcneil                             $50.00
   Kristin                    Mcneill                           $100.00
   Mark                       Mcnelis                            $25.00
   Monique                    Mcnellie                           $75.00
   Penny                      Mcnelly                            $50.00
   Erin                       Mcnerney                           $75.00
   Matthew                    Mcnichol                           $50.00
   Kathy                      Mcnicholas                         $60.00
   Julia                      Mcninch                           $200.00
   Eda                        Mcnulty                           $100.00
   Maureen                    Mcnulty                           $150.00
   Anne                       Mcpherson                          $42.50
   Anne                       Mcpherson                          $42.50


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Anne                      Mcpherson                            $42.50
   Jenny                     Mcpherson                            $50.00
   Jenny                     Mcpherson                            $50.00
   Ben                       Mcredmond                           $200.00
   Ryan                      Mcreynolds                           $50.00
   Kelly                     Mcrory                               $85.00
   Katie                     Mcsherry                             $50.00
   Katie                     Mcsherry                             $50.00
   Lisa                      Mctaggart                           $100.00
   Lyrica                    Mctiernan                            $50.00
   Lynda                     Mcvarish                             $50.00
   James                     Mcwilliams                           $50.00
   Kristen                   Mead                                 $50.00
   Ann                       Meade                               $100.00
   Kelly                     Meadow                               $50.00
   Alison                    Meadows                             $250.00
   Kevin                     Means                                $50.00
   Anna                      Mecagni                              $50.00
   Kassandra                 Medeiros                             $75.00
   Nancy                     Medeiros                            $100.00
   Arun                      Medhekar                            $100.00
   Ruchi                     Medhekar                            $100.00
   Pedersen                  Media                               $100.00
   Blanca                    Medina                               $75.00
   Laura                     Medrano                              $50.00
   Shayna                    Medved                              $100.00
   Alexa                     Meenan                               $50.00
   Marta                     Meengs                              $100.00
   Yasmine                   Mehmet                               $75.00
   Carolyn                   Mehran                              $250.00
   Amisha                    Mehta                                $25.00
   Amisha                    Mehta                                $50.00
   Nina                      Mehta                                $50.00
   Purnima                   Mehta Taylor                        $200.00
   Andrea                    Meier                                $80.00
   Andrea                    Meier                                $80.00
   Leslie                    Meier                                $50.00
   Leslie                    Meier                                $50.00
   Peter                     Meier                               $100.00
   Elisabeth                 Meikle                               $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Victor                    Meinke                             $100.00
   Lesley                    Meister                             $25.00
   Anna                      Meitz                               $50.00
   Anna                      Meitz                               $75.00
   Maral                     Mekhjian                            $42.50
   May                       Melehan                             $42.50
   Michelle                  Melen                               $50.00
   Dani                      Melendy                             $80.00
   Sadie                     Melgoza                             $25.00
   Ann                       Melinger                            $50.00
   Alison                    Mellberg                            $50.00
   Michelle                  Mello                               $50.00
   Christina                 Mellon                              $40.00
   Jenny                     Mellor                              $50.00
   Marc                      Melnick                            $100.00
   Joel                      Meltzer                            $150.00
   John                      Melvin                              $50.00
   Kathryn                   Mena                               $200.00
   Naomi                     Menahem                             $30.00
   Vincenzo                  Menanno                             $50.00
   Stephen                   Menaquale                          $250.00
   Peter                     Menard                             $100.00
   David                     Mendell                            $100.00
   Deborah                   Mendelsohn Behrakis                 $40.00
   Anthony                   Mendelson                           $50.00
   Miles                     Mendenhall                          $50.00
   Miles                     Mendenhall                         $150.00
   Kristen                   Mendes                              $50.00
   Elizabeth                 Mendez                              $50.00
   Nick                      Mendola                            $150.00
   Anna                      Mendoza                            $100.00
   Anna                      Mendoza                            $150.00
   Anna                      Mendoza                            $150.00
   Maria                     Mendoza                             $40.00
   Maria                     Mendoza                             $40.00
   David                     Menestrina                          $30.00
   Chris                     Menezes                             $50.00
   Laura                     Menezes                             $50.00
   Yin                       Meng                                $30.00
   Melissa                   Menge                               $50.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Melissa                    Menge                              $50.00
   Cecile                     Menissier                          $40.00
   Kim                        Menninger                         $150.00
   Geoff                      Meno                               $20.00
   Anu                        Menon                              $25.00
   Supriya                    Menon                              $50.00
   Eileen                     Menteer                            $50.00
   Walter                     Menzel                            $100.00
   Tess                       Menzies                            $21.25
   Ana P                      Mercado                            $50.00
   Bridget                    Mercay                             $50.00
   Mary                       Mercer                             $50.00
   Leone                      Merchant                           $70.00
   Allison                    Meredith                          $100.00
   Samantha                   Meredith                           $50.00
   Samantha                   Meredith                          $100.00
   Samantha                   Meredith                          $150.00
   Doug                       Merian                             $50.00
   Michelle                   Merin                              $60.00
   Kirsten                    Merit                              $50.00
   Devorah                    Merling                            $50.00
   Karen                      Merlini                           $150.00
   Annie                      Mero                               $30.00
   Michael                    Merola                             $50.00
   Sarah                      Merola                             $40.00
   Kathi                      Merrick                            $80.00
   Micah                      Merrick                            $25.00
   Micah                      Merrick                            $50.00
   Lara                       Merrigan                          $100.00
   Deirdre                    Merrill                            $50.00
   Deirdre                    Merrill                            $50.00
   Jennifer                   Mertens                            $50.00
   Nick                       Merz                              $100.00
   Anna                       Mesbahi                           $100.00
   Cynthia                    Messer                             $80.00
   Nita                       Messerli                           $40.00
   Cara                       Messina                            $40.00
   Paula                      Messina                            $25.00
   Lin                        Messinger                         $100.00
   Brittany                   Messmer                            $50.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Brittany                   Messmer                           $212.50
   Sarah                      Metcalf                            $50.00
   Anna                       Metrailer                          $50.00
   Nina                       Mettler                            $50.00
   Kristin                    Mettraux                          $100.00
   Erin                       Metzger                            $25.00
   Marylou                    Metzger                            $50.00
   Elizabeth                  Meunier                           $250.00
   Jessica                    Meunier                            $30.00
   Farnaz                     Meybodi                           $300.00
   Audrey                     Meyer                              $50.00
   Bethany                    Meyer                              $40.00
   Caitlin                    Meyer                              $50.00
   Colleen                    Meyer                             $100.00
   Megan                      Meyer                             $100.00
   Peggy                      Meyer                             $100.00
   Rachel                     Meyer                              $36.00
   Amy                        Meyers                             $85.00
   Christine                  Meyers                             $42.50
   Christine                  Meyers                             $50.00
   David                      Meyers                            $100.00
   Ellyn                      Meyers                            $500.00
   Erin                       Meyers                             $80.00
   Bernadette                 Meyler                            $100.00
   Bernadette                 Meyler                            $100.00
   Lee                        Mezistrano                        $200.00
   Leesa                      Miao                              $250.00
   Melanie                    Miao                              $100.00
   Hal Lynne                  Micali                            $250.00
   Frank                      Miceli                            $100.00
   Leslie                     Micetich                           $40.00
   Cindy                      Michael                           $100.00
   Catherine                  Michaels                          $100.00
   Jessica                    Michaels                          $100.00
   Kristin                    Michaels                           $25.00
   Kristin                    Michaels                           $50.00
   Kristin                    Michaels                           $50.00
   Lindsey                    Michaels                          $100.00
   Linsay                     Michaelson                        $150.00
   Jason                      Michalski                          $25.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Kerri                     Mickelsen                             $110.00
   Tim                       Micsko                                $100.00
   Chris                     Middleton                             $150.00
   Eva                       Miehm                                 $100.00
   Meagan                    Mielke                                 $30.00
   Meagan                    Mielke                                 $40.00
   Meagan                    Mielke                                 $50.00
   Meagan                    Mielke                                $100.00
   Tony                      Mignot                                 $50.00
   Shayla                    Mihaly                                 $50.00
   Nob                       Mihara                                $100.00
   Christina                 Mijalski Sells                        $100.00
   Christina                 Mijalski Sells                        $200.00
   Charlotte                 Milan                                 $100.00
   Madeleine                 Milan                                 $100.00
   Nancy                     Milano                                 $45.00
   Phil                      Milazo                                 $40.00
   Sarah                     Milburn                                $50.00
   Matt                      Milde                                  $50.00
   Glen                      Miles                                  $50.00
   Kathryn                   Miles                                 $200.00
   Matt                      Miles                                  $50.00
   Matt                      Miles                                  $50.00
   Matt                      Miles                                 $100.00
   Alex                      Miller                                $100.00
   Alice                     Miller                                 $50.00
   Anita                     Miller                                 $50.00
   Anne                      Miller                                $100.00
   Barb                      Miller                                 $50.00
   Bobbi-Sue                 Miller                                 $35.00
   Bobbi-Sue                 Miller                                 $35.00
   Bryan                     Miller                                $250.00
   Casey                     Miller                                 $40.00
   Christine                 Miller                                 $50.00
   Courtney                  Miller                                $100.00
   David                     Miller                                 $42.50
   Deidre                    Miller                                 $29.75
   Deidre                    Miller                                 $30.00
   Doris                     Miller                                $100.00
   Elaine                    Miller                                 $85.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Emily                      Miller                             $80.00
   Jaime                      Miller                            $250.00
   Jaime                      Miller                            $250.00
   Jamie                      Miller                            $200.00
   Janiece                    Miller                             $42.50
   Jennifer                   Miller                             $35.00
   Jennifer                   Miller                             $50.00
   Julie                      Miller                             $30.00
   Kaetlin                    Miller                             $50.00
   Karen                      Miller                             $40.00
   Kelly                      Miller                            $100.00
   Kelsey                     Miller                            $100.00
   Laura                      Miller                            $100.00
   Lauren                     Miller                             $50.00
   Lauren                     Miller                            $100.00
   Leslie                     Miller                            $100.00
   Linnsey                    Miller                             $50.00
   Megan                      Miller                            $200.00
   Meghan                     Miller                            $200.00
   Melissa                    Miller                             $42.50
   Michael                    Miller                            $100.00
   Monica                     Miller                            $100.00
   Pamela                     Miller                             $50.00
   Patrick                    Miller                            $212.50
   Paul                       Miller                            $250.00
   Rachel                     Miller                             $35.00
   Rebecca                    Miller                             $50.00
   Rebecca                    Miller                            $250.00
   Rebeccah                   Miller                            $100.00
   Sarah                      Miller                             $40.00
   Shannon                    Miller                             $50.00
   Staci                      Miller                             $54.00
   Tanya                      Miller                             $30.00
   Tanya                      Miller                             $50.00
   Tanya                      Miller                             $50.00
   Tanya                      Miller                            $100.00
   Tomi                       Miller                            $100.00
   Tricia                     Miller                             $50.00
   Linda                      Millerick                          $80.00
   Katherine                  Millhiser                          $50.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Caroll                     Milligan                               $25.00
   Caroll                     Milligan                               $50.00
   Danielle                   Milligan                               $50.00
   Lisbeth                    Milligan                              $100.00
   Diane                      Milliken                               $85.00
   Amy                        Millington                             $40.00
   Susan                      Million                               $150.00
   Jane                       Millman                                $50.00
   Jeffrey                    Millman                                $80.00
   Jeanine                    Mills                                  $50.00
   Jennifer                   Mills                                 $250.00
   John                       Mills                                 $100.00
   Marlene                    Mills                                  $40.00
   Nannette                   Mills                                  $40.00
   Sarah                      Mills-Krutilek                         $90.00
   Nancy                      Millward                               $50.00
   Noriko                     Milman                                 $50.00
   Noriko                     Milman                                 $50.00
   Noriko                     Milman                                $100.00
   Stacy                      Milman                                 $25.00
   Debra                      Milner                                $100.00
   Brooke                     Milos                                  $50.00
   Francine                   Miltenberger                          $250.00
   Jim                        Milton                                $100.00
   Jim                        Milton                                $150.00
   Shalini                    Milutinovic                            $50.00
   Arthur                     Min                                    $50.00
   Megan                      Mina                                  $250.00
   V                          Minakawa                              $100.00
   Dale                       Minami                                $100.00
   Sheri                      Minamide                               $50.00
   Naho                       Minato                                 $50.00
   Jenny                      Miner                                 $100.00
   Katina                     Miner                                  $50.00
   Marie                      Minichiello                            $80.00
   Rachel                     Mino                                   $50.00
   Debra                      Minoff                                $200.00
   Rachael                    Minucciani                            $200.00
   Joe                        Minutoli                               $75.00
   Lynette                    Miramontes                            $100.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Crystal                    Miran                                  $80.00
   Molly                      Miranda                               $100.00
   Nicolas                    Miranda                               $212.50
   Ernesto                    Mireles                               $100.00
   Donna                      Mirenda                                $50.00
   Nadia                      Miret                                  $50.00
   Nadia                      Miret                                 $250.00
   Donna                      Mirov                                 $100.00
   Maya                       Mirt                                   $50.00
   Aaron                      Mishel                                 $50.00
   Jacob                      Mishell                               $250.00
   Elizabeth                  Misner                                 $50.00
   Thomas                     Mistele                               $250.00
   Etsuko                     Mitarai                                $50.00
   Katrina                    Mitchel                                $40.00
   Alexandria                 Mitchell                              $500.00
   Alison                     Mitchell                              $100.00
   Annie                      Mitchell                               $50.00
   Ashley & Chad              Mitchell                               $50.00
   Beth                       Mitchell                               $50.00
   Beth                       Mitchell                               $50.00
   Elizabeth                  Mitchell                               $50.00
   Karen                      Mitchell                              $100.00
   Kirstin                    Mitchell                               $25.00
   Lisa                       Mitchell                               $40.00
   Lakisha                    Mitchellmellor                        $100.00
   Lakisha                    Mitchellmellor                        $100.00
   Meseret                    Mitiku                                $100.00
   Jay                        Mitsch                                 $50.00
   Tani                       Mitsch                                 $40.00
   Evonne                     Mitsuka                                $50.00
   Linda                      Mitteness                             $100.00
   Amy                        Mittlemann                             $50.00
   Michael                    Mitton                                $100.00
   Debbi                      Mitts                                 $100.00
   Linda                      Mixon                                  $42.50
   Nadine                     Miyahara                               $20.00
   Nadine                     Miyahara                               $20.00
   Patti                      Miyakawa                              $100.00
   Yoichi                     Miyazaki                               $40.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Marvin                    Miyoshi                             $100.00
   Michelle                  Miyoshi                              $50.00
   Stephanie                 Miziker                              $50.00
   Myra                      Mizokami                            $150.00
   Pearl                     Mizrahi                              $25.00
   Teri                      Mizuhara                            $100.00
   Kiyomi                    Mizukami                            $100.00
   Nozomi                    Mizuno                               $25.00
   Elizabeth                 Moberg                               $80.00
   Erika                     Mobley                               $45.00
   Erin                      Mock                                 $80.00
   Lawrence                  Mock                                $100.00
   Mary                      Mockel                               $85.00
   Jacob                     Model                               $150.00
   Al                        Modena                              $100.00
   Nicole                    Modic                                $50.00
   Matt                      Modrzejewski                        $100.00
   Amy                       Modzelewski                         $100.00
   Erin                      Modzelewski                          $50.00
   Jen                       Moel                                $100.00
   Julianne                  Moeller                             $300.00
   Nathaniel                 Moffett                              $42.50
   Nathaniel                 Moffett                              $80.00
   Daniel                    Moglen                               $50.00
   Katja                     Mohr                                $150.00
   Leslie                    Mohr                                $150.00
   Alyssa                    Moir                                $250.00
   Line                      Moisan                               $50.00
   Ben                       Mok                                 $100.00
   Diana                     Mokaya                               $75.00
   Sierra                    Molina                              $100.00
   Michael                   Molinaro                            $250.00
   Scott                     Molinaroli                          $100.00
   Linda                     Moll                                $100.00
   Thomas                    Molloy                              $250.00
   Alexandra                 Molnar                              $100.00
   Jessica                   Molof                                $50.00
   Tessa                     Molter                               $50.00
   Hannah                    Momberg                              $50.00
   Courtney                  Momsen                               $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Courtney                  Momsen                              $50.00
   Alex                      Momtchiloff                         $50.00
   Lalita                    Monaghan                           $250.00
   James                     Monahan                            $100.00
   Janet                     Monas                              $100.00
   Alison                    Moncrieff                           $50.00
   Leila                     Mongan                             $100.00
   Theresa                   Mongan                             $500.00
   Joan                      Monicatti                          $250.00
   Joan                      Monicatti                          $250.00
   Sheila                    Monkarsh                            $50.00
   Sheila                    Monkarsh                            $80.00
   Sheila                    Monkarsh                           $100.00
   Jessica                   Monney                              $50.00
   Jessica                   Monney                              $50.00
   Jessica                   Monney                              $50.00
   Kristen                   Monroe                             $200.00
   Megan                     Monroe                             $100.00
   Tasha                     Monserrat                          $100.00
   Steven                    Monsey                             $250.00
   Erin                      Montagne                            $50.00
   Juliet                    Montague                            $30.00
   Sarah E                   Montague                           $250.00
   Amanda                    Montalvo                           $150.00
   Rachel                    Montana                            $100.00
   Kim                       Montaruli                           $50.00
   Anne                      Montgomery                         $100.00
   Fernando                  Montijo                             $25.00
   Mayra                     Montousse                           $50.00
   Erin                      Montoya                             $50.00
   Erin                      Montoya                             $50.00
   Christina                 Montsma                             $25.00
   Katherine                 Monty                               $50.00
   Katherine                 Monty                              $100.00
   Katherine                 Monty                              $127.50
   Wendy                     Moodie                             $100.00
   Wendy                     Moodie                             $100.00
   Janice                    Moon                               $250.00
   Laura                     Moon                               $100.00
   Virginia                  Moon                               $100.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Virginia                   Moon                              $100.00
   Abby                       Mooney                             $40.00
   Josephine                  Mooney                            $100.00
   Mikelle                    Mooney                            $100.00
   Nishi                      Moonka                            $125.00
   Caitlin                    Moore                             $150.00
   Christine                  Moore                             $100.00
   Donna                      Moore                             $200.00
   Donna                      Moore                             $200.00
   Elisa                      Moore                             $100.00
   Ellen                      Moore                              $85.00
   Jessica                    Moore                             $100.00
   Joyce                      Moore                              $40.00
   Joyce                      Moore                              $40.00
   Joyce                      Moore                              $40.00
   Joyce                      Moore                              $40.00
   Joyce                      Moore                              $80.00
   Katie                      Moore                             $100.00
   Kelly                      Moore                             $100.00
   Kristin                    Moore                              $50.00
   Lynn                       Moore                              $50.00
   Megan                      Moore                              $50.00
   Michael                    Moore                              $50.00
   Michael                    Moore                             $100.00
   Michael                    Moore                             $100.00
   Miranda                    Moore                             $250.00
   Monica                     Moore                              $50.00
   Phoebe                     Moore                             $100.00
   Stan                       Moore                              $50.00
   William                    Moore                              $50.00
   Dolores                    Moorehead                         $300.00
   Julie                      Moormeier                          $25.00
   Tara                       Mora                               $48.00
   Jan                        Morace                             $50.00
   Heather                    Morado                             $50.00
   Amy                        Morales                            $80.00
   Karen                      Morales                            $50.00
   Karen                      Morales                           $175.00
   Ml                         Morales                            $25.50
   Yuri                       Morales                            $50.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Christopher                Moran                              $50.00
   Lauren                     Moran                             $200.00
   Patrick                    Moran                             $250.00
   Paula                      Moran                              $45.00
   David                      Morandi                           $100.00
   Ashley                     Morando                           $120.00
   Beatriz                    Moraza                             $30.00
   William                    Moraza                             $25.00
   William                    Moraza                             $30.00
   Laura                      More                               $50.00
   Leigh Ann                  More                               $42.50
   Diana                      Moreau                             $50.00
   Carrie                     Moreci                             $30.00
   Alessandra                 Moreira                           $150.00
   Amie                       Morelli                           $100.00
   Gina                       Moreno                             $50.00
   Cristina                   Moreno Gonzalez                    $50.00
   Julie                      Moretti                           $250.00
   George                     Morf                              $250.00
   Amanda                     Morgan                            $100.00
   Anne                       Morgan                             $50.00
   Jenny                      Morgan                            $100.00
   Laurie                     Morgan                            $150.00
   Mia                        Morgan                            $150.00
   Pamela                     Morgan                            $100.00
   Jessica                    Moriates                           $50.00
   Jessica                    Moriates                          $100.00
   Adrianna                   Morici                             $50.00
   Priya                      Morine                            $250.00
   Erin                       Morioka                            $50.00
   Kim                        Morioka                           $325.00
   Lucia                      Moritz                            $100.00
   Anders                     Mork                              $150.00
   Cheryl                     Morones                           $100.00
   Maria                      Moroney                            $25.00
   Allison                    Moroni                            $160.00
   Kristin                    Morrell                           $100.00
   Jennifer                   Morrill                            $50.00
   Annmorris                  Morris                             $50.00
   Astrid                     Morris                            $250.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Cheryl                    Morris                            $150.00
   Cheryl                    Morris                            $150.00
   Christine                 Morris                            $150.00
   Cindy                     Morris                             $80.00
   Erica                     Morris                             $25.00
   Katharine                 Morris                            $200.00
   Lori                      Morris                             $50.00
   Mark                      Morris                             $50.00
   Mary                      Morris                            $100.00
   Melissa                   Morris                            $100.00
   R Curtis & Suzie          Morris                             $50.00
   R Curtis & Suzie          Morris                             $50.00
   R Curtis & Suzie          Morris                            $100.00
   Sean                      Morris                             $50.00
   Shauntae                  Morris                             $75.00
   Ashley                    Morrison                           $50.00
   Ellen                     Morrison                           $50.00
   Ellen                     Morrison                           $50.00
   Ellen                     Morrison                           $50.00
   Howard                    Morrison                           $50.00
   Katarina                  Morrison                           $50.00
   Linsey                    Morrison                           $50.00
   Maridelle                 Morrison                           $75.00
   Nasriah                   Morrison                          $100.00
   Jen                       Morrissey                         $100.00
   Edith                     Morrow                             $50.00
   Edith                     Morrow                             $80.00
   Dana                      Morse                             $100.00
   Jill                      Morse                              $50.00
   John                      Morse                              $80.00
   Chrissy                   Morss                             $500.00
   April                     Mortensen                          $50.00
   Aaron                     Morton                             $50.00
   Allie                     Morton                             $75.00
   Jessica                   Morton                             $45.00
   Suzanne                   Morton                             $42.50
   Suzanne                   Morton                            $100.00
   Lauren                    Moseley                           $100.00
   Lonnie                    Moseley                            $50.00
   Lonnie                    Moseley                            $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Marlee                    Moseley                            $200.00
   Valerie                   Moseley                             $35.00
   Emily                     Moses                               $50.00
   Emily                     Moses                               $50.00
   Annika                    Mosier                              $40.00
   Zoe                       Mosier                              $50.00
   Cassie                    Moskowitz                           $42.50
   Cassie                    Moskowitz                           $42.50
   Cassie                    Moskowitz                           $42.50
   Cassie                    Moskowitz                           $85.00
   Cassie                    Moskowitz                           $85.00
   David                     Moskowitz                          $100.00
   Lisa                      Moskowitz                           $42.50
   Grace                     Moss                               $125.00
   Jane                      Moss                               $100.00
   Wyatt                     Moss                                $50.00
   Gail                      Mosse                              $100.00
   Meagan                    Motley                              $30.00
   Meagan                    Motley                              $40.00
   Terri                     Motraghi                           $100.00
   Ruth                      Motter                              $50.00
   Kabao                     Moua                                $50.00
   Kabao                     Moua                               $100.00
   Kabao                     Moua                               $100.00
   Stephanie                 Moulard                             $45.00
   Shannon                   Mounger Lum                        $150.00
   Alice                     Mount                               $50.00
   Sarah                     Mourra                             $150.00
   Lori                      Mouser                              $42.50
   Kim                       Moutsos                             $50.00
   Alyce                     Moy                                 $50.00
   Robert                    Moyce                              $250.00
   Mary                      Moylan                             $250.00
   Jennifer                  Mrazik                              $50.00
   Nick                      Mucha                               $50.00
   Andrea                    Muchin                             $150.00
   Shikata                   Mudakha                            $100.00
   Claire                    Mudd                               $100.00
   Claire                    Mudd                               $100.00
   Graham                    Mudd                               $150.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   David                      Mudie                               $250.00
   Evan                       Mueller                             $165.00
   Kristin                    Mueller                              $50.00
   Suzanne                    Mueller                              $50.00
   Suzanne                    Mueller                              $75.00
   Sarah                      Muellerleile                         $80.00
   Kirsten                    Muench                               $50.00
   Kirsten                    Muench                               $50.00
   Kirsten                    Muench                               $50.00
   Kirsten                    Muench                               $50.00
   Kirsten                    Muench                               $50.00
   Kirsten                    Muench                               $50.00
   Kelsey                     Mugford                             $100.00
   Stasia                     Muhlner                             $100.00
   Angeline                   Mulchand                             $40.00
   Tracey                     Muldaur                             $100.00
   Lisa                       Muldowney                            $50.00
   Lisa                       Muldowney                            $50.00
   Elke                       Mulgrew                             $100.00
   Laura                      Mulholland                           $50.00
   Natalia                    Mulholland                          $100.00
   Allison                    Mull                                $250.00
   Jessica                    Mullen                               $40.00
   Kathryn                    Mullens                              $50.00
   Stephanie                  Muller                              $100.00
   Abbie                      Mulligan                            $150.00
   Megan                      Mulligan                             $34.00
   Erin                       Mullin                               $50.00
   Rocky                      Mullin                              $160.00
   Rachelle                   Mullins                              $25.00
   Rachelle                   Mullins                              $30.00
   Kenan                      Mullis                              $100.00
   Erin                       Mulvaney                            $200.00
   Maddy                      Mumm                                $100.00
   Mayrose                    Munar                                $40.00
   Maija                      Muncy                               $100.00
   Molly                      Munk                                 $50.00
   Amanda                     Munro                               $100.00
   Kathleen                   Munroe                               $50.00
   Claire                     Munzer                               $40.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Doug                       Murai                              $50.00
   Lynne                      Murakami                           $80.00
   Chisaki                    Muraki                             $85.00
   Kana                       Muraki                            $100.00
   Mitra Pai                  Murali                             $50.00
   Gerald                     Muraoka                            $50.00
   Mark                       Murashige                         $100.00
   Eisaku                     Murata                             $50.00
   Lorna                      Murdock                           $100.00
   Michael                    Mure                               $50.00
   Christy                    Murphey                            $40.00
   Alissa                     Murphy                             $40.00
   Amy                        Murphy                             $50.00
   Angela                     Murphy                             $50.00
   Angela                     Murphy                            $100.00
   Brenda                     Murphy                             $50.00
   Carol                      Murphy                             $75.00
   Christopher                Murphy                             $50.00
   Daniel                     Murphy                            $100.00
   Gabrielle                  Murphy                            $100.00
   Heidi                      Murphy                             $50.00
   Heidi                      Murphy                             $50.00
   Kari                       Murphy                             $30.00
   Katherine                  Murphy                            $100.00
   Katherine                  Murphy                            $100.00
   Katherine                  Murphy                            $100.00
   Katherine                  Murphy                            $250.00
   Katie                      Murphy                             $50.00
   Kimberly                   Murphy                             $40.00
   Kimberly                   Murphy                             $50.00
   Kimberly                   Murphy                             $50.00
   Kimberly                   Murphy                            $100.00
   Kimberly                   Murphy                            $100.00
   Laura                      Murphy                            $100.00
   Lillian                    Murphy                            $100.00
   Megan                      Murphy                             $65.00
   Megan                      Murphy                             $75.00
   Melissa                    Murphy                             $50.00
   Melissa                    Murphy                            $100.00
   Michelle                   Murphy                            $300.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   Moira                      Murphy                               $50.00
   Nancy                      Murphy                              $100.00
   Patrick                    Murphy                              $106.25
   Priscilla                  Murphy                              $210.00
   Stephanie                  Murphy                              $100.00
   Stephen                    Murphy                              $500.00
   Susan                      Murphy                              $100.00
   Tanya                      Murphy                              $100.00
   Brad                       Murray                              $500.00
   David                      Murray                              $250.00
   Emily                      Murray                               $50.00
   Firouzeh                   Murray                               $25.00
   Glynis                     Murray                              $100.00
   Julie                      Murray                              $100.00
   Kristine                   Murray                               $50.00
   Mary                       Murray                               $50.00
   Maureen                    Murray                               $75.00
   Melissa                    Murray                              $100.00
   Wendy                      Murray                              $120.00
   Shana                      Murray Baird                         $40.00
   Gina                       Murrell                              $50.00
   Akshay                     Murthy                              $100.00
   Jennifer                   Muscatel                             $50.00
   Sarah                      Musco                               $100.00
   Anne                       Muse-Fisher                          $50.00
   Dolly                      Musey                               $100.00
   Ashley                     Musick                               $50.00
   Heather                    Mustonen                             $50.00
   George                     Mutch                               $250.00
   Carole                     Muth                                 $35.00
   Keith                      Muth                                 $50.00
   Lyubov                     Muzichenko                          $100.00
   Frank                      Mycroft                              $50.00
   Joya                       Myer                                 $50.00
   Amanda                     Myers                                $25.00
   Christopher                Myers                                $50.00
   Doe                        Myers                                $50.00
   Kristy                     Myers                                $42.50
   Mandy                      Myers                                $50.00
   Molly                      Myers                               $300.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Nicole                     Myers                             $100.00
   Todd                       Myers                             $100.00
   Doug                       Myslenski                          $50.00
   Jeannie                    Myung                             $100.00
   Julie                      Myxter                            $100.00
   Julie                      Myxter                            $100.00
   Daniel                     Nabors                            $100.00
   Lorie                      Nachlis                           $100.00
   Anne                       Nachtwey                           $30.00
   Margot                     Nack                               $50.00
   Bryan                      Nadeau                            $100.00
   Stephanie                  Nadeau                            $100.00
   Susie                      Nadir                              $35.00
   Susie                      Nadir                              $50.00
   Kanchan                    Nadkarny                           $50.00
   Sommer                     Naffz                              $50.00
   Dymphna                    Nagar                              $85.00
   Suthi                      Nagar                             $100.00
   Jessica                    Nagtalon                           $50.00
   Rosemarie                  Nahm                              $100.00
   Colby                      Naiker                             $50.00
   Colby                      Naiker                             $50.00
   Kate                       Nail                               $42.50
   Shizu                      Nair                               $50.00
   Kristin                    Najarian                           $50.00
   Allison                    Najoan                             $30.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00
   Allen                      Nakagawa                           $40.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
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   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $40.00
   Allen                    Nakagawa                           $42.50
   Allen                    Nakagawa                           $42.50
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
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   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                           $50.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $100.00
   Allen                    Nakagawa                          $250.00
   Allen                    Nakagawa                          $250.00
   Allen                    Nakagawa                          $500.00
   Allen                    Nakagawa                          $500.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Allen                     Nakagawa                          $500.00
   Allen                     Nakagawa                          $500.00
   Allen                     Nakagawa                          $500.00
   Allen                     Nakagawa                          $500.00
   Allen                     Nakagawa                          $500.00
   Allen                     Nakagawa                          $500.00
   Allen                     Nakagawa                          $500.00
   Leslie                    Nakagawa                           $50.00
   Brent                     Nakagiri                          $200.00
   Marissa                   Nakahara                          $100.00
   Natalie                   Nakai                              $50.00
   Miz                       Nakajima                           $50.00
   Tami                      Nakama                             $50.00
   Marc                      Nakamoto                          $100.00
   Rachel                    Nakamura                          $100.00
   Sheryl                    Nakanishi                          $85.00
   Marissa                   Nakano                             $50.00
   Robin                     Nakao                              $50.00
   Sara                      Nakashima                         $150.00
   Kim                       Nakasu                             $85.00
   Rachel                    Nakauchi                          $150.00
   Brian                     Nam                               $100.00
   Bonnie                    Namba                              $75.00
   Jennifer                  Nan                               $100.00
   Jean                      Nanjo                             $100.00
   Bob                       Nankin                             $80.00
   Bob                       Nankin                            $100.00
   Sandra                    Nanney                             $85.00
   Elizabeth                 Napier                             $40.00
   Ann                       Napoli                             $45.00
   Elia                      Nappa                             $100.00
   Heidi                     Narayan                            $50.00
   Heidi                     Narayan                            $50.00
   Heidi                     Narayan                            $50.00
   Karen                     Nardi                              $50.00
   Maria                     Nardi                              $40.00
   Vinay                     Nariani                            $25.00
   Jeanelle                  Narine                            $100.00
   Jeanelle                  Narine                            $100.00
   Jeanelle                  Narine                            $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Jeanelle                  Narine                            $100.00
   Bruce                     Nash                              $300.00
   Jody                      Nash                              $150.00
   John                      Nash                               $50.00
   Scotland                  Nash                              $100.00
   Caroline                  Nassif                            $100.00
   Shane                     Naster                            $100.00
   Erica                     Natali                             $50.00
   Christine                 Nath                               $21.25
   Christine                 Nath                               $21.25
   Christine                 Nath                               $50.00
   Christine                 Nath                               $50.00
   Christine                 Nath                               $50.00
   Christine                 Nath                               $50.00
   Annie                     Nathan                             $50.00
   Amanda                    Natividad                          $50.00
   Catherine                 Natividad                          $50.00
   Margaret                  Naughton                          $100.00
   Molly                     Naughton                          $100.00
   Wendy                     Nauman                            $100.00
   Consuelo                  Nausin                             $50.00
   Marcello                  Navarra                            $50.00
   Teri                      Navarrete                          $50.00
   Erica                     Navarro                            $40.00
   Joan                      Navarro                            $60.00
   Marianna                  Naverniouk                         $50.00
   Patricia                  Navone                            $100.00
   Diana                     Nawbary                           $100.00
   Vikram                    Nayani                             $50.00
   Joanna                    Naymark                            $50.00
   Kathryn                   Neal                               $50.00
   Emma                      Neale                             $100.00
   Kelly                     Neale                             $150.00
   Laura                     Neary                             $100.00
   John                      Nebel                              $85.00
   John                      Nebel                             $100.00
   Sherry                    Nebel                              $50.00
   Sherry                    Nebel                              $50.00
   Leanne                    Nebenzahl                         $100.00
   Nolan                     Necoechea                         $100.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Catie                      Neel                              $100.00
   Anne                       Neff                               $50.00
   Pierre                     Negri                             $100.00
   Anthony                    Negrin                            $100.00
   Marlyn                     Negron                            $150.00
   Teresa                     Nehls                              $50.00
   Dennis                     Neiditch                           $50.00
   Terrell                    Neilson                           $100.00
   Amanda                     Nelson                             $75.00
   Amy                        Nelson                            $100.00
   Anna                       Nelson                             $25.50
   Christina                  Nelson                            $100.00
   Danielle                   Nelson                             $85.00
   Deb                        Nelson                             $50.00
   Deborah                    Nelson                             $50.00
   Elizabeth                  Nelson                             $50.00
   Emily                      Nelson                            $100.00
   Emily                      Nelson                            $200.00
   Frances                    Nelson                            $100.00
   Geoffrey                   Nelson                            $212.50
   Jennifer                   Nelson                             $50.00
   Jennifer                   Nelson                             $75.00
   Jennifer                   Nelson                             $75.00
   Jill                       Nelson                            $100.00
   Juanita                    Nelson                            $100.00
   Lesley                     Nelson                            $100.00
   Lindsay                    Nelson                            $150.00
   Megan                      Nelson                             $30.00
   Paul                       Nelson                            $100.00
   Sophia                     Nelson                            $100.00
   Stephanie                  Nelson                            $100.00
   Stephanie                  Nelson                            $100.00
   Tenea                      Nelson                            $200.00
   Tenea                      Nelson                            $250.00
   Venus                      Nelson                            $250.00
   Deborah                    Nemecek                           $100.00
   Michele                    Nemschoff                          $25.00
   Allison                    Nenadal                            $50.00
   Jill                       Nerone                             $50.00
   Jill                       Nerone                             $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Jill                      Nerone                             $100.00
   Sarah Beth                Nesbit                              $25.00
   Christine                 Nessen                             $250.00
   Clover                    Network                            $250.00
   Clover                    Network                            $250.00
   Regina                    Neu                                 $50.00
   Roseann                   Neuberg                             $50.00
   Mike                      Neue                               $120.00
   Dana                      Neufeld                            $100.00
   Rebecca                   Neufeld                            $100.00
   Lucy                      Neugart                             $80.00
   Jonathan                  Neumann                            $100.00
   Carly                     Nevarez                            $200.00
   Hailey                    Neves                               $50.00
   Lisa                      Neves                              $100.00
   Cindy                     Nevills                             $50.00
   Stacy                     Newary                              $50.00
   Dave                      Neway                              $129.00
   Jessica                   Newburn                             $50.00
   David                     Newdorf                             $50.00
   Dwight                    Newell                             $100.00
   Shayna                    Newell                              $50.00
   Joseph                    Newfield                           $100.00
   Karen                     Newirth                             $50.00
   Misty                     Newland                             $50.00
   Barbara                   Newlin                             $100.00
   Jennifer                  Newlin                              $52.00
   Michael                   Newman                             $100.00
   Molly                     Newman                              $80.00
   Naomi                     Newman                             $100.00
   Scott                     Newman                              $25.00
   Lisa                      Newman-Wise                         $50.00
   Gary                      Newte                              $100.00
   Cobi                      Newton                              $75.00
   Stacey                    Newton                              $30.00
   Amy                       Ng                                  $50.00
   Amy                       Ng                                 $150.00
   Angel                     Ng                                  $50.00
   Brian                     Ng                                 $100.00
   Chester                   Ng                                  $50.00


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   Buyer First Name         Buyer Last Name           Gift Card Amount
   Christine                Ng                                   $250.00
   Hoyt                     Ng                                   $127.50
   Jessica                  Ng                                    $50.00
   Keri                     Ng                                    $50.00
   Keri                     Ng                                    $75.00
   Kristine                 Ng                                    $50.00
   Samantha                 Ng                                   $200.00
   Samantha                 Ng                                   $200.00
   Carmen                   Ngai                                 $100.00
   Ngayin                   Ngai                                  $25.00
   Ratana                   Ngaotheppitak                        $350.00
   Steven                   Nghe                                  $30.00
   My                       Ngo                                   $85.00
   Victoria                 Ngo                                   $30.00
   Amanda                   Nguyen                                $50.00
   Andre                    Nguyen                                $50.00
   Andre                    Nguyen                                $50.00
   Andre                    Nguyen                                $50.00
   Anh                      Nguyen                                $35.00
   Caroline                 Nguyen                                $50.00
   Co                       Nguyen                                $80.00
   Elizabeth                Nguyen                                $50.00
   Hang                     Nguyen                                $50.00
   Konnie                   Nguyen                               $250.00
   My                       Nguyen                                $50.00
   My Tam                   Nguyen                               $100.00
   Nancy                    Nguyen                                $50.00
   Nhuy                     Nguyen                                $42.50
   Phi                      Nguyen                                $50.00
   Phi                      Nguyen                                $50.00
   Thanh                    Nguyen                                $50.00
   Tu                       Nguyen                               $500.00
   Vuong                    Nguyen                                 $8.50
   Yume                     Nguyen                               $250.00
   Michael                  Niarchos                              $50.00
   Satoshi                  Niarm                                $100.00
   Nicabot                  Nicabot                              $150.00
   J                        Nice                                 $100.00
   Michael                  Nichelini                            $100.00
   Ashleigh                 Nichols                               $30.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Erik                      Nichols                             $40.00
   Kelly                     Nichols                            $100.00
   Liz                       Nichols                            $200.00
   Tessa                     Nichols                             $50.00
   Christine                 Nicholson                          $100.00
   Jen                       Nicholson                           $40.00
   Kristen                   Nicita                             $140.00
   Kristen                   Nickl                               $25.00
   Elena                     Nicklasson                          $50.00
   Kurtis                    Nicol                              $100.00
   Kayla                     Nicolay                            $100.00
   Palesa                    Nicolini                            $50.00
   Christina                 Nicolosi                           $100.00
   John                      Niederegger                        $100.00
   Molly                     Niedermeyer                         $25.00
   Jean                      Niehaus                             $75.00
   Aisha                     Nielsen                             $50.00
   Peggy                     Nielsen                            $150.00
   Kate                      Nielson                            $100.00
   Haley                     Nieman                             $100.00
   Elizabeth                 Niemann                             $50.00
   Laurie                    Nierenberg                         $250.00
   Sandra                    Nierenberg                          $50.00
   James                     Nierman                             $80.00
   Ellie                     Nierstedt                          $100.00
   Anne-Louise               Nieto                               $50.00
   Stacy                     Nieuwoudt                           $50.00
   Gina                      Nigrelli                            $80.00
   Edie                      Nikkar                             $250.00
   Edie                      Nikkar                             $250.00
   Edie                      Nikkar                             $250.00
   Daniel                    Niland                             $250.00
   Kelly                     Niland                             $100.00
   Renae                     Niles                               $50.00
   Brittany                  Nimeh                               $50.00
   Jennifer                  Nimmer                              $50.00
   Ben                       Nimmons                             $50.00
   Lindsay                   Niner                               $40.00
   Teresa                    Ninh                               $700.00
   Jim                       Nisbet                             $100.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Shaina                     Nishimoto                         $100.00
   Kimi                       Nishita                            $85.00
   Lis                        Nissim                            $250.00
   Joel                       Nitta                              $50.00
   Kate                       Nitze                             $150.00
   Aileen                     Niu                                $40.00
   Aileen                     Niu                                $40.00
   Jean                       Nix                                $45.00
   Philip                     Noach                             $250.00
   Stephanie                  Noack                              $50.00
   Joyce                      Noah-Vanhoucke                     $50.00
   Kaitlyn                    Noble                             $200.00
   Lucy                       Noble                             $100.00
   Teresa                     Noce                               $50.00
   David                      Noe                               $100.00
   Sara                       Noel                              $100.00
   Cindy                      Nolan                              $40.00
   Deborah                    Nolan                              $50.00
   Katharine                  Noll                               $25.00
   Wakako                     Nomura                             $50.00
   Meredith                   Nonnenberg                        $135.00
   Maggie                     Noojin                            $100.00
   Beverly                    Noonan                            $100.00
   Mary                       Noonan                             $80.00
   Mary                       Noonan                             $80.00
   Sarah                      Noonan                             $50.00
   Zarin                      Noor                              $150.00
   Alexis                     Nordby                             $60.00
   Mark                       Nordendahl                        $250.00
   Tiffany                    Nordgren                           $40.00
   Helena                     Nordstrom                         $100.00
   Linda                      Nordstrom                         $300.00
   Linda                      Nordstrom                         $300.00
   Bill                       Nordwall                          $100.00
   Leslie                     Norgren                           $100.00
   Ron                        Noriega                            $50.00
   Ron                        Noriega                            $75.00
   Ron                        Noriega                            $75.00
   Ron                        Noriega                            $75.00
   Ron                        Noriega                            $75.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $75.00
   Ron                        Noriega                                $85.00
   Erika                      Norman                                 $50.00
   Jennifer                   Norman                                 $50.00
   Katherine                  Norman                                $100.00
   M.J.                       Norman                                 $40.00
   Paul                       Normington                            $250.00
   Abigail                    Norris                                $120.00
   Cynthia                    Norris                                 $75.00
   Cynthia                    Norris                                $140.00
   Jana                       Norris                                 $50.00
   Joanne                     Norris                                $100.00
   Nicholas                   Norris                                 $50.00
   Carol                      Northrup                               $42.50
   Sarah                      Northrup Gadus                         $25.00
   Chris                      Norton                                $200.00
   Sarah                      Norton                                 $50.00
   Barbara                    Norum                                 $150.00
   Robin                      Norvell                               $212.50
   Annelyse                   Norvelle                              $150.00
   Jessica                    Nosanchuk                              $50.00
   Shadi                      Nosrati                               $100.00
   Kay                        Nothstein                              $50.00
   Amanda                     Nottke                                 $55.00
   Amanda                     Nottke                                $120.00
   Marilyn                    Nourse                                 $50.00
   Abbey                      Nova                                  $100.00
   Erin                       Novak                                  $50.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Erin                       Novak                                  $50.00
   Jan                        Novak                                  $45.00
   Jan                        Novak                                 $100.00
   Arlette                    Novelli                                $40.00
   Allison                    Novick                                $250.00
   Nataliya                   Novikova                               $50.00
   Alocia                     Novotne                             $1,000.00
   John                       Novotny                               $100.00
   Kelli                      Novotny                               $200.00
   Kristin                    Novotny                                $50.00
   Victoria                   Nowak                                  $75.00
   Lisa                       Nowell                                 $80.00
   Anne                       Nowlin                                 $50.00
   Agnes                      Ntiri                                  $95.00
   Heather                    Nudo                                   $50.00
   Kia                        Nugent                                 $50.00
   Taura                      Null                                   $50.00
   Taura                      Null                                   $50.00
   Elizabeth                  Nunez                                 $100.00
   Ashley                     Nutter                                 $50.00
   Andrew                     Nuxoll                                 $40.00
   Heather                    Nye                                   $100.00
   Risa                       Nye                                   $100.00
   Risa                       Nye                                   $100.00
   Anne                       Nyffeler                               $50.00
   Anne                       Nyffeler                               $50.00
   Anne                       Nyffeler                               $50.00
   Kristine                   Nyhus                                 $150.00
   Marleen                    Nyst                                  $215.00
   Michaela                   O                                     $100.00
   John                       O‚Äôriordan                           $200.00
   Lynn And Roy               Oakley                                $100.00
   Sara                       Oakman                                $200.00
   Beverly                    Oaks                                  $125.00
   Ilene                      Oba                                    $50.00
   Ilene                      Oba                                    $75.00
   Kelly                      O'Bannon                               $50.00
   Janice                     Obaro                                 $100.00
   Juno                       Obedin-Maliver                        $100.00
   Markdavin                  Obenza                                $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Mariana                   Obligado                            $50.00
   Carolyn                   Oboyle                             $100.00
   Brandy                    Obriant                            $100.00
   Jessica                   Obrien                              $80.00
   Maryann                   Obrien                             $100.00
   Mitsie                    Obrien                             $100.00
   Sandra                    Obrien                             $100.00
   Annie                     O'Brien                             $30.00
   Kevin                     O'Brien                            $100.00
   Nancy                     O'Brien                            $100.00
   Suzanne                   O'Brien                             $20.00
   Leslie                    O'Callaghan                         $30.00
   Liadan                    O'Callaghan                         $50.00
   Erika                     Ocampo                             $100.00
   Shara                     Ochsner                            $100.00
   Jessica                   O'Connell                           $50.00
   Miranda                   O'Connell                           $42.50
   Kathy                     Oconnor                             $42.50
   Angela                    O'Connor                            $50.00
   Claire                    O'Connor                           $100.00
   Damon                     O'Connor                            $75.00
   Dan                       O'Connor                           $300.00
   Janice                    O'Connor                           $100.00
   Patricia                  O'Connor                            $50.00
   Carrie                    Octavio                             $50.00
   Theresa                   Oda                                 $25.00
   Shannon                   Odam                                $50.00
   Catherine                 O'Dea                               $25.00
   Catherine                 O'Dea                               $50.00
   Catherine                 O'Dea                               $50.00
   Adam                      Odessky                             $50.00
   Sam                       Odio                                $30.00
   Danielle                  O'Doherty                           $50.00
   Shanae                    Odom                               $200.00
   Shanae                    Odom                               $200.00
   Shanae                    Odom                               $250.00
   Shanae                    Odom                               $250.00
   Anne                      O'Donnell                          $175.00
   Betsy                     O'Donnell                           $60.00
   Gabriel                   O'Donnell                           $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Jung                      O'Donnell                          $50.00
   Kerry                     O'Donnell                          $25.00
   Lisa                      O'Donnell                          $50.00
   Lisa                      O'Donnell                         $150.00
   Suzy                      O'Donnell                         $250.00
   Dolores                   O'Donoghue                         $50.00
   Dolores                   O'Donoghue                         $50.00
   Dolores                   O'Donoghue                         $50.00
   Dana                      O'Donovan                         $100.00
   Maura                     Oehm                               $40.00
   Heidi                     Oelman                             $50.00
   Sarah                     Oeltjen                            $50.00
   Abbie                     Oey                               $200.00
   Daniel                    Ofarrell                           $25.00
   Ruth                      O'Farrell                          $60.00
   Laurie                    Offenbach                         $100.00
   Julie                     Offer                              $20.00
   Kate                      Offer                              $50.00
   Index Sf                  Office                            $100.00
   Iterable                  Office                            $250.00
   Carol                     O'Flahavan                         $85.00
   Jennifer                  Ogawa                              $50.00
   Take                      Ogawa                              $50.00
   Christopher               Ogden                              $80.00
   Linda                     Ogden                             $100.00
   Linda                     Ogden                             $200.00
   Briana                    Ogletree                           $42.50
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                 $50.00
   Andrea                    Oh                                $100.00
   Angela                    Oh                                $100.00
   Julie                     Oh                                $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Lindsey                   Oh                                 $40.00
   Lindsey                   Oh                                $250.00
   Kate                      O'Hara                            $150.00
   Alexandra                 O'Hearn                            $50.00
   Matt                      Ohline                             $85.00
   Lisa                      Ohlund                            $150.00
   Joyce                     Oishi                              $50.00
   Joyce                     Oishi                              $75.00
   Masako                    Oishi                              $25.00
   Sunya                     Ojure                             $100.00
   Marisa                    Oka                                $50.00
   Crystal                   Okada                              $40.00
   Crystal                   Okada                              $50.00
   Paul                      Okada                              $50.00
   Paul                      Okada                              $50.00
   Amanda                    Okamoto                            $75.00
   Amanda                    Okamoto                           $100.00
   Leslie                    Okamura                           $150.00
   Mollie                    Okane                             $100.00
   Molly                     Okane                              $50.00
   Mark                      Okeefe                             $50.00
   Mark                      Okeefe                             $50.00
   Emily                     O'Keeffe                          $100.00
   Erin                      O'Keeffe                           $50.00
   Janine                    Okmin                              $50.00
   Ronak                     Okoye                              $25.00
   Elizabeth                 Okrent                             $50.00
   Ariel                     Oksendahl                          $25.00
   Corrine                   Olague                             $40.00
   Cornelia                  Olbert                             $50.00
   Gwen                      Oldham                            $150.00
   Amy                       O'Leary                           $100.00
   Beverly                   Olenic                             $75.00
   Kim                       Olenic                             $50.00
   Kim                       Olenic                             $50.00
   Beth                      Olenik                             $50.00
   Amberly                   Oleyte                            $100.00
   Cheryl                    Oliva                             $100.00
   Cheryl                    Oliva                             $250.00
   Elizabeth                 Oliva                              $50.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Gina                       Oliva                              $100.00
   Kristin                    Oliveira                           $200.00
   Heather                    Oliver                              $40.00
   Melissa                    Oliver                             $100.00
   Sarah                      Olivo                               $50.00
   Danielle                   Olivotto                           $100.00
   Thea                       Olmstead                           $100.00
   Thea                       Olmstead                           $100.00
   Nancy                      Olney                               $40.00
   Jacqueline                 Oloff                              $150.00
   Amy                        Olofsen                            $200.00
   Amy                        Olofsen                            $650.00
   Kimberly                   Olofsen                             $50.00
   Sarah                      O'Loughlin                         $100.00
   Dan                        Olsen                               $50.00
   Keri                       Olsen                               $50.00
   Carol                      Olson                               $50.00
   Elizabeth                  Olson                              $250.00
   Jack                       Olson                               $50.00
   Jane                       Olson                               $50.00
   Mary                       Olson                               $50.00
   Ryan                       Olson                               $50.00
   Sadie                      Olson                               $50.00
   Sara                       Olson                               $30.00
   Steve                      Olson                              $250.00
   Tamara                     Olson                               $50.00
   Teresa                     Olson                              $250.00
   Teresa                     Olson                              $250.00
   Tim                        Olson                              $100.00
   Jennifer                   Olson Heidersbach                   $50.00
   Caroline                   O'Mahony                           $200.00
   Danny                      O'Mahony                            $50.00
   Colleen                    Omalley                             $40.00
   Colleen                    Omalley                             $40.00
   Amanda                     O'Malley                            $25.00
   J                          O'Malley                           $100.00
   Melissa                    O'Malley                           $100.00
   Amy                        Omand                               $50.00
   Erin                       O'Mara                             $123.25
   Christine                  Omata                               $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Christine                 Omata                             $150.00
   Stephen                   Omiya                             $100.00
   Move                      On                                $100.00
   Showing                   On                                 $50.00
   Katherine                 Ona                                $50.00
   Kathryn                   Oneal                              $50.00
   Maureen                   O'Neil                            $100.00
   Colleen                   Oneill                            $100.00
   Patricia                  Oneill                            $250.00
   Blake                     O'Neill                           $200.00
   Kristina                  O'Neill                           $100.00
   Kristina                  O'Neill                           $150.00
   Aihui                     Ong                                $50.00
   Aileen                    Ong                                $75.00
   Matthew                   Ong                                $85.00
   Matthew                   Ong                               $100.00
   Julie                     Onimole                            $25.00
   Micky                     Onvural                           $200.00
   Heyman                    Oo                                $100.00
   Mora                      Oommen                             $50.00
   Sharon                    Oosterman                         $300.00
   Theresa                   Opp                                $30.00
   Theresa                   Opp                                $40.00
   Nw Ea                     Ops                                $50.00
   Libby                     Opsahl                             $50.00
   Libby                     Opsahl                             $50.00
   Abby                      Oratio                             $42.50
   Abby                      Oratio                            $100.00
   Tara                      Ordonez                            $50.00
   Stella                    Orechia                           $200.00
   Michael                   Oreilley                          $150.00
   Sean                      Oreilly                           $250.00
   Louise                    O'Reilly                          $100.00
   Margaret                  Orenstein                          $50.00
   Julie                     Orio                               $25.00
   Julie                     Orio                               $25.00
   Sandra                    Orloff                            $150.00
   Carol                     Ornstein                          $100.00
   Ann                       Orourke                            $50.00
   Stephanie                 Oroz                               $75.00


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   Buyer First Name           Buyer Last Name           Gift Card Amount
   Myrna                      Orphan                               $200.00
   Katy                       Orr                                  $250.00
   Katy                       Orr                                  $250.00
   Winsor                     Orrick                                $50.00
   Pat                        Orsini                               $100.00
   Deanna                     Ortega                               $250.00
   Elena                      Ortega                                $50.00
   Stephanie                  Ortega                                $50.00
   Argelis                    Ortiz                                 $35.00
   Jennifer                   Ortiz                                 $50.00
   Jennifer                   Ortiz                                 $50.00
   Nancy                      Ortiz                                 $50.00
   Diana                      Orton Johansson                       $50.00
   Jennifer                   Ortt                                  $50.00
   Josh                       Orum                                  $45.00
   Oliver                     Orzal                                 $50.00
   Sheri                      Osato                                 $50.00
   Jeff                       Osborn                                $42.50
   Kristi                     Osborn                                $50.00
   Meredith                   Osborn                                $50.00
   Meredith                   Osborn                               $100.00
   Sally                      Osborn                                $30.00
   Sally                      Osborn                                $30.00
   Sally                      Osborn                                $30.00
   Karen                      Osborne                               $85.00
   Robin                      Osborne                               $35.00
   Barbara                    Oseroff                               $50.00
   Barbara                    Oseroff                               $50.00
   Jennifer                   Oshaughnessy                         $100.00
   Paula                      Oshea                                 $50.00
   Carmen                     O'Shea                                $30.00
   Carmen                     O'Shea                                $75.00
   Eline                      Oshita                               $150.00
   Sandra                     Osiow                                 $85.00
   Sylvia                     Osorno                                $50.00
   Sylvia                     Osorno                                $50.00
   Claudia                    Ossa Paradise                        $100.00
   Judson                     Ostle                                 $50.00
   Johanna                    Ostling                               $40.00
   Cara                       Ostomel                               $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Koa                       Ostrem                            $100.00
   Dee                       Ostrofsky                         $250.00
   Yvonne                    Otani                             $100.00
   Andrew                    Otey                               $50.00
   Clare                     O'Toole                            $40.00
   Philip                    O'Toole                            $30.00
   Philip                    O'Toole                            $50.00
   Sarah                     O'Toole                            $50.00
   Kathryn                   Otoshi                            $100.00
   Emily                     Ottiniano                         $100.00
   Bekah                     Otto                               $75.00
   Emily                     Ou                                 $50.00
   Teresa                    Ou                                $100.00
   Nancy                     Outenreath                         $50.00
   Emily                     Outhier                            $30.00
   Heidi                     Overbeck                          $100.00
   Andrew                    Overholt                           $80.00
   Brian                     Overland                          $100.00
   Dara                      Overstreet                        $100.00
   Andrea                    Ow                                $100.00
   Rebekah                   Owen                               $85.00
   Tess                      Owen                               $75.00
   Christine                 Owens                             $100.00
   Molly                     Owens                             $100.00
   Emiko                     Oye                                $50.00
   Yashar                    Ozberkmen                         $150.00
   Gwen                      Ozieblo                            $50.00
   Yilmaz                    Oztanir                           $400.00
   Chris                     P                                  $25.00
   Carlene                   Paarmann                          $150.00
   Maria                     Pacheco                           $150.00
   Maria                     Pacheco                           $150.00
   Maria                     Pacheco                           $150.00
   Maria                     Pacheco                           $150.00
   Maria                     Pacheco                           $150.00
   Maria                     Pacheco                           $150.00
   Maria                     Pacheco                           $150.00
   Michelle                  Pacheco                            $50.00
   Andrew                    Pacini                            $100.00
   Becky                     Pacini                             $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Laura                     Pack                               $50.00
   Maricar                   Pacquing                           $40.00
   Caroline                  Pacula                             $50.00
   Caroline                  Pacula                             $50.00
   Caroline                  Pacula                             $50.00
   Caroline                  Pacula                             $50.00
   Caroline                  Pacula                             $50.00
   Max                       Pad                               $200.00
   Mindy                     Paddock                            $50.00
   Denise                    Padilla                           $100.00
   Deborah                   Padovan                           $250.00
   Monica                    Padrick                           $100.00
   Laura                     Pagano                             $50.00
   Chris                     Page                               $30.00
   Chris                     Page                              $100.00
   Dawn                      Page                               $25.50
   Heather                   Page                               $42.50
   Kristen                   Paglia                             $50.00
   Whitney                   Pahl                               $75.00
   Whitney                   Pahl                               $75.00
   Maggie                    Paige                              $50.00
   Grace                     Paik                              $200.00
   Laura                     Paine                             $100.00
   Kim                       Painter                           $150.00
   Tyler                     Painter                           $400.00
   Ralph                     Pais                              $250.00
   Nick                      Paisley                           $100.00
   Marc                      Pajarillo                          $50.00
   Raylene                   Pak                               $150.00
   Mark                      Palatucci                         $100.00
   Jennifer                  Palecki                            $50.00
   David                     Paley                             $100.00
   Zoe                       Palitz                             $65.00
   Tamara                    Palladino                         $100.00
   Lisa                      Palma                              $50.00
   Carter                    Palmer                             $50.00
   Dana                      Palmer                            $150.00
   Esther                    Palmer                             $50.00
   Greg                      Palmer                             $50.00
   Jennifer                  Palmer                             $50.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   John                       Palmer                                 $80.00
   John                       Palmer                                $150.00
   Kirby                      Palmer                                 $50.00
   Lisa                       Palmer                                 $50.00
   Nancy                      Palmer                                $100.00
   Connie                     Palmore                                $50.00
   Connie                     Palmore                                $75.00
   Jennifer                   Palomar                                $30.00
   Allison                    Palumbarit                             $50.00
   Jennifer                   Palumbo                                $50.00
   Nick                       Palumbo                                $50.00
   Angela                     Pan                                   $100.00
   Debbie                     Pan                                    $50.00
   Gerrine                    Pan                                   $150.00
   Meagan                     Panama                                 $60.00
   Neha                       Pandey                                $100.00
   Nirav                      Pandya                                 $50.00
   Sonal                      Pandya                                $200.00
   Sonal                      Pandya                                $200.00
   Swati                      Pandya                                $250.00
   Cara                       Panebianco                             $40.00
   Justin                     Pang                                  $100.00
   Jennifer                   Panganiban                            $100.00
   Bea                        Pangilinan                            $100.00
   Michelle                   Pao                                   $100.00
   Terry                      Papadopoulos                          $250.00
   Kim                        Papageorge                             $50.00
   Wendy                      Papakostandini                        $100.00
   Nick                       Pappas                                 $50.00
   Lisa                       Par                                    $50.00
   Emily                      Parcell                               $100.00
   George                     Pardo                                  $42.50
   Manuel                     Pardo                                  $50.00
   Ami                        Parekh                                 $50.00
   Sachin                     Parikh                                $200.00
   Danielle                   Parish                                 $40.00
   Danielle                   Parish                                 $42.50
   Danielle                   Parish                                 $50.00
   William                    Parish                                 $68.00
   Sarah                      Parisi                                $150.00


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   Buyer First Name           Buyer Last Name        Gift Card Amount
   Ofer                       Parizer                            $50.00
   Caren                      Park                               $25.00
   Daniel                     Park                              $100.00
   Heidi                      Park                               $25.00
   Heidi                      Park                               $25.00
   Jae Yoon                   Park                               $50.00
   Jin Sun                    Park                               $50.00
   Jin Sun                    Park                               $50.00
   Kara                       Park                               $50.00
   Lillian                    Park                              $100.00
   Meredith                   Park                              $100.00
   Mia                        Park                               $50.00
   Michelle                   Park                              $100.00
   Nora                       Park                              $120.00
   Renee                      Park                               $50.00
   Robert                     Park                              $100.00
   Shally                     Park                               $50.00
   Yoo-Sun                    Park                               $50.00
   Yoo-Sun                    Park                               $50.00
   Becky                      Parker                             $75.00
   Cecilia                    Parker                            $200.00
   Claudia                    Parker                             $40.00
   Joel                       Parker                             $40.00
   Joey                       Parker                             $50.00
   Joey                       Parker                             $50.00
   Joey                       Parker                            $100.00
   Joey                       Parker                            $100.00
   Joey                       Parker                            $150.00
   Kerry                      Parker                             $50.00
   Kristen                    Parker                             $50.00
   Marney                     Parker                            $100.00
   Mccrae                     Parker                             $50.00
   Meredith                   Parker                             $50.00
   Rachel                     Parker                             $50.00
   Sara                       Parker                             $50.00
   Shirley                    Parker                            $500.00
   Whitney                    Parker                             $50.00
   Daniel                     Parkinson                          $50.00
   Liz                        Parkinson                         $300.00
   Natascha                   Parks                              $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Vibeke                    Parks                               $50.00
   Ron                       Parlante                           $250.00
   Ann                       Parmley                             $75.00
   John                      Paro                               $150.00
   Alex                      Parra                               $50.00
   Jessica                   Parrish                            $100.00
   Ann                       Parsons                             $50.00
   Kara                      Parsons                             $50.00
   Kara                      Parsons                             $50.00
   Kara                      Parsons                             $50.00
   Kara                      Parsons                             $50.00
   Kate                      Parsons                            $100.00
   Melissa                   Parsons                             $80.00
   Marcia                    Parten                             $250.00
   Elaine                    Parton                             $250.00
   Teresa                    Partridge                           $75.00
   Audrey                    Partrite                           $100.00
   Erin                      Paruszewski                         $50.00
   Erin                      Paruszewski                        $100.00
   Jessica                   Pasa                                $50.00
   David                     Pascoe                             $375.00
   Rena                      Pasick                              $50.00
   Sara                      Pasquinelli                         $50.00
   Katie                     Passalacqua                        $100.00
   Cameron                   Passmore                            $50.00
   James                     Passmore                           $400.00
   Emmy                      Pasternak                           $90.00
   Mei-Ling                  Pastor                              $42.50
   E. Kate                   Patchen                            $100.00
   Heidi                     Patel                               $30.00
   Hemalee                   Patel                              $150.00
   Jalpa                     Patel                               $30.00
   Julie                     Patel                               $50.00
   Ketu                      Patel                               $50.00
   Kimberly                  Patel                              $100.00
   Mili                      Patel                              $100.00
   Nisheet                   Patel                               $80.00
   Sheafali                  Patel                              $200.00
   Tejal                     Patel                               $40.00
   Bonnie                    Paterno                             $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Zakia                     Pathan                             $50.00
   Parul                     Patil                             $110.00
   Gabriela                  Patino                             $50.00
   Gabriela                  Patino                             $50.00
   Gabriela                  Patino                            $250.00
   Gabriela                  Patino                            $250.00
   Gabriela                  Patino                            $250.00
   Gabriela                  Patino                            $250.00
   Gabriela                  Patino                            $250.00
   Gabriela                  Patino                            $250.00
   Gabriela                  Patino                            $250.00
   Neha                      Patkar                            $100.00
   Gregg                     Patner                            $100.00
   Alan                      Patricof                          $100.00
   Yuliya                    Patsay                             $40.00
   Yuliya                    Patsay                             $50.00
   Timothy                   Patten                             $80.00
   Timothy                   Patten                             $80.00
   Timothy                   Patten                            $100.00
   Eric                      Patterson                          $50.00
   Patti                     Patterson                         $250.00
   Rachel                    Patterson                         $150.00
   Stephanie                 Patterson                          $40.00
   Lauren                    Patti                              $50.00
   Mary                      Patton                            $100.00
   Vickie                    Patton                             $80.00
   Robyn                     Patty                             $100.00
   Huria                     Patwardhan                         $50.00
   Sandra                    Patzman                           $200.00
   Nathan                    Paufve                            $200.00
   Heidi                     Paul                              $100.00
   Holly                     Paul                               $75.00
   Julie                     Paul                               $27.00
   Julie                     Paul                              $100.00
   Rachna                    Paul                               $85.00
   Sharon                    Paul                               $30.00
   Tina                      Paul                              $100.00
   William                   Paul                               $30.00
   Bryon                     Paulazzo                           $80.00
   Cindy                     Paulazzo                           $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Jean                      Pauley                             $50.00
   Nadine                    Paulin                             $50.00
   Nadine                    Paulin                            $100.00
   Emily                     Pauls                              $40.00
   Kimberly                  Paulsen                            $50.00
   Jill                      Paulson                            $50.00
   Daria                     Pauly                             $100.00
   Julie                     Pautz                             $175.00
   Kate                      Pavao                             $100.00
   Leslie                    Pave                              $100.00
   Leslie                    Pave                              $100.00
   Jennifer                  Pawlowski                         $150.00
   Joshan                    Paybarah                           $50.00
   Amy                       Paylor                             $50.00
   Alison                    Payne                             $100.00
   Kelly                     Payne                             $100.00
   Kristine                  Payne                             $100.00
   Laura                     Payne                              $50.00
   Nancy                     Payne                             $100.00
   Nicole                    Paynter                           $100.00
   Stacey                    Paynter                           $100.00
   Stacey                    Paynter                           $100.00
   Jessica                   Paz                               $100.00
   Melissa                   Peabody                            $50.00
   Melissa                   Peabody                            $50.00
   Julie                     Peacock                            $50.00
   Courtney                  Peagler                           $100.00
   Jonathan                  Peake                              $80.00
   Leona                     Pearce                             $40.00
   Anne                      Pearl                              $50.00
   Anne                      Pearl                              $80.00
   Rachel                    Pearline                           $50.00
   Mary                      Pearsall                           $40.00
   Megan                     Pearse                            $100.00
   Jon                       Pearson                            $42.50
   Kate                      Pearson                            $40.00
   Kate                      Pearson                            $80.00
   Lisa                      Pearson                            $50.00
   Meg                       Pearson                            $50.00
   Beverly Jane              Peatross                           $40.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Beverly Jane              Peatross                           $40.00
   Beverly Jane              Peatross                           $40.00
   Nikki                     Pechet                             $50.00
   Tamin                     Pechet                             $50.00
   Laurie                    Pecoraro                           $80.00
   Shannon                   Pedder                             $40.00
   Rennie                    Peddie                            $100.00
   Patricia                  Pedersen                          $100.00
   Sherie                    Pedersen                           $50.00
   Melissa                   Pederson                          $100.00
   Pedersontitty             Pederson                           $90.00
   Andrew                    Peek                               $40.00
   Andrew                    Peek                               $40.00
   Andrew                    Peek                              $250.00
   Tanish                    Peelgrane                          $50.00
   Trish                     Peeples                            $75.00
   Jocelyn                   Peers                             $100.00
   Amanda                    Peiffer                            $50.00
   Teresa                    Pelayo                            $150.00
   Nina                      Peles                             $100.00
   Todd                      Peletta                           $100.00
   Cara                      Pellegrini                        $125.00
   Caron                     Pelletier                          $75.00
   Rebecca                   Pelletier                          $50.00
   Karen                     Pellett                            $40.00
   Kimberly                  Pellish                            $50.00
   Jen                       Pells                             $100.00
   Shannon                   Penberthy                         $250.00
   Geoff                     Pendergast                         $85.00
   Lara                      Pendleton                          $34.00
   Althea                    Peng                              $150.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $50.00
   Sam                       Penman                             $80.00


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   Buyer First Name           Buyer Last Name           Gift Card Amount
   Sam                        Penman                               $100.00
   Suosdey                    Penn                                  $50.00
   Olivia                     Pennell                              $100.00
   Geetha                     Pennington                            $40.00
   Crystal                    Pennywell                             $50.00
   Crystal                    Pennywell                             $50.00
   Lindsay                    Penrose                               $25.50
   Neela                      Penumarthy                           $127.50
   Pdh                        People                               $100.00
   Annie                      Pepper                                $50.00
   Jon-Paul                   Pepper                                $50.00
   Diana                      Peppers                               $50.00
   Luis                       Peralta                               $30.00
   Liliana                    Perazich                             $212.50
   Catherine                  Percival                             $106.25
   Merilee                    Percy                                 $30.00
   Tina                       Perdices                              $50.00
   Laura                      Perdikomatis                          $50.00
   Margery                    Perdue                                $50.00
   Anthea                     Pereira                               $40.00
   Melinda                    Perera                                $80.00
   Kelly                      Perey                                 $50.00
   Alexis                     Perez                                 $40.00
   Gina                       Perez                                 $50.00
   Holly                      Perez                                 $42.50
   Jamie                      Perez                                 $50.00
   Martha                     Perez-Goodall                         $40.00
   Martha                     Perez-Goodall                         $40.00
   Martha                     Perez-Goodall                         $80.00
   Juliette                   Perfettini Derenne                    $50.00
   Sarah                      Perigo                               $100.00
   Emily                      Perito                                $50.00
   Amy                        Perkins                               $80.00
   Emilie                     Perkins                              $200.00
   Katie                      Perkins                               $25.00
   Lexy                       Perkins                               $20.00
   Pauline                    Perkins                               $50.00
   Tara                       Perkins                              $250.00
   Virginia                   Perkins                               $75.00
   Jacqueline                 Perl                                  $60.00


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   Buyer First Name           Buyer Last Name            Gift Card Amount
   Cara                       Perlas                                $200.00
   Rachel                     Perlstein                              $75.00
   Michelle                   Permutt                                $50.00
   Michelle                   Permutt                                $50.00
   Gina                       Peronto                               $150.00
   Linda                      Perotti                               $100.00
   Molly                      Perotti                               $200.00
   Jaclyn                     Perrett                                $50.00
   Sanije                     Perrett                               $250.00
   Sanije                     Perrett                               $250.00
   Polly                      Perrigo                                $50.00
   Lois                       Perrin                                $100.00
   Misa                       Perron-Burdick                         $35.00
   Amanda                     Perrot                                $200.00
   Bob                        Perry                                  $77.00
   Christoffer                Perry                                  $50.00
   Heather                    Perry                                  $50.00
   Lisa                       Perry                                  $75.00
   Maureen                    Perry                                  $25.00
   Randall                    Persion                               $100.00
   Edward                     Pertcheck                              $35.00
   Edward                     Pertcheck                              $40.00
   Edward                     Pertcheck                              $40.00
   Edward                     Pertcheck                              $40.00
   Edward                     Pertcheck                              $40.00
   Edward                     Pertcheck                              $40.00
   Edward                     Pertcheck                             $100.00
   Charmaine                  Pesso                                 $150.00
   Hoku                       Peter                                 $100.00
   Cara                       Peterman                               $50.00
   Preston                    Peterman                               $50.00
   Brian                      Peters                                $100.00
   Carrie                     Peters                                $250.00
   Chris                      Peters                                 $50.00
   Chris                      Peters                                 $50.00
   Christopher                Peters                                 $50.00
   Erin                       Peters                                 $50.00
   Kaitlin                    Peters                                $120.00
   Kevin                      Peters                                $100.00
   Kimberly                   Peters                                 $50.00


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   Buyer First Name           Buyer Last Name           Gift Card Amount
   Mara                       Peters                                $50.00
   Rebecca                    Peters                               $100.00
   Rebecca                    Peters                               $100.00
   Alison                     Petersen                              $25.00
   Jenessa                    Petersen                              $50.00
   Jenessa                    Petersen                              $50.00
   Jenessa                    Petersen                              $50.00
   Jonathan                   Petersen                              $50.00
   Tarrin                     Petersen-Rice                         $25.00
   Allison                    Peterson                              $75.00
   Carolyn                    Peterson                              $50.00
   Christa                    Peterson                              $50.00
   Defne                      Peterson                              $50.00
   Erik                       Peterson                              $50.00
   Erin                       Peterson                              $50.00
   Heather                    Peterson                              $42.50
   Jill                       Peterson                              $50.00
   Kelly                      Peterson                              $80.00
   Mark                       Peterson                             $100.00
   Rhett                      Peterson                             $250.00
   Shawna                     Peterson                             $160.00
   Vanessa                    Peterson                             $100.00
   Juanita                    Peters-White                         $100.00
   Kelsey                     Petithomme                           $100.00
   Jane                       Petrich                              $250.00
   Pamela                     Petrigliano                          $200.00
   Alexis                     Petru                                 $30.00
   Charmaine                  Petrucha-Ting                         $50.00
   Ann Marie                  Petry                                 $50.00
   Anne-Louise                Pettersson                            $75.00
   Cynthia                    Petti                                $100.00
   James                      Pettit                               $150.00
   Elisa                      Petty                                 $50.00
   Molly                      Petullo                               $50.00
   Letitia                    Peypoch                               $30.00
   Mike                       Peyzner                              $100.00
   Angie                      Pfahnl                                $50.00
   Charlotte                  Pfannenstiel                          $50.00
   Charlotte                  Pfannenstiel                         $100.00
   Shannon                    Pfeffer                               $50.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Dan                      Pfeiffer                         $150.00
   Mindy                    Pfeiffer                         $200.00
   Kelly                    Pfister                          $250.00
   Eva And Justin           Phalen                           $150.00
   A                        Pham                              $50.00
   Stephanie                Pham                             $100.00
   Tru                      Pham                              $42.50
   Heather                  Pharr                             $30.00
   Patricia                 Pharris                          $212.50
   Elizabeth                Pheasant                          $40.00
   Alanna                   Phelan                           $100.00
   Deanna                   Phelps                            $25.50
   Susan                    Phelps                           $250.00
   Travis                   Phelps                            $85.00
   Seth                     Philip                            $50.00
   Louisa                   Philipp                           $60.00
   Louisa                   Philipp                           $60.00
   Louisa                   Philipp                          $100.00
   Louisa                   Philipp                          $250.00
   Emily                    Philipps                          $40.00
   Alice                    Phillips                         $250.00
   Amy                      Phillips                          $40.00
   Elizabeth                Phillips                          $50.00
   Kay                      Phillips                          $50.00
   Marie                    Phillips                         $100.00
   Marissa                  Phillips                          $50.00
   Michelle                 Phillips                          $35.00
   Michelle                 Phillips                          $40.00
   Nathalie                 Phillips                          $50.00
   Sally                    Phillips                         $100.00
   Sarah                    Phillips                          $50.00
   Vanessa                  Phillips                         $100.00
   Wendy                    Phillips                         $100.00
   Zack                     Phillips                          $40.00
   Beth                     Philp                             $40.00
   Beth                     Philp                            $160.00
   Laura                    Philpot                           $50.00
   Nancy                    Philpot                           $22.50
   Adrina                   Phipps                           $170.00
   Christine                Phongdara                        $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Kimily                    Phu                                 $50.00
   Karena                    Phung                              $200.00
   Laura                     Piana                               $50.00
   Gail                      Piccirilli                          $25.00
   Ember                     Pickands                            $50.00
   Ember                     Pickands                            $50.00
   Tessa                     Pickard                            $100.00
   Janice                    Pickering                          $100.00
   Joseph                    Pickering                           $50.00
   Jennifer                  Pickett                             $40.00
   Kevin                     Pickett                            $100.00
   Nicole                    Pickett                             $42.50
   Nicole                    Pickett                             $42.50
   Nicole                    Pickett                             $42.50
   Nicole                    Pickett                             $50.00
   Nicole                    Pickett                             $50.00
   Nicole                    Pickett                             $50.00
   Robin                     Pickett                             $50.00
   Mark                      Piehler                            $100.00
   Kori                      Pierce                             $100.00
   Laura                     Pierce                              $40.00
   Patricia                  Pierce                              $50.00
   Alison                    Piergallini                         $50.00
   Sarah                     Pierle                              $50.00
   William                   Pierron                             $50.00
   Ashley                    Pierson                             $50.00
   Ashley                    Pierson                             $50.00
   Jennifer                  Piert                               $50.00
   Lisa                      Pignataro                           $50.00
   Dina                      Pigott                             $200.00
   Laura                     Piippo                              $40.00
   Laura                     Piippo                              $40.00
   Laura                     Piippo                              $40.00
   Jeffrey                   Piira                              $200.00
   Lynda                     Pike                                $80.00
   Stephanie                 Pike                                $50.00
   Nina                      Pilarczyk                           $40.00
   Sharon                    Pillsbury                          $100.00
   Jennifer                  Pimentel                           $200.00
   Christine                 Pimlott                            $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Nicole                    Pin Mazza                           $50.00
   Frederic                  Pinchon                             $40.00
   Frederic                  Pinchon                             $80.00
   Michael                   Pinck                              $100.00
   Isabel                    Pineda                              $50.00
   Carol                     Pinion                             $100.00
   Carol                     Pinion                             $100.00
   Laura                     Pinnick                            $100.00
   Erin                      Pino                                $50.00
   Young                     Pintaske                            $75.00
   Young                     Pintaske                           $100.00
   Eduardo                   Pintos                              $50.00
   Jacquelyn                 Pio Roda                           $100.00
   Mary                      Piontkowski                        $500.00
   Amelia                    Piper                               $40.00
   Amelia                    Piper                               $40.00
   David                     Piper                               $25.00
   Sonya                     Piper                              $140.00
   Virginia                  Piper                               $40.00
   Virginia                  Piper                              $100.00
   Malia                     Pires                               $50.00
   Ross                      Pirkle                             $100.00
   Meghan                    Pirozzoli                           $50.00
   Alisa                     Pisciotta                           $50.00
   Liz                       Pisciotta                           $50.00
   Mary Ann                  Pises                              $100.00
   Shervin                   Pishevar                           $500.00
   Molly                     Pisula                              $75.00
   Jackie                    Pitera                              $50.00
   Anne                      Pitkin                             $250.00
   Jannick                   Pitot                              $100.00
   Terri                     Pittman                            $100.00
   Fred                      Pitts                               $50.00
   Randy                     Pitts                              $100.00
   Ofra                      Pizante                             $50.00
   Gabriella                 Pizzitola                          $100.00
   Home                      Pksai                              $100.00
   Allison                   Plambeck                            $50.00
   Stephen                   Planeta                            $100.00
   Nicky                     Plank                               $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Robert                    Plant                             $100.00
   Carrie                    Plaskett                           $50.00
   Carrie                    Plaskett                          $130.00
   Karen                     Plastiras                          $80.00
   Selene                    Plastiras                         $150.00
   Shannon                   Plath                              $40.00
   Julia                     Platt                             $150.00
   Rocio                     Platt                              $75.00
   Tiffany                   Platt                              $50.00
   Tiffany                   Platt                             $100.00
   Amy                       Platz                             $125.00
   Matthew                   Plavnick                          $100.00
   Deborah                   Plonk                             $100.00
   Deborah                   Plonk                             $127.00
   Jessica                   Pluess                            $100.00
   Brianna                   Plummer                           $100.00
   Matthew                   Plummer                            $85.00
   Michael                   Plummer                           $100.00
   Michael                   Plummer                           $100.00
   Liana                     Plumpton                          $100.00
   Amy                       Plunkett                          $100.00
   Amy                       Plunkett                          $100.00
   Tami                      Poalucci                          $100.00
   Alexis                    Podesta                           $100.00
   Rebecca                   Podolsky                          $100.00
   Tammy                     Poe                               $540.00
   Saemi                     Poelma                             $25.00
   Mark                      Poeschl                            $50.00
   Kevin                     Poff                               $50.00
   Julie                     Pofsky                             $50.00
   Brian                     Poggetti                          $150.00
   Patricia                  Poggetti                           $25.00
   Dave                      Poggi                              $75.00
   Joanne                    Poggi                              $25.00
   Joanne                    Poggi                              $25.00
   Alison                    Poggi Leon                         $50.00
   Jane                      Pohl                              $150.00
   Sarah                     Pohl                               $50.00
   Kris                      Poindexter Mchan                   $42.50
   Kris                      Poindexter Mchan                   $42.50


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   Kris                     Poindexter Mchan                   $50.00
   Lynne                    Poirier                           $100.00
   Julianne                 Polanco                           $170.00
   Rosa                     Polenzani                         $100.00
   Matthew                  Policastro                         $25.00
   John                     Polito                            $100.00
   Brittani                 Polivka                            $50.00
   Sarah                    Polizzotto                        $100.00
   Sam                      Polk                              $100.00
   Courtney                 Pollack                            $40.00
   Jason                    Pollack                            $50.00
   Jessica                  Pollack                           $100.00
   Kara                     Pollack                            $50.00
   Janet                    Pollak                            $125.00
   Virginia                 Pollard                            $40.00
   Tarrah                   Pollaro                            $50.00
   Tarrah                   Pollaro                           $100.00
   Jeremy                   Pollock                            $50.00
   Jeremy                   Pollock                           $100.00
   Rebecca                  Pollock                            $50.00
   Zachary                  Pollock                           $100.00
   Gina                     Polly                              $50.00
   Bob And Nancy            Polsky                            $100.00
   Jessica                  Polsky                             $30.00
   Jessica                  Polsky                             $30.00
   Jessica                  Polsky                            $250.00
   Peter                    Polson                             $80.00
   William                  Polson                             $50.00
   Irina                    Polusmak                          $100.00
   Angela                   Pomerantz                          $75.00
   Christy                  Pommerien                          $40.00
   Alexander                Pomorski                           $50.00
   Louise                   Pon-Barry                          $50.00
   Heather                  Pond                               $50.00
   Sonja                    Poole                              $25.00
   Sonja                    Poole                              $50.00
   Amy                      Poon                               $85.00
   Sandra                   Poon                               $50.00
   Golaleh                  Poorsoltan                        $100.00
   Shantal                  Poovala                            $50.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Shantal                   Poovala                               $50.00
   Katie                     Pope                                  $50.00
   Marcia                    Pope                                 $100.00
   Milan                     Popelka                              $100.00
   Mihaela                   Popescu                              $250.00
   Mihaela                   Popescu                              $850.00
   Amy                       Popovich                              $42.50
   Denise                    Popovits                              $50.00
   Denise                    Popovits                              $50.00
   Aidan                     Poppler                               $50.00
   Melinda                   Poppler                               $50.00
   Karen                     Poppy                                 $50.00
   Tracy                     Pore                                  $50.00
   Grete                     Porteous                              $50.00
   Grete                     Porteous                              $50.00
   Brande                    Porter                                $17.00
   Carol                     Porter                               $100.00
   James                     Porter                                $40.00
   Kathleen                  Porter                                $25.00
   Kelly                     Porter                               $100.00
   Kelly                     Porter                               $100.00
   Kelly                     Porter                               $100.00
   Meagan                    Porter                                $50.00
   Nicole                    Portet                                $85.00
   Alex                      Portilla                             $140.00
   Athena                    Portillo                             $100.00
   Rumi                      Portillo                             $150.00
   Sylvia                    Portillo                              $50.00
   Stephanie                 Portman                               $30.00
   Nicole                    Portmann                             $100.00
   Chiara                    Portner                              $100.00
   Michael                   Portnov                              $100.00
   Erica                     Portnoy                               $50.00
   Natanya                   Porto                                 $20.00
   Andrea                    Portocarrero                          $80.00
   Georgia                   Portocarrero                          $50.00
   Elisabeth                 Portocarrero-Pitt                    $100.00
   David                     Post                                 $100.00
   Jennifer                  Post                                 $100.00
   Morgan                    Poster                                $25.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Gwendolyn                 Potloff                                $50.00
   Jane                      Potrykus                               $50.00
   Jonelle                   Potter                                 $30.00
   Katie                     Potter                                $150.00
   Laura                     Potter                                $100.00
   Linda                     Potter                                 $54.00
   Melanie                   Potter                                 $75.00
   Sean                      Potts                                  $50.00
   Isabelle                  Poulin                                $200.00
   Sue                       Pound                                  $25.00
   Sue                       Pound                                  $50.00
   Kimberly                  Pousman                                $40.00
   Emilie                    Powell                                 $50.00
   Jean                      Powell                                $100.00
   Kenneth B                 Powelson                              $500.00
   Brendan                   Power                                  $75.00
   Kate                      Power                                  $50.00
   Kate                      Power                                  $50.00
   Kim                       Powers                                 $50.00
   Kim                       Powers                                 $50.00
   Kim                       Powers                                 $50.00
   Veronica                  Powers                                 $50.00
   Kara                      Powis                                  $75.00
   Maria                     Poyner                                 $50.00
   Nancy                     Poznoff                                $50.00
   Nancy                     Poznoff                                $50.00
   Avantika                  Prabhakara                            $150.00
   Amardeep                  Prasad                                 $60.00
   Anna                      Prashanth                             $100.00
   Aaryn                     Pratt                                  $75.00
   Kerr                      Pratt                                 $100.00
   Nancy                     Pratt                                  $60.00
   Andrea                    Prearo                                 $75.00
   Debb                      Preiksa-Roberts                       $100.00
   Priya                     Premkumar                              $40.00
   Jennifer                  Prentiss Keane                        $100.00
   Jennifer                  Prentiss Keane                        $100.00
   Michaela                  Prescott                               $40.00
   Michaela                  Prescott                               $80.00
   Carlin                    Pressnall                              $40.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Anita                     Presta                             $52.00
   Kyle                      Pretsch                            $50.00
   Emily                     Prevas                            $150.00
   Stephanie                 Prevedello                        $250.00
   Ashley                    Price                              $50.00
   Betsy                     Price                              $50.00
   Candice                   Price                              $50.00
   Christine                 Price                              $80.00
   Daniel                    Price                             $100.00
   Elissa                    Price                             $100.00
   Erika                     Price                              $50.00
   Erika                     Price                             $100.00
   Fabiola                   Price                             $200.00
   Marla                     Price                              $50.00
   Matt                      Price                              $50.00
   Michael                   Price                             $250.00
   Kelly                     Pries                              $50.00
   Whitney                   Priest                             $35.00
   Ronda                     Priestner                         $100.00
   Karen                     Prince                             $40.00
   Karen                     Prince                             $50.00
   Abby                      Pringle                            $50.00
   Pat                       Pritchard                          $25.00
   Pat                       Pritchard                          $25.00
   Pat                       Pritchard                          $25.00
   Pat                       Pritchard                          $25.00
   Pat                       Pritchard                         $100.00
   Regan                     Pritzker                          $100.00
   Amy                       Probst                             $50.00
   Andrea                    Prochniak                         $212.50
   Katie                     Prochnow                          $100.00
   Ashley                    Proctor                           $100.00
   Betsy                     Proctor                            $35.00
   Sherry                    Proctor                            $50.00
   Courtney                  Pronin                             $50.00
   Robert                    Pronovost                         $100.00
   Kathleen                  Prophete                          $100.00
   Stephanie                 Propp                              $75.00
   Angela                    Prosek                             $50.00
   Julie                     Prosper                            $20.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Jennifer                  Protacio                            $50.00
   Irina                     Protasov                            $50.00
   Joan                      Protz                               $42.50
   Dianne                    Provenzano                          $40.00
   Katherine                 Provenzano                          $40.00
   Kim                       Pruett                              $40.00
   Aaron                     Pruner                             $100.00
   Erica                     Przybylski                          $42.50
   Katie                     Przytulski                          $50.00
   Larissa                   Pschenica                          $100.00
   Allison                   Puccioni                            $50.00
   Eduard                    Puchin                              $50.00
   Eduard                    Puchin                              $50.00
   Leslie                    Pucker                             $100.00
   Gianna                    Puerini                            $250.00
   Jaclyn                    Puga                                $50.00
   Rupa                      Pugashetti                         $300.00
   Ellery                    Pugmire                            $125.00
   Jill                      Pugsley                            $400.00
   Caroline                  Puiggali                           $200.00
   Cheryl                    Pulanco                             $50.00
   Jocelyn                   Pulido                              $75.00
   Jocelyn                   Pulido                              $75.00
   Jocelyn                   Pulido                              $75.00
   Jean                      Pullen                              $42.50
   Laura & Kendra            Pullen                              $50.00
   Tracy                     Pullman                             $50.00
   Maiteeny                  Pumpuang                            $50.00
   Jessica                   Pundir                             $225.00
   Ellen                     Punyon                              $50.00
   Brooke                    Purcell                            $200.00
   Lea                       Purcell                             $50.00
   Susan                     Purel                              $100.00
   Karen                     Purkey                              $50.00
   Linda                     Purkiss                             $50.00
   Alan                      Pursell                             $42.50
   Daryl                     Puryear                            $250.00
   Dan                       Puterbaugh                         $100.00
   Margee                    Putnam-Pite                         $50.00
   Marcell                   Puzsar                              $50.00


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   Buyer First Name           Buyer Last Name          Gift Card Amount
   Tracie                     Pyers                               $100.00
   Jessica                    Qu                                  $420.00
   Jimmy                      Quach                               $250.00
   Kaitlyn                    Quackenbush                          $75.00
   Laurie                     Quadracci                            $50.00
   Laurie                     Quadracci                            $50.00
   Laurie                     Quadracci                            $50.00
   Laurie                     Quadracci                            $50.00
   Laurie                     Quadracci                           $100.00
   Margaret                   Qualls                               $50.00
   Tammy                      Qualls                               $50.00
   Tammy                      Qualls                              $100.00
   Kelvin                     Quan                                $100.00
   Dan                        Queen                               $100.00
   Masika                     Queen-Newton                         $42.50
   Stephen                    Quen                                $150.00
   Kristy                     Querna                               $50.00
   Kristy                     Querna                               $50.00
   Kristy                     Querna                               $50.00
   Kristy                     Querna                               $50.00
   Kristy                     Querna                               $50.00
   Kristy                     Querna                               $50.00
   Maria                      Quesada                              $50.00
   Kim                        Quesnel                              $25.00
   Kaeli                      Quick                                $85.00
   Nicolina                   Quickert                            $300.00
   Liriola                    Quiel                               $100.00
   Victoria                   Quiles                              $100.00
   Ashley                     Quinlan                             $250.00
   Kelli                      Quinlan                              $50.00
   Kelli                      Quinlan                              $50.00
   Steven                     Quinlavin                            $50.00
   Adam                       Quinn                                $40.00
   Catherine                  Quinn                               $100.00
   Jane                       Quinn                                $65.00
   Kerry                      Quinn                               $100.00
   Melissa                    Quinn                                $50.00
   Monna                      Quinn                                $80.00
   Jenny                      Quintal                              $40.00
   Maureen                    Quintana                            $250.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Nina                     Quintana                           $50.00
   Nina                     Quintana                           $50.00
   Nina                     Quintana                           $50.00
   Marley                   Quirante                           $50.00
   Joseph                   Quirk                              $75.00
   Maria                    Quiros                            $106.25
   Diana                    Quist                             $100.00
   Suzanne                  Quist                              $10.00
   Will                     Quist                              $75.00
   Will                     Quist                              $75.00
   Wqe                      Qwe                                $10.00
   A                        R                                 $287.00
   May                      RaÕiu                              $50.00
   May                      RaÕiu                             $370.00
   Dale                     Raaen                              $85.00
   Kristine                 Raatz                              $50.00
   Erica                    Rabb                               $50.00
   Darlene                  Rabena                             $50.00
   Anya                     Rabinov                            $50.00
   Nicholas                 Rabinowitz                         $60.00
   Nicholas                 Rabinowitz                         $80.00
   Tamar                    Rabinowitz                         $50.00
   Tamar                    Rabinowitz                         $50.00
   Diane                    Race                              $100.00
   Diane                    Race                              $500.00
   Mary                     Race                               $40.00
   Mary                     Race                               $50.00
   Mary                     Race                               $50.00
   Mary                     Race                               $50.00
   Jane                     Racoosin                          $150.00
   Suzie                    Radack                            $100.00
   Dean                     Rader                              $50.00
   Jane                     Rades                              $50.00
   Simone                   Radliff                           $100.00
   Daniel                   Raffa                              $30.00
   Cheryl                   Raffetto                           $50.00
   Laura                    Raffetto                           $50.00
   Christine                Raggio                            $250.00
   Carey                    Ragni                              $80.00
   David                    Ragni                              $40.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Terri                    Rago                             $150.00
   Michele                  Ragon                             $50.00
   Janesh                   Rahlan                           $500.00
   Richa                    Rai                               $40.00
   Faith                    Raider                            $50.00
   Carole                   Raimondi                          $42.50
   Carole                   Raimondi                          $50.00
   Mark                     Rainey                            $50.00
   Lisa                     Raiti                            $100.00
   Natasha                  Rajkumar                          $40.00
   Natasha                  Rajkumar                          $40.00
   Swati                    Raju                             $100.00
   James                    Ralph                             $50.00
   Lauren                   Ralph                            $200.00
   Barbara                  Ralston                          $250.00
   Lauren                   Ralyea                            $50.00
   Shawn                    Ram                               $42.50
   Abi                      Raman                            $100.00
   Puja                     Ramani                            $50.00
   Sharyn                   Ramarino                         $250.00
   Susan                    Ramey                             $60.00
   Chris                    Ramezzano                         $40.00
   Elizabeth                Ramirez                           $35.00
   Fernando                 Ramirez                           $50.00
   Jonathan                 Ramirez                          $200.00
   Kristen                  Ramirez                          $200.00
   Marcus                   Ramirez                          $125.00
   Marcus                   Ramirez                          $150.00
   Maria                    Ramirez                           $75.00
   Nick                     Ramirez                          $125.00
   Priscilla                Ramon                             $50.00
   Catalina                 Ramos                             $50.00
   Charlie                  Ramos                            $100.00
   Christina                Ramos                            $100.00
   Kristina                 Ramos                             $85.00
   Sarah                    Ramos                            $250.00
   Jose L                   Ramos Serrano                     $50.00
   Tina                     Ramoy                            $250.00
   Jessica                  Rampel                           $100.00
   Beth                     Rampson                          $100.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Sheldon                   Ramsay                           $100.00
   Amanda                    Ramsey                            $40.00
   Cynthia                   Ramsey                           $100.00
   Gabriela                  Ramsey                            $75.00
   George                    Ramsey                           $100.00
   Lisa                      Ramsey                            $50.00
   Kristen                   Ramseyer                          $40.00
   Ameet                     Ranadive                         $250.00
   Judy                      Ranan                             $80.00
   Judy                      Ranan                            $120.00
   Margaret                  Rancatore                        $100.00
   Lorrie                    Ranck                             $25.00
   Courtney                  Rand                             $100.00
   Cindy                     Randall                          $100.00
   Kate                      Randall                           $50.00
   Kate                      Randall                           $50.00
   Michelle                  Randall                           $50.00
   Michelle                  Randall                          $100.00
   Renee                     Randall                          $100.00
   Randi                     Randle                            $35.00
   Katia                     Randleman                         $85.00
   Brianna                   Randles                          $100.00
   Kandiss                   Randolph                          $50.00
   Karen                     Randolph                         $250.00
   Samantha                  Raniere                          $100.00
   Ashley                    Ransom                            $40.00
   Ashley                    Ransom                            $45.00
   Ashley                    Ransom                            $45.00
   Ashley                    Ransom                            $50.00
   Ashley                    Ransom                            $50.00
   Sonia                     Ransom                           $250.00
   Tamara                    Rant                              $50.00
   Alison                    Rao                               $50.00
   Mira                      Rao                              $100.00
   Seth                      Raphael                           $50.00
   Alyssa                    Rapp                             $100.00
   Anna                      Rapp                              $40.00
   Miyuki                    Rapp                             $250.00
   Lisa                      Raschilla                         $50.00
   Lee                       Rase                             $100.00


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   Buyer First Name         Buyer Last Name             Gift Card Amount
   Angela                   Rashid                                  $60.00
   Tiffany                  Rashkin                                $233.75
   Alexandra                Rasmus Dean                             $40.00
   Kristin                  Rasmussen                              $100.00
   Louise                   Rasmussen                               $50.00
   Steph                    Rasmussen                               $80.00
   Anya                     Rasulova                               $100.00
   Neda                     Ratanawongsa                           $150.00
   Stan                     Ratcliffe                               $80.00
   Kate                     Rath                                    $42.50
   Kate                     Rath                                    $50.00
   Paula                    Rathert                                $184.00
   Cole                     Rathje                                 $120.00
   Your                     Rational Family                        $160.00
   Your                     Rational Family                        $250.00
   Your                     Rational Family                        $250.00
   Your                     Rational Family                        $250.00
   Your                     Rational Family                        $250.00
   Your                     Rational Family                        $250.00
   Daniel                   Ratner                                  $50.00
   Paul                     Ratner                                  $75.00
   Laura                    Rattay                                 $100.00
   Kathleen                 Ratto                                  $150.00
   Steve                    Ratto                                  $100.00
   Brittany                 Rau                                    $250.00
   Holly                    Rau                                    $100.00
   Susan                    Rau                                     $40.00
   Tanya                    Raukko                                  $85.00
   Rebecca                  Ravel                                  $100.00
   Vidya                    Ravella                                 $50.00
   Amanda                   Ravenscroft                             $50.00
   Itay                     Ravid                                   $50.00
   Itay                     Ravid                                   $50.00
   Craig                    Rawe                                    $25.00
   David                    Rawlins                                $100.00
   Rachael                  Rawls                                  $100.00
   Taryn                    Rawson                                  $50.00
   Kate                     Ray                                     $50.00
   Terri                    Ray                                     $50.00
   Pamela                   Raya-Carlton                           $150.00


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   Buyer First Name         Buyer Last Name          Gift Card Amount
   Sarah                    Rayburn                             $100.00
   Nicole                   Rayl                                 $50.00
   Brian                    Raymond                             $100.00
   Laura                    Raymonds                             $50.00
   Liza                     Raynal                               $50.00
   Hadi                     Razzaq                               $75.00
   Marco                    Rea                                  $30.00
   P. Kathleen              Rea                                  $25.00
   Shadelly                 Reader                              $100.00
   Jodi                     Reagan                               $50.00
   Dusty                    Reagin                               $60.00
   Rachel                   Ream                                 $30.00
   Rachel                   Ream                                 $40.00
   Narasu                   Rebbapragada                         $80.00
   Liz                      Rebensdorf                          $200.00
   Lynn                     Rechcygl                            $150.00
   Ed                       Recinto                              $25.00
   Natasha                  Reckless                             $50.00
   Natasha                  Reckless                             $50.00
   Marissa                  Reda                                 $50.00
   Raquel                   Redding                             $200.00
   Martin                   Reddy                               $250.00
   Martin                   Reddy                               $250.00
   Jennifer                 Redekopp                             $50.00
   James                    Redfern                             $127.50
   Christina                Redfield                             $25.00
   Megan                    Redford                              $40.00
   Linda                    Redgrave                             $80.00
   Amy                      Reed                                 $50.00
   Ayanna                   Reed                                $128.00
   Brock                    Reed                                 $30.00
   Carla                    Reed                                $100.00
   Drew                     Reed                                 $50.00
   Elisabeth                Reed                                 $50.00
   Elisabeth                Reed                                $150.00
   Geoffrey                 Reed                                $100.00
   Harvey                   Reed                                 $80.00
   Harvey                   Reed                                 $80.00
   Harvey                   Reed                                $200.00
   Jane                     Reed                                $250.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Kelly                    Reed                               $100.00
   Michelle                 Reed                                $50.00
   Timothy                  Reed                                $50.00
   Ali                      Reeder                              $50.00
   Andrea                   Reeder                              $30.00
   Andrea                   Reeder                              $50.00
   Anika                    Reeder                              $50.00
   Rachelle                 Reeder                             $100.00
   Lisa                     Reep                               $100.00
   Alex                     Reese                               $75.00
   Helen                    Reese                              $100.00
   Jennifer                 Reese                               $40.00
   Joy                      Reeve-Mitta                         $29.75
   Amy                      Reeves                              $50.00
   Amy                      Reeves                             $250.00
   Brittney                 Reeves                             $100.00
   Brittney                 Reeves                             $100.00
   Anne                     Regalski                            $50.00
   Janet                    Regan                              $250.00
   Mary                     Regan                              $100.00
   Robin                    Regan                              $150.00
   Sara                     Regan                               $50.00
   Kelsey                   Regis                               $50.00
   Michelle                 Regner                              $50.00
   Michelle                 Regner                              $50.00
   Janice                   Reguyal                             $85.00
   Laura                    Reich                              $100.00
   Sara                     Reich                              $100.00
   Brianna                  Reichelt                            $75.00
   Jan                      Reicher                            $100.00
   Amy                      Reichert                           $100.00
   Amy                      Reid                                $50.00
   Andrea                   Reid                                $80.00
   Mike                     Reid                               $250.00
   Jamie                    Reifenberg                          $50.00
   Kelly                    Reilly                             $100.00
   Kristie                  Reilly                              $50.00
   M. Patricia              Reilly                              $50.00
   Meghan                   Reilly                              $30.00
   Sue And Ron              Reimer                             $250.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Valerie                   Reinders                             $25.00
   Katherine                 Reindl                              $100.00
   Laurice                   Reinelt                              $50.00
   Laurice                   Reinelt                              $50.00
   Jill                      Reinemann                           $150.00
   Anne                      Reiner                              $100.00
   Trudi                     Reinhardt                            $80.00
   Timm                      Reinhart                             $50.00
   Miriam                    Reinharth                           $100.00
   Annie                     Rein-Weston                         $100.00
   Brad                      Reiss                                $30.00
   Emily                     Reistetter                           $50.00
   Alissa                    Reiter                              $100.00
   Marily                    Rementeria                           $40.00
   Marily                    Rementeria                           $40.00
   Kristin                   Renaudin                            $100.00
   Carley                    Rencher Chen                         $50.00
   Carley                    Rencher Chen                         $50.00
   Miriam                    Rene                                $100.00
   Susan                     Rengstorff                          $250.00
   Susan                     Rengstorff                          $250.00
   Casey                     Renneberg                            $50.00
   Amanda                    Rennie                               $76.00
   Jessica                   Rennison                            $100.00
   Michele                   Reno                                $100.00
   Amanda                    Renschler                           $252.00
   Kerrilyn                  Renshaw                              $75.00
   Francisco                 Rentas                              $250.00
   Adrienne                  Renteria                             $50.00
   Robert                    Renteria                             $30.00
   Kristin                   Renzulli                            $100.00
   Karen                     Reo                                  $50.00
   Jesica                    Resmini                             $100.00
   Karen                     Resnick                             $250.00
   Tamar                     Resnick                              $30.00
   Tamar                     Resnick                             $100.00
   Cindy                     Ressi                               $100.00
   Anne                      Rethmeyer                            $50.00
   Dasha                     Rettew                               $34.00
   Vanessa                   Reust                                $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Krista                    Reuther                             $50.00
   Colleen                   Reyes                              $100.00
   Sonia                     Reyes                              $350.00
   Vanessa                   Reymann                            $100.00
   Barbara                   Reyna                               $50.00
   Becky                     Reyna                              $100.00
   Renee                     Reyna                               $75.00
   Kim                       Reynick                             $50.00
   Amanda                    Reynolds                            $50.00
   Carla                     Reynolds                            $50.00
   Christian                 Reynolds                            $50.00
   Jane                      Reynolds                           $250.00
   Larry H.                  Reynolds                           $200.00
   Misti                     Reynolds                           $150.00
   Misti                     Reynolds                           $250.00
   Paula                     Reynolds                           $100.00
   William                   Reynolds                            $21.25
   William                   Reynolds                           $200.00
   Katherine                 Rezaei                              $85.00
   Leyla                     Rezakhany                          $435.00
   Jane                      Rhee                                $50.00
   Emmy                      Rhine Paule                         $60.00
   Emmy                      Rhine Paule                        $100.00
   Noreen                    Rhoades                             $40.00
   Carin                     Rhodes                             $100.00
   Chris                     Rhodes                             $150.00
   Dianne                    Rhodes                              $50.00
   Kim                       Rhodes                             $100.00
   Lizbeth                   Rhodes                              $50.00
   Lizbeth                   Rhodes                              $50.00
   Lizbeth                   Rhodes                             $100.00
   Lizbeth                   Rhodes                             $200.00
   Deborah                   Ribera                              $42.50
   Deborah                   Ribera                              $50.00
   Carley                    Ribet                              $250.00
   Francean                  Rible                              $100.00
   Michelle                  Ricafort                            $42.50
   Roshni                    Ricchetti                           $50.00
   Anne                      Ricci                               $50.00
   Brenda                    Rice                                $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Rynn                      Rice                               $25.00
   Virginia                  Rice                               $85.00
   Nathalie                  Richard                           $100.00
   Carol                     Richards                          $100.00
   Dana                      Richards                           $20.00
   El                        Richards                          $100.00
   Kathryn                   Richards                           $50.00
   Kathryn                   Richards                           $75.00
   Kevin                     Richards                           $50.00
   Kyra                      Richards                           $30.00
   Masami                    Richards                           $40.00
   Rami                      Richards                          $100.00
   Whitney                   Richards                           $30.00
   Whitney                   Richards                           $40.00
   Zoe                       Richards                           $40.00
   Amanda                    Richardson                         $50.00
   Hollis                    Richardson                         $50.00
   Kristina                  Richardson                         $40.00
   Lee                       Richardson                         $50.00
   Michelle                  Richardson                        $100.00
   Nikole                    Richardson                         $25.50
   Sunita                    Richardson                         $50.00
   Susan                     Richardson                         $50.00
   Susan                     Richardson                         $75.00
   Charles                   Richey                            $100.00
   Jacquelyn                 Richey                            $100.00
   Anita                     Richichi                           $25.00
   Aaron                     Richman                            $50.00
   Katie                     Richman                           $150.00
   Kim                       Richman                            $25.00
   David                     Richmond                          $100.00
   Emily                     Richmond                          $100.00
   Sarah                     Richmond                           $50.00
   Sarah                     Richmond                           $50.00
   Mary                      Rickles                            $40.00
   Nancy                     Rickmeyer                         $100.00
   Liz                       Rico                              $100.00
   Carrie                    Ridge                              $50.00
   Maureen                   Riedy                              $50.00
   Dana                      Rieger                            $300.00


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   Buyer First Name         Buyer Last Name            Gift Card Amount
   Tracey                   Riesen                                 $50.00
   Sarah                    Rieth                                 $100.00
   Jeff                     Riffell                               $250.00
   Kiley                    Riffell                                $40.00
   Kim                      Rifredi                                $50.00
   Helen                    Rigby                                 $100.00
   Nora                     Rigby                                  $50.00
   Nora                     Rigby                                  $50.00
   Pamela                   Riggs                                  $80.00
   Cathy                    Rikhye                                $150.00
   Shan                     Riku                                   $30.00
   Shan                     Riku                                   $50.00
   Brianne                  Riley                                  $50.00
   Jim                      Riley                                  $50.00
   Katherine                Riley                                  $35.00
   Meg                      Riley                                 $100.00
   Samanhta                 Riley                                  $50.00
   Beth                     Rimmer                                 $50.00
   Beth                     Rimmer                                $100.00
   Heather                  Rimsky                                 $75.00
   Edie                     Rindal                                 $20.00
   Kathleen                 Rinehart Magid                        $100.00
   Jeannette                Ring                                   $50.00
   Bryan                    Rink                                   $85.00
   John                     Rinke                                  $50.00
   Bonnie                   Riopelle                               $21.25
   Bonnie                   Riopelle                               $21.25
   Jennifer                 Rios                                  $100.00
   Sol                      Riou                                  $100.00
   Melissia                 Ripley                                $150.00
   Kristen                  Ripple                                 $25.00
   Allison                  Riquier                                $50.00
   Bjork                    Risa                                  $100.00
   Adrian                   Rish                                  $100.00
   Marketing Dept.          Riskiq Inc                             $50.00
   Richard                  Rissel                                 $40.00
   Steve                    Ritchey                                $25.00
   Marisa                   Ritter Reyes                           $50.00
   Marisa                   Ritter Reyes                           $50.00
   Robert                   Ritz                                   $50.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Ann                       Ritzma                            $50.00
   Anton                     Rivera                            $30.00
   Carla                     Rivera                            $50.00
   Cristina                  Rivera                            $50.00
   Cristina                  Rivera                            $50.00
   Felixfelix                Rivera                            $50.00
   Marthe                    Rivera                           $100.00
   Sylvia                    Rivera                           $100.00
   Victoria                  Rivera                            $85.00
   Katharine                 Rivett                           $100.00
   Danielle                  Rivieccio                         $50.00
   Danielle                  Rivieccio                         $50.00
   Liza                      Rivnay                           $100.00
   Jen                       Rizzo                            $100.00
   Sandra                    Rizzuto                          $100.00
   Sharon                    Roach                            $250.00
   John                      Roark                             $50.00
   Colleen                   Robb                              $50.00
   Colleen                   Robb                             $100.00
   Rachae                    Robb                             $100.00
   Deb                       Robbins                           $50.00
   Deb                       Robbins                          $100.00
   Margaret                  Robbins                          $100.00
   Pat                       Rober                            $100.00
   Brian                     Roberge                           $25.00
   Dana                      Roberge                           $50.00
   Pim                       Robert                           $250.00
   Alisha                    Roberts                           $67.50
   Andrew                    Roberts                           $50.00
   Ashley                    Roberts                           $30.00
   Brian                     Roberts                          $250.00
   Carly                     Roberts                           $50.00
   Celia                     Roberts                           $50.00
   Celia                     Roberts                           $50.00
   Jacynth                   Roberts                           $50.00
   Jason                     Roberts                           $65.00
   Jeffrey                   Roberts                          $100.00
   Judy M                    Roberts                           $50.00
   Melinda                   Roberts                           $80.00
   Randy                     Roberts                          $100.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Rebecca                  Roberts                           $55.25
   Cheyenne                 Robertson                        $250.00
   Jo                       Robertson                         $50.00
   Kari                     Robertson                         $50.00
   Madison                  Robertson                         $50.00
   Madison                  Robertson                         $50.00
   Rachel                   Robertson                        $100.00
   Carole                   Robie                             $50.00
   Frannie                  Robins                            $50.00
   Alisa                    Robinson                          $50.00
   Angela                   Robinson                          $50.00
   Angela                   Robinson                         $200.00
   Ashley                   Robinson                         $200.00
   Caroline                 Robinson                          $50.00
   Cheryl                   Robinson                         $100.00
   Christie                 Robinson                         $100.00
   Dana                     Robinson                          $60.00
   David                    Robinson                         $100.00
   Drake                    Robinson                          $50.00
   Drake                    Robinson                          $75.00
   Elizabeth                Robinson                          $40.00
   Hannah                   Robinson                          $50.00
   Jennifer                 Robinson                          $40.00
   Joan                     Robinson                          $50.00
   John                     Robinson                          $40.00
   Laura                    Robinson                         $250.00
   Lauren                   Robinson                          $50.00
   Odessa                   Robinson                         $100.00
   Pamela D.                Robinson                          $50.00
   Patricia                 Robinson                          $50.00
   Patricia                 Robinson                         $100.00
   Risa                     Robinson                          $50.00
   Tara                     Robinson                         $100.00
   Teresa                   Robinson                          $50.00
   Rori                     Robison                           $27.00
   Valorie                  Robles                           $110.00
   Conchita                 Robson                           $100.00
   Margaret                 Roby                              $50.00
   Fabienne                 Roc                              $250.00
   Annette                  Rocca                             $80.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Annette                  Rocca                               $80.00
   Rianne                   Rocca                              $100.00
   Jolene                   Rocchio                             $40.00
   Christina                Roche                               $42.50
   Jennifer                 Roche                               $50.00
   Debbie                   Rochefort                          $125.00
   Debbie                   Rochefort                          $150.00
   Scott                    Rocke                              $212.50
   Deanna                   Rockefeller                         $50.00
   Scott                    Rockfeld                           $100.00
   Ryan                     Rockwood                            $50.00
   Emily                    Rodda                               $20.00
   Chris                    Rodde                              $100.00
   Laura                    Rodde                               $50.00
   George                   Rodgers                            $225.00
   Emily                    Rodman                              $50.00
   Cheri                    Rodolfo                             $50.00
   Adalina                  Rodriguez                           $25.00
   Elizabeth                Rodriguez                          $100.00
   Ernesto                  Rodriguez                           $50.00
   Lisa                     Rodriguez                          $150.00
   Miguel                   Rodriguez                           $80.00
   Sarah                    Rodriguez                           $50.00
   Sharon                   Rodriguez                           $75.00
   Andrew                   Roe                                $150.00
   Lauren                   Roe                                 $50.00
   Lauren                   Roe                                $100.00
   Lauren                   Roe                                $100.00
   Sara                     Roedner                             $50.00
   Keegan                   Roehr                               $40.00
   Ginger                   Roehrig                             $50.00
   Ginger                   Roehrig                            $150.00
   Nick                     Roessler                            $50.00
   Amy                      Rogers                             $100.00
   Cass                     Rogers                              $50.00
   Cass                     Rogers                              $50.00
   Elizabeth                Rogers                              $85.00
   Gina                     Rogers                              $50.00
   Gina                     Rogers                             $100.00
   John                     Rogers                              $50.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Joyce                     Rogers                            $42.50
   Kristina                  Rogers                           $500.00
   Kristy                    Rogers                           $150.00
   Maritza                   Rogers                            $25.00
   Rebekah                   Rogers                           $150.00
   Richard                   Rogers                           $100.00
   Sonja                     Rogers                           $500.00
   Tatiana                   Rogier                           $200.00
   Linda K.                  Rohde                            $100.00
   Darin                     Rohla                             $10.00
   Sara                      Rohlfing                         $100.00
   Maria                     Rohlsson                         $100.00
   Maria                     Rohlsson                         $100.00
   Maria                     Rohlsson                         $100.00
   Maria                     Rohlsson                         $100.00
   Maria                     Rohlsson                         $100.00
   Kelly                     Rojas                             $25.00
   Molly                     Rolig                             $25.00
   Jamie                     Rollins                          $100.00
   Jamie                     Rollins                          $250.00
   Scott                     Rollins                          $250.00
   Caitie                    Rolls                             $50.00
   Erica                     Rolston                           $50.00
   Karen                     Romagnoli                         $50.00
   Mikhael                   Romain                            $80.00
   Annavon                   Romano                            $25.00
   Gail                      Romano                           $100.00
   Jennifer                  Romano                            $75.00
   Karen                     Romano                            $50.00
   Shanna                    Romano                            $75.00
   Annie                     Romero                            $50.00
   Colleen                   Romero                           $250.00
   Hannelore                 Romero                            $40.00
   Mirari                    Romero                            $75.00
   Nick                      Romero                            $30.00
   Karl                      Ronn                             $250.00
   Pamela                    Rood                              $50.00
   Pamela                    Rood                              $50.00
   Michal                    Roof                              $50.00
   Nancy                     Rooke                            $100.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Stephanie                 Rooney                                $50.00
   Juliane                   Roos                                  $50.00
   Theresa                   Roosevelt                            $100.00
   Lauren                    Roper                                 $40.00
   Lauren                    Roper                                 $40.00
   Emily                     Roper-Doten                          $200.00
   Cornelia                  Roppel                                $50.00
   Kimerly                   Rorschach                            $100.00
   Donna                     Rosa                                  $50.00
   Hiram                     Rosa                                  $50.00
   Linda                     Rosa                                  $50.00
   Jennifer                  Rosado                               $150.00
   Jennifer                  Rosado                               $500.00
   Valerie                   Rosado                                $50.00
   Olivia                    Rosaldo-Pratt                         $85.00
   David                     Rose                                  $42.50
   Emily                     Rose                                 $250.00
   Jennifer                  Rose                                  $50.00
   Katherine                 Rose                                  $50.00
   Meagan                    Rose                                  $25.00
   Sarah                     Rose                                  $50.00
   Natasha                   Rosekrans                             $50.00
   Cynthia                   Rose-Lauer                            $50.00
   Martha                    Rosellini                             $50.00
   Chad                      Rosen                                 $50.00
   Ruth                      Rosen                                $100.00
   Ruth                      Rosen                                $100.00
   Ruth                      Rosen                                $100.00
   Shira                     Rosen                                 $50.00
   Stephen                   Rosen                                $250.00
   Susan                     Rosen                                $100.00
   Amy                       Rosenbaum                             $50.00
   Carrie                    Rosenbaum                             $50.00
   Donna                     Rosenberg                            $100.00
   Alex And Kelly Jane       Rosenblatt                           $100.00
   Carrie                    Rosenblatt                           $127.50
   Erin                      Rosenblatt                            $80.00
   Jonathan                  Rosenblatt                           $100.00
   Darci                     Rosenblum                            $100.00
   Jacob                     Rosenbluth                            $75.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Nance                     Rosencranz                        $100.00
   Gabrielle                 Rosenfeld                         $150.00
   Katie                     Rosenfeld                          $50.00
   Katie                     Rosenfeld                         $200.00
   Lauren                    Rosenfeld                          $50.00
   Margaret                  Rosenfeld                         $500.00
   Lorne                     Rosenfield                         $85.00
   David                     Rosenheim                          $50.00
   Betsy                     Rosenthal                          $80.00
   Kimberly                  Rosenthal                          $40.00
   Lisa                      Rosenthal                         $300.00
   Shannon                   Rosenthal                         $100.00
   Madeleen                  Rosetti                           $100.00
   Shelley                   Rosinsky                           $50.00
   Cris                      Roskelley                          $50.00
   Julia                     Rosof                              $30.00
   Arnold                    Rosoff                             $50.00
   Brittany                  Ross                               $80.00
   Colleen                   Ross                              $100.00
   Javay                     Ross                              $125.00
   Kathryn                   Ross                               $22.50
   Kimberley                 Ross                               $50.00
   Maya                      Ross                              $150.00
   Melissa                   Ross                               $50.00
   Paul                      Ross                              $100.00
   Robert                    Rossetti                          $100.00
   Clarissa                  Rossi                              $50.00
   Jaime                     Rossi                              $50.00
   Marilyn                   Rossiter                           $25.00
   Robert                    Rossney                            $50.00
   Beth                      Rostan                            $200.00
   Mike                      Roszak                            $100.00
   Caroline                  Roth                              $100.00
   Idelle                    Roth                               $50.00
   Jason                     Roth                               $30.00
   Kathleen                  Roth                              $100.00
   Melissa                   Roth                               $50.00
   Sarah                     Roth                               $50.00
   Stephanie                 Roth                              $100.00
   Jaclyn                    Rothchild                          $85.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Melanie                   Rothenberg                           $100.00
   Ann                       Rothery                               $75.00
   Amanda                    Rothlisberger                         $85.00
   Arlyss                    Rothman                               $80.00
   Rachel                    Rothman                               $30.00
   Katherine                 Rothschild                            $50.00
   Margaret                  Rothschild                           $100.00
   Bree                      Rotter                                $50.00
   Kimberly                  Rotticci                              $50.00
   Luanne                    Rotticci                              $50.00
   Mary                      Rotticci                             $100.00
   Michelle                  Rotzin                               $100.00
   Amy                       Rouas                                 $50.00
   Dominique                 Rougeau                              $100.00
   Linda                     Rough                                $200.00
   Cathy                     Rouhani                              $100.00
   Valerie                   Rouleau                              $100.00
   Leslie                    Roulias                               $50.00
   Leslie                    Roulias                              $100.00
   Christine                 Roumbanis                             $40.00
   Jaye                      Roundtree                            $100.00
   Robyn                     Rourick                              $125.00
   Denise                    Rouse                                $100.00
   James                     Rouse                                 $50.00
   Laurie                    Routhier                             $100.00
   Kristen                   Roux                                 $170.00
   Paria                     Rowand                               $100.00
   Kate                      Rowbotham                             $50.00
   Kate                      Rowbotham                             $50.00
   Kate                      Rowbotham                             $50.00
   Kate                      Rowbotham                             $50.00
   Brad                      Rowe                                 $100.00
   Scott                     Rowitz                                $20.00
   Allison                   Rowland                               $80.00
   Russell                   Rowlee                                $75.00
   Laurie                    Rowley                               $100.00
   Armi                      Roxas                                 $50.00
   Allison                   Roy                                   $50.00
   Chhanda                   Roy                                   $60.00
   Gerry                     Roy                                   $35.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Monika                    Roy                               $120.00
   Martha                    Royall                            $100.00
   Chloe                     Royer                              $50.00
   Becca                     Rozell                             $50.00
   Colleen                   Rozillis                          $250.00
   Julia                     Rozovsky                          $100.00
   Alicia                    Rozum                              $50.00
   Dave                      Rozzi                              $40.00
   Jennifer                  Ruane                             $100.00
   Angelica                  Ruano                             $250.00
   Jaclyn                    Rubbo                              $20.00
   Kristine                  Rubenis                            $50.00
   Michael                   Rubenstein                         $50.00
   Peggy                     Rubenstein                         $50.00
   Constance                 Rubiano                            $70.00
   Jana                      Rubin                             $100.00
   Toby                      Rubin                             $100.00
   Aya                       Rubio                              $40.00
   Marcia                    Rubnestein                        $100.00
   Marcia                    Rubnestein                        $250.00
   Sarah                     Ruby                              $100.00
   Mary                      Ruch-Brown                        $250.00
   Robin                     Rudikoff                           $40.00
   Robin                     Rudikoff                          $100.00
   Robin                     Rudikoff                          $100.00
   David                     Rudman                            $100.00
   Kimberly                  Rudolph                           $100.00
   Scott                     Rudolph                            $50.00
   Lori                      Rudoni                             $50.00
   Lori                      Rudoni                             $50.00
   Jennifer                  Rudy                               $50.00
   Jennifer                  Rudy                               $50.00
   Debbie                    Ruelas                             $50.00
   Debbie                    Ruelas                            $100.00
   Nick                      Rufca                              $42.50
   Steph                     Ruffridge                         $100.00
   Paula                     Ruggiero                           $50.00
   Monica                    Ruiseco                            $50.00
   Claudia                   Ruiz                               $50.00
   Lynda                     Ruiz                              $100.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Rebecca                   Ruiz                                   $34.00
   Emily                     Rummo                                 $100.00
   Emily                     Rummo                                 $200.00
   Shannan                   Runner                                 $50.00
   Susan                     Runyan                                $100.00
   Elizabeth                 Russakoff                              $40.00
   David                     Russell                               $100.00
   Gillian                   Russell                                $50.00
   Kersten                   Russell                               $100.00
   Mai                       Russell                                $80.00
   Marcia                    Russell                                $50.00
   Marika                    Russell                               $100.00
   Richard                   Russell                                $50.00
   Robyn                     Russell                                $85.00
   Sarah                     Russell                                $75.00
   Arnie                     Russell-Snyder                         $40.00
   Arnie                     Russell-Snyder                         $48.00
   Alicia                    Russi                                  $80.00
   Alicia                    Russi                                  $80.00
   Alicia                    Russi                                  $80.00
   Jodie                     Russi                                  $40.00
   Jodie                     Russi                                  $85.00
   Angie                     Russo                                 $100.00
   Angie                     Russo                                 $100.00
   Arusso31                  Russo                                 $100.00
   Jennifer                  Russo                                  $50.00
   Alison                    Rustagi                                $50.00
   Norene                    Rusteen                                $50.00
   Norene                    Rusteen                                $80.00
   Norene                    Rusteen                               $100.00
   David                     Rustum                                 $40.00
   David                     Rustum                                 $40.00
   Sara                      Rutchena                              $100.00
   Sarah                     Ruttan                                 $50.00
   Jim                       Rutter                                $150.00
   Dianne                    Ruyffelaere                            $80.00
   Maria                     Ryabokon                              $250.00
   Emily                     Ryan                                   $50.00
   Gemma                     Ryan                                   $40.00
   Jacqueline                Ryan                                   $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Julie                     Ryan                               $100.00
   Katherine                 Ryan                                $80.00
   Katie                     Ryan                               $100.00
   Laura                     Ryan                               $150.00
   Liz                       Ryan                                $50.00
   Sheila                    Ryan                               $500.00
   Cara                      Ryan Lemire                        $100.00
   Lily                      Rybarczyk                           $40.00
   Katie                     Rygg                               $100.00
   Kristin                   Ryker                               $50.00
   Angelique                 Rypinski                            $50.00
   Susan                     Ryu                                $150.00
   K                         S                                   $50.00
   Jeannette                 Saal                               $100.00
   Annamarie                 Saarinen                           $150.00
   Kathryn                   Sabadosh                            $50.00
   Joe                       Sabelhaus                           $75.00
   Ma Nelliza                Sablay                             $100.00
   Shelby                    Sabol                               $75.00
   Shelby                    Sabol                              $100.00
   Zak                       Sabry                              $100.00
   Matt                      Sack                               $100.00
   Aida                      Sadikovic                          $100.00
   Aida                      Sadikovic                          $160.00
   Nicole                    Sadler                             $250.00
   Cody                      Saenz                               $40.00
   Randi                     Saffian                             $60.00
   Kathleen                  Safford                            $100.00
   Shelly                    Sage                                $36.00
   Aaron                     Sagray                              $50.00
   Emily                     Sah                                 $50.00
   Jaya                      Sah                                 $25.00
   Dana                      Sahae                              $100.00
   Lisa                      Sahliyeh                           $200.00
   Loretta                   Sahoo                              $150.00
   Lisa                      Saibene                            $100.00
   Rachel                    Saidman                            $100.00
   Janice                    Saiki                               $50.00
   Barbara                   Saito                              $100.00
   Kanako                    Saito                               $60.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Lindsay                   Saito                              $80.00
   Leslie                    Saito-Liu                         $100.00
   Debbie                    Sakai                              $50.00
   Joanne                    Sakai                             $100.00
   Denise                    Sakaki                            $100.00
   Cari                      Sakashita                         $120.00
   Marin                     Sakhri                            $100.00
   Margine                   Sako                               $25.00
   Jocelin                   Saks                               $85.00
   Alex                      Salazar                           $500.00
   Andrea                    Salcedo                            $52.00
   Christine                 Saleebey                           $40.00
   Loretta                   Salemme                            $50.00
   Aaron                     Sales                              $42.50
   Margaret                  Salfen                             $80.00
   Cristina                  Salhuana                          $100.00
   Natasha                   Salins                             $60.00
   Amelia                    Salis                              $50.00
   Amelia                    Salis                              $50.00
   Katrina                   Salisbury                          $30.00
   Tatiana                   Salisbury                          $60.00
   Janet                     Salk                               $50.00
   Allison                   Sall                              $100.00
   Frances                   Salle                              $50.00
   Erin                      Sallee                             $30.00
   Melanie                   Salman                            $100.00
   Molly                     Salmon                            $100.00
   Eric                      Salsa                              $80.00
   Coleen                    Salsbery                           $40.00
   Coleen                    Salsbery                           $85.00
   Stecia                    Saltzman                           $50.00
   Lauren                    Salvo                              $50.00
   Eric                      Salz                              $100.00
   Gloria                    Samaniego                          $50.00
   Sylvia                    Samantha                           $30.00
   Kim                       Samek                              $50.00
   Caitlin                   Samenfeld-Specht                   $75.00
   Shivani                   Sami                              $100.00
   Michelle                  Sampior                            $50.00
   Maria                     Sample                             $25.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Jennifer                 Samstag                           $50.00
   Camille                  Samuels                          $100.00
   Camille                  Samuels                          $200.00
   Tavae                    Samuelu                           $50.00
   Christine                San Juan                         $100.00
   Angie                    Sanaee                           $160.00
   Jennifer                 Sanborn                           $50.00
   Amy                      Sanchez                          $100.00
   Christine                Sanchez                           $50.00
   Haley                    Sanchez                           $50.00
   Kenny                    Sanchez                           $75.00
   Lynn                     Sanchez                           $50.00
   Lynn                     Sanchez                          $100.00
   Melissa                  Sanchez                           $50.00
   Nancy                    Sanchez                           $50.00
   Nancy                    Sanchez                           $85.00
   Nancy                    Sanchez                           $85.00
   Jen                      Sandberg                          $40.00
   Edward                   Sanders                          $250.00
   Jenny                    Sanders                           $50.00
   Jenny                    Sanders                           $50.00
   Jenny                    Sanders                           $50.00
   Jenny                    Sanders                           $50.00
   Jenny                    Sanders                           $50.00
   Jenny                    Sanders                           $50.00
   Jenny                    Sanders                           $50.00
   Julie                    Sanders                           $50.00
   Kelly                    Sanders                           $25.00
   Kelly                    Sanders                           $42.50
   Kevin                    Sanders                          $100.00
   Lauren                   Sanders                          $100.00
   Lorraine                 Sanders                           $35.00
   Noah                     Sanders                          $100.00
   Noah                     Sanders                          $200.00
   Noah                     Sanders                          $200.00
   Noah                     Sanders                          $200.00
   Noah                     Sanders                          $250.00
   Noah                     Sanders                          $250.00
   Noah                     Sanders                          $300.00
   Noah                     Sanders                          $300.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Peg                       Sanders                            $50.00
   Dana                      Sanderson                         $100.00
   Dana                      Sanderson                         $100.00
   Dana                      Sanderson                         $100.00
   Kelly                     Sanderson                          $50.00
   Kent                      Sanderson                         $100.00
   Erik                      Sandie                            $100.00
   Jessica                   Sandie                             $45.00
   Meredith                  Sandland                           $85.00
   Gretchen                  Sandler                           $100.00
   Gretchen                  Sandler                           $150.00
   Chanie                    Sandman                            $30.00
   Chanie                    Sandman                            $40.00
   Megan                     Sands                              $42.50
   Penny                     Sands                              $50.00
   Penny                     Sands                              $50.00
   Penny                     Sands                             $100.00
   Renee                     Sandvig                           $250.00
   Edward                    Sanford                            $50.00
   Kimberly                  Sanford                           $300.00
   Todd                      Sanford                           $100.00
   Abbie                     Sanger                             $50.00
   Alison                    Sanger                             $50.00
   Alison                    Sanger                            $100.00
   Priya                     Sanger                            $100.00
   Chaira                    Sani                               $50.00
   Paige                     Sanks                              $60.00
   Mary                      Santamaria                        $250.00
   Maria                     Santangelo                        $100.00
   Brenda                    Santiago                           $50.00
   Selene                    Santiago                          $127.50
   Salvatore                 Santino                            $50.00
   Lindsay                   Santos                            $250.00
   Paula                     Santos                             $50.00
   Sarita                    Santos                            $100.00
   Sheila                    Santos                            $100.00
   Stephanie                 Santos                            $525.00
   Marco                     Sanvido                           $100.00
   Iwona                     Sapienza                          $100.00
   Stephanie                 Saporita                          $200.00


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   Buyer First Name         Buyer Last Name           Gift Card Amount
   Carla                    Saporta Cheng                        $100.00
   Scott                    Sappenfield                           $50.00
   Scott                    Sappenfield                          $100.00
   Emily                    Sappington                           $160.00
   Jessica                  Saretsky                              $40.00
   Jan                      Sargent                              $150.00
   Karie                    Sargent                              $100.00
   Kelly                    Sargent                              $100.00
   Lauren                   Sargent                               $50.00
   Tara                     Sargon                                $42.50
   Tara                     Sargon                                $50.00
   Nicole                   Sarich                                $50.00
   Nicole                   Sarich                                $50.00
   Shahana                  Sarkar                               $150.00
   Sevag                    Sarkissian                            $21.25
   Genna                    Sarnak                               $160.00
   Lauren                   Sarnak                                $50.00
   David                    Sarrafzadeh                          $100.00
   Drew                     Sarratore                             $50.00
   Jennifer                 Sarre                                 $25.00
   Jennifer                 Sarre                                 $42.50
   Arlene                   Sarte                                $100.00
   Ruth                     Sasaki                                $50.00
   Shawna                   Sasaki                                $21.25
   Edna                     Sasis                                $100.00
   Shawn                    Sasse                                $100.00
   Susan                    Sasson                                $75.00
   Anchit                   Sathi                                $800.00
   Sara                     Satinsky                              $50.00
   Aya                      Sato                                  $30.00
   Kevin                    Sato                                  $50.00
   Kevin                    Sato                                 $100.00
   Caroline                 Satoda                                $50.00
   Caroline                 Satoda                                $50.00
   Caroline                 Satoda                               $100.00
   Dana                     Satterwhite                           $50.00
   Dana                     Satterwhite                           $52.00
   Bertha                   Saucedo                              $150.00
   Bianca                   Saul                                 $250.00
   Amy                      Saunders                             $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Jenan                     Saunders                           $75.00
   Jenan                     Saunders                          $100.00
   Melinda                   Saunders                           $50.00
   Leslie                    Sauter                            $100.00
   Leslie                    Sauter                            $100.00
   Ali                       Savage                             $50.00
   April                     Savage                             $25.00
   Dia                       Savage                            $100.00
   Diane                     Savage                            $100.00
   Diane                     Savage                            $350.00
   Lauren                    Savage                             $42.50
   Matt                      Savage                            $125.00
   Timothy                   Savage                            $150.00
   Liza                      Savary                             $20.00
   Lesley                    Savelli                           $425.00
   Elizabeth                 Saveri                            $100.00
   Janice                    Savidge                            $50.00
   Erica                     Savig                              $50.00
   Sara                      Savino                             $30.00
   Asumi                     Sawa                               $50.00
   Edward                    Sawma                             $100.00
   Stephanie                 Saxe                               $10.00
   Arlene                    Saxonhouse                        $250.00
   Joel                      Saxton                            $100.00
   Ruth                      Saxton                             $42.50
   Katherine                 Sayers                             $50.00
   Amy                       Scala                              $80.00
   Cassie                    Scalettar                          $50.00
   Judith                    Scalley                           $200.00
   Judith                    Scalley                           $200.00
   Jd                        Scalzo                             $40.00
   Amy                       Scarff                             $80.00
   Donna                     Scarlett                          $100.00
   Heather                   Sch√∂Ll                            $30.00
   Caitlin                   Schaake                            $50.00
   Caya                      Schaan                             $50.00
   Angela                    Schach                            $200.00
   Angela                    Schach                            $200.00
   Linda                     Schacht                            $85.00
   Lori                      Schack                            $100.00


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   Buyer First Name         Buyer Last Name          Gift Card Amount
   Dan                      Schade                              $250.00
   Anne                     Schaefer                             $50.00
   Barbara                  Schaefer                             $50.00
   Carlee                   Schafer                             $100.00
   Todd                     Schafer                             $200.00
   Amy                      Schaffer                            $100.00
   Eleanor                  Schaffer                             $50.00
   Emily                    Schaffer                            $150.00
   Jim                      Schaffer                             $30.00
   Sharen                   Schaffner                           $200.00
   Jo Ann                   Schapiro                            $100.00
   Tiffany                  Scharschmidt                         $50.00
   Joy                      Scharton                            $100.00
   Liza                     Schattenkerk                         $40.00
   Gabriella                Schecter                             $60.00
   Melissa                  Scheeline                            $40.00
   Melissa                  Scheeline                            $50.00
   Melissa                  Scheeline                            $80.00
   Amy                      Scheer                               $75.00
   David                    Scheick                             $135.00
   Sara                     Scheid                              $200.00
   Andrea                   Scheinker                            $40.00
   Stephanie                Scheinkman                           $50.00
   Gail                     Scheirbeck                           $20.00
   Adrienne                 Schell                               $30.00
   Amy                      Schemper                             $50.00
   Deborah                  Schenk                              $100.00
   Libby                    Schenkel                             $25.00
   Vicki                    Scherwin                            $100.00
   Janet                    Scheuer                              $75.00
   Kenneth                  Scheve                               $50.00
   Jason                    Schiciano                           $100.00
   Laura                    Schierberl                           $75.00
   Mike                     Schierberl                           $50.00
   Naomi                    Schiesel                             $50.00
   Jeremy                   Schifeling                          $100.00
   Julia                    Schiff                               $50.00
   Julie                    Schiffman                            $50.00
   Elizabeth                Schildge                            $500.00
   Jodi                     Schilf                               $50.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Tanya                    Schillage                          $150.00
   Brooke                   Schiller                           $100.00
   Carol                    Schiller                           $100.00
   Karen                    Schiller                           $100.00
   Stefanie                 Schiller                           $100.00
   Kay                      Schilling                           $50.00
   Craig                    Schiltz                            $250.00
   Jeanne                   Schimpf                             $50.00
   Jeanne                   Schimpf                            $100.00
   Jeanne                   Schimpf                            $100.00
   Elizabeth                Schindler                           $50.00
   Kevin                    Schindler                           $50.00
   Eric                     Schinfeld                           $50.00
   Demetria                 Schioldager                        $100.00
   Ali                      Schlameus                           $42.50
   Ali                      Schlameus                           $50.00
   Ali                      Schlameus                           $50.00
   Aaron                    Schlesinger                        $100.00
   Lauren                   Schlezinger                        $200.00
   Susan                    Schlichting                        $250.00
   Suellen                  Schlievert                         $225.00
   Laurene                  Schlosser                           $50.00
   Laurene                  Schlosser                           $50.00
   Laurene                  Schlosser                           $75.00
   Margaret                 Schlosser                           $50.00
   Erin                     Schlough                            $75.00
   Lindsey                  Schmal                             $100.00
   Jeremy                   Schmalzle                           $75.00
   Stephanie                Schmautz                           $100.00
   Stephanie                Schmautz                           $100.00
   Brooke                   Schmelzle                           $40.00
   Cora                     Schmid                             $100.00
   Liz                      Schmid                             $125.00
   Mary                     Schmidek                           $200.00
   Mary                     Schmidlin                          $250.00
   Jamie                    Schmidt                             $50.00
   Kristine                 Schmidt                             $25.00
   Margaret                 Schmidt                            $100.00
   Mary                     Schmidt                            $240.00
   Noreen                   Schmidt                             $50.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Tracey                    Schmidt                             $200.00
   Danielle                  Schmidter                           $100.00
   Susan                     Schmitt                              $50.00
   Joan                      Schmitz                             $250.00
   Maxwell                   Schmitz                             $100.00
   Lindsay                   Schmulen                             $50.00
   Allison                   Schneider                           $100.00
   Bryan                     Schneider                           $100.00
   Carine                    Schneider                            $50.00
   Karen                     Schneider                            $42.50
   Michael                   Schneider                            $10.00
   Michael                   Schneider                           $100.00
   Michael                   Schneider                           $200.00
   Michelle                  Schneider                           $100.00
   Shannon                   Schneider                           $400.00
   Christine                 Schnetz                              $75.00
   Shannon                   Schnuck                             $115.00
   Ruchi                     Schock                               $50.00
   Marisa                    Schoen                               $50.00
   Andrea                    Schoenfelder                        $100.00
   Kim                       Schoenstadt                          $40.00
   Meg                       Schoettler                          $100.00
   Amy                       Schoew                               $50.00
   Susan                     Schofield                            $40.00
   James                     Scholten                             $50.00
   Kate                      Scholten                            $100.00
   Celeste                   Scholz                               $85.00
   Anne                      Schonauer                            $50.00
   Susan                     Schonberg                            $42.50
   Susan                     Schonberg                            $85.00
   Felicia                   Schonborn                           $500.00
   Marieka                   Schotland                            $50.00
   Katie                     Schramm                             $100.00
   Allie                     Schratz                             $100.00
   Bridget                   Schreiber                           $200.00
   Claire                    Schreiber                           $100.00
   Stacey                    Schriefer                           $150.00
   Kate                      Schrinsky                            $50.00
   Cass                      Schrock                             $100.00
   Eden                      Schroeder                           $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Amanda                    Schrof                              $35.00
   Eric                      Schrumpf                           $200.00
   Casey                     Schuchart                           $50.00
   Anne                      Schuckman                          $100.00
   Christine                 Schudel                            $100.00
   Jodie                     Schulenberg                        $100.00
   Kimberly                  Schulist                            $50.00
   Daniel                    Schulman                           $100.00
   Stephanie                 Schulman                            $50.00
   Dave                      Schulte                            $100.00
   Brent                     Schultheis                          $42.50
   Carol                     Schultz                             $40.00
   Kristin                   Schultz                             $50.00
   Amy                       Schulz                             $100.00
   Judith And Peter          Schumacher                         $100.00
   Tim                       Schuman                             $50.00
   Vivian                    Schumann                           $100.00
   Sarah                     Schuppisser                         $40.00
   Sarah                     Schuppisser                         $50.00
   Jessica                   Schust                              $25.00
   Cameron                   Schutz                             $100.00
   Jordan                    Schutz                             $200.00
   Sara                      Schwab                             $300.00
   Yocely                    Schwab                             $250.00
   Yocely                    Schwab                             $250.00
   Yocely                    Schwab                             $250.00
   Yocely                    Schwab                             $250.00
   Ross                      Schwaber                           $350.00
   Irena                     Schwaderer                          $50.00
   Beth                      Schwanke                           $100.00
   Alix                      Schwartz                           $130.00
   Amy                       Schwartz                            $50.00
   Dara                      Schwartz                           $100.00
   Helene                    Schwartz                            $40.00
   Jaclyn                    Schwartz                           $250.00
   Jami                      Schwartz                            $40.00
   Jessica                   Schwartz                            $50.00
   Kelly                     Schwartz                            $50.00
   Madalyn                   Schwartz                           $100.00
   Michael                   Schwartz                           $100.00


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   Buyer First Name         Buyer Last Name             Gift Card Amount
   Pamela                   Schwartz                                $50.00
   Rachel                   Schwartz                                $50.00
   Rick                     Schwartz                               $600.00
   Robert                   Schwartz                               $100.00
   Robin                    Schwartz                               $100.00
   Andrea                   Schwartz Boone                          $75.00
   Brooke                   Schwartz Miller                        $100.00
   Matthew                  Schwartzman Stubbs                      $50.00
   Megan                    Schwarzman                              $75.00
   Michelle                 Schweibel                               $50.00
   Linda                    Schweidel                               $50.00
   Kristen                  Schweitzer                             $100.00
   Crystal                  Schwierzke                              $50.00
   Christina                Schwind                                 $50.00
   Shirley                  Schwoerer                               $40.00
   Bonnie                   Scialanga                              $250.00
   Meghan                   Scimeca                                 $50.00
   Lisa                     Scirpo                                  $50.00
   Suzanne                  Scoggins                                $40.00
   Blair                    Scott                                   $50.00
   Chance                   Scott                                   $50.00
   Erica                    Scott                                   $30.00
   Jen                      Scott                                  $100.00
   Kimberly                 Scott                                   $50.00
   Kirsten                  Scott                                   $50.00
   Nancy                    Scott                                   $30.00
   Nancy                    Scott                                   $50.00
   Stephani                 Scott                                   $50.00
   Stephanie                Scott                                  $100.00
   Ted                      Scott                                   $50.00
   Ted                      Scott                                   $50.00
   Trevor                   Scott                                  $100.00
   Regan                    Scovic                                 $175.00
   Kimberly                 Scruggs                                 $75.00
   Andrew                   Scudder                                $100.00
   Lisa                     Scully                                  $20.00
   Annie                    Scurlock                                $40.00
   Usf                      Sds                                    $100.00
   Sara                     Seabourne                               $40.00
   Vannessa                 Seacrest                               $100.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Erin                      Sears                                 $100.00
   Susan                     Sears                                 $100.00
   Ken                       Seastrand                             $250.00
   Ken                       Seastrand                             $250.00
   Lynda                     Seaver                                 $50.00
   Joseph                    Sebra                                  $85.00
   Cindie                    Sedik                                 $250.00
   Jennifer                  Seeba                                  $96.00
   Sierra                    Seeborn                               $100.00
   Sabine                    Seeling                                $50.00
   Theresa                   Seem                                  $150.00
   Tom                       Seery                                  $22.50
   Stephen                   Seewer                                 $25.00
   James                     Seff                                  $150.00
   Sandra                    Seffens                                $50.00
   Marlene                   Segelstein                             $30.00
   Katie                     Segev                                  $25.00
   Katie                     Segev                                 $100.00
   Elizabeth                 Segrave-Daly'S                        $250.00
   Lisa                      Segraves                               $50.00
   Raman                     Sehgal                                 $50.00
   Catherine                 Seidel                                 $50.00
   Chris                     Seidensticker                          $50.00
   Karen                     Seidman                                $50.00
   Elyse                     Seigle                                $100.00
   Lisa                      Seigle                                $200.00
   Joel                      Seigneur                              $100.00
   Elizabeth                 Seirmarco                             $100.00
   Michelle                  Seitz                                  $50.00
   Leyla                     Seka                                  $100.00
   Leyla                     Seka                                  $600.00
   Aj                        Selfe                                 $100.00
   Stuart                    Selig                                  $80.00
   Michael                   Sellai                                $200.00
   Barry                     Sellar                                 $50.00
   Barry                     Sellar                                 $50.00
   Sara                      Sellar                                $100.00
   Stacey                    Sellar                                 $50.00
   Stacey                    Sellar                                $100.00
   Stacey                    Sellar                                $100.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Donna                    Sellars                            $100.00
   Jeanne                   Sellers                            $100.00
   Donald                   Sellon                             $200.00
   Elizabeth                Selna                               $65.00
   Celine                   Semaan                             $100.00
   Marci                    Semain                             $100.00
   Joe                      Sembrat                            $100.00
   Ilana                    Semel                               $50.00
   Judi                     Semmerling                         $100.00
   Elise                    Semonian                           $100.00
   Elise                    Semonian                           $100.00
   Shelby                   Senaga                              $20.00
   Marni                    Seneker                             $80.00
   Nana                     Seo                                 $30.00
   Michelle                 September                           $50.00
   Catheria                 Serapio                            $500.00
   Mary B                   Seratt                             $150.00
   Mary B                   Seratt                             $250.00
   Matina                   Seremetis                          $250.00
   Manon                    Sergeant                            $50.00
   Dahlia                   Seroussi                            $50.00
   Jez                      Serrano                             $50.00
   Ric                      Serrano                            $150.00
   Ric                      Serrano                            $200.00
   Ric                      Serrano                            $250.00
   Caroline                 Serrato                             $42.50
   Caroline                 Serrato                             $42.50
   Shannon                  Service                            $250.00
   Pattabi                  Seshadri                           $100.00
   Aaron                    Sessions                           $100.00
   Priya                    Seth                               $150.00
   Simran                   Sethi                               $80.00
   Simran                   Sethi                               $80.00
   Alvernia                 Setiadi                             $50.00
   Abby                     Seto                                $30.00
   Cece                     Seto                                $42.50
   Stephanie                Seto                                $50.00
   The                      Settlemiers                        $100.00
   Tarja                    Settles                             $90.00
   Marcellus                Seva                               $100.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Laura                     Severino                          $250.00
   Jude                      Sevigny                           $250.00
   Jude                      Sevigny                           $250.00
   Katie                     Seward                            $200.00
   Elizabeth                 Sexton                             $50.00
   Margaret                  Sexton                             $50.00
   Naureen                   Seyal                             $100.00
   Amanda                    Seyfried                           $50.00
   Curtis                    Seymour                            $50.00
   Ketty                     Seymour                            $50.00
   Sfbryan                   Sfbryan                            $50.00
   Sfbryan                   Sfbryan                            $50.00
   Danny                     Shachar                           $100.00
   Brian                     Shaffer                           $106.25
   Erika                     Shaffer                           $250.00
   Jared                     Shaffer                           $125.00
   Anna                      Shah                              $100.00
   Komal                     Shah                               $50.00
   M                         Shah                               $25.00
   Minesh                    Shah                               $40.00
   Mona                      Shah                               $50.00
   Mona                      Shah                               $60.00
   Payal                     Shah                               $50.00
   Pooja                     Shah                              $100.00
   Rachna                    Shah                               $40.00
   Rachna                    Shah                               $40.00
   Reema                     Shah                              $100.00
   Roheela                   Shah                               $50.00
   Tejal                     Shah                               $50.00
   Annette                   Shaieb                            $100.00
   Jonathan                  Sham                               $50.00
   Jonathan                  Sham                               $75.00
   Monica                    Sham                               $25.00
   Kieran                    Shamash                            $50.00
   Kieran                    Shamash                            $75.00
   Jessica                   Shambora                           $50.00
   Chitra (Mahika)           Shamdasani                         $50.00
   Nathalie                  Shami                              $50.00
   Hila                      Shamir                            $250.00
   Nathan                    Shamosh                            $80.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Jeena                    Shamsen                           $50.00
   Miya                     Shanahan                          $40.00
   Abhiram                  Shandilya                        $100.00
   Randy                    Shandobil                         $85.00
   Randy                    Shandobil                        $250.00
   Maryann                  Shangkuan                         $30.00
   Caitlin                  Shanley                          $200.00
   Jane                     Shannahan                        $100.00
   Melissa                  Shannon                           $50.00
   Adam                     Shapiro                           $50.00
   Allyson                  Shapiro                          $250.00
   Benjamin                 Shapiro                          $150.00
   Danielle                 Shapiro                           $25.00
   Ellen                    Shapiro                          $300.00
   Jeff                     Shapiro                          $200.00
   Josie                    Shapiro                           $50.00
   Lauren                   Shapiro                           $50.00
   Lauren                   Shapiro                           $50.00
   Liuba                    Shapiro                          $100.00
   Michelle                 Shapiro                           $50.00
   Susan                    Shapiro                           $50.00
   Sydney                   Shapiro                          $100.00
   Ruth                     Shaps                            $100.00
   Ilana                    Sharaun                          $100.00
   Nicole                   Sharett                           $75.00
   Karima                   Sharif                           $100.00
   Karima                   Sharif                           $100.00
   Dawn                     Sharifan                          $50.00
   Gauri                    Sharma                           $100.00
   Mala                     Sharma                           $200.00
   Vrunda                   Sharma                           $100.00
   Christopher              Sharp                             $50.00
   Debbie                   Sharp                             $25.00
   Margaret                 Sharp                             $50.00
   Melissa                  Sharp                            $250.00
   Shannon                  Sharp                            $250.00
   Stacy                    Sharp                             $25.00
   Jennifer                 Sharpe                           $150.00
   Jennifer                 Sharpe                           $200.00
   Jill                     Sharpe                            $50.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Jill                     Sharpe                              $50.00
   Melinda                  Sharretts                          $100.00
   Genevieve                Sharrow                             $50.00
   Elizabeth                Sharum                              $50.00
   Avantika                 Shastri                            $100.00
   Amy                      Shat                               $100.00
   Anastasia                Shattner                           $150.00
   Lauren                   Shaughnessy                         $25.00
   Lauren                   Shaughnessy                         $50.00
   Shira                    Shavit                              $50.00
   Andrew                   Shaw                                $50.00
   Brian                    Shaw                                $50.00
   Brian                    Shaw                                $50.00
   Don                      Shaw                               $100.00
   Hannah                   Shaw                                $30.00
   Joy                      Shaw                               $100.00
   Melissa                  Shaw                                $50.00
   Sam                      Shaw                               $200.00
   Sarah                    Shaw                                $50.00
   Susie                    Shaw                                $90.00
   Kelly                    Shea                                $50.00
   Patrick                  Shea                               $100.00
   Shannon                  Shearn                              $50.00
   Glee                     Sheehan                             $35.00
   Glee                     Sheehan                             $50.00
   Kathleen                 Sheehan                            $150.00
   Maureen                  Sheehan                            $150.00
   Gina                     Sheh                                $50.00
   Omar                     Sheikh                             $100.00
   Kate                     Sheiner                             $50.00
   Jules                    Shell                              $150.00
   Rachel                   Shelowitz                          $100.00
   Emma Rose                Shelton                             $25.00
   Teresa                   Shelton                             $50.00
   Kira                     Shemano                            $100.00
   Neda                     Shemluck                            $50.00
   Ben                      Shemuel                            $100.00
   Alisa                    Shen                                $77.00
   William                  Shen                               $250.00
   Amy                      Sheng                               $30.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Amy                       Sheng                             $30.00
   Amy                       Sheng                             $30.00
   Jennifer                  Shenker                           $30.00
   Jennifer                  Shenker                           $50.00
   Celia                     Shepard                          $250.00
   Katherine                 Shepard                           $50.00
   Margaret                  Shepard                           $50.00
   Margaret                  Shepard                          $250.00
   Sonja                     Shepard                           $35.00
   Suki                      Shepard                          $100.00
   Julie                     Shepherd                          $50.00
   Kathleen                  Shepherd                          $50.00
   Eliza                     Sheppard                          $50.00
   Alison                    Sher                             $150.00
   Ilana                     Sherer                            $30.00
   Jordan                    Sherer                           $100.00
   Teri                      Sherer                           $100.00
   Jacqueline                Sheridan                         $120.00
   Andrew                    Sherman                           $50.00
   Cindy                     Sherman                           $50.00
   Cyndi                     Sherman                          $150.00
   Judy                      Sherman                           $50.00
   Rachel                    Sherman                           $42.50
   Tracy                     Sherman                          $100.00
   Valerie                   Sherman                           $50.00
   Jessica                   Sherry                           $100.00
   Bonnie                    Shershow                          $90.00
   Jennifer                  Sherwood                          $50.00
   Henna                     Sherzai                          $250.00
   Sejal                     Sheth                            $100.00
   Elissa                    Shewmaker                         $50.00
   Eli                       Sheynin                          $100.00
   Jean                      Shia                              $50.00
   Brandon                   Shiau                             $42.50
   Tara                      Shibuya                          $150.00
   Joann                     Shie-Chen                         $50.00
   Marcy                     Shieh                             $25.00
   Cathy                     Shields                           $40.00
   Cathy                     Shields                           $50.00
   Cathy                     Shields                           $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Issabella                 Shields                             $42.50
   Stacey                    Shields                            $100.00
   Shawna                    Shigemura                          $100.00
   Reid                      Shigeno                            $250.00
   Angela                    Shih                               $120.00
   Judy                      Shih                               $250.00
   Margaret                  Shih                                $50.00
   Kelly                     Shimabukuro                        $100.00
   Dayla                     Shimada                             $50.00
   Stanley                   Shimamoto                           $25.00
   Juli                      Shimodaira                          $50.00
   Janet                     Shimotake                           $75.00
   Caroline                  Shimozato                          $100.00
   Deborah                   Shin                                $50.00
   Jennifer                  Shin                                $50.00
   Victoria                  Shinbrot                           $100.00
   Maureen                   Shindle                             $50.00
   Ellen                     Shing                              $100.00
   Marice                    Shiozaki                            $50.00
   Marice                    Shiozaki                            $50.00
   Teresa                    Shipp                               $50.00
   Kelly                     Shira                               $50.00
   Hiroko                    Shirakata                           $50.00
   Martha                    Shirk                              $150.00
   Susan                     Shirk                               $50.00
   Shelly                    Shirley                             $50.00
   Naoko                     Shirota                             $50.00
   Sadaf                     Shirvani                            $25.00
   Teresa                    Shkvarchu                           $40.00
   Tiffany                   Shlain                             $100.00
   Leah                      Shoaff                              $80.00
   Lorna                     Shobar                             $100.00
   Lorna                     Shobar                             $250.00
   Andrea                    Shockling                           $42.50
   Carolyn                   Shoemaker                          $450.00
   Harrison                  Shoff                               $50.00
   Tammy                     Shojinaga                           $50.00
   Bronwyn                   Shone                               $75.00
   Kevan                     Shorey                             $100.00
   Billie                    Short                               $50.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Kimberly                  Short                                $100.00
   Rebekah                   Shoup                                $250.00
   Cynthia                   Shrauner                             $100.00
   Cynthia                   Shrauner                             $150.00
   Vinit                     Shrawagi                              $25.00
   Cheryl                    Shrewsbury                            $40.00
   Stacey                    Shrout                               $350.00
   Judy                      Shu                                  $200.00
   David                     Shuff                                $150.00
   Jill                      Shugart                              $100.00
   Sherie                    Shughart                              $50.00
   Tara                      Shuler                               $145.00
   Amanda                    Shuleski                              $50.00
   Elan                      Shultz                               $150.00
   Thomas                    Shultz                               $250.00
   Sallie                    Shultzabarger                         $50.00
   Jennifer                  Shumway                              $200.00
   Alexis                    Shuster                               $50.00
   Samara                    Shuter                                $85.00
   Tessa                     Shvedoff                              $30.00
   Melissa                   Shymko                               $100.00
   Barry                     Sia                                   $40.00
   Jennifer                  Siciliano                             $50.00
   Jennifer                  Siciliano                            $100.00
   Jennifer                  Siciliano                            $150.00
   Jennifer                  Siciliano                            $250.00
   Jennifer                  Siciliano                            $250.00
   Jennifer                  Siciliano                            $250.00
   Jennifer                  Siciliano                            $250.00
   Abigail                   Sider                                $200.00
   Markus                    Siebeneick                            $50.00
   Solly                     Sieberts                              $50.00
   Sandy                     Siegal                               $250.00
   Chad                      Siegel                               $100.00
   Jacob                     Siegel                               $100.00
   Jennifer                  Siegel                                $80.00
   Marc                      Siegel                               $100.00
   Sara                      Siegrist                              $50.00
   Philip                    Sieh                                 $100.00
   Victoria                  Siekierski                           $175.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Holly                    Sienkiewicz                        $100.00
   Kate                     Sienkiewicz                         $50.00
   Ryan                     Sigman                              $85.00
   Shoshana                 Signer                              $35.00
   Megan                    Sigouin                            $100.00
   Joe                      Sigretto                           $250.00
   Kimberly                 Sikora                              $50.00
   Sang                     Silano                             $100.00
   Tracy                    Silberfein                          $25.00
   Yaacov                   Silberman                          $100.00
   Paola                    Silca                              $150.00
   Sarah                    Siler                               $50.00
   Jan                      Sillery                             $50.00
   Leigh                    Silliphant                          $85.00
   Cara                     Silva                               $50.00
   Catherine                Silva                              $100.00
   Diana                    Silva                               $50.00
   Kristen                  Silva                              $500.00
   Lilly                    Silva                               $50.00
   Michelle                 Silva                              $100.00
   Rebecca                  Silva                              $127.50
   Tom                      Silva                               $10.00
   Johanna                  Silva Waki                          $25.00
   Alyssa                   Silver                             $100.00
   Beth                     Silver                              $75.00
   Denise                   Silver                             $100.00
   Kira                     Silverman                           $75.00
   Kira                     Silverman                           $75.00
   Melissa                  Silverman                           $50.00
   Meredith                 Silverman                           $50.00
   Michela                  Silvia                              $50.00
   Jane                     Simmons                             $50.00
   John                     Simmons                             $52.00
   Patrick                  Simmons                            $100.00
   Shana                    Simmons                             $25.50
   Shana                    Simmons                             $50.00
   Karen                    Simms                              $320.00
   Caitlin                  Simon                              $100.00
   Jamie                    Simon                               $50.00
   Jeunee                   Simon                               $40.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Jeunee                    Simon                                 $40.00
   Jeunee                    Simon                                 $40.00
   Jeunee                    Simon                                 $50.00
   Sabriena                  Simon                                $100.00
   Stephen                   Simon                                $250.00
   Susan                     Simon                                $250.00
   Rebecca                   Simons                               $100.00
   Sheryl                    Simons                                $50.00
   Joselyne                  Simonsen                             $102.00
   Laura                     Simonson                              $30.00
   Anne                      Simpson                              $150.00
   Elizabeth M               Simpson                              $100.00
   Justine                   Simpson                               $50.00
   Justine                   Simpson                              $150.00
   Mackenzie                 Simpson                               $60.00
   Tracy                     Simpson                               $50.00
   Felicity                  Simpson Morfey                        $50.00
   Dena                      Sims                                  $50.00
   Joanna                    Sims                                  $25.00
   Jim                       Sinai                                $100.00
   Jim                       Sinai                                $125.00
   Karin                     Sinavsky                              $45.00
   Corrine                   Sinclair                              $40.00
   Elizabeth                 Sinclair                             $100.00
   Jen                       Sinconis                             $200.00
   Donald                    Singer                                $50.00
   Olya                      Singer                                $34.00
   Paige                     Singer                                $50.00
   Stephanie                 Singer                                $25.00
   Daljit                    Singh                                 $50.00
   Daljit                    Singh                                 $50.00
   Diviapreet                Singh                                $100.00
   Katie                     Singh                                 $50.00
   Katie                     Singh                                $100.00
   Maneesh                   Singh                                 $50.00
   Maneesh                   Singh                                $100.00
   Maya                      Singh                                 $42.50
   Navneet                   Singh                                $100.00
   Sarika                    Singh                                $250.00
   Ann                       Singhakowinta                         $80.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Alison                    Singley                               $50.00
   Doreen                    Sinha                                 $25.00
   Nisha                     Sinha Brown                           $50.00
   Nerija                    Sinkevi-Titus                        $100.00
   Fran                      Sinow                                 $40.00
   Ene                       Siong                                 $50.00
   Michael                   Sioson                                $42.50
   Karen                     Siou                                  $75.00
   Celeste                   Sipherd                              $100.00
   Judith                    Sipiora                               $80.00
   Debbie                    Sipperly                             $100.00
   Elizabeth                 Sippl                                $100.00
   Anne                      Siri                                  $50.00
   Anne                      Siri                                  $50.00
   Erin                      Sirianni                              $50.00
   Gabrielle                 Sirkin                                $50.00
   Richard                   Sirow                                 $50.00
   Kathryn                   Siry                                 $300.00
   Melissa                   Sisk                                  $90.00
   Katrina                   Sitter                                $50.00
   Katrina                   Sitter                                $70.00
   Katrina                   Sitter                                $70.00
   Natacha                   Sittner                              $100.00
   Ashlee                    Sivret                                $50.00
   Aerin                     Sizelove                              $50.00
   Britta                    Sjogren                               $80.00
   Julie                     Skaff                                 $50.00
   Julie                     Skaff                                 $50.00
   Kenneth                   Skale                                $100.00
   Kathleen                  Skeels                               $150.00
   Alexandria                Skeete                                $50.00
   Patricia                  Skeoch                               $100.00
   Kristen                   Sketchley                             $40.00
   Rosie                     Skidmore                              $85.00
   Tina                      Skidmore                              $50.00
   Mychal                    Skipper                              $100.00
   Meredith                  Skolnick                              $50.00
   Nathan                    Skon                                  $40.00
   Patrick                   Skovran                               $30.00
   Patrick                   Skovran                               $30.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Patrick                  Skovran                           $30.00
   Patrick                  Skovran                           $30.00
   Patrick                  Skovran                           $30.00
   Patrick                  Skovran                           $30.00
   Patrick                  Skovran                           $40.00
   Patrick                  Skovran                           $40.00
   Heidi                    Slater                            $50.00
   Nancy                    Slater                            $50.00
   Carolyn                  Slavik                            $60.00
   Jesse                    Sleamaker                         $25.00
   Maryann                  Slee                              $50.00
   Floyd                    Sloat                            $100.00
   Karen                    Slon                              $30.00
   Trina                    Slowik                           $175.00
   Caroline                 Small                            $100.00
   Courtney                 Small                            $100.00
   Marina                   Small                             $50.00
   Stefanie                 Small                             $25.00
   Kathleen                 Smart                             $50.00
   Roland                   Smart                            $800.00
   Steve                    Smedes                           $250.00
   Greg                     Smelzer                           $25.00
   Jen                      Smidt                            $150.00
   A.K.                     Smith                             $50.00
   Adrian                   Smith                             $50.00
   Alexander                Smith                             $50.00
   Amy                      Smith                            $100.00
   Andrew                   Smith                            $100.00
   Ashley                   Smith                             $50.00
   Bette                    Smith                             $50.00
   Brian                    Smith                            $100.00
   Brittany                 Smith                             $85.00
   Brittany                 Smith                            $170.00
   Candace                  Smith                             $39.95
   Carol                    Smith                             $50.00
   Carol                    Smith                             $75.00
   Catie                    Smith                             $50.00
   Charles                  Smith                             $50.00
   Chelsea                  Smith                             $50.00
   Christine                Smith                             $30.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Cory                      Smith                            $100.00
   Courtney                  Smith                            $200.00
   Cristin                   Smith                             $40.00
   Cristin                   Smith                             $50.00
   Cristin                   Smith                             $50.00
   Daniel                    Smith                            $100.00
   Daryl                     Smith                             $42.50
   Diane                     Smith                             $50.00
   Emily                     Smith                             $50.00
   Emily                     Smith                             $63.75
   Emily                     Smith                            $100.00
   Emily                     Smith                            $250.00
   Emily                     Smith                            $250.00
   Erin                      Smith                            $100.00
   Fallyn                    Smith                             $30.00
   Fallyn                    Smith                             $36.00
   Gianna                    Smith                             $25.00
   Gianna                    Smith                             $40.00
   Gianna                    Smith                            $200.00
   Ianthia                   Smith                             $50.00
   Janna                     Smith                            $100.00
   Jeanine                   Smith                             $50.00
   Jenni                     Smith                            $250.00
   Jenni                     Smith                            $250.00
   Jessica                   Smith                             $50.00
   Jessica                   Smith                             $50.00
   Jessica                   Smith                            $160.00
   Johnny                    Smith                             $50.00
   Judy                      Smith                            $100.00
   Julia                     Smith                             $42.50
   June                      Smith                             $50.00
   Katherine                 Smith                            $500.00
   Kathryn                   Smith                             $50.00
   Kelli                     Smith                             $50.00
   Kimberly                  Smith                            $150.00
   Krista                    Smith                            $125.00
   Laura                     Smith                             $49.50
   Laura                     Smith                             $50.00
   Lisa                      Smith                            $150.00
   Lucia                     Smith                            $100.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Mary                      Smith                                 $50.00
   Matt                      Smith                                 $50.00
   Matthew                   Smith                                 $85.00
   Melissa                   Smith                                 $50.00
   Melissa                   Smith                                 $50.00
   Michelle                  Smith                                $100.00
   Natalie                   Smith                                $100.00
   Nicholas                  Smith                                $200.00
   Nicole                    Smith                                $150.00
   Nicole                    Smith                                $500.00
   Pamela                    Smith                                 $63.75
   Rachel                    Smith                                $250.00
   Rhonda                    Smith                                 $30.00
   Ruth                      Smith                                $100.00
   Sabrina                   Smith                                 $80.00
   Sarah                     Smith                                 $21.25
   Sharon                    Smith                                 $80.00
   Shirwin                   Smith                                 $25.00
   Shirwin                   Smith                                 $25.00
   Suzanne                   Smith                                $150.00
   Tara                      Smith                                $150.00
   Valentine                 Smith                                $150.00
   Victoria                  Smith                                 $85.00
   Vivian                    Smith                                $100.00
   Yulanda                   Smith                                $100.00
   Kristi                    Smith Knutson                         $50.00
   Chris                     Smithco                              $212.50
   Jill                      Smokler                               $80.00
   Lauren                    Smolenski                            $150.00
   Andrea                    Smolin                                $50.00
   Andrea                    Smolin                                $50.00
   Andrea                    Smolin                                $50.00
   Andrea                    Smolin                               $100.00
   Talia                     Smolkin                               $50.00
   Marymichael               Smrdeli                              $100.00
   Alyssa                    Smrekar                              $100.00
   Lisa                      Smusz                                $100.00
   Stephanie                 Smutka                               $100.00
   Stephanie                 Smutka                               $100.00
   Geralynn                  Smyth                                 $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Courtney                  Smythe                              $50.00
   Edward                    Snedeker                            $50.00
   Amy                       Snider                             $150.00
   Dawna                     Snider                              $50.00
   Lindsey                   Snider                              $50.00
   Wendy                     Snider                             $150.00
   Amy                       Snow                                $50.00
   Ryan                      Snow                                $50.00
   Barbara                   Snyder                              $50.00
   Carla                     Snyder                             $100.00
   Dana                      Snyder                              $50.00
   Margery                   Snyder                             $100.00
   Paula                     Snyder                              $50.00
   Peggy                     Snyder                             $250.00
   Stephanie                 Snyder                             $100.00
   Steven                    Snyder                              $50.00
   Liz                       Soares                              $25.00
   Miki                      Sode                               $100.00
   Ryo                       Sode                                $50.00
   Ashley                    Sodipo                              $60.00
   Justin                    Soffer                              $50.00
   Philip                    Soffer                              $75.00
   Julie                     Sohn                               $200.00
   Aeleah                    Soine                               $60.00
   Julie                     Sokley                             $100.00
   Diana                     Sokolove                           $425.00
   Alberto                   Solana Ruiz                        $125.00
   Katie                     Soldo                               $50.00
   Julian                    Soler                               $50.00
   Susan                     Solinsky                            $60.00
   Cindy                     Solomon                            $100.00
   Elliot                    Solomon                            $500.00
   Hagu                      Solomon                             $50.00
   Michelle                  Solomon                            $100.00
   Sheba                     Solomon                            $100.00
   Talia                     Solomon                             $50.00
   Morgan                    Soloway                             $40.00
   Jennifer                  Soltis                             $150.00
   Sarah                     Solum                               $75.00
   Nicole                    Soluri                             $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Deborah                   Solvason                            $50.00
   Sudheer                   Someshwara                         $100.00
   Sudheer                   Someshwara                         $100.00
   Shonna                    Sommer                              $50.00
   Julia                     Sommerfeld                          $50.00
   Anne                      Sommerfield                        $100.00
   Nita                      Sommers                             $50.00
   Chong                     Son                                 $50.00
   Yunnie                    Son                                $250.00
   Karen                     Sonefeldt                          $100.00
   Angela                    Song                                $50.00
   Elisa                     Song                                $50.00
   Jaeik                     Song                                $50.00
   Jaeik                     Song                               $100.00
   Jennifer                  Song                                $48.00
   Miri                      Song                               $500.00
   Cindy                     Sonnenberg                         $100.00
   Stella                    Soo Hoo                             $75.00
   George                    Soohoo                              $50.00
   Kevin                     Soohoo                              $85.00
   S                         Soon                                $50.00
   Joe                       Soong                              $100.00
   Robin                     Soran                              $100.00
   Willa                     Sorbie                              $40.00
   Cecilia                   Sorci                              $100.00
   Laurie                    Sorensen                           $250.00
   Peter                     Sorensen                            $25.00
   Shelley                   Sorenson                            $25.50
   Theresa                   Sorey                               $60.00
   Brian                     Sosa                               $250.00
   Ginger                    Sotelo                             $100.00
   Barbara                   Sotiriadis                         $120.00
   Cancion                   Sotorosen                           $50.00
   Cancion                   Sotorosen                          $100.00
   Gena                      Souchek                            $250.00
   Sandy                     Soundara                            $50.00
   Michael                   Soung                               $50.00
   Kevin                     Souza                               $50.00
   Savannah                  Souza                               $50.00
   Savannah                  Souza                               $50.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Alison                    Sowers                              $250.00
   Christine                 Spagnuolo                           $200.00
   Ian                       Spalter                             $100.00
   Eliza                     Spang                                $75.00
   Kristen                   Spangler                             $30.00
   Sarah                     Spanko                               $50.00
   Lauren                    Sparandara                           $50.00
   Brenda                    Sparks                               $50.00
   Leah                      Sparks                               $50.00
   Maggie                    Spatcher-Leblanc                    $250.00
   Jeff                      Spaulding                            $85.00
   Jeff                      Spaulding                           $100.00
   Jeffrey                   Spaulding                            $50.00
   Melanie                   Spear                                $50.00
   Barney                    Speckman                             $40.00
   Samantha                  Spector                              $50.00
   Melissa                   Spediacci                            $50.00
   Melissa                   Spediacci                            $50.00
   Patricia                  Speier                               $45.00
   Lexie                     Speirs                              $250.00
   Dan                       Spelkin                             $108.00
   Spencer                   Spellman                             $40.00
   Corre                     Spence                              $250.00
   Barbara                   Spencer                             $100.00
   Sara                      Spencer                              $50.00
   Sara                      Spencer                             $350.00
   Loreal                    Spenuzza                             $40.00
   Loreal                    Spenuzza                             $50.00
   Kristen                   Sperling                             $50.00
   Sarah                     Sperry                              $100.00
   Kristin                   Spiak                               $100.00
   Danielle                  Spice                               $100.00
   Damian                    Spieckerman                         $250.00
   Hallie                    Spies                                $35.00
   Will                      Spiess                               $60.00
   Betty                     Spieth-Croll                        $100.00
   Michelle                  Spigner                              $50.00
   Lucy                      Spiller                              $50.00
   Doris                     Spitzig                              $50.00
   Doris                     Spitzig                              $80.00


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   Buyer First Name         Buyer Last Name           Gift Card Amount
   Rachel                   Spivey                               $300.00
   Will                     Spjut                                 $85.00
   Alex                     Spoerry                               $50.00
   Peggy                    Spool                                $100.00
   Boone                    Spooner                               $50.00
   Boone                    Spooner                               $50.00
   Lori                     Spooner                               $40.00
   Richard                  Spott                                 $80.00
   Suzy                     Spradlin                             $100.00
   Amy                      Sprague                               $60.00
   Katja                    Spreckelmeyer                        $200.00
   Ilsa                     Spreiter                              $50.00
   Aaron                    Spring                               $100.00
   Christine                Springer                              $50.00
   Casey                    Sproul                               $100.00
   Karen                    Spuller                               $50.00
   Suzann                   Spurgeon                              $80.00
   Suzann                   Spurgeon                              $85.00
   Suzann                   Spurgeon                              $85.00
   Peter                    Spurging                             $100.00
   Carol                    Squires                               $50.00
   Susan                    Squires                               $50.00
   Shona                    Sramala                              $100.00
   Naveen                   Sridhar                               $42.50
   Jayashri                 Srikantiah                            $50.00
   Gayathri                 Srinivasan                            $25.00
   Gayathri                 Srinivasan                            $50.00
   Lisa                     Srithongsuk                          $200.00
   Shiwani                  Srivastava                            $60.00
   Shiwani                  Srivastava                           $100.00
   Leilani                  St Anna                               $63.75
   Barbara                  St John                               $68.00
   Cornelia                 St John                               $50.00
   Hannah                   Staats                                $85.00
   Hannah                   Staats                               $100.00
   Hannah                   Staats                               $200.00
   Hazel                    Stabinsky                            $200.00
   Julia                    Stack                                $100.00
   Kristan                  Stadelman                             $50.00
   Kristan                  Stadelman                             $50.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Kristan                   Stadelman                            $50.00
   Kristan                   Stadelman                            $50.00
   Kristan                   Stadelman                            $50.00
   Kristan                   Stadelman                            $50.00
   Andrew                    Stadlen                              $30.00
   Andrew                    Stadlen                             $100.00
   James                     Stagg                                $40.00
   Katherine                 Stahl                               $100.00
   Katherine                 Stahl                               $250.00
   Jessica                   Staley                              $150.00
   Leland                    Stallings                            $50.00
   Barbara                   Stallins                             $42.50
   Laura                     Stallone                             $50.00
   Patrick                   Stallone                             $50.00
   William                   Stalls                              $100.00
   Rollins                   Stallworth                          $100.00
   Christian                 Stamates                             $50.00
   Christian                 Stamates                             $75.00
   Helen                     Stambler Neuberger                  $500.00
   Emily                     Stamm                                $50.00
   Ruth                      Stamos                               $50.00
   Chris                     Stampe                               $50.00
   Amy                       Standen                              $40.00
   Corina                    Standiford                           $50.00
   Claire                    Standley                             $50.00
   Jessica                   Stanfill                            $160.00
   Julie                     Stanford                             $50.00
   Megan                     Stanford                            $100.00
   Simes                     Stanford University                  $50.00
   Margaret                  Stangl                               $50.00
   Margaret                  Stangl                               $85.00
   Melissa                   Stanis                               $50.00
   Melissa                   Stanis                              $160.00
   Shayna                    Stanis                               $50.00
   Teresa                    Stanislaw                           $100.00
   Allein                    Stanley                             $100.00
   Connie                    Stanley                              $50.00
   Kineret                   Stanley                              $50.00
   Kineret                   Stanley                             $250.00
   Megan                     Stanley                              $75.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Susan                     Stanley                                $50.00
   Claire                    Stanly                                 $21.25
   Claire                    Stanly                                 $25.50
   Anne                      Stanton                               $100.00
   Caitlin                   Stanton                                $40.00
   Jessica                   Stanton                                $30.00
   Lisa                      Stanton                                $40.00
   Bahara                    Stapelberg                             $25.00
   Christopher               Stapenhorst                           $100.00
   Valerie                   Stapleton                              $50.00
   Teagan                    Stapp                                  $25.00
   Faye                      Star                                   $35.00
   Angela                    Stark                                 $100.00
   Corky                     Stark                                 $100.00
   Frances                   Stark                                  $50.00
   Jerilynn                  Stark                                 $100.00
   Susan                     Stark                                  $75.00
   Sandra                    Starkey                                $50.00
   Sandra                    Starkey                                $50.00
   Jared                     Starman                                $40.00
   Brea                      Starmer                               $125.00
   Susan                     Starnes                               $100.00
   Lissa                     Starnes Zelaya                        $100.00
   Anne Marie                Starr                                 $212.50
   Nanci                     Starr                                  $40.00
   Barbara                   Starrett                               $50.00
   Diana                     Stauffer                               $50.00
   Diana                     Stauffer                               $75.00
   Diana                     Stauffer                               $75.00
   Michelle                  Stav                                   $50.00
   Matthew                   Staves                                 $50.00
   Christine                 Stearn                                $100.00
   Maria                     Stearns                               $100.00
   Michael                   Stearns                                $50.00
   Heather                   Steckel                               $100.00
   Shawn                     Steel                                 $500.00
   Ben                       Steele                                $250.00
   Colt                      Steele                                 $25.50
   Denise                    Steele                                $100.00
   Helen                     Steele                                 $30.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Jennifer                   Steele                             $100.00
   Jill                       Steele                              $50.00
   Mary                       Steele                             $100.00
   Michelle                   Steele                             $200.00
   Nancy                      Steele                             $100.00
   Phasinee                   Steele                              $50.00
   Sally                      Steel-Ginis                         $50.00
   Heather                    Steen                              $150.00
   Kristin                    Steenberg                          $212.50
   Jody                       Steere                              $50.00
   Jillian                    Stefanki                            $45.00
   Jillian                    Stefanki                           $110.00
   Carl                       Steffens                            $75.00
   Peggy                      Steffens                            $50.00
   Mary Beth                  Steiger                            $100.00
   Michelle                   Steigerwald                        $125.00
   Ben                        Stein                               $50.00
   Dorothy                    Stein                               $50.00
   Dorothy                    Stein                              $250.00
   Judith                     Stein                               $50.00
   Karen                      Stein                               $50.00
   Kirsten                    Stein                              $100.00
   Marla                      Stein                               $21.25
   Marla                      Stein                               $25.00
   Rachel                     Stein                               $50.00
   Catherine                  Steinbach                          $100.00
   Catherine                  Steinbach                          $100.00
   Ann                        Steinberg                           $50.00
   Le Anne                    Steinberg                           $40.00
   Le Anne                    Steinberg                           $50.00
   Le Anne                    Steinberg                           $50.00
   Susan                      Steinberg                          $500.00
   Margaret                   Steiner                             $42.50
   Maryanne                   Steiner                            $250.00
   Virginia                   Steiner                             $42.50
   Virginia                   Steiner                            $100.00
   Pat                        Steinfeld                           $42.50
   Tanya                      Steinhofer                         $100.00
   Katie                      Steinle                            $100.00
   Marie                      Steinle                             $50.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Joanne                    Stekler                                $50.00
   Dorothy                   Stell                                 $100.00
   Jennifer                  Stelly                                $250.00
   Nadalina                  Stemberga                             $100.00
   Lisa                      Stemmler                               $30.00
   Yvonne                    Stender                               $240.00
   Nicolette                 Stenger                               $100.00
   Nathalie                  Stenmark                              $250.00
   Isabel                    Stenzel Byrnes                         $85.00
   Megan                     Stepanek                               $25.50
   Amanda                    Stephano                               $10.00
   Cara                      Stephen                               $225.00
   Brad And Anne             Stephens                              $100.00
   Chad                      Stephens                               $50.00
   Regan                     Stephens                               $50.00
   Aisha                     Stephenson                            $150.00
   Nicole                    Stephenson                             $75.00
   Nicole                    Stephenson                            $100.00
   Melanie                   Sterling                               $50.00
   Sean                      Sterling                               $50.00
   Karleen                   Stern                                 $280.00
   Rebecca                   Stern                                  $75.00
   Barbara                   Sternfeld                             $200.00
   Samantha                  Stettler                              $250.00
   Megan                     Steven                                $125.00
   Adina                     Stevens                               $150.00
   Jennifer                  Stevens                                $40.00
   Katrina                   Stevens                               $100.00
   Keely                     Stevens                                $75.00
   Monika                    Stevens                                $85.00
   Monika                    Stevens                               $100.00
   Monika                    Stevens                               $100.00
   Monika                    Stevens                               $205.00
   Joan                      Stevenson                             $250.00
   Kerri                     Stevenson                              $64.00
   Shawneece                 Stevenson                              $50.00
   Stacy                     Stevenson                             $100.00
   Lajohnny                  Steward                               $200.00
   Allie                     Stewart                                $50.00
   Amie                      Stewart                               $100.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Amy                       Stewart                           $40.00
   Amy                       Stewart                           $50.00
   Amy                       Stewart                          $100.00
   Bonnie                    Stewart                          $100.00
   Craig                     Stewart                           $30.00
   Craig                     Stewart                           $40.00
   Jane                      Stewart                          $250.00
   Janel                     Stewart                           $50.00
   Lynn                      Stewart                           $42.50
   Lynn                      Stewart                          $100.00
   Lynn                      Stewart                          $100.00
   Pamela                    Stewart                           $50.00
   Tess                      Stewart                           $50.00
   Angela                    Steyer                            $75.00
   Lynn                      Stiers                            $85.00
   Margot                    Stiles                            $50.00
   Mara                      Still                            $100.00
   Judy                      Stimac                            $50.00
   Peter                     Stine                             $35.00
   Ashley                    Stineback                         $42.50
   Heather                   Stinnett                          $80.00
   Liz                       Stinson                           $50.00
   Loretta                   Stipa                            $100.00
   Larisa                    Stiris                           $100.00
   Talitha                   Stivers                          $100.00
   Amy                       Stober                            $60.00
   Keith                     Stobie                            $80.00
   Keith                     Stobie                            $80.00
   Peggy                     Stock                             $50.00
   Kate                      Stockert                          $50.00
   Susan                     Stockman                         $100.00
   Naomi                     Stocks                           $100.00
   Virginia                  Stockton                         $100.00
   Jennifer                  Stockwell                         $50.00
   Emily                     Stoffel                           $50.00
   Emily                     Stoffel                           $60.00
   Amanda                    Stoffer                           $85.00
   Tracy                     Stohle                           $150.00
   Julie                     Stoll                            $150.00
   Moana                     Stolz                            $100.00


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   Buyer First Name         Buyer Last Name         Gift Card Amount
   Barbara                  Stone                               $50.00
   Brad                     Stone                               $50.00
   Brandon                  Stone                               $50.00
   Brandon                  Stone                               $75.00
   Carol                    Stone                              $100.00
   Dwayne                   Stone                              $150.00
   Heidi                    Stone                              $127.50
   Jessica                  Stone                               $50.00
   Marisa                   Stone                               $50.00
   Megan                    Stone                              $340.00
   Melanie                  Stone                              $100.00
   Sara                     Stone                              $100.00
   Jeannie                  Stonebarger                        $100.00
   Kelly                    Stonelake                          $100.00
   Sarah                    Stonerock                           $50.00
   Jeanette                 Stoney                              $25.50
   Jodi                     Stookey                             $50.00
   Jodi                     Stookey                             $50.00
   Jodi                     Stookey                             $50.00
   Jodi                     Stookey                             $50.00
   Jodi                     Stookey                            $100.00
   Jodi                     Stookey                            $100.00
   Anna                     Storesund                           $50.00
   Patrick                  Storme                              $75.00
   Carina                   Storrs                              $50.00
   Matthew                  Story                              $250.00
   Joanna                   Stott                               $60.00
   Kristen                  Stotts                              $75.00
   Kathy                    Stout                              $100.00
   Delaney                  Stoval                              $50.00
   Delaney                  Stoval                             $200.00
   Alice                    Stover                             $100.00
   Charissa                 Stowers                             $50.00
   Gina                     Stowers                            $100.00
   Debbie                   Strachan                            $80.00
   Shay                     Strachan                            $85.00
   Jill                     Stracko                             $42.50
   Kelly                    Straight                            $50.00
   Kelly                    Straight                           $100.00
   Peggy                    Straley                            $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Courtney                  Strand                              $50.00
   Courtney                  Strand                              $50.00
   Dermot                    Stratton                           $100.00
   Katie                     Stratton                            $50.00
   Marlo                     Straub                              $60.00
   Jessica                   Straubel                            $50.00
   Peter                     Straus                             $100.00
   Elissa                    Strauss                             $42.50
   Elissa                    Strauss                            $100.00
   Robin                     Strawbridge                        $250.00
   Philip                    Strazzula                          $100.00
   Molly                     Street                             $100.00
   Anne                      Strehlow                           $100.00
   Gabriel                   Stricker                           $100.00
   Michael                   Stricklan                          $100.00
   Rachel                    Strickler                           $50.00
   Andrew                    Strickman                          $120.00
   Julie                     Strider                             $50.00
   Julie                     Strider                            $100.00
   Trish                     Striglos                            $50.00
   Samuel                    Strike                              $50.00
   Stacey                    Stringer                            $50.00
   Gill                      Strode                             $100.00
   Wyndam                    Strodtbeck                         $100.00
   Jane                      Strohm                             $150.00
   Anne-Marie                Strohman                            $65.00
   Colleen                   Stromatt                            $25.00
   Megan                     Stromberg                           $50.00
   Stephanie                 Stroub                              $50.00
   Cynthia                   Stroum                              $50.00
   Cynthia                   Stroum                             $100.00
   Mike                      Strouss                            $100.00
   Audrey                    Strout                             $100.00
   Audrey                    Strout                             $100.00
   Helen                     Struck                              $50.00
   Chris                     Strunk                              $75.00
   Erin                      Stuart                              $30.00
   Sarah                     Stuart                             $175.00
   Sidney                    Stuart                             $100.00
   Julieta                   Stubrin                            $100.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Jamie                     Stubson                              $100.00
   Ann                       Studdert                              $40.00
   Michael                   Studebaker                           $250.00
   Shane                     Studebaker                            $50.00
   Tippett                   Studio                               $100.00
   Tippett                   Studio                               $100.00
   Tippett                   Studio                               $100.00
   Andrew                    Stulbarg                             $100.00
   Tamara                    Sturak                               $100.00
   Martha                    Stutzman                              $40.00
   Martha                    Stutzman                              $80.00
   Maria                     Su                                    $40.00
   Maria                     Su                                    $40.00
   Maria                     Su                                    $50.00
   Maria                     Su                                    $50.00
   Maria                     Su                                   $100.00
   Maria                     Su                                   $100.00
   Zhendi                    Su                                   $200.00
   Zhendi                    Su                                   $212.50
   Zhendi                    Su                                   $250.00
   Jona                      Suarez                                $50.00
   Jorge                     Suarez-Rivaya                        $100.00
   Jennifer                  Subasic-Marks                         $30.00
   Nisha                     Subramanian                           $50.00
   Julian                    Suchman                               $50.00
   Julian                    Suchman                               $50.00
   Julian                    Suchman                               $50.00
   Jeannie                   Sucre                                 $25.00
   Jeannie                   Sucre                                 $50.00
   Brittany                  Sudduth                              $100.00
   Brittany                  Sudduth                              $250.00
   Joann                     Suen                                  $50.00
   Joann                     Suen                                 $100.00
   Catherine                 Suer                                  $75.00
   Sherri                    Sugarman                             $100.00
   Sherri                    Sugarman                             $100.00
   Trisha                    Sugita                                $40.00
   Trisha                    Sugita                                $50.00
   Trisha                    Sugita                               $100.00
   Trisha                    Sugita                               $250.00


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   Buyer First Name           Buyer Last Name       Gift Card Amount
   Evan                       Suhr                             $212.50
   Wiliam                     Sui                               $50.00
   Adam                       Sullins                          $100.00
   Alyssa                     Sullivan                          $50.00
   Anne                       Sullivan                         $100.00
   Barbara                    Sullivan                          $40.00
   Cara                       Sullivan                          $25.50
   Charles                    Sullivan                         $100.00
   Elizabeth                  Sullivan                          $75.00
   Erin                       Sullivan                         $100.00
   Jennifer                   Sullivan                          $40.00
   Jennifer                   Sullivan                          $40.00
   Jill                       Sullivan                         $100.00
   K.D.                       Sullivan                          $80.00
   Kaitlin                    Sullivan                          $50.00
   Karen                      Sullivan                          $50.00
   Lori                       Sullivan                          $30.00
   Matt                       Sullivan                         $100.00
   Megan                      Sullivan                          $75.00
   Michele                    Sullivan                          $21.25
   Nancy                      Sullivan                          $30.00
   Nancy                      Sullivan                         $100.00
   Patricia                   Sullivan                          $50.00
   Ryan                       Sullivan                         $100.00
   Sue Anne                   Sullivan                          $50.00
   Theresa                    Sullivan                          $67.50
   Ranjani                    Sulur                             $25.00
   Elizabeth                  Summers                           $80.00
   Erin                       Summers                           $50.00
   Erin                       Summers                           $50.00
   Suzanne                    Summers                           $80.00
   Anna                       Sun                               $50.00
   Car                        Sun                               $42.50
   Emily                      Sun                               $25.00
   Emmet                      Sun                               $75.00
   Jennifer                   Sun                               $50.00
   Joanna                     Sun                               $50.00
   Leslie                     Sun                              $100.00
   Leslie                     Sun                              $250.00
   Linda                      Sun                               $42.50


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   Buyer First Name         Buyer Last Name          Gift Card Amount
   Linda                    Sun                                 $100.00
   Tamin                    Sun                                 $100.00
   Fanny                    Sund√©N                              $50.00
   Naru                     Sundar                               $50.00
   Elizabeth                Sunde                                $50.00
   Elizabeth                Sunde                               $200.00
   Julia                    Sunderland                           $75.00
   John                     Sundy                                $75.00
   Alexandra                Sung                                 $25.00
   Alexandra                Sung                                 $50.00
   Nicholas                 Sunseri                             $150.00
   Lyndsey                  Sunseri-Romine                       $50.00
   Julie                    Suppelsa                             $25.00
   Julie                    Suppelsa                             $50.00
   George                   Suppes Iii                          $100.00
   Joel                     Susal                                $50.00
   Susan                    Susan                                $40.00
   Patrick                  Susemihl                            $250.00
   Christy                  Susman                              $100.00
   Liz                      Susman                               $50.00
   Georgia                  Sussman                              $50.00
   Patricia                 Sussman                             $125.00
   Cory                     Sutherland                           $42.50
   Lauren                   Sutkin                               $50.00
   Loulie H                 Sutro                                $50.00
   Charlie                  Sutton                               $50.00
   Charlie                  Sutton                               $50.00
   Charlie                  Sutton                              $100.00
   Dave                     Sutton                               $50.00
   Holly                    Sutton                              $150.00
   Jessica                  Sutton                               $30.00
   Susan                    Suval                                $50.00
   Tasawalee                Suvunnachuen                        $100.00
   Gerad                    Suyderhoud                           $50.00
   Cynthia                  Suzuki                               $85.00
   Jan                      Suzuki                               $20.00
   Jessi                    Suzuki                               $50.00
   Ryan                     Svedin                              $100.00
   Kristina                 Svensson                             $42.50
   Mariano                  Svidler                              $25.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Lori                      Svikel                             $50.00
   Sarah                     Swain                              $50.00
   Sarah                     Swain                             $100.00
   Elizabeth                 Swander                           $320.00
   Julie                     Swander                            $30.00
   Linda                     Swanger                           $175.00
   Aimee                     Swanson                           $200.00
   Paige                     Swanson                           $100.00
   Sally                     Swanson                            $50.00
   Katie                     Swarthout                          $25.00
   Kevin                     Swartz                             $50.00
   Lindsay                   Swartz                             $50.00
   Paul                      Swartz                             $50.00
   Patricia                  Swatek                             $50.00
   Heather                   Swedeen                            $50.00
   Jessica                   Sweeney                           $150.00
   Lily                      Sweeney                           $150.00
   Lori                      Sweeney                           $100.00
   Lori                      Sweeney                           $250.00
   Elizabeth                 Sweeny                             $75.00
   Marianne                  Sweeny                            $100.00
   Carrie                    Sweetser                           $50.00
   Anne                      Swenson                           $100.00
   Lauren                    Swenson                           $250.00
   Sandy                     Swenson                            $40.00
   Viktoria                  Swerbensky                         $50.00
   Amber                     Swift                              $50.00
   Mary                      Swift                              $34.00
   Melany                    Swift                              $50.00
   Mary T                    Swing                              $50.00
   Sandy                     Swing                             $100.00
   Emma                      Swingle                            $50.00
   Margaret                  Swink                              $50.00
   Denice                    Swinnen                            $50.00
   Carla                     Swiryn                             $50.00
   Joanna                    Swiski                             $25.00
   Joanna                    Swiski                             $30.00
   Christopher               Swita                              $50.00
   Amanda                    Switzer                           $100.00
   Bayless                   Sword                             $100.00


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   Buyer First Name           Buyer Last Name         Gift Card Amount
   Nancy                      Swynenburg                         $100.00
   Jayme                      Sy                                 $250.00
   Sarah                      Syed                                $80.00
   Rebecca                    Sykes                              $100.00
   Jessica                    Sylvester                           $50.00
   Matt                       Sylvester                          $100.00
   Weston                     Sylvester                           $85.00
   Kirk                       Syme                                $75.00
   Ron                        Synn                               $250.00
   Zuzana                     Syrovy                             $100.00
   Vassili                    Syskine                             $50.00
   Vassili                    Syskine                            $100.00
   Sonia                      Szajnberg                           $80.00
   Sonia                      Szajnberg                          $100.00
   Carrie                     Sze                                 $40.00
   Jocelyn                    Sze                                $150.00
   Kristen                    Sze                                 $40.00
   Pauline                    Sze                                 $50.00
   Karen                      Szeto                              $100.00
   Vanessa                    Szeto                              $100.00
   Sara                       Szkola                              $50.00
   Galit                      Szolomowicz                        $100.00
   Erik                       Szyndlar                           $100.00
   Krista                     Szyndlar                            $40.00
   Jessica                    T                                   $50.00
   Kate                       T                                   $42.50
   Robin                      T                                  $100.00
   Kimchi                     T Chen                              $50.00
   Stacy                      Taaffe                             $100.00
   Stacy                      Taaffe                             $150.00
   Desiree                    Tabares                            $100.00
   Jacqueline                 Tabata                             $150.00
   Lillian                    Tabe                                $50.00
   Elisabeth                  Tabinski                            $50.00
   Maricar                    Tabios                              $30.00
   Arianna                    Taboada                             $50.00
   Mike                       Tabolsky                            $25.00
   Rhonda                     Tabor                              $100.00
   Areian                     Tacktook                            $50.00
   Allison                    Tademoto                           $500.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Gena                      Tadych                           $110.00
   Dawn                      Taffler                           $50.00
   Russell                   Taga                             $100.00
   Shannon                   Tague                            $100.00
   Ginger                    Tai                               $35.00
   Ginger                    Tai                               $60.00
   Linda                     Tait                             $200.00
   Chantel                   Taite                             $50.00
   Barbara                   Tajima                           $200.00
   Neil                      Takacs                           $100.00
   Miye                      Takagi                            $50.00
   Andrew                    Takahashi                         $50.00
   Nancy                     Takaichi                         $150.00
   Akane                     Takato                            $50.00
   Robynn                    Takayama                          $40.00
   Robynn                    Takayama                          $40.00
   Kevin                     Takayesu                          $40.00
   Elsie                     Taketa                           $100.00
   Stacy                     Taketa                            $50.00
   Mitzi                     Takeuchi                         $100.00
   Miki                      Takihana                          $40.00
   Miki                      Takihana                          $75.00
   Christine                 Takishita                        $300.00
   Nadine                    Takvorian                        $150.00
   Rita                      Takvorian                         $50.00
   Lauren                    Talamo                           $100.00
   Margarita                 Talavera                         $100.00
   Margarita                 Talavera                         $100.00
   Margarita                 Talavera                         $100.00
   Margarita                 Talavera                         $100.00
   Margarita                 Talavera                         $100.00
   Margarita                 Talavera                         $100.00
   Margarita                 Talavera                         $100.00
   Kathleen                  Talbot                            $50.00
   Kathleen                  Talbot                            $50.00
   Christine                 Talken                            $42.50
   Rachel                    Tallant                           $50.00
   Courtney                  Tallarico                        $320.00
   Calita                    Talley                           $250.00
   Calita                    Talley                           $250.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Jon                       Talomie                           $50.00
   Gargi                     Talukder                         $150.00
   Rohit                     Talwar                           $250.00
   Bonnie                    Tam                               $50.00
   Bonnie                    Tam                               $50.00
   Bonnie                    Tam                               $85.00
   Dorothy                   Tam                               $50.00
   Dorothy                   Tam                               $50.00
   Makie                     Tam                              $100.00
   Nancy                     Tam                               $40.00
   Molly                     Tamariki                         $250.00
   Tina                      Tamer                            $100.00
   Margo                     Tammen                           $250.00
   Mike                      Tampieri                          $50.00
   Mike                      Tampieri                          $50.00
   Jo                        Tams                              $50.00
   Jo                        Tams                              $50.00
   Stefanie                  Tamura                           $100.00
   Stefanie                  Tamura                           $100.00
   Stefanie                  Tamura                           $250.00
   Charlotte                 Tan                               $40.00
   Deborah                   Tan                               $50.00
   Eng                       Tan                              $100.00
   Gloria                    Tan                               $64.00
   Jean                      Tan                              $100.00
   Jean                      Tan                              $100.00
   June                      Tan                              $100.00
   Mary                      Tan                              $100.00
   Mary                      Tan                              $150.00
   Michelle                  Tan                              $150.00
   Yvonne Y.                 Tan                              $127.50
   Carrie                    Tanabe                            $50.00
   Beverly                   Tanaka                            $50.00
   Sandra                    Tanamugsukbovon                  $100.00
   Gay                       Tanap                             $50.00
   Angela                    Tang                             $100.00
   Annemary                  Tang                              $50.00
   Chek Fong                 Tang                             $250.00
   Katy                      Tang                              $50.00
   Maggie                    Tang                              $40.00


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   Buyer First Name         Buyer Last Name           Gift Card Amount
   Matthew                  Tang                                  $50.00
   Maylene                  Tang                                  $30.00
   Melissa                  Tang                                 $250.00
   Shelley                  Tang-Drewniak                        $100.00
   Karen                    Tani                                 $250.00
   Vicki                    Taniguchi                             $90.00
   Rosemarie                Tanlimco                              $40.00
   Johnathan                Tann                                 $250.00
   Nicole                   Tanner                               $100.00
   Sean                     Tanner                               $150.00
   Kristie                  Tappan                                $42.50
   Pat                      Tappan                               $200.00
   Sonja                    Tappan                               $100.00
   Sonja                    Tappan                               $100.00
   Lauren                   Tappana                              $120.00
   Lauren                   Taralli                               $50.00
   Ashley                   Tarantino                             $42.50
   Nicole                   Tarasoff                              $40.00
   Nicole                   Tarasoff                              $42.50
   Annette                  Tardif                               $125.00
   Keith                    Tarkington                           $100.00
   Jason                    Tarn                                 $250.00
   Jennifer                 Tarn                                  $50.00
   Britt                    Tarnowski                             $51.00
   Morgan                   Tarr                                  $50.00
   Holly                    Tarter                                $50.00
   Chelsea                  Tasaka                                $30.00
   Tisha                    Tasaki                               $100.00
   Rachel                   Tasch                                 $50.00
   Ani                      Tascian                               $50.00
   Chloe                    Tashjian                             $250.00
   Kra                      Tassoni                              $150.00
   Anne-Marie               Tasto                                 $85.00
   Matthew                  Tasto                                $100.00
   Ivane                    Tat                                   $50.00
   Ivane                    Tat                                   $50.00
   Joseph                   Tatala                                $85.00
   Eric                     Tate                                  $85.00
   Rebecca                  Tate                                  $50.00
   Terri                    Tate                                  $80.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Joia                      Tatola                                 $30.00
   Adam                      Taub                                   $50.00
   Adam                      Taub                                  $160.00
   Susan                     Tavernetti                             $50.00
   Susan                     Tavernetti                             $50.00
   Rabab                     Tawfik                                 $50.00
   Elizabeth                 Taxin                                 $100.00
   Elizabeth                 Taxin                                 $100.00
   Tony                      Tay                                    $80.00
   Ernestine                 Tayabas-Kim                           $250.00
   Ernestine                 Tayabas-Kim                           $300.00
   Anna                      Taylor                                 $75.00
   Ben                       Taylor                                $100.00
   Bethany                   Taylor                                 $50.00
   Colleen                   Taylor                                $150.00
   Crista                    Taylor                                 $50.00
   David                     Taylor                                $100.00
   David                     Taylor                                $100.00
   Dawn                      Taylor                                 $40.00
   Dawn                      Taylor                                $250.00
   Elizabeth                 Taylor                                 $50.00
   Emily                     Taylor                                $100.00
   Georgia                   Taylor                                $100.00
   Jennifer                  Taylor                                $250.00
   Joe                       Taylor                                $500.00
   John                      Taylor                                 $50.00
   Kate                      Taylor                                $100.00
   Laura                     Taylor                                 $20.00
   Sandy                     Taylor                                 $50.00
   Sasha                     Taylor                                $500.00
   Shayla                    Taylor                                 $50.00
   Sue                       Taylor                                 $50.00
   Sue                       Taylor                                 $50.00
   Lisa                      Taylor Whitley                         $50.00
   Onnik                     Tchulluian                            $100.00
   Kimberly                  Teagarden                              $25.00
   Alison                    Teal                                   $50.00
   Brandless                 Team                                   $50.00
   Naksha And Service Engine Teams                                 $127.50
   Mary                      Teather                                $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Sandra                    Tedder                              $50.00
   Pete                      Tedesco                             $50.00
   Lawrence                  Tedford                             $50.00
   Katie                     Teekell                            $250.00
   Abigail                   Teisch                              $25.00
   Debbie                    Teixeira                            $50.00
   Mary Ann                  Teixeira                            $40.00
   Mary Ann                  Teixeira                            $50.00
   Mary Ann                  Teixeira                           $250.00
   Sylvia                    Tejeda                             $100.00
   Alina                     Tejera                              $50.00
   Jessica                   Tejerina                            $40.00
   Mona                      Tekchandani                        $100.00
   Ender                     Tekin                               $30.00
   Ender                     Tekin                               $50.00
   Hylton                    Telfer                             $250.00
   Mark                      Temme                               $75.00
   Mark                      Temme                               $75.00
   Pete                      Temple                             $100.00
   Betsy                     Templeton                           $50.00
   Betsy                     Templeton                           $50.00
   Susan                     Tenby                              $100.00
   Tammy                     Teng                                $40.00
   Gail                      Tennant                             $48.00
   Gail                      Tennant                             $50.00
   Bob                       Tennent                            $100.00
   Sofia                     Teplitzky                           $25.00
   Laura                     Tepper                              $50.00
   Laura                     Tepper                              $50.00
   Laura                     Tepper                             $100.00
   Lesley                    Tepper                             $200.00
   Kevin                     Terjesen                            $50.00
   Diana                     Terman                              $50.00
   Diana                     Terman                             $100.00
   Janet                     Terranova                          $100.00
   Danielle                  Terrazas                            $30.00
   Alyssa                    Terrizzano                         $100.00
   Julie                     Terry                               $40.00
   Nancy                     Terry                               $50.00
   Richard                   Terry-Lloyd                        $250.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Courtney                  Tesh                                   $50.00
   Lisa                      Tesone                                $100.00
   Alexis                    Tessier                                $50.00
   Megan                     Tetley                                $100.00
   Tamara                    Tews                                   $50.00
   Samira                    Thabet                                $148.75
   Lydia                     Thacher                                $50.00
   Reshma                    Thadani                               $125.00
   Sonya                     Thadhani                              $100.00
   Jamie                     Thai                                   $25.00
   Judy                      Thai                                   $25.00
   Lisa                      Thai                                  $100.00
   Natasha                   Thakkar                               $100.00
   Alex                      Thaler                                 $50.00
   Rick                      Thall                                  $75.00
   Aman                      Thapar                                 $25.00
   Aman                      Thapar                                 $25.00
   Anuja                     Thatte                                 $50.00
   Susan                     Thaxton                                $50.00
   Shannon                   Thayer                                 $40.00
   Ellen                     Theg                                   $50.00
   Rebekah                   Theiss                                 $42.50
   Christina                 Theodore-Oklota                        $50.00
   Evangelia                 Theodosiou-Pisanelli                   $50.00
   Michael                   Theoharis                             $130.00
   Claire                    Theriault                             $100.00
   Mari-Paule                Thiet                                  $50.00
   Palak                     Thind                                  $75.00
   Debra                     Thirion                               $125.00
   Ruchi                     Thiru                                  $63.75
   Ryan                      Thissen                                $50.00
   Callen                    Thistle                               $100.00
   Dana                      Thistlethwaite                        $100.00
   Brooke                    Thivierge                             $150.00
   Amanda                    Thomas                                $100.00
   Amelia                    Thomas                                 $40.00
   Anne                      Thomas                                 $50.00
   Ben                       Thomas                                 $50.00
   Danielle                  Thomas                                $100.00
   Jessica And Ted           Thomas                                 $50.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Katherine                 Thomas                            $40.00
   Kathy                     Thomas                            $50.00
   Kathy                     Thomas                            $50.00
   Laurel                    Thomas                           $100.00
   Mark                      Thomas                            $50.00
   Mark                      Thomas                            $50.00
   Meg                       Thomas                            $50.00
   Meg                       Thomas                            $50.00
   Megan                     Thomas                            $17.00
   Megan                     Thomas                            $17.00
   Melanie                   Thomas                            $90.00
   Rose-Ann                  Thomas                            $50.00
   Shannon                   Thomas                           $100.00
   Sharon                    Thomas                            $50.00
   Lenora                    Thome                             $50.00
   Amy                       Thompson                          $50.00
   Ashley                    Thompson                         $100.00
   Ayana                     Thompson                          $40.00
   Ayana                     Thompson                          $50.00
   Benjamin                  Thompson                          $50.00
   Brianna                   Thompson                         $100.00
   Christopher               Thompson                          $30.00
   Christopher               Thompson                          $30.00
   Grace                     Thompson                          $75.00
   Janet                     Thompson                          $63.75
   Jenell                    Thompson                         $150.00
   Julia                     Thompson                          $25.00
   Julia                     Thompson                         $100.00
   Katie                     Thompson                         $250.00
   Linda                     Thompson                          $40.00
   Linda                     Thompson                         $100.00
   Marcus                    Thompson                          $20.00
   Marissa                   Thompson                         $100.00
   Mark                      Thompson                         $100.00
   Martha                    Thompson                         $100.00
   Meg                       Thompson                          $50.00
   Megan                     Thompson                         $250.00
   Penelope                  Thompson                         $100.00
   Penelope                  Thompson                         $100.00
   Sheila                    Thompson                         $250.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Thalia                    Thompson                            $50.00
   Toni                      Thompson                           $250.00
   Walker                    Thompson                           $100.00
   Nancy                     Thomsen                            $100.00
   Nancy                     Thomsen                            $250.00
   Ceylan                    Thomson                             $50.00
   Gina                      Thomson                             $50.00
   Alison                    Thoreau                            $200.00
   Gwen                      Thorn                              $100.00
   R                         Thornberry                          $50.00
   Amy                       Thornborrow                         $40.00
   Amy                       Thornborrow                        $100.00
   Amy                       Thornborrow                        $250.00
   Lisa                      Thorne                              $50.00
   Brian                     Thorner                             $50.00
   Ross                      Thornhill                          $100.00
   Ray                       Thornson                            $40.00
   Raymond                   Thornson                            $42.50
   Colleen                   Thornton                            $50.00
   Linda                     Thornton                           $100.00
   Sally                     Thornton                           $100.00
   Veronica                  Thralls                            $150.00
   Valerie                   Threlfall                           $50.00
   Marjorie                  Throne                              $50.00
   L Renata                  Thronson                            $50.00
   L Renata                  Thronson                           $100.00
   L Renata                  Thronson                           $120.00
   Mary Beth                 Thurman                             $50.00
   Tereza                    Thurn                               $45.00
   Mary                      Tiamzon-Lee                         $50.00
   Martha                    Tian                               $100.00
   Noriko                    Tichenor                           $100.00
   David                     Tick                               $150.00
   Sean                      Ticknor                            $100.00
   Suzan                     Tiemroth-Zavala                    $100.00
   Samantha                  Tien                                $25.00
   Liam                      Tierney                             $50.00
   Judith                    Tiktinsky                          $250.00
   Tili                      Tili                               $100.00
   Robin                     Tilotta                            $200.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Nina                      Timbol                             $50.00
   P                         Timoll                             $40.00
   Renee                     Timp                               $42.50
   Richard                   Tinajero                           $34.00
   Charity                   Ting                               $33.00
   Howard                    Ting                               $50.00
   Howard                    Ting                              $100.00
   Irene                     Ting                               $50.00
   Sara                      Ting                               $42.50
   Sara                      Ting                               $42.50
   Tracy                     Ting                              $100.00
   Ursula                    Ting                               $80.00
   Vivian                    Ting                              $250.00
   Ana                       Tintocalis                         $50.00
   Laurie                    Tinyo                             $100.00
   Marissa                   Tirona                            $100.00
   Vishy                     Tirupattur                        $250.00
   Ann                       Tito                              $100.00
   Enia                      Titova                             $40.00
   Robin                     Tittle                            $200.00
   Danielle                  Tizol                             $200.00
   Pearl                     Tjoa                               $50.00
   Daniel                    Tkach                              $50.00
   Charissa                  To                                $100.00
   Joann                     To                                 $30.00
   Lisa                      To                                 $50.00
   Nelly                     To                                $150.00
   Yvonne                    To                                 $80.00
   Wendy                     Tobagus                            $75.00
   Rachael                   Tobener                           $100.00
   Donna                     Tobey                             $150.00
   Beth                      Tobias                             $50.00
   Kate                      Tobias                             $75.00
   Meridel                   Tobias                             $40.00
   John                      Tobin                              $50.00
   John                      Tobin                              $50.00
   Diane                     Toby                              $250.00
   Audrey                    Toda                               $60.00
   Ken                       Toda                               $80.00
   Betsy                     Todd                              $150.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Jodi                      Todd                              $50.00
   Laura                     Todd                              $50.00
   Louise                    Todd                             $100.00
   Lynn                      Todd                             $100.00
   Molly                     Todd                              $50.00
   Dory                      Toft                             $100.00
   Martha                    Toft                              $50.00
   Maxine                    Toh                               $50.00
   Russell                   Tokar                            $250.00
   Jacob                     Tokars                           $100.00
   Katie                     Tokars                           $100.00
   Eunice                    Tokuda                            $40.00
   Jessica                   Tokunaga                         $100.00
   Sheena                    Tolani                           $100.00
   Caprice                   Toledo                           $100.00
   Tuesday                   Tolentino                        $100.00
   Valerie                   Toler                             $50.00
   Chasa                     Toliver                           $30.00
   Gail                      Toliver                           $50.00
   Gilman                    Tolle                            $100.00
   Emily                     Tolosa                           $150.00
   Catharine                 Tolson                            $50.00
   Akemi                     Tom                               $50.00
   Christopher               Tom                              $500.00
   Eliana                    Tom                               $50.00
   Jana                      Tom                               $75.00
   Kristiana                 Tom                               $50.00
   Joann                     Tomasino                          $50.00
   Kristin                   Tomczak                          $150.00
   Danielle                  Tompkins                          $50.00
   Scott                     Tompkins                         $102.00
   Thanh                     Ton                              $100.00
   Nicole                    Tonelli                           $50.00
   Nicole                    Tonelli                           $75.00
   Nicole                    Tonelli                          $100.00
   Roberta                   Tonelli                           $40.00
   Roberta                   Tonelli                           $40.00
   Darryl                    Toney                             $40.00
   Allan                     Tong                             $100.00
   Celestin                  Tong                              $75.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Jo                        Tong                                  $50.00
   Lindsey                   Tong                                 $100.00
   Sandy                     Tong                                 $150.00
   Vivian                    Tong                                  $50.00
   Jacqueline                Tonge                                $400.00
   Helen                     Tong-Ishikawa                         $50.00
   Alex                      Tonisson                              $50.00
   Margareta                 Tonisson                             $150.00
   Mimosa                    Tonnu                                 $40.00
   Maureen                   Tontz                                 $40.00
   Emma                      Tookey                               $400.00
   Kent                      Tool                                 $200.00
   Kristen                   Toole                                 $50.00
   Erica                     Toomajian                             $50.00
   Erica                     Toomajian                             $85.00
   Alla                      Torchinsky                            $50.00
   Jessica                   Torin                                $100.00
   Diana                     Torlakson                             $50.00
   Justina                   Torma                                 $50.00
   Joan                      Torne                                $100.00
   Janet                     Tornow                               $100.00
   Deborah                   Torres                                $50.00
   Jessica                   Torres                                $50.00
   Kelli                     Torres                               $100.00
   Marco                     Torres                                $60.00
   Rachel                    Torres                                $50.00
   Rachel                    Torres                                $50.00
   Robert                    Torres                                $50.00
   Corinne                   Torres-Alfaro                         $50.00
   Michelle                  Torretto                              $30.00
   Michelle                  Torretto                              $30.00
   Shanna                    Torrey                               $100.00
   David                     Torrez                                $80.00
   Maryanne                  Tortorelli                            $40.00
   April                     Toscano                              $400.00
   Joanne                    Totah                                $212.50
   Andrea                    Toth                                 $100.00
   Laurel                    Touby                                $100.00
   Laura Ann                 Toussaint                             $50.00
   Wanda                     Towler                               $100.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Elizabeth                Townes                           $150.00
   Joey                     Townsend                          $50.00
   Lani                     Townsend                         $150.00
   Mandy                    Townsend                         $150.00
   Christina                Toy                               $50.00
   James                    Toy                              $100.00
   Norman                   Toy                               $50.00
   Norman                   Toy                               $80.00
   Carissa                  Toyama                           $100.00
   Kelly                    Trabucco                         $100.00
   Millicent                Tracey                           $100.00
   Celina                   Tracy                            $100.00
   David                    Tracy                            $350.00
   Sharon                   Traeger                           $50.00
   Shannon                  Traenkenschuh                    $500.00
   Elena                    Traer                             $50.00
   Catherine                Traiman                           $50.00
   Madeline                 Trait                             $60.00
   Alice                    Tran                             $150.00
   Amy                      Tran                             $100.00
   Anh                      Tran                              $25.00
   Ann                      Tran                              $30.00
   Cam                      Tran                             $100.00
   Cathy                    Tran                              $50.00
   Cathy                    Tran                             $100.00
   Dung                     Tran                             $100.00
   Lan                      Tran                              $50.00
   Linda                    Tran                              $85.00
   Mai                      Tran                              $50.00
   Matthew                  Tran                             $150.00
   My                       Tran                              $50.00
   My Chi                   Tran                             $100.00
   Nicole                   Tran                              $42.50
   Thuan                    Tran                             $200.00
   Tri                      Tran                             $200.00
   Tuyen                    Tran                             $150.00
   Van                      Tran                              $25.00
   Elizabeth                Tran Wong                         $50.00
   C                        Trap                             $100.00
   C                        Trap                             $150.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Masami                    Travis                              $50.00
   Karen                     Trayer                              $50.00
   Anna                      Treadway                           $100.00
   Meg                       Tremblay                            $40.00
   Renee                     Tremmel                            $250.00
   Chelsea                   Trenkwalder                         $50.00
   Jennifer                  Trerise                            $100.00
   Dyann                     Tresenfeld                         $150.00
   Kurt                      Trester                             $60.00
   Jen                       Treuting                            $50.00
   Yvonne                    Trevino                             $50.00
   Lorabel                   Trias                               $40.00
   Jackie                    Tribolet                            $50.00
   Lisa                      Tribolet                            $80.00
   Lucinda                   Trice                               $50.00
   Dan                       Trigub                             $200.00
   Mario                     Trigueros                           $50.00
   Karen                     Trilevsky                          $200.00
   Samantha                  Trimble                            $150.00
   Cath                      Trindle                            $100.00
   Maria                     Trinh                               $50.00
   Julia                     Tripathi                           $500.00
   Dayna                     Tripodi                             $50.00
   Jennifer Mu               Tripp                               $50.00
   Karis                     Triska                             $250.00
   Himani                    Trivedi                             $50.00
   Marco                     Triverio                           $250.00
   Justin                    Trobec                             $100.00
   Jordyn                    Trockman                            $50.00
   Sarah                     Trombley                            $50.00
   Sebastien                 Tron                                $10.00
   Robert                    Tronnes                            $100.00
   Julie                     Trosper                             $50.00
   Analisa                   Trott                               $30.00
   Humuhumu                  Trott                              $100.00
   Bryan                     Trowbridge                          $50.00
   Cam                       Trowbridge                          $45.00
   Helen                     Trowbridge                          $42.50
   Molly                     Trucano                             $25.00
   Molly                     Trucano                             $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Josie                     Truchan                            $150.00
   Laurie                    True                                $42.50
   Meredith                  Truettner                          $300.00
   Megan                     Truitt                              $25.00
   Alison                    Trujillo                            $50.00
   Bailey                    Trujillo                            $20.00
   Katie                     Trujillo                            $50.00
   Katie                     Trujillo                            $50.00
   Katie                     Trujillo                            $50.00
   Stephanie                 Trujillo                           $250.00
   Sara                      Trulove                            $150.00
   Elise                     Trumbull                            $50.00
   Doris                     Truong                              $40.00
   Doris                     Truong                             $200.00
   Jennifer                  Tsai                               $250.00
   Katherine                 Tsai                                $25.00
   Meigy                     Tsai                                $30.00
   Fion                      Tsang                               $40.00
   Jennifer                  Tsao                               $100.00
   Bonnie                    Tse                                $100.00
   Bonnie                    Tse                                $100.00
   Elizabeth                 Tse                                $100.00
   Kelly                     Tse                                 $50.00
   Alice                     Tseng                               $50.00
   Ray                       Tseng                              $250.00
   Danielle                  Tsi                                 $50.00
   Josefina                  Tso-Guillen                        $100.00
   Andy                      Tsui                                $48.00
   Bonnie                    Tsui                                $50.00
   Vickie                    Tsui                               $100.00
   Pam                       Tsuruda                            $100.00
   Julia                     Tsurusaki                           $50.00
   Andrea                    Tu                                  $60.00
   Andrea                    Tu                                 $100.00
   Hannah                    Tualla                             $100.00
   Nancy                     Tuck                                $40.00
   Martha                    Tuescher                            $50.00
   Martha                    Tuescher                           $100.00
   Roberta                   Tugendreich                         $30.00
   Bethany                   Tuggle                              $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Rosalinda                 Tuinzing                            $90.00
   Susan                     Tulowitzki                         $100.00
   Elise                     Tumbas                              $25.00
   Jesse                     Tumminello                          $50.00
   Jesse                     Tumminello                          $50.00
   Cecilia                   Tung                                $50.00
   Linda                     Tung                               $100.00
   Winnie                    Tungpagasit                         $50.00
   Ariane                    Tuomy                               $50.00
   Callie                    Turgeon                             $25.00
   Joanna                    Turgeon                             $80.00
   Abby                      Turin                              $100.00
   Linda                     Turnbull                            $50.00
   Afsoon                    Turner                              $80.00
   Cynthia                   Turner                             $100.00
   Elizabeth                 Turner                              $50.00
   Kara                      Turner                             $250.00
   Mark                      Turner                              $50.00
   Nicoll                    Turner                             $100.00
   Rebecca                   Turner                             $100.00
   Sativa                    Turner                              $50.00
   Yvette                    Turner-Pirz                        $100.00
   Becky                     Tuson                               $30.00
   Becky                     Tuson                               $50.00
   Nora                      Tuthill                            $150.00
   Mandi                     Tuttle                             $100.00
   Matthew                   Tuttle                             $150.00
   Meredith                  Tuttle                              $50.00
   Alana                     Tutty                              $102.00
   Molly                     Tuzzio                              $50.00
   Angela                    Twining                             $50.00
   Todd                      Tydlaska                            $50.00
   Jennifer                  Tye                                $100.00
   Aaron                     Tyler                              $250.00
   Beth                      Tyler                              $100.00
   Hillary                   Tyree                               $75.00
   Delilah                   Tyson                              $250.00
   Pam                       Tyson                               $20.00
   Kathleen                  Tysse                              $100.00
   Elaine                    Uang                               $200.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Ross                      Uchimura                         $140.00
   Linda                     Udall                             $50.00
   Mary Elizabeth            Uehlinger                         $42.50
   Christine                 Uemura                            $75.00
   Christine                 Uemura                            $75.00
   Christine                 Uemura                           $200.00
   Christine                 Uemura                           $200.00
   Monique                   Uhlberg                          $100.00
   Melissa                   Uhlir                            $100.00
   Paul                      Uhlir                            $100.00
   Marcy                     Unal                              $50.00
   Justine                   Underhill                         $50.00
   Linda                     Underwood                        $100.00
   Patrick                   Unemori                          $150.00
   Raziel                    Ungar                             $50.00
   Sachiko                   Uno                               $50.00
   Rebecca                   Unter                             $50.00
   Ushma                     Upadhyay                         $100.00
   Hayley                    Upshaw                           $100.00
   Jen                       Upson                             $80.00
   Rebecca                   Uptmor                           $212.50
   Jill                      Urban                            $100.00
   Jill                      Urban                            $300.00
   Lindsay                   Uribe                            $100.00
   Lawrence                  Uricchio                          $50.00
   Wakako                    Uritani                          $200.00
   Rosa                      Urrutia                           $50.00
   Tanya                     Urschel                          $100.00
   Sonia                     Urzua                             $50.00
   Adyen                     Usa                               $50.00
   Marvette                  Uto-Uko                           $50.00
   Amy                       Utstein                           $50.00
   Stacy                     Uyeda                             $50.00
   Stacy                     Uyeda                             $50.00
   Stacy                     Uyeda                            $100.00
   Llorie                    Uyehara                          $100.00
   Jenny                     Uyei                              $50.00
   Katlin                    Vagelatos                         $50.00
   Ravi                      Vakil                            $100.00
   Andrew                    Valdez                           $100.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Priscilla                 Valencia                             $50.00
   Veronica                  Valencia                            $200.00
   Amanda                    Valentine                           $100.00
   Tracy                     Valentine                           $100.00
   Paul                      Valerio                             $100.00
   Lois                      Valeskie                            $250.00
   Lois                      Valeskie                            $400.00
   Gevrey                    Valldeperas                          $35.00
   Cari                      Valle                                $50.00
   Jim                       Valler                               $28.00
   Jim                       Valler                              $120.00
   Katie                     Valles                              $100.00
   Cheryl                    Van                                  $50.00
   Reid                      Van Atta                            $200.00
   Stephanie                 Van Blommestein                      $80.00
   Laurel                    Van Buskirk                          $40.00
   Nadia                     Van De Walle                        $100.00
   Claudine                  Van Delden                          $150.00
   Vicki                     Van Deusen                          $170.00
   Deborah                   Van Dommelen                        $100.00
   Karin                     Van Duzer                            $30.00
   Alison                    Van Dyke                            $100.00
   Katie                     Van Dyke                            $150.00
   Katie                     Van Dyke                            $200.00
   Meredith                  Van Dyke                             $50.00
   Eliza                     Van Gerbig                          $100.00
   Jennifer                  Van Hardenberg                       $50.00
   Joan                      Van Horn                             $50.00
   Lorraine                  Van Kirk                             $50.00
   Deanna                    Van Ligten                           $75.00
   Tim                       Van Oppen                           $200.00
   Rachael                   Van Schoik                           $35.00
   Josh                      Van Tonder                           $50.00
   Bethany                   Van Veen                            $100.00
   Emily                     Vance                               $100.00
   Loralie                   Vancourt                             $50.00
   Odette                    Vandaveer                            $50.00
   Odette                    Vandaveer                            $50.00
   Lisa                      Vande Vusse                          $80.00
   Caren                     Vandenbosch                         $100.00


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   Buyer First Name         Buyer Last Name          Gift Card Amount
   Skyler                   Vander Molen                         $50.00
   Andrea                   Vander Pluym                         $42.50
   Brian                    Vander Stoep                        $100.00
   Adam                     Vandergrift                         $500.00
   Lisa                     Vanderminden                         $50.00
   Jenny                    Vandersloot                         $100.00
   Bill                     Vanderwall                          $100.00
   Tobee                    Vanderwall                           $50.00
   Tobee                    Vanderwall                           $50.00
   Christie                 Vandyke                             $100.00
   Kaitvan                  Vanelslander                         $51.00
   Chelsa                   Vangrunsven                          $25.00
   Michele                  Vanlochem                           $150.00
   Jaimie                   Vanpernis                           $100.00
   Jaimie                   Vanpernis                           $100.00
   Harshal                  Varangaonkar                        $100.00
   Laura                    Vardoulakis                          $50.00
   Jennifer                 Varela                              $100.00
   Kathryn                  Varellas                             $50.00
   Andria                   Vargas                               $50.00
   Audrey                   Vargas                               $50.00
   Joel                     Vargas                              $150.00
   Mary                     Vargas                              $100.00
   Greg                     Varni                                $52.00
   Keri                     Varni                               $250.00
   Sara                     Varni                               $100.00
   Brandon                  Varr                                 $40.00
   Sarah                    Varro                                $50.00
   Dave                     Vasen                                $50.00
   Maria                    Vasina                              $100.00
   Jennifer                 Vasquez                              $50.00
   Sue                      Vaterlaus                           $100.00
   Dina                     Vathis                              $100.00
   Miranda                  Vatterott                            $35.00
   Courtney                 Vaughan                              $80.00
   Katherine                Vaughan                              $50.00
   Keith                    Vaughan                             $127.50
   Meredith                 Vaughan                             $100.00
   Michelle                 Vaughan                              $75.00
   Tracey                   Vaughan                              $75.00


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   Buyer First Name         Buyer Last Name          Gift Card Amount
   Amanda                   Vaughn                               $42.50
   Christine                Vaughn                               $75.00
   Lauren                   Vaughn                               $50.00
   Michael                  Vaughn                               $45.00
   Sarah                    Vaux                                $200.00
   Cheryl                   Vawdrey                             $100.00
   Sara                     Vaz                                 $100.00
   Roxana                   Vazquez                              $30.00
   Andrea                   Vazzano                              $50.00
   Elvin                    Vedar                                $42.50
   Deedra                   Veerathanongdech                    $250.00
   Elizabeth                Vega                                $200.00
   Heather                  Vega                                 $50.00
   Hugo                     Vega                                 $50.00
   Hugo                     Vega                                 $50.00
   Hugo                     Vega                                 $50.00
   Hugo                     Vega                                 $50.00
   Keeley                   Vega                                 $50.00
   Maria                    Vega                                $100.00
   Teresa                   Vegher                               $75.00
   Karen                    Veitch                              $100.00
   Katie                    Vela                                 $50.00
   Nicole                   Vela                                 $40.00
   Nicole                   Vela                                $100.00
   Julie                    Velarde                              $42.50
   Danielle                 Velasco                             $100.00
   Jeffrey                  Velasco                              $50.00
   Bianca                   Velasquez                            $50.00
   Carla                    Velasquez                            $50.00
   Carla                    Velasquez                            $50.00
   Carla                    Velasquez                            $50.00
   Carla                    Velasquez                            $50.00
   John                     Velcamp                             $250.00
   Sara                     Velez                                $40.00
   Lea                      Vella                               $100.00
   Zane                     Vella                               $200.00
   Maryann                  Vellanikaran                         $50.00
   Joshua                   Veltman                             $100.00
   Julie                    Veltman                             $100.00
   Mark                     Vena                                 $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Mark                      Vena                                $50.00
   Mark                      Vena                                $50.00
   Petros                    Venetis                             $50.00
   Sherri                    Venezia                            $100.00
   Ganesh                    Venkatesh                           $50.00
   Michael                   Vennard                            $250.00
   Valerie                   Vennix                             $250.00
   Renee                     Ventimiglia                         $50.00
   Lydia                     Ventura                             $40.00
   Kate                      Venugopal                          $100.00
   Hilary                    Verbuch                            $100.00
   Carol                     Verga                              $100.00
   Kate                      Verges                             $100.00
   Teresa                    Vergez                              $50.00
   John-Paul                 Verkamp                             $50.00
   Kirsten                   Verlander                           $42.50
   Kirsten                   Verlander                           $50.00
   Jiffy                     Vermylen                            $50.00
   Peter                     Verprauskus                         $50.00
   Mary                      Verrilli                            $50.00
   Sierra                    Versaggi                           $100.00
   Deborah                   Versluis                            $85.00
   Chellaigne                Vert                               $100.00
   Brion                     Vibber                              $50.00
   Anjali                    Vichare                            $200.00
   Kathryn                   Vick                                $50.00
   Jennifer                  Vickerman                          $100.00
   Rachael                   Victoria                            $42.50
   Anna                      Vida                               $250.00
   Pamela                    Vida                               $100.00
   Bernie                    Vidales                            $100.00
   Christina                 Vidauri                            $100.00
   Christina                 Vidauri                            $250.00
   Jeanpierre                Vidican                            $100.00
   Kate                      Vidinsky                            $50.00
   Beata                     Vieira                              $50.00
   Denise                    Vieira                             $100.00
   Randhir                   Vieira                             $100.00
   Paula                     Vielman-Reeves                     $100.00
   Tanja                     Vierra                              $50.00


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   Buyer First Name         Buyer Last Name           Gift Card Amount
   Anne                     Viggiano                              $40.00
   Shannon                  Vigil                                $100.00
   Marjorie                 Vignos                                $50.00
   Nahil & Justin           Vijeh                                $100.00
   Minette                  Viljoen                              $100.00
   Minette                  Viljoen                              $100.00
   Juanita                  Villa                                 $50.00
   Mamie                    Villaflor                             $50.00
   Sandra                   Villanueva                            $50.00
   Sandra                   Villanueva                            $50.00
   Tess                     Villanueva                            $30.00
   Gertrude                 Villanueva-Itchon                    $250.00
   Destiny                  Villarreal                            $50.00
   Laura                    Villarreal                            $20.00
   Laura                    Villarreal                            $30.00
   Laura                    Villarreal                            $50.00
   Kristin                  Villatuya                             $60.00
   Hilda                    Villavicencio                        $100.00
   Jill                     Vincenzo                              $50.00
   Pamela                   Vinesky                               $42.50
   Joshua                   Vining                                $50.00
   Wouter                   Vink                                 $100.00
   Emily                    Violett                               $50.00
   Emily                    Violett                               $50.00
   Amanda                   Virani                               $100.00
   Desiree                  Viray                                $100.00
   Desiree                  Viray                                $100.00
   Desiree                  Viray                                $150.00
   Hannah                   Viray                                 $60.00
   Marissa                  Viray                                 $50.00
   Ashish                   Virmani                              $200.00
   Edie                     Visco                                $250.00
   Zhanna                   Vishnevskaya                          $50.00
   Paul                     Visick                               $250.00
   Magdalena                Visser                                $50.00
   Noelle                   Vitale                                $80.00
   Lacey                    Vitetta                              $300.00
   Danika                   Vittitoe Melo                        $200.00
   Jonathan                 Vlahos                                $50.00
   Melanie                  Vlahos                                $40.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Lizzy                     Vlasses                               $25.00
   Paul                      Vlasveld                             $500.00
   Christine                 Vleck                                 $40.00
   Emily                     Vnce                                 $250.00
   Linda                     Vo                                    $50.00
   Lisa                      Vocker                                $40.00
   Jenny                     Vodvarka                              $50.00
   Jenny                     Vodvarka                              $50.00
   Jenny                     Vodvarka                              $75.00
   Monika                    Voellm                               $100.00
   Maianna                   Voge                                  $50.00
   Alison                    Vogel                                 $50.00
   Kelly                     Vogel                                 $50.00
   Megan                     Vogel                                $100.00
   Cari                      Vogler                                $40.00
   Peter                     Vogt                                 $200.00
   Anne                      Voigts                               $100.00
   Jean                      Volckmann                            $150.00
   Gina                      Volk                                  $35.00
   Peter                     Volk                                  $50.00
   Warren                    Volk                                  $50.00
   Liliana                   Volkart                               $50.00
   Maureen                   Vollmer                               $40.00
   Matthew                   Volm                                 $200.00
   Sonia                     Von Berg                             $100.00
   Piera                     Von Glahn                             $50.00
   Christine                 Von Hoffmann                          $42.50
   Aaron                     Von Hungen                            $25.00
   Amy                       Von Kaenel                            $85.00
   Lindsay                   Von Marbod                            $80.00
   Maxx                      Von Marbod                           $100.00
   Hallie                    Von Rock                              $85.00
   Mia                       Von Sadovszky                         $50.00
   Julia                     Von Schilling                        $100.00
   Julia                     Von Schilling                        $100.00
   Julia                     Von Schilling                        $100.00
   Julia                     Von Schilling                        $100.00
   Julia                     Von Schilling                        $100.00
   Stephanie                 Von Thaden                            $80.00
   Sin                       Vong                                  $30.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Linda                     Voon                                $20.00
   Linda                     Voon                                $50.00
   Tonica                    Voorhies                            $50.00
   Harmit                    Vora                                $50.00
   Harmit                    Vora                                $50.00
   Harmit                    Vora                                $50.00
   Amy                       Vorenkamp                           $25.00
   Jessica                   Vornbrock                           $50.00
   Brad                      Vornholt                            $50.00
   Meredith                  Vornholt                           $280.00
   Colleen                   Vos                                 $50.00
   Aren                      Vosbikian                           $50.00
   Sarah                     Vosburgh                           $100.00
   Amy                       Voss                                $50.00
   Anastasia                 Vourakis                            $35.00
   Reva                      Vrana Longacre                      $50.00
   Kelly                     Vranich                            $100.00
   Catrina                   Vrankovich                         $250.00
   Camille                   Vranna                              $50.00
   Cynthia                   Vredenburgh                         $50.00
   Duy                       Vu                                  $50.00
   Kristine                  Vu                                 $300.00
   Kristine                  Vu                                 $300.00
   M                         W                                   $75.00
   M                         W                                  $100.00
   Megan                     Wachspress                         $120.00
   Jenna                     Wachtel                             $50.00
   Molly                     Wachtel                            $100.00
   Christina                 Wade                               $250.00
   India                     Wade                               $100.00
   Kelley                    Wade                               $100.00
   Paul                      Wade                               $100.00
   Randall                   Wade                                $25.00
   Randall                   Wade                                $25.00
   Sara                      Wade                               $100.00
   Valerie                   Wade                                $50.00
   Pooja                     Wadhawan                           $125.00
   Jane                      Waggoner                           $250.00
   Vivek                     Wagle                               $50.00
   Brendan                   Wagner                              $75.00


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   Buyer First Name           Buyer Last Name       Gift Card Amount
   Carol                      Wagner                           $100.00
   Dave                       Wagner                            $50.00
   David                      Wagner                           $100.00
   Emily                      Wagner                            $50.00
   Emily                      Wagner                           $100.00
   Kara                       Wagner                            $50.00
   Katharine                  Wagner                            $50.00
   Kourtney                   Wagner                            $25.00
   Lindsay                    Wagner                            $40.00
   Lindsay                    Wagner                            $40.00
   Myles                      Wagner                            $40.00
   Rachel                     Wagner                            $50.00
   Rebecca                    Wagner                           $100.00
   Sarah                      Wagner                            $30.00
   Sarah                      Wagner                            $75.00
   Pallavi                    Wahi                             $100.00
   Pallavi                    Wahi                             $100.00
   Elizabeth                  Wahl                              $50.00
   Matthew                    Wahlgren                          $50.00
   Brandon                    Wai                              $100.00
   Conrad                     Wai                               $75.00
   Louis                      Wai                               $50.00
   Heather                    Waider                            $50.00
   Sandra                     Waite                            $100.00
   Ed                         Wakefield                        $100.00
   Skyler                     Wakil                            $300.00
   Kristin                    Walczak                          $150.00
   Melissa                    Wald                              $50.00
   Griffin                    Waldau                            $50.00
   Mira                       Waldman                          $150.00
   Emily                      Waldorf                           $50.00
   Jackie                     Waldorph                          $50.00
   Scott                      Waldvogel                        $100.00
   Emma                       Walia                             $42.50
   Adria                      Walker                            $50.00
   Brenda                     Walker                            $40.00
   Catherine                  Walker                            $25.00
   Catherine                  Walker                            $25.00
   Catherine                  Walker                            $25.00
   Dan                        Walker                            $50.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Dan                       Walker                                $50.00
   Edie                      Walker                               $100.00
   Hale                      Walker                               $100.00
   Hale                      Walker                               $100.00
   Ian                       Walker                                $50.00
   Justin                    Walker                               $400.00
   Kumi                      Walker                               $100.00
   Ms Sandra D               Walker                               $300.00
   Nancy                     Walker                                $60.00
   Shane                     Walker                                $50.00
   Suzy                      Walker                                $50.00
   Todd                      Walker                                $20.00
   Valencia                  Walker                                $50.00
   Zan                       Walker                                $50.00
   Richard                   Walkling                              $50.00
   Abby                      Wall                                 $100.00
   Becky                     Wallace                              $150.00
   Diane                     Wallace                               $50.00
   Emily                     Wallace                               $21.25
   Meghan                    Wallace                              $100.00
   Ptrent                    Wallace                               $50.00
   Ptrent                    Wallace                               $50.00
   Ptrent                    Wallace                               $50.00
   Ptrent                    Wallace                               $50.00
   Ptrent                    Wallace                               $50.00
   Robert                    Wallace                               $50.00
   Robert                    Wallace                              $100.00
   Trent                     Wallace                               $25.00
   Jessica                   Wallack-Cohen                         $42.50
   Madeline                  Wallen                                $50.00
   Madeline                  Wallen                                $50.00
   Katherine                 Walley                                $50.00
   Elisa                     Wallin                                $40.00
   Anne                      Walling                               $50.00
   Emily                     Walling                               $35.00
   Emily                     Walling                               $40.00
   Stefanie                  Wallingford                          $250.00
   Angela                    Wallis                                $50.00
   Nancy                     Wallis                                $50.00
   Daniel                    Walsh                                $100.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Deann                    Walsh                             $50.00
   Michelle                 Walsh                             $50.00
   Rachel                   Walsh                            $100.00
   Sara                     Walsh                             $50.00
   Theresa                  Walsh                             $50.00
   Stacy                    Walter                            $25.00
   Amy                      Walters                          $100.00
   Belinda                  Waltman                           $50.00
   Amalia                   Walton                            $50.00
   Angie                    Waltz                             $80.00
   Trina                    Walz                             $100.00
   Dara                     Wambach                           $50.00
   Kenton                   Wan                               $40.00
   Angela                   Wanderer                          $30.00
   Alexander                Wang                              $50.00
   Angela                   Wang                              $50.00
   Angela                   Wang                              $75.00
   Caroline                 Wang                              $50.00
   Chia Shin                Wang                             $100.00
   David                    Wang                              $50.00
   David                    Wang                             $100.00
   Hannah                   Wang                             $100.00
   Helen                    Wang                              $25.00
   Helen                    Wang                              $25.00
   Helen                    Wang                              $30.00
   Helen                    Wang                              $30.00
   Helen                    Wang                              $50.00
   Jean                     Wang                             $100.00
   Karen                    Wang                              $90.00
   Karen                    Wang                             $100.00
   Lois                     Wang                              $50.00
   Nancy                    Wang                             $100.00
   Nicole                   Wang                              $35.00
   Paggy                    Wang                             $100.00
   Sherry                   Wang                              $40.00
   Sherry                   Wang                             $100.00
   Sherry                   Wang                             $100.00
   Shirley                  Wang                              $25.00
   Tiffany                  Wang                             $100.00
   Tiffany                  Wang                             $150.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Wendy                     Wang                              $100.00
   Yiwei                     Wang                              $100.00
   Sherry                    Wangenheim                         $50.00
   Sherry                    Wangenheim                         $50.00
   Novatila                  Wangili                            $50.00
   Tegan                     Wanlass                            $50.00
   Molly                     Wantuch                            $50.00
   Paul                      Wanveer                           $100.00
   Sharlin                   Waran                             $100.00
   Sharlin                   Waran                             $100.00
   Sharlin                   Waran                             $100.00
   Sarah                     Warburg                            $50.00
   Adam                      Ward                              $100.00
   Arlene                    Ward                               $50.00
   Ashley                    Ward                               $50.00
   Lindy                     Ward                              $120.00
   Peggy                     Ward                               $50.00
   Scott                     Ward                               $50.00
   Trish                     Ward                              $125.00
   Whitney                   Ward                               $50.00
   Michelle                  Ward Calk                         $300.00
   Christine                 Warden                             $50.00
   Dave                      Warden                            $200.00
   Jenise                    Warden                             $50.00
   Anne                      Ward-Ryan                         $100.00
   Matthew                   Ware                               $40.00
   Matthew                   Ware                               $40.00
   Jenny                     Warila                             $50.00
   Diane                     Warkentin                         $200.00
   Chloe                     Warner                            $200.00
   Karlette                  Warner                             $50.00
   Laura                     Warner                             $30.00
   Nhieu                     Warner                             $30.00
   Robert                    Warner                            $100.00
   Sierra                    Warner                            $100.00
   Toby                      Warner                             $25.00
   Wendy                     Warner                             $50.00
   Weston                    Warner                            $125.00
   Andrew                    Warr                               $25.00
   Brady                     Warren                            $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Brady                     Warren                             $100.00
   Carolann                  Warren                              $50.00
   Charles                   Warren                             $100.00
   Elizabeth                 Warren                              $50.00
   Lisa                      Warren                             $100.00
   Louise                    Warren                              $50.00
   Samantha                  Warren                              $50.00
   David                     Wartels                             $85.00
   David                     Wartels                             $85.00
   Wyatt                     Wartels                             $50.00
   Wyatt                     Wartels                             $50.00
   Patrice                   Warto                              $150.00
   Victoria                  Warwick                             $30.00
   Mark                      Wasacz                             $250.00
   Laura                     Washabaugh                         $250.00
   Kathryn                   Washington                         $100.00
   Joan                      Wasielewski                        $250.00
   Lisa                      Wasilewski                          $25.00
   Lisa                      Wasilewski                          $40.00
   Lisa                      Wasilewski                          $40.00
   Lisa                      Wasilewski                         $120.00
   Margot                    Wasserman                           $17.00
   Caryn                     Wasserstein                         $50.00
   Sally                     Wasserstrom                         $75.00
   Scott                     Wasson                             $100.00
   Esme                      Watanabe                            $50.00
   Kathleen                  Watanabe                            $40.00
   Margaret                  Waterhouse                         $100.00
   Margaret                  Waterhouse                         $100.00
   Claire                    Waterman                            $50.00
   Lily                      Waters                             $200.00
   Beth                      Wathen                              $30.00
   Beth                      Wathen                              $30.00
   Beth                      Wathen                              $30.00
   Alan                      Watkins                            $100.00
   Courtney                  Watkins                             $50.00
   Neil                      Watkins                             $50.00
   Jan                       Watling                             $42.50
   Ashley                    Watson                             $100.00
   Meghan                    Watson                              $40.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Remi                      Watson                              $25.00
   Timothy                   Watson                             $250.00
   Audra                     Watt                               $100.00
   Molly                     Watts                               $85.00
   Andy                      Wattula                            $250.00
   Lori                      Waugh                              $100.00
   Lori                      Waugh                              $100.00
   Stefanie                  Wauk                                $80.00
   Rachel                    Waworuntu                           $35.00
   Jessica                   Wax                                 $50.00
   Jessica                   Wax                                 $60.00
   Kasey                     Wayne                               $50.00
   Joanna                    Wead                                $80.00
   Bluesky                   Wealth Advisors                    $100.00
   Virginia                  Weatherby                          $250.00
   Theresa                   Weathers                            $60.00
   Michelle                  Weave                              $100.00
   Alanna                    Weaver                             $120.00
   Carrie                    Weaver                              $50.00
   Kareem                    Weaver                             $150.00
   Jim                       Webb                                $50.00
   Judy                      Webb                                $30.00
   Judy                      Webb                                $50.00
   Judy                      Webb                                $50.00
   Judy                      Webb                                $50.00
   Judy                      Webb                                $50.00
   Judy                      Webb                                $50.00
   Kimberly                  Webb                                $50.00
   Sunny                     Webb                                $21.25
   Tricia                    Webb                                $50.00
   Grace                     Webber                             $100.00
   Whitney                   Webber                              $50.00
   Andrea                    Weber                               $50.00
   Genevieve                 Weber                               $85.00
   Juanita                   Weber                               $40.00
   Karee                     Weber                              $212.50
   Kathy                     Weber                               $50.00
   Leslie                    Weber                               $50.00
   Lindsay                   Weber                               $50.00
   Lindsay                   Weber                              $100.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   Mary Ellen                Weber                                 $200.00
   Catherine                 Webster                               $200.00
   Kate                      Webster                                $50.00
   Leslie                    Webster                                $50.00
   Robert                    Webster                               $150.00
   Tyler                     Webster                                $40.00
   Suzanne                   Webster Morris                         $50.00
   Sophie                    Wechsler                               $50.00
   Jason                     Weeby                                  $75.00
   Cheryl                    Weeks                                  $50.00
   Douglas                   Weeks                                 $100.00
   Genevieve                 Weeks                                 $100.00
   Kelly                     Weertz                                $100.00
   John                      Wegis                                 $100.00
   Ally                      Wei                                   $100.00
   Esther                    Wei                                   $100.00
   Jing                      Wei                                   $200.00
   Thomas                    Weichle                                $30.00
   Anaik                     Weid                                  $100.00
   Christine                 Weidler                               $100.00
   Gail                      Weigel                                $100.00
   Rachel                    Weigelt                               $250.00
   Amy                       Weil                                   $50.00
   Dannielle                 Weil                                   $50.00
   Mike                      Weil                                   $42.50
   Patricia                  Weiland                                $50.00
   Elana                     Weinberg                               $25.00
   Elana                     Weinberg                               $25.00
   Harmony                   Weinberg                               $40.00
   Kate                      Weinberg                               $42.50
   Carolyn                   Weiner                                 $50.00
   Courtney                  Weiner                                 $50.00
   Julie                     Weiner                                 $40.00
   Mark                      Weiner                                 $42.50
   Jessica                   Weingarten                             $40.00
   Michele                   Weingeist                              $50.00
   Michele                   Weingeist                              $50.00
   Michele                   Weingeist                              $50.00
   Sarah                     Weinman                                $50.00
   Sarah                     Weinman                                $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Julie                     Weinstein                         $100.00
   Michael                   Weinstein                          $50.00
   Natalia                   Weinstein                         $100.00
   Tamara                    Weinstein                          $30.00
   Tracey                    Weinstein                          $50.00
   Margaret                  Weir                               $50.00
   Susan                     Weir                              $250.00
   Collette                  Weis                              $200.00
   Eleanor                   Weisenbach                         $50.00
   Phyllis                   Weisner                           $100.00
   Jessica                   Weiss                              $50.00
   Kristin                   Weiss                             $100.00
   Lisa                      Weiss                              $50.00
   Candice                   Weissinger                        $300.00
   Sonja                     Weissman                           $40.00
   Sonja                     Weissman                           $85.00
   Julie                     Weiswasser                         $50.00
   Abby                      Welch                              $50.00
   Cory                      Welch                             $100.00
   Karen                     Welch                             $250.00
   Katherine                 Welch                              $50.00
   Molly                     Welch                              $50.00
   Rebecca                   Welch                              $50.00
   Sandra                    Welch                             $100.00
   Sheryl                    Welch                              $50.00
   Laura                     Welcher                           $250.00
   Mary                      Weld                               $50.00
   Mary                      Welday                            $120.00
   Eric                      Welden                             $40.00
   Lee Anne                  Weldon                            $100.00
   Lee Anne                  Weldon                            $150.00
   Nancy                     Welling                           $250.00
   Blair                     Wellington                         $50.00
   Robert                    Wellman                           $100.00
   Hilary                    Wells                             $100.00
   Katie                     Wells                              $75.00
   Katie                     Wells                             $150.00
   Elise                     Wen                                $75.00
   Elise                     Wen                                $75.00
   Patricia                  Wen                               $100.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Brennan                   Wenck-Reilly                        $100.00
   Marilyn                   Wendt                                $80.00
   Julia                     Wenegrat                            $100.00
   Debbie                    Wenger                               $50.00
   Patricia                  Wenger                              $100.00
   Amanda                    Wenisch                              $50.00
   Amanda                    Wenisch                              $75.00
   Anja                      Wenrick                             $100.00
   Bonnie                    Wentworth                           $100.00
   Anna                      Wentz                                $40.00
   Anne                      Wentz                               $300.00
   Jordan                    Wentz                                $50.00
   Amie                      Wenzell                              $30.00
   Susan                     Werder                              $100.00
   Sarah                     Wernikoff                            $50.00
   Katherine                 Wesmiller                            $42.50
   Katherine                 Wesmiller                            $50.00
   Katherine                 Wesmiller                            $50.00
   Katherine                 Wesmiller                            $50.00
   Britni                    West                                 $50.00
   Karen                     West                                $200.00
   Kate                      West                                 $25.00
   Mary                      West                                $100.00
   Megan                     West                                 $85.00
   Melissa                   West                                $100.00
   Mandy                     Westcott                            $100.00
   Icy                       Westerdal                           $100.00
   Allison                   Westhafer                            $50.00
   Sarah                     Westlake                            $100.00
   Sarah                     Westlake                            $100.00
   Jeffrey                   Westmont                             $25.00
   Laurel                    Wetherbee                            $50.00
   Courtney                  Wetkowski                            $21.25
   Kelly                     Wetmore                              $50.00
   Jon                       Wetzel                              $100.00
   Lauren                    Wetzel                              $200.00
   Lori                      Wetzel                              $250.00
   Janna                     Weyburne                             $50.00
   Jill                      Weyers                              $300.00
   Jill                      Wheatley                             $25.00


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   Buyer First Name          Buyer Last Name       Gift Card Amount
   Diane                     Wheeler                          $100.00
   Karen                     Wheeler                           $30.00
   Kelli                     Wheeler                           $85.00
   Laura                     Wheeler                           $30.00
   Heather                   Whelan                            $50.00
   Megan                     Whelan                           $250.00
   Irene                     Whetstone                        $150.00
   Jennifer                  Whitaker                          $30.00
   Katherine                 Whitcraft                        $100.00
   Adrienne                  White                             $50.00
   Christopher               White                             $50.00
   Courtney                  White                            $500.00
   David                     White                            $100.00
   Denise                    White                             $60.00
   Dylan                     White                             $40.00
   Elspeth                   White                            $150.00
   Emma                      White                             $50.00
   Eric                      White                             $25.00
   Isabel                    White                             $50.00
   Jeanette                  White                            $100.00
   Kathryn                   White                             $50.00
   Kevin                     White                            $100.00
   Laura                     White                             $50.00
   Laura                     White                            $100.00
   Mary                      White                             $75.00
   Melinda                   White                             $75.00
   Michelle                  White                            $100.00
   Natalie                   White                             $25.00
   Nita                      White                             $85.00
   Susan                     Whited                            $42.50
   Jess                      Whitehill                        $150.00
   Sivan                     Whiteley                          $75.00
   Sivan                     Whiteley                         $100.00
   Molly                     Whiteman                          $42.50
   Molly                     Whiteman                          $42.50
   Shannon                   Whiteman                          $50.00
   Emma                      Whitfield                        $250.00
   Marcia                    Whitfield                         $50.00
   Carrie                    Whitmore                          $45.00
   Angie                     Whitnah                           $60.00


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   Buyer First Name          Buyer Last Name            Gift Card Amount
   James                     Whitney                               $100.00
   Jeanne                    Whitney                               $350.00
   Pamela                    Whitney                               $100.00
   Paul                      Whitney                               $100.00
   Abby                      Whitridge                             $100.00
   Carina                    Whitridge                              $50.00
   Rosa                      Whitten                                $50.00
   Rosa                      Whitten                                $50.00
   John                      Whittet                                $50.00
   Darcy                     Whittiker                              $50.00
   Darcy                     Whittiker                              $50.00
   Kathlee                   Whylie                                 $50.00
   Kathryn                   Whyte                                 $100.00
   Annick                    Wibben                                $250.00
   Elena                     Wible                                 $150.00
   Karin                     Wick                                   $50.00
   Cathy                     Wickens                                $50.00
   Lindsey                   Wickman                               $200.00
   Dana                      Wickner                                $50.00
   Shalini                   Wickramatilake                        $100.00
   Brad                      Wickwire                              $100.00
   Amanda                    Widmaier                               $40.00
   Christian                 Wiedmann                              $100.00
   Michelle                  Wiesel                                 $25.00
   Michelle                  Wiesel                                 $25.00
   Sue                       Wieser                                 $50.00
   Anne                      Wiesman                                $50.00
   Marika                    Wiggan                                $250.00
   Susan                     Wiggen                                $100.00
   Diana                     Wiggins                               $100.00
   Loretta                   Wihlborg                              $100.00
   Shelley                   Wilcox                                 $50.00
   Katrin                    Wilde                                  $40.00
   Nick                      Wilder                                 $40.00
   Nick                      Wilder                                $225.00
   Sara                      Wilder                                $100.00
   Suzanne                   Wildey                                 $50.00
   Rebecca                   Wildman-Tobriner                       $50.00
   Rebecca                   Wildman-Tobriner                       $50.00
   Jen                       Wilds                                 $100.00


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   Buyer First Name           Buyer Last Name       Gift Card Amount
   Angela                     Wiley                            $100.00
   Selena                     Wiley                            $100.00
   Kristie                    Wilhelm                           $50.00
   Judith                     Wilhite                           $42.50
   Tracy                      Wilk                             $180.00
   Candy                      Wilke                            $100.00
   Courtney                   Wilkerson                         $50.00
   Spencer                    Wilkerson                        $100.00
   Pamela                     Wilkie                            $50.00
   Pamela                     Wilkie                            $50.00
   Megan                      Wilkins                          $100.00
   Katie                      Wilkinson                         $50.00
   Katie                      Wilkinson                         $50.00
   Katie                      Wilkinson                        $130.00
   Kelly                      Wilkinson                         $42.50
   Kristen                    Wilkinson                         $25.00
   Linda                      Wilkinson                        $100.00
   Nicole                     Will                              $75.00
   Holly                      Willaims                          $50.00
   Lauren                     Willams                          $100.00
   Erin                       Willard                          $200.00
   Rozanne                    Wille                             $42.50
   Rozanne                    Wille                             $42.50
   Rozanne                    Wille                             $50.00
   Rozanne                    Wille                             $50.00
   Rozanne                    Wille                             $50.00
   Rozanne                    Wille                             $50.00
   Rozanne                    Wille                             $50.00
   Rozanne                    Wille                             $50.00
   Nancy                      Willems                          $300.00
   Patricia                   Willens                          $250.00
   Julie                      Willett                           $50.00
   Patricia                   Willett                           $50.00
   Patricia                   Willett                           $50.00
   Kaitlin                    Willham                           $30.00
   Aleya                      Williams                         $100.00
   Allison                    Williams                         $160.00
   Allison                    Williams                         $160.00
   Allison                    Williams                         $160.00
   Annie                      Williams                         $100.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Annie                    Williams                         $100.00
   Ashley                   Williams                          $25.00
   Bridget                  Williams                         $100.00
   Clark                    Williams                          $80.00
   Courtney                 Williams                         $100.00
   Denys                    Williams                          $50.00
   Emily                    Williams                          $50.00
   Greg                     Williams                          $20.00
   Irene                    Williams                          $30.00
   Jaime                    Williams                         $100.00
   Jay                      Williams                         $100.00
   Jill                     Williams                          $50.00
   Katharine                Williams                          $50.00
   Katharine                Williams                          $50.00
   Katy                     Williams                          $50.00
   Kelli                    Williams                          $50.00
   Kiah                     Williams                          $50.00
   Kimberleigh              Williams                          $50.00
   Lara                     Williams                          $50.00
   Lara                     Williams                         $100.00
   Leah                     Williams                         $250.00
   Lisa                     Williams                         $100.00
   Louisa                   Williams                         $100.00
   Maile                    Williams                         $102.00
   Maren                    Williams                         $120.00
   Margaret                 Williams                          $80.00
   Mary                     Williams                          $50.00
   Michael                  Williams                         $100.00
   Mitzi                    Williams                         $150.00
   Monique                  Williams                          $50.00
   Nicolaus                 Williams                          $60.00
   Nicolaus                 Williams                          $60.00
   Nikki                    Williams                         $100.00
   Peter                    Williams                         $150.00
   Rachel                   Williams                          $50.00
   Rachel                   Williams                          $50.00
   Rehema                   Williams                         $250.00
   Sarah                    Williams                          $25.00
   Sharon                   Williams                          $42.50
   Stacy                    Williams                          $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Stacy                     Williams                          $100.00
   Stefanie                  Williams                          $250.00
   Sue                       Williams                           $50.00
   Thomas                    Williams                           $50.00
   Vanessa                   Williams                           $50.00
   Varina                    Williams                           $40.00
   Varina                    Williams                           $42.50
   Carol                     Williamson                        $100.00
   Jeff                      Williamson                        $250.00
   Lauren                    Williamson                         $40.00
   Lauren                    Williamson                         $40.00
   Terry                     Williamson                         $75.00
   Trisha                    Williamson                         $50.00
   Laura                     Willis                             $50.00
   Ryan                      Willkom                           $250.00
   Alicia                    Willoughby                         $30.00
   Elisabeth                 Wills                              $50.00
   Bob                       Willson                            $25.50
   Kristen                   Wilsey                             $50.00
   Adam                      Wilson                            $250.00
   Amy                       Wilson                             $50.00
   Carrie                    Wilson                             $40.00
   Christina                 Wilson                            $100.00
   Cindy                     Wilson                             $50.00
   Crystal                   Wilson                             $50.00
   Elizabeth                 Wilson                            $100.00
   Erin                      Wilson                             $30.00
   Hilary                    Wilson                             $50.00
   Jacques                   Wilson                             $40.00
   Jacques                   Wilson                             $50.00
   Jazzmon                   Wilson                             $50.00
   Julia                     Wilson                            $100.00
   Justin                    Wilson                            $200.00
   Katharine                 Wilson                             $50.00
   Katie                     Wilson                             $50.00
   Katie                     Wilson                             $50.00
   Katie                     Wilson                             $50.00
   Kenady                    Wilson                            $100.00
   Laurel                    Wilson                            $200.00
   Lori                      Wilson                             $80.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Lori                      Wilson                              $100.00
   Mary                      Wilson                              $100.00
   Matthew                   Wilson                               $80.00
   Melissa                   Wilson                              $100.00
   Michelle                  Wilson                              $100.00
   Patricia                  Wilson                              $100.00
   Paul                      Wilson                              $100.00
   Skye                      Wilson                              $200.00
   Stoddard                  Wilson                              $100.00
   Suzanne                   Wilson                               $42.50
   Tarn                      Wilson                              $100.00
   Tasha                     Wilson                               $30.00
   Austin                    Wilt                                $150.00
   Scott                     Wiltermuth                           $50.00
   Kristen                   Winant                              $200.00
   Maily                     Windham                             $212.50
   Aaron                     Winer                                $50.00
   Nick                      Winer                                $50.00
   Kirby                     Winfield                            $100.00
   Maggie                    Wing                                 $50.00
   Maggie                    Wing                                $100.00
   Terry                     Wingfield                            $50.00
   Mark                      Winham                               $50.00
   Kirsten                   Winkelbauer                          $40.00
   Christopher               Winn                                $200.00
   Corrie                    Winnacker                            $80.00
   Laila                     Winner                               $40.00
   Robin                     Winokur                             $150.00
   Christine                 Winoto                               $50.00
   Nicole                    Winsauer                             $50.00
   Jane                      Winslow                              $50.00
   Karen                     Winstead                            $100.00
   Karen                     Winstead                            $250.00
   Shari                     Winstead                            $100.00
   Brenda                    Winston                              $50.00
   Gaia                      Winter                               $85.00
   Robert                    Winter                              $100.00
   Vanessa                   Winter                               $50.00
   Zach                      Winter                              $100.00
   Audra                     Winterbottom                         $50.00


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   Buyer First Name         Buyer Last Name           Gift Card Amount
   Julia                    Winterson                             $50.00
   Carey                    Wintroub                             $100.00
   Cathy                    Wirth                                $100.00
   Patty                    Wirtz                                 $50.00
   Karin                    Wise                                  $50.00
   Lisa                     Wiseman                              $100.00
   Nicole                   Wisler                                $50.00
   Rosemarie                Withee                                $50.00
   Todd                     Withee                               $150.00
   Laurie                   Withers                              $200.00
   Rhea                     Withrow                              $100.00
   Courtney                 Witmer                                $50.00
   Cassandra                Witte                                $100.00
   Allie                    Wittenberger                         $100.00
   Jolie                    Witten-Hannah                         $75.00
   Courtney                 Witter                                $50.00
   Lara                     Witter                               $212.50
   Clare                    Wittrock                              $50.00
   Susan                    Wlodarczyk                            $50.00
   Melinda                  Wohl                                 $100.00
   Dan                      Wohlfeiler                            $50.00
   Alex                     Wojciechowski                        $100.00
   Casey                    Wolberg                              $200.00
   Leah                     Wolchok                               $50.00
   Leah                     Wolchok                               $50.00
   Margaret                 Woley                                 $50.00
   Dana                     Wolf                                 $100.00
   Melissa                  Wolf                                 $300.00
   Amanda                   Wolfe                                 $25.00
   Chris                    Wolfe                                $250.00
   Jennifer                 Wolfe                                 $50.00
   Marc                     Wolfe                                $100.00
   Mary                     Wolfe                                $100.00
   Stan                     Wolfe                                $120.00
   Justine                  Wolitzer                              $50.00
   David                    Wolkenhauer                          $250.00
   Lise                     Wollenberg                           $100.00
   Mark                     Wolly                                $100.00
   Howard                   Wolosky                               $50.00
   Rebecca                  Wolsky                                $50.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Darin                    Wolter                           $200.00
   Bethany                  Womack                           $250.00
   Ada                      Wong                              $50.00
   Ada                      Wong                              $50.00
   Alexandra                Wong                             $150.00
   Angela                   Wong                             $250.00
   Anita                    Wong                             $100.00
   April                    Wong                             $250.00
   Cheri                    Wong                             $100.00
   Cindy                    Wong                              $25.00
   Cindy                    Wong                              $40.00
   Diana                    Wong                             $100.00
   Doris                    Wong                             $255.00
   Evita                    Wong                             $100.00
   Freeman                  Wong                              $50.00
   Irene                    Wong                             $100.00
   Ivy                      Wong                             $100.00
   Jane                     Wong                             $100.00
   Jane                     Wong                             $250.00
   Jason                    Wong                             $100.00
   Jeannie                  Wong                              $50.00
   Jenise                   Wong                              $60.00
   Jennifer                 Wong                              $40.00
   Kevin                    Wong                             $150.00
   Kimberly                 Wong                             $250.00
   Kimberly                 Wong                             $250.00
   Lauren                   Wong                              $50.00
   Lauren                   Wong                             $100.00
   Lesley                   Wong                              $50.00
   Lesley                   Wong                              $50.00
   Lois                     Wong                             $100.00
   Manki                    Wong                              $42.50
   Mary                     Wong                              $85.00
   Melissa                  Wong                              $60.00
   Melva                    Wong                             $100.00
   Naomi                    Wong                              $36.00
   Nichole                  Wong                              $50.00
   Nicole                   Wong                             $100.00
   Patricia                 Wong                              $50.00
   Rachel                   Wong                              $50.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Rainbow                  Wong                               $50.00
   Shirley                  Wong                               $50.00
   Shui                     Wong                              $235.00
   Steve                    Wong                               $50.00
   Tammi                    Wong                               $20.00
   Tim                      Wong                              $250.00
   Tracie                   Wong                              $150.00
   Linda                    Wong Gonzales                      $50.00
   Chiu Yen                 Woo                               $250.00
   Holly                    Woo                               $100.00
   May                      Woo                                $75.00
   Tina                     Woo                                $50.00
   Wendy                    Woo                                $50.00
   Wilbert                  Woo                                $42.50
   Wilbert                  Woo                                $90.00
   Abby                     Wood                               $40.00
   Abby                     Wood                               $80.00
   Brady                    Wood                              $100.00
   Carolyn                  Wood                               $75.00
   Courtney                 Wood                               $50.00
   Dianne                   Wood                               $40.00
   Felicity                 Wood                               $50.00
   Gordon                   Wood                              $350.00
   Janetta                  Wood                              $250.00
   Kevin                    Wood                               $30.00
   Nicole                   Wood                              $100.00
   Nicole                   Wood                              $120.00
   Richard                  Wood                              $100.00
   Susan                    Woodard                           $100.00
   Victoria                 Woodarski                         $150.00
   Wendy                    Woodgeard                         $150.00
   Susan                    Woodin                             $42.50
   S.                       Woodley                            $25.00
   Lauren                   Woodman                            $40.00
   Lauren                   Woodman                            $40.00
   Ashley                   Wood-Mirkovich                     $50.00
   Kelly                    Woodruff                          $500.00
   Jen                      Woods                              $25.00
   Sara                     Woods                              $50.00
   Laura                    Woodside                          $100.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Elana                     Woodward                            $20.00
   Elana                     Woodward                            $30.00
   Elana                     Woodward                            $40.00
   Jeanne                    Woodward                           $100.00
   Kimberly                  Woodward                            $80.00
   Linda                     Woodward                            $50.00
   Shannon                   Woodworth                           $50.00
   Brooke                    Woody                               $50.00
   Angie                     Wooldridge                          $50.00
   Nancy                     Woolf                              $100.00
   Sarah                     Woolley                            $100.00
   Kristen                   Woon                                $50.00
   Molly                     Wooster                            $212.50
   Candice                   Wooten                             $120.00
   Kristina                  Wooten                              $50.00
   Clayton                   Worfolk                             $80.00
   Colleen                   Worlton                             $50.00
   Sally                     Worthge                            $100.00
   Alison                    Worthington                         $40.00
   Danielle                  Wrather                            $100.00
   Amy                       Wright                              $50.00
   Amy                       Wright                             $100.00
   Betsy                     Wright                              $50.00
   Betsy                     Wright                              $50.00
   Betsy                     Wright                              $50.00
   Betsy                     Wright                              $50.00
   Carol                     Wright                             $200.00
   Carol                     Wright                             $300.00
   Deborah                   Wright                              $25.00
   Donna                     Wright                             $100.00
   Elizabeth                 Wright                              $80.00
   Elizabeth                 Wright                              $80.00
   James                     Wright                             $250.00
   Joyce                     Wright                             $100.00
   Kasey                     Wright                             $200.00
   Kathryn                   Wright                              $50.00
   Kathryn                   Wright                             $100.00
   Kyle                      Wright                              $50.00
   Marcia                    Wright                              $80.00
   Marlene                   Wright                              $50.00


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   Buyer First Name          Buyer Last Name         Gift Card Amount
   Megan                     Wright                              $40.00
   Michelle                  Wright                              $50.00
   Pamela                    Wright                              $50.00
   Rachel                    Wright                              $30.00
   Rachel                    Wright                             $220.00
   Robert                    Wright                              $50.00
   Rochelle                  Wright                              $50.00
   Rochelle                  Wright                             $100.00
   Scott Elaine              Wright-Case                        $250.00
   Jane                      Wrightson                          $100.00
   Jonathan                  Wrobel                              $40.00
   Shawn                     Wrobel                             $160.00
   Kathy                     Wroblewski                          $50.00
   Hayley                    Wrubel                             $100.00
   Anna                      Wu                                  $10.00
   Anna                      Wu                                  $50.00
   Carol                     Wu                                  $50.00
   Charlene                  Wu                                 $100.00
   Emily                     Wu                                  $30.00
   Emily                     Wu                                  $30.00
   Emily                     Wu                                  $30.00
   Emily                     Wu                                  $30.00
   Emily                     Wu                                  $30.00
   Emily                     Wu                                  $40.00
   Emily                     Wu                                  $40.00
   Eva                       Wu                                 $150.00
   Frank                     Wu                                  $80.00
   Grace                     Wu                                  $25.00
   Jonathan                  Wu                                 $200.00
   Julia                     Wu                                  $50.00
   Karen                     Wu                                 $100.00
   Kevin                     Wu                                  $30.00
   Pam                       Wu                                  $42.50
   Pam                       Wu                                  $42.50
   Patricia                  Wu                                 $100.00
   Samantha                  Wu                                  $50.00
   Shelley                   Wu                                  $50.00
   Victoria                  Wu                                  $80.00
   Vivian                    Wu                                  $50.00
   Stacey                    Wueste                              $50.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Jonathan                  Wujcik                              $100.00
   Nina                      Wurster                             $150.00
   Jonathan                  Wyandt                               $20.00
   Christy                   Wyatt                               $212.50
   Lindsay                   Wyler                               $150.00
   Jenna                     Wyman                               $250.00
   Michele                   Wymer                               $100.00
   Gillian                   Wynn                                 $80.00
   Rhoda                     Wynn                                $100.00
   Jeannie                   Wynne                                $50.00
   Tom                       Wynne                                $75.00
   Florina                   Xhabija                             $100.00
   Sylvie                    Xieng                               $200.00
   Shelly                    Xiong                               $250.00
   Irene                     Xu                                  $235.00
   Jin                       Xu                                  $100.00
   Lai                       Xu                                  $200.00
   Susan                     Xu                                  $100.00
   X                         Y                                    $50.00
   Kari                      Y.                                  $100.00
   Katherine                 Yablonsky                            $50.00
   Odessa                    Yabut                                $50.00
   Mie                       Yaginuma                             $75.00
   Pavani                    Yalamanchili                        $100.00
   Kim                       Yale                                 $50.00
   Melissa                   Yamada                              $102.00
   Lynn                      Yamagata                             $25.00
   Akiko                     Yamaguchi                            $50.00
   John                      Yamaguchi                           $132.50
   Marci                     Yamaguchi Hughes                     $40.00
   Audrey                    Yamamoto                            $100.00
   Dorothy                   Yamamoto                             $42.50
   Helen                     Yamamoto                             $50.00
   Julie                     Yamamoto                             $50.00
   Lauren                    Yamamoto                            $200.00
   Lindsay                   Yamamoto                             $50.00
   Sherry                    Yamamoto                             $50.00
   Terri                     Yamamoto                             $50.00
   Lisa                      Yamamura                            $150.00
   Allison                   Yamanashi                            $25.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Esther                    Yamano                              $250.00
   Alden                     Yan                                  $50.00
   Amanda                    Yan                                  $50.00
   Amanda                    Yan                                  $50.00
   Belinda                   Yan                                 $100.00
   Cecilia                   Yan                                  $70.00
   Christina                 Yan                                  $50.00
   Susan                     Yan                                 $100.00
   Diana                     Yanez-Pastor                         $50.00
   Barbara                   Yang                                 $30.00
   Chingham                  Yang                                 $50.00
   Chingham                  Yang                                $250.00
   Cynthia                   Yang                                $100.00
   Desiree                   Yang                                $100.00
   Jenny                     Yang                                 $50.00
   Joyce                     Yang                                 $25.00
   Joyce                     Yang                                 $25.00
   Kathie                    Yang                                 $40.00
   Mylinh                    Yang                                 $50.00
   Peggy                     Yang                                $100.00
   Serena                    Yang                                 $39.00
   Sophia                    Yang                                $100.00
   Yukiko                    Yano                                 $50.00
   Jennifer                  Yao                                  $80.00
   Simo                      Yao                                  $50.00
   Ollie                     Yarbrough                            $50.00
   Tania                     Yarema                               $50.00
   Vivian                    Yasutake                            $250.00
   Beverly                   Yates                                $30.00
   Kristina                  Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00
   Linda                     Yates                                $50.00


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   Buyer First Name         Buyer Last Name       Gift Card Amount
   Linda                    Yates                             $50.00
   Linda                    Yates                             $50.00
   Linda                    Yates                             $50.00
   Linda                    Yates                             $50.00
   Linda                    Yates                             $50.00
   Linda                    Yates                             $50.00
   Linda                    Yates                             $50.00
   Linda                    Yates                             $80.00
   Linda                    Yates                             $80.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $100.00
   Linda                    Yates                            $250.00
   Linda                    Yates                             $50.00
   Regev                    Yativ                            $100.00
   Daisy                    Yau                               $50.00
   Leilani                  Yau                               $21.25
   Faith                    Ybanez                           $200.00
   Caroline                 Yeager                           $150.00
   Erik                     Yeager                           $250.00
   Lilly                    Yeatman                          $150.00
   Lilly                    Yeatman                          $150.00
   Andrew                   Yee                              $100.00
   Christian                Yee                               $50.00
   Christian                Yee                               $50.00
   Dorothy                  Yee                               $50.00
   Eleanor                  Yee                               $90.00
   Evan                     Yee                               $75.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Frances                   Yee                                $50.00
   Frances                   Yee                                $50.00
   Gina                      Yee                                $50.00
   Grant                     Yee                               $250.00
   Jessica                   Yee                               $100.00
   Joanne                    Yee                                $75.00
   Joanne                    Yee                                $75.00
   Juliana                   Yee                               $100.00
   Kristin                   Yee                               $100.00
   Lisa                      Yee                               $100.00
   Alvina                    Yeh                               $100.00
   Charlie                   Yeh                               $150.00
   Jenny                     Yelin                             $100.00
   Erica                     Yen                               $100.00
   Jessica                   Yen                                $42.50
   Kari                      Yen                                $25.00
   Paul                      Yen                               $100.00
   Lisa                      Yepez                             $102.00
   Ben                       Yeung                              $42.50
   Courtney                  Yeung                             $100.00
   Jina                      Yi                                $100.00
   Amy                       Yim                               $160.00
   Elaine                    Yim                               $100.00
   Lisa                      Yim                                $85.00
   Jessie                    Yin                                $63.75
   Anne                      Yip                               $100.00
   Caitlin                   Yip                                $50.00
   Cecilia                   Yo                                 $50.00
   Dori                      Yob Kilmer                        $200.00
   Jaimal                    Yogis                             $100.00
   Susan                     Yokoro                            $212.50
   Myra                      Yomjinda                          $150.00
   Myra                      Yomjinda                          $150.00
   Brandon                   Yoneda                            $127.50
   Jan                       Yonemoto                           $50.00
   Cathryn                   Yongue                            $100.00
   Christine                 Yoo                                $50.00
   Esther                    Yoon                               $60.00
   Jeanie                    Yoon                              $100.00
   Christine                 York                              $100.00


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   Buyer First Name          Buyer Last Name          Gift Card Amount
   Emily                     York                                 $40.00
   Kara                      York                                 $30.00
   Marie                     Yoshidome                            $25.00
   Karen                     Yoshihara-Ha                         $50.00
   Lori                      Yoshinaga                            $65.00
   Erin                      Yoshino                             $100.00
   Rebecca                   Yost                                 $50.00
   Lisa                      Youel                               $100.00
   Lisa                      Youel                               $100.00
   Paul                      Youn                                $100.00
   Sara                      Youn                                 $25.00
   Alexis                    Young                               $100.00
   Anne                      Young                                $50.00
   Chris                     Young                               $100.00
   Cornelia                  Young                               $100.00
   David                     Young                                $50.00
   Gloria                    Young                                $50.00
   Hannah                    Young                                $50.00
   Janelle                   Young                                $40.00
   Jen                       Young                                $80.00
   Jennifer                  Young                               $100.00
   Jenny                     Young                               $100.00
   Joanne                    Young                                $25.00
   Julie                     Young                               $100.00
   Julie                     Young                               $100.00
   Julie                     Young                               $250.00
   Karina                    Young                               $100.00
   Keri                      Young                               $100.00
   Lauren                    Young                                $40.00
   Lauren                    Young                                $50.00
   Lauren                    Young                               $100.00
   Lindsay                   Young                               $120.00
   Melinda                   Young                                $50.00
   Rahul                     Young                               $200.00
   Sean                      Young                                $47.50
   Stephen                   Young                                $50.00
   Stephen                   Young                               $100.00
   Taylor                    Young                               $100.00
   Teresa                    Young                                $35.00
   Teresa                    Young                                $40.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Teresa                    Young                              $40.00
   Teresa                    Young                              $50.00
   Tim                       Young                              $50.00
   Vanessa                   Young                              $50.00
   Vanessa                   Young                              $50.00
   Vanessa                   Young                             $100.00
   Vicki                     Young                              $50.00
   Victoria                  Young                              $40.00
   John                      Younger                            $50.00
   Larry                     Younger                           $150.00
   Sharon                    Youngers                           $50.00
   Kelli                     Youngson                          $100.00
   Cathey                    Youngswick                         $50.00
   Bess & Austin             Yount                              $50.00
   Aria L                    Yow                                $60.00
   Devon                     Ysaguirre                          $50.00
   Andrew                    Ysursa                             $50.00
   Andrew                    Ysursa                             $50.00
   Anna                      Yu                                 $75.00
   Arry                      Yu                                 $85.00
   Catherine                 Yu                                 $50.00
   Daniel                    Yu                                $100.00
   Ed                        Yu                                $100.00
   Emily                     Yu                                $100.00
   Grace                     Yu                                 $50.00
   Heidi                     Yu                                $100.00
   Iris                      Yu                                $150.00
   Jennifer                  Yu                                 $50.00
   Jennifer                  Yu                                $150.00
   Justine                   Yu                                 $25.00
   Melissa                   Yu                                 $30.00
   Sherry                    Yu                                 $40.00
   Tom                       Yu                                 $50.00
   Angie                     Yuan                               $50.00
   Leslie                    Yuan                               $50.00
   Leslie                    Yuan                              $100.00
   Sylvia                    Yuan                               $60.00
   Marie                     Yuann                              $50.00
   Amie                      Yudice                            $100.00
   Carolyn                   Yuen                              $100.00


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   Buyer First Name          Buyer Last Name           Gift Card Amount
   Christine                 Yuen                                  $50.00
   Christine                 Yuen                                 $250.00
   Darren                    Yuen                                  $50.00
   K                         Yuen                                 $130.00
   Annie                     Yum                                   $50.00
   Iwei                      Yun                                   $50.00
   Janice                    Yun                                  $170.00
   Tricia                    Yurch                                 $50.00
   Tricia                    Yurch                                $100.00
   Tricia                    Yurch                                $100.00
   Ben                       Yurman-Glaser                         $50.00
   Ben                       Yurman-Glaser                         $75.00
   Alla                      Yuryev                                $50.00
   Kurt                      Yusi                                  $42.50
   Tiffany                   Zabala                                $50.00
   May                       Zabaneh                               $50.00
   Andrew                    Zabel                                $100.00
   Kessondra                 Zachary                               $20.00
   Lauren                    Zachry                                $50.00
   Lisa                      Zachry                               $100.00
   Gabrielle                 Zadra                                $100.00
   Sarwat                    Zafarullah                            $42.50
   Jennifer                  Zagelow                               $50.00
   Alyssa                    Zagrobski                             $50.00
   Linda                     Zagula                                $50.00
   Debbie                    Zaha                                 $100.00
   Vanessa                   Zajfen                               $100.00
   Landon                    Zaki                                  $75.00
   Katy                      Zalar                                 $48.00
   Lynne                     Zaledonis                             $75.00
   Lesley                    Zalewski                              $50.00
   Lesley                    Zalewski                              $50.00
   Rachael                   Zambias                              $100.00
   Mena                      Zaminsky                             $100.00
   Mena                      Zaminsky                             $100.00
   Helena                    Zandstra                              $50.00
   Helena                    Zandstra                             $100.00
   Jennifer                  Zanotto                               $50.00
   Carly                     Zapata                                $50.00
   Josue                     Zapata                                $50.00


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   Buyer First Name          Buyer Last Name        Gift Card Amount
   Kathleen                  Zapata                             $25.00
   June                      Zappa                             $250.00
   Tiffany                   Zarem                              $30.00
   Michelle                  Zassenhaus                         $50.00
   Dana                      Zdanis                            $240.00
   Traci                     Zech                               $50.00
   Eugene                    Zegar                             $100.00
   Kristen                   Zeitzer                            $50.00
   Michael                   Zelickson                          $40.00
   Denise                    Zeller                             $80.00
   Jennifer                  Zeller                             $50.00
   Jennifer                  Zeller                             $50.00
   Jami                      Zellner                            $50.00
   Lise                      Zeloof                            $100.00
   Jamie                     Zembruski                         $100.00
   Jennifer                  Zembrzuski                        $120.00
   Lauren                    Zemer                              $40.00
   Kate                      Zeng                              $100.00
   Daphne                    Zenk                               $25.00
   Daphne                    Zenk                               $50.00
   Monica                    Zepeda                            $200.00
   Aileen                    Zerbonia                           $42.50
   Lisa                      Zerkel                             $50.00
   Jessica                   Zeta                               $50.00
   Jessica                   Zeta                              $150.00
   Richard                   Zevin                              $50.00
   Amy                       Zhang                              $50.00
   Kathy                     Zhang                             $100.00
   Siying                    Zhang                             $100.00
   Yuxi                      Zhang                              $50.00
   Claire                    Zhao                              $120.00
   Sally                     Zhao                               $50.00
   Myra                      Zheng                              $50.00
   Judy                      Zhong                              $50.00
   Yuda                      Zhu                               $150.00
   John                      Zialcita                          $100.00
   Emily                     Ziedman                            $50.00
   Kat                       Zigmont                            $50.00
   Jill                      Zihar                             $250.00
   Marguerite                Zimbaldi                          $250.00


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   Buyer First Name         Buyer Last Name        Gift Card Amount
   Krissy                   Zimmer                             $50.00
   Donna                    Zimmerman                          $75.00
   Margaret                 Zimmerman                         $100.00
   Sharon                   Zimmerman                          $50.00
   Sharon                   Zimmerman                          $50.00
   Catherine                Zimmermann                         $50.00
   Catherine                Zimmermann                         $50.00
   Catherine                Zimmermann                        $100.00
   Catherine                Zimmermann                        $250.00
   Leah                     Zimmon                            $210.00
   Michelle                 Zipperman                         $150.00
   Bronwen                  Zitrides                          $250.00
   Ashley                   Zitrin                             $50.00
   Ashley                   Zitrin                             $50.00
   Patricia                 Zobel                              $50.00
   Susan                    Zolezi                             $50.00
   Michelle                 Zolezzi                           $100.00
   Michelle                 Zolezzi                           $100.00
   Whitney                  Zoller                             $50.00
   Stephen                  Zoog                              $150.00
   Chad                     Zook                               $50.00
   Sandy                    Zook                              $100.00
   Yvonne                   Zorn                               $50.00
   Lucy                     Zou                               $150.00
   Rachel                   Zubaty                            $100.00
   Elaine                   Zuber                              $85.00
   Kaitlyn                  Zuber                              $50.00
   Brian                    Zuckerman                          $42.50
   Katharine                Zuckerman                          $40.00
   Breanna                  Zwart                              $45.00
   Breanna                  Zwart                             $250.00
   Marleen                  Zwiers                            $100.00
   Rachel                   Zwillinger                         $40.00
   Adam                     Zyferman                         $1,620.00
   Michael                  Zyracki                            $50.00
   Kiva                     Zytnick                            $50.00
   Parissa                                                    $300.00
   Total:                                               $1,533,030.02




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   Buyer First Name     Buyer Last Name          Gift Card Amount
   A                    A                                       $0.25
   J                    A                                      $12.80
   Liz                  A                                       $5.20
   Aaaa                 Aaaa                                  $100.00
   Shelley              Aanes                                   $7.20
   Larissa              Aarsheim                                $3.25
   Alison               Aarts                                  $80.00
   Beverly              Aarts                                  $73.40
   Mitch                Abad                                   $64.27
   Farrah               Abano                                  $57.70
   Rachel               Abaqueta Leluc                         $50.00
   Harry                Abarca                                 $19.10
   Jess                 Abate                                 $110.56
   Kathy                Abbey                                  $65.10
   Sarah                Abbey                                   $2.80
   Kathleen             Abbott                                  $6.81
   Katrina              Abbott                                $157.50
   Khaled               Abdel Rahman                           $38.10
   Aisha                Abdulaziz                               $1.20
   Janice               Abe                                     $6.75
   Tyler                Abe Mysen                              $93.79
   Lexi                 Abel                                   $63.04
   Lita                 Abel                                   $60.70
   Mallory              Abelhouzen                              $2.50
   Ann                  Abell                                   $0.74
   Megan                Abels                                 $159.40
   Lou Anne             Aber                                   $58.18
   Maura                Abernethy                              $48.00
   Joy                  Abesamis                               $71.85
   Sam                  Abeyratne                              $82.22
   Ted                  Abeyta                                 $99.35
   Namrata              Abhyankar                              $11.29
   Syed                 Abidi                                   $6.25
   Hanna                Abi-Hanna                               $0.65
   Trine                Abildgren                             $138.45
   Selma                Abinader                               $21.35
   Amalia               Aboitiz                                 $0.80
   Nadia                Abouata                                 $1.20
   Georgann             Abraham                                $26.55
   Nicole               Abraham                                $72.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jennifer             Abrahams                                $0.16
   Jake                 Abrams                                  $6.75
   Jan                  Abrams                                 $15.43
   Kathryn              Abrams                                 $81.50
   Kim                  Abrams                                $304.50
   Paige                Abrams                                  $1.23
   Royce                Abrams                                 $81.55
   Leslie               Abramson                                $0.80
   Lisa                 Abramson                                $2.40
   Liza                 Abregana                                $7.30
   Talitha              Abreu                                 $250.00
   Dyniece              Abril                                  $19.20
   Dj                   Abruzzo                                $42.38
   Trey                 Abston                                  $1.57
   Yvonne               Abt                                    $66.15
   Rebecca              Abts                                    $8.45
   Tala                 Accary                                $100.00
   Gino                 Accuardi                                $3.70
   Justina              Acevedo-Cross                           $0.15
   Suraj                Acharya                               $300.00
   Zoe                  Acher                                  $28.10
   Gigi                 Acker                                  $28.95
   Paula                Acker                                   $8.35
   Peter                Acker                                 $190.00
   Jaime                Ackerhalt                               $7.00
   Sharon               Ackerlund                              $61.62
   Rebecca              Ackerman                              $125.49
   Elizabeth            Ackert                                  $3.15
   Bruce                Ackley                                  $3.50
   Courtney             Ackley                                  $0.57
   Brian                Ackrell                               $231.06
   Wesley               Acland                                  $6.50
   Carmen               Acosta                                 $16.10
   Nancy                Acosta                                  $8.40
   Karen                Adair                                  $15.21
   Andrea               Adams                                 $117.75
   Bonnie               Adams                                 $174.15
   Carolyn              Adams                                  $15.65
   Casey                Adams                                  $50.00
   Clara                Adams                                 $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Dana                 Adams                                   $1.57
   Diane                Adams                                   $2.20
   Elizabeth            Adams                                   $0.25
   Gayle                Adams                                 $251.20
   Howard               Adams                                 $111.05
   Jama                 Adams                                  $30.20
   Janee                Adams                                 $100.00
   John                 Adams                                 $100.00
   Joshua               Adams                                 $100.00
   Kate                 Adams                                  $19.53
   Kevin                Adams                                  $39.20
   Laura                Adams                                  $17.35
   Laura                Adams                                  $39.50
   Linda                Adams                                   $8.29
   Patrick              Adams                                 $245.25
   Renee                Adams                                  $21.90
   Rick                 Adams                                  $24.17
   Johannah             Adams-King                             $12.95
   Michelle             Adao                                    $0.40
   Gabriel              Adauto                                 $10.10
   Ryan                 Adcock                                $157.90
   Sheila               Addiego                                $92.70
   Sammit               Adhya                                   $0.20
   Sumona               Adhya                                  $38.76
   Laya                 Adib                                    $0.67
   Elizabeth            Adinolfi                               $19.16
   Lou                  Adipietro                               $2.45
   Katie                Adjibly                                $50.00
   Justin               Adler                                   $2.85
   Maren                Adler                                  $32.60
   Tracey               Adler                                  $22.80
   Sarah                Adler-Mcdonald                        $127.74
   Rima                 Adusumalli                            $109.60
   Tiffany              Ady                                    $61.15
   M                    Afable                                  $6.71
   Ofri                 Afek                                  $100.00
   Laurie               Affatato                                $0.20
   Hollyjane            Agabao                                 $61.11
   Maria Celeste        Agana                                 $206.63
   Vitali               Agapov                                  $3.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Ashima               Agarwal                                $37.07
   Jyoti                Agarwal                               $181.06
   Suzanne              Agasi                                  $93.30
   Raymark              Agbayani                              $100.00
   Jennifer             Agee                                   $46.35
   Maureen              Aggeler                               $168.56
   Alicia               Aghevli                                $14.20
   Kate                 Aghevli                               $462.15
   Kaveh                Aghevli                                $24.15
   Sherry               Agnos                                  $35.50
   Patricia             Agostino                                $0.09
   Anant                Agrawal                                 $2.97
   Rahul                Agrawal                                $17.70
   Renu                 Agrawal                                 $8.30
   Sachin               Agrawal                                $16.60
   Brooke               Agresti                                $13.15
   Israel               Aguayo                                  $5.15
   Brooke               Aguiar                                 $50.15
   Samantha             Aguila                                 $37.65
   America              Aguilar                                 $0.05
   Charles              Aguilar                                $68.20
   James                Aguilar                                 $1.20
   Jessica              Aguilar                                 $3.50
   Aracely              Aguilera                               $72.25
   Marco                Aguilera                                $6.35
   Ana                  Aguirre                                $25.00
   Veronica             Aguirre                               $142.05
   Erica                Agustin                                 $5.95
   Molly                Ahearn                                 $66.14
   Larry                Ahern                                  $27.85
   Amy                  Ahlers                                 $13.89
   Rhonda               Ahmad                                  $16.10
   Hakim                Ahmadi                                  $0.26
   Ayman                Ahmed                                  $25.10
   Rachel               Ahmed                                  $12.78
   Aileen               Ah-Tyr                                $150.00
   Dominique            Ahumada                               $300.00
   Nicole               Ahuna                                  $47.50
   Thomas               Ai                                    $149.30
   Annette              Aiello                                 $71.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Carla                Aiello                                  $5.40
   John                 Aiello                                  $0.15
   Joanna               Aiken                                  $60.30
   Elayne               Aion                                    $0.30
   Jen                  Airhart                                $21.55
   Janine               Ajalat                                 $47.30
   Pamela               Akazawa                                $14.15
   David                Akers                                 $229.95
   Meredith             Akers                                  $21.10
   Tammytha             Akers                                  $12.90
   Zack                 Akers                                 $125.92
   Ari                  Akerstein                             $210.20
   Michelle             Akerstein                             $100.00
   Lydia                Akhzar                                  $0.15
   Crystal              Akimoto                                $14.70
   Susan                Akimoto                                 $1.89
   Kumi                 Akinaga                               $160.15
   Bola                 Akinsanya                              $27.05
   Veli                 Akman                                   $4.60
   Maya                 Akpinar                                $25.30
   Leslie               Akst                                   $18.83
   Katherine            Akyuz                                   $0.59
   Christopher          Alabastro                               $3.45
   Deepa                Alagesan                               $15.32
   Priyanthi            Alahendra                             $157.39
   Molly                Alaimo                                  $4.75
   Jordan               Alam                                    $1.15
   Claudia              Alarcon                               $110.35
   Joyce                Alarcon                                $32.20
   Sam                  Alba                                    $3.25
   Mandy                Albanese                               $18.20
   Alyson               Albano                                 $55.80
   Kate                 Albee                                   $4.27
   Kevin                Albers                                  $5.30
   Jessica              Albert                                 $76.60
   Joshua               Albert                                  $2.76
   Annalisa             Alberti                                 $9.70
   Michelle             Albertoni                               $1.00
   Michele              Alberts                                 $2.00
   Christine            Albin                                  $23.10

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Achim                Albrecht                                 $79.40
   Christy              Albright                                 $40.20
   Benjamin             Albritton                                 $4.65
   Sophie               Alcorn                                    $0.91
   Amanda               Alden                                    $90.60
   Lindsey              Alden                                   $100.00
   Kasey                Alderete                                  $9.70
   Abraham              Aldrete                                   $4.70
   Mark                 Aldrich                                 $150.00
   Sandy                Aldrich                                  $21.65
   Lindsey              Aldridge                                 $50.00
   Susie                Alegria                                   $0.40
   Simon                Alejandrino                               $5.82
   Mabel                Alejandro                                $47.76
   Alexis               Alekna                                  $206.15
   Antonio              Alencar                                  $42.90
   Anne                 Alexader                                 $16.15
   Alexandria           Alexander                                 $4.95
   Angie                Alexander                                $49.65
   Azar                 Alexander                                 $6.46
   Camille              Alexander                                $17.28
   Carol                Alexander                                $22.08
   Irene                Alexander                                 $8.95
   James                Alexander                               $156.45
   Jerry                Alexander                                $63.65
   Jodi                 Alexander                                $50.00
   Rachel               Alexander                                $59.85
   Reiss                Alexander                                 $0.30
   Sue                  Alexander                                $27.80
   Vanessa              Alexander                                 $1.85
   Victoria             Alexander                                 $2.95
   Lori                 Alexa-Smith                              $64.20
   Colton               Alexio                                    $9.60
   Kristy               Alfieri                                   $3.00
   Andrea               Alfonso                                   $4.20
   Lissette             Alfonso                                  $62.05
   Darren               Ali                                       $6.55
   Kazim                Ali                                      $33.28
   Muhammad             Ali                                     $105.30
   Waheeda              Ali                                     $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Maggie               Aliabadi                                $50.00
   Jayn                 Alice                                   $51.30
   Anne                 Ali-Loytty                               $1.25
   Rebecca              Alimena                                  $2.10
   Anar                 Alimov                                  $32.02
   Aluah                Alishlah                                 $7.10
   Anita                Alkire                                   $2.28
   Miriam               Alkon                                    $4.82
   Ahmed                Alkoraishi                              $25.00
   Fiona                Allan                                  $226.40
   Fiona                Allan                                    $4.00
   Kathleen             Allan                                   $20.00
   Robin                Allan                                  $102.20
   Adina                Allen                                  $153.55
   Amy                  Allen                                    $0.60
   Andrea               Allen                                    $8.95
   Barbara              Allen                                   $28.95
   Ben                  Allen                                   $50.00
   Beth                 Allen                                   $21.10
   Corey                Allen                                   $86.50
   Corinne              Allen                                   $22.22
   Corinne              Allen                                    $9.20
   Courtney             Allen                                    $0.25
   Hannah               Allen                                    $2.15
   James                Allen                                    $2.15
   Jeff                 Allen                                  $193.10
   Jill                 Allen                                   $41.50
   Joanna               Allen                                    $0.10
   Joe                  Allen                                   $35.10
   Karna                Allen                                   $20.50
   Kathy                Allen                                    $7.70
   Kenneth              Allen                                   $82.15
   Kim                  Allen                                   $50.00
   Marissa              Allen                                   $18.65
   Mary                 Allen                                  $175.74
   Matt                 Allen                                    $2.75
   Molly                Allen                                    $0.05
   Natasha              Allen                                   $33.25
   Nemo                 Allen                                    $4.10
   Sharon               Allen                                    $0.16

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Suzy                 Allen                                   $50.00
   Julia And David      Allenby                                $100.00
   Eve                  Alley                                    $6.10
   Margie               Allgaier                               $100.00
   Erikka               Allhusen                                $26.70
   Nora                 Allibhai                                $71.60
   Jay                  Allison                                  $0.45
   Julie                Allison                                  $0.20
   William              Allison                                  $5.95
   Chauncie             Allred                                  $25.78
   Leyla                Allum                                   $22.85
   Emily                Almaer                                  $75.00
   Lucy                 Almers                                   $5.25
   Alex                 Almodovar                              $136.51
   William              Almon                                   $50.00
   Susyn                Almond                                   $0.30
   Jasmine              Alo                                      $2.09
   Melissa              Alofaituli                              $18.20
   Jess                 Aloisio                                 $38.13
   Loriann              Alonso                                   $4.10
   Steve                Alonzo                                  $10.37
   Christina            Alosi                                   $56.06
   Naomi                Alouf                                   $23.25
   Kate                 Alper                                    $0.90
   Caren                Alpert                                  $18.50
   Emily                Alpren                                 $147.05
   Carol                Alred                                    $2.65
   John                 Alston                                  $10.76
   Rebecca              Altamirano                             $142.95
   Shirish              Altekar                                 $89.60
   Charles              Altekruse                              $923.90
   Bj                   Althoff                                 $19.28
   Mary                 Altice                                 $100.00
   Eda                  Altiok                                  $26.90
   Deanna               Altman                                 $171.55
   Rodney               Altman                                  $40.95
   Mary                 Altshuler                                $0.35
   Sam                  Altshuler                               $20.51
   Kelly                Alvarado                                $49.30
   Serena               Alvarado                                 $0.01

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Erin                 Alvarez                                $53.75
   Jenni                Alvarez                                $25.00
   Laura                Alvarez                                $50.00
   Lulu                 Alvarez                                 $1.06
   Patricia             Alvarez                                 $8.95
   Rebecca              Alvarez                               $121.65
   Robin                Alvarez                                $48.95
   Fred                 Alvaro                                 $50.00
   Nicole               Alvino                                $108.60
   Beth                 Alyse                                  $13.40
   Sophia               Alyssa                                  $1.05
   Amaayala             Amaayala                                $0.30
   Nina                 Amadeus                                $29.10
   Clifteen             Amador                                 $30.25
   Karla                Amador-Lum Lung                        $68.80
   Renaud               Amar                                   $15.95
   Adrian               Amaro                                   $1.35
   Greg                 Amarra                                $100.00
   Monica               Amaya                                  $46.15
   Avanti               Ambekar                                $26.50
   Mike                 Ambs                                    $7.55
   Joann                Ames                                  $151.70
   Lucy                 Ames                                    $5.95
   Tony                 Amezquita                              $48.25
   Aara                 Amidi-Nouri                           $629.46
   Ayaz                 Amin                                   $10.66
   Karen                Amin                                    $0.19
   Shelly               Amin                                  $165.95
   Malekeh              Amini                                 $100.00
   John                 Amirabbassi                            $65.00
   Saied                Amiry                                  $61.56
   Seth                 Ammerman                               $50.00
   Behzad               Amoozgar                                $3.55
   Robert               Amos                                  $295.33
   Lorraine             Ampaw                                 $105.87
   Vinar                Amrutia                                 $4.40
   Kim                  Amsbaugh                               $26.30
   Nikki                An                                     $47.30
   Kimberly             Anakata                                $10.70
   Hilary               Anand                                  $58.90

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Tarini               Anand                                    $67.11
   Jon                  Anastasakis                              $51.75
   Aaron                Andalman                                $128.56
   Liz                  Andarcia                                 $22.05
   Maurice              Andary                                   $43.20
   Martina              Andera                                    $1.15
   Fiona                Anderberg                                $13.65
   Ann Marie            Anderer                                  $39.20
   Max                  Anders                                    $0.68
   Brodie               Andersen                                  $0.50
   Cathrine             Andersen                                  $1.90
   Janine               Andersen                                 $35.50
   Kristen              Andersen                                 $71.10
   Pj                   Andersen                                $122.05
   Rebecca              Andersen                                 $15.18
   Ryan                 Andersen                                 $77.70
   Ryan                 Andersen                                 $25.45
   Steve                Andersen                                 $22.84
   Adam                 Anderson                                 $19.85
   Amanda               Anderson                                 $83.00
   Amy                  Anderson                                 $54.80
   Andrew               Anderson                                  $8.95
   Bennett              Anderson                                  $1.81
   Brian                Anderson                                 $19.02
   Britt                Anderson                                $250.00
   Christina            Anderson                                 $62.65
   Christine            Anderson                                 $26.30
   Constance            Anderson                                  $4.60
   Constance            Anderson                                  $6.95
   Corienne             Anderson                                 $50.00
   Crissy               Anderson                                 $44.00
   Dale                 Anderson                                 $50.00
   Deb                  Anderson                                 $35.80
   Emilie               Anderson                                  $0.20
   Erie                 Anderson                                  $0.31
   Grace                Anderson                                 $59.75
   Heather              Anderson                                  $5.84
   Janice               Anderson                                  $1.25
   Jeffrey              Anderson                                  $9.45
   Jen                  Anderson                                 $63.31

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jennifer             Anderson                               $17.74
   Joie                 Anderson                               $11.82
   Joy                  Anderson                               $36.96
   Kate                 Anderson                                $8.95
   Kimberly             Anderson                                $8.95
   Kylie                Anderson                                $0.55
   Laura                Anderson                               $15.07
   Lauren               Anderson                                $9.82
   Leslie               Anderson                              $106.10
   Mary                 Anderson                              $127.36
   Matt                 Anderson                                $1.90
   Megan                Anderson                              $917.65
   Meghan               Anderson                                $1.92
   Nick                 Anderson                                $1.44
   Nick                 Anderson                               $62.30
   Nolan                Anderson                              $180.05
   Sarah                Anderson                               $15.43
   Sarvi                Anderson                               $50.00
   Scott                Anderson                               $18.95
   Shea                 Anderson                               $40.40
   Tim                  Anderson                               $13.50
   Timothy              Anderson                               $19.51
   Cara                 Anderson-Ahrens                         $2.00
   Melanie              Anderson-Kong                           $0.33
   Caroline             Andler                                  $0.11
   Joe                  Andolina                                $1.95
   Cesar                Andrade                                $24.60
   Chandra              Andrade                               $159.00
   Manny                Andrade                                $50.90
   Patricia             Andre-Edgar                             $0.85
   Pamela               Andres-Elias                            $0.20
   Cherlene             Andresen                               $34.55
   Lisa                 Andrew                                  $6.35
   Ben                  Andrews                                 $1.73
   Carolann             Andrews                                $27.46
   Elizabeth            Andrews                                 $4.55
   Julie                Andrews                               $103.40
   Lindsay              Andrews                                $54.05
   Mark                 Andrews                                $68.60
   Nancy                Andrews                                $67.35

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Nasim                Andrews                                  $65.30
   Rick                 Andrews                                   $7.85
   Susan                Andrews                                  $16.24
   Bonnie               Andryeyev                                $25.75
   Minymoh              Anelone                                  $75.65
   Daren                Ang                                      $30.40
   Kelly                Angel                                    $50.00
   Julia                Angell                                    $6.80
   Amanda               Angelo                                  $189.10
   Catherine            Angelo                                   $50.00
   Paden                Angelo                                   $48.85
   Drew                 Angeloff                                $250.00
   Eric                 Angelosanto                              $12.51
   Amy                  Angerami                                $178.20
   Vickie               Angie                                     $8.20
   Sheena               Angier                                   $11.75
   Fabio                Angius                                   $15.60
   Nathan               Angle                                    $12.10
   Heather              Angove                                   $61.40
   Sarah                Anker                                    $33.05
   Arden                Anlian                                    $7.15
   Shreya               Annamalai                               $477.30
   Lydia                Anne                                    $181.01
   Sudheer              Anne                                      $2.45
   Kevin                Annett                                    $1.67
   Qmars                Ansari                                    $2.55
   Kris                 Anthony                                 $136.55
   Porus                Antia                                   $100.00
   Nicholas             Anton                                    $11.60
   Darren               Antoniello                               $16.44
   Anna Liza            Antonio                                   $8.15
   G Arthur             Antoniotti                               $32.10
   Rebecca              Anzalone                                 $72.15
   Winnie               Aoieong                                   $7.20
   Maria                Aoki                                    $293.30
   Jody                 Aoyagi                                   $39.30
   Alex                 Apatoff                                  $31.20
   Trine                Apfelberg                                $28.20
   Rick                 Apgar                                     $1.30
   Roxanna              Apodaca                                   $1.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Tomone               Apollo                                   $7.75
   Noemi                Aponte                                 $150.00
   Kimberly             Appel                                    $0.80
   Julia                Appelhans                               $30.15
   Lorna                Apper                                   $50.00
   Kristi               Appleby                                 $48.05
   Brian                Applegarth                               $7.50
   Tammy                Applegate                               $33.35
   Erica                Applestein                             $317.40
   Carrie               Apprill                                 $15.20
   Lia                  Aprile                                   $8.95
   Salil                Apte                                    $19.20
   Phillip              Aquilina                               $100.00
   Lisa                 Aquino                                  $72.60
   Marilou              Aquino                                 $100.00
   Ray                  Aquino                                  $50.35
   Lina                 Ar                                       $0.05
   Maria                Ara                                     $30.30
   Alex                 Aragon                                  $10.80
   Regina               Aragon                                  $67.20
   Lauren               Araki                                   $45.03
   Dani                 Arama                                   $20.10
   Tammy                Aramian                                  $3.60
   Andrew               Arana                                    $6.71
   Catherine            Aranda                                  $20.45
   Leah                 Arata                                    $8.10
   Jen                  Arbitrario                              $29.15
   Arleen               Arbolante                                $0.85
   Emily                Arbuckle                                $16.35
   Marivic              Arce                                    $38.75
   Michael              Arcega                                   $3.35
   Kathleen             Archambeau                              $38.15
   Candace              Archer                                  $60.15
   Darin                Archer                                  $65.97
   Johanna              Archipley                                $0.20
   Allan                Arcilla                                 $21.25
   Kelly                Arditi                                  $66.25
   Patricia             Arean                                   $75.00
   Jennifer             Arellano                                 $2.00
   Marise               Arena                                  $288.80

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Kay                  Arentsen                                 $18.82
   Arete                Arete                                    $48.50
   Danielle             Argenti                                   $0.71
   Llibert              Argerich                                  $9.25
   Yvette               Arguello                                 $59.35
   Hillary              Argyle                                    $0.60
   Michelle             Arias                                     $6.25
   Donna                Ariente                                   $0.35
   Ryan                 Arita                                    $36.15
   Aleksandar           Aritonovski                              $24.55
   Carolyn              Arkin                                     $1.50
   Katie                Arlan                                     $2.20
   Merle                Arlen                                   $114.15
   Elise                Armanino                                  $1.00
   Kristina             Armenakis                                 $4.34
   Maxwell              Armenta                                  $40.25
   Vanessa              Armijo                                  $150.00
   Leslie               Armistead                                $24.10
   Louise               Armour                                   $34.04
   Jonathan             Arms                                     $41.70
   Courtney             Armstrong                               $126.65
   Crystal              Armstrong                                 $2.10
   Eden                 Armstrong                                 $2.05
   Jen                  Armstrong                                 $2.60
   Wendy                Armstrong                               $145.16
   Roger                Arnemann                                 $29.70
   Kenn                 Arning                                    $6.59
   Luke                 Arno                                    $123.35
   Chris                Arnold                                   $70.68
   Valerie              Arnold                                   $25.20
   Wyatt                Arnold                                   $75.00
   Monica               Arone                                     $0.05
   Zaida                Aronovsky                                $22.30
   Neil                 Aronson                                 $144.00
   Anshuma              Arora                                   $100.00
   Ethan                Arpi                                     $56.75
   Genny                Arredondo                                 $2.57
   Lupe                 Arreola                                   $0.10
   Scott                Arrieta                                  $62.37
   Vinnie               Arrighi                                   $8.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Ondine               Arrow                                  $100.00
   Laura                Arroyo                                 $100.30
   Dana                 Arschin                                  $0.40
   Chris                Arteberry                                $0.55
   Alex                 Arthur                                  $24.85
   Jillanne             Arthur                                   $8.95
   Debbie               Artiano                                  $4.75
   Patricia             Artieda                                  $3.30
   Michael              Arya                                   $172.18
   Andrew               Arz                                    $150.00
   John                 Arzio                                    $4.15
   Yuuki                Asano                                    $9.55
   Lauren               Asarnow                                  $2.03
   Bettina              Asaro                                    $2.60
   Chris                Aschauer                                $39.65
   Alex                 Aschinger                               $40.80
   Grace                Ascuasiati                               $2.20
   Kelly                Ash                                    $391.85
   Michael              Ash                                     $48.40
   Amy                  Ashbaugh                                $54.55
   Madeleine            Ashdown                                 $50.75
   Brynn                Ashley                                  $53.85
   Jenni                Ashley                                   $0.30
   Jessica              Ashling                                 $50.00
   Ali                  Ashmead                                 $65.12
   Julie                Ashmun                                  $54.19
   Raghu                Ashok                                    $4.45
   Carrie               Ashton                                   $5.06
   Craig                Ashton                                   $0.10
   Jennifer             Ashton                                  $69.08
   Michael              Ashton                                  $50.00
   Sarah                Ashton                                  $73.15
   Julie                Asiano                                   $5.75
   Nicolette            Askew                                  $163.60
   Meka                 Asonye                                   $0.40
   Jennifer             Aspelin                                 $25.36
   Dana                 Aspillera                               $24.79
   Sarah                Assalino                                $16.35
   Amal                 Asseily                                $135.25
   Johanna              Aster                                   $11.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Genevieve            Astrelli                               $50.70
   Carrie               Atkin                                  $61.90
   Angela               Atkins                                 $10.05
   David                Atkins                                $225.55
   Rosemary             Atkins                                 $42.30
   Sara                 Atkins                                  $8.15
   Amanda               Atkinson                               $13.55
   Jen                  Atkinson                               $50.00
   Lauren               Atkinson                               $50.00
   Mallory              Atkinson                                $3.40
   Pamela               Atkinson                               $33.10
   Sue-Ellen            Atkinson                              $122.55
   Anthony              Atwell                                 $45.55
   Nancy                Atwood                                 $45.27
   Tye                  Atwood                                  $0.21
   Kevin                Au                                    $122.20
   Rianna               Au                                     $30.00
   S                    Au                                     $59.30
   Thomas               Au                                      $7.05
   Vanessa              Au                                     $62.59
   Don                  Au Yeung                               $60.20
   Lynn                 Aubright                                $9.70
   Rashelle             Auby                                   $40.70
   Jacqueline           Auclair                                 $0.95
   Grant                Audet                                   $0.80
   Claire               Audette-Bauman                         $51.25
   Cosette              Audirac                               $110.52
   Lisa                 Auer                                    $3.05
   Paul                 Auerbach                              $452.05
   Melissa              Auger                                   $9.15
   Patrick              Augustine                               $9.70
   Michael              Aurelio                               $106.80
   Serena               Auroux                                $103.80
   Anne                 Aussems                                $11.45
   Rebecca              Austern                                 $1.97
   Amy                  Austin                                $100.00
   Charlton             Austin                                 $50.00
   Emily                Austin                                  $1.77
   Emily                Austin                                  $8.60
   Gwen                 Austin                                 $20.56

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   James                Austin                                  $0.45
   Jill                 Austin                                 $83.15
   Liz                  Austin                                $708.50
   Michael              Austin                                  $0.20
   Harumi               Austria                               $138.81
   Jillian              Autea                                 $100.00
   Carlos               Avalos                                  $6.75
   Rebecca              Avela                                  $29.72
   Shana                Averbach                               $22.60
   Jack                 Avery                                   $7.10
   Jonathan             Avery                                  $33.85
   Linda                Avery                                  $17.48
   Nick                 Avery                                  $93.35
   Karla                Avila                                  $24.55
   Gabriel              Avila-Mooney                           $45.20
   Gabriel              Avila-Mooney                           $15.64
   Aileen               Aviles                                  $1.89
   Joann                Avina                                  $16.15
   Jeremy               Avnet                                  $60.14
   Nicole               Avril                                  $32.65
   Emily                Avsco                                   $3.15
   Pia                  Awal                                    $4.98
   Samir                Awan                                   $23.20
   Lindsay              Axerio-Cilies                          $68.15
   Rachel               Axlund                                 $36.75
   Ana                  Ayala                                   $1.40
   Angie                Ayala                                   $1.50
   Claudia              Ayala                                  $30.00
   Lenaea               Ayala                                  $35.71
   Heather              Ayers                                 $144.10
   Stephanie            Ayers                                  $10.50
   Jana                 Aylett-Wong                            $16.46
   James                Aylsworth                             $284.50
   Maggie               Aymard                                 $45.30
   Nataraj              Ayyansamy                               $8.95
   Leslie               Ayyub                                 $136.85
   Jennifer             Aza Allan                              $69.10
   Badi                 Azad                                   $79.95
   Courtney             Azad                                   $42.15
   Hita                 Azad                                  $120.05

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Natalie              Azadimani                                 $0.21
   Andrea               Azar                                     $27.75
   Lisa                 Azar                                     $40.00
   Elizabeth            Azevedo                                  $19.10
   Emily                Azevedo                                  $70.85
   Kristen              Azevedo                                   $8.95
   Jenifer              Azulay                                   $33.38
   Carrie               Azzopardi                                $11.95
   Lisa                 Azzopardi                               $486.10
   Chase                B                                         $6.75
   Dom                  B                                        $23.44
   Sharmila             B                                         $2.85
   Z                    B                                        $17.11
   Karrie               Baas                                     $21.53
   Stacy                Baas                                      $9.15
   Nicolette            Baba                                     $39.05
   Brian                Babcock                                  $37.85
   Hayley               Babcock                                  $19.13
   James                Babcock                                  $33.42
   Rebecca              Babcock                                   $7.38
   Amanda               Babin                                   $150.00
   Kate                 Babington                               $100.00
   Kate                 Babington                                $69.65
   Anna                 Babson                                    $4.75
   Claudia              Baca                                    $100.00
   Erica                Baccus                                  $117.85
   Carol                Bach                                      $3.70
   David                Bach                                    $113.17
   Brenda               Bachechi                                 $35.65
   Joe                  Bacheller                               $113.64
   Judy                 Bachelor                                 $64.15
   Anne                 Bacher                                    $1.40
   Carol                Bach-Y-Rita                              $64.80
   Daniel               Baciuska                                 $68.10
   Kasey                Backherms                                 $1.40
   Stephanie            Backus                                   $14.10
   Rob                  Bacon                                    $14.75
   Mary Anne            Badaracco                                $34.20
   Brooke               Badde                                     $6.66
   Ben                  Bader                                    $82.86

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Cari                 Bader                                    $70.20
   Liz                  Bader-Natal                              $15.15
   Hyeeun               Bae                                       $1.05
   Sammie               Bae                                       $1.65
   Isabelle Nicolas     Baeck                                    $50.00
   Brent                Baer                                    $100.00
   Chris                Baer                                     $85.00
   Ashley               Baerwaldt                               $250.95
   Justine              Bagale                                   $82.20
   Francis              Bagasan                                   $8.20
   Amit                 Bagchi                                  $302.95
   Lauren               Bagden                                   $45.37
   Jaime                Baggett                                 $160.85
   Christine            Baggetta                                  $1.40
   Lindsey              Baggetta                                 $53.11
   Cezanne              Baghdadlian                               $1.05
   Dennis               Bagic                                    $24.21
   Rowan                Baginsky                                 $37.10
   Andrea               Bagley                                   $15.20
   Hanna                Bagley                                    $0.50
   Ann                  Baglin                                    $4.85
   Gianna               Bagnani                                 $150.00
   Sandra               Bagnatori                                $52.20
   Iris                 Bagneschi                                $20.05
   Karen                Bagshaw                                  $43.35
   Hadar                Baharav                                  $27.45
   Kaajal               Baheti                                   $24.10
   Shaila               Bahl                                     $20.55
   Julian               Bahmani                                   $3.40
   Zebib                Bahta                                    $15.02
   Michelle             Bai                                      $30.25
   Michael              Bailen                                   $35.25
   Caitlin              Bailey                                   $70.10
   Denise               Bailey                                   $50.00
   Gillian              Bailey                                   $72.20
   Hannah               Bailey                                   $20.15
   John                 Bailey                                   $82.60
   Laura                Bailey                                   $12.20
   Stacey               Bailey                                    $7.30
   Stacy                Bailey                                    $0.85

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Troy                 Bailey                                 $100.00
   Leah                 Bailly                                   $0.35
   Melissa              Baily                                  $354.25
   Brianna              Bain                                    $43.40
   Kameron              Bain                                     $4.90
   Kathleen             Bain                                    $30.56
   Kathleen             Bain                                    $36.13
   Laura                Bainbridge                              $23.05
   Jennifer             Baine                                   $95.30
   Lauren               Baines                                   $0.60
   Harleen              Bains                                    $1.90
   Kiran                Bains                                    $9.25
   Sandra               Bainter                                 $35.20
   Roland               Bainton                                 $56.45
   Amanda               Baird                                    $1.40
   Ani                  Baird                                    $2.10
   Barbara              Baird                                  $110.40
   Chris                Baird                                   $21.75
   Kelly                Baird                                   $38.00
   Matthew              Baird                                   $14.84
   Sanjeev              Bais                                    $13.00
   Aaron                Baker                                   $34.00
   Allison              Baker                                   $75.00
   Allison              Baker                                    $5.05
   Amanda               Baker                                   $50.00
   Austin               Baker                                    $0.09
   Brandon              Baker                                  $125.00
   Bryce                Baker                                   $10.25
   Carol                Baker                                   $82.85
   Corey                Baker                                   $43.30
   Cynthia              Baker                                  $232.85
   Donna                Baker                                    $2.95
   Elizabeth            Baker                                  $125.00
   Gabriel              Baker                                   $10.85
   Gina                 Baker                                    $5.80
   Henry                Baker                                   $30.98
   Jennifer             Baker                                   $15.36
   Julie                Baker                                   $26.60
   Kristin              Baker                                  $142.10
   Maria                Baker                                    $6.45

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Max                  Baker                                  $12.00
   Melissa              Baker                                 $100.00
   Mike                 Baker                                 $135.00
   Nicki                Baker                                  $29.35
   Nikki                Baker                                  $26.85
   Peter                Baker                                   $0.55
   Roseanne             Baker                                  $17.60
   Thompy               Baker                                 $366.75
   Tonya                Baker                                  $22.20
   Amber                Bakke                                   $1.44
   Randi                Bakken                                 $51.65
   Sarah                Bakker                                 $15.30
   Falu                 Bakrania                              $100.00
   Karen                Baksi                                  $57.05
   Michelle             Bakula                                  $9.90
   Mariel               Balaban                                $10.35
   Doris                Balabanian                              $1.45
   Kathleen             Balagtas                                $0.26
   Prithika             Balakrishnan                            $5.30
   Elena                Balashova                               $7.95
   Svetlana             Balatskaya                             $20.15
   Nikki                Balcerak                               $56.32
   Mario                Balcita                                $55.25
   Autumn               Baldassano                             $25.37
   Lois                 Baldocchi                              $30.60
   Raquel               Baldocchi                              $94.71
   Anthony              Baldoza                               $190.80
   Charles              Baldwin                                 $1.09
   Doug                 Baldwin                                $14.48
   Micah                Baldwin                               $168.43
   Mike                 Baldwin                                $50.00
   Roberto              Baldwin                                $50.00
   Timothy              Baldwin                                 $2.55
   Adam                 Bale                                   $28.50
   Julia                Balentine                              $10.05
   Jennifer             Balestrieri                            $47.25
   Jennifer             Balestrieri                           $127.35
   Nancy                Balestrini                             $17.15
   Aditya               Bali                                    $5.20
   Sonya                Balian-Grande                           $6.35

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Teri                 Balick                                   $9.85
   Brian                Balingit                                $11.20
   Alison               Ball                                    $59.45
   Andre                Ball                                     $1.10
   Andrew               Ball                                    $66.09
   Ashley               Ball                                    $40.05
   Lisa                 Ball                                    $56.68
   Mark                 Ball                                   $162.94
   Sandy                Ball                                   $128.80
   Emma                 Ballard                                  $0.50
   Marcy                Ballard                                 $35.65
   Nina                 Balsamo                                  $0.60
   Louise               Balsan                                  $14.35
   Liz                  Bamberg                                  $2.55
   Vicki                Bamsey                                   $0.70
   Eric                 Banaga                                  $65.10
   Neidre               Banakus                                $113.43
   Naomi                Bancroft                                $20.60
   Priyanka             Bandapalli                               $5.20
   Jennifer             Bandaru                                  $0.88
   Krish                Bandaru                                $196.59
   Ellen                Bandel                                  $74.25
   Allegra              Bandy                                   $72.15
   Renee                Banerjee                                $19.60
   Suzanne              Banfield                                $13.60
   Ali                  Banhazl                                  $8.03
   Ann                  Banich                                  $14.35
   Sarah                Banko                                  $150.72
   Brad                 Banks                                   $24.10
   Jerry                Banks                                   $62.20
   Nadia                Banks                                   $97.40
   Peter                Banks                                    $0.76
   Peter                Banks                                    $0.40
   Ronald               Banks                                   $38.55
   Zoe                  Banks                                   $11.65
   Harold               Banner                                  $14.63
   Naomi                Bannister                               $15.15
   Ellen                Bannon                                   $1.01
   Jiro                 Bantay                                   $0.20
   Chris                Banther                                $101.46

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Erika                Baptista                                $38.60
   Debbie               Barabe                                  $37.40
   Rosemary             Barajas                                 $14.40
   Sylvie               Barak                                  $237.80
   Zena                 Barakat                                 $44.75
   William              Baraket                                  $2.90
   Lynn                 Barakos                                 $15.35
   Naomi                Baran                                    $0.35
   Family               Barasch                                 $60.62
   Tal                  Barash                                   $6.07
   Jenna                Barb                                    $19.60
   Brooke               Barbara                                 $22.08
   David                Barbara                                  $1.05
   Debbe                Barbara                                $200.00
   Jon                  Barbato                                 $15.62
   Marsha               Barbato                                 $12.05
   Carrie               Barbee                                  $20.35
   Lindley              Barbee                                  $62.25
   Caroline             Barber                                  $24.45
   Dominica             Barber                                   $1.75
   Leslie               Barber                                   $4.55
   Lydia                Barber                                  $14.05
   Rob                  Barber                                   $0.75
   Jeff                 Barboni                                  $0.50
   Jonathan             Barcan                                  $69.25
   Romina               Barcelona                               $78.25
   Mariya               Barch                                   $20.30
   Emily                Barclay                                  $4.85
   Victor               Barclay                                 $21.20
   Blanche              Barco                                  $157.30
   Maureen              Bard                                    $18.80
   Lalitha              Bardalaye                               $50.00
   Jeremy               Bardet                                 $115.00
   Shannon              Bardsley                                 $1.00
   Wendy                Bardsley                                 $4.23
   Bo                   Barfield                                $95.25
   Julia                Barfield                                 $0.15
   Linda                Bargas                                  $32.15
   Joanna               Bargeron                               $100.00
   Krystal              Barghelame                              $77.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Brian                Barish                                  $2.60
   Nicole               Barisic                                $50.00
   Susan                Barkann                                 $4.40
   Edith                Barker                                  $3.45
   Jake                 Barker                                  $3.52
   Patricia             Barker                                  $8.70
   Ian                  Barkin                                 $88.55
   Caroline             Barlerin                              $180.25
   Judy                 Barling                                 $8.50
   John                 Barlow                                $250.00
   Katrina              Barlow                                 $50.00
   Lindsay              Barlow                                  $8.95
   Melanie              Barna                                   $3.95
   Blake                Barnes                                $185.55
   Carrie               Barnes                                 $80.00
   Danielle             Barnes                                $100.00
   Elizabeth            Barnes                                 $20.40
   Jennifer             Barnes                                 $63.65
   Jolene               Barnes                                  $7.63
   Karen                Barnes                                  $8.40
   Karen                Barnes                                 $50.00
   Kristal              Barnes                                 $33.60
   Leslie               Barnes                                  $4.00
   Nic                  Barnes                                $100.00
   Noriko               Barnes                                 $71.10
   Tess                 Barnes                                  $1.60
   Lauren               Barnett                                $35.00
   Sarah                Barnett                                 $6.39
   Kristopher           Barney                                  $1.00
   Scott                Barney                                 $70.20
   Kathryn              Barnhouse                               $8.80
   Anat                 Baron                                  $30.00
   Celia                Baron                                  $55.80
   Kenneth              Baron                                  $52.05
   Melanie And Steve    Baron                                   $0.60
   Juan                 Barone                                 $16.60
   Brittany             Barr                                  $100.00
   Don                  Barr                                    $0.12
   Nicole               Barr                                  $300.35
   Odin                 Barr                                   $45.33

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Tali                 Barr                                   $50.00
   Tobias               Barr                                    $0.74
   Meg                  Barrager                              $255.32
   Davebarraza          Barraza                                $68.15
   Alex                 Barrett                                 $1.40
   Emily                Barrett                                 $0.05
   Heather              Barrett                               $100.00
   Hedi                 Barrett                                $26.20
   Jessica              Barrett                                $40.93
   Marilyn              Barrett                                 $1.25
   Meredith             Barrett                               $100.00
   Michael              Barrett                               $311.55
   Nancy                Barrett                                $75.75
   Penny                Barrett                                $28.90
   Richelle             Barrett                                 $1.83
   William              Barrett                                $35.25
   Rich                 Barrientos                              $6.65
   Ashley               Barrington-Mace                         $1.60
   Angela               Barrios                               $250.00
   Chris                Barron                                $179.47
   Christopher          Barron                                 $33.80
   Deborah              Barron                                 $38.70
   Erwin                Barron                                $119.30
   Patricia             Barron                                 $16.15
   Carolyn              Barry                                  $50.00
   Dinaromy             Barry                                   $1.70
   Edie                 Barry                                  $11.50
   Jay                  Barry                                   $0.75
   Jeremy               Barry                                 $100.00
   Martha               Barry                                 $257.47
   Rossella             Barry                                  $42.20
   Gil                  Bar-Sela                                $8.95
   Gabrielle            Barsh                                  $16.19
   Diana                Barsotti                               $66.05
   Amanda               Barstow                               $116.59
   Michelle             Barta                                 $200.00
   Sarah                Bartczak                               $52.30
   Marie                Bartee                                $100.00
   Megan                Bartel-Honsel                           $1.10
   Stanley              Bartelmie                              $85.10

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Brandy               Bartels                                    $0.35
   Robert               Barter                                    $25.15
   Larissa              Barth                                     $46.10
   Jessica              Barthel                                    $7.07
   Latoya               Barthelemy                                 $0.50
   Mark                 Bartkowski                                $50.00
   Bella                Bartlett                                   $1.90
   Judy                 Bartlett                                  $21.50
   Matt                 Bartlett                                  $62.70
   Mike                 Bartlett                                   $6.66
   Kristin              Bartlow                                   $65.60
   Diana                Bartnik                                   $62.50
   Lisa                 Barto                                      $0.56
   Denise               Barton                                    $50.00
   Ellen                Barton                                    $37.21
   Mia                  Barton                                     $0.76
   Michele              Barton                                    $21.36
   Andrea               Barton-Elson                              $68.75
   Ginger               Bartrug                                    $4.40
   Lynn                 Bartsch                                   $91.05
   Brooke               Barttelbort                               $37.15
   Sarah                Barty                                     $47.20
   Steven               Bartz                                     $99.35
   Ari                  Baruth                                    $11.06
   Heidi                Basch-Harod                                $6.70
   Hannah               Bascom                                    $84.70
   Carol                Basconcillo                                $2.25
   Elliott              Based                                     $96.23
   Elizabeth            Basham                                   $315.60
   Jennifer             Basile                                    $38.35
   Cindy                Baskin                                   $201.21
   Amanda               Basler                                    $17.70
   Elianna              Bass                                     $100.00
   Sharon               Bass                                      $14.15
   Sharon               Bass                                     $178.30
   Julien               Bassan                                     $0.30
   Afshin               Basseri                                    $2.50
   Hannah               Bassett                                    $0.50
   Mollie               Bassett                                    $5.50
   Shelli               Bassett                                   $58.60

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Vonnie               Bassett                                  $50.00
   Joelle               Bassily                                   $0.63
   Alison               Bassman                                   $1.95
   David                Basso                                   $108.50
   Nicole               Basso                                    $15.03
   Simon                Bastian                                   $2.28
   Pat                  Basto                                    $66.97
   Richard              Bastoni                                  $38.95
   Aditya               Basu                                      $4.43
   Rajika               Basu                                     $39.25
   Renata               Batarse                                  $54.45
   Drew                 Batchelor                                 $0.71
   Jenny                Batenhorst                              $175.05
   Brittney             Bates                                     $1.44
   Heidi                Bates                                     $4.10
   Kim                  Bates                                   $150.00
   Taryn                Bates                                    $45.12
   Tim                  Bates                                    $52.91
   Rene                 Bathke                                    $1.15
   Mala                 Batra                                   $180.45
   Maria                Batres                                  $100.00
   Marie                Batrez                                    $3.70
   Brandon              Battaglia                                $50.00
   Nino                 Battaglia                                 $6.60
   Kristine             Batten                                    $8.95
   Molly                Battistelli                             $159.80
   Van                  Battle                                    $0.95
   Laura                Batts                                   $162.05
   Chris                Baty                                      $9.36
   Aaron                Bauer                                   $100.00
   Annie                Bauer                                    $10.05
   Kelly                Bauer                                    $60.48
   Rachel               Bauer                                   $118.45
   Ryan                 Bauer                                    $15.90
   Stevie               Bauer                                     $1.70
   Courtney             Baugh                                   $357.50
   Brian                Baughman                                 $48.25
   David                Baum                                      $4.15
   Ian                  Baum                                     $47.60
   N                    Baum                                     $75.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Maggie               Bauman                                   $0.49
   Michelle             Baumert                                 $16.09
   Deborah              Baumgarten                               $5.01
   Erhlich              Bautista                                 $9.90
   Joann                Bavier                                  $44.10
   Sanjiv               Baxi                                    $34.10
   Betsy                Baxter                                  $98.30
   Ray                  Baxter                                   $0.85
   Sarah                Baxter                                   $3.30
   Thomas               Bay                                     $27.46
   Maryam               Bayat                                   $29.50
   Rick                 Baye                                     $9.11
   Juliana              Bayley                                  $50.00
   Steve                Baylo                                    $0.80
   Mary Anne            Baysac                                   $3.70
   Robert               Bazlamit                                $28.58
   Jenn                 Beach                                    $2.36
   Melissa              Beach                                    $9.95
   Tricia               Beales                                  $50.00
   Lindsey              Beall                                   $41.10
   Jones                Bealum                                  $12.10
   Langston             Bealum                                  $39.80
   Amelia               Beamer                                   $0.55
   Shawna               Beamish                                 $25.00
   Stephanie            Bean                                    $40.67
   C                    Beane                                    $0.10
   Joshua               Bear                                     $2.70
   Scott                Beardsley                                $1.40
   Angela               Beary                                   $94.50
   Lori                 Beasley                                $179.45
   Kathleen             Beattie                                  $8.08
   Kathryn              Beattie                                 $77.71
   Sarah                Beattie                                 $27.10
   Daniel               Beatty                                  $14.95
   Lesley               Beatty                                   $4.10
   Kristin              Beaty                                    $5.37
   Christina            Beaumier                               $125.00
   Brad                 Beaumont                                 $8.91
   Sandy                Beaupre                                 $23.55
   Kristin              Beaver                                  $10.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Gary                 Beberman                               $14.15
   Sheri                Bechelli                               $16.85
   Anna                 Bechen                                  $7.65
   Kevin                Bechtel                               $171.05
   Brittany             Beck                                   $64.65
   Emily                Beck                                   $50.00
   Gene                 Beck                                  $100.00
   Jeremy               Beck                                    $1.35
   Megan                Beck                                  $362.88
   Susan                Beck                                    $8.00
   Anita                Becker                                 $12.85
   Danielle             Becker                                  $9.53
   Davida               Becker                                  $0.10
   Debbie               Becker                                 $50.00
   Jacqueline           Becker                                  $0.01
   Jeff                 Becker                                 $27.13
   John                 Becker                                $100.00
   Rudiger              Becker                                 $28.46
   Savannah             Becker                                  $7.75
   Verne                Becker                                 $30.45
   Kendall              Beckett                                 $5.41
   David                Beckman                                $24.54
   Susan                Beckman                                 $6.55
   Ellen                Beckmann                                $6.15
   Mary Lou             Beckmann                               $59.70
   Ashley               Beckner                                $34.00
   Wendy                Becktold                              $291.87
   Linda                Becnel                                $200.00
   Kate                 Bedecarre                              $23.30
   Kathleen             Bedford                               $151.04
   Rishi                Bedi                                    $0.58
   Rohini               Bedi                                    $8.95
   Linda                Bedrick                               $185.16
   Cheryl               Bedrosian                              $42.20
   Ellen                Beecroft                               $30.97
   Jonathan             Beekman                                $32.47
   Christina            Beel                                    $1.35
   Nathan               Beeley                                  $0.55
   Erica                Beeman                                  $7.55
   Lisa                 Beemudez                               $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jennifer             Beerle                                  $17.58
   Josh                 Beerman                                 $43.10
   John                 Beermann                                $13.35
   Shane                Beers                                    $7.80
   Diane                Beeson                                  $62.53
   Smith                Beevers                                 $21.00
   Corrie               Befort                                  $11.31
   Matt                 Beggs                                   $61.85
   Shane                Beharry                                 $23.90
   Candace              Behlenforf                              $60.15
   Luke                 Behnke                                  $40.15
   Michael              Behnke                                  $37.18
   Bonnie               Behre                                    $8.30
   Adam                 Behrens                                  $0.70
   Tim                  Behrens                                 $72.65
   Svetlana             Beider                                   $0.66
   Ellis                Beier                                    $2.25
   Ellis                Beier                                   $62.00
   Andrew               Beil                                    $10.10
   Kayvon               Beiram                                 $100.00
   Jessica              Beitch                                   $1.30
   Kathleen             Beitiks                                 $69.05
   Katia                Bejan                                    $8.95
   Berta                Bejarano                                $46.10
   Tania                Bekerman                                $43.16
   Aarthi               Belani                                   $6.10
   Brian                Belbeck                                  $6.71
   Kathryn              Belcher                                  $8.95
   Katie                Belden                                   $6.35
   Susannah             Belding                                 $11.71
   David                Belgrad                                $131.30
   Ari                  Beliak                                  $40.00
   Molly                Belinski                                $48.01
   Alissa               Bell                                    $16.90
   Amber                Bell                                    $38.50
   Anne                 Bell                                    $30.00
   Cassie               Bell                                    $14.80
   Courtney             Bell                                     $3.15
   Daydra               Bell                                   $112.45
   Donald               Bell                                     $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jesse                Bell                                   $43.25
   Karen                Bell                                   $30.35
   Landon               Bell                                   $17.72
   Lisa                 Bell                                   $22.30
   Lynette              Bell                                   $23.15
   Margaret             Bell                                    $4.35
   Norman               Bell                                   $46.65
   Patrick              Bell                                   $50.00
   Stephanie            Bellay                                  $1.75
   Nicole               Bellefeuille                          $232.15
   Dawn                 Bellett                                $50.00
   Lara                 Bellingham                            $112.75
   Noah                 Bello                                   $0.10
   Safi                 Bello                                   $3.60
   Katie                Bellows                                 $9.05
   Debra                Belluomini                             $20.28
   Jessica              Belluomini                              $3.57
   Laura                Belmont                                $12.90
   Pat                  Belotti                                $28.15
   Chantal              Below                                   $2.20
   Leah                 Belsky                                 $42.39
   Samantha             Belt                                  $100.00
   Lucy                 Beltran                                 $0.50
   Mariella             Belvini                                $18.20
   Adam                 Belzberg                               $69.09
   Kathleen             Belzer                                $100.00
   Jeremy               Belzer-Adams                            $8.95
   Robert               Benavides                               $1.90
   Marie                Bencivenga                              $8.95
   France               Bender                                 $25.65
   Michael              Bender                                  $1.39
   Nancy                Bender                                  $8.70
   Tom                  Bendon                                 $56.70
   Donna                Bendotoff                              $40.25
   Patrick              Bendzick                               $80.00
   Gary                 Benecke                                $12.90
   Kaci                 Benedetti                              $11.97
   Marvin               Benedict                              $100.00
   Angela               Benford                                $10.40
   Hillary              Benham-Baker                          $208.61

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Shannel              Benisano                               $70.15
   Abigail              Benitez                                $10.95
   Jon                  Benjamin                              $368.35
   Paul                 Benjamin                               $12.09
   Sally                Benjamin                               $41.25
   Bryan                Benn                                   $79.17
   Christa              Bennett                                $11.46
   Fran                 Bennett                                $50.25
   Gretchen             Bennett                                 $3.12
   Heidi                Bennett                                $94.43
   Jason                Bennett                               $365.67
   Jess                 Bennett                                 $2.05
   Marc                 Bennett                                $75.70
   Mark                 Bennett                                $64.80
   Patricia             Bennett                               $133.45
   Raphaella            Bennin                                 $30.38
   Meredith             Benns                                   $1.10
   Amy Lynn             Beno                                   $16.60
   Carly                Benson                                  $2.40
   Judith               Benson                                $100.00
   Nick                 Benson                                  $0.40
   Paul                 Benson                                 $52.86
   Bradford             Bensten                               $100.00
   Cynthia              Bentley                                $22.08
   Kristen              Benton                                $129.30
   Elena                Benvenuti                               $1.12
   Kathryn              Benvenuto                              $50.00
   Jan                  Benway                                  $7.95
   Leslie               Benway                                $150.00
   Sara                 Benz                                   $30.00
   Lisa                 Benze                                  $25.00
   Deborah              Benzel                                 $59.30
   Sarah                Bequette                              $100.00
   Minda                Berbeco                                 $3.70
   Jacob                Berchuck                               $36.10
   David                Bercovich                              $37.40
   Maria                Berek                                   $4.60
   Kavita               Beren                                  $16.02
   Niki                 Beren                                   $8.20
   Noah                 Berenberg                               $0.80

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Keyvan               Berenjian                               $130.10
   Jb                   Berent                                   $15.30
   Debra                Berg                                     $24.35
   Friea                Berg                                     $36.85
   Karen                Berg                                     $16.25
   Maxine               Berg                                      $0.30
   Tim                  Berg                                    $182.39
   Nicole               Bergen                                   $75.30
   Ali                  Berger                                   $30.30
   Julie                Berger                                   $17.90
   Melissa              Berger                                   $50.00
   Nicki                Berger                                   $54.85
   Pinchas              Berger                                   $79.60
   Sarah                Berger                                   $10.76
   Jay                  Bergers Iii                               $7.75
   Keith                Bergey                                   $65.30
   John                 Bergez                                   $86.01
   Stephanie            Berglund                                  $6.10
   Anne                 Bergman                                  $42.05
   Dale                 Bergman                                 $158.55
   Natalie              Bergman                                   $0.65
   Leslie-Ann           Bergstrom                                $13.20
   Mary                 Berju                                     $0.85
   Nancy                Berk                                      $3.86
   Rachel               Berk                                     $61.81
   Jim                  Berka                                     $2.79
   David                Berke                                     $8.55
   Barbara              Berkeley                                 $50.00
   Dominick             Berkery                                  $76.10
   Elena                Berkland                                 $50.00
   Demarron             Berkley                                 $244.66
   Adam                 Berkowitz                                $19.40
   Barbara              Berkowiz                                $110.20
   Joseph               Berkowski                                 $0.03
   Mindy                Berla                                     $8.95
   Irene                Berladski                               $371.10
   Jessica              Berlin                                    $2.60
   Anders               Berliner                                 $41.16
   Debra                Berliner                                  $9.20
   Jackie               Berliner                                 $23.60

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Adam                 Berman                                  $18.90
   Bill                 Berman                                 $279.16
   Daniel               Berman                                  $40.00
   Elena                Berman                                  $11.25
   Jan                  Berman                                  $17.60
   Jonathan             Berman                                 $201.51
   Charlene             Bermudez                                $50.00
   Chloe                Bermudez                                $50.00
   Diana                Bernal                                 $100.00
   Ethel                Bernal                                  $10.02
   Anais                Bernard                                $100.00
   Marti                Berndt                                   $1.60
   Harriet              Berner                                  $32.75
   Hugh                 Berney                                   $0.70
   Natazha              Bernie                                  $60.60
   Abigail              Berniker                                 $4.60
   Yvonne               Bernklan                                $50.65
   Ria                  Berns                                   $59.72
   Christine            Bernstein                                $5.95
   Jeffrey              Bernstein                               $54.80
   Julia                Bernstein                                $0.10
   Karen                Bernstein                               $20.65
   Lauren               Bernstein                               $31.12
   Rachel               Bernstein                                $6.70
   Stanley              Bernstein                               $18.05
   Julie                Bernthal                                 $8.20
   Kari                 Berquist                                 $0.52
   Kate                 Berrini                                  $3.77
   Carter               Berry                                   $58.15
   Christina            Berry                                   $17.20
   Heather              Berry                                   $50.00
   John                 Berry                                  $100.21
   Karina               Berry                                    $5.60
   Ryan                 Berry                                    $0.57
   Sandra               Berry                                    $3.02
   Sara                 Berry                                    $2.03
   Erin                 Bert                                    $78.96
   Tara                 Berta                                   $10.55
   Marco                Bertaccini                               $1.70
   Christophe           Bertagni                               $100.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Wendy                Bertauche                                  $1.40
   Catherine            Berthet                                  $250.00
   Sherry               Bertner                                    $2.20
   Nancy                Bertoglio                                 $29.60
   Michelle             Bertrand                                  $16.15
   Hilary               Berwick                                  $105.95
   Ramez                Beshay                                     $2.70
   Kristina             Besnard                                   $50.00
   Marifin              Besona                                    $20.15
   Nanci                Besser                                    $94.15
   Sandra               Bessey                                     $4.75
   Bridget              Best                                      $68.08
   Elissa               Besta                                      $1.32
   Nicolette            Bethea                                   $100.00
   Paula                Bettencourt                                $1.30
   Jennifer             Bettendorff                              $148.32
   Alison               Bettles                                   $49.15
   Kathleen             Bettman                                    $0.55
   Alvaro               Bettucchi                                $287.10
   Laurie               Betz                                       $7.40
   Kari                 Beuerman                                  $13.15
   Barrett              Bewkes                                    $27.57
   Deanna               Beyer                                     $37.15
   Maia                 Beyler-Noily                               $6.25
   Kristan              Beynon                                    $30.22
   Jubina               Bhaijee                                  $107.25
   Jennifer             Bhalla                                   $156.30
   Neil                 Bhamb                                     $65.15
   Riya                 Bhandari                                  $64.88
   Rupa                 Bhandari                                  $61.15
   Barry                Bhangoo                                  $100.00
   Sumit                Bhargava                                  $11.65
   Deepa                Bhat                                      $62.20
   Vishwas              Bhat                                       $8.95
   Nia                  Bhatia                                    $25.35
   Shilpa               Bhave                                     $27.30
   Seema                Bhende                                     $4.19
   Mia                  Bhimani                                    $0.70
   Shalaka              Bhuskute                                  $58.61
   Tenzin               Bhuti                                     $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Abigail              Biagi                                    $1.05
   Kiki                 Bian                                    $36.25
   Bahar                Biazar                                  $31.80
   Laurie               Bibbins                                $100.00
   Jeff                 Bibel                                   $50.00
   Mary                 Bicanic                                 $16.50
   Lynn                 Bicknell                                $55.65
   Catherine            Biddle                                  $17.70
   Michael              Biehl                                    $1.55
   Sarah                Bielecki                                 $9.75
   Julie                Bien                                     $0.15
   Troy                 Bienemann                               $10.00
   Laurie               Bienstock                               $57.65
   Dawn                 Bierman                                  $0.90
   Carole               Biersdorff                              $36.40
   Nicole               Bigarani                               $101.90
   Boris                Bigbee                                  $11.19
   Claire               Bigbie                                  $34.30
   Gail                 Bigelow                                 $10.25
   Betsy                Bigelow-Teller                           $4.65
   Bill                 Biggers                                 $26.30
   Mark                 Biggs                                   $14.20
   Robert               Bijl                                     $1.25
   Abby                 Bilkiss                                 $19.60
   Brayden              Billbe                                  $71.60
   Eryn                 Billings                                 $4.65
   Corey                Bills                                    $9.60
   Kathryn              Billups                                  $9.25
   Karin                Bilsland                                $10.45
   James                Bilus                                  $173.60
   Ian                  Bimpson                                $155.27
   Emma                 Bindloss                                 $6.35
   Andrea               Binger                                  $47.85
   Danica               Bingham                                  $0.40
   Jenni                Bingham                                  $5.12
   Lauren               Bingham                                 $40.00
   Vance                Bingham                                  $6.85
   Maya                 Bini                                    $45.30
   Amber                Binkley                                 $13.30
   Charles              Binkley                                $148.55

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Mark                 Binneboese                                 $45.03
   Robert               Binsacca                                   $50.00
   Lauri                Binsfeld                                   $32.05
   Jennifer             Birch                                      $26.20
   John                 Birch                                       $4.90
   Nick                 Birch                                       $3.65
   Helen                Birchall                                  $262.30
   Arwen                Bird                                        $3.55
   Steve                Bird                                      $171.70
   Havovi               Birdie                                      $6.15
   Larry                Birk                                        $3.55
   Linda                Birkenstock                               $100.00
   Brian                Birkett                                     $3.20
   Andrew               Birnberg                                    $0.90
   Victoria             Birnberg                                   $38.42
   Ben                  Biroschak                                   $6.85
   Ashley               Birtz                                      $40.90
   Brittany             Birwadker                                   $5.25
   Angela               Bisanti                                     $0.20
   Heather              Bisbee                                     $12.50
   Barbara              Biscaro                                     $0.15
   Barbara              Bischalaney                                $16.65
   Paul                 Bischeri                                    $1.65
   Jason                Bischofberger                              $53.50
   Barb                 Biscocho                                   $13.25
   Jennifer             Bishko                                      $9.48
   Amy                  Bishop                                    $100.00
   Camilla              Bishop                                      $7.79
   Kathy                Bishop                                    $134.30
   Lori                 Bishop                                      $2.05
   Craig                Bisson                                    $100.00
   Meredith             Bissu                                       $0.24
   Erin                 Biswell                                    $19.25
   Cristina             Bita                                       $88.95
   Robin                Bitner                                      $0.17
   Rachel               Bitte                                      $18.45
   Stacy                Bittel                                     $50.00
   Max                  Bittker                                     $8.95
   Kathryn              Bittner                                    $53.35
   Rachelle             Bitton                                    $214.55

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Martha               Bixby                                   $41.05
   Brenden              Bixler                                   $1.83
   Aida                 Bjorklund                                $8.95
   Logan                Bjorkman                                $31.13
   Allana               Blaber                                   $0.41
   Galya                Blachman                                $30.00
   Bryan                Black                                    $0.61
   John                 Black                                    $0.80
   Julie                Black                                    $5.61
   Lisa                 Black                                    $7.71
   Sara                 Black                                   $69.30
   Sydney               Black                                    $1.85
   Tiffany              Black                                   $38.85
   Eugene               Blackard                                $83.62
   Scott                Blackburn                               $55.85
   Magdalena            Blackmer                                 $2.30
   Carl                 Blackstone                              $24.32
   Jordan               Blackthorne                             $51.40
   Lauren               Black-Uchrin                             $3.90
   Heather              Blackwelder                             $12.50
   Katie                Blackwell                               $49.40
   Melita               Blackwell                                $0.06
   Sally                Blackwell                              $148.50
   Laura                Blaich                                   $9.20
   Kyle                 Blair                                   $50.00
   Nicola               Blair                                   $42.35
   Ashanti              Blaize-Hopkins                          $12.75
   Caroline             Blake                                    $0.12
   Clare                Blake                                   $52.65
   Geoffrey             Blake                                   $61.15
   Marisol              Blake                                   $10.55
   Rose                 Blake                                   $15.05
   Erin                 Blakeney                               $135.50
   Molly                Blakey                                  $50.95
   Steven               Blakley                                  $1.30
   Suz                  Blan                                     $0.74
   Rebecca              Blanco                                  $36.55
   Jackie               Blandon                                  $8.40
   Jason                Blandon                                  $1.80
   Kelsey               Blank                                   $15.10

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Mitchell             Blank                                   $155.15
   Nancy                Blanton                                 $100.00
   Kristin              Blaugrund                                 $0.35
   Sandy                Blauvelt                                 $33.70
   Mara                 Blazquez                                 $21.67
   Ellisha              Blechynden                              $250.00
   Ben                  Bleikamp                                $180.57
   Ben                  Bleiman                                  $18.05
   Morgan               Blein                                   $116.35
   Matthew              Blessing                                  $5.57
   Ethan                Bliss                                    $36.67
   Judith               Bliss                                   $109.98
   Betsy                Block                                    $50.00
   Brittany             Blockman                                 $31.15
   Katharine            Blodget                                 $500.00
   Charlotte            Bloedel                                  $43.26
   Sarah                Bloem                                     $1.75
   Jennifer             Blomo                                     $5.57
   Kandi                Blomquist                               $122.10
   Lynnette             Blomquist                                 $5.25
   Gail                 Blomstrom                                 $0.30
   Kate                 Blood                                    $50.00
   Melanie              Bloom                                    $40.00
   Sam                  Bloom                                     $0.30
   Rebecca              Bloomquist                              $260.41
   Robert               Bloxom                                  $100.00
   Janel                Blue                                    $150.00
   Elton                Blum                                     $60.00
   Julia                Blum                                      $3.30
   Lan                  Blum                                      $0.35
   Marty                Blum                                      $1.20
   Rachel               Blum                                      $5.01
   Kim                  Blumberg                                 $41.66
   Sean                 Blumberg                                 $22.40
   Guy                  Blume                                    $44.40
   Stacy                Blumenreich                               $2.05
   Lauren               Blumenstein                              $77.84
   Sarah                Blumgart                                 $19.35
   Jean                 Blumin                                    $4.60
   Risa                 Blumlein                                  $0.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Vanessa              Blundell                                $3.54
   Barbara              Blunden                               $139.91
   Sarah                Blushi                                 $15.25
   Sarah                Bly                                    $81.60
   Marguerite           Blythe                                  $8.90
   Jeannie              Boardman                                $5.35
   Brian                Boarini                                $31.85
   Michelle             Bobbett                                $39.05
   Ruthann              Bobbitt                                 $4.95
   Mary                 Bobel                                 $100.00
   Adam                 Boche                                  $10.00
   Barbara              Bock                                  $229.10
   Virginia             Bock                                    $1.45
   M                    Bockholt                                $1.30
   Joyce                Boddie                                  $8.95
   Vivette              Bodhert                                 $4.84
   Jenny                Bodnar                                 $74.32
   Lindsay              Bodnar                                 $42.05
   Ryan                 Boe                                    $30.00
   Robin                Boehle                                $100.00
   Ann                  Boehm                                 $200.00
   Simona               Boehm                                 $350.00
   Sera                 Boerger                               $100.00
   Emagene              Boero                                   $6.70
   Brandon              Boesch                                 $20.70
   April                Boethin                                 $3.80
   Michelle             Boeve                                  $17.10
   Matthew              Boezi                                   $0.46
   Jeff                 Bogan                                  $32.85
   Jules                Bogdanski                              $23.55
   Andrew               Bogen                                 $166.65
   Martin               Bogetz                                $176.85
   Karen                Boggs                                  $46.20
   Bianka               Bogorad                                $46.05
   Athena               Bohm                                    $2.08
   Bethany              Bohn                                    $0.10
   Alyssa               Bohnert                                $33.10
   Linda                Bohnert                                 $6.75
   Betty                Boiron                                  $8.95
   Matthew              Boisvert                                $0.71

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Ken                  Boitano                                $50.00
   Christina            Boitnott                               $79.30
   Rita                 Bojalian                               $24.60
   Aga                  Bojko                                   $0.05
   Amy                  Bokker                                $176.85
   George               Bokla                                  $12.95
   Mary Ann             Boland                                 $17.90
   Matt                 Boland                                 $12.20
   Maureen              Boland                                  $2.05
   Robin                Boland                                $100.00
   Trevor               Boland                                  $0.05
   Inekebo              Bolander                               $14.40
   Benjamin             Bolanos                               $100.00
   Amy                  Bolar                                  $30.00
   Chris                Boldman                                $10.76
   Kevin                Bolen                                  $12.05
   Natalie              Bolen                                  $43.93
   Kurt                 Bolgen                                 $50.00
   Andrew               Bolger                                $300.00
   Joshua               Bolian                                  $2.91
   Ali                  Bollbach                                $1.90
   Jennifer             Bolles                                  $0.10
   Gaylyn               Bollinger                               $8.95
   Joe                  Bollinger                             $360.24
   Moira                Bollinger                             $100.00
   Kim                  Bollingger                             $30.25
   Brooke               Bollyky                                 $0.95
   Kristina             Bologna                                $33.18
   Emily                Bolt                                    $6.35
   Nate                 Bolt                                    $5.20
   Nicole               Bolter                                 $80.30
   Kathleen             Bolts                                   $4.41
   Kristine             Bombaro- Mccollum                     $119.87
   Cynthia              Bonavia                                $10.55
   Rick                 Bond                                   $23.51
   Juanita              Bondoc                                  $4.55
   Megan                Bondy                                  $42.05
   Gary                 Bonfield                              $183.65
   Michael              Bonfiglio                               $6.60
   Naya                 Bonfiglio                               $9.80

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Victor               Bonfilio                               $28.00
   Sade                 Bonilla                                $11.00
   Simon                Bonilla                               $100.00
   Rachel               Bonkovsky                             $103.20
   Cathy                Bonnar                                  $2.20
   Stacy                Bonney                                $200.00
   Jill                 Bonny                                  $50.00
   Andrea               Bono                                    $0.25
   Margaret             Bono                                  $200.00
   Kelley               Bonsall                               $108.78
   Elisa                Booker                                  $0.07
   Jennifer             Booker                                $200.00
   Russell              Booker                                  $6.35
   Blaine               Bookey                                $200.00
   Maia                 Bookoff                                $20.40
   Helen                Booler                                 $14.10
   Marleen              Boone                                   $9.23
   Sam                  Boonin                                $100.00
   Rolly                Boorman                                 $4.10
   Sarah                Boortz                                $491.15
   Andrea               Boos                                   $25.55
   Brent                Booth                                 $200.00
   Christopher          Booth                                  $50.40
   Kathy                Booth                                   $4.95
   Niko                 Booth                                   $9.65
   Steve                Booth                                 $180.00
   Whitney              Booth                                  $85.20
   William              Booth                                  $11.20
   Christina            Boozer                                $160.00
   Ranmali              Bopitiya                               $19.40
   Sarah                Boragno                                $30.15
   Amanda               Borden                                  $4.30
   Nancy                Borden                                 $13.35
   Emily                Borg                                   $25.60
   Pauline              Borghello                              $11.35
   John                 Borghi                                 $31.85
   Emily                Borja                                  $33.35
   Pamela               Borja                                  $21.15
   Elizabeth            Borjon                                 $12.55
   Christine            Borland                                 $0.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Lindsay              Born                                    $11.35
   Richard              Born                                     $0.10
   Jack                 Bornoff                                 $50.00
   Dan                  Bornstein                               $25.85
   Brian                Boroff                                  $31.65
   Melissa              Boroughs                                 $3.85
   Pavlo                Borovyk                                $100.00
   Christine            Borpple                                  $2.10
   Jenna                Borrelli                               $100.00
   Tamara               Borrero                                 $50.00
   Laura                Borrman                                 $60.80
   Olivia               Borsje                                  $76.00
   Judy                 Borzoni                                  $0.75
   Katherine            Bosch                                   $25.10
   Robert               Bosch                                    $8.95
   Rhick                Bose                                    $42.30
   Janis                Bosenko                                 $82.10
   Katy                 Bosinoff                               $124.25
   Noah                 Boskey                                   $0.95
   Rad                  Boss                                     $0.75
   Timothy              Boss                                     $0.87
   Sally                Boston                                   $0.26
   Andrew               Bosworth                                $23.50
   Brendan              Bosworth                                $14.98
   Lindsay              Bosworth                                 $1.25
   Melissa              Botello                                 $12.85
   Cindy                Bottenberg                              $26.05
   Megan                Botulinski                              $16.10
   Craig                Boucher                                 $69.99
   Margaret             Boucher                                  $5.19
   Teri                 Boucher                                 $33.50
   Marianne             Boudreau                                $11.65
   Chrystal             Bougon                                   $6.15
   Steve                Boullianne                              $60.00
   Peter                Boulware                                $12.25
   Matthew              Bourdet                                 $35.08
   Judith               Bourdon                                  $0.30
   Katherine            Bourget                                 $16.10
   Paul                 Bourke                                   $6.55
   Cheryl               Bourn                                    $8.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jean                 Bourne                                 $50.00
   John                 Bourne                                 $50.00
   Elizabeth            Bours                                   $0.18
   Kristen              Bouvier                                $64.20
   Mary                 Bow                                    $21.15
   Adley                Bowden                                 $29.53
   Elisa                Bowe                                    $0.15
   Teresa               Bowe                                    $0.04
   Janean               Bowen                                  $32.55
   Patricia             Bowen                                   $9.25
   Shana                Bowen                                 $100.00
   Jonathan             Bower                                   $6.20
   Stacey               Bower                                  $25.00
   Aimee                Bowers                                 $36.90
   George-Ann           Bowers                                 $22.25
   Janna                Bowers                                  $1.20
   Robin                Bowers                                $329.65
   Elizabeth            Bowersox                                $2.25
   Alex                 Bowie                                  $78.33
   Karen                Bowie                                 $105.75
   Mike                 Bowie                                  $63.50
   Travis               Bowie                                   $4.02
   Colette              Bowler                                $253.28
   Diana                Bowler                                 $18.50
   Lesley               Bowler                                 $74.91
   Nicole               Bowler                                $100.00
   Lily                 Bowles                                  $8.95
   Rick                 Bowles                                $100.00
   Stephen              Bowles                                  $0.46
   Bill                 Bowman                                  $1.40
   Kristin              Bowman                                  $0.15
   Piper                Bowman                                  $7.15
   Robin                Bowman                                  $0.05
   Sean                 Bowman                                $240.95
   Brooklyn             Boyars                                  $5.35
   Amy                  Boyce                                   $4.60
   Ty                   Boyce                                  $17.20
   Laura                Boychenko                               $7.30
   Amanda               Boyd                                   $50.00
   Jennifer             Boyd                                  $409.32

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jennifer             Boyd                                    $0.20
   Stan                 Boyd                                    $2.70
   Susan                Boyd                                   $70.56
   Anne                 Boyder                                 $17.40
   Emily                Boyer                                   $3.45
   Thea                 Boyer                                  $51.72
   Courtney             Boyle                                 $100.00
   Elizabeth            Boyle                                 $100.00
   Janel                Boyle                                 $141.65
   Karen                Boyle                                  $72.15
   Kelsey               Boyle                                   $3.15
   Lauren               Boyle                                   $8.10
   Nina                 Boyle                                   $0.40
   Robert               Boyle                                   $4.40
   Tricia               Boyle                                   $9.05
   Molly                Boyll                                  $25.30
   Anya                 Boynton                                 $1.15
   Kelly                Boynton                               $103.95
   Stacy And Adam       Bozek                                   $0.94
   Alex                 Bozic                                 $114.05
   Betty                Bozio                                   $1.34
   Kerry                Boznanski                              $71.15
   Sara                 Brace                                   $4.95
   Kelly                Brackett                               $37.01
   Rebecca              Brackman                                $0.45
   Heather              Bradbury                               $55.35
   Chrissy              Braden                                  $6.00
   Garrett              Bradford                               $70.64
   Michelle             Bradford                               $84.55
   Sheila               Bradford                               $68.35
   Trisha               Bradford                                $1.30
   Aileen               Bradley                                 $7.25
   Amanda               Bradley                                $50.00
   Cassie               Bradley                                 $1.15
   Kathleen             Bradley                                 $8.35
   Mary Jo              Bradley                                 $8.15
   Patricia             Bradley                               $100.00
   Sarah                Bradley                                 $4.60
   Sherry               Bradley                                $25.00
   Susannah             Bradley                                 $0.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   James                Bradshaw                                $0.15
   Lauren               Bradshaw                                $8.50
   Carolyn              Brady                                   $0.80
   Emma                 Brady                                 $100.00
   Laura                Brady                                  $55.20
   Matthew              Brady                                  $27.75
   Patrick              Brady                                  $11.65
   Paul                 Brady                                  $57.25
   T.K.                 Brady                                   $0.31
   Taylor               Brady                                   $9.55
   Bagna                Braestrup                               $0.60
   Zack                 Braff                                  $50.00
   Donna                Bragg                                 $170.52
   Elan                 Brahms                                  $2.55
   Thomas               Braig                                   $7.79
   Michael              Brainard                               $85.15
   Ryan                 Brainard                                $0.46
   Corina               Brammer                                $50.00
   Katie                Branagh                                 $7.35
   Christina            Branca                                  $4.25
   Philippe             Branchu                                $55.10
   Suelney              Brandao                                 $7.19
   Bud                  Brandenberger                           $7.10
   Ann                  Brandin                                $40.25
   Michael              Brandis                               $173.85
   Nadhima              Brandis                                $34.11
   Sierra               Brandis                                 $5.65
   Debbie               Brandt                                  $6.13
   Kevin                Brandt                                  $0.11
   Ben                  Branham                                $24.49
   Claire               Brannan                                $34.86
   Sharon Aline         Brannen                                $31.00
   Leah                 Branson                                $81.27
   Lisa                 Branson                                 $0.73
   Tara                 Brant                                  $55.80
   Jessica              Brasch                                 $50.00
   Kerin                Brasch                                 $48.05
   Kerin                Brasch                                  $2.34
   Terri                Brasch                                  $5.40
   Pam                  Brase                                  $11.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Christine            Brashear                              $100.00
   Natasha              Brasic                                  $3.30
   Alex                 Braslavsky                             $49.25
   Sean                 Bratner                                $50.00
   Ben                  Braun                                   $7.85
   Eric                 Braun                                   $6.65
   Mallory              Braun                                  $99.67
   Shimrit              Braun                                  $98.58
   Stephanie            Braun                                  $50.00
   Ryan                 Braunstein                            $160.70
   Britt                Bravo                                  $45.45
   Patricia             Bravo                                   $1.00
   Eidan                Bray                                   $32.68
   Kelly                Bray                                   $19.35
   Greg                 Brazeal                                $16.83
   Andr√©E              Brazeau                                $24.81
   Maurice              Brazelton                               $2.55
   Amanda               Brazinski                              $35.47
   Sandra               Brazzell                               $29.32
   Ashley               Breakfield                             $32.05
   Ana                  Breedon                                $10.05
   Barbara              Breen                                  $14.60
   Ilana                Breen                                  $33.15
   Lydia                Breen                                   $0.20
   Molly                Breen                                  $73.03
   Alison               Breeze                                 $17.40
   Karen                Brein                                   $1.25
   Sarah                Breitenother                            $2.80
   Lily                 Brelsford                               $3.10
   Caroline             Bremner                               $100.00
   Barbara              Brennan                                $59.09
   Meaghan              Brennan                                 $1.95
   Molly                Brennan                               $150.00
   Cara                 Brennan Allamano                       $17.30
   Elise                Brenner                                $34.35
   Jason                Brenner                                 $6.07
   Mike                 Brenner                                $65.47
   Ryan                 Brenner                                $60.00
   Patricia             Brent                                  $18.15
   Ben                  Brenzel                                $65.85

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Karen                Breslau                                 $73.85
   Jamie                Breslin                                  $1.25
   Kevin                Bresnahan                               $31.40
   Janet                Bressler                                $24.96
   Scott                Bressler                                $24.65
   Suzanne              Bressler                                 $9.20
   Joseph               Bressman                                 $0.80
   Nicole               Brest                                   $41.35
   Kate                 Brethauer                               $31.75
   Tracey               Breton Van Groll                        $23.25
   Cora                 Breuner                                  $3.30
   Dana                 Brewer                                   $2.80
   Laura                Brewer                                  $37.90
   Marilee              Brewer                                   $3.56
   Teresa               Brewer                                  $24.35
   Mariah               Brewster                                $12.40
   Wayne                Brewster                                $50.00
   Ben                  Breyer                                   $1.60
   Joseph               Breyer                                   $8.95
   Kristine             Breyer                                  $20.85
   Noah                 Brezel                                   $3.70
   Maude                Brezinski                               $10.25
   Dan                  Bricarello                             $138.29
   Jenny                Brichko                                  $0.50
   Jonathan             Brick                                   $25.00
   Christine            Bricker                                $100.00
   Vanessa              Bricker                                 $22.00
   Gavin                Bridgeman                              $100.00
   Carol                Bridges                                  $7.64
   Eliko                Bridgewater                              $0.20
   John                 Bridgman                                $10.10
   Jocelyn              Bridson                                  $0.25
   Leila                Brier                                  $216.45
   Lindsay              Brier                                  $196.20
   Zachary              Briers                                  $40.70
   Andrew               Briggs                                   $0.55
   Danielle             Briggs                                   $1.20
   David                Briggs                                 $134.10
   Forrest              Briggs                                 $100.00
   Ian                  Briggs                                  $50.40

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Chris                Brigham                                   $47.35
   Nancy                Brigham                                   $47.56
   Jamie                Brightman                                $288.40
   Donna                Brill                                     $18.25
   Fred                 Brill                                      $0.25
   Stephanie            Brill                                    $171.66
   Stephanie            Brill                                     $61.68
   Larry                Brilliant                                  $0.90
   Susan                Brim                                     $121.10
   Natasha              Brin                                      $43.80
   Ralph                Brindis                                    $1.95
   Joyce                Bringas                                   $50.00
   Jean                 Brink                                      $4.06
   Katherine            Brinkley                                  $19.20
   Jennifer             Brinn                                     $36.80
   Chad                 Brinton                                   $18.31
   Suzanne              Brinton                                   $10.31
   Jim                  Brisbin                                   $12.75
   Cristina             Brito                                      $6.40
   Nicki                Brito                                     $44.10
   Dana                 Britt                                      $1.11
   Rob                  Britt                                      $0.25
   Taylor               Britton                                    $1.80
   Beth                 Brittonsmith                             $137.10
   Bryana               Britts                                    $50.00
   Austin               Brizgys                                   $22.25
   Jill                 Broadhurst                                 $3.00
   Danny                Broberg                                   $25.60
   Adrian               Brock                                      $4.40
   Tina                 Brock                                      $8.35
   Graham               Brockington                               $50.00
   Emily                Brockway                                  $67.65
   Kimi                 Broder                                   $178.12
   Anne                 Broderick                                 $20.60
   Mary                 Broderick                                 $15.80
   Trinity              Broderick                                  $4.82
   Erika                Brodie                                    $47.05
   Bethany              Brodsky                                   $29.65
   Carinne              Brody                                     $34.91
   Elizabeth            Brogna                                   $188.45

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Janelle              Brokenshire-Cyr                          $9.32
   Dan                  Brombaugh                                $8.95
   Julie                Broms                                  $170.85
   Jeremy               Bronson                                  $6.49
   Jessie               Bronson                                 $17.37
   Rebecca              Brooke                                  $57.64
   Elizabeth            Brookes                                 $10.65
   Amanda               Brooks                                  $67.50
   Beverley             Brooks                                   $0.84
   Chauncey             Brooks                                 $150.50
   Elizabeth            Brooks                                   $3.15
   Erin                 Brooks                                 $100.00
   Geoffrey             Brooks                                  $19.15
   Kendall              Brooks                                  $21.05
   Raven                Brooks                                  $11.15
   Sydnee               Brooks                                  $12.60
   Greg                 Brophy                                 $215.70
   Liora                Brosbe                                   $0.25
   Madeleine            Brosch                                   $0.06
   Emily                Brosius                                 $50.00
   Helen                Brosnan                                 $23.20
   Lauren               Brosnan                                 $77.51
   Maura                Brosnan                                 $19.20
   Cathy                Bross                                  $466.05
   Lisa                 Brosseau                               $246.85
   Kara                 Brotemarkle                             $45.05
   Olivier              Brouard                                 $11.07
   Craig                Broussard                                $0.40
   Emily                Brouwer                                 $21.50
   Charlotte            Brower Gomez                            $40.20
   Adam                 Brown                                   $17.10
   Alan                 Brown                                   $31.60
   Andrew               Brown                                   $10.76
   Arwen                Brown                                  $287.70
   Audrey               Brown                                    $8.95
   Ben                  Brown                                   $86.65
   Betty                Brown                                    $3.35
   Blake                Brown                                   $50.00
   Brentt               Brown                                    $1.70
   Brian                Brown                                   $33.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Caitlin              Brown                                  $21.42
   Carlton              Brown                                  $23.05
   Claudia              Brown                                  $30.29
   Colleen              Brown                                  $44.45
   Cynthia              Brown                                  $12.95
   Danielle             Brown                                 $158.41
   Dora                 Brown                                  $50.00
   Ed                   Brown                                  $74.70
   Eric                 Brown                                  $40.15
   Fannie               Brown                                   $7.70
   Francesca            Brown                                  $97.40
   Hayden               Brown                                 $352.25
   Heather              Brown                                 $147.77
   Ilya                 Brown                                  $75.00
   Julie                Brown                                  $21.05
   Katherine            Brown                                 $134.42
   Kathleen             Brown                                  $22.07
   Katie                Brown                                  $26.10
   Laura                Brown                                  $74.15
   Leila                Brown                                  $19.65
   Levi                 Brown                                   $0.88
   Lisa                 Brown                                   $2.10
   Lisa                 Brown                                  $10.02
   Matthew              Brown                                   $2.35
   Michael              Brown                                  $17.82
   Michelle             Brown                                  $79.10
   Michelle             Brown                                  $30.20
   Mitchell             Brown                                 $229.52
   Monica               Brown                                   $0.10
   N                    Brown                                   $0.60
   Patsy                Brown                                   $7.80
   Peggy                Brown                                  $79.05
   Quiana               Brown                                   $1.65
   Rana                 Brown                                  $80.60
   Rashayla             Brown                                   $0.25
   Richard              Brown                                  $74.15
   Sara                 Brown                                  $63.85
   Sean                 Brown                                   $1.70
   Shelly               Brown                                  $43.87
   Tamara               Brown                                   $0.90

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Tammy                Brown                                   $4.10
   Tim                  Brown                                  $16.56
   Todd                 Brown                                  $51.70
   Travis               Brown                                  $44.76
   Katie                Brown-Davis                             $9.95
   Kathryn              Browne                                 $51.70
   Gail                 Brownell                                $0.25
   Jessica              Brown-Garrard                           $4.65
   Katherine            Browning                               $71.47
   Michelle             Browning                               $10.90
   Shannon              Browning                               $18.35
   Jaclyn               Brownlee                               $79.15
   Alexander            Brownstein                              $0.20
   Amy                  Brownstein Lum                        $104.45
   Julia                Brubaker                               $67.85
   Katherine            Brubaker                                $5.87
   Mike                 Bruchanski                              $6.00
   Russell              Bruck                                 $141.30
   Ben                  Brucker                                $20.70
   Audrey               Bruckner                                $0.15
   Julien               Brudieux                                $1.65
   An Na                Brugge                                 $77.70
   Victoria             Brumfield                              $50.00
   Madeleine            Bruml                                 $114.10
   Joan                 Brumleve                               $50.00
   Lynn                 Brumm                                 $100.00
   James                Brummett                                $1.65
   Jeff                 Brummett                                $0.15
   Sarah                Brummett                                $5.65
   Elna                 Brunckhorst                           $456.05
   Caroline             Bruner                                 $10.25
   Joshua               Bruner                                  $9.30
   Lisa                 Bruner                                 $33.40
   Steven               Brunk                                   $4.75
   Angela               Brunner                                 $8.10
   Nicole               Brunnett                               $14.40
   Meghan               Bruno                                  $25.00
   Philip               Bruno                                 $146.50
   Fabiola              Bruno Caballero                        $67.40
   Filipp               Brunshteyn                             $65.35

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Crystal              Brunzell                                 $57.05
   Casey                Brusch                                   $70.40
   Scott                Brust                                    $50.00
   Simon                Bruyn                                   $111.73
   Lesley               Bruynesteyn                              $16.00
   Ruthanna             Bryan                                     $0.06
   David                Bryant                                   $18.20
   Jared                Bryant                                   $30.55
   Julie                Bryant                                  $161.15
   Karen                Bryant                                   $15.60
   Whitney              Bryant                                   $42.05
   Kylee                Bryson                                    $3.35
   Nic                  Bryson                                    $2.20
   Ruth                 Bryson                                  $728.05
   Dalyce               Bubemyre                                $125.50
   Jon                  Bubitz                                   $50.00
   Jillian              Buchan                                    $6.80
   Patrick              Buchan                                  $114.84
   Sue                  Buchanan                                 $50.00
   Todd                 Buchanan                                  $4.43
   Carol                Buchholz                                  $7.20
   Jason                Buchholz                                  $0.30
   Mavis                Buchholz                                 $32.79
   Maria                Buck                                      $0.65
   Breanne              Buckley                                   $2.53
   Conor                Buckley                                  $16.50
   Esther               Buckley                                  $40.15
   Jennifer             Buckley                                  $39.45
   Kara                 Buckley                                  $56.90
   Robin                Buckley                                  $37.65
   Colin                Bucksey                                 $172.10
   Wilfred              Bucoy                                     $2.90
   David                Budge                                     $4.59
   William              Budge                                   $219.25
   Jerry                Budin                                     $0.80
   Brittanie            Budinger                                  $3.05
   Ryan                 Budlong                                  $61.20
   Courtney             Buehler                                   $0.62
   Clemens              Buehling                                 $25.00
   Christine            Buell                                    $33.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Martin               Buendia                                $83.40
   Carlos               Buenrostro                              $3.00
   Michael              Bugella                                 $0.65
   Barbara              Buggelli                               $50.95
   Tracy                Bugni                                  $50.00
   Sheila               Buhr                                    $3.25
   Victor               Buhrke                                 $15.50
   Angela               Bui                                     $8.82
   Thierry              Bui                                    $39.56
   Katie                Buisson                                $30.80
   Julianne             Bukey                                 $121.72
   Marie                Bulatao                                $50.00
   Erin                 Bullington                              $1.20
   Chris                Bullock                                 $4.17
   Jennifer             Bullock                                $32.65
   Jennifer             Bumb                                  $114.68
   Chris                Bumgardner                             $50.00
   Megan                Bumpus                                 $54.20
   C                    Bunevich                                $8.95
   Frank                Bunger                                  $8.95
   Juliana              Bunim                                   $5.50
   Lucas                Bunzel                                  $2.60
   Jessica              Burback                                $50.00
   Linda                Burbank                               $135.81
   Evangeline           Burbidge                              $142.10
   Denise               Burchell                                $6.25
   Matt                 Burchstead                             $52.65
   Jill                 Burdeen                               $100.00
   Edward               Burdett                               $100.00
   Catherine            Burdette                               $73.15
   Michelle             Burdt                                   $0.05
   Ginger               Burenin                                 $4.05
   Carey                Burens                                 $22.75
   Clint                Burford                                $52.20
   Jody                 Burford                                $74.15
   James                Burgardt                                $0.90
   David                Burgelin                                $1.40
   Allyson              Burger                                 $28.87
   Nick                 Burger                                 $48.20
   Tiffany              Burgermeister                          $24.85

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Amanda               Burgess                                $73.25
   Ross                 Burgess                                 $5.45
   Michael              Burgett                               $100.00
   Nicholas             Burggraaf                              $53.82
   Gwenn                Burghardt                               $2.65
   Kimberly             Burk                                    $6.80
   Paul                 Burk                                  $187.30
   Allison              Burkard                                $44.02
   Jennie               Burkart                                $18.10
   Adam                 Burke                                  $36.15
   Andrew               Burke                                  $38.11
   Anna                 Burke                                  $70.10
   Christine            Burke                                  $66.30
   Courtney             Burke                                  $21.20
   Darin                Burke                                  $60.00
   Emer                 Burke                                 $100.00
   Erik                 Burke                                 $300.00
   Gaby                 Burke                                 $100.00
   Hilary               Burke                                  $50.00
   Kelly                Burke                                  $69.85
   Kenzie               Burke                                  $13.35
   Kimberly             Burke                                  $50.00
   Mary Jane            Burke                                  $58.20
   Mary Jane            Burke                                 $118.55
   Amanda               Burke-Aaronson                         $13.95
   Alecia               Burkett                                $23.50
   Francie              Burkhard                               $39.25
   Laura                Burkhauser                            $331.20
   Tai                  Burkholder                             $17.90
   Cindy                Burkowski                              $17.20
   Jacquelyn            Burks                                 $212.60
   Andres               Burllaile                             $150.00
   Deborah              Burman                                 $51.60
   Rebecca              Burman                                  $0.75
   Hayley               Burner                                $100.00
   Lisa                 Burnett                               $371.03
   Jim                  Burnham                                $13.90
   Matthew              Burnham                                $17.50
   Bob                  Burns                                  $16.30
   Dennis               Burns                                  $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Gabriella            Burns                                    $0.10
   Jonathan             Burns                                    $2.55
   Maria                Burns                                   $38.85
   Mariana              Burns                                   $18.35
   Mathew               Burns                                   $11.05
   Peter                Burns                                 $300.00
   Shelley              Burns                                    $5.80
   Kristina             Burow                                 $138.30
   Elizabeth            Burr                                    $22.85
   Bill                 Burrows                               $100.00
   Susan                Burrows                              $1,824.10
   Laura                Burrus                                  $35.11
   Leah                 Burstein                                 $1.20
   Paige                Burt                                     $5.25
   Tom                  Burtch                                   $1.37
   Ashlee               Burton                                  $12.25
   Dewi                 Burton                                  $50.00
   Jeff                 Burton                                  $21.54
   Jennifer             Burton                                $250.00
   Kimberly             Burton                                  $20.55
   Margie               Burton                                  $14.50
   Matt                 Burton                                   $7.30
   Meghan               Burton                                   $0.05
   Sarah                Burton                                  $86.30
   Vala                 Burton                                  $50.00
   Robert               Busa                                     $5.00
   Heather              Busby                                    $4.95
   Inna                 Buschell                                 $6.25
   Emilia               Buscher                                  $0.65
   Raffaella            Buschiazzo                              $39.50
   Angela               Bush                                    $41.44
   Daniel               Bush                                  $106.55
   Katie                Bush                                  $100.00
   Mallika              Bush                                    $85.55
   Nancy                Bush                                     $1.83
   Steve                Bush                                    $56.28
   April                Bushman                                  $5.18
   Katie                Bushnell                                $80.26
   Nan                  Busks                                    $0.25
   Kara                 Buss                                    $18.95

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Diana                Bussani                                 $10.50
   Cathy                Bussewitz                               $14.29
   Emily                Bussiere                                $43.45
   Grace                Bustos                                 $250.00
   Keri                 Butkevich                                $8.15
   Alexis               Butler                                   $0.20
   Denise               Butler                                 $116.05
   Jessica              Butler                                   $1.96
   Kimberly             Butler                                   $8.95
   Madie                Butler                                  $85.55
   Sandy                Butler                                   $0.14
   Julie                Butt                                    $13.88
   Jennifer             Butterfoss                              $50.00
   Mary                 Buttler                                  $5.95
   Erin                 Button                                  $11.90
   Claire               Byars                                    $0.39
   Claire               Byars                                    $0.96
   Mark                 Byars                                    $0.05
   Alexis               Bybel                                    $1.26
   Micah                Bycel                                    $0.20
   Moti                 Bycel                                   $44.26
   Devon                Byers                                   $32.95
   Donica               Byers                                    $3.76
   Kaitlyn              Byers                                  $210.60
   Masha                Bykin                                   $39.15
   Melissa              Bykofsky                                $54.00
   Erick                Byorwango                                $7.70
   Andrew               Byrd                                    $13.15
   Haley                Byrd                                     $7.55
   Rachael              Byrd                                    $12.94
   Erin                 Byrne                                  $149.75
   Stacy                Byrne                                   $38.25
   Katie                Byrnes                                 $100.00
   Kristin              Byrnes                                   $1.66
   Vivian               Byun                                   $163.75
   Christine            Bywater                                  $0.20
   A                    C                                      $117.30
   Dan                  C                                       $85.00
   Paulina              C                                       $71.64
   Sandra               C                                        $0.45

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Pearl                Cabalan                                  $167.87
   Kristina             Caballero                                  $8.47
   Jennifer             Cabalquinto                               $48.10
   Cathleen             Cabansag                                  $57.65
   Marni                Cabaysa                                   $50.00
   Israel               Cabello                                   $64.05
   Aurelie              Cabou                                     $16.57
   Adeline              Cabral                                     $2.70
   Catherine            Cabral                                    $50.00
   Kathleen             Cabral                                     $5.75
   Lorie                Cadalin                                   $14.20
   Lea                  Cademenos                                  $4.40
   Steve                Cadigan                                   $21.60
   Nicole               Cadiz                                      $0.50
   Brooke               Cadorette                                  $5.75
   Tara                 Cadorna                                    $9.60
   Bob                  Cael                                      $73.20
   Adriana              Cagan                                      $7.05
   Ray                  Cagan                                     $11.95
   Elizabeth            Caganek                                   $10.55
   D                    Cagle                                      $0.20
   Jjessica             Caglia                                     $2.93
   Arielle              Cahayag                                    $0.67
   Caedmon              Cahill                                     $5.16
   Elizabeth            Cahill                                    $44.15
   Erin                 Cahill                                    $43.80
   Sharon               Cahill                                     $3.25
   William              Cahill                                    $27.12
   Traci                Cahn                                     $250.00
   Melissa              Cahoon                                    $14.72
   K                    Caicedo                                   $42.80
   Jessica              Caimi                                     $70.15
   Anne                 Cain                                     $160.35
   Nick                 Cain                                      $72.20
   Lisa                 Cairo                                     $80.75
   Michael              Cajal-Willis                               $5.20
   √Ñzg√ºr              Cakir                                     $61.60
   Carolyn              Cakir                                      $2.33
   Helen                Calabria                                   $0.34
   Jr                   Calanoc                                   $23.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Meaghan              Calcari Campbell                        $27.25
   Mary Lou             Calderon                                $26.15
   Nancy                Calderon                                 $0.25
   Patricia             Calderon                                $63.25
   Joe                  Calderone                               $38.48
   Ashley               Caldwell                                 $9.85
   Christopher          Caldwell                               $100.00
   Dorothy              Caldwell                                 $1.60
   Jaime                Caldwell                                $26.81
   John                 Caldwell                                $17.32
   Laura                Caldwell                                 $0.43
   Lindy                Caldwell                                 $1.82
   Margaret             Caldwell                                $82.60
   Kasey                Caletti                                  $0.78
   Charlotte            Calhoun                                  $8.75
   Nicole               Califano Landry                         $64.70
   Erin                 Calihan                                 $60.85
   Clint                Calimlim                                $12.90
   Karla                Calinawan                               $11.05
   Emily                Calkins                                  $4.85
   Taylor               Call                                    $22.73
   Mike                 Callagy                                 $90.75
   Christina            Callahan                                $23.95
   Liz                  Callahan                                $29.15
   Morgan               Callahan                                $32.01
   Mike                 Callahan-Dudley                          $5.60
   Lynne                Callen                                  $25.65
   Tom                  Callen                                  $28.00
   Kerry                Callinan                                $68.30
   Nicole               Callis                                  $15.20
   Paul                 Callis                                   $2.16
   Max                  Calvert                                  $3.35
   Sheri                Calvert                                 $50.00
   Lisa                 Calvin                                  $24.40
   Elsa                 Calvo                                    $0.05
   Melody               Calvo                                   $67.09
   Carol                Camacho                                 $27.55
   Lorraine             Camacho                                 $31.90
   Nina                 Camacho                                  $3.60
   Paz                  Camacho                                  $2.42

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Robert               Camacho                                 $52.40
   Sebastian            Camacho                                $125.90
   Clifford             Camaquin                                 $0.70
   Maria                Camara                                   $8.95
   Sylvia               Camargo                                  $1.40
   Amy                  Camarillo                               $61.25
   Jeremy               Camden                                   $4.31
   Pia                  Camenzind                                $1.75
   Anjali               Cameron                                  $3.25
   Colleen              Cameron                                 $64.90
   Jen                  Cameron                                 $42.05
   Janice               Camilo                                  $10.15
   Brandon              Camp                                   $100.00
   Krysta               Camp                                     $2.83
   Les                  Camp                                     $2.25
   Anna                 Campa                                   $26.85
   Lu                   Campagnola                              $53.70
   Jill                 Campaiola                               $39.40
   Nancy                Campana                                  $7.25
   Anne                 Campbell                                $20.11
   Ashley               Campbell                               $500.00
   Clare                Campbell                                $65.17
   Cynthia              Campbell                                 $0.40
   Dahlia               Campbell                                 $3.30
   Debbie               Campbell                                $39.25
   Hannah               Campbell                               $150.00
   Jennifer             Campbell                                $68.30
   Linda                Campbell                                $25.00
   Lucy                 Campbell                               $250.00
   Meg                  Campbell                                $17.22
   Michael              Campbell                                $53.80
   Michaela             Campbell                                $38.85
   Nicole               Campbell                                $50.00
   Riki                 Campbell                                 $1.80
   Rochelle             Campbell                                $12.25
   Roderic              Campbell                                 $4.20
   Shannon              Campbell                                $18.05
   Sherry               Campbell                                 $2.20
   Tish                 Campbell                               $250.00
   Trina                Campbell                               $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Brandon              Camper                                 $15.65
   Emily                Campion                                 $3.96
   Eric                 Campion                                $28.45
   Jon                  Campopiano                              $5.52
   David                Campos                                $100.00
   Frankie              Campos                                 $63.85
   Jose                 Campos                                 $46.05
   Louis                Campos                                 $45.85
   Mayra                Campos                                 $48.25
   Adriana              Campos Cisneros                         $2.35
   Ilkay                Can                                    $57.15
   Ellen                Canale                                $161.07
   Carlos               Canas                                   $4.66
   Rebecca              Canate                                 $50.00
   Shivani              Cancienne                               $8.05
   Christine            Canedo-Pullan                          $11.90
   Patricia             Canessa                               $100.00
   Fidel                Canilao                                $50.35
   Maria                Canilao                               $116.45
   Joe                  Cannella                               $50.00
   Kristin              Canning                                 $1.04
   Lilly                Cannold                                $69.40
   Avery                Cannon                                 $39.75
   Breena               Cannon                                $250.00
   Brianne              Cannon                                 $55.55
   Joanne               Cannon                                 $28.85
   Kristina             Cannon                                 $50.00
   Tara                 Cannon                                 $53.60
   William              Cannon                                  $2.30
   Christina            Cannone                               $100.00
   Gina                 Cano                                    $8.00
   Michael              Canon                                  $61.55
   Cary                 Canoun                                 $76.20
   Geoffrey             Cant                                  $429.21
   John                 Cantarella                             $66.60
   Jerilyn              Cantrall                                $2.70
   Ellen                Cantrell                               $11.85
   Shelly               Cantrell                               $10.10
   Amy                  Cantu                                  $13.20
   Edith                Cantu                                   $2.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Nora                 Canty                                   $89.75
   Suzana               Canuto                                  $34.95
   Jacqueline           Cao                                     $44.85
   Mary                 Cao                                      $3.56
   Lillian              Cape                                    $35.00
   Christian            Capil                                    $6.70
   Elie                 Capilitan                                $8.60
   Gaja                 Caple                                   $50.00
   Katie                Caponigro                              $549.45
   Louise               Capozzi                                 $10.80
   Brian                Cappy                                    $1.16
   Mary                 Caprio                                   $3.00
   Emily                Capurro                                  $3.00
   Janet                Caputo                                  $31.10
   Lauren               Caputo                                  $44.20
   Rebecca              Carabez                                  $0.40
   Erika                Cardamone                                $3.70
   Katie                Cardell                                  $4.22
   Vickie               Cardellini                              $29.04
   Ani                  Cardenas                                 $1.53
   Katie                Cardenas                                $45.08
   Amy                  Cardillo                                $39.15
   Angela               Cardon                                  $50.00
   Jeff                 Cardoni                                  $0.15
   Cathy                Cardoza                                 $15.55
   Nicole               Cardoza                                $122.75
   Katy                 Care                                   $187.67
   Emma                 Carella                                  $1.15
   Kimberly             Carelli                                  $8.95
   Joann                Carey                                  $142.45
   John                 Carey                                    $4.70
   Paige                Carey                                   $58.20
   Jill                 Carle                                    $0.10
   Yulia                Carlen                                   $1.85
   Carolyn              Carlesimo                               $10.91
   Annette              Carlin                                  $80.00
   Kelley               Carlin                                  $25.30
   Elizabeth            Carline                                  $0.44
   Kelly                Carlone                                $338.71
   Lorenzo              Carlos                                   $5.63

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   John                 Carlsen                               $372.80
   Ashley               Carlson                                $10.30
   Brian                Carlson                                $36.45
   Britt                Carlson                                 $1.60
   Dee                  Carlson                                $12.30
   Jim                  Carlson                                $78.24
   Jim                  Carlson                                 $3.50
   Sarah                Carlson                                $17.85
   Joan                 Carlton                                $10.23
   Jackie               Carmichael                             $59.96
   Terra                Carmichael                            $200.00
   Jennifer             Carmona                                 $4.20
   Katie                Carnahan                                $4.37
   Alex                 Carney                                $143.80
   Hannah               Carney                                 $13.90
   Jeanne               Carney                                  $8.47
   Kathleen             Carney                                  $0.35
   Kerry                Carney                                 $14.70
   Tracy                Carney Skytt                          $100.00
   Kristen              Carnohan                               $17.55
   Emily                Caro-Bruce                            $268.31
   Philip               Carolan                                $21.93
   Julia                Carolina                                $8.60
   Joyce L              Carpener                                $0.85
   Ariel                Carpenter                              $34.60
   Barbara              Carpenter                               $4.60
   Bob                  Carpenter                              $50.00
   Grace                Carpenter                              $21.55
   John                 Carpenter                              $36.23
   Kyle                 Carpenter                               $0.75
   Lauren               Carpenter                             $106.03
   Mark                 Carpenter                               $4.30
   Colleen              Carpenter-Simmons                       $2.93
   Camilla              Carper                                 $29.25
   Amelia               Carr                                  $175.90
   Amy                  Carr                                   $80.60
   Daniel               Carr                                    $8.95
   Kara                 Carr                                    $3.06
   Kelli                Carr                                   $10.80
   Kevin                Carr                                    $9.75

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Marie                Carr                                     $0.75
   Maureen              Carr                                     $2.57
   Melanie              Carr                                     $3.83
   Zachary              Carr                                   $144.05
   Judy                 Carrasco                               $100.00
   Erin                 Carrera                                 $50.00
   Erin                 Carrero                                 $13.30
   Ryan                 Carricato                              $158.90
   Amy                  Carrier                                $500.00
   Packey               Carrier                                 $41.90
   Della-Rae            Carriere                                $20.80
   Crystal              Carrillo                                 $5.30
   David                Carrillo                                $50.00
   Maria                Carrillo                               $467.04
   Nicole               Carrillo                                $52.40
   Stephanie            Carrillo                                $46.32
   Xochitl              Carrion                                  $0.05
   Ashley               Carroll                                 $28.09
   Brianna              Carroll                                 $34.49
   Chelsea              Carroll                                 $12.02
   Gerald               Carroll                                  $3.20
   Mary                 Carroll                                  $6.90
   Sarah                Carroll                                 $10.00
   Clare                Carron                                  $24.60
   Amanda               Carrubba                                 $1.73
   Courtney             Carscadden                               $8.85
   Jody                 Carson                                 $542.40
   Lauren               Carson                                  $25.91
   Haley                Carstensen                               $1.10
   William              Cartal                                  $65.07
   Heidi                Cartan                                  $52.30
   Autumn               Carter                                  $63.10
   Chelsea              Carter                                  $38.00
   Jayme                Carter                                   $0.07
   Jen                  Carter                                  $50.00
   Jennifer             Carter                                 $277.65
   John                 Carter                                  $59.15
   Lauren               Carter                                  $22.05
   Linda                Carter                                  $50.00
   Loretta              Carter                                   $3.65

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Malika               Carter                                   $3.15
   Mariam               Carter                                  $48.05
   Mollie               Carter                                   $3.80
   Sara                 Carter                                   $0.98
   Sara                 Carter                                  $48.35
   Steve                Carter                                   $1.90
   Kailey               Cartwright                              $32.51
   Darla                Caruthers                               $61.75
   Emily                Caruthers                              $136.25
   Lacy                 Caruthers                              $120.00
   Carla                Carvajal                                $39.70
   Stephen              Cary                                    $20.15
   Kelli                Casale                                  $15.15
   Casey                Casanova                                $30.11
   Amy                  Casanover                              $206.61
   Kathleen             Casazza                                 $49.35
   Kara                 Caselas                                  $1.25
   Judith               Casey                                   $47.89
   Kealan               Casey                                   $27.76
   Molly                Casey                                    $3.60
   Rizza                Casey                                    $3.70
   Maxwell              Cash                                   $373.62
   Nick                 Cash                                     $0.26
   Elizabeth            Cashion                                 $97.28
   Adam                 Cashman                                $124.65
   Vanessa              Cashman                                  $2.65
   Josie                Casillas                               $250.00
   Daniel               Casner                                   $0.25
   Suzanne              Casolaro                               $150.00
   Lena                 Casolo                                   $8.00
   Alanna               Cason                                    $3.62
   Ann                  Casper                                  $30.92
   Kristan              Cassady                                $100.00
   Chris                Cassidy                                 $46.86
   Daniel               Cassidy                                $150.25
   Jennifer             Cassidy                                  $1.30
   Mary                 Cassidy                                 $50.00
   Mary                 Cassidy                                $101.00
   Maureen              Cassidy                                  $8.20
   Samantha             Cassidy                                  $8.95

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jona                 Castaneda                               $16.00
   Lina                 Castaneda                               $10.15
   Cristina             Castellanos                            $278.55
   Mary                 Castellanos                              $1.15
   Lisa                 Castellino                             $118.00
   Lori                 Castellucci                              $6.42
   Eduardo              Castillo                                 $1.39
   Jeanne               Castillo                                $31.85
   Kelly                Castillo                                $11.93
   Kharina              Castillo                               $200.00
   Rhina                Castillo                                $12.05
   Roseanna             Castillo                                $69.70
   Sol                  Castillo                                 $0.36
   Maggie               Castle                                  $14.15
   Charles              Castorena                               $50.00
   Ana                  Castrillo                              $100.00
   Ad                   Castro                                   $0.75
   Cynthia              Castro                                   $3.05
   Elias                Castro                                  $15.00
   Linda                Castro                                 $100.00
   Ralph                Castro                                  $20.70
   Zoe                  Castro                                 $227.19
   Guido                Cataife                                  $3.79
   Todd                 Catalini                                $15.15
   Paul                 Catanese                                 $6.07
   Florence             Catania                                  $4.50
   Nicole               Catania                                  $1.65
   Cynthia              Catibog                                $170.05
   Matthew              Catney                                  $25.05
   Dana                 Catolico                                 $4.70
   Jessica              Cattani                                 $68.05
   Meghan               Caudill                                 $34.70
   Brian                Caughell                                 $0.30
   Ryan                 Cavalier                                $28.85
   Rebecca              Cavanaugh                               $72.95
   Michael              Cavanna                                 $15.15
   Hillary              Caviglia                               $137.09
   Sarah                Caviston                                $27.80
   Charmaine            Caward                                  $25.40
   Megan                Caygill-Wallach                         $23.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Megan                Cayler                                  $8.00
   Q                    Caylor                                 $77.15
   Eddie                Cazarez                                $28.81
   Rich                 Cazin                                 $100.54
   Gary & Molly         Cc                                     $48.65
   Anne                 Ccademenos                             $11.10
   Gabriel              Cebrian                                $38.70
   Rhonda               Ceccato                                $50.00
   Max                  Cecchini                                $3.40
   Myrna                Cecchini Gilbert                      $100.00
   Alex                 Cechettini                              $0.80
   Oded                 Cedar                                 $120.80
   Christine            Celio                                  $65.15
   Katie                Center Brooks                          $54.80
   Rebecca              Centers                                 $4.80
   Laurie               Cerefice                              $152.25
   Margaret             Ceres                                 $125.00
   Lane                 Ceric                                   $5.25
   Craig                Cerniglia                              $78.55
   Lisette              Cervano                                $72.65
   Marie F.             Cesar                                  $57.70
   Myrtha               Cesar                                  $30.40
   Jen                  Cesario                                 $1.80
   Elenna               Cestoni                                $50.00
   Alyssia              Cetinich                              $250.00
   Elizabeth            Cha                                   $117.30
   Meredith             Chace                                  $67.65
   Michael              Chace                                  $19.53
   Brian                Chad                                   $50.19
   Gitansh              Chadha                                 $79.15
   Aaron                Chadwick                                $2.42
   Bessie               Chae                                    $8.75
   Sukyoung             Chae                                   $33.95
   Raquel               Chaffee                               $220.60
   Dafna                Chaffino                              $150.00
   Cynthia              Chahine                                $50.00
   Gebran               Chahrouri                             $100.00
   Kendra               Chaikind                               $95.05
   Tai                  Chainarong                              $8.95
   Roslyn               Chaisanguanthum                       $148.50

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Christina            Chaivorapol                             $0.35
   Laxmi                Chakka                                 $17.23
   Helen                Chaknova                              $222.60
   Ashoke               Chakrabarti                           $100.00
   Samidh               Chakrabarti                             $8.75
   Sumant               Chakravarthy                           $15.16
   Neela                Chakravartula                          $52.60
   Barbara              Chalfant                               $22.05
   Eta                  Chalfin                                $14.55
   Jennifer             Chaloemtiarana                         $26.86
   Siresha              Chaluvadi                             $250.00
   Michael              Chamberlain                             $0.70
   Katy                 Chamberlin                              $3.35
   Michelle             Chamberlin                             $13.24
   Angus                Chambers                               $78.15
   Laura                Chambers                               $81.45
   Mary Jill            Chambers                               $10.96
   Ryan                 Chambers                              $100.00
   Shanie               Chambers                                $3.45
   Xiomara              Chamorro                                $0.60
   Anjna                Champaneri                             $31.20
   Neelesh              Champaneri                             $80.00
   Ludovic              Champenois                            $124.20
   Faye                 Champlin                              $100.00
   Alda                 Chan                                   $45.80
   Becky                Chan                                  $104.15
   Cassandra            Chan                                    $1.40
   Christine            Chan                                   $58.60
   Christopher          Chan                                   $12.75
   Cynthia              Chan                                    $0.85
   Dori                 Chan                                  $335.80
   Dynelle              Chan                                    $0.95
   Eddy                 Chan                                    $2.20
   Elaine               Chan                                   $10.15
   Ernie                Chan                                    $5.25
   Evelyn               Chan                                    $9.00
   Gary                 Chan                                    $8.95
   Ivy                  Chan                                   $86.10
   Jennifer             Chan                                   $26.08
   Jennifer             Chan                                   $67.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jessica              Chan                                   $152.51
   Joanne               Chan                                    $20.40
   Kelso                Chan                                     $1.65
   Kerissa              Chan                                   $140.50
   Kevin                Chan                                    $13.85
   Mandy                Chan                                     $1.95
   Marilyn              Chan                                   $102.30
   Mary                 Chan                                    $65.15
   Nina                 Chan                                    $12.20
   Sarah                Chan                                     $2.53
   Sherry               Chan                                   $250.00
   Simon                Chan                                    $19.60
   Stephanie            Chan                                   $250.00
   Sue                  Chan                                     $0.92
   Tiffany              Chan                                    $58.39
   Tim                  Chan                                     $1.10
   Tony                 Chan                                     $1.40
   Tracy                Chan                                   $100.00
   Shannon              Chancellor                               $2.63
   Letty                Chanchu                                  $3.40
   Alice                Chandler                                 $1.30
   Jeff                 Chandler                                $11.15
   Nick                 Chandler                                 $1.80
   Suruchi              Chandra                                 $20.20
   Aimee                Chang                                    $2.65
   Annie                Chang                                    $8.95
   Antony               Chang                                   $12.90
   Audrey               Chang                                   $59.06
   Bonnie               Chang                                    $8.02
   Brian                Chang                                   $47.61
   Candice              Chang                                    $0.45
   Caroline             Chang                                   $51.90
   Chiying              Chang                                   $59.65
   Chris                Chang                                    $8.20
   Cindy                Chang                                   $78.55
   Cindy                Chang                                    $2.05
   Courtney             Chang                                   $50.00
   Crystal              Chang                                    $0.15
   Douglas              Chang                                    $1.80
   Eric                 Chang                                  $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jacqueline           Chang                                  $31.35
   Jason                Chang                                  $28.65
   Jeff                 Chang                                  $13.73
   Jennifer             Chang                                  $24.35
   Jennifer             Chang                                 $138.03
   Jennifer             Chang                                  $24.05
   Jessica              Chang                                 $100.00
   Jolie                Chang                                   $9.25
   Jonathan             Chang                                  $46.78
   Joyce                Chang                                  $50.00
   Karen                Chang                                  $37.30
   Laura Elaine         Chang                                   $0.25
   Linda                Chang                                   $0.15
   Ling                 Chang                                   $0.55
   Louis                Chang                                   $9.30
   Lu                   Chang                                  $75.00
   Melissa              Chang                                   $2.95
   Mr.                  Chang                                  $45.65
   Olivia               Chang                                 $104.28
   Pei-Jen              Chang                                  $72.35
   Robin                Chang                                  $30.00
   Sophia               Chang                                 $200.00
   Stephanie            Chang                                 $177.05
   Thomas               Chang                                   $1.40
   Tristen              Chang                                  $17.98
   Vince                Chang                                   $3.35
   Yee                  Chang                                  $35.00
   Naydia               Chantarasompoth                        $13.80
   Howard               Chao                                  $169.60
   Karen                Chao                                   $50.00
   Lynn                 Chao                                   $64.20
   Nora                 Chao                                    $4.90
   Dick                 Chapin                                 $21.65
   Chris                Chapman                               $139.20
   Christen             Chapman                                $16.35
   Debbie               Chapman                                $16.10
   Erin                 Chapman                                $47.85
   Greg                 Chapman                                 $2.40
   Joel                 Chapman                                $75.20
   Kevin                Chapman                                $42.37

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Lizette              Chapman                                $25.05
   Moira                Chapman                                 $3.15
   Renee                Chapman Navarro                         $5.07
   Lucy                 Chappell                               $14.85
   Sierra               Chappell                               $14.90
   Ty                   Chappell                              $161.30
   Caitrin              Chappelle                               $1.75
   Isabella             Charbeneau                              $8.45
   Jaz                  Charles                               $250.00
   Gavin                Charlston                              $10.55
   Billy                Charlton                               $20.00
   Margaret             Charnas                               $100.00
   David                Charne                                 $51.90
   Prista               Charuworn                             $730.80
   Becky                Charvat                                $88.05
   Alannah              Chase                                  $14.85
   Cc                   Chase                                   $5.30
   Courtney             Chase                                   $0.15
   Courtney             Chase                                  $73.35
   Isaiah               Chase                                 $183.71
   Dan                  Chatman                                $79.05
   Tim                  Chatwin                                 $9.30
   Cathy                Chau                                   $40.03
   Kelly                Chau                                    $3.90
   Mabel                Chau                                  $211.70
   Nhu                  Chau                                   $25.33
   Brooke               Chaudhri                               $20.90
   Michelle             Chaudoir                               $31.35
   Alexander            Chauhan                               $154.62
   Hemant               Chavan                                  $1.38
   Mariana              Chaves                                 $49.10
   Cheyanne             Chavez                                 $18.25
   Cynthia              Chavez                                $200.00
   David                Chavez                                 $84.75
   Justin               Chavez                                  $0.01
   Krista               Chavez                                  $4.78
   Leslie               Chavez                                  $5.10
   Orlando              Chavez                                 $84.10
   Shirley              Chavez                                 $34.00
   Vanessa              Chavira-Manrique                       $32.85

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Neha                 Chawla                                  $3.46
   Louise               Che                                    $26.04
   Tina                 Che                                    $15.35
   Jeffers              Chea                                   $71.99
   Al                   Checchi                               $100.00
   Deanna               Chechile                               $15.40
   Angela               Cheda                                   $2.12
   Sulynn               Chee                                    $6.30
   Emily                Chein                                   $5.95
   Ben                  Chelf                                  $64.11
   Monica               Chellam                               $131.10
   Achen                Chen                                  $236.55
   Allison              Chen                                    $8.95
   Amy                  Chen                                  $111.20
   Betty                Chen                                   $18.70
   Betty                Chen                                   $15.75
   Candace              Chen                                    $0.35
   Christina            Chen                                    $0.19
   Cody                 Chen                                   $24.39
   Daniel               Chen                                   $43.90
   David                Chen                                   $51.60
   Dazhi                Chen                                  $149.10
   Debbie               Chen                                    $3.25
   Debby                Chen                                   $44.30
   Deborah              Chen                                  $100.00
   Eddy                 Chen                                  $130.00
   Eric                 Chen                                   $50.00
   Erping               Chen                                    $1.00
   Fen                  Chen                                   $12.55
   Grace                Chen                                   $14.25
   Han                  Chen                                   $50.00
   Helen                Chen                                  $114.96
   Howard               Chen                                  $162.08
   Hsiaoping            Chen                                    $0.40
   Huifen               Chen                                   $29.95
   I-Chia               Chen                                   $50.00
   Ivy                  Chen                                  $235.25
   I-Yang               Chen                                    $1.35
   Jane                 Chen                                    $0.98
   Jason                Chen                                    $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jean                 Chen                                   $63.65
   Jennifer             Chen                                  $100.00
   Karen                Chen                                   $30.62
   Katherine            Chen                                   $18.20
   Keliang              Chen                                    $0.90
   Kevin                Chen                                   $61.20
   Lisa                 Chen                                   $11.45
   Mark                 Chen                                   $27.12
   Michael              Chen                                  $100.00
   Sally                Chen                                   $22.15
   Sidney               Chen                                    $1.95
   Stacy                Chen                                  $369.55
   Terri                Chen                                   $77.75
   Tina                 Chen                                  $100.00
   Wayne                Chen                                    $0.10
   William H.           Chen                                    $8.95
   Xhingyu              Chen                                   $71.05
   Yijia                Chen                                   $56.55
   Yu                   Chen                                   $69.91
   Yu                   Chen                                  $470.25
   Kathryn              Cheney                                 $82.55
   Tammy                Cheney                                $148.06
   Amy                  Cheng                                  $64.05
   Annie                Cheng                                 $100.00
   Cathy                Cheng                                   $0.21
   Charleen             Cheng                                  $37.36
   Chris                Cheng                                 $126.75
   Daniel               Cheng                                  $14.35
   Daniel               Cheng                                  $88.30
   Fan                  Cheng                                  $34.10
   Heather              Cheng                                   $9.19
   Ida                  Cheng                                  $23.70
   Ivan                 Cheng                                 $468.10
   Janet                Cheng                                  $16.85
   Jesse                Cheng                                  $71.90
   Karen                Cheng                                 $709.66
   Kelly                Cheng                                 $200.20
   Long                 Cheng                                  $21.20
   Michael              Cheng                                   $3.80
   Priscilla            Cheng                                   $0.69

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Rebecca              Cheng                                     $3.45
   Rena                 Cheng                                   $200.00
   Sasa                 Cheng                                     $0.35
   Shawn                Cheng                                    $38.15
   Tien                 Cheng                                     $0.51
   Vivian               Cheng                                    $75.10
   Wen Wen              Cheng                                     $8.60
   Yvonne               Cheng                                    $20.80
   Dorcas               Cheng-Tozun                              $50.85
   Wendy                Cheong                                  $100.00
   Jessica              Chere                                    $57.31
   Elizabeth            Chereji                                  $10.70
   Shawn                Cherian                                   $5.25
   Rebecca              Chernack                                 $50.00
   Leah                 Chernikoff                              $100.00
   Bradley              Chernin                                  $57.61
   Jill                 Cherrstrom                                $8.75
   Letty                Cherry                                  $360.00
   Nancy                Cherry                                   $60.40
   Merrill              Chertok                                 $100.00
   Honor                Chervin                                   $7.05
   Henry                Chesbrough                               $35.16
   Kevin                Chesnos                                   $5.65
   Jen                  Chess                                     $0.10
   Linda                Chetaitis                                $33.26
   Nancy                Chetaitis                                $17.25
   Karina               Cheuk                                    $68.88
   Chris                Cheung                                   $15.75
   Christine            Cheung                                  $100.00
   Dorothy              Cheung                                   $29.00
   Katie                Cheung                                   $50.00
   Nancy                Cheung                                   $88.30
   Nicole               Cheung                                   $26.50
   Salina               Cheung                                    $0.63
   Sandra               Cheung                                   $58.76
   Shirley              Cheung                                   $33.55
   Winnie               Cheung                                   $13.35
   Gil                  Chev                                      $0.05
   Curtis               Chevalier                                 $1.25
   Jaclyn               Cheves                                    $0.50

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Andrea               Chevez                                   $33.90
   Stephanie            Chevez                                    $1.55
   Bhargavi             Chevva                                    $8.95
   Camille              Chhabria                                  $4.05
   Vince                Chhabria                                 $11.95
   Sylvia               Chi                                      $25.30
   Margery              Chia                                     $23.05
   Bei                  Chiang                                   $30.20
   Cindy                Chiang                                   $35.90
   Rosemary             Chiang                                   $17.75
   Sherry               Chiang                                   $46.81
   Thomas               Chiang                                   $50.00
   Warren               Chiang                                   $62.55
   Anne                 Chiaramonte                              $74.15
   Kate                 Chiarella                                $16.35
   Stephen              Chiari                                   $54.56
   Christopher          Chiasson                                 $60.85
   Sandhya              Chib                                      $0.35
   Jolene               Chick                                  $140.80
   Lauren               Chickneas                                 $0.30
   Ellenann             Chiddix                                  $11.28
   Erin                 Chidsey                                  $50.00
   Bea                  Chiem                                     $0.45
   Jenniferlyn          Chiemingo                                 $3.26
   Pam                  Chien                                     $4.94
   Laura                Childress                              $115.69
   Tandra               Childress                                 $0.30
   David                Chiles                                   $64.95
   Shana                Chimpky                               $1,634.90
   Christine            Chin                                      $0.40
   Don                  Chin                                   $201.35
   Doreen               Chin                                      $5.00
   Florence             Chin                                      $0.70
   Jenny                Chin                                   $100.00
   Nhunguyet            Chin                                     $10.00
   Phong                Chin                                     $10.65
   Sheila               Chin                                     $82.15
   Theresa              Chin                                      $0.05
   Tiffany              Chin                                     $16.20
   Toyna                Chin                                      $5.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jacqueline           Ching                                   $31.85
   Stacey               Ching                                  $113.59
   Terence              Ching                                   $35.00
   Punit                Chiniwalla                             $111.95
   Stef                 Chin-Le                                  $0.30
   Debbie               Chinn                                  $100.00
   Nathan               Chinn                                   $17.95
   Stacy                Chinn                                    $0.35
   Tim                  Chiochios                              $212.05
   Theresa              Chiong                                  $65.78
   Brent                Chionh                                  $23.15
   Lyly                 Chiou                                   $13.20
   Mary                 Chiou                                   $44.45
   Heidi S              Chipman                                 $44.90
   Jeremy               Chipman                                  $1.21
   Khal                 Chirwa                                   $1.44
   Linda                Chisholm                                 $1.15
   Robert               Chisholm                                $33.78
   Ashley               Chito                                  $100.00
   Jennifer             Chitsaz                                 $17.16
   Corinne              Chiu                                    $74.17
   Czarina              Chiu                                    $49.24
   Edmond               Chiu                                   $134.39
   Gorton               Chiu                                    $15.85
   Linda                Chiu                                     $0.05
   Shannon              Chloupek                               $185.10
   Kristina             Chmelka                                 $30.85
   Catherine            Cho                                      $0.10
   Crystinue            Cho                                     $85.35
   Erin                 Cho                                    $144.45
   Jordyn               Cho                                      $0.31
   Karen                Cho                                    $180.61
   Michael              Cho                                     $86.85
   Sarah                Cho                                      $4.45
   Luann                Chock                                   $30.70
   Chodroffc            Chodroff                                $76.40
   Catherine            Choe                                   $161.05
   Meeryo               Choe                                     $0.30
   Theresa              Choe                                    $39.13
   Julie                Choey                                  $219.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alex                 Choi                                   $13.65
   Amy                  Choi                                    $0.36
   Cilla                Choi                                  $100.00
   Cindy                Choi                                  $538.08
   Debora               Choi                                   $97.82
   Elaine               Choi                                    $3.45
   Hejie                Choi                                    $5.69
   Jane                 Choi                                   $24.86
   Jane                 Choi                                    $5.70
   Jennifer             Choi                                   $50.17
   Jinah                Choi                                    $5.95
   Lydia                Choi                                  $100.00
   Marie                Choi                                   $75.53
   Renee                Choi                                   $80.85
   Stephanie            Choi                                   $14.70
   Monal                Chokshi                                 $0.40
   Kyunghee             Chon                                    $4.85
   Robby                Chon                                    $3.90
   Amy                  Chong                                   $0.15
   Stephan              Choo                                   $28.85
   Divya                Chopra                                 $17.45
   Arthi                Chordia                                $30.00
   Kevin                Chorlins                              $200.00
   Carin                Chou                                    $0.90
   Jack                 Chou                                   $69.20
   Jamie                Chou                                    $1.25
   John                 Chou                                    $1.90
   Jonathan             Chou                                  $279.52
   Lynne                Chou                                   $23.15
   Tai                  Chou                                   $31.48
   Zeena                Choudhry                              $100.00
   Julie                Choudhuri                              $40.15
   Arabelle             Chow                                   $29.85
   Brittan              Chow                                   $21.85
   Eric                 Chow                                   $50.00
   Hannah               Chow                                    $0.40
   Jennifer             Chow                                  $184.60
   Kate                 Chow                                   $51.20
   Lisa                 Chow                                    $1.42
   Stephanie            Chow                                  $222.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Amit                 Chowdhary                              $78.45
   David                Choy                                    $1.40
   Cheryl               Chretien                                $2.95
   Katie                Chrisman                               $41.67
   Autria               Christensen                            $77.10
   Chad                 Christensen                             $0.87
   Emma                 Christensen                             $0.33
   Jamie                Christensen                            $30.10
   Jeremy               Christensen                           $419.22
   Jesse                Christensen                            $37.15
   Karren               Christensen                             $8.95
   Mandy                Christensen                            $14.95
   Nikki                Christensen                             $3.20
   Joyce                Christenson                            $18.95
   Nancy                Christenson                            $50.00
   Peggy                Christgau                              $76.60
   Liz                  Christiano                             $12.10
   Alicia               Christiansen                           $49.15
   Tiffany              Christianson                           $10.51
   Laura                Christie                              $206.85
   Jennifer             Christinat                             $16.82
   Anamarie             Christine                              $24.60
   Maxine               Christison                             $31.80
   Noah                 Christman                               $1.60
   Deanna               Christmas                              $23.55
   Nicole               Christmas                              $85.10
   Clint                Christoffersen                          $5.71
   Natalie              Christopherson                         $19.10
   Robert               Christopherson                         $61.65
   Holly                Chrobak                                 $0.75
   Jeff                 Chromy                                 $13.55
   Adden                Chrystie                               $23.19
   Chris                Chu                                    $20.60
   Daniel               Chu                                    $15.65
   Fanny                Chu                                    $21.95
   Isabel               Chu                                   $475.01
   James                Chu                                   $182.10
   Linda                Chu                                    $47.65
   Liza                 Chu                                     $2.35
   Liza                 Chu                                    $29.90

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Luna                 Chu                                     $7.60
   Ming                 Chu                                    $16.30
   Paul                 Chu                                    $54.40
   Sarah                Chu                                    $69.35
   Ya-Bing              Chu                                    $32.25
   Derina               Chua                                 $154.50
   Winston              Chua                                   $25.00
   Amy                  Chuang                               $124.30
   Shirley              Chuang                                  $6.95
   Puja                 Chugani                                $11.80
   Vivian               Chui                                   $35.05
   Charles              Chun                                   $22.47
   Cheryl               Chun                                   $37.15
   Erin                 Chun                                   $51.75
   Kevin                Chun                                   $32.65
   Amanda               Chung                                  $10.85
   Andrew               Chung                                  $35.05
   Caroline             Chung                                  $10.75
   Connie               Chung                                  $18.15
   Connie               Chung                                  $40.75
   Edward               Chung                                $197.20
   Esther               Chung                                  $21.00
   Gina                 Chung                                  $80.00
   Jackie               Chung                                $181.55
   Judy                 Chung                                   $8.95
   Ken                  Chung                                $132.00
   Leonard              Chung                                  $10.20
   Lynna                Chung                                   $0.60
   May                  Chung                                  $50.00
   Phil                 Chung                                  $10.05
   Sarah                Chung                                  $66.50
   Sophia               Chung                                   $0.29
   William              Chung                                   $1.05
   Wook Jin             Chung                                  $13.55
   Anne                 Church                                  $0.70
   Kimberly             Church                                 $12.05
   Kathy                Chusid                                 $24.00
   Want                 Chyi                                $1,075.87
   Calvin               Chyo                                   $45.65
   Tiffani              Cibotti                                 $0.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Tiffany              Cieslak                                 $31.95
   Paul                 Cifka                                   $25.00
   Sue                  Cimicata                                $56.40
   Liza                 Cimino                                   $0.60
   Michelle             Cino                                    $35.55
   Nicole               Cinti                                   $14.40
   Linsey               Cioffari                                 $0.14
   Kira                 Cirkovic                                 $0.12
   Carmen               Cisneros                                $87.10
   Lisa                 Cisneros                                $21.35
   Monique              Cisneros                                $41.50
   Anne                 Cisney                                 $108.37
   Laura                Cissna                                  $25.80
   David                Citrin                                 $148.15
   Dave                 Claar                                   $27.95
   Mary                 Claassen                                $61.70
   Andrew               Clabaugh                                 $1.70
   Carol                Clabo                                    $2.35
   Dana                 Claffey                                 $16.05
   Sarah                Clagett Johnson                          $8.95
   Kenia                Claire                                   $0.65
   Barbara              Clancy                                  $52.70
   Ken                  Clanton                                 $10.25
   Andre                Clark                                    $1.85
   Bethy                Clark                                   $19.96
   Bryan                Clark                                  $468.95
   Carlton              Clark                                    $0.06
   Catharine            Clark                                   $72.45
   Chelsea              Clark                                  $250.00
   Dana                 Clark                                   $23.15
   Jenyce               Clark                                  $127.50
   Katharine            Clark                                   $12.15
   Kim                  Clark                                    $3.30
   Lally                Clark                                   $78.10
   Lisa                 Clark                                   $28.05
   Madeline             Clark                                   $93.95
   Marla                Clark                                    $2.25
   Mckenzie             Clark                                   $47.35
   Melissa              Clark                                   $50.00
   Sandi                Clark                                    $6.43

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Shea                 Clark                                   $7.28
   Susan                Clark                                  $62.05
   Tom                  Clark                                  $83.55
   Tracy                Clark                                 $163.87
   Tracy                Clark Green                            $11.20
   Aaron                Clarke                                $212.15
   Amy                  Clarke                                  $1.51
   Brandon              Clarke                                 $80.55
   Graham               Clarke                                 $42.05
   Kelly                Clarke                                 $74.20
   Leif                 Clarke                                $400.10
   Nicole               Clarke                                  $0.20
   Tobey                Clarkin                                 $0.88
   Pam                  Clark-Yannoni                          $38.75
   Kim                  Clash                                 $276.79
   Marguerite           Clavel                                  $0.83
   Jacqueline           Clay                                   $16.10
   Lee                  Clay                                    $3.00
   Robert               Clay                                  $100.00
   Jacqueline           Clayton                                 $8.95
   Sasha                Clayton                               $306.40
   Trisha               Clayton                                $14.20
   Chrissy              Cleary                                $100.00
   Ryan                 Clemens                                $75.00
   Dane                 Clemenson                              $86.10
   Bryan                Clement                                $86.00
   Rachel               Clement                                 $9.76
   Ray                  Clement                                $10.51
   Trisha               Clement                                 $5.45
   Elba                 Clemente-Lambert                       $34.12
   Emily                Clements                               $19.35
   Gillian              Clements                                $0.95
   Graeme               Clements                                $2.70
   Katherine            Clements                               $34.50
   Rory                 Clements                               $18.65
   William              Clements                                $4.95
   Carmela              Clendening                             $47.90
   Lisa                 Clendenning                            $40.15
   Rachel               Clennon                                $23.10
   Erin                 Cleofe                                  $9.11

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Edward               Cleveland                               $90.34
   Richard              Cleveland                               $80.10
   David                Clifford                               $110.15
   Ruth                 Clifford                                 $5.70
   James                Clifton                                 $34.25
   Tom                  Clifton                                 $24.80
   Peter                Cline                                  $450.00
   Robin                Cline                                   $38.20
   Michelle             Clinton                                 $29.01
   Nancy                Clock                                  $100.00
   Richard              Close                                  $154.35
   Timothy              Close                                    $8.16
   Maureen              Clough                                 $197.99
   Josephine            Clouse                                  $42.85
   S                    Clow                                    $20.50
   Danelle              Cloyes                                   $1.06
   Tom                  Clyde                                   $10.15
   Darcy                Clyne                                    $0.85
   Christine            Coady                                    $8.95
   Genevieve            Coady                                   $22.10
   Jill                 Coady                                   $20.45
   John                 Coan                                    $50.00
   Selvi                Cobanoglu                               $13.80
   Elyse                Cobb                                    $14.00
   Justin               Cobbett                                 $37.98
   Linnea               Coccellato                              $61.20
   Nancy                Cochran                                  $1.30
   Randy                Cochran                                  $8.95
   Andrew               Cochrane                                 $1.60
   Ryan                 Cochrane                                $94.90
   Kristine             Coco                                    $12.95
   Rose                 Codini                                  $59.28
   Crystal              Cody                                    $16.65
   Gretchen             Cody                                    $61.55
   Erin                 Coe                                    $162.16
   Nicole               Cofield                                 $13.15
   Patty                Coggan                                   $0.25
   Courtney             Coghlan                                  $1.90
   Stacy                Coghlan                                 $18.05
   Alan                 Cohen                                  $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Crystal              Cohen                                   $1.65
   Dan                  Cohen                                  $13.35
   Dana                 Cohen                                  $50.00
   Danielle             Cohen                                   $8.95
   David                Cohen                                  $14.05
   Donna                Cohen                                  $54.10
   Edoe                 Cohen                                  $50.00
   Edward               Cohen                                  $81.25
   Ian                  Cohen                                  $20.20
   Jessica              Cohen                                   $1.85
   Joel                 Cohen                                  $12.33
   Jon                  Cohen                                 $103.45
   Lisa                 Cohen                                  $34.85
   Margo                Cohen                                   $0.59
   Mitch                Cohen                                   $3.05
   Rich                 Cohen                                   $8.65
   Robert               Cohen                                   $4.35
   Roy                  Cohen                                  $31.55
   Ryan                 Cohen                                 $216.10
   Samuel               Cohen                                 $100.00
   Sarah                Cohen                                  $18.13
   Susan                Cohen                                  $13.35
   Susan                Cohen                                  $44.15
   Yuni                 Cohen                                   $9.95
   Stacey               Cohen-Maitre                          $189.75
   David                Cohn                                  $750.00
   Miriam               Cohn                                    $7.00
   Sara                 Cohn                                   $44.30
   Ioana                Cojocaru                               $22.90
   Debbie               Coker                                  $30.15
   Stella               Coker                                 $367.20
   Christine            Col                                     $1.25
   Yi-Wyn               Colaco                                 $20.40
   January              Colacurcio                              $5.41
   Sophia               Colamarino                             $64.70
   Karen                Colangelo                             $284.10
   Linda                Colarusso                              $12.46
   Melissa              Colbeck                                $37.93
   Deb                  Colden                                 $35.65
   Emily                Coldiron                                $7.15

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Jane                 Coldoff                                  $100.00
   Alicea               Cole                                      $24.56
   Amanda               Cole                                      $88.05
   Casey                Cole                                       $0.25
   Gabriella            Cole                                      $20.75
   James                Cole                                      $64.66
   Judy                 Cole                                       $4.00
   Laura                Cole                                       $8.93
   Rachel               Cole                                      $19.92
   Rich                 Cole                                      $23.40
   Tina                 Cole                                      $62.15
   Will                 Cole                                       $4.70
   Cristin              Coleman                                   $61.41
   David                Coleman                                  $102.35
   Dolores              Coleman                                  $173.20
   Jodi                 Coleman                                  $200.00
   Joseph               Coleman                                    $8.95
   Michele              Coleman                                    $4.05
   Valerie              Coleman                                    $1.30
   Colette              Coles                                      $4.10
   James                Coletti                                    $0.60
   Kathleen             Coletti                                    $1.95
   Cara                 Colgate                                    $3.60
   Chris                Colin                                      $1.35
   Aurora               Collantes                                 $68.60
   Tracey               Collazos                                  $35.20
   Jessica              Collett                                   $22.61
   Brad                 Collier                                   $48.95
   James                Collier                                   $42.67
   Nathan               Collingridge                               $1.55
   Anitra               Collins                                  $340.00
   Benny                Collins                                   $42.90
   Camille              Collins                                  $144.07
   Cate                 Collins                                   $15.00
   Denise               Collins                                    $3.20
   Elizabeth            Collins                                   $44.70
   James                Collins                                   $67.20
   Kathryn              Collins                                  $385.40
   Kira                 Collins                                   $75.00
   Laura                Collins                                  $116.90

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Melinda              Collins                                 $9.35
   Natalie              Collins                                $38.65
   Patrick              Collins                                $67.00
   Peter                Collins                                $46.35
   Sandy                Collins                                 $2.70
   Latrice              Collins Lampkins                        $0.20
   Greg                 Collison                                $3.65
   Cindy                Collister                               $4.10
   Stacey               Collver                                $12.10
   Elisa                Colombani                              $58.85
   Florence             Colombani Maher                         $3.20
   Chiara               Colombo                                $19.35
   Katie                Colosi                                 $23.35
   Stephanie            Colosi                                  $7.85
   Marc                 Coluccio                              $126.02
   Stephen              Colvin                                 $46.85
   Kimberly             Colwell                                $55.25
   Peggy                Colwell                                 $1.05
   Diane                Combes                                $220.15
   Carla                Combi                                   $9.40
   Veljon               Combs                                   $9.25
   Challey              Comer                                  $20.27
   Anne                 Comfort                               $150.00
   Mary                 Commanday                              $40.60
   Vin                  Commisso                                $2.35
   Melanie              Compagno                               $13.20
   Mark                 Compton                               $359.26
   Rosalyn              Conanan                                $30.00
   Genevieve            Conaty                                 $42.90
   Meghan               Concannon                              $36.87
   Nadia                Conceicao                               $8.05
   Dolly                Concejero                               $3.25
   Christina            Condit-Chadwick                        $13.15
   Megan                Condit-Chadwick                         $9.45
   Alvina               Condon                                  $7.65
   Jennifer             Cone                                    $0.35
   Elizabeth            Conkling                                $0.30
   John                 Conley                                $100.00
   Kimberly             Conley                                 $48.50
   Kathy                Connaghan                             $244.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Maggie               Connard                                  $5.70
   Diane                Connell                                  $5.90
   Jessica              Connell                                 $67.80
   Joanne               Connell                                 $34.10
   Christina            Connelly                                 $0.95
   Sheila               Connelly                                 $0.76
   Carolyn              Conner                                   $9.35
   George               Conner                                 $117.25
   Ginny                Conner                                  $11.45
   Jeb                  Conner                                 $100.00
   Kristie              Conner                                 $100.00
   Shirley              Conner                                  $42.35
   Denise               Conners                                 $60.00
   Andy                 Connolly                                $50.00
   Heather              Connolly                                $27.35
   Jeanne               Connolly                                $28.45
   Laurie               Connolly                                $12.03
   Tara                 Connon                                 $719.44
   Trevor               Connon                                  $68.20
   Brandy               Connor                                  $20.85
   Caroline             Connors                                $112.05
   Kaitlyn              Connors                                 $24.10
   Lydia                Conoway                                  $6.95
   Andrea               Conrad                                   $8.95
   Jill                 Conrad                                  $48.95
   Kelly                Conrad                                  $11.62
   Veronique            Conrad                                  $47.20
   Kim                  Consolazio                              $42.10
   Amanda               Consovoy                                 $2.95
   Oana                 Constantin                              $62.60
   Nikki                Conte                                    $0.05
   Dan                  Contento                                $50.00
   Kathryn              Conti                                    $8.95
   Marco                Conti                                    $5.25
   Naima                Contos                                   $5.10
   Camille              Contreras                                $6.65
   Marissa              Contreras                                $0.45
   Alexander            Conway                                  $50.00
   Elizabeth            Conway                                 $100.00
   Kiela                Conway                                   $3.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Philip               Conway                                  $0.45
   Tim                  Conway                                $100.00
   Tish                 Conway-Cranos                         $145.44
   Bridget              Conway-Taylor                          $17.90
   Abbey                Cook                                   $13.60
   Abbey                Cook                                   $14.28
   Amanda               Cook                                   $12.55
   Ari                  Cook                                    $6.35
   Cathy                Cook                                    $7.95
   Dara                 Cook                                    $1.25
   David                Cook                                  $100.00
   Elizabeth            Cook                                    $3.15
   Jana                 Cook                                  $300.00
   Jeffrey              Cook                                    $8.40
   Jenna                Cook                                  $101.30
   Jessica              Cook                                   $16.15
   Lindsay May          Cook                                    $1.35
   Marta                Cook                                   $14.20
   Quenton              Cook                                   $50.00
   Sarab                Cook                                   $28.10
   Carol                Cooke                                   $1.65
   Margot               Cookson                                 $4.00
   Bud                  Cool                                    $8.40
   Maryann              Coole                                  $54.85
   Amanda               Cooley                                 $27.54
   Frannie              Cooley                                $434.80
   Heather              Cooley                                 $14.90
   Tara                 Cooling                                $70.20
   Kavita Dave          Coombe                                 $22.55
   Chris                Cooney                                  $8.95
   Norah                Cooney                                  $8.22
   Adele                Cooper                                  $4.21
   Adrian               Cooper                                  $0.05
   Cathy                Cooper                                 $34.60
   Danielle             Cooper                                  $5.00
   Darcie               Cooper                                 $16.35
   David                Cooper                                 $27.30
   Gwendolyn            Cooper                                  $8.35
   Jason                Cooper                                  $3.20
   Kristen              Cooper                                $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Martine              Cooper                                  $76.05
   Megan                Cooper                                   $8.95
   Melissa              Cooper                                   $2.65
   Michael              Cooper                                  $61.80
   Natasha              Cooper                                  $58.23
   Nicole               Cooper                                 $100.00
   Charlotte            Coover                                 $125.96
   Gary                 Coover                                  $72.60
   Kimberly             Cope                                    $34.55
   Monica               Cope                                    $18.05
   Patricia             Copeland                                $19.40
   Jessica              Copenhaver                              $36.60
   Aline                Copp                                    $26.05
   Cynthia              Coppage                                  $2.00
   H                    Copperman                                $9.70
   Daniela              Coppin                                  $42.56
   Raleigh              Coppin                                  $72.21
   Eileen               Coppola                                  $1.73
   Adriana              Coppolino                                $1.05
   Richard              Corbeil                                 $31.27
   Carlo                Corbellini                              $50.00
   Elizabeth            Corbett                                  $0.75
   Deanna               Corbin                                  $50.00
   Catherine            Corcoran                                $50.00
   John                 Corcoran                                $75.00
   Cameron              Corda                                   $37.75
   Lina                 Cordero                                  $1.60
   Tricia               Cordero                                  $8.95
   Danielle             Cordon                                   $2.69
   Jacqueline           Cordova                                  $0.85
   Nicole               Cordova                                 $75.15
   Steven               Cordova                                  $3.20
   Christine            Corey                                    $0.40
   Shannon              Corey                                   $26.45
   Leanna               Corica                                   $0.65
   Lisa                 Coris                                   $89.41
   Paul                 Corkery                                $100.00
   Mila                 Corkins                                  $0.98
   Jen                  Corley                                  $19.15
   Christy              Cormier                                $150.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Warren               Cormier                                 $14.00
   Jina                 Corneau                                  $2.55
   Alex                 Cornejo                                  $2.20
   Erica                Cornell                                  $7.25
   Jessica              Cornell                                  $0.60
   Caroline             Corner                                 $212.15
   Jennifer             Cornwell                                $23.90
   Lindylaura           Cornwell                                $59.15
   Regina               Coronata                                 $9.38
   Charisse             Coronel                                  $7.10
   Ariel                Corpus                                 $192.05
   Sandraq              Corradetti                             $100.00
   Angela               Corral                                  $42.30
   Pilita               Corrales                                $69.53
   Sheridan             Corrales                                $64.16
   Paul                 Correa                                   $3.25
   Rachael              Correa                                   $5.25
   Allison              Correia                                  $0.65
   Shelley              Correll                                 $14.40
   Katie                Corrigan                                $30.75
   Annelise             Corriveau                              $166.50
   Lisa                 Corriveau                                $4.15
   Matthew              Corsetti                                 $7.80
   William              Corsini                                 $26.40
   Jennifer             Cortes                                  $50.00
   Kim                  Cortese                                  $0.56
   Courtney             Cortez                                   $6.00
   Eric                 Cortez                                 $182.45
   Marcus               Cortez                                  $18.26
   Xochitl              Cortez                                  $48.45
   Carlos               Corvera                                 $25.00
   Jessica              Corwin                                  $16.15
   Risa                 Corwin                                  $21.70
   Cameron              Cosentino                              $115.30
   Elizabeth            Cosentino                                $0.75
   Claire               Cosenze                                 $26.75
   Jennifer             Cossey                                  $50.00
   Amy                  Costa                                   $33.65
   Hilary               Costa                                    $2.05
   Kyra                 Costa                                   $10.71

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Luis                 Costa                                  $57.40
   Tim                  Costa                                  $25.00
   Mark                 Costanzo                              $200.00
   Sebastiano           Costanzo                                $0.90
   Lauren               Coste                                  $43.30
   Johnny               Costello                               $23.40
   Norma                Costello                                $0.15
   Toby                 Costello                               $62.65
   Tyler                Coster                                 $12.00
   Jamie                Cottage                               $118.20
   Luna                 Cottrell-Scott                         $17.71
   Olivia               Couch                                   $1.40
   Lindsey              Couchman                               $20.20
   Kerry                Coughlin                                $0.40
   Meagan               Coughlin                                $5.35
   Tracy                Coughlin                               $50.00
   Kristen              Coultas-Kay                            $16.10
   Corri                Coulter                                $30.10
   Jami                 Coulter                                 $3.17
   Kristin              Coulter                                 $5.05
   Diana                Coupard                               $264.50
   Jeremy               Courage                                 $2.85
   Cheryl               Couris                                  $3.75
   Andrew               Courter                               $154.85
   Christyn             Courtney                               $23.20
   Courtney.Mayer       Courtney.Mayer                        $100.00
   Chelsea              Coutarel                                $0.12
   Owen                 Coutts                                 $75.00
   Stephanie            Coutts                                  $6.15
   Natalie              Cowan                                 $153.70
   Melissa              Cowart                                 $53.90
   Thomas               Cowart                                $108.00
   Jeff                 Cowen                                   $2.87
   Bob                  Cowherd                               $243.98
   Brittany             Cowing                                 $27.15
   James                Cowman                                $106.65
   Annaleigh            Cox                                    $27.05
   Daniel               Cox                                    $21.55
   Jill                 Cox                                     $3.15
   Michael              Cox                                   $108.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Pam                  Cox                                     $5.30
   Rachel               Cox                                     $0.80
   Linda                Coxon                                  $15.69
   Cindy                Coy                                     $4.00
   Lindsey              Coye Smith                             $27.15
   Gene                 Coyle                                  $29.10
   John                 Coyle                                   $9.35
   Linda                Coyle                                   $7.25
   Mary                 Coyle                                 $100.00
   Cecilia              Coyne                                   $0.70
   Claire               Crabtree                                $0.20
   Jennifer             Crabtree                                $5.51
   Melissa              Cracchiolo                              $1.17
   Michael              Cragin                                  $4.60
   Cathy                Craig                                   $0.15
   Mandi                Craig                                   $2.24
   Sara                 Craig                                  $21.60
   Hildegard            Crame                                  $49.96
   Lindsay              Cramer                                 $50.00
   Carla                Crampton                              $219.03
   Nick                 Crampton                               $50.00
   Stephanie            Crampton                               $38.15
   Deb                  Crandall                               $28.20
   Brooke               Crane                                 $351.50
   Rachael              Crane                                  $59.86
   Tamara               Crane                                  $84.85
   Valerie              Crane                                   $4.41
   Louisa               Cranston Jacobs                       $321.89
   Deon                 Cravalho                                $0.10
   Leslie               Craven                                 $19.65
   Nicholas             Cravotta                                $5.60
   Iris                 Crawford                               $48.76
   Melissa              Crawford                                $9.00
   Timery               Crawford                                $3.55
   Michelle             Creasy                                  $6.65
   Jason                Creech                                 $63.65
   Michelle             Creech                                $134.00
   Emily                Creed                                  $15.07
   Betsy                Cregger                               $318.15
   Julie                Cremata                                 $9.40

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Rosemary             Cremesti                                  $0.65
   Amber                Crespo                                    $2.26
   Debbie               Crespo                                    $0.75
   Judy                 Cress                                     $4.10
   Julie                Cress                                    $21.65
   Diana                Creswell                                $101.60
   Kelsey               Crew                                     $38.69
   Jaclyn               Cribley                                 $100.00
   Matt                 Criden                                   $73.33
   Adam                 Crider                                   $60.30
   Jennifer             Crims                                    $85.05
   Kenny                Crippen                                  $10.10
   Loren                Crippin                                   $0.15
   Jean                 Cripps                                  $159.16
   Leeann               Crisman                                   $0.60
   Jay-R                Crisostomo                                $4.00
   Barry                Criste                                    $2.70
   Daniel               Cristiani                               $171.55
   Heather              Cristman                                 $12.15
   Emily                Critchfield                             $115.68
   Liana                Croak                                    $16.75
   Alan                 Crocker                                   $1.49
   Adrian               Crockett                                 $30.95
   Elizabeth            Crockett                                $429.82
   Angeleana            Cromartie                                $50.00
   Dominick             Cromartie                                 $0.45
   Jamie                Crombie                                 $100.00
   Meno                 Crompton                                  $3.85
   Liz                  Cromwell                                  $4.78
   Angela               Crone                                     $0.70
   Susan                Cronholm                                  $8.95
   Danielle             Cronin                                  $276.35
   Jennie               Cronin                                   $46.95
   Aidan                Crook                                   $518.30
   Jordan               Croom                                    $19.80
   Deborah              Crosby                                  $156.95
   Maralyn              Crosetto                                 $10.86
   Petra                Cross                                    $22.05
   Stacey               Cross                                     $2.05
   Bob                  Crossland                               $450.55

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Dominique            Croteau                                     $5.10
   Melanie              Crotty                                    $235.85
   George               Crouch                                      $2.80
   Tammy                Crouch                                     $10.05
   Pamela               Crouse                                     $32.35
   Kelli                Crow                                      $121.75
   Amanda               Crowder                                     $0.05
   Chris                Crowe                                      $56.40
   Anastasia            Crowell                                    $48.25
   Lisa                 Crowfoot                                  $167.95
   Becky                Crowl                                      $14.76
   Amber                Crowley                                    $32.10
   Jerome               Crowley                                    $50.00
   Ruthanne             Crowley                                    $77.15
   Ryan                 Crowley                                     $2.10
   Matteo               Crudo                                       $0.45
   Devin                Cruickshank                                 $2.55
   Kirsten              Crum                                        $4.80
   Kim                  Crusey                                     $31.60
   Christina            Cruz                                        $0.60
   Darwin               Cruz                                       $28.83
   Jocelynn             Cruz                                       $74.10
   Leticia              Cruz                                        $7.25
   Michelle             Cruz                                       $24.85
   Samantha             Cruz Chavez                                $76.70
   Deanna               Cryer                                      $25.65
   Laura                Crystal                                     $2.05
   Laurar               Crystal                                   $261.20
   J                    Cs                                          $0.59
   Emily                Csontos                                    $67.15
   Dustin               Cu                                          $0.60
   Omar                 Cubillos                                    $0.95
   Dan                  Cuddeford                                   $9.15
   Anita                Cuellar                                    $30.00
   Heather              Cuellar                                    $47.90
   Eileen               Cueto                                      $44.30
   Rafael               Cuevas                                     $56.60
   Judy                 Cuff-Alvarado                              $29.95
   Christopher          Cukor                                      $20.15
   Charlie              Culbert                                     $3.10

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Michele              Culhane                                 $53.15
   Alicia               Cullen                                 $207.39
   Kathleen             Cullen                                 $100.00
   Laura                Cullen                                 $100.00
   Maureen              Cullen                                  $69.85
   Beth                 Culler                                  $78.70
   Kieran               Culligan                                 $0.05
   Brian                Cullinane                                $6.95
   Beth                 Cullom                                  $41.19
   Kyle                 Culloton                                 $3.40
   Linda                Culp                                    $42.08
   Jenifer              Culver                                 $171.60
   Terry                Cumes                                    $1.45
   Graham               Cumming                                $100.00
   Mary                 Cummings                                $67.25
   Rebecca              Cundiff                                 $22.08
   Evalina              Cunha                                   $60.35
   Margaret             Cunniff                                  $1.35
   Chelsea              Cunningham                              $11.10
   Claire               Cunningham                              $15.65
   D'Adre               Cunningham                              $12.06
   Greg                 Cunningham                             $100.00
   Jared                Cunningham                              $73.26
   Kyle                 Cunningham                               $4.32
   Frank                Cupido                                  $72.60
   Lizzy                Curl                                     $5.00
   Bryon                Curletto                               $110.20
   Amanda               Curran                                  $65.50
   Amanda               Curran                                   $4.01
   Megan                Curran                                  $29.05
   Sara                 Curran                                  $19.20
   Caren                Currie                                   $4.20
   Jaime                Currier                                  $0.30
   Melanie              Currier                                 $36.96
   Margaret             Currivan                               $315.75
   Donie                Curry                                   $60.45
   Katie                Curry                                   $60.05
   Chelsea              Curtis                                   $1.18
   Haley                Curtis                                  $71.00
   Jane                 Curtis                                  $50.00

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   Buyer First Name     Buyer Last Name               Gift Card Amount
   Jo                   Curtis                                       $0.05
   Judith               Curtis                                      $55.15
   Lauren               Curtis                                       $3.20
   Meghan               Curtis                                       $5.15
   Patrick              Curtis                                       $2.45
   Sarah                Curtis                                      $40.50
   Virginia             Curtis                                     $100.00
   Sabrina              Curtis-Perkins                              $50.00
   Sarah                Curtis-Tilton                               $45.05
   Marjorie             Curty                                        $6.30
   Rob                  Curulla                                    $646.15
   Cole                 Cusella                                      $0.80
   Ellen                Cushing                                     $16.10
   Kelly                Cushner                                     $34.30
   Heidi                Cusick                                     $145.89
   Christa              Cusimano                                    $45.70
   Elliott              Cussins                                     $76.15
   Liezel               Custodio                                     $2.70
   Joshua               Cutcher                                    $100.00
   Megan                Cutcher                                     $40.75
   Douglas              Cuthbertson                                 $97.05
   Matt                 Cuthbertson                                 $16.65
   Lenessa              Cutler                                      $23.55
   Molly                Cutler                                       $7.02
   Tracy                Cuva                                       $150.00
   Monica               Cuyong                                      $24.45
   Laurel               Cyrluk                                     $331.55
   Camille              Cyrus                                       $24.75
   Ana                  D                                            $0.40
   Matt                 D                                           $58.10
   Pierre               D.                                          $18.00
   Tina                 D.                                         $470.00
   Christie             Da Silva                                    $23.00
   Rafaela              Da Silva                                    $19.34
   Preeya               Dabir                                        $9.65
   Tiffany              Dacko                                       $15.35
   Andrew               Dadour                                       $1.45
   Janet                Dafoe                                       $10.15
   Shira                Dagit                                        $0.25
   Dominic              Dagradi                                     $45.45

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Candace              Dahl                                      $14.65
   Susan                Dahl                                      $35.15
   Emily                Dahm                                       $4.05
   Brian                Dahms                                    $100.00
   Victoria             Daily                                     $40.13
   Casey                Daines                                    $38.65
   Jackie               Dal Broi                                  $35.10
   Vanessa              Dal Porto                                 $18.75
   Danny                Dalal                                     $10.68
   Avery                D'Alessandro                              $17.25
   Gina                 D'Alessio                                 $13.20
   Lisa                 Dalisay                                   $20.30
   Amira                Dallafior                                 $50.00
   Mary J.              Dallara                                    $0.40
   Kathy                Dallas                                     $6.50
   Melissa              Dallas                                    $40.90
   Owen                 Dallas                                     $1.45
   Maria                Dallmann                                   $1.85
   Chris                Dalton                                     $4.95
   Deanna               Dalton                                   $105.15
   Jutta                Dalton                                     $1.20
   Starrett             Dalton                                    $15.85
   Ed                   Daly                                      $35.76
   Claudia              Dalziel                                   $15.35
   Katherine            Damato                                    $17.55
   Peggy                Damele                                   $134.35
   Mia                  Damiano                                    $1.72
   Natalie              Damiano                                  $100.00
   Walter               Damm                                     $205.01
   Catie                Damon                                     $10.60
   Bruce                Damonte                                    $9.35
   Kathleen             D'Amore                                   $61.05
   Susan                Damours                                  $341.40
   Gina                 Dandi                                     $11.60
   Shayla               Danenberg                                  $0.30
   Sharone              Daneshmand                                $64.30
   Cat                  Dang                                      $50.00
   Christie             Dang                                     $113.14
   Christina            Dang                                      $73.10
   Jess                 Dang                                       $4.45

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Minh                 Dang                                    $45.05
   Quyen                Dang                                     $2.95
   Stephen              Dang                                    $94.05
   Vy                   Dang                                    $55.70
   Christopher          Dangelo                                 $60.35
   Lynda                D'Angelo                                $23.75
   Gena                 Dangona                                $120.70
   Joann                Daniega                                  $8.30
   Casey                Daniel                                  $41.85
   Jennifer             Daniel                                  $38.20
   Tom                  Daniel                                  $64.05
   John                 Daniels                                  $4.06
   Sharon               Daniels                                 $50.00
   Cara                 Danielson                               $19.65
   Pat                  Danna                                   $13.20
   Jeff                 Danner                                   $0.25
   Ajit                 Dansingani                              $89.42
   Diana                Dantic                                   $5.96
   Edward               Dantzig                                 $60.05
   Natasha              Dantzig                                  $9.32
   Elizabeth            Dantzker                                 $4.20
   Michelle             Dantzman                                 $2.75
   Lisa                 Danzig                                  $76.20
   Annelise             Dao                                     $58.65
   Dong                 Dao                                      $0.20
   Francois             Daoud                                    $0.65
   Will                 Daoust                                  $55.90
   Ben                  Dapkiewicz                              $55.20
   Cody                 Dapper                                 $124.85
   Ryan                 Darcey                                   $1.83
   Tom                  Darci                                  $100.00
   Monica               Darcq                                    $0.60
   Steve                Dardarian                               $50.00
   Joy                  Dario                                   $11.25
   Michael              Darling                                  $0.25
   Gary                 Darnell                                 $41.85
   Laura                Darrah Calvert                          $10.40
   Kristen              Dart-Gmeiner                            $50.00
   Jen                  Dary                                   $310.15
   Angelica             Das                                    $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kumar                Das                                     $14.65
   Jenifer              Dasho                                  $355.20
   Rakhi                Datta                                   $57.40
   Hae Young            Datwani                                 $19.25
   Kim                  Dau                                      $2.55
   Catherine            Dauer                                    $1.10
   Stefanie             Daugherty                                $0.20
   Jeannine             D'Augusta                                $6.11
   Judith               Dauphinais                              $13.90
   Juan                 Davalos                                $100.00
   Nadine               Davanis                                 $20.20
   Justin               D'Avella                                $12.90
   Darby                Davenport                              $121.60
   Julie                Davenport                               $76.60
   Leah                 Davenport                               $16.15
   Mary                 Davenport                               $10.85
   Richard              Davenport                                $0.90
   Tad                  Davenport                                $0.46
   Cate                 Davey                                    $1.40
   Devon                Davey                                    $1.90
   Elana                Davey                                  $100.00
   Barbara              Davi                                   $114.10
   Christoher           David                                  $100.00
   Dana                 David                                  $119.73
   Vera                 David                                    $8.95
   Lisha                Davidovits                               $2.20
   Larry                Davidovitz                               $0.40
   Erik                 Davidson                               $101.85
   Florence             Davidson                                $20.20
   Jason                Davidson                                 $4.25
   Jennifer             Davidson                                 $0.32
   Kirsten              Davidson                               $166.17
   Paul                 Davidson                                $53.56
   Susan                Davidson                                 $0.55
   Melanie              Davidsson                               $45.40
   Lisa                 Davie                                   $18.00
   Jonathan             Davies                                   $2.40
   Joshua               Davies                                 $101.10
   Malissa              Davies                                   $8.95
   Sam                  Davies                                  $27.45

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Stella               Davies                                 $10.05
   Will                 Davies                                 $65.91
   Justina              Davila                                $104.00
   Craig                Davini                                  $8.20
   Corinne              Davino                                $362.25
   Adam                 Davis                                 $250.00
   Amy                  Davis                                 $104.40
   Andrew               Davis                                   $0.75
   Aurelie              Davis                                   $9.65
   Candice              Davis                                   $0.75
   Chandan              Davis                                  $30.00
   Chris                Davis                                 $120.41
   Colleen              Davis                                   $4.72
   Dorothy              Davis                                 $102.05
   Eric                 Davis                                  $76.80
   Gary                 Davis                                   $0.20
   Gertrude             Davis                                 $100.00
   Jennifer             Davis                                   $2.40
   Jenny                Davis                                 $163.30
   Jimmy                Davis                                  $29.30
   Joshua               Davis                                  $19.65
   Julie                Davis                                  $50.00
   Laura                Davis                                  $17.10
   Lee                  Davis                                  $50.00
   Lisa                 Davis                                  $46.90
   Liz                  Davis                                   $5.25
   Logan                Davis                                  $29.64
   Lucy                 Davis                                 $125.05
   Marie                Davis                                   $0.20
   Meredith             Davis                                  $80.00
   Mischelle            Davis                                 $869.59
   Noah                 Davis                                  $16.31
   Rebekah              Davis                                   $0.35
   Rob                  Davis                                 $100.00
   Ron                  Davis                                   $9.82
   Sandra               Davis                                   $4.10
   Sandy                Davis                                   $0.10
   Serene               Davis                                  $13.55
   Susan                Davis                                  $62.60
   Titan                Davis                                  $29.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Tyler                Davis                                   $0.10
   William              Davis                                   $0.22
   Carol                Davis-Fernald                          $50.00
   Rochelle             Dawes                                  $10.05
   Annelise             Dawson                                $101.55
   Audra                Dawson                                $174.25
   Emma                 Dawson                                $118.30
   Lynn                 Dawson                                $171.20
   Marian               Dawson                                 $26.02
   Tim                  Dawson                                 $22.65
   Keren                Dawson-Bowman                          $79.05
   Brian                Day                                    $48.35
   Lindy                Day                                   $155.21
   Rebecca              Day                                    $15.00
   Ryan                 Day                                    $27.96
   Theresa              Day                                   $145.80
   Ananda               Day Cavalli                            $56.84
   Elizabeth            Dayton                                  $8.46
   Catherine            D'Costa                                 $3.94
   Carolyn              Dcruz                                 $184.95
   Sylvia               De Anda                                 $2.75
   Renaud               De Becque                              $25.55
   Mike                 De Bellis                               $0.50
   John                 De Benedetti                            $0.09
   John                 De Boer                                $25.55
   Lauren               De Castro                               $2.08
   Kate                 De Ciutiis                             $10.55
   Rachel               De Guzman                             $184.55
   Raul                 De Guzman                               $2.05
   Valerie              De Jesus                               $11.30
   Trina                De Joya                                 $2.34
   Shayna               De Kroon                                $2.05
   Alejandro            De La Cruz                              $0.90
   Yancy                De La Rosa                             $18.45
   Jenny                De Lang                                 $3.40
   Melinda              De Lanoy                              $250.00
   Justin               De Leon                                $16.70
   Karon                De Leon                                 $3.20
   Sophie               De Lignerolles                          $0.60
   Alicia               De Lira                               $121.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Andres               De Lucca                                 $4.75
   Sara                 De Luis                                 $38.19
   Gabriele             De Marco                                $10.70
   Jennifer             De Melo                                 $40.35
   Jeanne               De Polo                                 $54.15
   Joyce                De Russy                                 $0.50
   Candice              De Sauvage                               $0.45
   Maria Luisa          De Seta                                 $13.90
   Madissen             De Turris                               $42.40
   Eric                 De Wild                                 $15.90
   Norman               Dea                                    $100.00
   Ruth                 Dea                                     $50.00
   Lynda                Deakin                                  $41.50
   Angela               Dean                                    $18.20
   Chris                Dean                                    $72.25
   Emily                Dean                                     $8.38
   Jamie                Dean                                    $46.85
   Melody               Dean                                    $80.00
   Peter                Dean                                   $100.00
   Richard              Dean                                    $92.80
   Candace              Deanes                                   $8.95
   Jamie                Dearaujo                                $27.28
   Rebecca              Dearie                                  $61.85
   Nicki                Dearmon                                 $50.00
   Shashi               Deb                                     $50.45
   Kelsey               Debarr                                  $41.45
   Gina                 Debartoli                               $46.15
   Scout                Debartolo                                $8.95
   Chris                Deboer                                 $147.50
   Richard              Debolt                                  $56.55
   Valle                Deborah                                 $40.00
   Sam                  Debrule                                 $22.30
   Ashleigh             Dec                                     $12.35
   Jennifer             Decastro                                 $0.30
   Jude                 Deckenbach                              $25.23
   Alyson               Decker                                 $220.05
   Anne                 Decker                                  $50.00
   Carmen               Decker                                  $29.24
   Jacob                Decker                                   $2.85
   Ryan                 Decker                                  $50.00

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Wei-Ling             Deckinga                                  $119.06
   Simon                Deconde                                     $3.20
   Laura                Decook                                      $8.95
   Molly                Decoudreaux                                $15.15
   Chris                Dedonato                                   $13.25
   Maegan               Dedrick                                     $0.50
   Michelle             Deely                                       $5.55
   Michelle             Deely                                       $0.30
   Kristen              Deem                                       $48.05
   Amanda               Deen                                      $100.00
   Brandon              Deer                                        $9.10
   Robert               Defilippis                                  $0.85
   Jeannine             Defoe                                       $0.25
   Stephanie            Defranco                                    $0.55
   Lanie                Deguzman                                    $0.20
   Suzanne              Dehne                                       $0.65
   Jessica              Dehnert                                    $18.00
   Ann                  Dehovitz                                    $0.85
   Nicole               Deichl                                     $10.35
   Lydia                Deinies                                    $10.25
   Liz                  Dejesus                                     $3.90
   Brittany             Dejong                                     $65.55
   Sasha                Dekelaita                                  $30.45
   Danielle             Dekker                                     $12.70
   Sharon               Dekker-Pisani                              $24.60
   Jose                 Del Corral                                 $43.50
   Claire               Del Grande                                $109.15
   Katie                Del Grosso                                $200.00
   Maria                Del Monaco                                 $19.55
   Rachel               Del Monte                                  $50.10
   Matt                 Del Percio                                 $46.75
   Anna                 Del Toro                                  $325.49
   Aida                 Del Valle                                  $17.60
   Gina                 Del Vecchio                               $160.00
   Jp                   Dela Rama                                  $30.12
   Dante                Delacalzada                                 $0.60
   Cecile               Delacruz                                   $22.50
   Daniel               Delage                                      $9.93
   Juanita              Delallave                                   $2.55
   Becs                 Delamotte                                  $75.85

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Merris               Delane                                  $37.60
   Chris                Delaney                                  $2.75
   Colin                Delaney                                 $10.85
   Erin                 Delanty                                 $19.50
   Jamaica              Dela'O                                 $171.20
   James                Delapena                                $10.05
   Maureen              Delapena                               $300.05
   Cari                 Delaplane                               $13.20
   Sandra               Delaura                                  $0.86
   Lindsay              Delawter                                 $3.86
   Kathleen             Delehanty                               $67.20
   Maria                Deleo                                   $71.20
   Jim                  Deleon                                  $29.30
   Dreaninad            Delettieres                            $116.35
   Bonnie               Deleuw                                  $50.00
   Joetta               Delfel                                 $100.00
   Teri                 Delgadillo                             $345.35
   Alyson               Delgado                                  $1.66
   Claudia              Delgado                                  $6.40
   Fernando             Delgado                                $100.00
   Hannah               Delgado                                 $50.00
   Julio                Delgado                                 $20.20
   Nicholas             Delgado                                  $1.68
   Michelle             Delgado-Gittler                         $10.60
   Fran√ßois            Deli√®Ge                                $29.65
   Marti                Deliema                                 $45.55
   Rosalind             Delisser                                $17.40
   Anthony              Dell                                    $75.00
   Daryl                Della                                   $38.66
   Emily                Della Maggiora                         $100.00
   Dana                 Delle                                    $3.02
   Tori                 Delli Santi                              $3.35
   Charity              Deluca                                  $45.35
   Ryan                 Delucchi                                 $3.71
   Shannon              Delucchi                               $100.00
   Michael              Delvecchio                              $18.60
   Cara                 Delzer                                  $31.70
   Barry                Demak                                    $8.95
   Dana                 Demara                                 $250.00
   Andrea               Demarest                                 $4.30

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Katie                Demartini                              $18.70
   Keith                Demartini                              $49.30
   Kristin              Demartini                              $93.57
   Ben                  Demboski                                $6.72
   Jeff                 Demello                               $530.75
   Renata               Demello                                 $0.89
   Jeff                 Demere                                  $1.50
   Penny                Demoss                                  $3.80
   Laurie               Deneschuk                              $50.00
   Jen                  Denet                                  $17.02
   Justin               Deng                                  $218.52
   Denise               Dengel                                 $16.99
   Clarke               Denham                                 $11.11
   Matt                 Denham                                  $1.10
   Barbara              Denianke                               $46.55
   P. James             Dennedy-Frank                          $50.00
   Cathi                Dennehy                                $50.00
   Alda                 Dennis                                 $33.65
   Amy                  Dennis                                $100.00
   Kera                 Dennis                                 $16.15
   Hunter               Dennison                               $50.00
   Erin                 Denniston                               $2.24
   Eve                  Denton                                 $36.22
   Stephanie            Denzer                                  $0.61
   Alisa                Depalma                                 $0.30
   Nikki                Depaola                                $50.00
   Courtney             Depenhart                              $80.30
   Alma                 D'Epiro                                $28.60
   Aaron                Deraps                                 $16.45
   Cathie               Derbidge                              $121.95
   Andreana             Dereniak                              $183.06
   Zina                 Deretsky                               $33.15
   Samir                Derisavifard                            $1.34
   Corina               Derman                                 $90.00
   Derek                Derman                                  $0.30
   Sandy                Dermody                                 $1.45
   Regan                Dermu                                 $250.00
   Stacy                Derosa                                 $27.60
   Kathy                Dersch                                  $0.40
   Rebecca              Dersh                                   $8.95

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Andrew               Dervan                                   $118.80
   Eva                  Des Lauriers                              $19.20
   Nora                 Des Tombe                                 $70.60
   Julie                Desai                                     $97.80
   Nima                 Desai                                    $100.00
   Roshni               Desai                                     $45.25
   Stephanie            Desai                                     $50.00
   Urmen                Desai                                    $197.20
   Vivek                Desai                                     $64.10
   John                 Desalvo                                   $57.40
   Helene               Desanlis                                  $22.60
   Jennifer             Desantis                                  $15.20
   Chanelle             Desautels                                $260.90
   Manuel               Deschamps                                 $30.75
   Erika                Deshmukh                                   $5.55
   Shelana              Desilva                                  $100.00
   Sylvia               Desin                                     $21.05
   Paula                Desmond                                  $100.00
   Marisela             Desormeaux                               $134.60
   Nicole               Dessoye                                    $6.40
   Jasmina              Destanovic                                 $8.15
   Mirra                Desuasido                                  $0.55
   Debbie               Detmer                                     $4.10
   Danielle             Detrick                                   $55.10
   Kira                 Deutch                                     $4.60
   Stephanie            Deutchman                                 $69.50
   Abhinav              Dev                                        $0.70
   Nisha                Devarajan                                 $85.20
   Kadambini            Devarakonda                                $0.77
   Beth                 Devereaux                                  $3.32
   Stephen              Devereaux                                  $9.40
   Cade                 Deverell                                   $1.65
   Amy                  Devereux                                  $22.20
   Ciara                Devereux                                 $181.60
   Jessica              Devereux                                  $56.15
   Tania                Devilliers                                $25.40
   Adriana              Devine                                     $0.10
   Tj                   Devine                                    $64.15
   Liz                  Devlin                                     $4.40
   Randy                Devoto                                    $12.25

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   Rachael              Devries                                 $16.90
   Samuel               Devyver                                  $5.50
   Brady                Dewar                                   $12.10
   Kimberly             D'Ewart                                $100.00
   Nancy                Deweese                                 $33.35
   Adrienne             Dewey                                  $186.95
   Brett                Dewey                                  $194.70
   Morgan               Dewey                                  $135.30
   Morgan               Dewey                                   $22.20
   Brendan              Dewolf                                   $0.95
   Ann                  Dey                                     $30.85
   Tara                 Dezao                                  $192.30
   Ashley               Dhar                                     $0.55
   Nila                 Dharan                                   $0.42
   Stephanie            Di Biase                                $14.50
   Jessica              Di Martino                               $0.40
   Sergio               Di Martino                             $133.20
   Gildo                Di Nunzio                               $23.40
   Alyssa               Dia                                     $52.75
   Alison               Diamond                                 $28.55
   Alison               Diamond                                 $17.10
   Elinor               Diamond                                  $7.25
   Jessica              Diamond                                 $65.25
   Martha               Diamond                                 $17.21
   Michelle             Diamond                                 $44.45
   Sean                 Diamond                                 $36.40
   Jeannette            Diangson                                $70.35
   Jim                  Diani                                    $0.70
   Nino                 Diano                                   $25.00
   Heally               Dias                                     $0.05
   Jeziela              Dias                                    $50.00
   Chris                Diaz                                     $7.70
   Erika                Diaz                                     $1.50
   Geraldine            Diaz                                     $4.30
   Jessica              Diaz                                     $0.80
   Kimberly             Diaz                                    $12.70
   Liz                  Diaz                                     $2.05
   Mira                 Diaz                                     $9.96
   Rocio                Diaz                                     $3.60
   Sonia                Diaz                                     $9.25

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Lauren               Dibara                                  $17.20
   Jacqueline           Dibble                                 $106.51
   Lauren               Dibble                                  $29.15
   Caitlin              Dibetta                                  $4.97
   Joe                  Dibianca                                 $0.25
   Kathleen             Dick                                     $0.25
   Emily                Dickens                                 $11.25
   Lauren               Dickens                                  $0.43
   Elizabeth            Dickenson                               $17.05
   Tim                  Dickenson                              $100.00
   Rochelle             Dicker                                  $25.00
   Molly                Dickert                                 $50.00
   Cindy                Dickeson                                 $1.36
   Jeff                 Dickey                                  $49.65
   Amy                  Dickie                                 $386.27
   George               Dickinson                              $150.00
   Grace                Dickinson                              $427.05
   Lisa                 Dickinson                               $39.18
   Michael              Dickinson                              $202.47
   Matthew              Dickman                                $100.00
   Mary                 Dickson                                  $2.80
   Michelle             Didero                                   $6.20
   Amy                  Dieckhans                               $72.06
   Alex                 Diehl                                    $7.12
   Bernadette           Diehl                                    $1.70
   Chuck                Diehl                                    $0.30
   Judith               Diehl                                   $18.65
   Christiane           Diehnel                                  $1.30
   Esther               Diemer                                  $28.83
   Robert               Diemer                                   $1.20
   John                 Dierken                                  $1.70
   Karin                Diesner                                 $71.15
   Lisa                 Diestel                                $203.20
   Katherine            Dietz                                   $43.77
   Jennifer             Differ                                   $0.60
   Joan                 Difuria                                 $42.35
   Harold               Diga                                     $0.65
   Naomi                Diggs                                    $2.10
   Kimberly             Digirolamo                              $54.15
   Kim                  Digiulio                                 $6.15

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   Todd                 Dignan                                 $50.00
   Christina            Digrazia                               $61.20
   Giovanna             Diiorio                               $102.10
   Jeff                 Dikio                                  $10.15
   Christina            Dilauro                                $91.35
   Heather              Dileepan                                $5.67
   Joni                 Dillane                                $12.20
   Bernita              Dillard                                 $1.55
   Courtney             Dillard                                $20.25
   Samantha             Dillavou                               $71.37
   Catherine            Dillon                                 $50.00
   Donna                Dillon                                 $14.92
   Lindsay              Dillon                                  $0.95
   Meredith             Dillon                                  $0.85
   Tamar                Dilsizian                               $1.30
   Marc                 Dimalanta                              $25.25
   Norma                Dimaulo                                 $1.20
   Alessandra           Dimauro                                $13.80
   Nina                 Dimitreli                              $78.90
   Milli                Dimitrova                              $36.35
   Scottie              Dimmick                                 $0.10
   Christy              Dimmig                                 $35.10
   Jiva                 Dimova                                 $85.15
   Alexandra            Dimsdale                                $0.20
   Melissa              Dincher                                 $2.07
   Edward               Dinel                                  $23.80
   Rachel               Dines                                 $485.20
   Boryana              Dineva                                 $50.00
   Alex                 Ding                                    $8.95
   Feng                 Ding                                    $2.59
   Karisa               Ding                                   $12.10
   Yilun                Ding                                   $11.96
   Mark                 Dinh                                   $36.40
   Milli                Dinh                                    $0.50
   Thuy                 Dinh                                    $0.40
   Vu                   Dinh                                    $0.53
   Colleen              Dino                                    $0.35
   Greg                 Dinowitz                               $54.85
   Andrew               Dinsky                                  $0.63
   Janet                Dinsmore                              $123.36

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Michelle             Dionello                                $5.70
   Angie                Dip                                     $0.15
   Deirdre              Director                               $55.31
   Jennifer             Dirking                                 $2.05
   Luca                 D'Isanto                              $138.70
   Laura                Disessa                                $13.95
   Tim                  Distler                                $33.65
   Cheryl               Ditargiani                             $30.80
   Samantha             Ditata                                  $9.67
   Anthony              Dito                                    $4.70
   Elizabeth            Dito                                   $50.00
   Sarina               Dito                                    $1.75
   Laura                Divelbiss                              $42.67
   Nicole               Dix                                   $217.60
   Deidre               Dixon                                  $10.60
   Denelle              Dixon                                 $170.70
   Dj                   Dixon                                  $61.11
   Jacklyn              Dixon                                  $27.15
   Kenneth              Dixon                                   $1.05
   Marissa              Dixon                                   $2.15
   Nicole               Dixon                                  $50.00
   Shirley              Dixon                                  $31.20
   Sioban               Dixon                                  $98.35
   Winford              Dixon                                 $403.15
   Zara                 Dizoglio                              $223.75
   Suzanne              Dizon                                   $1.65
   Stoja                Djakovic                                $0.75
   Bao                  Do                                     $22.50
   Kim                  Do                                     $12.25
   Lynn                 Do                                      $2.53
   Hoa                  Doan                                   $19.20
   Kimanh               Doan                                    $0.30
   Mary Anne            Doan                                    $5.25
   Elizabeth            Dobbin                                 $18.15
   Linda                Dobbyn                                  $4.00
   Jennie               Doberne                               $462.10
   Kyle                 Dobitz                                $340.21
   Stacey               Dobos                                   $6.25
   Rachel               Dobrow Stone                            $2.72
   Christine            Dobrushin                               $8.15

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   Cory                 Dobson                                  $16.10
   Katie                Dobson                                  $12.25
   Mj                   Doctors                                  $5.05
   Cindy                Dodd                                     $0.50
   Dan                  Dodd                                    $53.95
   Jennifer             Dodd                                     $9.95
   Tammy                Dodd                                    $29.93
   Sarah                Dodge                                    $0.20
   Austin               Dodson                                   $0.55
   Stephen              Dodson                                  $50.00
   Keith                Doelling                                $52.56
   Katie                Doering                                 $60.35
   Liz                  Doering                                $102.55
   Elizabeth            Doerr                                   $10.90
   Amy                  Doerschel                                $8.95
   Melissa              Doezema                                  $1.66
   Karen                Dohemann                               $297.61
   Jason                Doherty                                $590.90
   Kathryn              Doherty                                $150.00
   Maria                Doherty                                  $0.03
   Thomas               Doherty                                  $7.60
   Tim                  Doherty                                 $75.65
   Steve                Dohrmann                                $12.20
   Sayuri               Doi                                    $137.10
   Elizabeth            Dokko                                   $93.20
   Kristin              Dokoza                                  $84.45
   Dolores              Dolan                                  $100.00
   Grace                Dolan                                   $17.60
   Margaret             Dolan                                    $0.60
   Siobhan              Dolan                                   $80.35
   Melanie              Dolgachev                                $0.45
   Brianna              Dolin                                    $8.95
   Anne                 Doll                                    $46.25
   Evan                 Doll                                    $75.00
   Rusty                Dolleman                                 $6.13
   Antje                Dollny                                  $85.73
   Katherine            Dombrosky                                $3.18
   Gina                 Domeniconi                              $19.00
   Daniel               Domingue                                $94.41
   Erin                 Dominguez                               $53.55

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   Nicole               Dominguez                               $3.78
   Sara                 Dominguez                              $31.90
   Sara                 Dominguez                              $12.75
   Antoinette           Dominice                                $0.25
   Annah                Dominis                                $55.30
   Tyler                Domski                                 $58.66
   Thomas               Donahoe                                $20.50
   Erin                 Donahue                                 $0.05
   Stacey               Donahue                                 $8.80
   Stacey               Donahue                                $58.25
   Gwendy               Donaker                                 $8.35
   Edward               Donaldson                              $32.55
   Scott                Donaldson                              $49.30
   Nora                 Donaldson Rosenthal                    $35.46
   Jen                  Donat                                   $0.40
   Mary                 Donatelli                               $9.20
   Sylvia               Donati                                 $32.25
   Joseph               Donato                                  $0.80
   Renee                Dondanville                            $30.90
   Elizabeth            Donegan                                $36.10
   David                Dong                                   $10.25
   Emily                Dong                                    $8.95
   Lisa                 Dong                                   $42.94
   Yan                  Dong                                  $140.00
   Jassen               Dongon                                 $22.05
   Rachel               Donham                                  $3.05
   Kathleen             Donley                                  $0.25
   Kirk                 Donnan                                 $35.15
   Jerry                Donnard                                $39.10
   Jonee                Donnelly                               $50.00
   Michelle             Donnelly                                $8.26
   Patrick              Donnelly                              $120.15
   Quinn                Donnelly                                $8.96
   Kerry                Donoghue                                $0.12
   Aidan                Donohoe                               $108.85
   Beth                 Donohoe                                $48.10
   Eileen               Donohoe                                $12.88
   Aran                 Donohue                                 $0.40
   Brian                Donohue                                $25.16
   Laurie               Donohue                                 $1.30

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   Ruth                 Donohue                                 $1.90
   Dara                 Donovan                               $100.00
   Ellen                Donovan                                 $6.08
   Jeff                 Donovan                               $190.68
   Mary                 Donovan                                $17.40
   Maryam               Donovan                                $35.85
   Megan                Donovan                               $100.00
   Meghan               Donovan                                $29.90
   Robert               Donovan                                $49.07
   Chelsea              Doolan                                 $50.00
   Hope                 Dooley                                  $5.00
   Stephanie            Doppelt                               $839.80
   Michelle             Doral                                  $21.25
   Ambika               Doran                                  $74.41
   Lucy                 Dorfman                                 $3.25
   Marcia               Dorfman                                 $0.80
   Abigail              Dorjsuren                              $50.00
   Sandie               Dorman                                 $44.90
   Kendall              Dornell                                 $0.75
   Lorraine             Dorr                                    $0.25
   Meredith             Dorrance                                $8.24
   Krissy               Dorrier                                 $6.89
   Nicole               Dorsa                                  $70.00
   Hilary               Dorsey                                  $5.03
   Morna                Dorsey                                 $22.97
   Nadia                Dorsey                                 $18.10
   Rachel               Dorsey                                $143.65
   Amy                  Dorshkind                              $72.65
   Melissa              Doscher                                $12.22
   Manali               Doshi                                   $1.40
   Rushabh              Doshi                                 $178.30
   Sejal                Doshi                                 $114.35
   Sharon               Dotson                                 $69.75
   Olga                 Dotter                                  $2.85
   Colin                Doty                                    $4.95
   Alex                 Dou                                     $1.05
   Carrie               Dougherty                              $14.36
   Joe                  Dougherty                               $2.80
   Skyler               Dougherty                               $2.65
   Tiffani              Doughtie                               $37.96

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Rachel               Doughty                                 $8.75
   Cassie               Douglas                                 $0.75
   Edward               Douglas                                $20.65
   Matthew              Douglass                               $52.58
   Liana                Douillet Guzman                       $200.00
   Chris                Dountas                                 $7.30
   Dan                  Douthit                                $50.00
   Troy                 Douthit                                $78.60
   Gabrielle            Douthitt                               $45.53
   Zachary              Dovel                                   $4.15
   Nore                 Dowd                                    $4.85
   Stefanie             Dowdy                                   $0.76
   Sidney               Dowell                                  $4.35
   Jeanne               Dower                                 $209.05
   Garrett              Downen                                  $8.95
   Jana                 Downing                                 $8.95
   John                 Downing                                 $3.50
   Amy                  Downs                                  $50.00
   Daisy                Downs                                  $86.62
   Arlene               Doyle                                   $7.10
   Beth                 Doyle                                  $80.10
   Catherine            Doyle                                   $4.20
   Charlotte            Doyle                                   $1.45
   Dan                  Doyle                                 $100.00
   Megan                Doyle                                  $27.85
   Meghan               Doyle                                  $24.16
   Melissa              Doyle                                 $100.00
   Sharon               Doyle                                  $32.10
   Terry                Doyle                                 $100.00
   Katherine            Drady                                  $12.05
   Whitney              Dragstrem                              $35.80
   Gretchen             Drake                                 $130.61
   Linda                Drake                                  $25.50
   Robert               Drake                                   $0.35
   Zara                 Dramov                                  $3.50
   Darrell              Draper                                $100.00
   Tamar                Draper                                 $29.25
   Erin                 Drapkowski                             $13.78
   Katie                Drasser                                $29.25
   Nancy                Dreckman                                $0.40

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sara                 Drescher                                $9.76
   Cynthia              Dresner                                $34.60
   Katie                Dresow                                 $54.65
   Carol                Dressler                              $199.90
   Anne                 Drew                                  $122.15
   Ashley               Drew                                   $45.50
   Keith                Dricken                                 $0.71
   Sicco                Drion                                   $4.55
   Robert               Driscoll                                $3.75
   Gerard               Drobnicki                              $50.00
   Lisa                 Droege                                 $57.40
   Jayne                Droese                                 $27.60
   Kari                 Droller                                $15.43
   Melonie              Drotts                                  $4.20
   Aaron                Druck                                  $12.75
   Harriet              Drucker                                $11.78
   Alison               Drury                                   $1.20
   Yang                 Du                                     $22.95
   Athena               Du Bois                                $24.60
   Bill                 Duane                                  $52.25
   Laura                Duarte                                 $82.05
   Heather              Duback                                $206.75
   Lauren               Dubey                                  $14.35
   Sonya                Dublin                                $115.85
   Sam                  Duboff                                  $8.95
   Angela               Dubovsky                                $0.40
   Wendy                Dubrow                                 $62.34
   Kristy               Duchak                                  $8.95
   Emily                Duchon                                  $1.05
   Mari                 Duck                                    $8.35
   Jackie               Duddy                                   $5.30
   Lynn                 Dudinsky                              $163.80
   Joanna               Dudley                                 $21.15
   John                 Duey                                    $0.10
   Jennifer             Duffield                               $27.65
   Stacy                Dufft                                  $25.47
   Debbie               Duffy                                  $16.01
   Helen                Duffy                                   $8.15
   Kathleen             Duffy                                   $6.82
   Maureen              Duffy                                   $0.88

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Pamels               Duffy                                 $237.95
   Ryan                 Duffy                                  $80.01
   Trish                Duford                                 $13.71
   Ree                  Dufresne                               $80.00
   Vinniece             Dufresne                                $2.31
   Claire               Dugan                                 $250.00
   Jamila               Dugan                                   $9.70
   Kelly                Dugan                                   $3.00
   Debra                Dugdale                                $11.62
   Drew                 Duggan                                 $22.43
   Michelle             Duggan                                  $8.95
   Laurie               Duggins                                 $3.65
   Roderick             Dugliss                                $26.15
   Leanne               Duhon                                 $100.00
   Meghan               Duke                                    $1.39
   Anna                 Dukes                                 $150.00
   Tamara               Dukes                                   $1.10
   Morgan               Dulfer                                 $51.90
   Lenny                D'Ull                                  $26.10
   Kluke04              Dulley                                  $0.40
   Ashley               Dumbra                                 $40.75
   Jacob                Dumez                                  $40.80
   Jon-Paul             Dumont                                  $3.30
   Rebecca              Dumoulin                                $0.55
   Cindy                Dunbar                                 $53.23
   James                Dunbar                                $130.00
   Scott                Dunbar                                  $7.69
   Tia                  Dunbar                                 $26.15
   David                Duncan                                 $16.10
   Eileen               Duncan                                 $50.00
   Jordyn               Duncan                                  $3.80
   Stephanie            Duncan                                  $1.00
   Suzette              Duncan                                  $1.35
   Vicki                Duncan                                $150.00
   Megan                Dunchak                                $30.00
   Nicole               Dundas                                 $10.50
   David                Dunford                                $17.65
   Kelly                Dunford                                 $0.12
   Sebastian            Dungan                                $277.35
   Mark                 Dungey                                 $17.55

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Devon                Dunham                                   $4.20
   Amanda               Dunlap                                 $107.10
   Charlie              Dunlap                                   $8.95
   Linda                Dunlap                                 $100.00
   Ulash                Dunlap                                  $24.74
   Chris                Dunn                                    $21.80
   Ernestine            Dunn                                   $179.75
   Jeremy               Dunn                                    $13.10
   Julie                Dunn                                    $31.16
   Margaret             Dunn                                     $2.40
   Mary                 Dunn                                   $219.60
   Meredith             Dunn                                     $4.75
   Molly                Dunn                                    $23.62
   Stacy                Dunn                                     $5.03
   Gwynneth             Dunne                                   $33.35
   Meghan               Dunne                                    $7.70
   Stephanie            Dunne                                   $73.05
   Urvi                 Dunnington                             $115.15
   Brad                 Dunshee                                 $69.60
   Lorri                Dunsmore                                 $8.95
   Fetuao               Dunson                                  $30.00
   Allan                Duong                                   $50.00
   Katherine            Duong                                    $6.65
   May                  Duong                                   $97.00
   Kyle                 Duponte                                 $55.15
   Brooke               Dupre                                   $54.45
   Renee                Duprel                                  $32.66
   Adrien               Dupuy                                   $22.80
   Paul                 Dupuy                                   $15.30
   Morgan               Duquette                               $149.57
   Carina               Duran                                    $6.55
   Danny                Duran                                    $2.14
   Julia                Duran                                  $127.15
   Mark                 Duran                                   $44.75
   Zeny                 Durano                                   $0.90
   Christine            Durant                                  $40.00
   Elena                Durante                                 $12.15
   Nan                  Durban                                   $9.92
   Sean                 Durham                                  $11.85
   Emily                Durkin                                  $15.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Marilyn              Durkin                                  $25.30
   Rory                 Durkin                                  $50.00
   Britta               Durtsche                                 $0.05
   Kevin                Dusablon                                $13.00
   James                Dusseau                                  $3.30
   Laura                Dust                                    $23.20
   Alanna               Dutra                                   $22.87
   Ashley               Dutra                                    $7.25
   Marianna             Dutra                                  $100.00
   Leia                 Dutra-Jakovleski                         $8.95
   Matthew              Dutton-Gillett                          $26.50
   Judith               Duval                                  $155.02
   Brenton              Duvall                                 $200.95
   Sarah                Dvorak                                  $49.29
   Khary                Dvorak-Ewell                             $0.70
   Bill                 Dwight                                  $39.50
   Kelly                Dwinells                                $62.15
   Jeanine              Dworak                                  $11.15
   Darrell              Dwyer                                   $80.00
   Kendall              Dye                                     $57.11
   Sarah                Dyen                                     $8.20
   Chelsey              Dyer                                    $40.00
   Rebecca              Dyer                                     $8.95
   Lindsay              Dygert                                   $0.10
   Branden              Dyke                                    $20.06
   Ashley               Dylenski                                $24.12
   Laurale              Dyner                                    $0.30
   Erin                 Dysart                                  $60.40
   Tracy                Dyson                                   $20.05
   Dil                  Dzhabbarova                            $317.35
   Virginia             Dzul-Church                             $20.20
   H                    E                                        $0.25
   Stephanie            Eadie                                    $0.02
   Julie                Eager                                    $8.95
   Marilyn              Eakin                                   $71.60
   Mary                 Ealy                                    $15.09
   Yvonne               Eames                                    $5.25
   Jennifer             Earle                                   $17.65
   Jennifer             Earle                                   $85.70
   Catherine            Earley                                   $0.07

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Cristina             Earley                                  $0.35
   Erin                 Earls                                  $46.64
   Kelly                Earls                                  $78.15
   Meg                  Earls                                   $2.90
   Mary                 Early                                  $36.55
   Amy                  Easley                                 $14.35
   Christina            Eason                                  $50.00
   Matt                 Easterlin                              $33.65
   Joseph               Eastwood                                $0.85
   Lexy                 Eaton                                   $0.40
   Erik                 Eaves                                   $9.65
   Julie                Ebadi                                  $46.05
   Ryan                 Eberhard                              $122.85
   Marie                Eberwein                                $0.75
   Steven               Ebin                                    $5.95
   Rafael               Ebron                                  $32.35
   Monika               Echandy                                 $0.25
   Ron                  Echeguren                              $20.10
   Michelle             Eck                                    $14.46
   Jennie               Eckardt                               $274.70
   Rachel               Eckberg                                $37.05
   Laura                Eckerlin                                $0.10
   Linda                Eckols                                 $19.50
   Margot               Edde                                  $124.22
   Bryan                Eddy                                   $22.35
   Jeremy               Eddy                                    $7.20
   Marsha               Edell                                  $12.65
   Torrey               Edell                                  $25.95
   Erika                Edelson                                $43.26
   Laurel               Edelstein                               $5.45
   Michael              Edelstein                              $60.90
   Sheila               Edesan                                 $83.55
   Ashley               Edgar                                   $1.45
   Ryan                 Edgar                                   $0.02
   Danielle             Edgington                               $3.40
   Linda                Edley                                  $88.55
   Jennifer             Edlin                                   $6.50
   Carolin              Edmon                                  $50.00
   Julianne             Edmondson                             $125.00
   Caitlin              Edmunds                                $11.75

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Garytracee           Edmunds                                  $125.60
   Christina            Edwards                                   $25.00
   Fran                 Edwards                                    $0.58
   Glynn                Edwards                                   $60.25
   Nathaniel            Edwards                                   $76.10
   Rebecca              Edwards                                   $72.25
   Robert               Edwards                                    $7.25
   Scott                Edwards                                   $50.00
   Symone               Edwards                                   $12.45
   Chong                Ee                                         $1.60
   Josh                 Eells                                      $0.90
   Keiasha              Effinger                                   $8.20
   Joseph               Egabalawi                                 $21.65
   Brendan              Egan                                       $2.85
   Felicia              Egan                                      $73.15
   Jamie                Egan                                       $0.80
   Kara                 Egan                                      $10.65
   Kathleen             Egan                                       $3.20
   Colby                Egbert                                   $250.00
   Lynnette             Egenlauf                                  $32.05
   Emily                Eggenberger                               $50.00
   Daniel               Eggers                                    $56.90
   Kathryn              Eggert                                     $0.30
   Nicole               Eggert                                    $15.35
   Jacqueline           Eggins                                    $40.05
   Faye                 Egre                                       $0.89
   Thomas               Ehlenfeldt                                 $1.75
   Nic                  Ehr                                       $76.10
   Beth                 Ehrich                                     $7.10
   Scott                Ehrlich                                   $68.20
   Lauren               Ei                                         $4.90
   James                Eichelberger                              $48.90
   Tim                  Eichelberger                              $91.55
   Peggy                Eichman                                   $99.25
   Yasmin               Eichmann                                   $0.65
   Russell              Eickhoff                                   $0.37
   Nora                 Eidelberg                                 $50.00
   Monica               Einaudi                                   $50.00
   Erik                 Einwalter                                $222.65
   Leah                 Eisbart                                   $12.30

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Gena                 Eiseman                                $26.30
   Molly                Eiseman                                 $0.05
   Yael                 Eisen Avidan                           $16.25
   Mia                  Eisenberg                               $0.95
   Michael              Eisenberg                             $150.00
   Jill                 Eisenhard                             $121.35
   Kevin                Eisenmann                              $16.25
   Joanne               Eisler                                $121.25
   Sarah                Eisler                                 $23.35
   Sara                 Eizen                                  $64.90
   Charles              Ekenga                                 $50.00
   David                Ekstrom                                $15.64
   Diane                Elabidi                               $500.00
   Lauren               Elan Helsper                            $1.45
   Erika                El-Ansary                              $12.10
   Mohammed             Elasmai                                $13.25
   Amir                 El-Chidiac                              $1.95
   Monica               Elden                                  $15.25
   Eva                  Elder                                  $11.70
   Karlene              Elder                                 $213.15
   Maureen              Elder                                  $24.30
   Martha               Elderon                                 $8.95
   Mark                 Eldridge                                $8.95
   Sandra               Elefant                                $39.12
   Sheila               Elgaard                                $12.10
   Allison              Elgart                                 $93.99
   Jim                  Elias                                 $100.00
   Veronica             Elias                                 $200.00
   Ori                  Elis Mcdevitt                          $18.20
   Kelsey               Elizabeth                               $0.02
   Alma                 Elizondo                                $9.40
   Sonny                Elizondo                                $2.90
   Zorana               Elizondo                               $13.30
   Elaine               Elkind                                 $15.40
   Matthew              Elkins                                 $19.85
   Liz                  Elledge                                 $1.95
   Taryn                Elledge-Penenr                          $7.53
   Judi                 Ellen                                   $0.70
   Mary                 Ellen                                 $240.10
   Laura                Ellena                                  $1.20

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Sara                 Ellenson                                  $0.41
   Christina            Elles                                    $19.45
   Brian                Ellin                                     $5.90
   Leslie               Ellingson                                 $8.10
   Ann                  Ellingson Castro                         $46.84
   Catherine            Elliott                                   $0.05
   Chase                Elliott                                   $1.42
   Julia                Elliott                                  $34.55
   Laura                Elliott                                  $14.35
   Pamela               Elliott                                   $6.95
   Sarah                Elliott                                 $100.00
   Tim                  Elliott                                  $78.01
   Heidi                Ellis                                    $60.00
   Lacey                Ellis                                    $59.73
   Martha               Ellis                                    $39.85
   Zoe                  Ellis                                     $4.10
   Anna                 Ellison                                  $15.20
   Mary                 Ellison                                  $11.90
   Kathryn              Ellman                                    $5.40
   Susan                Ellsworth                                $39.15
   William              Ellsworth                                $49.50
   Paul                 Ellsworth Yow                             $1.80
   Briam                Elmer                                   $156.46
   Elizabeth            Elmore                                    $4.05
   Mary Jane            Elmore                                   $35.15
   Michael              Elowson                                   $6.15
   Robin                Elsineitti                              $100.70
   Lucie                Elwes                                    $10.75
   Myra                 Emad                                     $32.90
   Cassidy              Emami                                    $23.67
   Lois                 Emanuelli                                $30.00
   Cindy                Emch                                      $6.35
   Chanel               Emershy                                  $17.69
   Heather              Emerson                                   $0.30
   Michelle             Emerson                                 $221.00
   Janette              Emery                                     $1.32
   Margaret             Emery                                     $0.45
   Cherre               Emilie                                    $5.67
   Stacy                Emmert                                   $71.60
   Stacy                Emmert                                    $6.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Ashlie               Emmett                                   $15.20
   Sarah                Emmott                                  $150.00
   Aimee                Emmrich                                  $35.35
   Ben                  Emmrich                                   $4.55
   Anne                 Enberg                                   $62.41
   Jaclyn               Encinas                                   $0.20
   Buck                 Endemann                                $100.00
   Marian               Endo                                     $19.65
   Henry                Eng                                     $256.06
   Nadine               Eng                                      $83.42
   Renee                Eng                                       $5.20
   Spencer              Eng                                       $0.45
   Kassie               Engdahl                                  $20.85
   Autumn               Engel                                    $50.00
   Pete                 Engelhard                                $50.00
   Stephanie            Engelsen                                  $1.10
   Janet                Engesser                                  $0.65
   Darlene              Eng-Kozu                                $100.00
   Melissa              England                                  $50.00
   Monica               England                                 $100.00
   Jeni                 Englander                                 $6.25
   M.Irene              Engle                                   $119.90
   Stephanie            Engle                                    $50.00
   Karla                Englehardt                                $4.35
   Mike                 Engler                                   $25.95
   Janet                English                                  $52.60
   Sean                 English                                 $175.00
   Corrina              Englund                                   $0.16
   Gina                 Englund                                  $16.24
   Andrea               Ennis                                     $0.40
   Mike                 Enomoto                                  $35.15
   Jeff                 Enquist                                  $12.65
   Anne                 Enriquez                                 $10.05
   Tila                 Enser                                     $2.55
   Ashley               Ensign                                    $0.85
   Michelle             Ensley                                    $1.10
   Zed                  Ensor Estes                               $0.20
   Kaitlyn              Entel                                     $3.60
   Solomon              Eppel                                    $39.05
   Ashley               Epstein                                 $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Mark                 Epstein                                $200.00
   Suzanne              Epstein                                 $92.01
   Theresa              Epstein                                 $16.90
   Julie                Erban                                    $5.10
   Lois                 Erbay                                   $19.85
   Stacia               Erbe                                     $3.03
   Kristen              Erbst                                    $0.30
   Ozzie                Ercan                                  $244.46
   Joann                Eremeyeff                                $3.95
   Daryl                Eremin                                   $0.93
   Dave                 Eresian                                 $40.30
   Jennifer             Ereso                                  $141.65
   Ramin                Erfanian                               $100.00
   Ercan                Erhan                                  $140.00
   Chris                Erickson                               $373.85
   Dawn                 Erickson                                 $8.65
   Dawn                 Erickson                                $80.55
   Irene                Erickson                                 $1.65
   Sarah                Erickson                                 $1.31
   Summer               Erickson                               $120.60
   Scott                Eriksen                                 $22.08
   Taylor               Erlbaum                                  $1.36
   Michelle             Erlick                                   $2.25
   Atle                 Erlingsson                              $14.70
   Mark                 Erman                                    $2.11
   Christie             Ernst                                  $122.15
   Greg                 Ernst                                  $455.25
   Stacy                Ernst                                   $60.65
   Meltem               Erol                                    $16.40
   Mike                 Erps                                    $49.70
   Suzanne              Errecart                                $40.00
   Adrienne             Erskine                                $187.70
   Adrienne             Erskine                                  $2.54
   Kristine             Erving                                  $44.85
   Ben                  Erwin                                   $46.68
   Diana                Erwin                                   $24.98
   Becky                Escamilla                                $1.53
   Victoria             Escanio                                  $1.10
   Kayla                Escobar                                  $3.00
   Sarita               Escobar                                $360.83

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   Stuart               Escobar                                  $0.55
   Vanessa              Escobar                                 $20.00
   Yaosca               Escobar                                 $22.10
   Meg                  Escobosa                               $119.13
   Jazon                Escultura                               $24.15
   Christina            Esfehani                                 $8.65
   Susan                Eshleman                                $22.65
   Brenda               Eskenazi                                $26.15
   Cecile               Eskenazi                                 $6.30
   Heidi                Eskenazi                                 $2.70
   Jack                 Eskridge                               $176.85
   Orion                Espino                                 $121.54
   Ariana               Espinoza                                 $8.20
   Eduardo              Espinoza                                 $0.10
   Kami                 Espinoza                                 $1.80
   Sarah                Esposito                                 $8.79
   Micaela              Esquivel                                $11.90
   Michelle             Esquivel                                $52.80
   Jeri                 Essagof                                 $66.55
   Pauline              Essalou                                  $0.15
   Suzanne              Esser                                   $62.10
   Jonah                Essers                                  $32.69
   Ed                   Essey                                  $178.42
   Michelle             Essig                                  $401.85
   Eric                 Essman                                  $61.15
   Dylan                Essner                                 $199.20
   Britni               Estes                                    $6.10
   Lu                   Estes                                   $48.80
   Heken                Estoque                                  $0.43
   Catherine            Estrada                                 $30.39
   Jennifer             Estrada                                $159.55
   Kevin                Estrada                                  $1.80
   Mariquita            Estrada                                $450.00
   Natalie              Estrada                                $104.70
   Paul                 Estrada                                  $1.70
   Vanessa              Estrada                                 $23.60
   Wence                Estrada                                  $0.12
   Kathryn              Estrera                                 $21.05
   Michele              Etchenique                              $22.25
   Jenn                 Etheridge                                $0.40

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   Kay                  Etherington                             $100.00
   Elizabeth            Etienne                                  $25.00
   Deb                  Ettinger                                 $26.85
   Saul                 Ettlin                                  $150.00
   Laurence             Ettling                                  $17.90
   Kim                  Etzel                                    $36.91
   Susan                Euing                                     $0.40
   Amanda               Eurich                                   $28.05
   Jeanette             Eva                                      $19.30
   Jennifer             Evanchik                                  $1.20
   John                 Evangelista                               $5.96
   Brooke               Evans                                    $72.60
   Cait                 Evans                                     $4.00
   Chuck                Evans                                     $5.70
   Dan                  Evans                                     $7.75
   Eliza                Evans                                    $17.15
   Elizabeth            Evans                                    $40.00
   Eriks                Evans                                    $24.90
   George               Evans                                     $3.80
   Ingrid               Evans                                    $66.45
   Jill                 Evans                                    $15.30
   Matthew              Evans                                    $43.76
   Meghan               Evans                                     $0.15
   Meredith             Evans                                    $60.50
   Michelle             Evans                                    $10.60
   Migiwa               Evans                                    $14.55
   Nancy                Evans                                   $116.75
   Patti                Evans                                    $22.20
   Sally                Evans                                    $96.05
   Sara                 Evans                                     $7.45
   Tamara               Evans                                    $54.31
   Rupert               Eve                                      $20.30
   Keara                Everdell                                 $18.20
   Julie                Everett                                 $332.15
   Jeanne               Evilsizer                               $124.01
   Bruno                Ewald                                    $17.05
   Davida               Ewan                                     $14.40
   Nancy                Ewart                                     $2.90
   Elizabeth            Ewing                                   $124.05
   Kurt                 Ewoldsen                                 $59.40

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Rebecca              Ewoldt                                  $66.37
   Alexia               Exarchos                                 $4.05
   Sue                  Exline                                   $3.40
   Lauren               Exnicios                                $50.00
   Lauren               Exnicios                                 $2.46
   Matineh              Eybpoosh                               $189.20
   Kristen              Eyler                                  $210.70
   Lily                 Eyunni                                   $1.35
   Chete                Eze-Nliam                               $17.90
   Bee                  F                                        $2.20
   C                    F                                        $2.00
   Ray                  F                                        $5.11
   Teresa               Fabbricino                               $0.05
   Rita                 Fabi                                    $61.15
   Elizabeth            Fabie                                    $1.95
   Lisa                 Fabiny                                 $146.97
   Inna                 Fabrikant                                $4.30
   Stacey               Fabrikant                               $11.47
   Lindsay              Facchini                                 $6.20
   Sharon               Faccinto                                $18.90
   Reena                Factor                                  $17.90
   Carol                Fadden                                  $47.40
   Keely                Fadrhonc                                $80.00
   Meghan               Faerber                                  $8.95
   Viviana              Faga                                    $15.50
   Cameron              Fagan                                   $58.60
   Diane                Fagan                                    $9.10
   Andrew               Fager                                   $22.85
   Carl                 Fagerlin                                 $0.65
   Loris                Fagioli                                $100.00
   Justin               Fagnani                                $117.85
   Valerie              Fahey                                    $7.40
   Jon                  Fahrner                                 $29.75
   Fiona                Fahy                                   $333.17
   Lisa                 Faillace                                $40.00
   Bonnie               Fainman                                  $0.85
   Tyra                 Fainstad                                 $0.66
   Claire               Fairbanks                               $13.65
   Liz                  Fairbanks                               $12.15
   Sandra               Fairchild                               $16.50

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Milette P            Fairclough                              $12.20
   Kelly                Fairlee                                  $1.30
   Heather              Faison                                   $2.40
   Asami                Faith                                  $421.15
   Kathleen             Faith                                    $0.75
   Kelsi                Faizi                                   $30.00
   Brittany             Fajardo                                 $23.76
   Alicia               Falango                                 $30.00
   April                Falconi                                 $35.25
   Bev                  Falgione                                 $7.86
   Susie                Falk                                     $7.55
   Lisbeth              Fall                                    $12.50
   Marilyn              Faller                                 $420.50
   Bill                 Fallis                                  $97.40
   Barb                 Fallon                                 $161.05
   Jenn                 Fallon                                   $0.09
   Erin                 Falls                                    $8.75
   Erin                 Fallt                                   $50.00
   Adam                 Faludi                                  $36.20
   Ryan                 Family                                 $445.00
   Katie                Famous                                  $96.95
   Inge                 Famularo                                 $8.95
   Christina            Fan                                     $19.35
   Hong                 Fan                                    $187.01
   Ningsun              Fan                                    $125.80
   Richard              Fan                                     $63.60
   Rima                 Fand                                     $0.01
   Ji                   Fang                                   $100.00
   Norman               Fang                                    $80.00
   Craig                Fanning                                  $6.52
   Erin                 Fanning                                  $5.65
   Fran                 Far                                      $7.15
   Kelsey               Farabee                                  $0.79
   Courtney             Farah                                   $50.00
   Lizette              Faraji                                  $55.21
   Ari                  Farber                                   $3.00
   Nicole               Farhat                                  $60.60
   Samantha             Farinella                                $6.34
   Cassie               Farinsky                                 $0.45
   Karim                Faris                                   $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Carmit               Farkash                                  $2.25
   Pete                 Farley                                  $11.70
   Shoaleh              Farman                                 $320.00
   Lauren               Farmer                                   $1.71
   Sandra               Farmer                                  $34.15
   Michelle             Farmer Eldridge                          $9.15
   Michael              Farnham                                 $17.05
   Kieran               Farr                                     $1.75
   Adam                 Farrar                                   $4.88
   Erin                 Farrar                                  $50.00
   Scott                Farrar                                  $29.72
   Lena                 Farrell                                 $87.49
   Liz                  Farrell                                  $1.35
   Mark                 Farrell                                $100.00
   Matt                 Farrell                                  $3.10
   Noreen               Farrell                                 $17.90
   Sally                Farrell                                $254.05
   Monica               Farris                                  $68.65
   Dustin               Farrokhi                                $50.00
   Matthew              Farruggio                               $13.05
   Christina            Fass                                   $235.30
   Susanna              Fassberg                               $998.50
   Cheryl               Fassett                                $147.08
   Jordy                Fassnacht                               $18.41
   Maggie               Fasy                                     $6.05
   Ira                  Fateman                                 $58.70
   Alicia               Fates                                    $6.55
   Bella                Fattoria                               $250.00
   Megan                Faughnan                                $50.00
   Dewi                 Faulkner                                 $0.35
   Katie                Faulkner                                $37.30
   Geraldine            Fausett                                  $0.35
   Teresa               Faussone                                 $5.30
   Leslie               Faust                                  $136.50
   Rey                  Faustino                                 $0.26
   Lindsey              Favaloro                                $23.15
   Mien                 Faville                                  $4.45
   Jacques              Favreau                                $113.55
   Stephen              Favrot                                  $26.25
   Michael              Faw                                     $62.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Adrienne             Faxio                                  $22.10
   Alex                 Fay                                     $2.30
   Alex                 Fayette                                 $4.60
   Arash                Fayz                                    $3.15
   Sydney               Fazende                                 $3.48
   Dana                 Feagles                                 $0.70
   Merrill              Feather                                $14.35
   Tracey               Fecher                                $410.37
   Richard              Fechter                                $14.20
   Jessica              Fecteau                                 $5.71
   Jeanette             Feddes                                $189.50
   Nancy                Federice                               $21.60
   Anna                 Fedman                                  $1.75
   Woniya               Fedoroff                                $3.25
   Alexandra            Fedyukova                              $93.55
   Scott                Feeney                                 $48.10
   Adam                 Feffer                                 $59.50
   Evan                 Fein                                    $8.51
   Nicholas             Fein                                    $7.80
   Glen                 Feinberg                              $363.35
   Jamie                Feinberg                                $9.78
   Sandy                Feinland                                $8.95
   Meghan               Feinstein                               $4.00
   Dana                 Feintuch                              $100.00
   Joana                Feit                                   $65.40
   Susanna              Felak                                   $1.05
   Jennifer             Felcher                                 $3.05
   Krista               Feldhouse                               $7.15
   Alie                 Feldman                                 $5.95
   Dave                 Feldman                               $123.41
   Dina                 Feldman                               $113.00
   Merilin              Feldman                               $305.96
   Autumn               Feldmeier                               $3.15
   Alex                 Felicetti                              $24.55
   Shayna               Felix                                 $300.00
   Jessie               Feller                                  $7.95
   Sarah                Feller                                  $6.08
   Brent                Fellows                                $57.24
   Nat                  Felsen                                $250.00
   Adrienne             Felt                                   $27.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Caitlin              Felton                                $875.86
   Kristin              Fender                                 $29.11
   Michael              Fenech                                $140.85
   Ralph                Fenesy                                 $11.10
   Chao                 Feng                                   $35.80
   Rich                 Feng                                    $9.95
   Ali                  Fenn                                    $7.60
   Marion               Fennell                                $50.00
   Kristian             Fennessy                                $0.26
   John                 Fenno                                  $39.95
   Jacob                Fenton                                 $24.30
   Lisa                 Fenton                                 $40.00
   Chris                Ferebee                                $71.05
   Dina                 Ferentinos                             $10.80
   Andrew               Ferguson                               $61.55
   Ben                  Ferguson                                $3.70
   Dave                 Ferguson                                $7.95
   Heather              Ferguson                              $250.00
   Jack                 Ferguson                               $68.40
   Martha               Ferguson                               $12.74
   Siobhan              Ferguson                              $318.77
   Susan                Ferguson                                $4.35
   Kelly                Fergusson                             $594.22
   Todd                 Ferkingstad                            $30.11
   Alicia               Fernandez                             $300.00
   Claudia              Fernandez                               $0.35
   Erica                Fernandez                              $34.60
   Jessie               Fernandez                              $78.30
   John                 Fernandez                              $59.15
   Marc                 Fernandez                              $53.10
   Mattson              Fernandez                               $0.50
   Sarah                Fernandez                               $2.45
   Sydney               Fernandez                             $100.00
   Natasha              Fernandez-Fountain                     $21.20
   Paul                 Ferney                                  $6.70
   Laura                Ferrari                                $16.55
   Alisha               Ferrario                               $35.70
   Maria                Ferrate                                 $4.70
   Analuisa             Ferreira                               $30.00
   Chris                Ferreira                               $16.76

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Donna                Ferreira                                 $7.22
   Ellie                Ferrell                                $101.06
   Mailani Bianca       Ferrer                                 $165.90
   Ann                  Ferreri                                 $20.55
   Guillermo            Ferretti                                $30.75
   Alicia               Ferrier                                  $2.83
   Lisa                 Ferrier                                $186.51
   John                 Ferris                                  $16.85
   Shannon              Ferris                                  $57.20
   Cheryl               Ferro                                   $50.00
   Kelly                Ferry                                    $6.83
   Marla                Ferschl                                 $17.76
   Jo                   Ferullo                                 $20.41
   Scott                Fessler                                 $14.85
   Jonathan             Festejo                                  $0.20
   Chanel               Fetaz                                    $0.15
   Christopher          Fetsch                                  $16.90
   Perry                Fetterman                                $2.85
   Abigail              Feuer                                   $47.70
   Josh                 Feuerstein                               $3.14
   Nicole               Fiala                                   $96.70
   Brian                Ficken                                  $11.37
   Wanda                Fidi                                    $79.75
   Ashley               Fidler                                  $41.40
   Lisa                 Fiedler                                  $1.25
   Carolyn              Field                                   $15.15
   Jeff                 Field                                    $0.05
   Marsha               Field                                    $2.10
   Ryan                 Field                                    $8.75
   Shannon              Field                                   $50.00
   Leslie               Fielder                                $290.98
   Stephanie            Fielding                                 $2.34
   Vikram               Fielding-Singh                           $4.95
   Paige                Fields                                   $9.90
   Patricia             Fields                                 $163.30
   Mark                 Fienberg                                 $8.65
   Ruthie.Fierberg      Fierberg                                 $1.56
   Joan                 Fierer                                 $188.14
   Maria                Fierner                                $141.55
   Karen                Fiester                                 $51.25

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Andrew               Fife                                    $136.35
   Allison              Fiffer                                    $13.95
   Adam                 Figone                                     $6.61
   Veronica             Figueroa                                  $13.49
   Katherine            Figuracion                                $33.84
   Erica                Fiji                                      $26.35
   Courtnee             Filian                                    $13.25
   Zena                 Filice                                    $19.50
   Vince                Filippone                               $100.00
   Renee                Fillabi                                    $0.17
   Kimberly             Fillmore                               $1,097.60
   Maggie               Fillmore                                   $1.25
   Dina                 Finan                                     $65.70
   Michael              Finch                                     $15.20
   Kennedy              Fincher                                   $21.67
   Natalie              Findley-Wolf                               $2.38
   Ben                  Fineberg                                  $46.70
   Juliana              Finegan                                   $52.21
   Chris                Finegold                                  $76.45
   Mara                 Finerty                                   $50.00
   Amy                  Finholm                                    $7.92
   Jeff                 Finigan                                    $2.10
   Bill                 Fink                                       $4.69
   Emily                Fink                                      $52.40
   Julia                Fink                                      $85.15
   Sarah                Fink                                      $15.39
   David                Finkbeiner                                $34.10
   Harry                Finkel                                  $170.25
   Rebecca              Finkel                                    $23.53
   Lisa                 Finkelstein                               $49.65
   Kristi               Finley                                     $8.95
   Brian                Finn                                       $6.85
   Jeffrey              Finn                                       $1.40
   Megan                Finn                                       $4.67
   Megan                Finn                                       $2.06
   Sue                  Finn                                       $0.25
   Nicola               Finnerty                                  $41.80
   Ben                  Finney                                  $159.00
   Cory                 Finney                                  $100.00
   Mark                 Finser                                  $200.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jean                 Firmage                                  $6.45
   Michael              Firmin                                 $250.00
   Bryan                Firth                                   $66.32
   Allison              Fiscalini                               $39.50
   Masha                Fisch                                   $13.40
   Alan                 Fischer                                  $0.55
   Katherine            Fischer                                $264.15
   Keirsten             Fischer                                 $15.86
   Tom                  Fischer                                $148.16
   Steve                Fischman                               $100.00
   David                Fiscus                                   $2.06
   Amir                 Fish                                    $51.65
   Nichole              Fish                                    $18.85
   Sarah                Fish                                     $1.01
   Cathy                Fish Oddie                               $5.35
   Nora                 Fishbach                                $20.90
   Amanda               Fisher                                  $27.28
   Bonnie               Fisher                                  $42.75
   Emily                Fisher                                   $5.25
   Nate                 Fisher                                 $175.15
   Nicholas             Fisher                                  $11.03
   Robyn                Fisher                                   $2.01
   Stacey               Fisher                                   $3.40
   Susan                Fisher                                  $25.00
   Timothy              Fisher                                   $2.06
   Tracey               Fisher                                  $32.60
   Emily                Fishkind                               $222.76
   Aviv                 Fishler                                  $0.05
   Deborah              Fishler                                 $50.00
   Stacey               Fishler                                 $42.11
   Lauren               Fishman                                 $17.76
   Alex                 Fishwick                                $50.00
   Naomi                Fiss                                    $72.60
   Megan                Fister                                   $7.05
   Rebecca              Fitch                                   $34.22
   Alli                 Fitzgerald                               $1.65
   Amy                  Fitzgerald                              $40.15
   Brid                 Fitzgerald                               $5.54
   Gloria               Fitzgerald                              $23.35
   Katie                Fitzgerald                               $4.55

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Tom                  Fitzgerald                                $12.05
   Christina            Fitzmaurice                              $150.00
   Alyce                Fitzpatrick                              $141.65
   Claire               Fitzpatrick                               $34.55
   Devin                Fitzpatrick                               $15.38
   Jeanne               Fitzpatrick                               $50.00
   Marissa              Fitzpatrick                               $60.20
   Shannon              Fitzpatrick                               $30.51
   Kari                 Fitzsimmons                                $7.95
   Jason                Fitzsimons                               $150.00
   John                 Flaaten                                   $61.15
   Hilary               Flack                                    $167.63
   Lisa                 Flagg                                     $97.30
   John                 Flaherty                                   $9.30
   Ryan                 Flaherty                                   $7.65
   Victoria             Flamenco                                  $27.35
   Nicole               Flaming                                  $100.00
   Eileen               Flanagan                                 $200.00
   Jean                 Flanagan                                   $2.20
   Frances              Flannery                                  $65.05
   Margaret             Flannery                                  $24.00
   Monica               Flannigan                                $115.89
   Sophie               Flax                                       $0.95
   Brandon              Flayler                                  $114.91
   Colleen              Flayler                                   $26.10
   Lillian              Fleer                                      $0.10
   Margaret             Fleischaker                              $188.00
   Joel                 Fleisher                                   $2.08
   Jennifer             Fleishhacker                               $4.36
   Colin                Fleming                                  $250.00
   Colleen              Fleming                                  $134.05
   Eric                 Fleming                                    $0.95
   Jenn                 Fleming                                    $0.55
   Lauren               Fleming                                   $20.05
   Peter                Fleming                                   $10.60
   Anne                 Flemming                                  $22.85
   Caitlin              Flemming                                  $33.15
   Betty                Fletcher                                   $5.94
   Cheryl               Fletcher                                   $0.75
   Claire               Fletcher                                  $25.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Ethan                Fletcher                               $72.65
   Julie                Fletcher                                $2.45
   Ryan                 Fletcher                               $19.95
   Rosalind             Fleury                                  $3.95
   Jessica              Fleuti                                 $56.40
   Monica               Fliflet                                $10.91
   Errol                Flinn                                  $17.67
   Andrew               Flint                                 $108.75
   Jessica              Flintoft                               $16.25
   Jennifer             Flood                                 $153.42
   Marcey               Flood                                 $193.20
   Val                  Flood                                   $0.10
   Aileen               Flores                                  $8.00
   Isaac                Flores                                 $55.60
   Josephine            Flores                                 $50.00
   Kate                 Flores                                 $16.20
   Kristina             Flores                                $250.16
   Nuemy                Flores                                 $54.95
   Noah                 Flower                                $134.50
   Ilene                Flowers                                $69.31
   Jayme                Flowers                                 $0.55
   Gail                 Flucke                                 $59.90
   Beth                 Fluharty                               $28.05
   Breda                Flynn                                   $0.50
   Four                 Flynn                                  $28.58
   Hillary              Flynn                                   $0.20
   Laurie               Flynn                                   $5.00
   Lesly                Flynn                                  $25.40
   Lisa                 Flynn                                 $101.85
   Mandy                Flynn                                  $50.00
   Jacqueline           Fodor                                  $91.45
   Elizabeth            Foehr                                  $50.00
   Janis                Foerster                               $11.63
   Paula                Fog                                    $10.15
   Rebecca              Fogarty                                $50.00
   Roslyn               Fogarty                                 $0.15
   Taylor               Fogel                                   $1.15
   Jodi                 Foisy                                 $385.16
   Kerry                Folan                                  $18.25
   Angie                Folas                                   $1.65

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alli                 Foley                                $114.20
   Joan                 Foley                                  $28.60
   Laura                Foley                                  $45.40
   Melissa              Foley                                   $7.95
   Michael              Foley                                  $26.35
   Rachel               Foley                                $206.20
   Shirley              Foley                                  $12.60
   Emily                Folio                                  $36.05
   Minna                Folkman                                $80.00
   Adea                 Fong                                   $18.31
   Amy                  Fong                                   $62.65
   Bao                  Fong                                   $33.25
   Burt                 Fong                                   $61.67
   Chris                Fong                                    $8.95
   Cynthia              Fong                                    $1.85
   Doris                Fong                                $1,454.54
   Dorlie               Fong                                   $50.00
   Erin                 Fong                                    $2.95
   Heather              Fong                                   $19.47
   Julie                Fong                                 $100.35
   Michelle             Fong                                   $56.60
   Mike                 Fong                                   $14.80
   Mo                   Fong                                    $2.50
   Nancy                Fong                                 $100.00
   Ryan                 Fong                                 $202.01
   Stanley              Fong                                   $34.90
   Maggie               Fongheiser                              $1.60
   Pauline              Fong-Martinez                          $16.20
   Eduardo              Fonseca                                 $3.95
   Lorelle              Font                                   $74.80
   Christopher          Fontaine                               $41.05
   Stacy                Fontaine                                $2.75
   Trisha               Fontan                               $113.23
   Marie                Fontana-Nahass                         $84.10
   Jen                  Fontas                                 $38.45
   Michelle             Fontenot                               $50.00
   Lorena               Fontino                                 $5.80
   Ryan                 Foo                                    $14.60
   Genie                Foon                                   $85.00
   Bill                 Foote                                  $25.07

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Candace              Foote                                  $24.45
   Giancarlo            Foppiano                               $37.05
   Alexis               Forbes                                  $8.55
   Nicole               Forbes                                  $0.90
   Louise               Forbush                                $57.30
   Elizabeth            Force                                  $22.25
   Ariel                Ford                                    $0.25
   Christopher          Ford                                    $0.58
   Elana                Ford                                  $234.30
   Jennifer             Ford                                   $25.55
   Judith               Ford                                    $5.35
   Kelsey               Ford                                   $69.75
   Jeffrey              Forde                                   $1.60
   Steve                Forde                                  $74.56
   Brett                Foreman                               $300.00
   Brice                Forestier                             $178.86
   Kathleen             Forgette                               $68.55
   Johanna              Forman                                 $15.65
   Laura                Forman                                $106.52
   Nigel                Forman                                 $57.25
   Tara                 Forman                                 $48.05
   Terri                Forman                                 $16.58
   Ami                  Formica                                 $4.19
   Karla                Fornall                               $100.00
   Jenny                Forrest                                 $2.00
   Rob                  Forrest                                $54.15
   Don                  Forsberg                                $0.80
   Gilbert              Forst                                 $136.30
   Wade                 Forst                                   $6.10
   Morgan               Forsythe                                $7.26
   Ray                  Fort                                   $15.20
   Jordan               Forteza                                 $8.95
   Glenn                Fortin                                $376.40
   Melissa              Fortson                                 $0.05
   Patricia             Fortunati                               $4.35
   Elizabeth            Fortune                               $100.00
   Tomoko               Fortune                                 $9.75
   Kyle                 Foscato                                $50.00
   Sarah                Foss                                   $78.89
   Travis               Fossati                               $200.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Cindy                Foster                                  $2.04
   Ingrid               Foster                                  $8.95
   Jerry                Foster                                  $2.75
   Katy                 Foster                                 $45.80
   Kimberly             Foster                                 $53.35
   Luchen               Foster                                 $15.95
   Stephanie            Foster                                  $9.20
   William              Foster                                $100.00
   Elizabeth            Foster Courtney                        $21.50
   Marnie               Foust                                   $0.13
   Warren               Foust                                 $573.80
   Kenneth              Fout                                   $75.20
   Lauren               Fowler                                  $5.71
   Patrick              Fowler                                 $52.30
   Penny                Fowler                                  $4.95
   Aaron                Fox                                    $74.40
   Aaron                Fox                                    $82.90
   Alicia               Fox                                    $15.80
   Ashley               Fox                                    $11.30
   Cathy                Fox                                    $62.65
   Christine            Fox                                    $67.05
   Daniel               Fox                                    $36.75
   Darrin               Fox                                     $2.50
   Erica                Fox                                    $13.15
   Gordon               Fox                                     $4.10
   Heath                Fox                                     $9.45
   Jane                 Fox                                     $0.80
   Jennifer             Fox                                     $0.35
   Lila                 Fox                                    $39.05
   Meaghan              Fox                                    $20.30
   Mitchell             Fox                                   $113.50
   Nina                 Fox                                     $1.20
   Sami                 Fox                                     $2.80
   Natalie              Foy-Claycomb                           $24.50
   Lois                 Fragomeni                              $29.70
   Kimberly             Frahm                                  $97.13
   Daniel               Framsted                              $180.55
   Lisa                 Francioni                              $89.61
   Chase                Francis                               $100.00
   Darlene              Francis                                $34.50

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Monte                Francis                                   $30.08
   Ryan                 Francis                                   $26.20
   Sarah                Franco Alves                             $124.60
   Tannis               Frandsen                                   $9.60
   Jackie               Frangadakis                               $20.20
   Ariel                Frank                                    $110.50
   Janie                Frank                                     $29.25
   John                 Frank                                      $1.24
   Katie                Frank                                      $1.41
   Michael              Frank                                     $20.35
   Lauren               Franke                                    $11.70
   Cindy                Frankel                                   $25.00
   Nelse                Frankel                                    $3.65
   Norm                 Frankel                                    $8.95
   Raphael              Frankfurter                                $7.04
   Aud                  Franklin                                  $63.20
   Bryan                Franklin                                 $208.30
   Karen                Franklin                                   $0.05
   Kate                 Franklin                                 $116.05
   Yvonne               Frankovich                                $46.62
   Brent                Franson                                   $17.90
   Jasmine              Franz                                     $11.55
   Alexander            Fraser                                     $1.80
   Alice                Fraser                                    $45.76
   Annika               Fraser                                   $150.00
   Bronwen              Fraser                                    $50.00
   Frank                Frausto                                    $8.95
   Stephanie            Frausto                                   $19.35
   Ashley               Frazer                                    $73.40
   Erika                Frazer                                    $18.05
   Al                   Frazier                                   $50.00
   Emilee               Frazier                                   $27.50
   Krista               Frazita                                    $0.20
   Linda                Freccero                                  $26.15
   Josh                 Frechette                                  $2.05
   David                Freddolino                                 $8.52
   Adriel               Frederick                                 $13.95
   Cathy                Fredericksen                              $52.40
   John                 Frederiksen                               $42.20
   Dominique            Fredregill                               $303.24

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Shellie              Fredrich                                 $1.53
   Rebecca              Freeburn                                 $9.05
   Sharon               Freechtle                               $50.00
   Reams                Freedman                                $59.55
   Brett                Freelen                                  $8.75
   Crosby               Freeman                                 $50.00
   Hillary              Freeman                                  $8.55
   Russell Bruce        Freeman                                 $26.85
   William              Freeman                                  $0.70
   Alison               French                                   $0.60
   Anne                 French                                   $9.60
   Chad                 French                                  $53.85
   Karen                French                                   $7.00
   Kimberly             French                                 $101.55
   Melissa              French                                 $171.92
   Stacy                French                                  $25.60
   Elaine               Frey                                     $1.05
   Sheryl               Frey                                     $1.65
   Margaret             Freydoz                                  $0.85
   Page                 Freyermuth                             $200.00
   Rita                 Freyre                                   $1.05
   Adele                Frias                                    $3.25
   Irma                 Frias                                    $8.35
   Katharine            Frias                                    $4.15
   Kataneh              Friberg                                 $25.70
   John                 Fricker                                $128.75
   Ann                  Friedland                               $38.25
   Brooke               Friedman                                $24.10
   Carolineef           Friedman                               $120.00
   Deb                  Friedman                                $81.16
   Hope                 Friedman                               $250.00
   Jeanne               Friedman                                $42.85
   Joel                 Friedman                                $64.20
   Josh                 Friedman                                 $6.70
   Katya                Friedman                                 $1.50
   Lisa                 Friedman                                $64.20
   Marty                Friedman                               $409.80
   Melissa              Friedman                                $42.80
   Ron                  Friedman                                $81.50
   Stephanie            Friedman                                $30.80

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Penny                Friedrichsen                                $1.20
   Flor Rea             Friend                                     $17.75
   Lisa                 Friendly                                   $70.01
   Elizabeth            Fries                                      $29.20
   Melissa              Fries                                      $82.10
   Karen                Friesen                                     $0.20
   Kristi               Friesen                                    $26.10
   Elyse                Frisch                                     $32.45
   Emily                Frischmann                                 $13.05
   Amy                  Fritz                                      $17.60
   Charles              Fritz                                       $1.40
   Martin               Fritz                                      $71.60
   Tom                  Fritz                                      $30.00
   Mariko               Fritz-Krockow                              $26.10
   Andrea               Frizzell                                   $11.75
   Lea                  Frizzell                                   $56.36
   Cecilia              Froberg                                    $15.95
   Addy                 Froehlich                                  $18.21
   Judy                 Frohlich                                    $0.30
   Maya                 Frohlichman                                 $7.91
   Kate                 Frometa                                    $26.60
   Cici                 Fromm                                      $22.95
   Thomas               Frommel                                    $32.60
   Lori                 Fromowitz                                  $50.00
   Stephanie            Fromwiller                                $213.58
   Greg                 Frontiero                                  $16.95
   Jaynie               Frost                                      $58.26
   Jennifer             Frost                                     $250.00
   Josh                 Frost                                     $137.30
   Keara                Frost                                     $184.95
   Andrew               Froug                                       $4.80
   Kate                 Frucher                                    $72.55
   Emily                Fruechtenicht                               $3.10
   Becca                Fry                                         $1.20
   Hanna                Fry                                        $61.30
   Meghan               Fry                                         $5.10
   Chuck                Frye                                      $357.01
   Julie                Frye                                       $22.15
   Benjamin             Fryer                                       $2.25
   Erik                 Frykman                                    $12.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Mingyi               Fu                                    $106.50
   Nancy                Fu                                     $10.87
   Vivian               Fu                                     $60.05
   Mike                 Fuchs                                 $297.85
   Natalie              Fuchs                                 $200.65
   Charlene             Fuentes                                 $3.45
   Janene               Fuerch                                $310.89
   Michael              Fuetsch                                $16.10
   Tori                 Fugarino                               $40.00
   Barbra               Fugate                                  $9.55
   Jeffrey              Fugleberg                               $1.65
   Susan                Fujii                                 $100.00
   Debra                Fujikawa                               $60.00
   Georgia              Fujikawa                               $17.73
   Shinji               Fujimori                                $7.70
   Cathy                Fujimoto                               $22.05
   Lisa                 Fujimoto                               $13.20
   Ted                  Fujimoto                                $8.95
   Jason                Fujisawa                                $2.25
   Lauren               Fujishima                               $8.95
   Garrett              Fujiwara                                $5.88
   Kathy                Fukami                                 $53.96
   Fumi                 Fukuda                                  $7.20
   Jennifer             Fulcher                                $33.28
   Daniel               Fulford                                $46.75
   Cameron              Fuller                                 $66.15
   Katie                Fuller                                 $97.15
   Ahtossa              Fullerton                              $95.93
   Amanda               Fulton                                  $7.75
   Naomi                Funahashi                              $32.75
   Aaron                Fung                                   $13.40
   Allan                Fung                                   $18.00
   Andrew               Fung                                    $2.55
   Mike                 Fung                                  $107.30
   Stacey               Fung                                   $24.85
   Tyler                Funk                                  $104.25
   Robert               Funston                                $50.00
   Ericka               Fur                                     $4.55
   Jessica              Furer                                   $3.90
   Brendan              Furey                                  $11.30

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Stacie               Furia                                  $100.00
   Grayson              Furlong                                  $2.65
   Sue                  Furman                                  $28.51
   Ekaterina            Furnigova                                $1.27
   Jason                Furst                                    $9.15
   Aileen               Furukawa                                $88.60
   Ariel                Fuxman                                 $250.00
   Erica                Fyall                                    $3.85
   Ann                  Fyfe                                   $128.35
   Steve                Fyffe                                    $5.40
   B                    G                                       $50.00
   Phil                 G                                       $46.50
   R                    G                                        $7.60
   Shardul              G                                       $42.29
   Annie                Gabillet                                $50.15
   Sarah                Gaboury                                  $3.40
   Ashley               Gabriel                                 $11.81
   Michelle             Gabriel                                  $1.60
   Bernd                Gadow                                   $30.25
   Cristian             Gaedicke                               $150.00
   Lina                 Gaeta                                    $4.45
   Amy                  Gaffan                                 $168.30
   Sheldon              Gage                                     $8.95
   Lina                 Gage-Kelly                               $7.30
   Dwight               Gaggero                                 $10.45
   Joel                 Gagne                                   $49.91
   Brianne              Gagnon                                  $61.55
   Joseph               Gaines                                  $48.46
   Mark                 Gaines                                  $50.00
   Mary                 Gaines                                   $4.64
   Erin                 Gainey                                  $11.91
   Kate                 Gaitley                                $150.00
   Tarun                Galagali                               $117.61
   Marissa              Galarza                                  $6.75
   Haley                Galbraith                              $148.06
   Jaimie               Galbreath                               $25.00
   Jennifer             Gale                                     $0.25
   Meg                  Gale                                     $8.95
   John Paul            Galiendes                                $0.37
   Pierre               Galin                                   $11.39

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Olivia               Galioto                                   $43.60
   Ashley               Gallagher                                 $70.50
   Daniel               Gallagher                                  $6.60
   David                Gallagher                                 $57.90
   Devan                Gallagher                                  $3.30
   Gretchen             Gallagher                                  $8.60
   Hahva                Gallagher                                 $14.13
   Jill                 Gallagher                                  $2.03
   Meagan               Gallagher                                $150.00
   Phyllis              Gallagher                                $147.30
   Tim                  Gallagher                                 $69.10
   Virginia             Gallagher                                  $2.07
   Brad                 Gallant                                  $100.00
   Kristina             Gallant                                   $30.20
   Susana               Gallardo                                   $1.15
   Victor               Gallardo                                   $1.75
   Laura                Gallegos                                   $1.90
   Carol                Galletta                                 $448.05
   Joe                  Galletta                                  $30.10
   Nick                 Galletta                                   $1.75
   Matthew              Galliani                                   $2.22
   Linda                Galligan                                   $0.14
   Sean                 Galligan                                 $550.00
   Sean                 Galligan                                  $57.35
   Kitty                Gallisa                                   $53.58
   Ruth                 Gallo                                      $5.35
   Jessica Parish       Galloway                                  $18.55
   Melinda              Galloway                                 $257.50
   Ryan                 Galloway                                   $8.95
   Carmen               Gallus                                    $50.00
   Bob                  Galmarini                                  $1.25
   Christine            Galvez                                   $106.15
   Martha               Galvez                                    $21.22
   Jennifer             Galvin                                    $37.15
   Kathy                Galvin                                    $35.28
   Stefanie             Gamarra                                    $5.50
   Paul                 Gamba                                      $0.10
   Kris                 Gambardella                               $16.80
   Catherine            Gambertoglio                              $36.25
   Vanessa              Gambina                                   $26.86

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sara                 Gambina-Belknap                        $12.25
   Amanda               Gamble                                 $22.93
   Chelsea              Gamble                                 $11.25
   John                 Gamble                                  $6.00
   Jone                 Gamble                                 $20.00
   John                 Gample                                  $1.51
   Regina               Gancar                                 $18.15
   Justin               Gandelman                               $5.60
   Mona                 Gandhi                                 $24.50
   Sheetal              Gandhi                                  $3.40
   Sonal                Gandhi                                  $2.27
   Unnati               Gandhi                                $700.00
   Laura                Gandy                                  $44.80
   Shivani              Ganguly                               $350.00
   Claire               Ganley                                 $11.20
   Julie                Gannam                                 $76.72
   Nancy                Ganner                                  $5.25
   Nicole               Ganot                                  $37.65
   Barbara              Gansmiller                             $17.75
   Chris                Gantz                                  $40.25
   Jacob                Gantz                                  $12.05
   Gayatree             Ganu                                   $55.26
   Courtney             Gao                                   $100.00
   Kristen              Garanton                                $4.75
   Charlotte            Garavaglia                             $40.00
   Stephanie            Garbaczewski                          $190.05
   Sarah                Garber                                 $23.60
   Karin                Garblik                               $121.10
   Laurence             Garces                                 $50.00
   Lindsay              Garces                                 $23.00
   Cherie               Garchitorena                           $80.00
   Alberto              Garcia                                 $35.60
   Andrew               Garcia                                  $1.20
   Antonio              Garcia                                  $6.05
   Bobby                Garcia                                 $18.60
   Cathy                Garcia                                  $7.45
   Cecilia              Garcia                                 $39.51
   Christine            Garcia                                 $11.20
   Courtney             Garcia                                 $50.00
   Cristina             Garcia                                 $77.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Danielle             Garcia                                  $8.10
   Diane                Garcia                                 $36.55
   Eunice               Garcia                                  $6.20
   Heidi                Garcia                                $100.00
   James                Garcia                                $159.50
   Jennifer             Garcia                                 $26.45
   Kristin              Garcia                                 $40.45
   Marcella             Garcia                                 $60.25
   Matt                 Garcia                                  $1.15
   Nichelle             Garcia                                  $2.30
   Nicole               Garcia                                $164.50
   Patricia             Garcia                                 $17.65
   Praveeta             Garcia                                  $5.21
   Veronica             Garcia                                  $0.20
   Yosian               Garcia                                $186.25
   Alicia               Garcia-Romero                          $50.00
   Simona               Gardani                               $127.95
   Simona               Gardani                               $100.00
   Audrey               Gardiner                              $127.25
   Colin                Gardiner                               $53.70
   Justinia             Gardiner                               $16.25
   Nuala                Gardiner                               $65.75
   Jeff                 Gardner                                $27.00
   Jennifer             Gardner                                 $4.30
   Jocelyne             Gardner                                $55.60
   Mindy                Gardner                                $51.34
   Suzanne              Gardner                                 $5.05
   Jonathan             Garfinkel                              $27.10
   Lyndsey              Garg                                    $1.91
   Brooke               Garibaldi                              $30.00
   Claudia              Garibay                                $14.15
   Lauren               Gariepy                                 $1.85
   Angela               Garinger                                $1.80
   Christine            Garland                                $36.88
   Whitney              Garland                                 $7.55
   Rachel               Garlin                                 $68.07
   Trisha               Garlock                                $56.75
   Stephanie            Garner                                 $50.00
   Christianne          Garofalo                               $58.20
   Jon                  Garrelts                               $61.15

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Bruce                Garretson                                $125.00
   Angel                Garrett                                   $18.74
   Doug                 Garrett                                   $15.40
   Gray                 Garrett                                   $59.75
   Kimberly             Garrett                                   $83.55
   Linda                Garrett                                   $50.00
   Ryan                 Garrett                                    $1.40
   Krista               Garriott                                   $0.65
   Joel                 Garris                                   $100.00
   Andrew               Garrison                                 $210.91
   Stacy                Garrison                                 $128.40
   Sue                  Garrison                                   $3.75
   Erin                 Garrod                                     $0.65
   Crispin              Garrott                                    $1.07
   Hannah               Garry                                      $9.15
   Priscilla            Garten                                    $80.00
   John                 Gartland                                   $0.50
   Elena                Garton                                    $39.40
   Alyssa               Garver                                   $100.00
   Heather              Garvey                                    $15.65
   Maureen              Garvey                                    $29.70
   John                 Garvie                                    $24.55
   Katy                 Garvin                                     $3.73
   Julie                Garz                                      $70.00
   Jesse                Garza                                     $80.00
   Thomas               Gasbarre                                 $150.00
   David                Gasca                                     $35.65
   Kelli                Gaskell                                    $6.60
   Samantha             Gaspar                                    $25.10
   Alessia              Gasparin                                   $0.71
   Cynthia              Gasper                                    $26.15
   Warren               Gasper                                     $2.00
   Gigi                 Gasperina                                 $50.00
   Joann                Gast                                     $145.25
   Jessica              Gast Schmidt                              $17.20
   Caroline             Gaston                                     $2.40
   Katrina              Gates                                      $0.65
   Candice              Gatlin                                    $13.15
   Joanne               Gatmaitan                                 $33.70
   Jason                Gatoff                                     $0.65

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Kerin                Gaudet                                 $107.00
   Judy                 Gaulke                                   $11.05
   Amit                 Gaur                                     $32.80
   Mary                 Gauthier                                 $18.80
   Elliott              Gavino                                    $0.91
   Sigal                Gavish                                   $14.45
   Zaneta               Gaw                                      $30.30
   Willard              Gay                                    $250.00
   Liz                  Gayner                                    $2.32
   Amanda               Gazzolo                                  $11.90
   Steve                Geahry                                    $8.95
   Kristin              Geary                                    $57.99
   Alexandra            Geary-Stock                               $7.90
   Kairn                Gebauer                                  $11.70
   Megan                Gebhart                                   $2.80
   Albert               Gee                                       $6.25
   Alison               Gee                                    $106.17
   Flora                Gee                                      $50.00
   Courtney             Geesey-Dorr                              $36.15
   Aaron                Gefter                                   $80.00
   Elizabeth            Gehlert                                $150.00
   Joanne               Gehrer                                    $1.25
   Matthew              Gehring                                  $42.25
   Elizabeth            Geilhufe                                 $21.59
   Anne                 Geis                                     $29.45
   Heidi                Geis                                     $17.95
   Robert               Geise                                    $82.10
   Elise                Geithner                                 $57.60
   Danielle             Geitzke                                   $0.05
   Daniel               Gelber                                   $27.25
   Maureen              Gelberg                               $1,107.81
   Jim                  Gellas                                   $54.15
   Moriah               Geller                                   $42.55
   Sara                 Geller                                    $4.68
   Violet               Gelmi                                    $49.49
   Olivia               Gelow                                    $67.34
   Ryan                 Gembala                                   $0.20
   Timothy              Gembka                                    $1.51
   Alison               Gemmill                                   $5.50
   Karen                Gemmill                                $141.46

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Filiz                Genca                                  $68.38
   Rina                 Gendelman                               $5.95
   Dan                  Gensel                                  $1.60
   Anthony              Gentile                               $100.00
   Nic                  Gentin                                 $52.40
   Suzanne              Gentry                                 $19.81
   Rina                 Geoghagan                             $250.00
   Adam                 George                                 $17.30
   Alyssa               George                                 $19.60
   Catherine            George                                  $5.18
   Gretchen             George                                 $37.55
   Maureen              George                                  $4.45
   Anita-Bianca         Georges                                 $0.15
   Zow                  Georgi                                  $0.45
   Brianna              Georgi-Densmore                        $72.10
   John                 Georgiou                               $98.45
   Ankush               Gera                                   $30.60
   Anna                 Gerber                                  $1.90
   Richard              Gerber                                 $37.50
   Marc                 Gerdeman                              $500.00
   Emily                Geremia                                $12.58
   Margot               Gergay                                  $1.05
   Jami                 Gerhardt                              $150.00
   Andrea               Gerlach                               $261.80
   Dina                 Germadnig                             $206.54
   Sean                 Germain                                $30.80
   Nicole               Germanov                                $4.05
   Pattie               Gerrie                                 $30.69
   Alexa                Gerrity                               $100.00
   Tan-Ya               Gerrodette                            $200.00
   Anne                 Gerry                                  $14.63
   Brittany             Gersh                                  $60.55
   Marina               Gershberg                              $20.60
   Robyn                Gershon                                 $9.05
   Laurie               Gerst                                   $4.30
   Adam                 Gerston                                 $1.85
   Steven               Gerten                                $138.20
   Jeannette            Gertmenian                              $8.70
   Jeannette            Gertmenian                             $50.00
   Frank                Gervasio                               $26.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Roy                  Gesley                                  $13.75
   Jeannette            Gessler                                  $6.80
   Gabriel              Getchell                                $16.42
   Konstantin           Getmanchuk                               $0.82
   Aggie                Gettys                                  $67.70
   Carol                Getz                                     $0.92
   Musa                 Gezer                                    $4.45
   Yeganeh              Ghaemi-Joe                              $62.60
   Mike                 Ghaffary                                $27.60
   Chancellor           Ghafouri                                $50.00
   Lilly                Ghahremani                              $14.15
   Pia                  Gheen                                   $87.75
   Melissa              Gherman                                $244.65
   Neema                Ghiasi                                  $24.15
   Keri                 Ghiorso                                $100.00
   Sarah                Ghirardo                                 $1.65
   Sandip               Ghosh                                  $210.12
   Sumit Kumar          Ghosh                                   $66.30
   Francesca            Giaimo                                  $50.00
   Lida                 Giamela                                $100.00
   Lauren               Giammona                                $59.10
   Adrienne             Giampaoli                               $35.95
   Mitch                Giampaoli                                $2.35
   Dee                  Giana                                  $100.00
   Candace              Gianni                                  $44.75
   Kathee               Giannini                                 $0.40
   Charlene             Gibbons                                  $2.45
   Louise               Gibbons                                 $62.30
   Lisa                 Gibbs                                    $0.85
   Michelle             Gibbs                                    $8.95
   Susan                Gibbs                                   $85.75
   Dan                  Gibson                                  $20.59
   Elisabeth            Gibson                                  $46.10
   Heather              Gibson                                  $10.09
   Julie K              Gibson                                  $60.59
   Kara                 Gibson                                 $131.64
   Laura                Gibson                                  $50.00
   Mathias              Gibson                                  $22.00
   Michael              Gibson                                  $19.66
   Suzanne              Gibson                                  $11.35

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Tina                 Gibson                                   $10.30
   Kathryn              Gies                                     $34.05
   Kate                 Giese                                    $28.65
   Jessica              Gieseke                                   $4.20
   Anthony              Gifford                                  $59.77
   Dave                 Gifford                                  $86.30
   Benjamin             Gigli                                    $21.20
   Ann                  Gigounas                                $746.58
   Aracelis             Gil                                      $50.00
   Avital               Gilam                                     $0.71
   Ayesha               Gilarde                                  $79.10
   Dwight               Gilberg                                  $27.50
   Bria                 Gilbert                                  $23.75
   Jennifer             Gilbert                                  $37.75
   John                 Gilbert                                   $9.26
   Julie                Gilbert                                  $89.60
   Megan                Gilbert                                   $0.14
   Victoria             Gilbert                                 $134.35
   Rachel               Gilchrist                                $84.80
   Glenna               Giles                                    $35.00
   Jim                  Giles                                     $7.65
   Antoinette           Gill                                      $1.75
   Diana                Gill                                    $100.00
   Judy-Ann             Gill                                     $62.65
   Lindsey              Gill                                    $100.00
   Amanda               Gillaspie                                 $0.65
   Cara                 Gillen                                   $59.40
   Amy                  Gillenson                                 $0.45
   Shannon              Gilles                                    $1.92
   Eric                 Gillespie                                $45.35
   Thomas               Gillespie                                $18.75
   Oona                 Gilles-Weil                              $34.00
   Jennifer             Gillett                                  $89.70
   Esther               Gillette                                $189.75
   Jack                 Gilligan                                  $0.75
   Jaime                Gillin                                   $44.15
   Chris                Gillis                                   $64.82
   Bob                  Gillooly                                  $0.70
   Lindsay              Gilman                                   $11.64
   Dave                 Gilmore                                  $71.75

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jane                 Gilmore                               $104.37
   Leslie M.            Gilmore                                 $5.65
   Tiffany              Gilron                                $250.00
   Alex                 Gilroy                                 $47.60
   Jennifer             Gilroy                                 $74.15
   Larry                Gimple                                $191.40
   Brian                Gin                                    $40.00
   Gary                 Gin                                     $1.05
   Gerald               Ginader                                $13.45
   Chris                Gingerich                             $123.08
   Jonathon             Gingery                                $13.05
   Rachael              Gingery                                 $0.85
   Josh                 Gingold                               $120.72
   Yotam                Gingold                                $44.51
   Kathi                Ginie Bayne                            $56.25
   Beth                 Ginsberg                               $11.65
   Joahn                Ginsberg                               $30.00
   Bryan                Gintoft                                $50.00
   Kate                 Gintoft                                $21.05
   Nadine               Ginzberg                                $9.15
   Elizabeth            Gioumousis                             $26.10
   Julie                Gipple                                $144.05
   Katie                Girardot-Putnam                        $73.05
   Radhika              Giri                                    $9.35
   Becky                Girolamo                              $200.00
   Luis                 Giron Yuja                            $100.00
   Christine            Girone                                 $21.20
   Olivia               Gironella                               $1.05
   Barri                Girvan                                 $54.10
   Robert               Girvin                                 $50.00
   Katherine            Gisewski                              $100.00
   Dale                 Gish                                   $82.00
   Thig                 Gishuru                                 $0.33
   Erika                Giste                                   $1.59
   Mark                 Gitin                                  $49.72
   Rob                  Gitin                                  $51.25
   Julia                Gitis                                   $1.20
   Nicole               Giuseponi                               $2.80
   Ann Marie            Giusto                                  $0.01
   Annmarie             Giusto                                $199.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Norman               Givant                                  $6.74
   Meagan               Given                                  $29.45
   Peter                Given                                  $29.56
   Jeannie              Givens                                  $3.40
   Stavros              Gkantinis                             $171.45
   Dmitriy              Gladchenko                              $0.50
   Elizabeth            Gladding                               $50.00
   Joi                  Gladman                                $78.14
   Rachel               Gladstone                              $62.20
   Brian                Glanville                              $44.95
   Carolyn              Glanville                              $27.00
   Jim                  Glanville                              $53.20
   Emily                Glanz                                   $0.20
   Jennifer             Glare                                   $9.55
   Zach                 Glare                                  $83.89
   Fiona                Glas                                    $4.35
   Michael              Glas                                   $46.25
   Marta                Glasenapp                             $114.48
   Janis                Glaser                                 $50.00
   Natasha              Glasgo                                  $5.10
   Elliot               Glass                                   $0.40
   Katherine            Glass                                   $0.15
   Melissa              Glass                                 $136.86
   Brian                Glasscock                              $70.80
   K                    Glassman                                $1.86
   Mary Kay             Glassman                                $1.15
   Carlene              Glatthorn                               $0.18
   Natalie              Glatzel                                 $7.67
   Karl                 Glaub                                  $70.20
   Michelle             Glaubert                               $46.85
   Jessica              Gleason                                $23.55
   Jill                 Gleason                                $27.05
   Josh                 Gleason                                $13.70
   Tom                  Gleason                               $100.00
   Mary                 Gleason-Vinck                           $4.49
   Kelly                Gleeson                                $64.60
   Roberta              Gleiter                                 $1.10
   Margaret             Glenn                                  $17.25
   Robert               Glenn                                  $99.00
   Andrea               Glick                                  $65.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Stephanie            Glier                                   $0.21
   Nathan               Gliner                                 $18.65
   Heather              Glinn                                   $6.25
   Andra                Glover                                 $20.65
   Karen                Glover                                  $1.75
   Jordan               Glovsky                                 $2.86
   Katia                Glucksmann                             $34.15
   Mimi                 Glumac                                  $4.35
   Stacie               Glynn                                  $15.35
   Michael              Gniewosz                               $21.20
   Julie                Go                                     $32.10
   Rebecca              Goberstein                             $18.60
   Tony                 Goblirsch                              $50.00
   Melanie              Gocke                                   $4.70
   Kyle                 Gode                                  $140.34
   Rebecca              Godecke                                $19.42
   Adam                 Godet                                   $0.10
   Eleanor              Godfrey                               $129.10
   Heather              Godfrey                                $12.05
   Karelle              Godfrey                                $50.00
   Linda                Godfrey                                 $5.65
   Susan                Godfrey                                $15.15
   Amanda               Godwin                                  $3.15
   Deirdre              Goe                                     $2.10
   Betty                Goerke                                 $56.80
   Elisabeth            Goetz Shajanian                         $6.40
   Devon                Goetzinger                              $1.05
   Deanne               Goff                                  $209.06
   Virginia             Gogna                                 $100.00
   Carol                Goh                                    $48.40
   James                Goh                                     $8.95
   Cristiane            Gois                                    $7.85
   Arash                Golbon                                 $50.00
   Alison               Gold                                   $12.05
   Hiromi               Gold                                   $38.25
   Jessica              Gold                                  $198.50
   Julia                Gold                                   $21.25
   Mariya               Gold                                    $1.61
   Matthew              Gold                                   $23.30
   Michael              Gold                                   $19.95

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   David                Goldberg                                 $100.00
   Elyse                Goldberg                                  $25.00
   Jim                  Goldberg                                  $65.70
   Jodi                 Goldberg                                 $105.90
   Joel                 Goldberg                                  $32.25
   Nova                 Goldberg                                  $20.00
   Robert               Goldberg                                 $300.00
   Scott                Goldberg                                  $50.55
   Nitzan               Goldberger                                 $0.35
   Joy                  Goldblatt                                  $0.05
   Penny                Goldcamp                                  $20.15
   Amy                  Golden                                    $74.41
   Brooke               Golden                                     $8.50
   Eve                  Golden                                    $14.15
   Faith                Golden                                     $2.75
   Rebecca              Golden                                    $75.85
   Tom                  Golden                                    $50.00
   Ben                  Golder                                    $50.00
   Evan                 Goldfine                                  $10.46
   William              Goldkranz                                 $92.25
   Hilda                Goldman                                  $208.15
   Jason                Goldman                                  $184.35
   Lisa                 Goldman                                    $2.40
   Melissa              Goldman                                    $5.05
   Michael              Goldman                                  $100.00
   Susan                Goldman                                   $82.35
   Susanne              Goldman                                   $80.55
   Suzanne              Goldman                                  $104.14
   Laura                Goldschmidt                              $153.05
   Matan                Goldschmiedt                               $1.75
   Laurie               Goldsmith                                  $2.85
   Phyllis              Goldsmith                                 $10.90
   Alibabasf            Goldstein                                 $57.15
   Alli                 Goldstein                                 $49.40
   Andrea               Goldstein                                $150.00
   Carol                Goldstein                                  $0.05
   Donna                Goldstein                                $165.00
   Howard               Goldstein                                  $8.45
   Jillian              Goldstein                                  $0.30
   Peter                Goldstein                                  $4.10

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Rachel               Goldstein                               $0.15
   Siannan              Goldstein                              $22.08
   Teresa               Goldstein                              $54.15
   Rachel               Goldstone                               $1.86
   Adam                 Goldyne                               $227.15
   Dan                  Golembeski                             $78.80
   Patrick              Golier                                 $65.10
   Dmitry               Golikov                               $260.89
   Amanda               Goll                                    $6.80
   Benjamin             Golub                                  $75.25
   Elizabeth            Gomes                                   $0.60
   Judith               Gomes                                  $17.81
   Lola                 Gomes                                  $26.30
   Aaron                Gomez                                   $0.25
   Alex                 Gomez                                   $2.93
   Elizabeth            Gomez                                   $3.16
   Natalia              Gomez                                   $0.95
   Patricia             Gomez                                  $24.50
   Sonia                Gomez                                   $2.95
   Steven               Gomez                                  $19.75
   Tiffany              Gomez                                 $126.25
   Violet               Gong                                    $1.75
   Elizabeth            Gong-Guy                               $13.15
   Anthony              Gonsalves                               $3.85
   Amy                  Gonyea                                  $5.25
   Kimberly             Gonzales                                $0.35
   Lourdes              Gonzales                               $76.50
   Patricia             Gonzales                                $0.40
   Sarah                Gonzales                                $0.75
   Blanche              Gonzalez                                $0.15
   Christine            Gonzalez                                $7.80
   Estefany             Gonzalez                               $95.91
   Geoffrey             Gonzalez                                $9.60
   Joe                  Gonzalez                                $0.60
   Juana                Gonzalez                              $156.15
   Michelle             Gonzalez                               $22.50
   Sandra               Gonzalez                               $17.90
   Sylvia               Gonzalez                                $0.25
   Tara                 Gonzalez                               $50.00
   Rachael              Gonzalez-Binet                          $6.41

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Aleyda               Gonzalez-Tello                          $13.85
   Jennifer             Good                                     $0.55
   Victoria             Goodall                                 $81.30
   Elizabeth            Goode                                  $200.00
   Kimberley            Goode                                  $200.00
   Kristin              Goodell                                 $48.80
   Marissa              Goodger                                $134.38
   Loraine              Goodin                                   $2.50
   Dmitry               Goodman                                $165.15
   Elizabeth            Goodman                                  $1.36
   Gail                 Goodman                                 $19.99
   Jake                 Goodman                                  $1.92
   Janet                Goodman                                  $0.35
   Lynn                 Goodman                                $136.25
   Margaret             Goodman                                  $2.25
   Mira                 Goodman                                 $11.35
   Thuy                 Goodman                                  $1.10
   Wes                  Goodman                                 $50.00
   Anne                 Goodrich                                $15.40
   Arthur               Goodrich                                $33.90
   Elaine               Goodstein                              $122.55
   Annie                Goodwin                                  $1.95
   Serena               Goodwin                                 $62.10
   Ali                  Goodyear                                $11.70
   Wilma                Goodyear                                 $5.25
   Rick And Sandy       Goor                                     $8.35
   Jolie                Goorjian                                $47.33
   Kim                  Goplen                                   $8.73
   Pat                  Gorai                                    $6.41
   Gennie               Gorback                                 $50.85
   Ellen                Gorchoff                                 $2.05
   Stefanie             Gordish                                 $24.60
   Ashley               Gordon                                   $2.30
   Brett                Gordon                                   $1.30
   Christine            Gordon                                  $11.80
   Gail                 Gordon                                  $43.05
   Jeremy               Gordon                                  $19.63
   Jessica              Gordon                                 $203.80
   Joan                 Gordon                                  $50.00
   Jon                  Gordon                                   $2.35

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Julianne             Gordon                                  $17.70
   Julie                Gordon                                  $31.05
   Lauren               Gordon                                  $29.78
   Linda                Gordon                                   $6.76
   Megan                Gordon                                  $38.15
   Rachel               Gordon                                   $1.60
   Rachel               Gordon                                  $33.40
   Robert               Gordon                                   $0.30
   Zoey                 Gordon                                   $1.45
   Ian                  Gore                                     $8.95
   Caroline             Gorham                                   $9.20
   Brooke               Gorlick                                 $28.20
   Brian                Gorman                                  $25.00
   Don                  Gorman                                   $9.25
   Edel                 Gorman                                  $69.46
   Kate                 Gorman                                   $8.80
   Keith                Gorman                                  $34.35
   Brian                Gornick                                 $50.00
   Justine              Gorog                                    $1.87
   Shirley              Gorospe                                 $33.39
   Iris                 Gorzolla                               $198.00
   Pritika              Gosai                                    $7.55
   Hardeep              Gosal                                  $108.15
   John                 Gose                                     $1.30
   Mary                 Goshtigian                              $17.10
   Kaitlin              Gosnay                                 $115.70
   Katherine            Gosney                                  $52.90
   Natalie              Gossett                                 $21.38
   Vladimir             Gostrer                                $200.00
   Anna                 Goswell                                 $41.10
   Lior                 Gotesman                                $18.90
   Adam                 Gottesfeld                              $12.78
   Rachel               Gottesman                               $35.80
   Sharon               Gottschalk                              $34.65
   Charles              Gough                                   $17.30
   Brooke               Gouker                                   $2.01
   Charles              Gould                                   $17.90
   Jill                 Gould                                    $1.65
   Joanna               Gould                                   $24.40
   Josh                 Gould                                   $17.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Luana H              Gould                                 $150.00
   Melissa              Gould Mcneely                         $100.00
   Therese              Govern                                 $70.57
   Matt                 Gower                                   $8.65
   Grace                Goya                                   $23.05
   Ankush               Goyal                                 $250.00
   Artur                Grabowski                              $16.60
   Brian                Grabowski                               $0.35
   Julia                Grace                                  $50.00
   Peter                Grace                                 $631.00
   Talia                Gracer                                $250.00
   Elisabeth            Gracia                                 $75.00
   George               Gracia                                 $23.15
   Christine            Grady                                  $61.25
   Emily                Grady                                   $0.55
   Janet                Grady                                   $1.30
   Kathleen             Grady                                  $20.15
   Ben                  Graff                                  $45.45
   Michael              Graff                                  $50.00
   Amanda               Graham                                 $57.41
   Jenny                Graham                                  $0.20
   Kaarin               Graham                                  $3.25
   Leah                 Graham                                $100.00
   Todd                 Graham                                 $12.65
   Lindsay              Gramana                               $100.00
   Karla                Gran                                    $8.95
   Robb                 Granado                                 $8.22
   Evelyn               Granados                              $400.25
   Julia                Granahan                               $50.00
   Ian                  Grand                                  $77.90
   Carmen               Grande                                 $89.05
   Nancy                Grandfield                            $485.05
   John                 Grandsaert                             $17.30
   Dominic              Granelli                               $44.72
   Garfield             Granett                                 $3.05
   Nicole               Granger                                $48.86
   Hans                 Granqvist                             $734.96
   Barbary              Grant                                  $73.40
   Danielle             Grant                                  $19.60
   Dylan                Grant                                 $125.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Laura                Grant                                   $3.80
   Melissa              Grant                                  $29.61
   Michael              Grant                                 $159.21
   Nicole               Grant                                  $30.00
   Rendah               Grant                                  $54.25
   Jeffery              Grantham                               $60.00
   Nancy                Granzella                               $0.83
   Jennie               Gras                                   $12.15
   Brian                Grasser                                $68.55
   Laura                Grassl                                 $14.85
   Lotus                Grau                                    $8.35
   Sarah                Graves                                  $5.52
   Carol                Graviano                                $1.85
   Andrew               Gray                                    $4.29
   Cheryl               Gray                                   $86.30
   Erika                Gray                                   $50.00
   John                 Gray                                    $2.63
   Julie                Gray                                  $134.60
   Kathleen             Gray                                   $16.10
   Kathryn              Gray                                    $1.45
   Madeline             Gray                                   $50.00
   Mark                 Gray                                  $633.12
   Melody               Gray                                  $300.00
   Robert               Gray                                   $17.90
   Sarah                Gray                                   $50.00
   Sarah                Gray                                   $20.15
   Violette             Gray                                   $50.00
   Eileen               Graybeal                              $250.00
   Earline              Grayson                                $30.80
   Lauren               Grbich                                 $15.00
   Anne                 Greatorex                               $0.15
   Jeff                 Grech                                  $50.00
   Amanda               Greco                                  $40.00
   Alana                Green                                   $0.85
   Alison               Green                                 $298.05
   Anne                 Green                                   $0.20
   Brian                Green                                  $90.15
   Caitlin              Green                                   $2.38
   Celia                Green                                 $123.60
   Claire               Green                                  $27.65

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Dale                 Green                                    $69.65
   Diane                Green                                   $157.15
   Heather              Green                                     $1.25
   Jason                Green                                    $16.59
   John                 Green                                    $20.45
   Junko                Green                                     $1.35
   Laurie               Green                                    $14.35
   Lindsey              Green                                     $3.30
   Marc                 Green                                    $14.15
   Megan                Green                                   $112.55
   Melissa              Green                                    $23.03
   Nicholas             Green                                   $148.62
   Phyllis              Green                                    $52.85
   Shannon              Green                                    $26.95
   Stacey               Green                                   $100.00
   Wiliam               Green                                    $72.05
   Barry                Greenberg                               $398.70
   Carla                Greenberg                                $80.15
   Eleanore             Greenberg                                $54.40
   Michael              Greenberg                                $28.34
   Olivia               Greenberg                                $59.15
   Amanda               Greenberger                              $31.25
   Collin               Greene                                   $44.56
   Heather              Greene                                  $122.74
   Jesse                Greene                                    $0.75
   Julie                Greene                                   $44.75
   Mari                 Greene                                   $21.65
   Max                  Greene                                   $57.91
   Peggy                Greene                                   $67.25
   Bari                 Greenfield                                $1.69
   Mike                 Greenfield                               $23.15
   Alanna               Greenham                                 $33.10
   Mary                 Greening                                  $0.18
   Teresa               Greenip                                  $36.70
   Cathy                Greenman                                  $5.89
   Martha               Greenough                                $61.90
   Carol                Greenstein                               $10.05
   Patti                Greenup                                   $6.55
   Josh                 Greenwalt                                $74.60
   Keleigh              Greenwood                               $352.01

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Stacy                Greenwood                              $19.60
   Maria                Greer                                  $56.15
   Misty                Greer                                   $2.20
   Ben                  Gregg                                  $25.15
   Jonathan             Gregg                                 $140.15
   Laura                Gregg                                 $250.00
   Lindsay              Gregg                                  $24.15
   Kimberly             Gregory                                 $2.30
   Lauren               Greif                                  $54.30
   Mike                 Greim                                  $14.64
   Andrea               Greiner                                $50.00
   Diabetescure         Greiner                                 $0.10
   Tatiana              Grem                                   $60.60
   Janine               Grenham                                $94.40
   Peter                Gresh                                  $18.05
   Sydney               Gressel                                $20.85
   Maya                 Grey                                    $0.20
   Cindy                Greysen                                 $1.40
   Michelle             Gribble                                 $1.35
   Jacob                Gribschaw                              $33.00
   Chri                 Gribskov                               $15.20
   Jessie               Gridley                                 $6.55
   Mike                 Gridley                               $165.52
   Laura                Grieve                                 $15.80
   Shelby               Grieve                                 $44.25
   Angie                Griffin                               $217.95
   Anthony              Griffin                               $134.00
   Deeanna              Griffin                                 $9.09
   Jd                   Griffin                                 $7.25
   Lisa                 Griffin                                 $0.60
   Margaret             Griffin                                 $7.30
   Mary                 Griffin                                 $0.50
   Noelle               Griffin                                $51.20
   Amy                  Griffith                                $0.76
   Carrie               Griffith                               $18.38
   Jamie                Griffith                               $54.45
   Josh                 Griffith                               $63.70
   Paul                 Griffiths                              $56.95
   Shannon              Griffiths                              $32.00
   Eric                 Grigg                                   $0.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Veronica             Grigg                                   $4.10
   Raika                Grigor                                 $74.10
   Christina            Grijalva                               $17.20
   Esta                 Grill                                 $178.30
   Jennifer             Grillo                                $250.00
   Anne                 Grillot                                $22.83
   Carol                Grim                                   $73.15
   Ben                  Grimm                                   $3.90
   Camilla              Grimm                                  $44.70
   Carolina             Grimm                                 $125.00
   Erin                 Grimm                                  $19.75
   Kimberly             Grimm                                   $1.60
   Ellie                Grimmer                                $35.80
   Theresa              Grimnes                                 $0.73
   Trevor               Grimshaw                                $8.10
   Lea                  Grinberg                               $30.00
   Dan                  Grindall                               $50.00
   Abby                 Grip                                    $6.97
   Shannon              Grisafi                                $15.25
   Francois-Olivier     Grisel                                  $5.25
   Lara                 Grisemer                                $0.95
   Eliza                Grismanauskas                          $26.05
   Gretchen             Griswold                                $1.15
   Olivia               Griswold                              $184.11
   Ila                  Grobe                                   $3.80
   Hana                 Grobel                                 $69.90
   Shannon              Groff                                   $3.10
   Brian                Grogan                                  $0.55
   Charles              Grogan                                 $19.53
   Margaret             Grohne                                 $66.60
   Jessica              Gronski                                 $8.95
   Drum                 Grooves                                 $0.85
   Michael              Grosack                                 $8.10
   Carol                Grosjean                                $5.00
   Jennifer             Grospe                                  $0.30
   Brad                 Gross                                  $50.00
   Daniel               Gross                                  $14.50
   Isaac                Gross                                 $100.00
   Jennifer             Gross                                 $100.00
   Jim                  Gross                                   $6.50

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Kendall              Gross                                 $250.00
   Ramy                 Gross                                  $71.07
   Eric                 Grossberg                              $27.20
   Greg                 Grossman                               $26.15
   Jesse                Grossman                               $62.12
   Jackie               Grosu                                 $171.75
   Garrett              Groszko                                $15.10
   Lindsay              Grotting                               $31.80
   Baylee               Grover                                 $13.11
   Bruce                Grover                                 $57.65
   Claire               Grover                                 $18.97
   Kara                 Grover                                $100.00
   Mel                  Grover                                 $43.90
   Molly                Grover                                  $0.25
   Nick                 Grover                                $103.45
   Sarah                Grover                                  $5.80
   Alice                Gruber                                  $0.95
   Linda                Gruber                                 $33.50
   J                    Grubertz                                $0.10
   Linda                Gruehl                                  $0.40
   Jenny                Gruening                               $15.28
   Lindsay              Gruhl                                  $33.85
   Romina               Gruion                                  $2.40
   Danielle             Gruman                                  $3.72
   Bret                 Grund                                 $124.70
   Eyal                 Grundstein                              $8.80
   Zach                 Gruzd                                  $63.80
   Alda                 Gs                                     $14.25
   Grace                Gu                                     $95.05
   Sandra               Gu                                    $227.96
   Sophie               Gu                                    $447.72
   Sheila               Guastamachio                           $23.90
   Tim                  Guay                                    $0.86
   Helen                Gubin                                 $100.00
   Michael              Guenther                              $145.00
   Paula                Guerra                                  $9.85
   Judie                Guerriero                              $53.48
   Maggie               Guerriero                              $18.28
   Jonathan             Guerron                                 $1.75
   Mary                 Guertin                                $80.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Sarah                Guest                                    $111.70
   Dominique            Guevara                                   $27.23
   Dottie               Guevara                                    $0.20
   Mike                 Gugat                                     $54.30
   Gail                 Guglielmo                                 $49.20
   Feliza               Guidero                                   $25.35
   Matt                 Guidi                                     $31.80
   Laura                Guido                                      $1.03
   Dennis               Guikema                                   $87.05
   Joanna               Guiler                                    $50.00
   Heather              Guillestegui                             $200.00
   Orlando              Guillory                                  $50.00
   Paul                 Guillory                                   $2.35
   Emlyn                Guiney                                    $50.00
   Jordan               Guinn                                    $100.00
   Poonam               Guinn                                     $25.15
   Holly                Guise                                     $51.40
   Michele              Guitron                                    $5.65
   Lauren               Guittard                                  $15.70
   Sharon               Guizzetti                                 $65.94
   Nikita               Gujral                                   $142.99
   Parul                Gujral                                   $138.95
   Joy                  Guldbech                                   $0.40
   Danielle             Guldmann                                   $1.60
   Sharon               Guldner                                    $0.42
   Gabriela             Gulick                                     $0.30
   Teymur               Guliyev                                    $0.30
   Michael              Gulla                                      $3.20
   Maria                Gullo                                     $59.95
   Andrew               Gulotta                                   $21.46
   Jessie               Gumban                                    $28.95
   Colette              Gumm                                      $46.25
   Carmelitta           Gumpfer                                    $4.25
   Dana                 Gunders                                   $61.20
   Molly                Gunderson                                 $92.25
   Megan                Gundle                                     $2.57
   Michael              Gung                                      $62.55
   Mary                 Gunion                                    $32.10
   Jessica              Gunn                                      $27.15
   Justine              Gunn                                      $12.85

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kiki                 Gunn                                     $5.15
   Lane                 Gunsolley                                $0.60
   Liru                 Guo                                     $17.90
   Lisa                 Guo                                      $4.65
   Yinyin               Guo                                     $10.65
   Anurag               Gupta                                   $22.10
   Clare                Gupta                                  $181.50
   Deepak               Gupta                                   $64.20
   Karan                Gupta                                   $12.45
   Namita               Gupta                                  $205.10
   Neha                 Gupta                                   $56.83
   Pratima              Gupta                                   $16.75
   Priya                Gupta                                    $0.36
   Reena                Gupta                                   $25.00
   Renu                 Gupta                                   $23.00
   Sonia                Gupta                                   $58.38
   Soumi                Gupta                                  $200.00
   Sumeer               Gupta                                   $29.80
   Niteesha             Gupte                                  $100.00
   Maya                 Gurantz                                 $90.00
   Augusto              Gurdian                                  $8.95
   Charu                Gureja                                   $0.35
   Olga                 Gurevich                               $109.58
   Patricia             Gurevich                                $62.06
   Jyoti                Gurung                                   $1.65
   Jen                  Gurvey                                  $17.60
   Clay                 Gustafson                              $305.61
   Karen                Gustafson                               $75.00
   Karen                Gustafson                               $10.54
   William              Gustafson                              $100.00
   Brian                Gustin                                  $14.90
   Myles                Gutenkunst                              $36.10
   Annie                Gutierrez                                $9.30
   Daniela              Gutierrez                               $27.10
   Ernest               Gutierrez                               $50.00
   Gabriel              Gutierrez                                $2.35
   Gina                 Gutierrez                                $0.70
   Jerome               Gutierrez                                $8.75
   Lena                 Gutierrez                              $109.05
   Marvin               Gutierrez                              $104.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Yadhira              Gutierrez                              $42.05
   Julie                Gutierrez Muegge                       $17.90
   Christine            Gutknecht                               $2.27
   Deborah              Gutof                                  $34.13
   Julie                Gutowski                                $8.95
   Leah                 Guttilla                                $6.34
   Phillip              Guttmann                               $11.09
   Kelly                Guy                                    $67.05
   Robyn                Guy                                     $1.17
   Sarah                Guy                                    $51.00
   Steve                Guy                                     $9.40
   Jeff                 Guyman                                $159.40
   Alejandra            Guzman                                 $20.95
   Denise               Guzman                                  $1.40
   Jessica              Guzman                                  $0.50
   Melissa              Guzman                                  $7.75
   Noralyn              Guzman                                  $0.30
   Barbara              Guzzo                                  $35.86
   Laura                Gwin                                    $7.10
   Mary                 Gwynn                                   $0.52
   Rachel               Gwynne                                 $11.84
   Brad                 Gyger                                   $5.90
   Alex                 Gyr                                    $50.85
   A                    H                                     $148.10
   Ben                  H                                     $100.00
   Chris                H                                       $1.71
   H                    H                                     $950.00
   Jess                 H                                       $5.15
   Nina                 H                                      $45.05
   R                    H                                       $1.20
   Sean                 H                                       $2.60
   Dieu                 Ha                                     $18.60
   Doan                 Ha                                    $267.80
   Kelvin               Ha                                    $100.00
   Linh                 Ha                                      $0.95
   Gwenaelle            Haag                                  $123.25
   Amy                  Haaland                                $20.63
   Emily                Haan                                   $33.80
   Kelly                Haan                                   $62.10
   Jennifer             Haas                                   $44.30

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Raphael              Haas                                      $35.80
   Catherine            Habas                                    $125.25
   Steven               Haber                                     $33.87
   Lauren               Haberman                                  $11.16
   Niharika             Hablani                                   $22.80
   Lauren               Hachemeister                               $0.35
   Erick                Hachenburg                                 $0.90
   Tracy                Hacker                                    $20.00
   Audrey               Hackett                                    $1.45
   Denise               Hackett                                    $1.65
   Julie                Hackmann                                  $55.10
   Daniel               Hackner                                  $110.31
   Cindy                Hadash                                    $50.00
   Matthew              Haddad                                   $125.79
   Anna                 Hadden                                    $60.10
   Arlene               Hadi                                      $50.00
   Amir                 Hadjihabib                                 $5.75
   Natalie              Hadler                                     $9.70
   Hannah               Hadley                                    $12.91
   Todd                 Haemmerle                                  $2.95
   Erin                 Hafer                                    $121.02
   Scott                Hafer                                      $7.30
   Ivy                  Hafezzadeh                                $40.17
   Jana                 Hagan                                     $12.45
   Kerry                Hagan                                      $1.90
   Donna                Hagans                                    $29.10
   Marilyn              Hagberg                                    $3.90
   Ellen                Hagedorn                                   $0.60
   Grace                Hagedorn                                   $0.75
   Rikki                Hagemann                                 $107.14
   Sherina              Hagen                                     $38.35
   Amber                Hager                                     $50.00
   Karen                Hagewood                                  $14.91
   Bryan                Haggerty                                  $46.32
   Scott                Hagman                                     $1.70
   Mark                 Hagood                                    $37.61
   Elin                 Hagstrom                                  $55.65
   Sandra               Hahl                                      $50.79
   Clara                Hahn                                      $59.40
   Greg                 Hahn                                       $0.95

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Jason                Hahn                                      $0.44
   Richard              Hahn                                     $28.19
   Heidi                Hahne                                    $17.65
   Danny                Hai                                      $20.54
   Donald               Haigh                                    $37.65
   Jens                 Hainmueller                             $105.70
   Stephanie            Haire                                     $3.75
   Dee Ann              Hairgrove                                $30.00
   Steffan              Haithcox                                $721.70
   Jana                 Halaby                                    $2.85
   Zac                  Halbert                                   $3.10
   Katie                Haldeman                                  $2.45
   Brian                Hale                                     $50.20
   Connie               Hale                                      $2.66
   Dianne               Hales                                    $29.49
   Dylan                Halesworth                               $52.30
   Debbie               Halfon                                    $0.60
   John                 Haliburton                              $250.00
   Alisa                Hall                                      $3.65
   Amy                  Hall                                     $44.76
   Carmen               Hall                                     $10.18
   Carol                Hall                                     $39.30
   Christine            Hall                                     $21.89
   Heidi                Hall                                    $122.12
   Jennifer             Hall                                      $1.35
   Kylee                Hall                                      $6.45
   Larry                Hall                                     $49.09
   Laura                Hall                                     $27.16
   Laura                Hall                                    $120.00
   Michael              Hall                                     $75.00
   Monica               Hall                                     $11.95
   Ryan                 Hall                                     $80.00
   Samantha             Hall                                     $11.05
   Sarah                Hall                                    $102.50
   Victoria             Hall                                      $0.50
   Anne Marie           Hallada                                  $84.71
   Cassie               Halladin                                  $0.08
   Nicole               Hallenbeck                               $32.40
   Brian                Haller                                  $362.27
   Sheryl               Haller                                    $3.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sonia                Hallera                                $13.65
   Joe                  Hallett                                $20.67
   Margaret             Hallett                                 $2.80
   Helen                Halley                                 $18.25
   Sara                 Hallihan                               $62.70
   Julia                Hallisy                                $55.60
   Ann                  Hallum                                  $3.25
   Lonnie               Halpern                                 $0.19
   Alexandra            Halpin                                 $95.01
   Jack                 Halpin                                  $1.25
   Ian                  Halvorsen                             $146.45
   Kurt                 Halvorsen                               $7.85
   Jon                  Ham                                     $7.84
   Juney                Ham                                    $30.70
   Thomas               Ham                                    $90.61
   Keith                Hamack                                 $18.05
   Judy                 Hamaguchi                              $43.80
   Mark                 Hamai                                 $290.10
   Jamie                Hamann                                 $84.31
   Sarabeth             Hamberlin                               $2.60
   Cameron              Hamblin                                 $4.85
   Kelly                Hamburger                               $0.17
   Keren                Hamer                                  $57.40
   Stacy                Hames                                  $71.72
   Hamid Reza           Hamid                                  $54.36
   Heather              Hamilton                                $8.95
   John                 Hamilton                               $12.20
   Laura                Hamilton                               $95.40
   Liz                  Hamilton                               $17.70
   Marney               Hamilton                               $22.08
   Neil                 Hamilton                               $17.40
   Richard              Hamilton                               $97.20
   Sarah                Hamilton                                $1.60
   Trevor               Hamilton                               $49.25
   Virginia             Hamilton                               $74.05
   Virginia             Hamilton                               $50.00
   Courtnee             Hamity                                  $3.60
   Sara                 Hamling                                 $1.30
   Julia                Hammac                                  $0.95
   Dana                 Hamman                                  $2.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Anne                 Hammer                                  $4.96
   Tram                 Hammer                                $169.10
   Bill                 Hammett                                $17.20
   Julia                Hammett                               $100.00
   Brad                 Hammond                                $14.95
   Jane                 Hammond                                 $3.60
   Susan                Hammond                                 $0.70
   Andy                 Hamner                                 $17.50
   Mark                 Hamner                                 $13.30
   Damon                Hampson                                 $0.02
   Lindsay              Hampson                               $203.15
   Debbie               Hampton                               $108.10
   Pamela               Hamrick                                $50.00
   Alysia               Han                                    $30.80
   Ed                   Han                                   $126.75
   Josh                 Han                                     $2.60
   Kelly                Han                                    $50.00
   Rose                 Han                                    $17.37
   Sunny                Han                                     $0.28
   Susan                Han                                    $50.00
   Xi                   Han                                     $0.40
   Magdalena            Hanaoka                                $80.00
   Scott                Hanau                                  $15.40
   Laurel               Hanchett                               $17.90
   Anna                 Hanchett Schmidt                       $22.05
   Chelsey              Hancock                                 $0.43
   Kristin              Hancock                                $50.00
   Marilyn              Hancock                                 $7.50
   Jennifer             Hand                                  $439.20
   Amy                  Handelman                              $32.60
   Julie                Handlon                               $266.55
   David                Handlong                                $0.45
   Grayson              Handy                                   $0.83
   Ben                  Handzo                                 $16.90
   Patrick              Hanecak                                 $0.35
   John                 Hanely                                $100.00
   Jenn                 Hanes                                   $0.36
   Leah                 Haney                                   $8.95
   Naomi                Haney                                  $22.65
   Jim                  Hankey                                 $79.60

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Bill                 Hanley                                  $424.66
   Dervala              Hanley                                  $100.00
   Stephanie            Hanley                                    $1.85
   Diane                Hanlon                                    $0.30
   Julie                Hanlon                                   $50.00
   Francine             Hanna                                    $15.00
   Karen                Hanna                                   $100.00
   Chloe                Hanna Korpi                               $4.96
   Kimberly             Hannah                                   $15.60
   Laura                Hannah                                    $1.40
   Mary                 Hannah                                   $48.75
   Sarah                Hannay                                  $172.00
   T.J.                 Hannigan                                 $31.75
   Erin                 Hannon                                    $5.15
   Liz                  Hannon                                  $103.20
   Patrick              Hannum                                    $1.30
   Tara                 Hanoch                                    $0.87
   Kate                 Hanpachern                               $55.10
   Cate                 Hanrahan                                 $43.75
   Hannah               Hanrahan                                 $14.40
   Meredith             Hanrahan                                 $20.20
   Chris                Hanrath                                  $27.85
   Mary                 Hansbury                                 $56.05
   Lisa                 Hanscom                                 $100.00
   Ken                  Hanse                                    $10.05
   Valerie              Hansel                                   $50.00
   Bill                 Hansell                                   $0.30
   Amy                  Hansen                                   $10.05
   Andi                 Hansen                                    $9.30
   Beth                 Hansen                                   $27.05
   Claudine             Hansen                                   $12.45
   Danniele             Hansen                                  $101.40
   Emily                Hansen                                   $75.00
   Emily                Hansen                                    $3.75
   Gretchen             Hansen                                   $99.60
   Heather              Hansen                                    $8.10
   Jason                Hansen                                   $16.75
   John                 Hansen                                   $42.40
   Jon                  Hansen                                  $142.24
   Kartik               Hansen                                   $48.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Laura                Hansen                                 $19.50
   Kristie              Hansen-Kemp                            $50.00
   Jen                  Hanshar                                $40.00
   Kevin                Hansmeyer                             $133.50
   Brad                 Hanson                                 $26.07
   Deniz                Hanson                                 $77.40
   Eileen               Hanson                                  $8.95
   Kris                 Hanson                                 $11.86
   Michael              Hanson                                 $21.65
   Sina                 Hanson                                 $14.30
   Tanya                Hanton                                  $9.70
   Jennifer             Hanulak                                 $2.73
   Kate                 Hanzo                                  $14.20
   Christina            Hao                                    $10.65
   L                    Har                                     $0.60
   Burt                 Hara                                  $184.60
   Sandra               Harapat                                 $4.65
   Jenna                Harar                                 $127.15
   Carol                Harband                                 $8.00
   Barry                Harbaugh                               $21.51
   Diane                Harbor                                  $4.10
   Michael              Harbour                                $11.20
   Christian            Harden                                 $11.85
   Amy Grace            Harder                                 $85.00
   Kelly                Hardesty                               $40.00
   Kimi                 Hardesty                                $1.01
   Amol                 Hardikar                                $7.60
   Benjamin             Hardiman                               $18.02
   Jamie                Harding                                 $8.95
   Maggie               Harding                                $41.15
   Heather              Hardwick                              $121.73
   Dave                 Hardy                                   $0.45
   Sam                  Hardy                                  $40.55
   Sarah                Hardy                                 $206.25
   James                Hargett                                $55.20
   Rebecca              Hargreaves                              $5.40
   Chris                Hargrove                               $16.25
   Michelle             Hargrove                               $17.15
   Deborah              Harkness                              $100.00
   Gina                 Harkness                                $6.88

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Leigh                Harlan                                 $150.00
   William              Harlan                                   $7.65
   Chris                Harlem                                  $29.16
   Kate                 Harmer                                  $64.95
   Aljean               Harmetz                                $102.10
   Briana               Harmon                                  $35.10
   Courtnie             Harmon                                  $11.70
   Daniel               Harmon                                  $14.25
   Linda                Harmon                                  $20.95
   Laurel               Harms                                   $30.00
   Nancy                Harnisch                               $100.00
   Kevin                Harold                                  $79.40
   Alicia               Harper                                  $13.20
   Chris                Harper                                   $8.95
   Jessica              Harper                                   $0.20
   Kathleen             Harper                                   $4.75
   Le                   Harper                                  $64.60
   Mark                 Harper                                   $1.25
   Shannon              Harper                                   $1.77
   Emily                Harr                                     $9.55
   Cheryl               Harrington                              $96.80
   Donna                Harrington                              $12.80
   Elizabeth            Harrington                              $14.60
   Jack                 Harrington                              $50.00
   Mark                 Harriott                                 $0.50
   Adam                 Harris                                 $200.00
   Adrienne             Harris                                  $16.10
   Alex                 Harris                                   $9.68
   Amber                Harris                                 $100.00
   Amber                Harris                                  $13.65
   Ben                  Harris                                  $60.00
   Cathleen             Harris                                   $5.25
   Cole                 Harris                                  $15.60
   Hilary               Harris                                  $67.75
   Hobart               Harris                                  $25.00
   Jeff                 Harris                                   $3.00
   Jennie               Harris                                   $0.50
   John                 Harris                                  $26.36
   Kathy                Harris                                   $4.40
   Meghan               Harris                                   $2.51

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Mike                 Harris                                     $15.15
   Miriam               Harris                                     $50.00
   Natalie              Harris                                     $69.15
   Peter                Harris                                    $111.08
   Randy                Harris                                     $29.90
   Sandra               Harris                                     $37.95
   Scott                Harris                                     $50.00
   Shawna               Harris                                    $127.32
   Sirrah               Harris                                      $3.31
   Suzanne              Harris                                      $0.50
   Twanda               Harris                                     $40.00
   William              Harris                                     $59.70
   Zoe                  Harris                                      $2.86
   Zoe                  Harris                                      $2.75
   A. Kilolo            Harris Evans                               $35.80
   Andrew               Harrison                                   $33.80
   Christine            Harrison                                   $50.00
   Danielle             Harrison                                   $21.55
   Emily                Harrison                                    $4.52
   Laura                Harrison                                   $46.42
   Lauren               Harrison                                   $65.00
   Lee                  Harrison                                   $50.00
   Lindsey              Harrison                                    $0.75
   Monique              Harrison                                   $50.00
   Peter                Harrison                                  $118.21
   Thomas               Harrison                                    $2.35
   Emily                Harris-Shears                              $15.44
   Catheryne            Harsh                                      $14.85
   Imogen               Hart                                       $50.00
   Jason                Hart                                        $4.10
   John                 Hart                                       $50.00
   Karen                Hart                                      $204.16
   Karen                Hart                                        $2.19
   Katie                Hart                                       $90.95
   Lauren               Hart                                       $32.35
   Michael              Hart                                       $24.45
   Sophia               Hart                                        $0.65
   Geoff                Hart-Cooper                                $14.00
   David                Harte                                      $19.84
   Winslow              Harte                                      $20.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Brady                Harter                                   $9.46
   Arthur               Hartinger                               $13.75
   Kelly                Hartlaub                                 $3.89
   Bryn                 Hartley                                $250.00
   Jonas                Hartley                                 $10.10
   Sharon               Hartley                                  $8.95
   Jill                 Hartman                                $182.50
   Sheri                Hartman                                 $48.70
   Tony                 Hartman                                $106.60
   Jonathan             Hartmann                               $100.00
   Liz                  Hartmann                               $100.00
   Rigo                 Hartmann                                 $6.85
   Jill                 Hartnett                                 $5.61
   Julia                Hartnett                                 $0.70
   John                 Hartog                                  $51.75
   Catherine            Hartzell                                $75.75
   Adam                 Harvey                                 $100.15
   Annie                Harvey                                  $47.30
   Jennifer             Harvey                                  $50.00
   Karen                Harvey                                  $45.78
   Kristin              Harwell                                  $1.97
   Tomoko               Hasegawa                                 $1.49
   David                Hashemi                                $100.00
   Forough              Hashemi                                 $38.13
   Mai                  Hashimoto                                $0.05
   David                Haskell                                 $52.60
   Janelle              Haskell                                  $8.95
   Jenn                 Haskew                                   $1.20
   Madeleine            Haskins                                  $0.22
   Alexandra            Haslam                                   $8.95
   Sharmeen             Hassan                                   $1.33
   Darren               Hassenauer                              $80.00
   Sheila               Hasser                                  $10.70
   Dain                 Hasson                                 $419.66
   Nancy                Hasson                                   $5.90
   Austin               Hastings                                 $2.45
   William              Hastings                                $24.39
   Kristin              Hatch                                    $9.70
   Tom                  Hatch                                    $4.70
   Melanie              Hatchell                                $27.15

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Maggie               Hatcher                                  $68.30
   Rachael              Hatcher                                   $8.95
   Amanda               Hatfield                                 $98.05
   Nancy                Hathaway                                  $1.01
   Trudy                Hatter                                   $25.90
   Daniel               Hattis                                   $65.00
   Chris                Hatton                                  $105.45
   Priscilla            Hatton                                    $3.52
   Margaret             Hauben                                   $53.10
   Michael              Haug                                     $11.39
   Jaderunner           Haugaard                                 $48.95
   Tyler                Haugen                                   $50.00
   Vanessa              Haughton                                 $39.49
   Tim                  Haun                                      $2.70
   Helen                Hauser                                   $10.20
   Katie                Hauser                                   $50.00
   Kendra               Hauser                                   $17.05
   Kendra               Hauser                                    $0.65
   Pam                  Hauser                                   $21.60
   Jesse                Hausler                                   $4.30
   Kim                  Hausmann                                 $51.95
   Tristan              Haussecker                                $2.95
   Danelle              Hauth                                     $9.55
   Sarah                Haverly                                 $100.00
   Carol                Haverty                                  $45.80
   Nicole               Havins                                   $33.20
   Tracie               Hawes                                     $4.55
   Kate                 Hawk                                      $6.32
   Lhotse               Hawk                                     $80.00
   Richard              Hawker                                   $31.26
   Anthony              Hawkins                                 $113.05
   James                Hawkins                                 $150.00
   Linda                Hawkins                                 $250.00
   Maria                Hawkins                                   $5.10
   Nicole               Hawkins                                  $14.55
   Pamela               Hawkins                                  $31.50
   Peter                Hawkins                                   $8.48
   Timothy              Hawkins                                  $61.05
   Gina                 Hawley                                    $2.45
   Kristen              Hawley King                              $51.60

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Judy                 Haworth                                 $50.00
   Matt                 Hawrilenko                              $40.17
   Cody                 Haws                                     $0.85
   Kara                 Hawthorne                               $49.69
   Alex                 Hay                                    $100.00
   Kelly                Hay                                    $123.18
   Kelly                Hay                                     $89.25
   Nikki                Hay                                     $10.35
   Alyssa               Hayashi                                 $37.50
   Kevin                Hayashi                                 $19.48
   Tomoko               Hayashida                               $54.20
   Brigitte             Hayat                                    $4.90
   Eleanor              Hayes                                    $1.30
   George               Hayes                                   $18.20
   Jacey                Hayes                                   $52.40
   Jane                 Hayes                                   $74.30
   Janet                Hayes                                    $6.61
   Julianna             Hayes                                  $146.56
   Linda                Hayes                                   $71.50
   Noah                 Hayes                                   $35.20
   Ryan                 Hayes                                  $100.00
   Sam                  Hayes                                    $3.95
   Kristin              Haygood                                  $5.65
   Ezra                 Hayman                                  $21.65
   Brynn                Haynam                                  $54.35
   Cami                 Haynes                                  $25.15
   Michele              Haynes                                  $17.15
   Russell              Haynes                                 $120.00
   Kea                  Haynie                                  $16.83
   Sarah                Hayon                                   $20.15
   David                Hays                                   $156.15
   Maxine               Haytin                                  $11.70
   Marie-Louise         Hayward                                  $5.95
   Stephanie            Hazeem                                   $0.40
   Luann                Hazelitt                                $25.65
   Heidi                Hazlehurst                              $83.10
   Baiji                He                                      $40.00
   Menglu               He                                       $0.70
   Yali                 He                                     $100.00
   Yangzi               He                                      $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Nina                 Head                                    $0.80
   Elaine               Heal                                   $11.48
   Ann                  Healy                                 $100.00
   Kate                 Healy                                  $10.66
   Leigh                Healy                                   $3.05
   Mary                 Healy                                   $0.27
   Sarah                Heard                                   $8.00
   Paul                 Hearing                                $16.10
   Bruce                Hearn                                  $62.66
   Terri                Hearsh                                 $61.55
   Emily                Hearst                                 $50.00
   Shane                Hearty                                  $9.25
   Michael              Heathcote                              $56.80
   Dana                 Heatherton                              $0.95
   Tracey               Heaton                                $100.00
   Anne                 Heavey                                 $50.00
   Julia                Heavey                                  $0.38
   Darci                Hebenstreit                            $19.20
   Apryl                Hebert                                  $0.13
   Derek                Hebert                                 $17.21
   Esther               Hebert                                  $0.03
   Jennifer             Hebert                                $200.00
   John                 Hebert                                $195.21
   Susan                Hebert                                 $28.20
   Teri                 Hebert                                  $5.59
   Theressa             Hecht                                  $44.15
   Ehlisha              Heckathorne                            $17.51
   Doug                 Heckman                                $86.07
   Jonathan             Heckman                                 $0.45
   Jennifer             Hedman-Chase                           $45.35
   Jeremy               Heebner                                 $0.93
   Mark                 Heerema                                $10.05
   Craig                Heeren                                 $50.00
   Debbie               Heffernan                              $52.25
   Sarah                Hefter Shpak                            $8.15
   Erica                Heftye                                 $90.00
   Anne                 Hege                                   $22.75
   Teresa               Heger                                  $78.10
   Jenny                Hehemann                               $14.75
   Dorothy              Heide                                 $235.40

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Amy                  Heidersbach                             $105.77
   Jessica              Heidrick                                  $2.40
   Jennifer             Heifferon                               $250.00
   Sophie               Heiken                                   $36.50
   Alicia               Heilman                                   $5.45
   Joseph               Heim                                     $52.05
   Susanne              Heim                                    $186.97
   Tara                 Heimburger                              $100.00
   Chris                Heimers                                   $0.40
   Kurt                 Heineman                                 $68.70
   Nancy                Heinen                                  $100.00
   Jon                  Heiner                                   $11.65
   Brooke               Heinlein                                  $8.95
   Julie                Heinrich                                  $4.10
   Kira                 Heintz                                   $28.10
   Eric                 Heinz                                   $100.00
   Karen                Heinz                                     $6.36
   Dana                 Heirich                                  $14.20
   Sheri                Heise                                     $1.05
   Teal                 Heise                                    $40.00
   Rebecca              Heisterkamp                               $1.35
   Sonya                Heisters                                 $30.75
   Mark                 Heit                                     $22.65
   Christine            Hejinian                                  $1.10
   Jess                 Hele                                      $0.25
   Abigail              Helfat                                    $2.72
   Daniel               Helfman                                   $1.87
   Kathleen             Helfrey                                  $11.60
   Barry                Helft                                   $125.10
   Ryan                 Helft                                    $36.55
   Alice                Helker                                   $84.01
   Allana               Helland                                  $74.60
   Leif                 Helland                                  $22.95
   Matt                 Helle                                    $72.60
   Michael              Helle                                    $50.00
   Jean                 Heller                                   $13.65
   Laurie               Heller                                    $1.21
   Megan                Heller                                    $0.10
   Aurora               Helm                                      $6.10
   Sabina               Helmerson                               $133.46

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alison               Helmke                                  $2.35
   Robyn                Helmlinger                              $5.05
   Elizabeth            Hely                                    $0.60
   Christopher          Hemauer                                $40.20
   Monica               Hemmen                                  $7.82
   Jill                 Hempen-Anthony                         $14.10
   Maria                Hemphill                                $3.20
   Marie                Hemsley                                 $0.40
   Tammy                Henault                               $183.78
   Karen                Hendershott                            $13.86
   Alicia               Henderson                              $50.00
   Annie                Henderson                              $72.55
   Juliet               Henderson                              $31.75
   Kanika               Henderson                               $7.60
   Karen                Henderson                             $100.00
   Katie                Henderson                               $8.21
   Lee                  Henderson                              $14.05
   Maria                Henderson                               $1.20
   Matthew              Henderson                               $9.40
   Monique              Henderson                              $20.65
   Nancy                Henderson                              $41.06
   Rebecca              Hendricks Linser                        $2.40
   Christine            Hendrickson                             $4.25
   Elek                 Hendrickson                           $200.00
   Rob                  Hendrickson                             $4.30
   Tommy                Hendrickson                            $10.55
   Katie                Hendrix                                 $2.60
   Patrick              Hendry                                 $67.90
   William              Henehan                                $70.14
   Andi                 Henke                                   $2.53
   Garrett              Henn                                  $128.32
   Erik                 Henne                                 $103.86
   Mike                 Henneberry                            $500.00
   Michael              Hennessey                              $41.20
   Erin                 Hennessy                              $304.80
   Tara                 Henning                                $16.15
   Delphine             Henri                                  $38.80
   John                 Henrie                                 $55.55
   Sabine               Henrie                                 $45.35
   Arlene               Henry                                  $54.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Ashley               Henry                                  $15.86
   Dan                  Henry                                  $25.00
   Diane                Henry                                  $40.99
   Duncan               Henry                                   $8.25
   Katherine            Henry                                   $7.55
   Louisa               Henry                                  $25.60
   Mary                 Henry                                  $78.10
   Michael & Chemene    Henry                                   $1.15
   Norm                 Henry                                 $150.00
   Sarah                Henry                                 $100.90
   Eleo                 Hensleigh                              $32.10
   Pamela               Hensley Gladding                        $3.65
   Eugene               Henson                                 $11.95
   Gina                 Henson                                $113.25
   Dave                 Hepp                                    $1.55
   Melinda              Heppberger                             $26.02
   Isaac                Hepworth                              $100.00
   Natalie              Herbert                                 $2.00
   Seth                 Herbert                                 $0.17
   Ellen                Herbst                                  $2.20
   Betsy                Herczeg-Konecny                       $100.00
   Georgia              Herdener                               $65.80
   Toni                 Heren                                   $0.05
   Ingrid               Hergert                                $68.38
   Susanne              Hering                                 $23.60
   Sara                 Herlick                                 $1.50
   Joan                 Herlinger                               $5.15
   Wendy                Herm                                    $0.48
   Alexander            Herman                                 $50.10
   Brad                 Herman                                  $3.32
   Burt                 Herman                                 $11.32
   Meridith             Herman                                 $14.50
   Lena                 Hermans                                $15.50
   Don                  Hermansen                              $78.09
   Christine            Hermawan                               $29.70
   Krista               Hermawan                               $29.91
   Diane                Hermone                                 $0.65
   Alejandra            Hermosillo                             $14.10
   Daniel               Hernandez                             $100.00
   Erica                Hernandez                              $20.40

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Isaac                Hernandez                               $4.40
   Jason                Hernandez                               $0.40
   Jonathan             Hernandez                              $26.16
   Kara                 Hernandez                             $100.00
   Karla                Hernandez                              $35.35
   Lauren               Hernandez                               $5.20
   Marimar              Hernandez                              $50.00
   Michelle             Hernandez                              $10.30
   Pilar                Hernandez                              $50.00
   Scott                Hernandez                             $100.00
   Stephanie            Hernandez                               $1.00
   Troy                 Hernandez                             $100.00
   Olivia               Hernandez Panameno                      $8.90
   Stephanie            Herndon                                $28.30
   Lauren               Herpich                                 $6.70
   Robert               Herr                                  $100.00
   Becky                Herrera                                $58.92
   Gina                 Herrera                                 $0.95
   Maria                Herrera                                 $4.30
   Nancy                Herrera                                 $0.80
   Jaquelynn            Herrera Lunney                         $15.65
   Lauren               Herrick                                 $3.80
   David                Herring                               $208.05
   Sheila               Herrling                              $100.00
   Barbara              Herrmann                               $26.85
   Jake                 Herrmann                                $3.15
   Jon-Michael          Herrmann                              $308.30
   Maryrose             Herron                                 $55.85
   Heidi                Herschbach                             $50.10
   Charlie              Herschel                               $55.03
   Harriet              Herschel                                $2.68
   Robert               Herschkowitz                           $50.00
   Josh                 Hershman                               $27.00
   Rachel               Hersman                               $100.00
   Kyle                 Hertel                                 $44.35
   Lindsay              Hertz                                 $132.75
   Morgan               Herve-Mignucci                          $0.50
   Glenn                Herz                                   $44.30
   Amanda               Herzog                                $100.00
   Erna                 Herzog                                $171.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Hannah               Hess                                       $6.60
   Jean                 Hess                                     $250.00
   Christine            Hessler                                   $15.55
   Adam                 Hester                                     $6.55
   Arabella             Hester                                     $0.80
   Aaron                Hesterman                                $134.55
   Barbara              Hetland                                   $64.66
   James                Hetland                                    $4.10
   Shane                Hetrick                                   $59.50
   Amit                 Hetsron                                    $0.20
   Chris                Heuer                                     $11.65
   Kate                 Heuer                                     $13.25
   Nick                 Heustis                                   $50.00
   Athena               Hewett                                    $36.95
   Ben                  Hewett                                    $94.10
   Paula                Hewitson                                  $30.65
   Whitney              Hewlett                                   $51.95
   Jenna                Heyboer                                    $3.30
   Nate                 Heyden                                     $8.45
   Pam                  Heyman                                     $5.34
   Mike                 Heymsfield                                 $8.70
   Lauren               Heysse                                    $39.38
   Lizette              Hibbert                                    $0.40
   Julie                Hibson                                    $75.00
   Lihong               Hicken                                     $0.25
   Jennifer             Hickman                                    $2.08
   Regina               Hickman                                   $18.35
   Tom                  Hickok                                    $11.35
   Amy                  Hicks                                     $80.00
   Ashley               Hicks                                     $42.75
   Deborah              Hicks                                      $1.65
   Stuart               Hicks                                     $30.75
   Tyler                Hicks                                      $2.90
   Kempton A            Hicks Jr                                  $50.00
   Kristen              Hidalgo                                    $8.95
   Rodil                Hidalgo                                    $1.90
   Anne                 Hieber Leyva                              $20.20
   Tracie               Hiemstra                                  $21.99
   Erica                Hiers                                     $75.00
   Sharon               Hiers                                     $80.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Grace                Higa                                    $19.80
   Jim                  Higgins                                 $50.00
   Lesly                Higgins                                 $50.00
   Lilli                Higgins                                 $12.79
   Mary                 Higgins                                 $39.35
   Matt                 Higgins                                 $69.56
   Matthew              Higham                                 $124.80
   Christiaan           Highsmith                               $14.70
   Kimberly             Higuchi                                 $17.60
   Joshua               Hilborn                                $104.48
   Julie                Hilborn                                 $22.40
   Lisa                 Hildebrand                             $230.00
   Shannon              Hildebrand                              $60.55
   Lloyd                Hile                                     $0.55
   Leslie               Hilford                                  $5.08
   Laura                Hilgeman                                $62.65
   Christa              Hill                                    $46.85
   Esther               Hill                                    $10.35
   Helen                Hill                                    $44.06
   Joe                  Hill                                    $34.25
   John                 Hill                                     $0.65
   Karolyn              Hill                                     $5.85
   Katherine            Hill                                   $193.00
   Leila                Hill                                    $38.40
   Lena                 Hill                                     $2.00
   Lindsay              Hill                                    $17.40
   Liz                  Hill                                     $6.25
   Mary                 Hill                                   $195.13
   Rachael              Hill                                     $0.30
   Shawn                Hill                                    $11.80
   Smokinstang65        Hill                                     $3.26
   Steve                Hill                                    $42.30
   Tina                 Hill                                    $50.00
   Melissa              Hillberg                                 $0.20
   Rodolfo              Hillen                                  $18.95
   Debbie               Hiller                                  $50.00
   Inez                 Hiller                                   $7.20
   Katharine            Hillerson                              $389.31
   Elena                Hillman                                  $0.11
   Karen                Hills                                   $22.12

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Terry                Hillyard                                  $0.45
   Roy                  Hilmer                                   $24.57
   Ces-Marie            Hilo                                     $50.00
   Amanda               Hilson                                    $7.49
   Brittany             Hilton                                    $5.71
   John                 Hilton                                   $11.35
   Kathleen             Hilton                                    $2.65
   Laurel               Hilton                                   $17.55
   Timothy              Hilton                                   $18.20
   Yingfang             Hilton                                   $38.30
   Katie                Hilty                                    $50.00
   Andrew               Hilvers                                   $8.95
   Mark                 Himelstein                               $75.00
   Edward               Himenes                                   $1.05
   Heather              Himenes                                   $4.57
   Nora                 Himmel                                    $4.20
   Elizabeth            Hinchman                                  $2.15
   Miriam               Hinden                                    $1.55
   Brian                Hinds                                    $22.25
   David                Hinds                                    $30.54
   Lauren               Hinds                                    $10.35
   Yvonne               Hinds                                     $0.60
   Climmie And Tiana    Hines                                    $97.25
   Lindsey              Hines                                   $153.10
   Sandra               Hines                                    $59.61
   Gloria               Hing                                      $4.40
   Julie                Hinge                                     $1.05
   Iravati              Hingne                                   $50.00
   Aaron                Hinken                                   $11.78
   Barbara              Hinkley                                   $2.90
   Chip                 Hinnenberg                                $4.90
   Renata               Hinnenberg                                $1.65
   Sheri                Hinshaw                                  $23.85
   Brooke               Hinton                                   $19.70
   Carl                 Hinton                                   $20.65
   Randy                Hinton                                  $150.00
   Sybil                Hippolyte                               $119.86
   Hideki               Hirabayashi                              $68.45
   Jade                 Hiramoto                                 $44.25
   Al                   Hironaga                                  $5.20

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Reid                 Hironaga                                 $2.15
   Hazel                Hiroshima                               $65.93
   Amy                  Hirsch                                  $50.00
   Jeriann              Hirsch                                  $67.35
   Jessica              Hirsch                                   $2.35
   Kenneth              Hirsch                                   $3.85
   Nicole               Hirsch                                  $20.85
   Megan                Hirschbein                               $8.95
   Jason                Hirschhorn                              $17.45
   Erin                 Hirschler                                $2.28
   Karen                Hirschmann                               $4.30
   Al                   Hirschon                                $35.85
   Chelsea              Hirschton                               $11.60
   Jason                Hirschton                               $19.70
   Edward               Hirsh                                    $4.75
   Suzanne              Hirsh                                   $58.85
   Wendi                Hirshberg                                $0.61
   Devra                Hirshfeld                                $5.45
   Ai                   Hiruma                                   $1.99
   Judy                 Hisaka                                   $7.10
   Stephanie            Hisaka                                  $14.05
   Jessamyn             Hise                                     $0.60
   Valerie              Hiss                                    $15.36
   Marie                Hitchcock                                $2.35
   Ben                  Hitchins                                $24.96
   Melissa              Hitt                                   $166.20
   Yen                  Hitz                                     $1.85
   Chau                 Hiyagon                                  $2.80
   Maria                Hjelm                                  $137.35
   Lisa                 Hladik                                  $75.35
   Diana                Ho                                     $155.90
   Elizabeth            Ho                                     $100.00
   Fiona                Ho                                      $63.25
   Francis              Ho                                       $0.12
   Frank                Ho                                       $8.95
   Janelle              Ho                                       $1.55
   Jennifer             Ho                                       $0.30
   Jessie               Ho                                       $7.30
   Jonathan             Ho                                      $19.15
   Kar-Wing             Ho                                      $16.96

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   Margaret             Ho                                       $38.65
   My                   Ho                                       $66.40
   Myron                Ho                                       $50.00
   Patricia             Ho                                      $113.92
   Thao                 Ho                                        $7.70
   Allison              Hoag                                     $38.43
   Jessica              Hoag                                     $12.90
   Annie                Hoang                                     $2.50
   Anthony              Hoang                                    $22.60
   Thomas               Hoang                                     $0.40
   Tran                 Hoang                                    $50.00
   Wayne                Hoang                                    $50.00
   Wendy                Hoang                                     $0.10
   Jessica              Hobbs                                     $9.05
   Malcolm              Hobbs                                   $100.00
   Stephanie            Hobbs                                    $31.81
   Christin             Hobby                                     $0.45
   Gail                 Hoben                                    $27.55
   Joe                  Hobesh                                    $6.95
   Suzanne              Hobesh                                    $3.80
   Tavio                Hobson                                    $0.80
   Grace                Hochstoeger                              $36.10
   Peter                Hockaday                                  $5.70
   Sheri                Hockaday                                $150.00
   Matt                 Hocker                                   $23.03
   Michelle             Hockett                                 $200.00
   Connie               Hodder                                   $18.65
   Molly                Hodell                                    $2.70
   Asher                Hodes                                   $161.45
   Scott                Hodes                                     $5.75
   Susan                Hodge                                     $5.96
   Heather              Hodges                                    $2.49
   Rob                  Hodges                                   $36.30
   Kendall              Hodson                                  $161.55
   Sanela               Hodzic                                   $16.73
   Amy                  Hoeck                                   $144.10
   Amy                  Hoefer                                    $9.75
   Benjamin             Hoehn                                     $0.25
   Susanne              Hoelscher                                 $9.41
   Ryan                 Hoercher                                $123.40

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Frances              Hoey                                     $66.20
   Kiersten             Hoey                                      $2.35
   Debra                Hoff                                     $87.10
   Sarah                Hoff                                      $0.10
   Gretchen             Hoff Varner                             $100.00
   Shellie              Hoffer                                   $78.10
   Alanna               Hoffman                                  $16.90
   Allison              Hoffman                                   $1.15
   Dan                  Hoffman                                   $7.15
   Daniel               Hoffman                                   $1.00
   David                Hoffman                                  $11.00
   Dustin               Hoffman                                  $17.95
   Hunter               Hoffman                                  $12.57
   Jeanette             Hoffman                                   $1.65
   Mark                 Hoffman                                  $10.95
   Meghan               Hoffman                                  $26.88
   Paula                Hoffman                                  $25.00
   Rhianon              Hoffman                                  $50.66
   Susan                Hoffman                                  $12.10
   Anna                 Hoffmann                                  $9.00
   Kimya                Hoffmann                                 $23.90
   Adam                 Hofmann                                  $57.30
   Jennifer             Hofmann                                  $14.85
   Heather              Hogan                                     $0.30
   Ian                  Hogan                                   $130.10
   Shannon              Hogan                                    $74.85
   Yang-Yang            Hogarth                                 $152.53
   Eugene               Hogenauer                                $12.61
   Heather              Hoges                                   $197.86
   Jim                  Hogg                                      $0.40
   Natalie              Hogg                                      $9.60
   John                 Hogue                                   $200.00
   Rebecca              Hogue                                    $50.00
   Kelli                Hohenbrink                              $224.60
   Mona                 Hoher                                     $7.72
   Micha                Hohorst                                  $15.70
   David                Hohusen                                  $72.70
   Amy                  Hoing                                   $250.00
   Kate                 Hoisington                               $14.76
   Samantha             Hojo                                    $235.55

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Andrew               Holbrook                                 $1.95
   Jay                  Holcomb                                 $15.70
   Eva                  Holdbrook                               $50.00
   Meagan               Holden                                   $3.45
   Jordan               Holder                                  $91.85
   Jennifer             Holeman                                  $8.20
   Cody                 Holik                                   $50.00
   Eileen               Holl                                    $51.75
   Karyn                Holl                                     $4.85
   Hdub                 Holla                                    $7.15
   Jamie                Holland                                  $7.28
   Jennifer             Holland                                 $11.00
   Joan                 Holland                                  $2.15
   June                 Holland                                 $25.00
   Phil                 Holland                                  $0.80
   Jill D               Hollander                               $67.20
   Rachel               Hollander                                $6.25
   Penny                Hollar                                  $45.91
   Lisa                 Holley                                 $100.00
   Brian                Holliday                                $23.95
   Michael              Holliday                                 $0.61
   Andrew               Hollingsworth                           $25.00
   Lynn                 Hollis                                  $65.15
   Kyle                 Holloway                                $18.49
   Kyle                 Holloway                                $14.36
   Rachael              Holloway                                $67.15
   Angela               Hollowell-Fuentes                       $11.20
   Anna                 Holm                                    $35.00
   Barbara              Holm                                     $0.45
   David                Holm                                    $43.19
   Elzera               Holm                                    $22.42
   Jen                  Holm                                     $1.17
   Amy                  Holman                                   $3.15
   Anne                 Holman                                  $42.45
   Eric                 Holmberg                                 $1.76
   Audrey               Holmes                                  $15.20
   Christina            Holmes                                   $2.90
   Danielle             Holmes                                  $27.05
   Kathleen             Holmgren-Harcos                         $19.55
   Teresa               Holsberry                               $44.54

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Aimee                Holt                                    $5.45
   Janet                Holt                                   $15.75
   Jim                  Holt                                    $2.60
   Katherine            Holt                                    $4.20
   Nancy                Holter                                  $2.35
   Tim                  Holthaus                                $7.91
   Katherine            Holtz                                  $17.75
   Melissa              Holtz                                  $16.92
   Kent                 Holubar                                 $2.30
   Rachel               Holz                                   $71.85
   James                Holzhauer                             $100.00
   Allen                Holzman                                $75.15
   Paul                 Holzman                               $108.60
   Dale                 Hom                                     $0.81
   Dale                 Hom                                     $0.30
   Patricia             Hom                                    $10.90
   Sherry               Hom                                     $0.15
   Marilynne            Homitz                                  $0.15
   Devin                Homme                                  $39.25
   Jennifer             Homme                                   $1.55
   Roman                Honeycutt                               $0.58
   Agnes                Hong                                    $0.60
   Charles              Hong                                   $40.32
   Steven               Hong                                   $34.85
   Sung                 Hong                                   $16.35
   Tina                 Hong                                   $10.56
   Trudy                Hong                                    $9.15
   Denise               Honomichl                               $9.59
   Rhonda               Hontalas                                $4.55
   Ann                  Hood                                    $4.90
   S                    Hooi                                    $3.85
   Emily                Hooker                                  $4.70
   Drew                 Hoolhorst                              $13.20
   Patrick              Hooper                                $251.95
   Danielle             Hoover                                 $23.55
   Nathaniel            Hoover                                 $31.30
   Tess                 Hoover                                  $2.79
   Chris                Hope                                   $50.00
   Dan                  Hope                                   $24.15
   Katy                 Hope                                   $10.45

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alison               Hopkins                                 $8.25
   Christine            Hopkins                                 $9.35
   Fran                 Hopkins                               $100.00
   Mercedes             Hopkins                                 $4.20
   Rebecca              Hopkins                               $299.28
   Sheila               Hopkins                                $77.15
   Valerie              Hopkins                                 $1.40
   Jimmy                Hopper                                 $13.37
   Patricia             Hopper                                 $60.64
   Tyler                Hopps                                  $17.10
   Ann Marie            Horan                                  $27.05
   Eileen               Horan                                   $8.15
   Eileen               Horan                                  $35.10
   Megan                Horan                                  $34.26
   Marnee               Horesh                                 $50.00
   Barbara              Hori                                  $118.85
   Yuki                 Horiguchi                             $100.00
   Allan                Horn                                   $73.72
   Beth                 Horn                                   $10.70
   Catherine            Horn                                    $8.25
   June                 Horn                                   $12.05
   Michael              Horn                                    $8.95
   Aubrey               Hornak                                  $3.50
   Cheri                Hornberger                              $1.65
   Gloria               Horne                                  $25.15
   Hannah               Horng                                   $3.90
   Jennifer             Hornschemeier                           $9.20
   Colleen              Hornung                                 $0.95
   Julie                Hornung                                $11.72
   Roberta              Hornwood                               $75.00
   Colleen              Horowitz                              $140.35
   Sarie                Horowitz                               $33.55
   Steve                Horowitz                              $200.00
   Dawn                 Horrell                                $19.25
   Rob                  Horsley                                $16.55
   Cheryl               Horton                                $626.76
   Jd                   Horton                                 $40.10
   Madeline             Horton                                 $50.10
   Ray                  Horton                                 $23.90
   Relura               Horton                                  $2.20

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Shannon              Horton                                   $36.71
   Donat                Horvath                                   $3.40
   David                Hoshizaki                                $41.50
   Sara                 Hoslt                                    $17.40
   Beth                 Hoss                                     $32.76
   Armon                Hosseini                                  $1.85
   Karen                Hostetler                                $41.22
   Craig                Hotti                                    $47.25
   Elsa                 Hou                                     $140.20
   Yenshen              Hou                                      $13.55
   Scott                Houghtaling                               $8.95
   Jim                  Houk                                     $50.00
   William              Houng                                     $3.20
   John                 Hourigan                                  $9.40
   Michael              Hourigan                                  $1.70
   Caitlin              House                                    $37.30
   Alice                Householder                               $2.39
   Amani                Housen                                   $49.98
   Lindsey              Housenick                                $56.65
   Jennifer             Houser                                    $5.15
   Julie                Houser                                  $214.30
   Nicole               Houser                                   $44.50
   Monica               Houtz                                    $19.60
   Kasey                Hovencamp                                $22.01
   Ellen                Hovey                                    $56.05
   Victoria             Hovsepian                                 $0.90
   Adam                 Howard                                    $4.75
   Adam                 Howard                                   $12.20
   Alison               Howard                                   $16.58
   Bridgette            Howard                                   $82.05
   Edith                Howard                                   $34.85
   Jeremy               Howard                                  $100.00
   Jill                 Howard                                    $0.21
   Karen                Howard                                   $12.99
   Katie                Howard                                   $15.94
   Laura                Howard                                   $14.85
   Laura                Howard                                   $78.30
   Melisa               Howard                                   $30.10
   Philip               Howard                                   $19.10
   Rachael              Howard                                    $1.60

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Steven               Howard                                 $75.53
   Kari                 Howe                                   $31.20
   Lisa                 Howe                                   $59.07
   Margrethe            Howekamp                               $21.83
   Colleen              Howell                                 $40.25
   Daniel               Howell                                 $22.08
   David                Howell                                $100.00
   Joshua               Howell                                 $66.70
   Kate                 Howell                                 $67.65
   Ryan                 Howell                                 $75.80
   Ariel                Howland                                $54.75
   Brittney             Hoy                                    $15.00
   Capucine             Hoybach                                $23.36
   Kathryn              Hoyle                                   $3.20
   Linda                Hoyne                                  $40.20
   Neil                 Hoyne                                   $6.90
   Audrey               Hoyt                                    $7.71
   Chris                Hoyt                                   $49.55
   Yakira               Hoz                                    $46.20
   Ann                  Hsia                                  $100.00
   Daniel               Hsia                                    $0.90
   Daisy                Hsiao                                  $22.10
   Michelle             Hsiao                                  $50.00
   Ann                  Hsieh                                  $37.70
   Cerena               Hsieh                                  $32.60
   Grace                Hsieh                                  $90.25
   Loni                 Hsieh                                  $43.70
   Vincent              Hsieh                                  $59.25
   Yenyao               Hsieh                                 $152.50
   Dolly                Hsing                                  $45.90
   Carolyn              Hsu                                    $43.90
   Emily                Hsu                                     $0.15
   Jack                 Hsu                                     $0.33
   Jennifer             Hsu                                    $76.06
   Jonathan             Hsu                                     $8.95
   Judy                 Hsu                                     $2.90
   Karen                Hsu                                    $29.90
   Rayleen              Hsu                                   $141.01
   Timothy              Hsu                                    $16.77
   Wendy                Hsu                                    $18.50

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   Irene                Hsu-Dresden                                $8.95
   Joyce                Hsueh-Martin                              $38.70
   Jessica              Hsung                                    $158.05
   Cynthia              Hu                                         $2.15
   Dennis               Hu                                        $11.20
   Esther               Hu                                         $4.80
   Jeniva               Hu                                         $6.02
   Kari-Lynn            Hu                                        $76.55
   Lindsay              Hu                                        $75.00
   Michael              Hu                                       $168.59
   Nicole               Hu                                         $1.25
   Ningning             Hu                                       $271.75
   Ethan                Hua                                       $54.75
   Kathy                Hua                                        $0.08
   Lisa                 Hua                                       $10.15
   Vanessa              Hua                                        $0.30
   Carrie               Huang                                    $262.40
   Hana                 Huang                                     $32.15
   Inga                 Huang                                    $194.70
   Jay                  Huang                                      $1.50
   Jia                  Huang                                     $28.30
   John                 Huang                                     $12.70
   Joseph               Huang                                     $14.31
   P                    Huang                                      $0.71
   Peter                Huang                                      $3.50
   Bill                 Hubbard                                    $0.60
   John                 Hubbard                                   $25.00
   Margaret             Hubbard                                    $1.20
   Kendra               Hubbell                                  $189.04
   Caitlin              Hubele                                    $16.24
   Nicholas             Huber                                      $0.25
   Rye                  Huber                                     $24.85
   Anthony              Huberman                                   $0.45
   Ivana                Hubertova                                 $42.20
   Tonya                Hubinger                                  $24.00
   Ally                 Hubner                                    $50.00
   Megan                Huchko                                    $12.60
   Sarah                Huck                                      $24.15
   James                Huddleston                                $11.85
   Erin                 Hudec                                      $0.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jillian              Hudson                                 $30.75
   Karla                Hudson                                 $54.85
   Katie                Hudson                                $107.60
   Kent                 Hudson                                  $8.95
   Nick                 Hudson                                 $26.66
   Sarah                Hudson                                $287.21
   Sarah                Hudson                                 $42.19
   Candy                Huerta                                  $3.15
   Michele              Huerta                                $100.36
   Lourdes              Huertas                                 $2.95
   Sophie               Huet                                  $162.05
   Helen                Huey                                   $16.10
   Brittany             Huff                                   $50.00
   Michelle             Huff                                  $148.55
   Travis               Huff                                  $100.00
   Anthony              Huffman                               $100.00
   Mindy                Huffman                                 $1.60
   Wendy                Hufnagl                                 $1.25
   Don                  Huggins                                $84.50
   Sydney               Huggins                               $140.69
   Brian                Hughes                                  $4.99
   Brian                Hughes                                 $15.56
   Erin                 Hughes                                 $50.00
   Frances              Hughes                                 $12.05
   Jeff                 Hughes                                 $60.29
   Jevonya              Hughes                                 $13.00
   Julia                Hughes                                $132.93
   Kyle                 Hughes                                  $1.50
   Lizzy                Hughes                                  $7.05
   Meredith             Hughes                                 $30.50
   Rhonda               Hughes                                 $25.53
   Robert               Hughes                                  $0.70
   Stephanie            Hughes                                 $18.91
   Suzie                Hughes                                $109.90
   Sherri               Hughston                              $250.00
   Christophe           Hugon                                   $2.85
   Stella               Huh                                   $100.00
   Christie             Hui                                    $20.25
   Iris                 Hui                                    $39.50
   Isabel               Hui                                    $10.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Man Lung             Hui                                     $3.45
   Mindy                Hui                                     $0.80
   Sabrina              Hui                                    $35.30
   Tim                  Hui                                    $50.00
   Carrie               Huie                                   $50.00
   Stephanie            Huie                                   $13.75
   Liza                 Huijse                                  $5.80
   Tara                 Huisman                                $20.40
   Fanya                Hull                                  $180.00
   Sally                Hull                                   $36.01
   Theresa              Hull                                   $25.00
   Emily                Hulley                                 $38.60
   Ashley               Hulser                                $128.55
   Bronwen              Hult                                    $1.45
   Emilie               Hulwick                                 $3.60
   Matthew              Hummel                                  $5.10
   Jeanne               Humphreys                              $16.00
   Heather              Hund                                   $18.14
   Harpreet             Hundal                                 $18.65
   Ariane               Hundt                                  $10.15
   Grace                Hung                                   $25.60
   Michelle             Hung                                    $0.65
   Veronica             Hunnicutt                              $43.50
   Alicia               Hunsaker                                $3.10
   Dennis               Hunt                                    $1.75
   Elizabeth            Hunt                                   $28.61
   Gina                 Hunt                                   $22.45
   Jessica              Hunt                                   $10.10
   John                 Hunt                                   $14.80
   Katherine            Hunt                                   $31.75
   Monica               Hunt                                   $22.90
   Nathan               Hunt                                   $45.97
   Brisdell             Hunte                                  $46.20
   Brett                Hunter                                 $43.90
   Cj                   Hunter                                 $32.75
   Cj                   Hunter                                  $0.75
   Dick                 Hunter                                $230.30
   Kristen              Hunter                                $154.35
   Linda                Hunter                                 $26.60
   Melanie              Hunter                                $210.01

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Melissa              Hunter                                    $3.50
   Michelle             Hunter                                    $0.60
   Robin                Hunter                                    $0.71
   Kim                  Huntet                                   $92.74
   Ed                   Huntley                                   $7.25
   Patrick              Hunton                                   $16.25
   Caroline             Huo                                       $7.50
   Justin               Hupalo                                  $249.40
   Inez                 Hur                                       $7.80
   Sam                  Hur                                      $30.00
   Shawn                Hur                                       $8.10
   Michael              Hurd                                      $4.65
   Riley                Hurd                                     $65.85
   Tyler                Hurd                                     $42.35
   Emalie               Huriaux                                  $17.05
   Lori                 Hurl                                    $100.00
   Ann                  Hurley                                   $18.20
   Regan                Hurley                                  $114.67
   Todd                 Hurley                                  $100.00
   Christa              Hurrell                                 $100.00
   Diane                Hurst                                    $13.95
   Kindree              Hurstbridge                               $6.48
   Taylor               Hurt                                      $0.53
   Janeth               Hurtado                                  $35.00
   Anne                 Hurty                                    $15.50
   Gigi                 Hurty                                    $75.40
   Janine               Hurty                                     $6.70
   Timothy              Hurvitz                                 $100.00
   Brian                Huse                                      $3.00
   Cara                 Huskey                                   $95.30
   Hillary              Huss                                     $16.35
   Meredith             Huston                                    $3.50
   Theresa              Hutchinson                               $10.10
   Kyle                 Hutchison                                 $7.30
   Sarah                Hutmacher                                $14.60
   Nancy                Hutto                                     $3.65
   Harry                Hutzel                                    $0.25
   Trisha               Huus                                      $0.90
   Rick                 Huxley                                   $50.32
   James                Huxtable                                $125.85

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Ha                   Huynh                                  $24.10
   Mai                  Huynh                                  $70.05
   My Hanh              Huynh                                  $49.05
   Phuong               Huynh                                  $55.90
   Sang                 Huynh                                  $26.60
   Tuan                 Huynh                                  $76.15
   Brian                Hwang                                   $0.05
   Jonathan             Hyatt                                  $50.00
   Katie                Hyde                                  $151.30
   Russ                 Hyder                                  $22.08
   Peter                Hyer                                    $8.45
   Nick                 Hyman                                   $2.70
   Carl                 Hyndman                                 $1.45
   Antti-Pekka          Hynninen                               $61.90
   Sara                 Hyoun                                  $81.15
   Irma                 Hypes                                  $11.70
   Colt                 Hytrek                                 $13.26
   Ryan                 I                                      $13.00
   Tiffany              Iaia                                  $186.50
   Sergii               Iakovenko                               $0.35
   Mary                 Iamesi                                 $55.71
   Aly                  Ibrahim                               $204.00
   Iman                 Ibrahim                               $185.25
   Mohammed             Ibrahim                               $100.00
   Diane                Ichikawa                                $7.58
   Derek                Idemoto                                $30.40
   Shannon              Iden                                   $50.66
   Anthony              Igwe                                  $100.00
   Toni                 Ihara                                  $17.30
   Cord                 Ihling                                $144.55
   Kevin                Ikeda                                  $26.13
   Kyle                 Ikeda                                  $35.03
   Corinne              Iken                                    $2.55
   Adrianne             Ikeya                                 $100.00
   Kristoffer           Ilano                                  $28.18
   Kim                  Iliffe                                 $10.09
   Ryan                 Imagawa                                 $1.77
   Omana                Imani                                   $1.39
   Roja                 Imani                                  $66.15
   Kazumi               Imasaki                                $41.85

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Katie                Impelman                                 $22.25
   Denise               Imperial                                  $3.75
   Stephanie            Imsande                                 $136.25
   Miriam               Inbar Feske                               $5.10
   Sharon               Inditzky                                 $75.05
   Kristin              Indorato                                 $10.10
   Julie                Ingerman                                 $73.20
   Tessa                Ingersoll                                $12.80
   Julie                Ingoglia                                  $0.32
   Leigh                Ingram                                   $76.15
   Jake                 Ingrande                                  $1.95
   Casey                Inman                                   $104.80
   Stacy                Inman                                     $8.90
   Eric                 Inouye                                  $150.00
   Sean                 Inouye                                    $5.75
   Lindsay              Insler                                    $1.65
   Melinda              Interdonato                               $0.80
   Yannet               Interian                                 $27.30
   Alicia               Inza                                     $48.20
   Mary                 Ippolito                                 $20.35
   Will                 Iracki                                   $31.08
   Cyrus                Irani                                     $0.35
   Kevin                Ireland                                   $0.35
   Molly                Ireland                                  $22.30
   Irene                Irene                                     $1.38
   Kristina             Ireson                                    $6.10
   Idoia                Iriarte                                   $7.35
   Melissa              Irish                                     $0.65
   Brittany             Irshay                                   $10.20
   Benjamin             Irvine                                  $101.64
   Bethany              Irvine                                    $2.67
   Sarah                Irvine                                    $0.30
   Brian                Irving                                   $30.30
   Sarah                Irving                                   $44.25
   Jane                 Irwin                                     $5.20
   Jennifer             Irwin                                    $62.65
   Karl                 Isaac                                     $0.90
   Dana                 Isaac Quinn                               $1.35
   Anamaria             Isaacs                                    $3.50
   Richard              Isakow                                   $18.75

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Mark                 Isbandi                                    $0.40
   Rachel               Iseman                                    $13.95
   Nicole               Isenhour                                  $16.86
   Shauna               Iseri                                      $8.95
   Erica                Ishijima                                   $2.45
   Miki                 Ishikawa                                 $277.60
   Alissa               Ishimaru                                  $48.61
   Pauline              Ishisaki                                  $50.30
   Atsushi              Ishizaki                                   $1.67
   Jennifer             Iso                                       $25.00
   Claudia              Isquith                                    $1.52
   Connie               Israel                                    $73.60
   Jen                  Israel                                     $1.11
   Jessie               Israel                                   $439.75
   Shayna               Israel                                   $200.00
   Lillian              Ito                                        $1.70
   Nathan               Itoga                                    $160.00
   Melissa              Itsara                                   $193.36
   Mehgan               Iulo                                       $3.61
   Lynda                Ivans                                     $13.84
   Monica               Ivanski Cruz                               $1.80
   Star                 Iverson                                   $30.00
   Lucas                Ives                                     $116.25
   Greg                 Ivry                                      $28.49
   Kyle                 Iwamoto                                    $5.35
   Ashley               Iwanaga                                    $8.95
   Jared                Iwata                                      $2.20
   Marla                Iwata                                     $17.54
   Navin                Iyengar                                  $100.00
   Seeta                Iyyer                                     $37.10
   Diego                Izaguirre                                 $45.65
   Gaby                 Izarra                                    $21.85
   Julie                Izor                                       $5.41
   Julie                Izor                                       $5.40
   Joe                  J                                         $50.00
   K                    J                                         $35.25
   Jahon                Jabali                                   $116.25
   Asiya                Jabbaar                                   $13.35
   Chris                Jacinto                                  $139.75
   Amanda               Jack                                      $21.90

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Blythe               Jack                                      $0.55
   Sarah                Jackel                                   $29.00
   Julie                Jackle                                    $6.85
   Ellen                Jackowski                                $57.51
   Franklin             Jacks                                  $100.00
   Lisa                 Jacks                                    $25.58
   Alicia               Jackson                                  $10.95
   Alison               Jackson                                  $64.20
   Amy Elisa            Jackson                                $230.55
   Burmaa               Jackson                                  $33.98
   Danielle             Jackson                                $166.50
   Deilia               Jackson                                  $22.25
   Jada                 Jackson                                  $50.00
   Jennifer             Jackson                                   $5.45
   Jennifer             Jackson                                   $6.86
   Jennifer             Jackson                                   $6.65
   Jessica              Jackson                                   $2.50
   Julie                Jackson                                  $58.11
   Lisa                 Jackson                                  $76.85
   Olivia               Jackson                                  $67.15
   Patrice              Jackson                                  $12.07
   Paul                 Jackson                               $1,050.93
   Rachel               Jackson                                $100.00
   Shelly               Jackson                                   $4.35
   Stephanie            Jackson                               $1,944.50
   Tammie               Jackson                                  $14.10
   Tracy                Jackson                                  $83.85
   Vicki                Jackson                                   $1.85
   Laura                Jacob                                    $50.00
   Noah                 Jacob                                     $9.80
   Beth                 Jacob-Files                               $1.09
   Cari                 Jacobs                                 $100.00
   Delois               Jacobs                                    $1.15
   Linda                Jacobs                                    $0.65
   Mickie               Jacobs                                 $100.00
   Sue                  Jacobs                                 $234.30
   Tim                  Jacobs                                 $150.00
   Taylor               Jacobsen                                 $50.00
   Avi                  Jacobson                                 $31.60
   Jen                  Jacobson                                  $0.30

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jennifer             Jacobson                                $8.20
   Joyce                Jacobson                               $26.10
   Michelle             Jacobson                               $39.99
   Nathan               Jacobson                               $10.65
   Shelley              Jacobson                               $68.15
   Whit                 Jacobson                                $9.60
   Lorna                Jacoby                                  $2.30
   Megan                Jacoby                                 $20.30
   Kathleen             Jacot                                 $145.05
   Daniel               Jacroux                                $25.00
   Elizabeth            Jadwin                                  $0.20
   Kristian             Jaech                                 $100.00
   Michelle             Jaeger                                $207.70
   Aj                   Jaegle                                $250.00
   Stacey               Jaehnig                                $31.30
   Shermineh            Jafarieh                                $0.75
   Maia                 Jaffe                                  $25.85
   Ron                  Jaffe                                   $2.05
   Dwight               Jaffee                                 $71.25
   Jacqueline           Jaffee                                $157.46
   Sahar                Jahani                                 $64.25
   Cindy                Jahans                                  $7.81
   Lindsay              Jaime                                  $47.80
   Becky                Jaimes                                $227.02
   Mayank               Jain                                    $0.95
   Neeta                Jain                                   $24.65
   Nidhi                Jain                                  $100.00
   Rishee               Jain                                  $156.16
   Sharad               Jain                                    $6.57
   Sheena               Jain                                    $4.60
   Stephanie            Jain                                   $50.00
   Viral                Jain                                   $95.67
   Rachel               Jaiven                                 $96.10
   Robin                Jakary                                 $38.35
   Felicia              Jalen                                 $210.52
   Sean                 Jalleh                                 $70.55
   Ashley               James                                  $25.67
   Chris                James                                  $50.00
   Chris                James                                 $100.00
   Christie             James                                  $85.65

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Danelle              James                                 $200.65
   Gary                 James                                 $100.00
   Jonathan             James                                  $48.85
   Kaaren               James                                  $30.55
   Kimberly             James                                  $60.05
   Michelle             James                                  $18.95
   Molly                James                                  $18.79
   Monique              James                                  $78.00
   Sarah                James                                   $0.70
   Sydney               James                                 $194.35
   Anneliese            Jameson                                $25.00
   Beth                 Jameson                                $35.00
   Nina                 Jameson                                $34.25
   Rolland              Janairo                                $53.05
   Leah                 Janczak                               $183.56
   Elisha               Jang                                    $1.25
   Grace                Jang                                   $16.24
   Kelly                Jang                                    $1.45
   Rita                 Jang                                   $12.30
   Marcine              Jansen                                 $28.35
   Nils                 Janson                                $144.55
   Nolan                Jantz                                  $49.60
   Sara                 Janzen                                 $24.20
   Amy                  Jaquette                                $2.04
   Lisa                 Jaquez                                $108.75
   Jenn                 Jaramillo                              $29.55
   Klint                Jaramillo                               $2.50
   Virginia             Jaramillo                              $27.10
   Maria                Jarkowiec                               $0.30
   Neil                 Jarman                                  $7.90
   M                    Jarmel                                 $26.45
   Colby                Jarrell                                 $5.48
   Nikki'S              Jarrett                                $34.20
   Brian                Jarvis                                 $10.35
   Sarah                Jarvis                                 $67.25
   Joy                  Jasko                                 $123.20
   Juggy                Jaspal                                  $3.75
   Hilary               Jauregui                               $50.00
   Caryn                Javinsky                               $67.15
   Beth                 Jawneh                                  $2.24

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Ray                  Jay                                      $46.60
   Elyse                Jayson                                  $152.35
   Jasmine              Jean                                    $100.00
   Laura                Jeanchild                                 $6.25
   Caroline             Jeannot                                   $0.30
   Sarah                Jebreil                                   $1.10
   George A             Jedenoff                                  $4.30
   Tracey               Jedrzejek                                 $3.30
   Anna                 Jee                                      $84.70
   Dan                  Jee                                      $67.47
   Janice               Jefferis                                  $0.45
   Emily                Jeffers                                   $6.15
   Jennifer             Jeffers                                   $1.95
   Ian                  Jefferson                                $18.25
   Jamie                Jefferson                                $49.31
   Moanalani            Jeffrey                                 $106.20
   Meera                Jegathesan                                $6.60
   Cari                 Jelen                                    $31.90
   David                Jen                                      $47.75
   Maria                Jenerik                                  $37.17
   David                Jeng                                      $0.90
   Michael              Jeng                                     $42.60
   Thomas               Jeng                                      $1.40
   Heather              Jenkin                                   $10.20
   Celsea               Jenkins                                   $6.01
   Colene               Jenkins                                   $0.10
   Greg                 Jenkins                                   $5.30
   Sara                 Jenkins                                  $94.80
   Stephanie            Jenkins                                 $104.75
   Lindsey              Jenkins-Stark                            $10.15
   Emma                 Jenner                                    $3.25
   Joanne               Jennings                                 $68.89
   Julia                Jennings                                 $60.75
   Mindy                Jennings                                  $9.20
   Nicole               Jennings                                 $53.44
   Sarah                Jennings                                  $0.56
   Susan                Jennings                                 $28.25
   Tracy                Jennings                                 $40.89
   Kari                 Jennings Parriott                        $67.70
   Alisha               Jensen                                   $34.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Cindy                Jensen                                 $31.60
   Cody                 Jensen                                  $0.65
   Darin                Jensen                                $159.82
   Deb                  Jensen                                 $17.75
   Erika                Jensen                                 $96.25
   Jacob                Jensen                                 $10.13
   Larsen               Jensen                                  $3.80
   Robert               Jensen                                  $4.35
   Sarah                Jensen                                  $8.95
   Kelly                Jenson                                 $39.35
   Yeji                 Jeon                                   $27.65
   Sandy                Jeong                                  $10.85
   Julia                Jermain                                 $1.76
   Meghan               Jernigan                               $29.19
   Kalyn                Jerome                                 $14.70
   Matt                 Jessell                               $200.00
   Anna                 Jesseman                              $119.89
   Johan                Jessen                                 $11.65
   Blau                 Jessica                                 $4.10
   Katrina              Jessoe                                 $24.80
   Marcus               Jessup                                $110.75
   Arlene               Jeung                                  $18.85
   Judy                 Jeung                                  $42.62
   Christopher          Jewell                                 $94.65
   Jeff                 Jez                                     $1.80
   Raj                  Jha                                    $32.85
   Sonakshi             Jha                                   $152.90
   Kate                 Jhaveri                               $100.00
   Pratik               Jhaveri                               $100.00
   Shareena             Jhinnu                                 $25.00
   Paul                 Jhun                                    $1.52
   George               Jiang                                   $6.30
   Yiqing               Jiang                                  $54.10
   Greta                Jibbensmith                           $129.45
   Andrei               Jimen                                   $2.65
   Heidi                Jimenez                               $250.00
   Rafael               Jimenez                               $100.00
   Samantha             Jimenez                               $100.00
   Maria                Jimenez Martin                          $8.95
   Elisabeth            Jimenez Pitts                          $13.75

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Jennifer             Jimenez-Cruz                              $80.00
   Samuel               Jin                                      $241.25
   Liji                 Jinaraj                                    $2.80
   Andrew               Jing                                     $100.00
   Andrei               Jingan                                     $1.16
   Jenn                 Jinhong                                    $3.97
   Salma                Jivan                                    $417.30
   Chelsea              Jividen                                   $21.00
   Amy                  Jizmagian                                $156.48
   Mi                   Jo                                         $0.70
   Blessing             Joao                                       $2.70
   Justin               Jobelius                                  $26.35
   Mary                 Joe                                       $54.60
   Casey                Joens                                     $19.95
   Neha                 Jogani                                   $184.85
   Shakeel              Jogia                                     $21.20
   Suvarna              Joglekar                                  $25.00
   Simi                 Johal                                     $50.00
   Robert               Johansen                                  $62.50
   Andy & Natalie       John                                       $1.90
   Jones                John                                      $55.25
   Linda                John                                      $45.00
   Erin                 Johns                                    $250.00
   Gavin                Johns                                     $33.55
   Christian            Johnsen                                   $85.15
   Laura                Johnsn                                    $24.87
   Aiyana               Johnson                                    $8.40
   Alicia               Johnson                                   $17.86
   Alissa               Johnson                                  $393.12
   Angela               Johnson                                   $21.95
   Ann                  Johnson                                   $20.90
   Barbara              Johnson                                    $1.02
   Brooke               Johnson                                   $19.60
   Carleigh             Johnson                                   $33.25
   Carolyn              Johnson                                  $173.82
   Cheryl               Johnson                                   $32.58
   Chris                Johnson                                    $8.95
   Christine            Johnson                                   $82.25
   Deborah              Johnson                                   $12.25
   Diane                Johnson                                    $6.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Drew                 Johnson                                $17.90
   Elizabeth            Johnson                                 $0.10
   Emmy                 Johnson                                $11.95
   Erica                Johnson                                 $0.11
   Evan                 Johnson                                $62.65
   Gini                 Johnson                                $50.00
   Jackie               Johnson                                $68.22
   Jacqueline           Johnson                                $50.00
   Joann                Johnson                                $18.40
   Kelly                Johnson                                 $0.95
   Kelly                Johnson                                 $4.80
   Kelsey               Johnson                                 $2.10
   Kevin                Johnson                                $50.05
   Kiki                 Johnson                                 $0.05
   Kimberly             Johnson                                $50.00
   Lindsay              Johnson                                 $0.70
   Lisa                 Johnson                                $11.86
   Madeleine            Johnson                                $27.06
   Malia                Johnson                                $27.60
   Mandy                Johnson                                $56.25
   Mariah               Johnson                                 $1.20
   Mark                 Johnson                                 $0.20
   Mattthew             Johnson                                 $1.25
   Monique              Johnson                                $13.15
   Parker               Johnson                                $26.13
   Philip               Johnson                                $60.00
   Priscilla            Johnson                               $116.96
   Regina               Johnson                                $26.70
   Rira                 Johnson                                 $8.55
   Rod                  Johnson                                $12.30
   Samantha             Johnson                                $50.00
   Sheryl               Johnson                               $397.91
   Steve                Johnson                                 $7.95
   Susan                Johnson                                $18.65
   Susan                Johnson                                 $1.35
   Tamra                Johnson                                $36.00
   Tim                  Johnson                                $18.05
   Victoria             Johnson                                 $1.80
   Wayne                Johnson                                 $1.35
   Zachary              Johnson                                 $5.45

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Angela               Johnston                              $128.55
   Carey                Johnston                               $64.40
   Casey                Johnston                               $80.68
   Chuck                Johnston                                $9.06
   Danielle             Johnston                                $4.70
   Dominique            Johnston                                $7.23
   Hilary               Johnston                               $14.20
   James                Johnston                               $46.20
   Kristen              Johnston                               $50.00
   Sally                Johnston                               $14.20
   Samantha             Johnston                               $73.65
   Shirley              Johnston                               $28.60
   Soyoung              Johnston                               $40.00
   Mary                 Johnstone                              $18.95
   John                 Joines                                 $23.45
   Emily                Jolliff                                $50.00
   Tiffany              Jon                                   $459.60
   David                Jonas                                   $5.15
   Robert               Jonas                                  $77.10
   Adrian               Jones                                   $7.55
   Amelia               Jones                                   $8.95
   Annah                Jones                                   $8.83
   Annie                Jones                                   $9.33
   Ariana               Jones                                 $135.50
   Belinda              Jones                                   $9.05
   Danielle             Jones                                   $2.75
   David                Jones                                 $100.00
   Deanna               Jones                                   $3.10
   Debbie               Jones                                 $281.88
   Elizabeth            Jones                                 $137.40
   Elizabeth            Jones                                   $0.85
   Evan                 Jones                                   $8.15
   Glenda               Jones                                 $184.55
   Irene                Jones                                 $220.52
   Jackie               Jones                                  $50.00
   Jackie               Jones                                   $5.60
   James                Jones                                 $100.00
   Janice               Jones                                   $8.80
   Janita               Jones                                   $8.85
   Jazzmine             Jones                                 $170.50

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jen                  Jones                                  $24.25
   Jennifer             Jones                                  $48.85
   Jessica              Jones                                  $14.00
   Jiggles And Jonesy   Jones                                  $54.00
   Jill                 Jones                                   $0.01
   Joy                  Jones                                  $72.38
   Julia                Jones                                   $7.58
   Kasey                Jones                                 $100.75
   Katherine            Jones                                 $150.00
   Kathy                Jones                                  $18.30
   Katie                Jones                                  $19.40
   Kori                 Jones                                  $30.20
   Kristin              Jones                                   $1.35
   Kyle                 Jones                                   $9.15
   Lauren               Jones                                  $58.35
   Lynette              Jones                                   $5.10
   Melinda              Jones                                   $9.90
   Melissa              Jones                                  $13.10
   Mike                 Jones                                  $21.72
   Miranda              Jones                                  $16.20
   Nichole              Jones                                   $8.95
   Norman               Jones                                  $85.00
   Paige                Jones                                  $18.15
   Samantha             Jones                                  $50.00
   Shawn                Jones                                   $3.15
   Susan                Jones                                  $82.60
   Suzannah             Jones                                   $3.07
   Tim                  Jones                                 $304.75
   Veena                Jones                                 $187.60
   Wendy                Jones                                   $7.15
   Sarah                Jones Wenzel                           $74.10
   Lindsay              Jones-Born                             $50.30
   Lindsey              Jones-Renaud                            $8.95
   Deyon                Jonson                                  $5.79
   Heather              Jonyla                                  $6.37
   Debbie               Joong                                   $5.70
   Kelly                Joost                                  $45.00
   Amanda               Jordan                                $150.00
   Anna                 Jordan                                 $37.95
   Annemieke            Jordan                                 $50.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Cecilia              Jordan                                     $0.25
   Dalel                Jordan                                     $5.10
   John                 Jordan                                     $0.25
   June                 Jordan                                     $7.30
   Kayte                Jordan                                     $1.40
   Matt                 Jordan                                     $8.70
   Petr                 Jordan                                   $122.36
   Robert               Jordan                                    $47.35
   Sara                 Jordan-Bloch                              $45.65
   Danny                Jorgensen                                $157.55
   Kelly                Jorgensen                                $200.00
   Benjamin             Joseph                                    $35.00
   Patrick              Joseph                                     $2.05
   Suhasini             Joseph                                    $77.00
   Ryan                 Josephson                                $119.00
   Erna                 Josiah Davis                              $54.30
   Andrea               Joslyn                                   $449.27
   Jade                 Jossen                                     $0.30
   Asha                 Jossis                                   $158.20
   Katrina              Journey                                   $10.25
   Shannon              Joyce                                     $30.40
   Emmanuelle           Joyeux                                     $3.50
   Kelli                Joyner                                    $59.00
   Alona                Joynt                                     $66.70
   Mindy                Ju                                        $61.35
   Paul                 Jubb                                       $8.30
   Claire               Juden                                     $21.80
   Abby                 Judge                                     $62.52
   Cailin               Judge                                      $1.50
   Sara                 Judge                                     $50.00
   Andrew               Judson                                    $64.20
   Eric                 Judson                                     $7.35
   Talia                Judson                                     $8.95
   L                    Jue                                       $19.85
   Miriam               Jue                                       $28.30
   Natasha              Jue                                       $89.45
   Kate                 Juergens                                  $17.20
   Cathy                Juhas                                     $13.20
   Joseph               Juiliano                                 $150.00
   Brian                Jun                                      $107.72

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Malika               Junaid                                  $19.40
   Charu                Juneja                                   $8.00
   Dana                 Jung                                    $18.03
   Danny                Jung                                    $15.45
   Ho                   Jung                                   $245.70
   Jen                  Jung                                    $62.15
   Jina                 Jung                                    $80.00
   Margaret             Jung                                    $50.57
   Shannen              Jung                                     $0.40
   Vicki                Jung                                   $144.05
   Melissa              Jungjareon                              $68.40
   Aimee                Jungman                                $202.30
   Stephanie            Junio                                  $136.15
   Mark                 Junod                                   $29.09
   Robert               Jupe                                    $42.45
   Hillary              Jurado                                  $34.85
   Jennifer             Juras                                    $1.70
   Kristen              Jurgens                                 $59.60
   Cristiana            Jurgensen                              $100.00
   Jennifer             Juster                                   $6.85
   Michael              Juster                                  $38.10
   Ami                  Justice                                  $5.03
   Ariane               Justus                                   $2.15
   Mounika              Juvvadi                                $163.80
   Andrei               K                                       $25.00
   Dmitri               K                                       $13.20
   Dmitri               K                                        $4.70
   Gene                 K                                        $0.60
   Jay                  K                                        $7.50
   Lars                 K                                       $17.07
   S                    K                                        $8.95
   Lea                  Kaai                                    $66.00
   Jessie               Kaarbo                                  $25.54
   Daniel               Kaatz                                    $1.35
   Aaron                Kabaker                                  $8.60
   Katie                Kabler                                 $142.65
   Vera                 Kachouh                                  $1.15
   Rachael              Kaci                                     $4.40
   Nicole               Kaczmarek                                $6.08
   Saritha              Kaderali                               $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jill                 Kadlec                                  $1.60
   Tom                  Kadlick                                 $2.30
   Jennifer             Kaefer                                 $83.55
   Colorado             Kagan                                  $29.90
   Ari                  Kahan                                  $19.81
   Rebecca              Kahlenberg                              $8.45
   Lin                  Kahmer                                 $50.00
   Erin                 Kahn                                    $2.30
   Hannah               Kahn                                  $100.00
   Jonathan             Kahn                                   $37.46
   Kathy                Kahn                                    $7.85
   Matthew              Kahn                                    $4.77
   Nicole               Kahn                                  $112.20
   Rebecca              Kahn                                    $1.75
   Nicki                Kahner                                  $7.50
   Tricia               Kaho                                    $3.05
   Ian                  Kai                                     $5.85
   Jill                 Kai                                     $0.05
   Chris                Kaimmer                               $107.76
   Natalie              Kaing                                   $0.75
   Aurora               Kaiser                                 $11.57
   Emily                Kaiser                                 $21.05
   Kristina             Kaiser                                 $15.20
   Amir                 Kakavand                                $0.05
   Karen                Kalaw                                  $45.10
   Megan                Kalberer                               $50.00
   Rachelle             Kaldani                                $27.65
   Diane                Kaldor                                 $34.15
   Clara                Kalin                                  $32.85
   Jeanne               Kalin                                  $19.05
   Navi                 Kalinsky                               $40.40
   Jason                Kalira                                  $3.75
   Savina               Kalkandzhieva                         $166.35
   Rebecca              Kallman                                $52.05
   Ted                  Kalmus                                 $11.54
   Lynna                Kalna                                   $4.55
   Ashley               Kaloper                                 $1.60
   Russell              Kaltschmidt                            $31.15
   Laura                Kalvass                                $46.15
   Kimberly             Kam                                    $74.01

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Rj                   Kamai                                    $1.80
   Dean                 Kamaka                                  $11.30
   Sachin               Kamdar                                   $8.95
   Rebecca              Kameny                                   $8.70
   Daniel               Kamerling                               $49.80
   Barry                Kami                                    $35.85
   William              Kami                                     $7.50
   Shervin              Kamkar                                  $81.30
   Lori                 Kammer                                 $250.00
   Jeff                 Kamminga                                $31.95
   Lars                 Kamp                                    $46.70
   Diana                Kampa                                    $0.60
   Melissa              Kanan                                   $92.40
   June                 Kanda                                    $6.88
   Ashley               Kane                                    $13.25
   Cindy                Kane                                     $1.95
   Lesley               Kane                                   $185.91
   Marilyn              Kane                                     $4.60
   Miranda              Kane                                    $25.26
   Nancy                Kane                                     $4.35
   Petyr                Kane                                    $34.35
   Veneta               Kanelakos                              $100.00
   Elaine               Kang                                     $8.95
   Grace                Kang                                    $16.13
   Irene                Kang                                    $17.55
   Jennifer             Kang                                     $1.43
   Jenny                Kang                                    $66.20
   Sang-Mo              Kang                                     $9.30
   Shinhyun             Kang                                     $8.95
   Weisi                Kang                                     $1.30
   Gerald               Kangelaris                              $22.25
   Dimple               Kanji                                   $11.45
   Kc                   Kanka                                   $61.55
   Emily                Kanter                                  $68.01
   Leslie               Kanter                                  $20.92
   Connie               Kao                                    $112.11
   Hsing-Chien          Kao                                      $1.49
   Kerry                Kao                                     $10.70
   Leslie               Kao                                     $50.00
   Marie                Kapella                                $250.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Brian                Kaplan                                 $925.70
   Edward               Kaplan                                  $69.80
   Emily                Kaplan                                  $43.42
   Evan                 Kaplan                                   $1.50
   Lauren               Kaplan                                 $184.70
   Nathalie             Kaplan                                  $17.08
   Noelle               Kaplan                                 $150.00
   Sally                Kaplan                                   $6.33
   Stevie               Kaplan                                  $73.60
   Jake                 Kaplove                                  $6.90
   Sam                  Kapon                                   $14.20
   Monica               Kapoor                                   $0.87
   H                    Karaa                                    $4.80
   Jason                Karageorge                              $22.80
   Mia                  Karamatsu                                $1.60
   Ljiljana             Karamujic                               $87.30
   Peter                Karel                                   $36.60
   Liz                  Karl                                     $0.20
   Sarah                Karlovic                                 $8.80
   Marina               Karmanova                                $0.05
   Brad                 Karmiol                                 $17.69
   Avinash              Karnani                                 $21.68
   Amanda               Karp                                    $10.56
   Erin                 Karp                                     $8.77
   Nathan               Karp                                    $18.65
   Nathan               Karp                                    $83.75
   Darcy                Karpman                                $200.00
   Alyx                 Karpowicz                               $11.25
   James                Karras                                  $12.11
   Alia                 Karrazzi                                $10.31
   Judee                Karson                                   $4.72
   Katie                Karstedt                                $24.39
   Richard              Karstens                                $26.35
   Doris                Karsznia                               $100.00
   Pamela               Kartha                                  $57.85
   Melissa              Kaseman                                  $9.55
   Jaya                 Kasibhatla                              $17.82
   Dmitry               Kasparov                                 $0.30
   Amanda               Kasper                                  $10.03
   Brent                Kasper                                  $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Helga                Kasperait                               $0.80
   Alison               Kaspersetz                             $55.00
   Sam                  Kaspick                                $14.52
   David                Kasprzak                              $100.00
   Amy                  Kasprzyk                               $14.15
   Kate                 Kasprzyk                                $0.09
   Barri                Kass                                    $2.63
   Jennifer             Kass                                   $38.55
   Kate                 Kassab                                 $14.20
   Peter                Kassakian                             $115.75
   Brian                Kasser                                  $9.95
   Jyldyz               Kasymova                                $0.97
   Anthony              Katchen                                $55.70
   Darren               Kato                                   $69.15
   Darryl               Kato                                   $12.90
   Jennifer             Kattula                               $250.00
   Benjamin             Katz                                   $17.25
   Charles              Katz                                   $80.00
   Daniel               Katz                                  $114.74
   Dominique            Katz                                   $47.20
   Francine             Katz                                   $22.92
   John                 Katz                                   $11.00
   Kaitlin              Katz                                   $50.00
   Kamala               Katz                                   $50.00
   Kathy                Katz                                    $8.10
   Michael              Katz                                    $1.00
   Ryley                Katz                                    $5.50
   Sarah                Katz                                   $80.00
   Shira                Katz                                   $12.60
   Sydney               Katz                                   $50.00
   Sam                  Katzen                                  $5.45
   Lauren               Katzman                                $19.80
   John                 Kauffman                               $59.51
   Kati                 Kauffman                              $112.70
   Lauri                Kauffman Damrell                       $39.80
   Allyson              Kaufman                                $15.10
   Julie                Kaufman                                $12.70
   Lisa                 Kaufman                                $34.20
   Lynne                Kaufman                                $15.95
   Mark                 Kaufman                                 $2.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Norma                Kaufman                               $171.95
   Rebecca              Kaufman                               $165.50
   Yoav                 Kaufman                                $20.65
   Eduardo              Kaufmann-Malaga                       $100.10
   Patricia             Kaussen                                 $0.20
   Sheila               Kautt                                  $14.70
   William              Kavanagh                                $8.95
   Moira                Kavanaugh                             $100.00
   Clay                 Kawabata                               $39.40
   Miles                Kawabe                                 $50.00
   Robbyn               Kawaguchi                               $4.80
   Patrick              Kawahara                               $17.70
   Kurt                 Kawai                                  $71.99
   Deborah              Kawamoto                               $99.20
   Karen                Kawasaki                                $9.07
   Kelli                Kawashima                             $185.40
   Mary Anne            Kawata                                $138.20
   Joshua               Kawinski                               $45.45
   Gina                 Kay                                    $56.55
   Katie                Kay                                     $0.60
   Elena                Kaye                                    $0.90
   Jeff                 Kaye                                   $47.00
   Jim                  Kaylor                                $100.00
   Haley                Kayser                                 $28.90
   Lisa                 Kayvon                                $114.15
   Hilary               Kazakoff                               $50.00
   Arina                Kazakova                               $80.00
   Keiko                Kazama                                $100.00
   Sondra               Kazama                                  $4.75
   Christina            Kazanjian                              $22.32
   Laura                Kazanovicz                             $44.78
   Darcy                Kazarian                                $0.85
   Andre                Kazevra                               $100.00
   Derrick              Kea                                    $35.40
   Jessica              Keach                                  $26.73
   Andrea               Keak                                   $35.15
   Brogan               Keane                                   $0.75
   Erica                Keane                                 $333.91
   Diane                Kearney                                 $0.40
   Paul                 Kearney                                $11.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Bonnie               Kearns                                   $0.85
   Brianna              Kearsley                               $103.05
   Jacquie              Keast                                    $5.75
   Andrea               Keathley                                 $1.65
   Carolyn              Keaton                                   $1.05
   Emily                Keats                                   $57.60
   Jessie               Keck                                    $79.15
   Kerrie               Kedley                                  $18.85
   Norman               Kee                                      $8.56
   Paula                Keebler                                 $80.20
   Rachelle             Keech                                    $4.30
   Erin                 Keefe                                   $21.40
   Crystal              Keeling                                 $40.10
   Dean                 Keenan                                   $5.20
   Dean                 Keenan                                  $14.30
   Joan                 Keenan                                   $0.20
   Meg                  Keene                                   $76.38
   Jennifer             Kehoe                                   $70.00
   Carly                Keidel                                  $23.15
   Casey                Keidser                                 $16.80
   Ken                  Keilman                                 $50.00
   Henriette            Keiser                                   $7.01
   Brenda               Keith                                  $172.10
   Christine            Kelder                                  $73.50
   Liz                  Keleher                                $133.95
   Andrew               Kellam                                  $80.00
   Danielle             Kellar                                  $12.45
   Don                  Kellar                                 $100.00
   Patrick              Kelleher                               $134.56
   Erica                Kellenbach                               $3.15
   Billy                Keller                                   $1.15
   Craig                Keller                                  $50.00
   Dawn                 Keller                                   $0.90
   Greg                 Keller                                   $2.01
   Janayi               Keller                                  $31.85
   Kelly                Keller                                  $55.90
   Tammy                Keller                                   $0.90
   Valorie              Keller                                  $21.45
   Meghan               Kellett                                 $50.00
   Ariel                Kelley                                 $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Cate                 Kellison                              $111.09
   Drew                 Kellner                                 $1.86
   Kathy                Kelloff                                $30.95
   Laura                Kellogg                                 $8.95
   Alison               Kelly                                   $5.00
   Andi                 Kelly                                  $50.05
   Andrew               Kelly                                   $3.95
   Candace              Kelly                                  $34.20
   David                Kelly                                  $50.00
   Erin                 Kelly                                   $0.92
   Jackie               Kelly                                   $2.89
   Jason                Kelly                                  $21.10
   Joshua               Kelly                                  $23.25
   Kara                 Kelly                                  $12.86
   Katherine            Kelly                                   $4.60
   Katherine            Kelly                                   $5.20
   Kevin                Kelly                                  $32.05
   Linda                Kelly                                  $50.00
   Lisa                 Kelly                                  $36.34
   Marilyn              Kelly                                  $66.25
   Michael              Kelly                                 $269.30
   Michelle             Kelly                                  $10.10
   Michelle             Kelly                                  $11.15
   Mike                 Kelly                                   $2.25
   Nancy                Kelly                                 $222.15
   Peter                Kelly                                  $22.37
   Richard              Kelly                                   $2.75
   S                    Kelly                                 $100.00
   Sean                 Kelly                                  $35.80
   Sharon               Kelly                                   $3.75
   Sarah                Kelmenson-Chau                         $19.70
   Jim                  Keltner                                 $0.90
   Hiromi               Kelty                                  $16.45
   Alice                Kembel                                  $0.45
   Katherine            Kemiji-Mcdonald                        $43.25
   Jocelyn              Kemly                                  $50.00
   Amy                  Kemmerer                                $8.35
   Erika                Kemmerer                              $250.00
   Andreas              Kemp                                  $190.40
   Gerri                Kemp                                   $13.58

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Margot               Kenaston                               $123.10
   Ananda               Kenboya                                  $0.85
   Erica                Kendall                                 $27.15
   Rich                 Kendall                                  $0.20
   Brian                Kendrella                               $27.15
   Erin                 Kendrew                                 $24.10
   Claire               Kendrick                               $162.22
   Sook                 Kendziora                                $1.82
   Heidi                Keng                                    $16.77
   Kathryn              Kenna                                  $250.00
   Anthony              Kennada                                $212.20
   Kathy                Kennady                                 $27.70
   Kristen              Kennady                                 $18.20
   Bess                 Kennedy                                 $50.00
   Brenda               Kennedy                                 $91.60
   Caitlin              Kennedy                                  $0.85
   Colleen              Kennedy                                 $41.25
   Courtney             Kennedy                                 $20.35
   Dermot               Kennedy                                 $23.50
   Jeffrey              Kennedy                                 $12.10
   Kristi               Kennedy                                  $0.35
   Lea                  Kennedy                                 $50.00
   Lisa                 Kennedy                                $141.10
   Maggie               Kennedy                                $100.00
   Michele              Kennedy                                $191.21
   Sam                  Kennedy                                 $28.91
   Stephanie            Kennedy                                  $1.50
   Celine               Kennelly                                $10.50
   Sharon               Kennett                                  $4.05
   Sandy                Kenney                                  $68.40
   Jennifer             Kenny-Baum                               $2.50
   Cara                 Kensinger                               $50.00
   Kathy                Kensinger                                $9.93
   Anita                Kent                                    $13.75
   Emily                Kent                                    $61.20
   Margot               Kent                                     $6.10
   Mele                 Kent                                    $70.55
   Nancy                Kent                                   $130.63
   Sarah Brigid         Kent                                    $18.16
   Karina               Kentsis Henriquez                        $2.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kelsy                Kenworthy                               $41.10
   Mike                 Keohane                                  $0.90
   Joshua               Keough                                   $2.50
   Kathryn              Keown                                    $1.75
   Pat                  Kepler                                  $89.11
   Brian                Kepp                                    $63.37
   Courtney             Keppler                                 $34.76
   Paul                 Keppler                                $166.60
   Anita                Ker                                      $1.05
   Raija                Keranen                                 $50.00
   Matt                 Kerber                                  $22.60
   Michelle             Kerby                                   $50.00
   Becky                Kerman                                   $3.49
   Diane                Kern                                    $20.00
   Emily                Kern                                    $50.00
   Georgia              Kern                                    $17.25
   Leila                Kern                                    $63.55
   Michelle             Kern                                     $8.65
   Trisa                Kern                                    $22.10
   Christine            Kernaghan                               $64.40
   Alexander            Kernbaum                                 $1.00
   Serafina             Kernberger                              $27.90
   Florence             Kerns                                    $1.11
   Christine            Kerr                                    $61.00
   Duncan               Kerr                                    $43.79
   Hillary              Kerr                                     $4.45
   Michelle             Kerr                                   $250.00
   Marc                 Kerrest                                 $50.00
   Carmen               Kerschbaum                               $0.65
   Jessica              Kershner                                $25.15
   Madhuri              Keshavarao                               $0.65
   Rose                 Keshishian                               $0.35
   Amanda               Kesich                                   $8.05
   Andrea               Kessel                                  $30.00
   Maria                Kessides                                $89.25
   Nancy                Kessler                                $292.65
   Sarah                Kessler                                 $21.60
   Steve                Kessler                                 $29.90
   Yuval                Kesten                                  $35.30
   Lisa                 Kester                                   $9.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Janet                Ketchum                                $61.35
   Nicole               Ketterman                               $8.40
   Katie                Keuleman                              $100.00
   Bonnie               Keung                                  $64.01
   Tony                 Keung                                  $52.75
   Melsha               Key                                   $100.00
   Star                 Key                                     $0.30
   Whitney              Keyes                                 $100.00
   Carol                Keys                                   $93.21
   Gregory              Keys                                    $0.50
   John                 Keys                                   $12.20
   Anna                 Keyser                                 $31.75
   Andrew               Khalili                                $29.60
   Olivia               Khalili                                $12.45
   Guru                 Khalsa                                  $0.45
   Areeb                Khan                                    $1.30
   Azam                 Khan                                    $0.41
   Jessica              Khan                                   $50.00
   Julia                Khan                                    $3.20
   Kiren                Khan                                  $100.00
   Noor                 Khan                                    $6.35
   Sabha                Khan                                   $89.30
   Samia                Khan                                    $9.10
   Satya                Khan                                   $20.90
   Sheena               Khanchandani                           $19.20
   Sohail               Khanifar                                $7.75
   Mahera               Khanshab                               $36.15
   Rebekah              Kharrazi                                $1.85
   John                 Khawam                                 $27.20
   Amita                Khazanie                               $21.00
   Billy                Kheir                                  $84.66
   Mike                 Kheir                                  $53.30
   Gagan                Khela                                   $4.95
   Christopher          Khodadadian                           $207.65
   Shaheen              Khosla                                $127.60
   Linda                Khoury-Umili                           $98.30
   Hala                 Khuri                                  $45.10
   Olga                 Khylkouskaya                           $27.15
   Jacqueline           Kiang                                 $209.65
   Robin                Kibby                                  $24.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   John                 Kibre                                   $50.00
   Raabia               Kibriya                                  $0.10
   Jaime                Kidd                                   $122.53
   Jd                   Kidder                                 $203.70
   Emily                Kidwell                                 $60.10
   Jyri                 Kidwell                                 $74.70
   Andrea               Kiefer                                  $44.05
   Debbie               Kiefer                                  $37.15
   Matthew              Kiefer                                   $1.55
   Andrew               Kiehl                                    $1.60
   Julie                Kielman                                 $42.55
   Kelly                Kiernan                                 $50.00
   Kelly                Kierstead                               $38.86
   Michael              Kiesel                                  $18.73
   Audra                Kiewiet De Jonge                        $75.75
   Patty                Kihm                                    $24.70
   Kyle                 Kilat                                  $199.00
   Gwendolyn Constant   Kilgour                                 $32.20
   Melissa              Kilkuskie                               $15.65
   Morgan               Kille                                    $8.18
   Mary                 Killen                                   $4.25
   Dorothy              Killian                                  $0.07
   Doug                 Killin                                  $25.55
   Victoria             Killmar                                  $1.05
   Dori                 Kilmer                                  $94.05
   Ann                  Kim                                     $75.00
   Anne                 Kim                                     $22.48
   Beatrice             Kim                                      $3.85
   Bruce                Kim                                     $31.15
   Catherine            Kim                                      $1.20
   Cathy                Kim                                    $100.00
   Cham                 Kim                                      $0.80
   Chang                Kim                                     $71.55
   Chris                Kim                                     $72.90
   Christina            Kim                                     $40.25
   Christy              Kim                                     $17.08
   Daniel               Kim                                    $100.00
   David                Kim                                      $0.66
   Deanna               Kim                                     $12.08
   Deborah              Kim                                     $38.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Diana                Kim                                    $35.35
   Elaine               Kim                                    $14.78
   Eric                 Kim                                    $50.00
   Eun                  Kim                                    $59.25
   Evelyn               Kim                                    $39.43
   Grace                Kim                                     $0.45
   Heaven               Kim                                    $62.20
   Hera                 Kim                                    $16.55
   Hong Kwon            Kim                                     $1.60
   Hyeok                Kim                                   $300.00
   James                Kim                                    $24.30
   Janice               Kim                                    $27.65
   Jean H               Kim                                     $2.15
   Jenny                Kim                                    $50.00
   Jess                 Kim                                    $50.00
   Jihee                Kim                                     $6.00
   John                 Kim                                     $1.16
   Judy                 Kim                                    $37.10
   Judy                 Kim                                     $2.60
   Juhee                Kim                                    $74.79
   Julie                Kim                                    $83.20
   Jullia               Kim                                    $13.80
   June                 Kim                                    $30.95
   Kathleen             Kim                                    $14.50
   Kaya                 Kim                                     $0.05
   Kei                  Kim                                     $0.30
   Kiyun                Kim                                    $20.65
   Leslie               Kim                                    $39.15
   Marie                Kim                                     $2.60
   Mia                  Kim                                   $139.36
   Michael              Kim                                   $124.60
   Natalie              Kim                                    $65.70
   Peter                Kim                                     $0.35
   Rien                 Kim                                     $0.53
   Rubin                Kim                                   $100.00
   Sally                Kim                                    $79.60
   Sarah                Kim                                    $25.00
   Sharon               Kim                                    $21.48
   Sophie               Kim                                    $52.70
   Steven               Kim                                   $161.62

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Su                   Kim                                    $65.34
   Suejin               Kim                                    $33.00
   Susan                Kim                                    $40.00
   Susan                Kim                                    $42.25
   Suyun                Kim                                    $12.70
   Tae                  Kim                                    $81.35
   Terry                Kim                                     $2.95
   Tim                  Kim                                    $76.10
   Tom                  Kim                                   $100.00
   Traci                Kim                                    $38.00
   Tracie               Kim                                     $7.36
   Yoon                 Kim                                    $73.07
   Young                Kim                                     $4.57
   Mary                 Kimball                               $156.82
   Moira                Kimball                                $50.00
   Rosina               Kimball                                $46.40
   Sara                 Kimball                                $25.85
   Michael              Kimbarow                               $10.65
   Y. Alice             Kim-Bundy                             $100.00
   Krystina             Kimes                                  $50.00
   Kelsey               Kimura                                  $2.29
   Kimberlee            Kimura                                $100.00
   Laura                Kimura                                 $35.65
   Bettina              Kina                                    $0.01
   Benjamin             Kincaid                                 $7.95
   Katherine            Kincaid                                 $3.70
   Oscar                Kincaid                                $66.20
   Shane                Kinder                                 $42.71
   Krista               Kiner                                  $30.60
   Angela               King                                   $30.00
   Craig                King                                   $20.60
   Dixie                King                                   $50.00
   Emily                King                                   $56.70
   Jaime                King                                   $22.70
   Jessica              King                                    $1.15
   Jon                  King                                   $21.80
   Kristian             King                                  $100.00
   Mclain               King                                   $10.15
   Sharell              King                                  $130.10
   Tom                  King                                   $16.40

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Kelly                King French                               $17.85
   Sophia               Kingman                                  $250.00
   Jessica              Kingrey                                   $18.10
   Amy                  Kingsley                                  $14.55
   Lora                 Kingston                                   $8.95
   Anna                 Kinney                                   $100.00
   Chari                Kinney                                    $37.12
   Wayne                Kinney                                    $18.18
   Leiana               Kinnicutt                                 $31.50
   Rachel               Kinnon                                    $23.15
   Jeffrey              Kinnunen                                  $49.47
   Rebecca              Kinsella                                 $219.55
   Lisa                 Kinser                                     $0.15
   Assaf                Kipnis                                     $0.06
   Kara                 Kipp                                      $47.80
   Amelia               Kirby                                      $5.70
   Brittany             Kirby                                      $7.60
   Georgia              Kirby                                      $8.95
   Jamie                Kirby                                      $0.40
   John Brian           Kirby                                      $4.60
   Karen                Kirby                                     $18.80
   Kellie               Kirby                                     $24.45
   Marianne             Kirby                                    $167.05
   Michele              Kirby                                     $25.70
   Catherine            Kirbyson                                  $23.15
   Lary                 Kirchenbauer                               $1.40
   Chris                Kirchoff                                  $50.00
   Dimitri              Kirimis                                    $0.05
   Carol                Kirk                                     $140.15
   Philip               Kirk                                     $126.60
   Marleen              Kirkorian                                 $70.25
   Bonnie               Kirkpatrick                              $145.20
   Nicole               Kirkpatrick                              $222.85
   Michelle             Kirkwood                                 $131.80
   Kim                  Kirley                                    $24.38
   Lisa                 Kirlick                                   $13.60
   Story                Kirshman                                  $28.40
   Rachel               Kirsten                                  $130.00
   Vernon               Kirton                                    $33.30
   Erica                Kishi                                     $45.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Emmy                 Kishida                                 $49.00
   Annie                Kishiyama                               $62.15
   Sarah                Kislak                                   $6.20
   Ingrid               Kismarton                               $50.00
   Beth                 Kita                                    $61.75
   Barbara              Kitagawa                                 $0.30
   Brenda               Kitagawa                                 $8.95
   Kelly                Kitagawa                                $76.10
   Tomoyo               Kitagawa                               $100.00
   Kim                  Kitano                                  $16.20
   Stan                 Kitashima                               $35.17
   Betty                Kitazumi                                 $1.95
   Andrew               Kitchell                                $50.00
   Erin                 Kitchell                                $12.60
   Robin                Kittrelle                               $13.70
   Amy                  Kivnick                                 $49.20
   Kristi               Kiyonaga                                 $0.35
   Deena                Klaber                                 $100.00
   Elissa               Klaczynski                              $25.21
   Vicki                Klapper                                 $71.20
   Jimmy                Klapperich                               $1.20
   Robyn                Klapperich                              $19.20
   Katrina              Klaproth                               $174.63
   Ed                   Klar                                    $36.05
   Haley                Klarfeld                                 $8.15
   Alisha               Klatt                                   $50.00
   Jeff                 Klatt                                   $50.00
   Elizabeth            Kleban                                  $10.73
   Joanne               Klebe                                    $0.40
   Melisa               Klei                                    $50.00
   Caroline             Kleiman                                 $15.30
   Aaron                Klein                                   $13.60
   Alex                 Klein                                   $38.10
   Andrew               Klein                                    $6.22
   Casandra             Klein                                   $13.05
   Christina            Klein                                    $0.05
   David                Klein                                    $1.96
   Evan                 Klein                                    $4.73
   Heather              Klein                                    $8.00
   Heather              Klein                                    $9.18

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Jill                 Klein                                    $235.45
   Linda                Klein                                     $50.45
   Lloyd                Klein                                     $21.55
   Rebecca              Klein                                      $1.36
   Robbie               Klein                                     $52.21
   Suzy                 Klein                                      $1.05
   Teri                 Klein                                      $5.75
   Alana                Kleinberger                                $3.50
   Sarah                Kleiner                                   $19.15
   Carol                Kleinhubert                               $87.34
   Aaron                Kleinman                                  $28.64
   Lisa                 Kleinman                                  $89.28
   Marie                Klemchuk                                  $10.25
   Paula                Klemens                                   $47.85
   Taylor               Klessens                                   $2.04
   Juliet               Kletz                                     $20.77
   Leigh                Klibowitz                                 $70.85
   Leigh                Klibowitz                                  $8.95
   Rebekah              Kliewer                                   $50.00
   Sam                  Kligman                                  $116.35
   Vlad                 Klikfeld                                  $19.60
   Jennifer             Klimas                                     $9.10
   Sasha                Klimczak                                 $160.11
   Zita                 Kline                                     $10.35
   Devon                Klinefelter                                $8.80
   Matthew              Klinkel                                   $22.15
   Ken                  Klinner                                  $131.65
   Rachel               Klipp                                     $23.60
   Angela               Klipsch                                   $19.18
   Noah                 Klocek                                    $40.50
   Louann               Klopfenstein                             $100.00
   Margarita            Kloss                                     $42.75
   Bree                 Klotter                                    $4.10
   Betsy                Kluck-Keil                                 $1.16
   Annouchka            Klug                                      $17.50
   Ezra                 Klug                                      $28.02
   Bryan                Knaak                                      $0.05
   Roberta              Knabben                                   $17.40
   Joanna               Knabe                                      $1.25
   Ken                  Knapp                                      $7.42

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   Tayor                Knapp                                  $100.00
   Jocelyn              Knauf                                    $1.85
   Gillian              Kneass                                  $28.25
   Caleb                Knedlik                                 $31.10
   Syd                  Knee                                    $48.75
   Jennifer             Knestrick                               $15.45
   Kirstin              Knezevich                              $176.30
   Marissa              Knezevich                               $37.55
   Brooke               Knight                                   $7.20
   Catherine            Knight                                  $18.95
   Emily                Knight                                  $68.75
   Erin                 Knight                                   $0.70
   Jamily               Knight                                   $7.71
   Kim                  Knight                                  $33.85
   Lynn                 Knight                                   $1.45
   Monica               Knight                                  $73.74
   Tommie               Knight                                   $0.35
   Sarah                Knize                                  $150.00
   Anne-Marie           Knokey                                   $8.95
   Hadrian              Knotz                                    $0.18
   Christine            Knouse                                   $0.56
   Maddie               Knowland                                $61.25
   Jamie                Knowles                                  $5.65
   Kimberly             Knowles                                 $51.70
   Dave                 Knox                                    $36.15
   Richard              Knox                                     $3.55
   Darryl               Knudsen                                 $56.87
   Kris                 Knudsen                                 $14.10
   Arlon                Knudson                                  $2.90
   Lindsey              Knudten                                  $1.65
   Ken                  Knutsen                                 $14.40
   Emily                Knutson                                  $4.90
   Jennifer             Knutson                                  $2.40
   Kirsten              Knutson                                  $0.59
   Dimitry              Knyajanski                               $3.56
   Amanda               Ko                                      $55.20
   Andrew               Ko                                      $50.00
   Christine            Ko                                     $142.95
   David                Ko                                     $107.05
   Keiko                Ko                                       $0.90

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Lorraine             Ko                                      $100.00
   Oscar                Ko                                        $0.15
   Anna                 Kobayashi                                 $2.65
   Laura                Kobroff                                   $5.03
   Phillip              Kobylanski                               $45.05
   Kathryn              Kobza                                   $149.10
   Amy                  Koch                                     $47.60
   David                Koch                                      $1.40
   Neil                 Koch                                     $19.05
   Rebecca              Koch                                      $1.35
   Stewart              Koch                                      $6.94
   Thierry              Kocher                                    $7.85
   Julia                Kochi                                    $44.15
   Carl                 Kocis                                     $8.91
   Hedy                 Koczwara                                $499.90
   Rebekka              Kodama                                    $3.85
   David                Kodinsky                                  $8.65
   Catherine            Kodish                                   $41.14
   Julie                Koegler                                 $108.90
   Karen                Koehler                                 $132.15
   Lindsay              Koehler                                   $2.72
   Samantha             Koehn                                    $21.60
   Kristin              Koelzer                                  $11.25
   Lyle                 Koenig                                    $0.70
   Stefan               Koenig                                  $146.90
   Lisa                 Koester                                   $4.49
   Esther               Koetter                                 $195.30
   Samantha             Kofler                                    $2.99
   Lin                  Koh                                     $222.90
   Shiyan               Koh                                     $107.80
   Renate               Kohl                                     $32.35
   Karin                Kohlberger                               $50.20
   Raymun               Kohli                                    $19.65
   Courtenay            Kohlman                                  $50.00
   Melissa              Kohlmeister                              $85.85
   Catharina            Koh-Mollet                                $0.25
   Brett                Kohn                                     $72.15
   Robert               Kohn                                     $31.65
   Ali                  Koide                                     $0.54
   Dale                 Koistinen                                $11.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kaitlyn              Kojian                                   $0.90
   Elizabeth            Kok                                     $22.75
   Deedee               Koker                                  $500.00
   Sharisse             Kokernak                                $30.40
   Anne                 Kolar                                    $5.20
   Linda                Kolar                                  $131.95
   Jordan               Kolasinski                              $53.65
   Joanna               Kolbuc                                   $0.15
   Kia                  Kolderup-Lane                            $4.55
   Danielle             Kolesnik                               $200.00
   Becky                Koliboski                               $87.43
   K. Pallav            Kolli                                  $117.20
   Erin                 Kollings                                 $0.60
   Sherri               Kolodny                                  $0.75
   Chris                Kolstad                                $350.00
   Athena               Kolze                                  $118.96
   Amelia               Komp                                    $30.00
   Harry                Komsky                                 $176.10
   Jennifer             Kong                                     $0.71
   Jennifer             Kong                                    $95.70
   Margot               Kong                                    $81.25
   Maryann              Kongovi                                 $62.35
   Stephanie            Konstan                                 $11.90
   Elana                Konstant                                 $2.30
   Lisa                 Konstantinidis                          $75.00
   Steven               Kontz                                   $12.20
   Michael              Konwiak                                 $22.65
   Kiki                 Koo                                      $2.10
   Peter                Koo                                     $99.21
   Emily                Kook                                    $60.00
   Matt                 Kooy                                   $134.63
   Katerina             Kopacheva                                $2.60
   Alexa                Kopel                                    $3.89
   Brenda               Kopf                                    $37.95
   Rocky                Koplik                                  $12.20
   Amy                  Kopp                                   $100.00
   Rochelle             Kopp                                    $83.89
   Abbe                 Kopra                                  $139.46
   Bo                   Koralage                                $79.10
   Mike                 Koran                                   $40.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Rob                  Koran                                    $356.29
   Kimberley            Korf                                       $0.08
   Robert               Korman                                    $22.86
   Ashley               Korn                                      $65.97
   Barbara              Korn                                     $141.36
   Greg                 Korn                                      $19.15
   Jonathan             Korn                                      $85.91
   Willard              Korn                                      $77.80
   Jessie               Kornberg                                   $0.46
   Josh                 Kornblit                                  $86.95
   Mark                 Kornblum                                   $9.77
   Mike                 Kornder                                    $7.95
   Lori                 Korngiebel                                $39.31
   Anna                 Korolev                                   $50.00
   Brittany             Korona                                   $150.00
   Iris                 Korovesi                                  $68.40
   Katherine            Korpi                                      $1.26
   Jonathan             Kort                                     $166.40
   Rachel               Kort                                      $11.53
   Angeline             Korzeniewski                               $3.30
   Rita                 Koschnick                                 $50.00
   Patricia             Kosich                                    $69.95
   James                Kosinski                                 $100.00
   Carol                Koski                                      $0.60
   Haroula              Kosmatos                                  $32.57
   Bianca               Kosoy                                      $0.10
   Jordan               Koss                                      $50.00
   Melissa              Koss                                      $34.60
   Nathan               Kostal                                   $232.20
   Eben                 Kostbar                                    $2.00
   Joshua               Kostic                                    $16.10
   Tiana                Kostic                                   $177.55
   Maria                Koston                                    $50.00
   Michael              Kotch                                      $7.25
   Kevin                Kotecki                                   $50.00
   Aparna               Kothary                                   $44.05
   Stephan              Kotin                                     $50.00
   Gillian              Kotlen                                    $52.22
   Jessica              Kotler                                    $23.65
   Simon                Kotler                                     $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Phil                 Kotzan                                $205.93
   Daniel               Kotzin                                  $0.20
   Karina               Kou                                     $6.70
   Michelle             Kouis                                   $1.50
   Anton                Koukareko                              $74.15
   Denis                Kourakin                                $1.55
   Cecilia              Kourtis                                $12.75
   Nathan               Kovach                                  $0.85
   Fred                 Kovar                                  $49.78
   Chris                Kovarik                               $407.78
   Dinno                Kovic                                  $38.05
   Anna                 Kovinsky                               $62.50
   Elizabeth            Kowal                                   $1.80
   Hamila               Kownacki                                $3.95
   Kelly                Kozak                                  $12.20
   Panos                Kozanian                               $31.25
   Donna                Kozel                                  $47.35
   Peter                Kozodoy                               $124.01
   Debbie               Krackeler                             $100.00
   Maxine               Kraemer                                $22.05
   Toni                 Kraeva                                 $50.41
   George               Kraft                                  $34.90
   John                 Kraft                                  $27.00
   Lisa                 Kraft                                  $50.00
   Miriam               Kragness                                $1.65
   Niva                 Kramek                                 $41.03
   Dana                 Kramer                                 $77.45
   Johanna              Kramer                                  $1.08
   Katherine            Kramer                                 $11.25
   Margaret             Kramer                                  $0.65
   Monika               Kramer                                 $43.95
   Sara                 Kramer                                $116.20
   Susan                Kramer                                  $6.00
   Ivy                  Kramp                                  $46.38
   Arthur               Krantz                                 $20.30
   Margaret             Kranyak                                $24.70
   Jennifer             Krasner                                $54.70
   Jonathan             Krasnow                                $45.05
   Alexander            Krassner                               $15.16
   Leslie               Kraus                                  $10.09

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Amelia               Krause                                    $42.85
   Luba                 Kravchenko                                $22.30
   Marissa              Krecker                                    $1.86
   Jason                Krefetz                                   $32.80
   Dan                  Kreiter                                    $2.45
   Kristin              Krem                                       $0.80
   Erin                 Kretzer                                   $11.35
   Delecia              Krevet                                   $293.30
   Daniel               Krewson                                  $419.06
   Colleen              Kreyling                                   $1.10
   Sam                  Krieg                                     $82.85
   Jeffrey              Kriege                                    $29.15
   Tuffy                Kriegel                                  $100.00
   Allison              Krieger                                    $0.79
   Karen                Krieger                                   $19.56
   Katherine            Krieger                                   $11.80
   Chad                 Kriger                                    $34.55
   Debra                Krikorian                                 $16.10
   Antony               Krilis                                     $0.65
   Michael              Krilivsky                                $151.31
   David                Krippendorf                              $213.64
   Rachel               Krisbergh                                $174.80
   Priya                Krishnakumar                              $49.30
   Chloe                Krishnamurty                               $7.85
   Ratika               Krishnamurty                              $56.37
   Veena                Krishnan                                  $59.65
   Alan                 Kristal                                   $67.35
   Elizabeth            Krivatsy                                  $50.00
   Sheri                Kroeter                                   $26.43
   Elizabeth            Krojansky                                  $8.95
   Oren                 Kroll-Zeldin                              $16.65
   Kate                 Kronish                                   $12.65
   Amy                  Kronk                                     $45.80
   Michael              Kross                                      $0.70
   Kara                 Kroupa                                    $33.20
   Gretchen             Krueger                                  $141.65
   Jim                  Krueger                                   $45.05
   Matt                 Krueger                                   $50.00
   Matthew              Krueger                                   $15.50
   Guy                  Krug                                      $42.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Michaele             Kruger                                $100.00
   Ksenia               Kruglyanskaya                           $3.55
   Laura                Kruizenga                              $30.00
   Liz                  Krukowski                             $200.00
   Tommy                Krul                                   $36.40
   Eliana               Krulig                                 $50.00
   Linda                Krull                                  $16.08
   Michael              Krumboltz                              $67.80
   Alexis Leigh         Krup                                   $14.10
   Dmitri               Krupnov                                 $8.95
   Jessa                Krycler                                $48.05
   George               Ku                                     $43.15
   Sandy                Kuang                                  $43.15
   Michael              Kubalik                                $40.80
   Laura                Kubba                                 $116.20
   Justin               Kubiak                                $250.00
   Meghan               Kubota                                 $24.68
   John                 Kucera                                  $4.15
   Jon                  Kuchenreuther                          $81.15
   Adi                  Kucheria                                $8.95
   Monica               Kuchinski                              $44.50
   Rick                 Kuchler                                $22.30
   Wendy                Kudritzki                              $45.35
   Don                  Kuehn                                  $21.21
   Pier                 Kuehn                                  $10.82
   Jeff                 Kuei                                   $26.40
   Iris                 Kufert-Rivo                             $0.73
   Patrick              Kuga                                  $100.00
   Settla               Kugonza                                $50.00
   Laura                Kuhlemann                               $7.90
   Mike                 Kuhlen                                $203.60
   Georgiana            Kuhlmann                               $44.60
   Lisa                 Kuhn                                    $6.00
   Paula                Kuhn                                   $10.07
   Megan                Kuiken                                $100.00
   Alexandra            Kuizenga                                $1.15
   Lisa                 Kulak                                 $146.25
   Lindsey              Kull                                    $8.76
   Claudia              Kumai                                   $2.60
   Cindy                Kumar                                 $250.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Debra                Kumar                                  $151.42
   Rohini               Kumar                                   $44.75
   Shalin               Kumar                                   $27.13
   Veena                Kumar                                   $42.70
   J                    Kun                                    $180.45
   Marc                 Kunen                                   $43.98
   Deanna               Kung                                    $83.20
   Michelle             Kung                                     $0.39
   Teresa               Kung                                   $100.00
   Joseph               Kunihira                                 $1.35
   Gretchen             Kunitz                                  $59.45
   Eleanor              Kunkel                                 $102.60
   Josh                 Kunz                                    $92.95
   Harry                Kunze                                   $20.00
   Rose                 Kunze                                    $3.65
   Angela               Kuo                                    $114.30
   Annie                Kuo                                    $100.00
   Chia-Chien           Kuo                                    $100.00
   Flora                Kuo                                    $315.30
   Jason                Kuo                                     $84.60
   Meifang              Kuo                                    $100.00
   Adam                 Kuperman                                $86.20
   Anna                 Kuramoto                                 $6.55
   Shirley              Kuramoto                                $48.05
   Lianne               Kurina                                   $0.20
   Arthur               Kurkov                                 $100.22
   Jordan               Kurland                                 $14.15
   Jeff                 Kurn                                    $37.36
   Michal               Kuron                                  $170.55
   Emiko                Kurotsu                                 $21.75
   Justin               Kurpius                                $250.00
   Logan                Kursh                                   $16.35
   Eric                 Kurtz                                    $8.95
   Heather              Kurtz                                   $10.28
   Amy                  Kurz                                     $8.95
   Nick                 Kusanovich                              $66.85
   Laura                Kush                                    $17.00
   Zack                 Kushner                                  $0.50
   Amber                Kuss                                    $27.15
   Beverly              Kussy                                    $1.75

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Roberta              Kuszel                                   $63.31
   Danielle             Kuykendall                               $75.00
   Elena                Kuzmina                                 $104.96
   Alina                Kwak                                     $10.20
   Lj                   Kwak                                     $69.60
   Jessica              Kwalick                                  $42.55
   Angela               Kwan                                     $61.75
   Helen                Kwan                                     $27.10
   Michael              Kwan                                    $120.85
   Mindy                Kwan                                      $7.70
   Terence              Kwan                                    $325.56
   Tricia               Kwan                                     $13.10
   Wendy                Kwan                                      $6.26
   Ju-Kay               Kwek                                      $3.95
   Thom                 Kwiatkowski                              $76.75
   Melissa              Kwon                                    $114.55
   Nara                 Kwon                                     $80.35
   Paul                 Kwon                                     $10.20
   Angie                Kwong                                     $0.65
   Bernice              Kwong                                     $0.20
   Hanson               Kwong                                    $97.05
   Henry                Kwong                                     $4.25
   Lily                 Kwong                                     $0.36
   Sandy                Kwong                                   $100.20
   Shumay               Kyi                                      $52.80
   Lora                 Kyle                                    $100.00
   Kimberly             Kyllo                                   $276.40
   Kim                  Kypri                                     $8.95
   Mila                 Kyriacou                                 $50.10
   Tom                  Kysar                                     $8.05
   B                    L                                        $14.41
   Elaine               L                                         $0.70
   Joan                 L                                         $1.90
   K                    L                                         $2.25
   Lawrence             L                                       $216.45
   Lilian               L                                        $30.15
   Ryan                 L                                        $50.00
   Phillip              L:Ev                                    $245.15
   Nancy And Don        La Bash                                   $6.79
   Rosanne              La Force                                 $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   David                La France                             $135.10
   Daryn                Labier                                  $1.85
   Cassandra            Labouff                               $250.00
   Alan                 Labowitz                                $1.95
   Gilbert              Labrucherie                           $355.10
   Location             Labs                                    $0.01
   Mary                 Lacasse                                 $5.50
   Ericka               Lacayo                                $117.65
   Brooke               Lacey                                  $48.90
   Katie                Lacey                                  $52.04
   Mark                 Lacey                                 $100.00
   Jp                   Lachance                              $139.85
   Kathryn              Lachenmaier                           $121.08
   Mom                  Lachica                                $23.65
   Agnieszka            Lachuev                                $18.65
   Kelly                Lack                                  $271.17
   Lori                 Lack                                   $55.41
   Jennifer             Lacour                                  $7.84
   Pauline              Lacrosse                               $50.00
   Laura                Lacursia                               $40.00
   Marcelle             Lada                                   $64.10
   R                    Lader                                   $1.10
   Deb                  Ladwig                                  $8.63
   Joleen               Lafayette                               $0.30
   Annie                Laferriere                              $0.85
   Aurelie              Lafleur                                $23.05
   Stefan               Lafon                                 $155.40
   Martine              Lafond                                 $82.87
   Michelle             Lafrance                               $26.40
   Julien               Lafrance-Vanasse                        $2.55
   Stacey               Lagala                                  $5.55
   Jessica              Lage                                   $10.30
   Melanie              Lagory                                  $0.66
   Mariela              Lagos                                  $16.10
   Kinley               Lagrange                              $189.85
   Erika                Lagrisola                              $42.25
   Emily                Lagrone                                $39.25
   Dan                  Lahav                                 $198.20
   Alma                 Lai                                    $11.05
   Caryn                Lai                                    $16.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   James                Lai                                     $19.07
   Karen                Lai                                     $89.46
   Lilian               Lai                                      $0.95
   Mary                 Lai                                      $5.50
   Patrick              Lai                                     $50.00
   Rosanna              Lai                                      $1.40
   Tina                 Lai                                      $0.14
   Hannah               Lainer                                  $33.60
   Corrine              Laing                                  $109.10
   Gayle                Laird                                   $13.65
   Michelle             Lajom                                    $2.95
   Dave                 Lake                                   $350.00
   Devon                Lake                                    $37.16
   Jan                  Lake                                   $123.25
   Hari                 Lakshmanan                              $89.00
   Saurabh              Lalwani                                $250.00
   Alric                Lam                                    $166.90
   Brandon              Lam                                      $0.15
   Carrie               Lam                                     $14.40
   Celeste              Lam                                     $11.65
   Diana                Lam                                    $203.82
   Jamie                Lam                                     $65.60
   Jessica              Lam                                     $49.30
   Jones                Lam                                     $50.00
   Karen                Lam                                    $150.00
   Serena               Lam                                     $13.45
   Stephanie            Lam                                    $395.36
   Tiffany              Lam                                     $14.85
   Veronica             Lam                                      $5.40
   Vincent              Lam                                      $3.20
   Adam                 Lamanna                                 $50.00
   Amanda               Lamb                                    $22.60
   Junelamb             Lamb                                     $4.70
   Molly                Lamb                                   $250.00
   Sherry               Lamb                                    $24.40
   Katherine            Lamba                                   $65.15
   David                Lambert                                $119.65
   Greg                 Lambert                                 $76.05
   Jess                 Lambert                                 $11.10
   Louisa               Lambert                                 $35.10

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Mary                 Lambert                                  $6.95
   Stacie               Lambert                                  $1.05
   Denise               Lambertson                              $50.00
   Daisy                Lambour                                 $43.75
   Beena                Lambrou                                 $53.32
   Jessica              Lamela                                   $9.40
   Josephine            Lamento                                  $1.05
   Lori                 Lamkin                                 $107.51
   Eric                 Lammerding                               $1.57
   Gabrielle            Lamond                                  $18.60
   Sharon               Lamonica                                $43.75
   Gillian              Lamont                                  $78.75
   Kristin              Lamoureux                              $116.90
   Sophie               Lamouroux                                $4.55
   Marilena             Lamp                                    $51.70
   Chuck                Lampert                                 $37.85
   Sean                 Lampton                                $100.00
   Andrew               Lan                                      $1.85
   Kerry                Lanahan                                  $2.40
   Todd                 Lanam                                   $26.10
   Cristina             Lanata                                  $16.41
   Willow               Lancaster                               $17.90
   Allie                Land                                    $38.00
   Dara                 Landa                                   $40.20
   Soo-Ah               Landa                                   $18.65
   Sangeeta             Landau                                  $78.75
   Josh                 Landay                                  $53.57
   Roberta              Landers                                $100.00
   Steven               Landers                                  $2.25
   Daniel               Landis                                 $100.46
   Gina                 Landis                                   $5.25
   Sarah                Landis                                  $34.10
   Michele              Landrith                                $34.15
   David                Landry                                   $2.33
   David                Landry                                   $1.85
   Amie                 Lands                                  $350.00
   Lynn                 Landucci                                $28.75
   Erika                Lane                                   $148.70
   Jana                 Lane                                   $108.25
   Jen                  Lane                                     $1.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kate                 Lane                                    $26.60
   Shannon              Lane                                    $60.41
   Stephanie            Lane Pavon                              $12.15
   Jan                  Laney                                   $45.03
   Ben                  Lang                                    $53.20
   Connie               Lang                                   $192.08
   David                Lang                                    $21.90
   Nina                 Lang                                     $9.10
   Rita                 Lang                                     $0.64
   Tracie               Lang                                     $0.22
   Betty                Lange                                    $1.70
   Marco                Lange                                  $150.00
   Sarah                Lange                                    $1.20
   Keiran               Langer                                   $1.40
   Anne                 Langford                                 $7.85
   Louise               Langheier                               $54.55
   Andrea               Langlois                                $11.97
   Siobhan              Langlois                                $25.55
   Larkspur             Langston                                 $0.66
   Rachael              Langston                                $46.00
   Ruth                 Langstroth                              $25.00
   Jessica              Lankton                                  $1.10
   Jen                  Lanning                                 $15.07
   Paul                 Lanning                                 $25.00
   Margaret             Lanphier                                 $0.65
   Janice               Lansing                                 $12.31
   Jeremy               Lansing                                $100.00
   Lois                 Lanthorne                              $400.00
   Lorenza              Lanz                                     $9.45
   J                    Lao                                     $37.20
   Janel                Lao                                     $28.20
   Shelley              Lapcevic                                 $8.88
   Melissa              Lapchuk                                  $8.75
   Rebecca              Laplante                                 $0.15
   David                Lapoint                                $123.90
   Brian                Laporte                                  $5.70
   Colin                Lappala                                 $41.60
   Lori                 Lappe                                    $8.30
   Detdet               Lapuz                                  $165.70
   Aamir                Lara                                   $181.10

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Austin               Laramie                                     $6.72
   Sofia                Lares                                     $300.00
   Jonathan             Largent                                     $1.00
   Mary                 Larimer                                    $60.18
   Michael              Larimore                                    $4.70
   Maura                Lariviere                                  $13.85
   Patrick              Larkin                                     $36.55
   Anne                 Larsen                                     $49.30
   Danielle             Larsen                                      $0.05
   Linneatu             Larsen                                    $167.90
   Alan                 Larson                                     $14.25
   Barbara              Larson                                      $3.24
   Brian                Larson                                     $99.69
   Cerene               Larson                                      $8.95
   Ellen                Larson                                      $0.07
   Elliot               Larson                                    $194.15
   Jeffrey              Larson                                      $1.20
   Julie                Larson                                      $3.20
   Leslie               Larson                                      $2.49
   Paul                 Larson                                     $50.00
   Ilisha               Larsson                                   $100.00
   Dan                  Larue                                       $0.13
   Matt                 Larwood                                   $100.00
   Sharmila             Lash                                       $11.75
   Clara                Lasher                                     $12.65
   Natalie              Lashinsky                                  $14.90
   Jen                  Lashua                                     $73.00
   Patricia             Laskowski                                  $46.57
   Melanie              Laspina                                    $49.30
   Rachel               Lastra                                      $4.45
   Carolyn              Latanafrancia                             $250.00
   Eric                 Latham                                      $0.15
   Stephanie            Latham                                    $133.40
   Kelly                Lathrop                                    $60.95
   Chessa               Latifi                                     $41.30
   Jazmyn               Latimer                                    $17.25
   Tony                 Latorre                                    $50.00
   Lise                 Latour                                     $40.85
   Nel                  Latronica                                 $135.95
   Daed                 Latrope                                   $287.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Christina            Latta                                 $306.00
   Kara                 Latta                                  $75.00
   Lisa                 Lattanza                               $50.00
   Drew                 Latzke                                  $8.30
   Andrew               Lau                                     $7.00
   Annie                Lau                                    $22.09
   Bonnie               Lau                                     $0.85
   Caitlin              Lau                                     $0.31
   Calvin               Lau                                     $0.06
   Cherrie              Lau                                    $79.95
   Connie               Lau                                     $7.45
   Cynthia              Lau                                    $19.20
   Darryl               Lau                                   $184.80
   Elaine               Lau                                    $81.40
   Gary                 Lau                                     $1.80
   Jimmy                Lau                                     $0.15
   Julia                Lau                                    $20.10
   Matt                 Lau                                   $128.40
   Stephanie            Lau                                   $106.10
   Vicky                Lau                                     $6.50
   Jennifer             Lauchle                               $283.55
   Jessica              Laudermilk                              $7.10
   Henry                Lauf                                    $2.30
   Jean                 Laughlin                                $1.80
   M.                   Laughlin                               $71.38
   Tara                 Lauranne                                $3.75
   Sandy                Lauren                                 $50.06
   Christine            Laurent                                 $3.45
   Liberty              Laureta                                $38.75
   Rachel               Lausted                                $15.03
   Jody                 Lauter                                $291.30
   Allison              Lauterbach Dale                        $16.10
   Kasee                Lautour                                 $0.40
   Jenny                Lautzenheiser                           $0.60
   Julia                Lavell                                 $93.01
   Catherine            Lavelle                                $14.84
   Susan                Lavelle                                 $0.70
   Siobhan              Lavender                                $1.90
   Brooke               Lavery                                 $21.31
   Christy              Lavery                                $100.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Elodie               Lavery                                    $1.88
   Rosaleen             Lavery                                    $1.60
   Jazmin               Lavezzo                                  $32.10
   Shauna               Lavi                                     $13.20
   Ann Marie            Lavigne                                   $2.75
   Jerome               Lavigne-Delville                         $58.57
   Margaret             Lavin                                     $1.35
   Matt                 Lavin                                   $111.40
   Linda                Lavine                                  $839.97
   Anais                Lavoie                                   $10.00
   Carroll              Lavrar                                   $14.15
   Vadim                Lavrusik                                 $43.15
   Andrew               Law                                     $210.05
   Helene               Law                                     $126.13
   Jaime                Law                                      $27.45
   Jasmine              Law                                       $2.30
   Kenneth              Law                                       $8.95
   Kevin                Law                                       $4.21
   Terri                Law                                      $50.00
   Sierra               Lawe                                      $8.03
   Sharie               Lawless                                   $3.85
   Amy                  Lawlor                                   $57.25
   Pete                 Lawlor                                   $53.90
   Frank                Lawrence                                  $3.80
   Julie                Lawrence                                  $0.40
   Michael              Lawrence                                 $52.40
   Michael              Lawrence                                 $59.91
   Tolu                 Lawrence                                $102.81
   Debbie               Lawson                                   $79.60
   Janet                Lawson                                  $150.00
   Katherine            Lawson                                    $3.91
   Mike                 Lawson                                  $100.00
   Nicole               Lawson                                  $100.00
   Terry                Lawson                                   $30.00
   Alexa                Lawson Remer                             $11.25
   Jon                  Lawton                                    $2.15
   Shauna               Lay                                      $54.00
   Stephanie            Lay                                      $15.60
   Melanie              Layman                                    $2.35
   Stefanie             Layne                                     $4.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Elizabeth            Layton                                    $0.95
   Dena                 Lazar                                    $10.15
   Shayne               Lazar                                     $3.95
   Barbara              Lazara                                   $27.85
   Tony                 Lazaro                                    $0.35
   Ann                  Lazarus                                   $5.95
   Lynne                Lazarus                                   $3.88
   Mark                 Lazarus                                   $5.75
   Elizabeth            Lazor                                    $23.20
   Richard              Lazuta                                    $0.22
   Kelley               Lazzareschi                              $98.50
   Nan                  Lazzaretto                              $117.21
   Brooke               Lazzari                                  $46.60
   Ai                   Le                                        $5.25
   Camha                Le                                        $0.15
   Crystal              Le                                       $23.60
   Erin                 Le                                        $0.35
   Minh                 Le                                       $73.35
   Quyen                Le                                       $29.90
   Tam                  Le                                        $6.70
   Thanh                Le                                       $40.00
   Thuy                 Le                                        $8.15
   Tony                 Le                                       $44.75
   Trang                Le                                        $4.45
   Tuyet                Le                                       $51.90
   Yvette               Le                                       $51.10
   Caroline             Le Goff                                 $125.20
   David                Le Roy                                  $206.75
   Andrew               Leahy                                     $0.68
   Kimberly             Leal                                     $31.20
   Nick                 Leal                                     $17.05
   Samantha             Leal                                      $1.81
   Stacey               Leanos                                    $2.35
   Crystal              Leanza                                  $100.00
   Matt                 Leao                                      $4.60
   Kelly                Leary                                     $0.30
   Rita                 Leary                                     $3.15
   Arianna              Lease                                   $100.00
   Staci                Leatherland                               $5.00
   Jenny                Leavens                                 $269.90

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Dorit                Leavitt                                   $62.05
   Jennifer             Leavy                                     $29.75
   Andrea               Leavy-Butler                               $0.75
   Jordan               Lebaron                                   $16.27
   Danielle             Lebeau                                     $0.59
   Kyla                 Lebeck                                    $45.11
   Courtney             Lebeouf                                   $49.25
   Todd                 Leber                                    $135.92
   Mariana              Leberknight                               $80.85
   Helen                Lebert                                    $10.25
   Billie               Leblanc                                   $64.30
   Loraine              Leblanc                                   $53.41
   Jamie                Lebowitz                                   $1.75
   Kyle                 Lechleitner                               $27.75
   Pamela               Lechleitner                                $2.60
   Jolie                Lechner                                    $2.60
   Katie                Lechner                                  $347.75
   Steven               Leckart                                   $50.00
   Nicole               L'Ecuyer                                   $3.64
   Halard               Ledbetter                                  $3.75
   Julie                Ledbetter                                $172.15
   Kelli                Ledeen                                     $3.30
   Brittany             Lederer                                    $4.45
   Aislinn              Lederman                                   $0.05
   Brian                Lederman                                   $8.95
   J Nicole             Lederman                                   $1.70
   Jessica              Ledesma                                    $2.65
   Susan                Ledezma                                    $2.30
   Jaclyn               Ledino                                     $0.30
   Beth                 Ledoux                                     $9.72
   Anthony              Ledwith                                   $75.54
   Aften                Lee                                      $200.00
   Alexander            Lee                                        $6.00
   Alice                Lee                                      $100.00
   Alison               Lee                                      $433.80
   Amanda               Lee                                        $5.42
   Amy                  Lee                                        $0.15
   Amy                  Lee                                       $27.75
   Amy                  Lee                                       $15.90
   Andrea               Lee                                       $88.85

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Annabel              Lee                                    $50.35
   Annie                Lee                                     $8.91
   Anthony              Lee                                    $24.90
   Audrie               Lee                                    $38.35
   Betty                Lee                                   $114.35
   Brendan              Lee                                    $24.57
   Caroline             Lee                                    $30.65
   Caroline             Lee                                    $50.00
   Cathy                Lee                                    $36.06
   Cheryl               Lee                                    $11.51
   Christina            Lee                                    $62.65
   Christine            Lee                                   $100.00
   Connie               Lee                                   $136.48
   Connie               Lee                                     $1.95
   Crystal              Lee                                    $40.00
   Crystal              Lee                                    $20.00
   D                    Lee                                    $45.56
   Da                   Lee                                     $5.41
   Daniel               Lee                                     $3.45
   David                Lee                                    $44.15
   David                Lee                                    $34.05
   Deborah              Lee                                    $20.60
   Donald               Lee                                    $37.10
   Draven               Lee                                     $7.25
   Ellen                Lee                                    $88.65
   Ellen                Lee                                   $110.68
   Ellen                Lee                                    $18.60
   Emilie               Lee                                    $19.75
   Emily                Lee                                    $50.85
   Emily                Lee                                    $14.70
   Erica                Lee                                   $300.00
   Esther               Lee                                    $13.91
   Eugene               Lee                                     $0.95
   Euming               Lee                                     $1.65
   Evelyn               Lee                                     $0.75
   Franklin             Lee                                    $18.80
   Gabe                 Lee                                     $5.65
   George               Lee                                    $29.65
   Gil                  Lee                                    $54.80
   Gordon               Lee                                   $205.91

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Han                  Lee                                    $15.79
   Hanmin               Lee                                    $50.00
   Hanna                Lee                                    $54.90
   Heather              Lee                                     $1.35
   Hilary               Lee                                    $10.40
   Holly                Lee                                     $1.45
   Jacqueline           Lee                                    $22.45
   Jaebock              Lee                                    $33.05
   Jaehee               Lee                                    $71.35
   James                Lee                                    $13.20
   James                Lee                                     $3.80
   James                Lee                                     $2.31
   Jane                 Lee                                    $11.58
   Janet                Lee                                    $59.15
   Janet                Lee                                    $26.15
   Jean                 Lee                                     $8.95
   Jenna                Lee                                     $5.10
   Jennifer             Lee                                    $14.55
   Jennifer             Lee                                     $4.35
   Jennifer             Lee                                     $5.10
   Jennifer             Lee                                     $0.05
   Joann                Lee                                     $8.90
   Jocelyn              Lee                                     $4.66
   John                 Lee                                   $136.60
   Jonathan             Lee                                   $100.00
   Joon                 Lee                                     $8.95
   Julie                Lee                                    $85.35
   June                 Lee                                    $18.65
   Kange                Lee                                     $9.86
   Karen                Lee                                    $13.15
   Katherine            Lee                                    $10.76
   Katherine            Lee                                     $8.95
   Kathryn              Lee                                    $29.90
   Katie                Lee                                    $15.01
   Kayoung              Lee                                    $50.00
   Kelly                Lee                                    $25.15
   Korin                Lee                                    $90.36
   Kristin              Lee                                     $2.56
   Lani                 Lee                                    $18.95
   Lauren               Lee                                     $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Leslie               Lee                                     $2.30
   Lester               Lee                                  $109.95
   Linda                Lee                                    $50.00
   Lonnie               Lee                                  $109.40
   Lucy                 Lee                                  $100.00
   Lynn                 Lee                                  $114.95
   Marie                Lee                                     $6.35
   Marn-Yee             Lee                                     $2.30
   Mary                 Lee                                     $7.47
   Melissa              Lee                                     $0.37
   Melissa              Lee                                    $32.35
   Melissa              Lee                                     $1.35
   Michael              Lee                                    $67.10
   Michael              Lee                                  $237.95
   Michelle             Lee                                    $11.70
   Nicole               Lee                                     $1.20
   Norman               Lee                                    $51.19
   Patrick              Lee                                    $35.25
   Portia               Lee                                    $16.40
   Quan                 Lee                                     $1.60
   Rachel               Lee                                  $213.70
   Richard              Lee                                  $268.99
   Rose                 Lee                                    $20.45
   Roxanne              Lee                                    $80.00
   Sai Y                Lee                                    $25.25
   Samantha             Lee                                     $5.70
   Sara                 Lee                                    $21.40
   Seung Eon            Lee                                    $80.00
   Shirley              Lee                                     $9.65
   Solomon              Lee                                     $8.70
   Sooinn               Lee                                    $32.55
   Sophia               Lee                                     $5.50
   Stephanie            Lee                                    $54.75
   Steve                Lee                                     $2.00
   Strom                Lee                                     $0.15
   Sujin                Lee                                    $40.45
   Sunny                Lee                                     $8.95
   Susan                Lee                                     $0.65
   Suzie                Lee                                  $150.00
   Tina                 Lee                                 $1,016.72

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Tony                 Lee                                     $500.00
   Tricia               Lee                                      $24.15
   Vivienne             Lee                                      $21.15
   Yohan                Lee                                      $52.20
   Yunji                Lee                                       $3.30
   Yu-Tin               Lee                                      $18.17
   Yvonne               Lee                                       $8.95
   Lola                 Leeds                                     $8.95
   Angelina             Leeper                                    $3.45
   Eric                 Lees                                    $100.00
   Monica               Lees                                      $9.35
   Bob                  Leet                                     $49.40
   Andrew               Lefberg                                  $16.80
   Eileen               Leffler                                  $38.69
   Skylar               Leff-Lubin                              $135.60
   Elizabeth            Lefler                                   $21.65
   Kathryn              Lefroy                                    $0.60
   Gabe                 Legaspi                                   $0.15
   Ellen                Lehman                                    $3.16
   Megan                Lehman                                    $6.43
   Justin And Lisa      Lehrer                                   $29.71
   Ann                  Lei                                     $100.00
   Shufei               Lei                                       $0.20
   Nathan               Leiby                                   $172.43
   Patricia             Leicher                                 $176.95
   Elena                Leichty                                   $0.05
   Sam                  Leick                                     $4.71
   Aaron                Leiderman                                $12.35
   Garrett              Leight                                   $48.75
   Alicia               Leighton                                  $2.95
   Cory                 Leighton                                 $22.60
   Nicole               Leighton                                  $0.20
   Janice               Leiser                                   $21.85
   Joni                 Leiva                                     $8.95
   Aleks                Leligdowicz                              $52.40
   Claire               Lem                                       $6.16
   Dan                  Lemaitre                                 $22.06
   Delphine             Lemaitre                                 $16.45
   Zackery              Leman                                   $127.62
   Debbie               Lemay                                     $0.10

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Mario                Lemay                                   $15.44
   Kaitlin              Lemei                                   $35.00
   Jason                Lemelson                               $114.31
   Jamilah              Lemieux                                  $0.60
   Jennifer             Lemley                                   $6.40
   Robert               Lem-Luzzi                              $100.00
   Bronwen              Lemmon                                   $2.41
   Jon                  Lemmon                                  $25.10
   Caroline             Lemon                                   $17.40
   Kelly                Lemon                                   $31.80
   Anna                 Lemos                                   $65.36
   Mic                  Lencher                                 $50.85
   Cassie               Lenderman                               $31.50
   Stacey               Lenderman                               $62.63
   Jeffrey              Leng                                    $56.60
   Lisa                 Leng                                   $167.25
   Rachel               Lentz                                   $30.00
   Christine            Leo                                     $12.44
   Dayna                Leo                                     $60.65
   Jessica              Leo                                     $50.00
   Casey                Leonard                                $250.00
   Lonnie               Leonard                                 $45.90
   Sara                 Leonard                                $100.00
   Elizabeth            Leonard Zwillinger                      $82.05
   Jacy                 Leonardo                               $103.70
   Susan                Leonardson                              $83.15
   Therese              Leone                                   $14.30
   Janice               Leonetti                                 $3.80
   Adeline              Leong                                  $467.40
   Alex                 Leong                                   $12.70
   Benny                Leong                                   $14.20
   Healy                Leong                                   $33.10
   Jennifer             Leong                                   $81.66
   Jessica              Leong                                   $24.20
   Jon                  Leong                                   $52.20
   Kim                  Leong                                  $100.00
   Kristie              Leong                                    $3.51
   Lorraine             Leong                                   $11.30
   Robert               Leong                                  $100.00
   Vivien               Leong                                   $64.35

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Dene                 Leopold                                 $67.93
   Janelle              Leopoldo                                $15.03
   Andre                Lepiane                                $178.00
   Stephanie            Lepow                                   $18.15
   Sarah                Lerhaupt                                $26.95
   Robert               Leribeus                                 $1.55
   Alana                Lerner                                 $100.00
   Nina                 Lerner                                   $1.05
   Raissa               Lerner                                   $5.15
   Carolyn              Lertzman                                $11.35
   Monique              Lesarre                                 $31.15
   Stephanie            Leschber                                $18.20
   Lauren               Leschke                                 $32.10
   Michelle             Leshner                                  $9.20
   Quinn                Leslie                                  $57.59
   Sylvia               Leslie                                  $78.10
   Wallis               Leslie                                   $5.95
   Felicia              Lesmana                                $154.49
   Jacek                Lesniewski                               $1.45
   Naomi                Less                                    $12.95
   Adam                 Lesser                                  $51.36
   Marcia               Lesser                                  $13.53
   Michele              Lesser                                  $23.77
   Sarah                Lesser                                  $34.15
   Jill                 Lessing                                 $10.55
   Matt                 Lessinger                               $31.58
   Tiffany              Lessler                                 $17.30
   Anne                 Lester                                  $73.05
   Nancy                Lestishen                               $23.38
   Randi                Letendre                                $50.00
   Susy                 Letona                                   $0.12
   Pamela               Letourneau                               $0.05
   Sandy                Letourneau                              $57.46
   Dan                  Letter                                 $111.15
   Lynn                 Letteris                                 $5.00
   Amy                  Leung                                    $5.85
   Calvin               Leung                                   $26.76
   Connie               Leung                                   $31.45
   Corinna              Leung                                   $30.00
   Elaine               Leung                                   $25.21

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Evans                Leung                                    $10.49
   Janice               Leung                                   $188.56
   Joe                  Leung                                     $1.15
   Megan                Leung                                     $2.00
   Melisse              Leung                                    $43.35
   Pui                  Leung                                    $35.60
   Tobias               Leung                                    $50.00
   Willis               Leung                                    $50.00
   Hilary               Leuteneker                                $8.25
   Kathleen             Leuthold                                 $10.75
   Tal                  Lev                                      $10.96
   Darren               Leva                                    $123.59
   Natalie              Levanda                                  $10.35
   Brittany             Levenbrown                                $5.45
   Justin               Levenstein                                $1.15
   Zak                  Levesque                                  $4.60
   Heather              Levi                                      $0.20
   Mina                 Levi                                     $25.00
   Andrew               Levihn-Coon                             $102.60
   Aaron                Levin                                     $9.15
   Abbey                Levin                                    $48.35
   Adam                 Levin                                     $0.79
   Angela               Levin                                     $0.24
   Cindi                Levin                                     $2.70
   Courtney             Levin                                    $11.36
   Deysia               Levin                                    $21.40
   Marcia               Levin                                     $2.70
   Meghan               Levin                                     $9.30
   Abigail              Levine                                  $100.00
   Jonathan             Levine                                  $442.65
   Larry                Levine                                   $96.45
   Matthew              Levine                                    $1.35
   Maya                 Levine                                  $100.00
   Wendy                Levine                                    $7.13
   Derrick              Levingston                                $6.10
   Amber                Levinson                                $109.17
   Alvin                Levitt                                   $30.00
   Dena                 Levitz                                    $0.51
   Melissa              Levix                                    $15.99
   Maryann              Levtchenko                                $0.15

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Alex                 Levy                                     $47.65
   Ari                  Levy                                     $48.60
   Emily                Levy                                      $1.75
   Evan                 Levy                                      $1.86
   Justin               Levy                                      $5.10
   Karen                Levy                                     $50.00
   Karyne               Levy                                    $178.37
   Laurie               Levy                                      $0.70
   Louis                Levy                                     $83.84
   Marianne             Levy                                      $9.30
   Matt                 Levy                                     $75.15
   Robert               Levy                                    $177.46
   Ben                  Lew                                      $50.00
   Candy                Lew                                     $200.00
   Catherine            Lew                                       $0.60
   Eric                 Lew                                     $100.00
   Frank                Lew                                       $0.40
   Jonathan             Lew                                       $8.40
   Michelle             Lew                                       $1.85
   Natalie              Lew                                      $19.70
   Ronald               Lew                                       $7.95
   Tom                  Lew                                       $0.40
   Mark                 Lewandowski                               $2.75
   Natalie              Lewellyn                                  $9.25
   Jon                  Lewerke                                   $0.22
   Julia                Lewin                                    $11.26
   Al                   Lewis                                   $135.55
   Alex                 Lewis                                    $55.82
   Alice                Lewis                                    $37.35
   Andre                Lewis                                     $2.25
   Bob                  Lewis                                    $26.45
   Brooke               Lewis                                   $100.00
   Cathy                Lewis                                    $36.56
   Chuck                Lewis                                   $213.70
   Don                  Lewis                                     $6.78
   Elizabeth            Lewis                                   $100.00
   Emani                Lewis                                     $0.75
   Frank                Lewis                                    $80.09
   Grace                Lewis                                    $78.25
   Jaime                Lewis                                    $61.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jane                 Lewis                                  $37.50
   Jennifer             Lewis                                 $209.15
   Joe                  Lewis                                   $5.10
   Judi                 Lewis                                  $51.40
   Kali                 Lewis                                   $5.15
   Kelly                Lewis                                  $63.38
   Kerry                Lewis                                 $194.95
   Kimberly             Lewis                                  $64.15
   Lauren               Lewis                                  $15.50
   Maria                Lewis                                  $12.78
   Matt                 Lewis                                 $136.10
   Moriah               Lewis                                 $150.00
   Oliver               Lewis                                  $10.05
   Patrick              Lewis                                  $22.81
   Peggy                Lewis                                 $462.65
   Rosie                Lewis                                  $27.80
   Sara                 Lewis                                  $46.05
   Sarah Dale           Lewis                                  $60.11
   Stephanie            Lewis                                   $6.45
   Trevor               Lewis                                  $38.45
   Simone               Lewis-Koskinen                          $0.44
   Nora                 Lewitus                                $78.70
   Kurt                 Lewko                                 $276.90
   Jack                 Leydig                                 $50.00
   Savanna              Leyva                                   $1.30
   Ben                  Li                                     $65.40
   David                Li                                     $60.00
   Edna                 Li                                     $15.30
   Frances              Li                                     $26.74
   Joice                Li                                      $0.10
   K                    Li                                     $13.25
   Kayla                Li                                     $96.05
   Kendall              Li                                      $2.07
   Mu                   Li                                     $65.57
   Nicholas             Li                                      $2.40
   Sarena               Li                                      $5.18
   Sarena               Li                                      $1.06
   Sherry               Li                                     $21.35
   Si J                 Li                                      $0.20
   Wenhui               Li                                      $0.01

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Xinghe               Li                                      $22.05
   Yawei                Li                                     $100.00
   Doreen               Liang                                  $432.05
   Edward               Liang                                   $45.05
   Jenny                Liang                                    $3.30
   May                  Liang                                   $15.00
   Samantha             Liapes                                  $50.00
   Karen                Libby                                   $85.95
   Sarah                Libby                                   $56.20
   Joseph               Liberman                                 $0.05
   Maxime               Liberty-Point                            $5.90
   Marilia              Librandi Rocha                          $17.05
   Chris                Librie                                  $44.28
   Jose                 Licea                                   $55.25
   Danielle             Licht                                   $12.15
   Niles                Lichtenstein                            $54.20
   Ben                  Lichtenwalter                           $16.65
   Ascencion            Licona                                 $100.00
   Elin                 Lid                                      $3.05
   Lydia                Lieb                                    $14.23
   Nancy                Liebenguth                              $12.05
   Hannah               Lieberknecht                             $0.15
   Carol                Lieberman                               $16.80
   Lillian              Lieberman                               $64.50
   Matt                 Lieberman                              $100.00
   Sandy                Lieberman                               $15.20
   Sharon               Liebmann                                 $4.95
   Teri                 Liegler                                  $0.10
   Courtney             Lien                                     $7.80
   Henry                Lien                                   $381.85
   Lauren               Lien                                     $0.20
   Terri                Lien                                     $6.49
   Tiffany              Lien                                    $50.00
   Adrian               Lienhard                                $11.59
   Tiffany              Liesch                                   $1.60
   Jonathan             Lieu                                    $37.30
   Karen                Lieu                                   $113.55
   Nicole               Lieu                                    $22.96
   Krystle              Liew                                    $72.35
   Lisa                 Liew                                   $133.40

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Veronica             Liew                                   $10.45
   Scott                Lifton                                 $14.85
   Douglas              Lightle                                 $8.75
   Hanif                Lila                                   $10.05
   Rachel               Liles                                  $50.00
   Sarah                Liley                                   $7.30
   Brett                Lillegard                              $12.25
   Jefferson            Lilly                                   $2.20
   Andrea               Lim                                     $0.20
   Anh                  Lim                                     $0.10
   Annie                Lim                                    $83.65
   Bernadette           Lim                                     $7.55
   Charles              Lim                                     $4.65
   Dominic              Lim                                    $16.15
   Erik                 Lim                                    $44.05
   Hans                 Lim                                   $220.00
   Ingrid               Lim                                    $45.00
   Jae                  Lim                                     $6.94
   Michelle             Lim                                    $49.60
   Pauline              Lim                                    $16.65
   Raymond              Lim                                    $77.05
   Taffany              Lim                                    $32.70
   Trisha               Lim                                    $55.75
   Maribeth             Limcaco                               $100.00
   Giovanna             Limongi                                 $1.20
   Bebe Chianni         Lin                                    $65.00
   Bee                  Lin                                   $239.45
   Christie             Lin                                    $12.50
   Chu                  Lin                                    $18.55
   Connie               Lin                                    $16.15
   Darlene              Lin                                    $40.85
   Erik                 Lin                                    $35.00
   Gentry               Lin                                     $5.25
   Helen                Lin                                     $3.80
   Henry                Lin                                    $50.00
   Jack                 Lin                                    $23.25
   Johnny               Lin                                     $3.14
   Li-Fen               Lin                                     $3.45
   Lily                 Lin                                   $197.35
   Mark                 Lin                                     $0.20

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Michelle             Lin                                       $105.75
   Nicholas             Lin                                         $0.65
   Susan                Lin                                         $5.12
   Tiffany              Lin                                        $92.05
   Tiffany              Lin                                        $50.00
   Tzui                 Lin                                        $55.45
   Victor               Lin                                       $100.00
   Wayne                Lin                                        $11.80
   Maureen              Linch                                       $0.70
   Helene               Linchey                                     $0.35
   Carol                Lind                                        $9.80
   Patricia             Lind                                      $108.60
   Emily                Linden                                      $1.75
   Todd                 Linden                                     $82.40
   Karen                Lindenberg                                  $9.50
   Melina               Linder                                    $111.25
   Andrew               Linderman                                  $53.47
   Logan                Linderman                                 $100.00
   Robin                Lindheimer                                 $93.50
   Julie                Lindner                                   $257.45
   Ben                  Lindquist                                 $160.56
   Gustav               Lindqvist                                  $22.40
   Kate                 Lindsay Scher                              $22.76
   Claire               Lindsey                                     $5.50
   Marta                Lindsey                                     $0.25
   David                Lindstedt                                 $125.13
   John                 Lindstrom                                  $51.70
   Kim                  Lindstrom                                  $50.00
   Emily                Linendoll                                  $50.00
   Valerie              Lines                                       $3.15
   Jennifer             Ling                                      $113.35
   Jessica              Ling                                      $100.00
   Thomas               Link                                       $44.67
   Hannah               Linkenhoker                                 $2.25
   Susan                Linkwitz                                   $26.15
   Logan                Linn                                        $4.45
   Valentina            Linsangan                                  $50.00
   Michael              Linzy                                      $66.10
   Tamar                Lion                                      $100.00
   Giancarlo            Lionetti                                   $26.45

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Maureen              Lipa                                    $19.65
   Grant                Lipman                                  $25.65
   Pali                 Lipoma                                 $200.00
   Lee                  Lipp                                   $114.20
   Ashley               Lippert                                 $38.80
   Suzanne              Lippert                                 $62.30
   Kelly                Lippi                                   $75.00
   Camilla              Lips                                     $5.65
   Lil                  Lipsitz                                 $71.05
   Ian                  Lipsky                                  $50.00
   Sherry               Lipson                                   $1.25
   Harvie               Lisa                                     $1.15
   Simo                 Lisch                                    $0.15
   Marie                Lisenbee                                $50.70
   Mara                 Lising                                   $9.68
   Rae                  Lisker                                 $100.00
   Samuel               Liss                                    $23.95
   Sydney               Liss                                    $88.55
   Susanne              Lissak                                  $12.40
   Rachel               Lissy                                    $8.95
   Alexandra            Lita                                    $52.70
   Anne                 Litak                                   $23.60
   Meghan               Litchfield                              $96.05
   Stefan               Litrownik                               $60.35
   Amanda               Littig                                   $8.40
   Beth                 Little                                 $100.00
   Carissa              Little                                  $32.95
   Courtney             Little                                  $58.35
   Robert               Little                                   $7.00
   Sandra               Little                                  $43.75
   Veronica             Little                                  $14.55
   Whitney              Littlewood                              $24.71
   Karen                Littman                                  $5.40
   Sheila               Littrell                                $53.75
   Andrew               Liu                                    $250.00
   Angela               Liu                                     $89.25
   Audrey               Liu                                    $100.00
   Carmen               Liu                                    $166.71
   Catherine            Liu                                    $200.45
   Celine               Liu                                      $6.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Chang                Liu                                    $73.65
   Chingyi              Liu                                    $28.45
   Dawn                 Liu                                     $0.70
   Elaine               Liu                                     $1.25
   Gary                 Liu                                     $0.70
   Jeannie              Liu                                    $67.65
   Jennie               Liu                                     $3.03
   Jennifer             Liu                                    $49.10
   Jordan               Liu                                    $80.00
   Katherine            Liu                                    $15.00
   Kathleen             Liu                                  $100.00
   Lisa                 Liu                                  $121.52
   Maria                Liu                                  $131.10
   Miran                Liu                                     $2.95
   Natalie              Liu                                 $1,036.12
   Sean                 Liu                                     $0.75
   Stasia               Liu                                    $22.10
   Theresa              Liu                                    $35.10
   Tina                 Liu                                    $23.40
   Will                 Liu                                  $135.40
   Yixia                Liu                                    $62.90
   Amanda               Livingood                               $1.40
   Melissa              Lizarraga                               $5.51
   Kim                  Lloyd                                $100.00
   Maurice              Lloyd                                   $0.80
   Robert               Lloyd                                $100.00
   Christopher          Lo                                      $2.21
   Jennifer             Lo                                   $196.00
   Lauren               Lo                                     $28.40
   Michael              Lo                                     $59.15
   Sabrina              Lo                                   $404.97
   Jessica              Loarie                                 $33.43
   Tiffany              Lobmier                                $34.97
   Carlos               Lobo                                   $20.99
   Mark                 Lobosco                                $71.25
   Sarah                Locher                                 $14.85
   Sarah                Lock                                    $1.95
   Melissa              Lockard                             $1,079.26
   Kevin                Locke                                   $0.61
   Sheri                Locke                                   $0.01

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alex                 Lockett                                 $1.20
   Ann                  Lockhart                               $51.16
   Jeffrey              Lockie                                $101.45
   Jamie                Lockton                                $76.70
   Alex                 Lockwood                               $24.03
   Debbie               Lockwood                                $9.75
   Pam                  Lockwood                                $1.45
   Sheri                Lockwood                               $27.60
   Jason                Locy                                   $28.93
   Andrew               Loe                                   $178.52
   Don                  Loeb                                   $26.30
   Monica               Loebl                                   $1.09
   Brandon              Loew                                    $0.95
   Kevin                Loewke                                  $3.70
   Rachel               Loewy                                 $129.65
   Matilda              Loftib                                 $32.35
   Carol                Logan                                   $5.35
   Gavin                Logan                                   $3.95
   Gina                 Logan                                  $59.00
   Gladys               Logan                                   $0.02
   Michelle             Logsdon                               $222.71
   Margaret             Logwood                                $41.70
   Gwyn                 Lohnas                                 $20.92
   Janina               Loire                                  $17.40
   Christine            Lok                                    $95.80
   Paul                 Lomangino                              $47.65
   Amy                  Lomas                                  $23.65
   Corinna              Lomasney                               $36.30
   Tristan              Lombard                                $20.52
   Tessa                Lombardi                                $3.68
   Natasha              Lomboy                                  $5.90
   Jill                 Lomheim                                $48.70
   Holly                London                                 $55.05
   Sara                 Lonergan                                $3.10
   Betty                Long                                   $87.10
   Cassandra            Long                                   $16.10
   Connie               Long                                   $18.72
   Daniel               Long                                   $12.00
   Erika                Long                                  $208.25
   Holly                Long                                  $134.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   J.B.                 Long                                   $30.53
   Kalyn                Long                                  $100.00
   Rachel               Long                                   $62.61
   Brooke               Longacre-Wilzen                        $31.15
   Mary                 Longfield                              $50.00
   Emily                Longhurst                             $269.50
   Carey                Longley                                 $0.95
   Janice               Longo                                   $0.80
   John                 Longobardi                             $85.55
   Cara                 Longpre                                $29.85
   Elizabeth            Longstreth                              $6.25
   Bridgett             Longust                                $28.60
   Jeff                 Longwell                              $200.00
   Caitlin              Longwood                               $54.15
   Sally                Longyear                               $80.70
   Karen                Lonne                                   $3.20
   Tracy                Look                                    $0.51
   Dara                 Looney                                 $13.15
   Mark                 Looney                                 $32.10
   Laurence             Loper                                   $7.05
   Leslie               Loper                                  $32.91
   Diana                Lopes                                   $0.55
   Suzanne              Lopes                                 $100.00
   Tristan              Lopes                                  $16.65
   Berenice             Lopez                                   $0.80
   Carissa              Lopez                                  $40.00
   Carissa              Lopez                                  $20.90
   David                Lopez                                  $35.80
   Deborah              Lopez                                  $62.65
   Elliot               Lopez                                   $2.10
   Erasmo               Lopez                                 $978.28
   Esther               Lopez                                   $0.15
   Janet                Lopez                                   $1.21
   Jessica              Lopez                                   $0.25
   Kathryn              Lopez                                 $100.00
   Katy                 Lopez                                  $33.15
   Lauren               Lopez                                   $2.25
   Manon                Lopez                                  $68.60
   Maren                Lopez                                  $15.03
   Mario                Lopez                                  $18.85

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Nicholas             Lopez                                  $46.25
   Rachel               Lopez                                  $16.10
   Robert               Lopez                                  $85.00
   Samuel               Lopez                                  $23.50
   Cassandra            Lopez Loftus                           $62.75
   Kaitlin              Lopin                                   $8.95
   Marina               Lord                                    $0.50
   Scott                Lord                                    $9.40
   De                   Loredo                                  $9.85
   Elizabeth            Lorence                                 $6.79
   Janelle              Lorenz                                 $16.24
   Cc                   Lorenzana                               $4.34
   Julienne             Lorenzen                                $8.70
   Nick                 Lorenzini                              $18.55
   Laura                Lorio                                  $56.65
   Jasna                Losic                                   $0.96
   Mariel               Losin                                  $50.00
   Lia                  Losonczy                               $63.25
   Melissa              Loss                                    $8.20
   Heather              Lotti                                  $52.07
   Jeffrey              Lotz                                    $2.10
   Connor               Loudon                                 $12.45
   Kelly                Loughlin                              $166.90
   Jeanine              Loughran                              $100.00
   Brian                Louie                                 $200.00
   Clarissa             Louie                                  $75.00
   Ellenor              Louie                                  $50.00
   John                 Louie                                  $12.25
   Natalie              Louie                                  $47.88
   Trisha               Louie                                   $2.85
   Devin                Lounds                                $100.00
   Irene                Lourenco                               $50.00
   Philip               Louridas                               $66.25
   Sarita               Loutzenheiser                           $0.05
   Richard              Lovato                                 $59.00
   Alicia               Love                                   $14.85
   Gregory              Love                                   $59.61
   Julia                Love                                    $5.70
   Lucy                 Love                                    $0.40
   Valerie              Love                                  $125.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Valerie              Love                                   $30.45
   Elijah               Loveraven                               $2.95
   Caitlin              Lovett                                  $3.75
   Heidi                Lovett                                  $9.92
   Katherine            Lovett                                  $3.45
   Noam                 Lovinsky                               $51.40
   Amber                Lovley                                 $75.65
   Tammy                Lovlie                                $296.85
   Adrienne             Low                                     $9.60
   Chris                Low                                    $37.21
   Erick                Low                                   $100.00
   Marcie               Low                                     $0.65
   Matt                 Low                                     $2.78
   Michael              Low                                    $17.05
   Sharon               Low                                   $120.00
   Teri                 Low                                    $45.21
   Andrea               Lowe                                   $33.15
   Deidra               Lowe                                   $11.60
   Stan                 Lowe                                   $45.00
   Elliott              Lowen                                  $90.00
   Henry                Lowenfels                               $0.30
   Nancy                Lowenkron                              $45.36
   Tara                 Lowery                                 $65.25
   Kelsey               Lowitz                                 $64.10
   Sadie                Lowry                                  $41.35
   Marsha               Lowther                                $27.17
   Dianne               Lozano                                  $2.30
   Ismael               Lozano                                  $2.05
   Samantha             Lozzi                                   $2.55
   Albert               Lu                                    $209.75
   Chun Yen             Lu                                     $95.05
   Corinna              Lu                                      $8.95
   David                Lu                                    $100.00
   Jeanie               Lu                                     $12.40
   Jennifer             Lu                                      $8.95
   Soo Jin`             Lu                                     $49.32
   Thuy                 Lu                                     $74.85
   Willie               Lu                                    $210.92
   Suzanne              Luban                                  $62.15
   Ralph                Lubeck                                 $51.60

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Michael              Lubenow                                $213.25
   Wendy                Lubin                                  $388.00
   Phil                 Lubinski                                $24.20
   Cameron              Luby                                    $28.34
   Jessica              Lucana                                  $56.20
   Wendy                Lu-Carroll                              $50.00
   Erin                 Lucas                                   $90.52
   Jessica              Lucas                                    $4.10
   Mei-Lai              Lucas                                  $114.60
   Darcey               Lucay                                   $16.35
   Paolo                Lucchesi                                $61.85
   Darcie               Luce                                    $18.40
   Julia                Luce                                     $4.91
   Stacy                Luce                                    $66.75
   Arnette              Lucero                                  $50.00
   Stephanie            Lucianovic                              $13.06
   Linda                Lucido                                   $3.60
   Emily                Luck                                    $22.65
   Josephine            Luck                                     $3.04
   Megan                Luckhardt                                $4.10
   Jennifer             Lucky                                  $114.80
   Chris                Ludwick                                 $65.50
   Gretchen             Ludwig                                   $8.39
   Nancy                Lue                                     $39.33
   Amy                  Lueck                                   $31.75
   Melanie              Luenenborg                               $4.08
   Gertruda             Luermann                                 $2.00
   Page                 Luevano                                  $7.43
   Lori                 Luft                                   $100.00
   Reva                 Luftman                                 $84.05
   Katie                Luhman                                 $100.00
   Agnes                Lu-Hodi                                  $0.71
   Kevin                Lui                                     $21.15
   Rosanna              Lui                                     $11.15
   Rosanna              Lui                                     $95.05
   William              Lui                                     $87.35
   Tyler                Luiten                                   $0.86
   John                 Luk                                     $69.80
   Michael              Lukas                                  $257.05
   Connie               Lukaszek                                 $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Daniel               Luke                                    $0.45
   Pauline              Luke                                    $7.80
   Marlene              Lukenbill                               $3.95
   Lauren               Lukow                                  $30.00
   Deirdre              Lum                                     $6.45
   Derek                Lum                                    $68.25
   Nancy                Lum                                     $9.05
   Tim                  Lum                                     $0.40
   Darlene              Luna                                   $13.11
   Libby                Luna                                   $17.45
   Mary Sunshine        Luna                                  $136.86
   Sandra               Luna                                    $2.20
   Testing              Lunch                                 $100.00
   Testing              Lunch                                 $100.00
   Kristine             Lund                                    $1.58
   Mary                 Lund                                   $50.00
   Richard              Lund                                   $17.35
   Valerie              Lund                                   $56.00
   Kyle                 Lunde                                  $14.05
   Alyssia              Lundgren                               $50.00
   Gary                 Lundgren                               $10.10
   Fara                 Lundin                                  $8.95
   Adrian               Lundquist                               $1.25
   Adrian               Lundquist                               $5.80
   Janet                Lundquist                               $0.55
   Peter                Lundy                                  $75.00
   Kathryn              Lunger                                 $10.05
   Charlene             Lunny                                   $2.85
   Kristin              Lunny                                  $40.00
   Peter                Lunny                                 $115.70
   Cherisse             Lunt                                    $4.05
   Chris                Luo                                     $8.95
   Elaine               Luo                                    $37.15
   Frank                Luo                                    $18.68
   Irena                Luo                                   $131.50
   Kay                  Luo                                    $79.65
   Shishi               Luo                                    $10.96
   Chris                Luomanen                                $2.25
   Erica                Lupiloff                                $2.70
   Mircea               Lupu                                  $108.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alia                 Luqman                                 $60.20
   Hannah               Lurie                                  $49.50
   Mikhail              Lushin                                 $19.05
   Leslie               Lusk                                   $18.15
   Sally                Lusson                                 $79.20
   David                Luther                                  $2.14
   Michael              Lutjen                                 $11.30
   Carrie               Lutjens                                 $0.30
   Rhoda                Luttrell                               $48.30
   Emily                Lutyens                                $13.07
   Heather              Lutz                                   $31.05
   John                 Lutz                                    $0.20
   John                 Lutz                                    $0.35
   Marta                Lutz                                    $4.50
   Sarah                Lutz                                    $8.95
   Allen                Luu                                    $61.30
   Hung                 Luu                                    $79.10
   Adam                 Luxenberg                              $96.50
   Ric                  Lwin                                   $93.80
   David                Ly                                      $0.48
   Eileen               Ly                                     $47.05
   Justin               Ly                                      $3.55
   Kiet                 Ly                                     $20.70
   Sol                  Lyandres                              $123.90
   Shawn                Lyles                                   $3.80
   Jennie               Lyman                                  $54.72
   Melissa              Lyman                                 $100.00
   Rungrawee            Lynagh                                $290.70
   Alice                Lynch                                  $10.56
   Brynna               Lynch                                  $40.00
   Camilla              Lynch                                   $0.25
   Joyce                Lynch                                   $6.20
   Kaitlyn              Lynch                                  $16.86
   Kara                 Lynch                                  $18.15
   Sue                  Lynch                                  $47.20
   Suzanne              Lynch                                   $2.01
   Timothy              Lynch                                   $7.59
   Willie               Lynch                                   $1.25
   James                Lyndon                                  $2.40
   Kathryn              Lynes                                   $2.05

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   Buyer First Name      Buyer Last Name            Gift Card Amount
   Daniel                Lyon                                     $23.40
   Gordon                Lyon                                    $262.87
   Shelly                Lyon                                      $1.60
   Andie                 Lyons                                     $6.11
   Caroline              Lyons                                     $1.30
   Jeannine              Lyons                                   $137.60
   Melanie               Lyons                                     $0.46
   Mike                  Lyons                                     $1.05
   Nancy                 Lyons                                    $68.61
   Rachel                Lyons                                    $83.05
   Stephanie And Matt    Lyons                                     $8.85
   Jacque                Lysons                                  $245.32
   Jason                 Lyssand                                 $177.30
   Pamela                Lyss-Lerman                              $12.70
   May                   M                                        $50.00
   Cal                   M.                                       $94.50
   Valerie Dunn Iwatch   M. Dunn                                   $8.95
   Ada                   Ma                                       $80.00
   Aleza                 Ma                                        $3.25
   Chou Ha               Ma                                      $100.00
   Eddie                 Ma                                       $78.00
   Eileen                Ma                                        $4.19
   Erica                 Ma                                        $1.45
   Hana                  Ma                                       $11.60
   Hanna                 Ma                                        $1.10
   Keith                 Ma                                        $0.75
   Kingsley              Ma                                       $16.15
   Michelle              Ma                                        $0.15
   Qich                  Ma                                        $9.90
   Sandy                 Ma                                        $3.10
   Stephanie             Ma                                       $44.99
   Xue                   Ma                                        $0.10
   Paul                  Maa                                     $100.00
   Mustapha              Maalej                                   $50.00
   Homam                 Maalouf                                 $175.00
   Sara                  Maamouri                                  $4.50
   Katja                 Maanonen                                  $2.40
   Brian                 Maar                                     $14.30
   Elizabeth             Maas                                     $32.35
   Alex                  Maasry                                   $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Trevor               Maat                                    $52.36
   Mia                  Mabanta                                $180.10
   Daniel               Mabe                                     $0.65
   Jill                 Macari                                   $2.10
   Mike                 Macarthur                               $10.90
   Christine            Macasieb                                $63.90
   Mandy                Maccalla                                 $2.90
   Sarah                Maccarthy                               $66.65
   Destiny              Maccartney                             $546.05
   Lorraine             Macchello                               $10.30
   Tracey               Macchi                                  $10.30
   Bradley              Macdonald                                $2.67
   Breanna              Macdonald                                $1.31
   Jim                  Macdonald                                $8.95
   Joshua               Macdonald                               $36.35
   Katie                Macdonald                                $3.85
   Sarah                Macdonald                              $107.20
   Tom                  Macdonald                                $0.64
   Chenoa               Mace                                     $0.85
   Sue                  Mace                                   $317.10
   Rachael              Macfarland                               $2.85
   Dave                 Macgillis                              $100.00
   Philip               Mach                                     $0.40
   Sean                 Mach                                    $42.20
   Jennifer             Machado                                $185.40
   Lauren               Machado                                 $26.80
   Cybele               Machardy                               $134.70
   Lisa                 Machi                                    $1.40
   Dibsy                Machta                                  $45.30
   Debbie               Maciel                                   $0.95
   Alex                 Macintosh                               $33.65
   Jenny                Macintosh                               $32.05
   Regina               Maciula                                  $2.60
   Tamara               Mack                                   $332.05
   Sarah                Mackay                                  $44.75
   Heather              Mackenzie                               $20.10
   Vera                 Mackenzie                                $1.60
   Kevin                Mackey                                   $1.35
   Lisa                 Mackie                                   $5.65
   Shawny               Maclaggan                                $0.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Bruce                Maclean                                $63.76
   Aaron                Macleitch                               $6.20
   Kathryn              Macleod                                $64.00
   Kirsten              Macleod                              $150.00
   Claudette            Macmillan                              $32.11
   Michele              Macmillan                              $80.00
   Jason                Macomb                                  $8.10
   Lauren               Macomber                             $250.00
   Ian                  Macpherson                           $100.00
   Susan                Macrae                                 $26.85
   Devin                Macrea                               $249.34
   Khorshed             Madan                                  $88.40
   Cheryl               Maday                                  $19.55
   Kristina             Madayag                                 $2.04
   Heather              Maddan-Dowdell                          $3.10
   Anne                 Madden                                 $35.75
   Brigid               Madden                               $136.25
   Michelle             Madden                                  $1.42
   Nigel                Madden                                 $50.00
   Sean                 Madden                                 $10.95
   Kelly                Maddox                                 $25.90
   Danielle             Madeira                                 $8.69
   Monica               Madej                                  $34.24
   Vineeth              Madhusudanan                           $15.05
   Seth                 Madison                                 $0.60
   Tina                 Madison                                $20.25
   Bek                  Madjidov                                $1.10
   Sarah                Madland                              $132.51
   Dave                 Madrid                                 $19.00
   Heidi                Madsen                                 $86.35
   Katelyn              Madsen                                 $40.15
   James                Madson                                 $75.00
   Alexandra            Madzey                                 $15.65
   Mike                 Maerz                                  $60.85
   Kristin              Maestas                              $241.21
   Laura                Maestrelli                             $50.00
   Amanda               Maffei                               $221.25
   Dave                 Maffei                              $1,374.38
   Dale                 Maffett                                $20.76
   Deborah              Magalit                              $222.05

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Amalia               Magaret                                   $2.05
   Carrie               Magee                                     $2.20
   Antonio              Maggioni                                 $53.70
   Pirouz               Maghsoudnia                              $47.10
   Gina                 Magid                                     $0.56
   Marilyn              Magidoff                                 $95.85
   Carlie               Magill                                    $2.77
   Megan                Magill                                   $50.00
   Donald               Magilligan                               $48.05
   Tom                  Maginnis                                  $3.21
   Darcie               Magino                                    $0.70
   Liz                  Maglione                                  $3.70
   Amy                  Magni                                    $24.15
   Victor               Magnotti                                  $4.53
   Ben                  Magro                                     $5.25
   A                    Maguire                                  $84.09
   Colleen              Maguire                                  $28.20
   Gina                 Maguire                                  $67.37
   Kim                  Maguire                                   $0.80
   Meghan               Maguire                                   $1.00
   Chad                 Mahadevan                                $21.00
   Sandhya              Mahadevan                                $29.15
   Swaminatha           Mahadevan                               $642.63
   Sonya                Mahajan                                   $0.35
   Heather              Mahan                                     $8.95
   Tessa                Mahan                                    $25.05
   Barbara              Maher                                     $9.25
   Mary                 Maher                                    $78.20
   Steve                Maher                                    $14.85
   Geetika              Maheshwari                               $68.60
   Brandon              Mahne                                    $12.10
   Judith               Mahnke                                    $9.75
   Caitlin              Mahon                                    $25.05
   George               Mahon                                   $115.00
   Juliet               Mahon                                   $100.00
   Shannon              Mahon                                    $42.20
   Shaun                Mahon                                     $0.60
   Duff                 Mahoney                                   $1.10
   Kristin              Mahoney                                  $25.30
   Brianna              Mahony                                  $144.01

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Betty                Mai                                    $15.18
   Daniel               Mai                                    $66.20
   Siesel               Maibach                                 $5.85
   Melanie              Maier                                  $32.55
   Morgan               Maier                                   $7.34
   Erica                Maier D'Ambrosio                        $0.06
   Kevin                Maifeld                                $20.25
   Olivia               Maihack                               $193.80
   Catherine            Main                                    $6.40
   Allison              Maine Israel                           $50.00
   Mary Beth            Maines                                $100.00
   Kristine             Maing                                   $0.75
   Sarah                Mainzer                                $50.34
   Nicholas             Maisano                                 $5.55
   Kira                 Maisel                                 $62.15
   Josh                 Mait                                   $28.23
   Michelle             Majidi                                 $15.71
   John                 Major                                  $50.00
   Jerry                Majors Patterson                        $5.70
   Elim                 Mak                                    $54.79
   Marian               Mak                                     $4.20
   Theresa              Mak                                    $51.25
   Meg                  Makalou                                $15.88
   Alexa                Makan                                 $500.00
   Christi              Makely                                  $8.95
   Naveed               Makhani                                $74.88
   Kenya                Makhiawala                              $4.03
   Farah                Makras                                 $16.22
   Oleksandr            Maksymets                              $28.10
   Brigid               Malabuyo                              $124.50
   Lori                 Malahy                                 $15.70
   Barb                 Malat                                 $190.05
   Elena                Maldonado                              $50.00
   Jaime                Maldonado                              $50.00
   Maribel              Maldonado                              $72.80
   Peter                Maleitzke                              $12.40
   Shireen              Malekafzali                            $95.65
   John                 Maley                                 $200.00
   Amit                 Malhotra                              $100.00
   Gaurav               Malhotra                               $20.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Pats                 Malhotra                               $21.67
   Laura                Malick                                  $2.10
   Caroline             Malifaud                               $20.50
   Ahsan                Malik                                  $27.50
   Saima                Malik                                  $10.20
   Ashley               Maliken                                $89.55
   Kamila               Malina                                 $33.95
   Desiree              Malinao                               $126.86
   Gary                 Malinverno                              $8.65
   Amy                  Malkin                                $158.27
   Kortney              Malkin                                  $1.05
   Karan                Malla                                   $0.07
   Steffanie            Malla                                  $75.10
   Kathy                Mallegni                               $19.55
   Jennifer             Mallman                                $55.70
   Michael              Mallon                                  $1.10
   Cliff                Malmborg                              $100.00
   Catherine            Malone                                  $2.95
   Mike                 Malone                                  $5.20
   Rosa                 Malone                                  $5.01
   Dennis               Maloney                                $11.40
   Josh                 Maloney                                 $4.35
   Laura                Maloney                                $24.34
   Patrick              Maloney                                 $1.95
   Patrick              Maloney                                $50.00
   Suzanne              Maloney                                $13.45
   Marcy                Maloy                                  $18.61
   Stephane             Maloy                                   $3.03
   Sonal                Malpani                                $10.53
   Sophia               Maltesen                               $26.25
   Jamie                Maltz                                   $2.45
   Jules                Maltz                                  $80.20
   Aida                 Mambetkarimova                         $30.10
   Mara                 Mamet                                  $25.65
   Azmi                 Mamis                                  $26.85
   Julie                Mammini                                 $1.85
   Rita                 Manachi                                $42.05
   Stacy                Manalo                                 $12.30
   Daena                Mananquil                               $0.75
   Rachel               Manansala                               $2.08

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Liz                  Manashil                                $8.45
   H                    Manber                                 $10.72
   Kathy                Mancebo                                $20.85
   Aman                 Manchanda                               $5.25
   Andrea               Manchester                             $30.00
   Daniela              Mancinelli                             $50.00
   Andrew               Mancini                                 $8.03
   Keka                 Mandal                                  $2.95
   Michelle             Mandel                                  $0.65
   Patricia             Mandel                                  $5.32
   Juliette And Doug    Mandel Peters                          $22.15
   Tracie               Mandelbaum                              $1.14
   Zach                 Mandelbaum                              $7.60
   Sara                 Mandelbrot                              $0.70
   Manjiri              Mandhale                               $30.25
   Maria                Mandigal                                $0.20
   Arliene              Mangalindan                             $5.45
   Philomena            Mangan                                  $5.30
   Ben                  Mangels                                 $5.35
   Maureen              Mangelsdorf                            $84.20
   Scott                Mangicaro                               $3.46
   Angela               Mangoba                                 $0.80
   Yolanda              Mangolini                           $1,680.97
   Divya                Mangotra                                $3.80
   Heidi                Manheim                                $26.10
   Dianne               Mani                                    $0.35
   Christine            Manipon                                $28.00
   Kanthinh             Manivong                             $300.00
   Michael              Manley                                  $1.55
   Rick                 Manley                                  $8.95
   Armando              Mann                                   $63.05
   Jenessa              Mann                                   $34.55
   Melissa              Manners                                 $5.65
   Janine               Manninen                               $84.94
   Diana                Manning                                 $7.31
   Jennifer             Manning                              $100.00
   Mark                 Manning                                 $5.45
   Pilar                Manning                                 $3.10
   Meleah               Mannix                                  $1.85
   Penny                Manns                                  $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Kristina             Manoukian                              $34.30
   Lisa                 Manowitz                              $190.59
   Jill                 Mansfield                              $64.11
   Merica               Mansfield                             $250.00
   Raheleh              Mansoor                                $50.00
   Joan                 Mansour                                $31.85
   Salma                Mansour                                $50.00
   Lynn                 Mantoani                               $88.65
   Marc                 Manuel                                  $0.12
   Anne                 Manzer                                 $53.92
   Angel                Manzo                                  $10.40
   Marco                Manzo                                   $7.75
   Elizabeth            Mao                                    $40.05
   Payal                Mapara                                 $28.20
   Jesse                Maple                                  $51.80
   Kimberly             Maples                                 $50.00
   Brynn                Mapp                                   $50.00
   Esther               Mar                                     $3.95
   Gregory              Mar                                    $93.10
   Kristin              Mar                                     $4.86
   Patricia             Mar                                    $29.10
   Chryssa              Maragos                                $48.70
   Celia                Marais                                 $23.63
   Dianne               Marangio                               $22.20
   Jane                 Maranhaa                               $50.00
   Lou                  Marano                                 $16.05
   Jessica              Marasa                                  $3.60
   Rebecca              Marasco                                $29.30
   Remi                 Marchand                               $16.46
   Tara                 Marchand                               $48.45
   Kate                 Marchewka                               $2.72
   Julien               Marcil                                 $67.65
   Vanessa              Marcin                                  $0.35
   Philip               Marcoccio                               $1.11
   Janine               Marcos                                 $19.10
   Emily                Marcroft                               $17.98
   Maria                Marcus                                 $38.05
   Lilas                Marcussen                              $53.70
   Simone               Marean                                $124.85
   Joshua               Maremont                               $70.60

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Nir                  Margalit                                   $1.50
   Lisa                 Margerum                                   $2.55
   Gidon                Margolin                                   $7.70
   Jd                   Margulici                                 $15.70
   Vlad                 Margulis                                  $87.16
   Hannah               Marie                                     $41.25
   Olivier              Marie                                    $150.00
   Nichole              Mariette                                   $1.53
   Shira                Marin                                      $7.15
   Nicholas             Marinaro                                  $79.10
   Cyndi                Mariner                                   $23.90
   Molly                Marini                                    $12.71
   Bob                  Marino                                    $28.10
   Laura                Marino                                    $22.15
   Melinda              Marino                                    $19.15
   Kyle                 Marinshaw                                  $8.35
   Brianna              Mariolle                                   $2.65
   Marie                Mariolle                                   $6.25
   Guy                  Marion                                    $13.15
   Chelsea              Mariotti                                   $1.70
   Jope                 Marisilino                                $74.95
   Smith                Mark                                       $1.25
   Sarah                Markarian                                 $39.87
   Eileen               Markatos                                  $92.50
   Julie                Markee Jones                              $50.00
   Meghan               Marker                                     $2.10
   Dean                 Markle                                    $34.03
   Carmela              Marklinger                                 $3.35
   Helen                Markopoulos                               $20.15
   Leigh                Markopoulos                               $61.10
   Mike                 Markowski                                 $36.46
   Amber                Marks                                     $58.65
   Cj                   Marks                                      $1.94
   Crystal              Marks                                      $7.56
   Jean                 Marks                                      $4.48
   Kathy                Marks                                      $6.45
   Leah                 Marks                                     $80.00
   Noah                 Marks                                     $81.82
   Shirley              Marks                                      $6.65
   Genna                Marku                                    $163.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Esther               Marlatt                                $80.00
   Grace                Marlier                                $16.75
   Tara                 Marlovits                             $200.00
   Amanda               Marmer                                $147.80
   Nairy                Maroki                                  $5.03
   David                Maron                                 $100.00
   Hilary               Maroney                               $263.60
   Jodi                 Maroney                                $33.59
   Caryn                Marooney                              $239.35
   Mary                 Marotta                                $28.57
   Nicole               Marousek                               $22.07
   Jessica              Marques                                $27.11
   Courtney             Marquette                              $40.30
   Nikki                Marquez                                $19.10
   Estalyn              Marquis                                 $1.25
   James                Marr                                  $237.55
   Marci                Marra                                  $28.26
   Thomas               Marra                                   $1.07
   Brian                Marrero                                 $9.30
   Keana                Marrero                                 $0.55
   Nathaniel            Marrin                                $132.05
   Judy                 Marriott                              $252.38
   Koy                  Marrone                                $10.00
   Carin                Marrs                                   $5.25
   Pam                  Mars                                   $25.55
   Billy                Marsden                                 $2.62
   Sydney               Marsden                                $73.10
   Abby                 Marsh                                   $1.40
   Carole               Marsh                                  $26.45
   Chris                Marsh                                  $50.00
   Caitlin              Marshall                               $10.25
   Meg                  Marshall                               $18.38
   Meghan               Marshall                                $5.90
   Sarah                Marshall                               $55.16
   William              Marshall                                $3.00
   Christyn             Marshall-Ramirez                        $7.85
   Summer               Marten                                  $2.06
   Kelly                Marthedal                              $50.00
   Ben                  Martin                                  $1.85
   Betsy.Martinduo      Martin                                 $23.10

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Brad                 Martin                                 $21.60
   Celina               Martin                                  $1.30
   Cherilyn             Martin                                 $48.40
   Colleen              Martin                                  $2.05
   David                Martin                                 $10.05
   Deborah              Martin                                 $54.56
   Deirdre              Martin                                  $0.65
   Erin                 Martin                                 $23.15
   Heather              Martin                                 $20.81
   Jamie                Martin                                $115.24
   Jessica              Martin                                $140.45
   Jill                 Martin                                 $20.00
   John                 Martin                                  $0.70
   Kenneth              Martin                                $100.00
   Kimberly             Martin                                $200.00
   Lisa                 Martin                                 $33.40
   Lisa                 Martin                                 $80.60
   Maria                Martin                                 $19.35
   Maria                Martin                                $227.76
   Marina               Martin                                 $12.40
   Maureen              Martin                                 $55.25
   Megan                Martin                                  $0.50
   Meghan               Martin                                 $50.00
   NL                   Martin                                 $12.02
   Nancy                Martin                                 $19.75
   Rita                 Martin                                 $16.87
   Robyn                Martin                                 $21.00
   Sarah                Martin                                 $35.55
   Skyler               Martin                                 $12.40
   Suzanne              Martin                                $209.75
   Tanya                Martin                                  $2.79
   Terri                Martin                                 $25.00
   Gabriela             Martin Del Campo                       $28.33
   Richard              Martin Jr                              $26.95
   Kelly                Martine                                $50.00
   Abraham              Martinez                               $75.30
   Adrienne             Martinez                              $100.00
   Amanda               Martinez                               $50.00
   Brion                Martinez                               $19.15
   Elizabeth            Martinez                                $0.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Emiliano             Martinez                               $16.97
   Emma                 Martinez                               $41.18
   Eva                  Martinez                               $38.87
   Jennifer             Martinez                                $8.95
   Jennifer             Martinez                               $13.35
   Kevin                Martinez                                $4.88
   Laura                Martinez                               $63.70
   Mara                 Martinez                                $1.30
   Maureen              Martinez                               $92.40
   Meghan               Martinez                               $91.70
   Mike                 Martinez                               $16.20
   Rachael              Martinez                              $174.55
   Rita                 Martinez                                $2.85
   Virginia             Martinez                               $32.90
   John                 Martini                                $75.00
   Rene                 Martinie                               $11.00
   Michael              Martinovich                           $100.00
   Cathy                Martinsen                              $45.10
   Adrianne             Martinson                              $76.15
   Susan                Martinson                               $5.05
   David                MartNez Moreno                         $29.00
   Eugene               Martynau                               $22.08
   Tony                 Maruri                                 $38.65
   Alexandra            Marx                                    $0.20
   Lizzie               Marx                                   $54.65
   Priscilla            Marzoni                               $100.00
   Ajith                Mascarenhas                             $3.70
   Brian                Mascarenhas                           $100.00
   Stephanie            Masciocchi                              $7.05
   Phil                 Maser                                  $86.15
   Jim                  Masetti                                $35.45
   Caryn                Masinas                                $12.80
   Seila                Maslic                                 $26.15
   Mary                 Maslow                                  $3.02
   Brett                Mason                                  $84.03
   Brooks               Mason                                  $15.10
   Claudette            Mason                                   $8.95
   George               Mason                                  $34.40
   Hannah               Mason                                   $8.57
   Katie                Mason                                  $26.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Kim                  Mason                                   $0.74
   Lauren               Mason                                  $36.10
   Michael              Mason                                   $4.25
   Mikey                Mason                                   $4.10
   Richard              Mason                                   $3.35
   Sara                 Mason                                  $74.25
   Lev                  Mass                                    $0.20
   Megan                Mass                                    $0.25
   Elie                 Massabki                              $128.55
   John                 Massaro                                 $0.80
   Tracy                Massaro                               $311.00
   Amber                Masselot                                $3.95
   Ann                  Massie                                  $8.00
   Lisa                 Mastela                                 $0.70
   Rondi                Masters                                $99.10
   Trevor               Masters                               $260.55
   Bk                   Masterson                               $0.80
   Katherine            Masterson                              $22.80
   Michelle             Masterson                             $100.00
   Nicholas             Mastorakos                              $3.95
   Sarah                Mastrorocco                             $7.60
   Ayesha               Masud                                   $1.66
   Gavin                Masuda                                $107.90
   Denise               Masumoto                                $0.21
   Susan                Matalon                                $69.25
   Katya                Matanovic                              $54.23
   Sharon               Matarangas                             $89.15
   Lisa                 Matchette                              $47.64
   Julie                Mateo                                   $0.35
   Dana                 Matesky                                 $0.75
   Jt                   Mates-Muchin                          $147.20
   Cathleen             Mathes                                  $1.63
   Jaisly               Mathew                                 $41.05
   Becky                Mathews                                $16.25
   Nikson               Mathews                                 $7.67
   Rebecca              Mathews                                 $1.27
   Lauren               Mathias                                 $1.75
   Martin               Mathias                                $14.15
   Melanie              Mathias                                $44.70
   Renu                 Mathias                                $45.18

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Jessica              Mathies                                  $89.09
   Mike                 Mathieu                                   $1.56
   Ryan                 Mathieu                                  $33.50
   Becky                Mathisen                                 $72.90
   Shawna               Matilla                                  $45.05
   Efrat                Matkovitch                               $54.10
   David                Matlock                                   $0.95
   Ritsuko              Matono                                   $20.40
   Laura                Matrajt                                   $2.71
   Andrea               Matray                                   $12.28
   Denise               Matson                                   $42.60
   Sophie               Matson                                    $8.71
   Dave                 Matsu                                   $100.00
   Karen                Matsuda                                  $11.94
   Jun                  Matsui                                   $26.15
   Sun                  Matsui                                    $6.56
   Haj                  Matsukata                                $18.05
   Bryan                Matsumoto                                $17.05
   Amy                  Matsuoka                                 $46.16
   Denise               Matsuoka                                  $0.75
   Tina                 Matsuoka                                $464.02
   Teresa               Matt                                     $10.15
   Adriana              Mattei                                   $26.10
   Austin               Matthew                                  $69.20
   Ann                  Matthews                                  $5.50
   Jessica              Matthews                                $151.85
   Mitch                Matthews                                 $14.03
   Sam                  Matthews                                 $43.60
   Steven               Matthews                                 $28.30
   Valerie              Matthews                                 $29.05
   Michelle             Mattison                                 $17.00
   Monica               Mattson                                 $150.00
   Beth                 Mattsson                                 $64.22
   Carrie               Matuga                                  $217.30
   Ava                  Matuseski                               $487.10
   Bernicewong          Matusow                                  $50.00
   Karen                Matuszewski                               $4.60
   Nadia                Maufe                                    $51.25
   Chelsea              Maughan                                 $150.00
   Claire               Mauksch                                  $20.90

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jordan               Mauldin                                 $1.95
   Derek                Maunus                                $362.15
   K Tristan            Maurer                                $250.00
   Mahil                Maurice                               $225.10
   Megan                Mauseth                                $48.91
   Katrina              Mautner                                $41.35
   Dylan                Maver                                  $51.79
   Heather              Mawla                                   $0.90
   Ben                  Maxon                                 $320.40
   Katy                 Maxwell                                $10.80
   Kelly                Maxwell                               $100.00
   Lily                 Maxwell                                $28.25
   Matthew              Maxwell                                $50.00
   Quanshie,            Maxwell                                $36.64
   Sarah                Maxwell                                 $0.93
   Tanita               May                                   $102.22
   Trevor               May                                    $17.34
   Benjamin             Mayberry                               $14.45
   Elly                 Mayen                                  $36.90
   Dan                  Mayer                                   $9.50
   Pat                  Mayer                                  $45.80
   Robert               Mayer                                 $145.90
   Kathy                Mayerhofer                             $73.60
   Yoni                 Mayeri                                $161.55
   Brandon              Mayfield                               $10.05
   Casey                Mayfield                               $22.69
   Kimberly             Mayhle                                  $0.01
   Mitch                Mayne                                  $31.15
   Tamara               Mayne                                   $0.75
   Dennis               Mayo                                   $16.75
   Janice               Mayo                                    $1.80
   Linda                Mayo                                   $48.45
   Matt                 Mayo                                   $48.12
   Tanya                Mayo                                   $12.15
   Amy                  Mays                                   $10.75
   William              Mays                                   $16.45
   Ezio                 Mazarim Fernandes                       $5.25
   Kristin              Mazovec                                $23.40
   Agnieszka            Mazur                                   $1.80
   Monika               Mazurkiewicz                           $50.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Linda                Mazza                                    $50.00
   Allie                Mazzia                                   $50.00
   Elise                Mazzoni                                  $16.40
   Cassandra            Mc Craw                                   $0.30
   Gerard               Mc Laughlin                             $118.80
   Erin                 Mcadams                                  $51.45
   Jody                 Mcallister                                $9.30
   Marti                Mcallister                              $161.37
   Nichole              Mcallister                              $100.00
   Courtney             Mcalpin                                  $13.85
   Cecily               Mcandrews                                 $1.94
   Keri                 Mcarthur                                  $8.60
   Kathleen             Mcbreen                                  $50.00
   Abbie                Mcbride                                  $50.30
   Hollan               Mcbride                                  $41.65
   Jason                Mcbride                                   $0.10
   Kristin              Mcbride                                 $166.19
   Susan                Mcbride                                  $58.55
   Sussn                Mcbride                                  $85.10
   Dana                 Mccabe                                   $70.06
   Erica                Mccabe                                    $2.40
   Kristen              Mccabe                                   $50.65
   Linda                Mccabe                                   $68.37
   Matt                 Mccabe                                   $44.40
   Sara                 Mccaffree                                 $0.85
   Paul                 Mccaffrey                                $26.60
   Victoria             Mccaffrey                                 $2.37
   Sharon               Mccagg                                  $193.50
   Andrew               Mccallion                               $156.28
   Luke                 Mccann                                    $0.75
   Trisha               Mccanna                                  $30.67
   John                 Mccardle                                 $24.35
   Kate                 Mccarrel                                  $1.65
   Amie                 Mccarthy                                  $3.20
   Danielle             Mccarthy                                  $4.30
   Pat                  Mccarthy                                $129.25
   Sarah                Mccarthy                                 $10.25
   Shannon              Mccarthy                                 $50.00
   Rebecca              Mccartney                                $12.85
   Lindsay              Mccarty                                  $46.69

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Carol                Mccauley                              $100.00
   Tally                Mcclafferty                             $0.05
   Alex                 Mcclain                                 $8.95
   Jen                  Mcclain                                $13.81
   Justine              Mcclain                                 $6.90
   Sue                  Mcclanahan                            $100.00
   Amie                 Mcclane                                $23.01
   Diana                Mcclellan                               $0.25
   Andy                 Mcclelland                             $15.60
   Molly                Mcclernon-Pinches                     $100.00
   Caitlin              Mcclincy                                $4.14
   Chelsea              Mcclure                                $37.75
   Ellen                Mcclure                                 $3.30
   Meg                  Mcclure                                 $9.76
   Vanessa              Mcclure                                $18.10
   Yvonne               Mcclure                                $51.15
   Pam                  Mccollister                            $10.10
   Chad                 Mccollum                               $10.49
   Emily                Mccollum                               $27.15
   Amy                  Mcconnell                              $51.45
   Megan                Mcconnell                              $17.20
   Scott                Mcconville                             $55.19
   Doug                 Mccool                                 $44.45
   Elizabeth            Mccord                                 $40.10
   Justine              Mccord                                  $5.21
   Kellie               Mccord                                  $0.50
   Nicole               Mccormack                              $27.45
   Roberta              Mccormck                                $2.83
   Annette              Mccormick                              $23.70
   Barbara              Mccormick                               $2.51
   Casey                Mccormick                              $68.10
   Jarod                Mccormick                              $89.80
   Jeanne               Mccormick                               $0.67
   Jessica              Mccormick                              $13.05
   Joanne               Mccormick                               $8.95
   Kelley               Mccormick                              $19.50
   Kinsey               Mccormick                              $15.52
   Lindsay              Mccormick                               $1.20
   Pj                   Mccormick                               $1.84
   Robert               Mccormick                             $120.75

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   Robert               Mccormick                               $0.40
   Susan                Mccormick                               $8.05
   Jennifer             Mccort                                 $44.25
   Ali                  Mccourt                                $78.70
   Molly                Mccown                                 $99.30
   Christie             Mccoy                                  $44.32
   Ciara                Mccoy                                   $5.15
   Naj                  Mccoy                                $185.59
   Sarah                Mccoy                                $150.00
   Courtney             Mccrane                                $58.17
   Jerel                Mccrary                                $36.10
   Meghan               Mccray                                 $34.40
   Sandi                Mccreadie                               $3.64
   Mindy                Mccrory                             $1,016.45
   Emily                Mccubbin                               $42.20
   Lauren               Mccue                                $114.76
   Mary                 Mccue                                  $39.45
   Matt                 Mccue                                   $1.49
   Lauren               Mccullagh                               $0.73
   Noreen               Mccullagh                               $0.75
   Marcy                Mcculley                                $7.10
   Colleen              Mccullough                             $11.15
   Anna                 Mccune                                 $10.27
   Martha               Mccune                                 $33.80
   Olivia               Mccurdy-Mcgee                          $85.18
   Daylin               Mcdaniel                               $35.55
   Kelsie               Mcdaniel                                $4.35
   Erin                 Mcdearman                            $366.55
   Carla                Mcdermott                               $3.60
   Matthew              Mcdermott                            $163.35
   Seanthomas           Mcdermott                               $2.51
   Beibhinn             Mcderott                               $95.72
   Claire               Mcdon                                  $25.45
   Abigail              Mcdonald                                $8.95
   Andrew               Mcdonald                               $11.85
   Cathy                Mcdonald                               $40.00
   Cheryl               Mcdonald                               $49.35
   Daniel               Mcdonald                               $19.92
   David                Mcdonald                               $75.00
   Gloria               Mcdonald                             $150.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Linda                Mcdonald                                 $350.00
   Lindsay              Mcdonald                                 $118.05
   Marjorie             Mcdonald                                   $9.70
   Mary                 Mcdonald                                   $3.30
   Melissa              Mcdonald                                   $9.58
   Peri                 Mcdonald                                  $96.21
   Rhonda               Mcdonald                                  $21.25
   Sommer               Mcdonald                                   $0.88
   Stuart               Mcdonald                                  $82.15
   Susan                Mcdonald                                  $50.00
   Christine            Mcdonell                                   $1.06
   Alicia               Mcdonnell                                 $18.15
   Brendan              Mcdonnell                                  $5.38
   Claire               Mcdonnell                                $225.26
   Sean                 Mcdonnell                                  $3.00
   Conor                Mcdonough                                  $6.75
   Kelly                Mcdonough                                 $11.40
   Kerryn               Mcdonough                                  $0.75
   Alison               Mcdougall                                 $30.00
   Heather              Mcdowell                                 $125.69
   Lauren               Mcdowell                                 $156.95
   Sara                 Mcdowell                                  $11.10
   Wilson B.            Mcdowell Iii                               $3.10
   Karen                Mcelhany                                  $20.14
   John                 Mcelhatton                                 $3.15
   Lauren               Mcelhatton                                $56.35
   Kevin                Mcelroy                                  $100.00
   Molly                Mcelroy                                   $38.20
   Pam                  Mcelroy                                   $98.15
   John                 Mcelwain                                 $150.00
   Jacquie              Mcevoy                                    $34.45
   Michele              Mcevoy                                    $58.90
   Dana                 Mcfadden                                   $1.65
   Kristine             Mcfall                                     $5.30
   Jessica              Mcfarland                                  $1.15
   Russell              Mcfarland                                  $4.80
   Sonia                Mcfarland                                 $11.53
   Cerissa              Mcfarlane                                 $50.00
   Chris                Mcfarlane                                 $90.40
   Anna                 Mcgaraghan                                $25.35

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jeffrey              Mcgarry                                 $17.96
   Tom                  Mcgaugh                                  $3.48
   Mj                   Mcgaughey                                $2.55
   Hallie               Mcgee                                    $1.21
   Isabelle             Mcgee                                   $54.60
   Jenifer              Mcgee                                   $50.00
   Janet                Mcghee                                   $0.30
   Linda                Mcgill                                  $41.05
   Fidelma              Mcginn                                 $158.87
   Lisa                 Mcginnis                                $13.95
   Michael              Mcginty                                  $5.20
   Daniel               Mcglynn                                 $33.44
   Sarah                Mcgoran                                 $40.80
   Laura                Mcgourty                               $269.25
   Madigan              Mcgovern                                $78.32
   Ian                  Mcgowan                                $100.00
   James                Mcgowan                                 $81.38
   Laura                Mcgowan                                  $0.75
   Matthew              Mcgowan                                  $3.05
   Rachael              Mcgowen                                 $39.80
   Jenny                Mcgrath                                  $8.35
   Kevin                Mcgrath                                $202.35
   Teresa               Mcgrath                                 $12.15
   Reiann               Mcgrew                                  $35.40
   Sharyl               Mcgrew                                  $21.20
   Anna                 Mcgriff                                  $5.20
   Krystal              Mcguan                                   $0.05
   Sandra               Mcguern                                  $0.35
   Elise                Mcguiness                              $100.00
   Katie                Mcguinn                                 $17.89
   Kendra               Mcguinness                               $0.55
   Matt                 Mcguinness                              $14.95
   Madeleine            Mcguire                                 $17.20
   Lochlan              Mchale                                 $250.00
   Ruth                 Mchale                                  $25.60
   Jason                Mchugh                                  $12.30
   Grant                Mcinnes                                  $5.15
   Clifton              Mcintire                                 $5.65
   Dick                 Mcintosh                               $300.00
   Michelle             Mcintosh                                 $5.72

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Alexa                Mcintyre                                $50.00
   Jeanne               Mcintyre                                $69.37
   John                 Mcintyre                                $63.75
   June                 Mcintyre                                $24.80
   Yasmin               Mcintyre                                $22.08
   Kenneth              Mcisaac                                  $3.55
   Brendan              Mckasy                                  $47.90
   Sarah                Mckay                                    $0.55
   Deb                  Mckee                                  $121.20
   Rebecca              Mckee                                   $19.05
   Dana                 Mckenna                                 $11.65
   Karen                Mckenna                                  $8.22
   Patrick              Mckenna                                 $12.25
   Clara                Mckennett                                $7.61
   Martin               Mckenzie                               $148.80
   Kimberly             Mckeon                                   $4.05
   Kent                 Mckernan                                 $2.00
   Shannon              Mckernan                                 $0.45
   Toby                 Mckes                                   $17.79
   Janice               Mckim                                   $34.25
   Jakob                Mckinley                                 $1.50
   Monica               Mckinley                                 $8.95
   William              Mckinley                                $18.60
   Carolyn              Mckinney                                 $1.70
   Carrie               Mckinney                                $20.35
   Joel                 Mckinney                               $100.00
   Sarah                Mckinney                                 $4.10
   Lisa                 Mcknew                                   $7.25
   Nicole               Mcknight                                $50.00
   Ryan                 Mckone                                 $127.65
   Brigetta             Mclafferty                              $30.00
   Anikah               Mclaren                                  $9.10
   Libby                Mclaren                                 $40.05
   Colleen              Mclarnon                                 $6.05
   Beth                 Mclaughlin                               $8.45
   Brin                 Mclaughlin                              $13.35
   David                Mclaughlin                               $2.55
   Michelle             Mclaughlin                              $23.09
   Trudi                Mclaughlin                               $1.05
   Vicky                Mclaughlin                               $7.35

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Leah                 Mclean                                  $25.20
   Matthew              Mclean                                   $0.40
   Valeria              Mclean                                  $12.95
   Lori                 Mcleese                                 $24.40
   Carter               Mclennan                                $36.15
   Kim                  Mclennan                               $182.30
   Brian                Mcleod                                   $2.00
   Courtney             Mcleod                                  $41.75
   Mollie               Mcleod                                  $55.05
   Jill                 Mclevich                                $25.10
   Cheryl               Mclin                                    $0.09
   Mike                 Mclively                                $49.30
   Dana                 Mcloughlin                              $84.90
   Bridget              Mcmahon                                 $12.55
   Jim                  Mcmahon                                 $72.20
   Meredith             Mcmahon                                 $50.00
   Walter               Mcmath                                   $8.75
   Alexandra            Mcmillan                                $80.72
   Robert               Mcmillan                                $61.80
   Tammy                Mcmillen                                $34.45
   Jay                  Mcmillin                                $13.60
   David                Mcmonigle                               $27.72
   Helen                Mcmonigle                              $100.00
   Christina            Mcmorrow                                 $9.46
   Monteacia            Mcmorrow                                 $8.95
   Allie                Mcmurdo                                  $1.43
   Leah                 Mcmurtry                                 $1.35
   Amanda               Mcnair                                  $41.50
   Edward               Mcnair                                  $78.10
   Emily                Mcnamara                                $58.15
   Mary                 Mcnamara                                $30.00
   Victoria             Mcnaughton                               $2.24
   Kacy                 Mcnaull                                $290.00
   Justin               Mcneal                                  $14.55
   Kyle                 Mcnealy                                 $67.85
   Valerie              Mcnease                                $100.00
   Kelly                Mcneese                                 $36.15
   Travers              Mcneice                                 $50.00
   Lizzy                Mcneill                                  $4.60
   Maribelle            Mcnely                                  $44.15

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Christina            Mcnerney                                  $6.24
   Matt                 Mcnichol                                $335.22
   Matthew              Mcnichol                                $283.52
   Scott                Mcnutt                                    $5.70
   Kathy                Mcphee                                   $50.00
   Wendy                Mcpherson                               $126.69
   Michael              Mcphie                                    $0.58
   Greg                 Mcquaid                                   $6.10
   Emily                Mcqueen                                   $0.55
   Sarah                Mcqueen                                  $25.15
   Paula                Mcquillan                               $116.20
   Julai                Mcquoid                                   $4.60
   Tracy                Mcquown                                 $121.06
   Renee                Mcraven                                  $45.60
   Katie                Mcroberts                                 $1.88
   Caitlin              Mcsunas                                   $1.65
   Juanita              Mcsweeney                               $100.00
   Carolyn              Mcsweenwy                                $67.40
   Ginny                Mcswine                                  $50.00
   Fran                 Mctamaney                                 $8.05
   Brandi               Mcwade                                   $84.85
   Kathryn              Mcweeney                                 $66.10
   Donna                Mcwilliams                               $50.00
   Siki                 Mdaka                                     $2.04
   Alethia              Mead                                     $29.51
   Anna                 Mead                                      $0.02
   Laurel               Mead                                      $7.65
   Non                  Mead                                      $0.35
   Margaret             Mead Gill                                 $1.30
   Susan                Meadows                                  $15.70
   Caroline             Meagher                                  $40.00
   Fernanda             Meagher                                   $0.15
   Tessa                Meaney                                  $188.70
   Justin               Mears                                    $51.70
   Al                   Mecklenburg                               $0.40
   Kelli                Medak                                   $100.00
   Rachel               Medak                                    $63.77
   Scott                Meddles                                  $57.10
   Alexandria           Medina                                    $2.20
   Frankia              Medina                                   $60.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Jeannette            Medina                                    $53.30
   Luz                  Medina                                    $61.05
   Matt                 Medina                                    $50.00
   Reiko                Medina                                     $1.85
   Sergio               Medina                                    $22.30
   Stephany             Medina                                    $16.20
   Stephenie            Medina                                     $1.55
   Steve                Medina                                    $11.20
   Marylou              Medina-Bolus                               $2.20
   George               Medley                                   $100.00
   Elizabeth            Mee                                      $134.10
   Shauna               Meehan                                   $169.70
   Wade                 Meek                                      $41.10
   Krista               Meeks                                     $10.91
   Michelle             Meeks                                     $94.83
   Rosa                 Meeks                                    $250.00
   Rhonda               Meerdink                                 $500.00
   Quinn                Mefford                                   $24.50
   Sara                 Megson                                     $2.55
   M                    Mehan                                      $6.30
   Amy                  Mehdizadeh                                 $4.50
   Scott                Mehlberger                               $436.85
   Tammy                Mehmed                                     $1.85
   Arjun                Mehra                                      $2.85
   Kayla                Mehring                                    $0.15
   Anjali               Mehta                                      $0.35
   Asha                 Mehta                                     $52.95
   Kirtee               Mehta                                     $68.90
   Shayna               Mehta                                      $8.95
   Joanne               Mehus                                     $50.00
   Huijuan              Mei                                       $95.77
   Mary                 Mei                                      $152.55
   Maya                 Meidan                                     $0.50
   Diane                Meier                                     $21.85
   Shay                 Meik                                       $0.35
   Andrea               Mein                                      $50.00
   Andrea               Meinbress                                $115.80
   Jeanne               Meinhardt                                $362.25
   Noah                 Meites                                     $1.40
   Shruti               Mejari                                     $0.20

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Lisette              Mejia                                     $0.10
   Mayra                Mejia                                    $44.75
   Molly                Melamed                                  $10.75
   Michelle             Melanphy                                $100.00
   Olivia               Melaugh                                 $150.00
   April                Melchiode                                $11.80
   Margot               Melcon                                    $2.60
   Lauren               Meldonian                                 $0.40
   Aleksandr            Melentiev                                 $1.15
   Michael              Melillo                                   $5.65
   David                Melis                                    $50.00
   Meigan               Mell                                      $6.40
   Patrick              Mell                                      $7.45
   Diane                Mellett                                   $3.25
   Sally                Mellinger                                 $8.25
   Jessica              Melman                                   $35.80
   Mlesna5              Melniciuc                                 $2.17
   Hanna                Melnick                                 $226.70
   Jennifer             Melnick                                  $25.00
   Ed                   Melodia                                  $71.75
   Rachel               Melone                                   $43.63
   Elizabeth            Meloy                                    $50.86
   Kris                 Melroe                                    $1.61
   Sky                  Meltzer                                   $8.95
   Masood               Memarzadeh                                $1.25
   Lynn                 Memolo                                   $14.10
   Rachel               Mena                                      $1.95
   Chananel             Menachem                                 $59.06
   Merav                Menachem                                  $4.55
   Vincenzo             Menanno                                 $127.15
   Denise               Mencaccy                                  $5.50
   Christina            Menches Cyr                              $10.76
   Margot               Mendelson                               $184.41
   Megan                Mendelson                                $45.60
   Jessica              Mendenhall                               $15.70
   Barbara              Mendes                                   $37.73
   Jacelyn              Mendes                                    $3.95
   Natalie              Mendes                                   $36.15
   Suzanne              Mendez                                   $50.65
   Fernando             Mendizabal                              $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Hilary               Mendola                                $50.00
   Anthony              Mendonca                               $17.43
   Annie                Mendoza                                $14.10
   Carina               Mendoza                               $500.00
   Charline             Mendoza                               $250.00
   Lisa                 Mendoza                                $47.30
   Nina                 Mendoza                               $273.05
   Miriam               Mendoza-Moody                          $26.10
   Marcelle             Menegon                                 $2.85
   Roberto              Meneses                                $33.55
   Chris                Menezes                                 $2.45
   Natala               Menezes                                $14.05
   Josephine            Menkin                                 $45.26
   Jess                 Mennel                                $280.72
   Shweta               Menon                                  $33.31
   Joanna               Mensher                               $100.00
   Julie                Mente                                   $4.20
   Karin                Mente                                  $50.00
   Julie                Menter                                  $1.85
   Shannon              Mentzer                                 $1.85
   Lauren               Menzies                                $25.70
   Margaret             Meo                                     $7.55
   Carlos               Meraz                                   $5.90
   Pamela               Mercer                                 $11.58
   Craig                Merchant                               $28.23
   Lindsay              Mercier                                 $1.15
   Rj                   Merck                                  $89.10
   Nicole               Mercuriali                             $32.80
   Molly                Mercy                                  $15.40
   Michelle             Mere                                   $17.65
   Yvonne               Mere                                    $0.20
   Cara                 Meredith                              $132.30
   Doug                 Merian                                 $50.00
   Sydney               Merk                                   $95.16
   Karen                Merkel                                 $80.00
   Stephanie            Merks                                  $99.32
   Jannine              Merkt                                   $9.81
   Alice                Merola                                 $36.10
   Greg                 Merrick                               $641.75
   Chris                Merrill                                $71.30

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Evelyn               Merrill                                  $67.84
   Allison              Merriman                                 $20.20
   Odile                Merriman                                 $49.85
   Susan                Merritt                                  $75.60
   Andrew               Merritts                                  $5.03
   Misty                Mersich                                  $58.80
   Jennifer             Mertens                                  $31.65
   Anneliese            Mertsch                                   $1.75
   Karen                Merzenich                                 $4.17
   Lord                 Mesa                                     $11.52
   Melanie              Mesch                                     $3.05
   Lielti               Mesfin                                   $38.20
   Audrey               Mesher                                   $48.06
   H                    Mesina                                    $0.40
   Mariana              Mesnik                                    $0.05
   Michelle             Messenger                               $250.00
   Kristin              Messer                                    $0.20
   Michelle             Messersmith                              $50.00
   Stephanie            Messervy                                 $18.35
   Linda                Messick                                  $17.30
   Joshua               Messinger                               $100.00
   Lin                  Messinger                                $53.70
   Tracy                Messinger                                $19.14
   Christina            Mestas                                   $42.80
   Siobhan              Metke                                   $230.45
   Kayne                Mettert                                  $18.44
   Michael              Mettler                                  $30.15
   Rosalyn              Metz                                     $17.30
   Kelly                Metzler                                  $25.30
   Claire               Meunier                                 $444.11
   Sarah                Meunier                                 $200.00
   Wendy                Meunier                                  $36.16
   Cecile               Meurgey                                  $20.47
   Alex                 Meyer                                   $100.00
   Daisy                Meyer                                     $8.66
   Emily                Meyer                                    $19.53
   Eva                  Meyer                                     $6.60
   Jacqueline           Meyer                                   $200.00
   Julie                Meyer                                   $228.95
   Lindsay              Meyer                                     $3.60

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Mandy                Meyer                                  $13.90
   Renee                Meyer                                  $21.70
   Ryan                 Meyer                                  $12.26
   Dave                 Meyers                                  $0.30
   Scott                Meyers                                 $56.35
   Walt                 Meyers                                 $39.50
   Nathaniel            Meyl                                   $38.51
   Bernadette           Meyler                                 $49.75
   Nicole               Mezo                                   $16.15
   Amy                  Mezulis                               $288.89
   Jean                 Miaw                                   $38.00
   Cindy                Michael                                 $4.15
   Jennifer             Michael                               $268.85
   Mary Jo              Michael                               $100.00
   Karine               Michaelian                            $111.20
   Jared                Michaels                               $57.55
   Rebecca              Michals                               $195.20
   Jason                Michalski                              $49.73
   Ariane               Michas                                 $24.60
   Kim                  Michaud                                $50.00
   Alexandra            Michel                                  $0.60
   Clarissa             Michel                                 $20.45
   Dee                  Michel                                 $30.00
   Kyle                 Michel                                  $8.95
   Kimberley            Michelle                              $100.00
   Jeff                 Michels                                $54.75
   Fay                  Mick                                    $0.25
   Sarah                Mickel                                  $4.95
   Erik                 Mickels                                $93.74
   Melanie              Mickelson                               $0.60
   Grant                Mickins                                $20.25
   David                Mickle                                 $58.60
   Karen                Micklewright                           $35.10
   Ben                  Mickus                                  $5.80
   Jon-Pierre           Micucci                                $14.25
   Kylie                Middlebusher                            $3.25
   Claire               Midwood                                $50.60
   Eva                  Miehm                                  $49.05
   Mark                 Mielcarek                              $92.30
   Belvi                Mikery                                 $20.71

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Peter                Mikhail                                 $77.10
   Michael              Miksis                                   $3.20
   Julie                Milam                                   $12.10
   Tiffeny              Milbrett                                $31.60
   Caren                Miles                                    $6.05
   Carrie               Miles                                    $1.50
   Kenya                Miles                                   $88.35
   Kimberly             Miles                                   $48.47
   Matt                 Miles                                    $1.10
   Alex                 Milhano                                $140.55
   Tina                 Milinovich                              $35.00
   Alex                 Militar                                 $41.40
   Ray                  Milkey                                  $33.17
   Lauren               Milkie                                  $50.00
   Douglas              Mill                                    $27.15
   Pascal               Millaire                                $86.10
   Isabelle             Millar                                  $22.66
   Judith               Millar                                   $1.65
   Aubrey               Millen                                  $58.31
   Alex                 Miller                                 $218.09
   Alexis               Miller                                  $84.90
   Amalia               Miller                                 $200.00
   Annie                Miller                                   $5.25
   Ashley               Miller                                  $22.15
   Carly                Miller                                  $14.55
   Carol                Miller                                   $7.55
   Carol                Miller                                  $15.40
   Chris                Miller                                   $5.48
   Chris                Miller                                   $0.54
   Christine            Miller                                  $11.20
   Dan                  Miller                                   $4.58
   Dave                 Miller                                 $235.80
   Denise               Miller                                   $4.87
   Diane                Miller                                 $250.00
   Elisabeth            Miller                                   $1.10
   Elizabeth            Miller                                 $132.71
   Emmalee              Miller                                  $43.10
   Eva                  Miller                                   $1.85
   Gordon               Miller                                  $38.10
   Heather              Miller                                  $55.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jenna                Miller                                $209.15
   Jessica              Miller                                $100.00
   Jodi                 Miller                                  $1.57
   Judy                 Miller                                 $18.10
   Kaetlin              Miller                                 $50.00
   Katie                Miller                                $100.00
   Katy                 Miller                                 $68.15
   Krista               Miller                                  $0.95
   Kyle                 Miller                                $150.00
   Larry                Miller                                 $50.00
   Laura                Miller                                  $4.75
   Lauren               Miller                                 $76.05
   Lauren               Miller                                  $1.30
   Laurie               Miller                                 $50.25
   Leigh                Miller                                $124.36
   Linda                Miller                                 $35.00
   Lindsey              Miller                                  $3.39
   Lisa                 Miller                                  $5.12
   Lisa                 Miller                                 $22.32
   Marcus & Marlena     Miller                                 $44.20
   Mark                 Miller                                 $60.50
   Meg                  Miller                                  $0.50
   Mia                  Miller                                  $3.27
   Michael              Miller                                $243.17
   Michele              Miller                                 $80.55
   Mickey               Miller                                $192.65
   Naomi                Miller                                 $66.40
   Nicholas             Miller                                 $24.51
   Norman               Miller                                 $44.73
   Paul                 Miller                                 $37.10
   Rosalie              Miller                                  $8.80
   Sherrill             Miller                                $125.30
   Shirin               Miller                                 $11.30
   Stef                 Miller                                  $7.74
   Tara                 Miller                                 $25.00
   Teddy                Miller                                 $14.79
   Terri                Miller                                 $36.55
   Toni                 Miller                                  $4.90
   Whitney              Miller                                 $52.25
   Yuki                 Miller                                  $5.85

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Yuki Saito           Miller                                    $183.95
   Yuval                Miller                                     $80.55
   Kelly                Miller-Bailey                              $53.25
   Sofia                Millham                                    $55.60
   Robert               Millie                                     $25.25
   Jennifer             Milling                                     $2.70
   Christine            Millman                                    $48.30
   Jesse                Millman                                    $61.15
   C                    Mills                                       $0.70
   Carol                Mills                                      $23.25
   Chris                Mills                                      $76.94
   David                Mills                                      $20.80
   John                 Mills                                     $217.30
   Ken                  Mills                                      $27.75
   Kevin                Mills                                       $0.01
   Kim                  Mills                                      $10.55
   Leslie               Mills                                      $25.20
   Tony                 Mills                                      $13.45
   Leslie               Millstone                                   $8.65
   Jeremy               Milo                                      $298.30
   Dj                   Milonas                                     $0.75
   Marina               Milonova                                    $0.10
   Yves                 Milord                                      $0.45
   Ilya                 Miloslavskiy                               $71.15
   Meghan               Milovich                                    $0.20
   Alexander            Milovidov                                  $50.00
   Colleen              Miltenberg                                $100.00
   Marilyn              Milton                                     $50.63
   Tina                 Milton                                     $16.10
   Ken                  Mimoto                                      $5.25
   Joyce                Min                                         $3.30
   Atsuko               Minamoto                                   $49.35
   Naho                 Minato                                     $87.10
   Alexis               Miner                                      $57.55
   Casey                Miner                                       $8.95
   Sarah                Minick                                     $30.85
   Caroline             Mink                                        $2.05
   Chelsea              Minkler                                   $173.02
   Kremena              Minkova                                   $100.00
   Yuri                 Minn                                       $19.15

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Katya                Minnick                                   $0.45
   Jessica              Minnitti                                  $3.24
   Craig                Minoff                                   $42.50
   Dani                 Minor                                     $5.30
   Joe                  Minutoli                                  $5.49
   Joe                  Miota                                    $51.63
   Marlene              Mira                                     $20.10
   Hafiz                Miraly                                   $50.00
   Crystal              Miran                                    $52.25
   Caitlin              Miranda                                   $8.95
   Molly                Miranda                                 $243.75
   Nicolas              Miranda                                  $14.35
   Talani               Miranda                                   $4.11
   Louis                Mirante                                  $50.00
   Bhag                 Mirchandani                             $154.10
   Trisha               Mirel                                     $3.25
   Janet                Mires                                     $3.40
   Patrick              Mireur                                    $0.11
   Zachary              Mirman                                   $37.10
   Seemeen              Mirza                                   $150.00
   Trisha               Misal                                     $0.75
   Daniella             Misarti                                   $7.06
   Junko                Mise-Tighe                                $3.84
   David                Mishook                                  $10.75
   Stephanie            Mishra                                  $100.00
   Allison              Miskell                                   $8.74
   Paul                 Misleh                                    $2.16
   Meghna               Misra                                   $150.00
   Marisha              Mistry                                   $32.25
   Tonia                Misvaer                                  $39.15
   Allison              Mita                                      $3.85
   Anna                 Mita                                     $25.80
   Odin                 Mitaine                                   $0.10
   Mada                 Mitambo                                  $10.05
   Ben                  Mitchell                                 $79.10
   Ben                  Mitchell                                 $47.90
   Beth                 Mitchell                                $143.65
   Danna                Mitchell                                 $55.60
   Emily                Mitchell                                  $9.40
   Emily                Mitchell                                  $4.67

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Fleur                Mitchell                                  $3.75
   Heather              Mitchell                                 $28.50
   Jeff                 Mitchell                                 $15.25
   Kianna               Mitchell                                  $0.40
   Krishine             Mitchell                                  $3.15
   Krista               Mitchell                               $100.00
   Kristyn              Mitchell                                  $8.05
   Lisa                 Mitchell                               $184.55
   Radell               Mitchell                                  $4.10
   Sharon               Mitchell                                  $8.70
   Sherrel              Mitchell                               $100.00
   Theresa              Mitchell                                 $11.25
   Meseret              Mitiku                                 $250.00
   Monty                Mitra                                     $8.95
   Nadia                Mitri                                    $25.00
   Brooke               Mitschang                                $63.35
   Lisa                 Mitsunaga                              $100.00
   Alexander            Mittendorf                                $2.15
   Stephanie            Mittendorff                              $18.65
   Chitra               Mittha                                   $48.60
   Krista               Mitzel                                   $73.60
   Jennifer             Miu                                       $0.45
   Joshua               Mix                                      $19.42
   Susan                Mix                                       $4.30
   Stacey               Miyahara                                 $31.15
   Elena                Miyake                                   $81.06
   Lois                 Miyashiro                             $1,956.50
   Ken                  Miyoshi                                   $0.55
   Keren                Mizrahi                                  $19.96
   Rena                 Mizrahi                                  $54.60
   Kiyomi               Mizukami                                  $2.50
   Michele              Mlakar                                   $32.05
   Katie                Mo                                       $10.55
   Seeyew               Mo                                        $7.85
   Tracy                Mo                                     $100.00
   Christiaan           Moberg                                 $184.40
   Lanie                Mocherman                              $155.81
   Susan                Mochizuki                                $40.00
   Yoshi                Mochizuki                              $100.00
   Mitzi                Mock                                      $1.50

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Richard              Mockler                               $100.00
   Joseph               Mocklin                                 $9.16
   Jeff                 Moder                                  $69.95
   Elizabeth            Moe                                     $8.40
   John                 Moe                                     $6.70
   Scott                Moe                                     $7.80
   Zack                 Moe                                   $250.00
   Shaffy               Moeel                                 $395.05
   Alison               Moeller                                $37.10
   Hannah               Moeller                                 $0.70
   Robina               Moen                                    $1.25
   Ann                  Moffat                                 $50.00
   Alex                 Moffit                                  $3.90
   David                Moga                                    $9.15
   Maher                Mogannam                               $10.50
   Rana                 Mogannam                                $9.25
   Athena               Moghaddam                               $8.40
   Jacquelyn            Mogol                                   $3.15
   Brynn                Mohagen                                 $1.95
   Pedrum               Mohageri                               $31.80
   Sabrin               Mohamed                                $12.80
   Selina               Mohammed                               $37.99
   Ramakrishnan         Mohan                                 $200.00
   Sunita               Mohanty                                 $8.95
   Amy                  Mohelnitzky                            $94.82
   Maryam               Mohit                                 $202.20
   Marleyna             Mohler                                 $22.95
   Josh                 Mohr                                   $35.40
   Lionel               Mohri                                  $39.10
   Ehab                 Mohsen                                 $29.06
   Kellie               Moi                                    $60.53
   Priscilla            Moithukshung                           $15.73
   Nadia                Mojaddidy                              $50.00
   Bahar                Mojgani                                 $6.48
   Barney               Mok                                    $25.45
   Jodi                 Mok                                    $37.58
   Diana                Mokaya                                 $28.70
   Oren                 Moked                                 $388.80
   Shama                Moktan                                  $0.72
   Lindsay              Molina                                  $5.75

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Victoria             Molina                                  $2.61
   Craig                Moline                                 $24.15
   Jenny                Molinelli                              $17.30
   Tyler                Molitor                                $50.00
   Danielle             Mollette-Parks                        $293.56
   Colin                Moloney                               $118.50
   Lexlab42             Moloney                                 $2.80
   Loretta              Momme-Couse                            $44.15
   Ian                  Momsen                                 $26.75
   Camron               Momyer                                  $0.83
   Marie                Monaco                                $233.89
   Bridget              Monahan                               $311.95
   Laurie               Monarres                               $65.00
   Matt                 Monasch                                $60.20
   Sandra               Monasch                                 $8.06
   Maria                Moncrease                             $274.35
   Lisa                 Moncur                                 $28.46
   Giesle               Moncure                                 $3.35
   Shouvik              Mondal                                 $87.55
   Sue                  Mondani                                $80.10
   Lindi                Mondavi                                $19.89
   Bree                 Mondragon                              $82.05
   Sergeane             Monero-Jackson                        $109.71
   Allison              Money                                  $83.40
   Joe                  Monforton                               $4.85
   Mary                 Mongan                                  $0.60
   Theresa              Mongan                                 $46.21
   Janet                Monger                                 $20.15
   John                 Mongovan                               $66.59
   Issey                Monk                                    $5.05
   Phillip              Monk                                    $4.20
   Kelsey               Monken                                  $9.90
   Troy                 Monken                                 $40.70
   Sarah                Monpere                                $28.75
   Ricky                Monsalve                                $5.75
   Rosie                Monson                                $208.20
   Tisha                Monson                                 $12.15
   Jacob                Montague                                $0.95
   Thad                 Montalban                              $63.51
   Britton              Montalvo                                $5.04

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Norman               Montano                               $181.65
   Melissa              Montblanc                             $100.00
   Paul                 Monteiro                               $50.00
   Abraham              Monter Primera                        $150.00
   Juvy                 Monterrosa                             $40.00
   Michelle             Monteverde                             $22.20
   Christine            Montgomery                              $3.10
   Dan                  Montgomery                              $0.60
   Georgia              Montgomery                              $1.35
   Grace                Montgomery                            $100.00
   Jenna                Montgomery                            $216.30
   Max                  Montgomery                            $250.00
   Melissa              Montgomery                              $6.65
   Nena                 Montgomery                             $21.50
   Olympia              Montgomery                             $48.35
   Tiana                Montgomery                            $500.00
   Toni                 Montgomery                              $1.25
   Stephanie            Montoya                                 $1.35
   Madison              Montoya Brown                          $52.10
   Hallie               Montoya Tansey                        $186.35
   Feliz                Montpellier                           $108.61
   Ashley               Montulli                                $0.10
   Karen                Monzon                                 $30.15
   Megan                Moodie                                  $3.25
   Ayanna               Moody                                  $50.00
   Jay                  Moody                                  $50.00
   Ronique              Moody                                   $8.70
   Linda                Mooers                                 $28.55
   Anna                 Moon                                   $31.50
   Lauren               Moon                                   $50.00
   Robert               Moon                                    $0.30
   Susan                Moon                                    $3.18
   Ted                  Moon                                  $165.95
   Virginia             Moon                                   $40.05
   Aimee                Mooney                                 $79.55
   Amanda               Moore                                 $283.31
   Brian                Moore                                  $26.15
   Caitlin              Moore                                  $89.54
   Chris                Moore                                   $3.15
   Chris                Moore                                   $6.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Cliff                Moore                                    $0.75
   Don                  Moore                                  $101.25
   Emily                Moore                                  $150.00
   Garry                Moore                                   $19.48
   Jacqueline           Moore                                  $168.10
   James                Moore                                    $2.01
   James                Moore                                   $22.25
   James                Moore                                   $14.40
   Jamie                Moore                                   $35.00
   Jennifer             Moore                                   $26.15
   Julia                Moore                                  $183.45
   Kaidi                Moore                                    $3.00
   Katy                 Moore                                   $18.70
   Kellie               Moore                                   $53.65
   Kelsey               Moore                                    $0.05
   Kenneth              Moore                                  $175.30
   Kimberly             Moore                                  $500.00
   Laura                Moore                                   $50.00
   Lisa                 Moore                                    $1.30
   Luara                Moore                                   $20.91
   Mary                 Moore                                   $10.25
   Megan                Moore                                  $578.65
   Peter                Moore                                   $43.25
   Ryan                 Moore                                   $59.36
   Scott                Moore                                   $33.60
   Shelley              Moore                                   $19.15
   Valerie              Moore                                    $8.95
   Victoria             Moore                                    $3.57
   Willa                Moore                                   $62.70
   Shira                Mor Novick                              $45.05
   Lidia                Mora                                     $5.00
   Belen                Mora-Byers                             $139.75
   Kt                   Morace                                  $21.55
   Lorena               Morado                                   $4.15
   Adam                 Morales                                  $1.85
   Daniella             Morales                                 $44.95
   Diana                Morales                                 $11.25
   Jose                 Morales                                 $75.15
   Kay                  Morales                                 $43.10
   Michael              Morales                                  $0.50

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Shelby               Morales                                $29.10
   John                 Moran                                  $95.05
   Joseph               Moran                                   $1.00
   Sarah                Moran                                   $0.80
   Stephanie            Moran                                   $4.10
   Tyler                Moran                                   $9.50
   Greg                 Morantz                                $70.78
   Beatriz              Moraza                                 $12.75
   Neville              Morcom                                  $0.60
   Guy                  Mordecai                                $5.65
   Jennifer             Mordini                                $38.88
   Sheryl               Mordo                                  $66.15
   Helen                Moreci                                 $50.30
   Dave                 Morehouse                               $2.43
   Maggie               Morehouse                              $24.60
   Erin                 Moreland                                $4.56
   Susan                Moreland                              $402.45
   Tyler                Morell                                 $64.05
   Mary                 Morelli                                $23.80
   Steve                Morello                                $14.60
   Alli                 Moreno                                 $32.10
   Danny                Moreno                                  $0.60
   Gerardo              Moreno                                $161.85
   Laura                Moreno                                 $50.00
   Manuel               Moreno                                  $0.22
   Marina               Moreno                                 $14.30
   Nita                 Moreno                                  $0.30
   Salina               Moreno                                  $0.90
   Kathryn              Moresco                                 $6.26
   Renee                Moresco                               $119.15
   Timothy              Morey                                   $0.70
   Emily                Morfin                                 $26.55
   Alessa               Morgan                                  $1.40
   Amanda               Morgan                                $250.00
   Angela               Morgan                                 $10.60
   Eileen               Morgan                                 $36.25
   Jeremy               Morgan                                 $18.70
   Julie                Morgan                                 $18.47
   Kyle                 Morgan                                  $7.03
   Ron                  Morgan                                 $20.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sandee               Morgan                                  $4.50
   Sasha                Morgan                                 $20.00
   Wendee               Morgan                                $122.15
   Blair                Morgan-Livingston                      $15.17
   Pamela               Morgenfeld                             $88.30
   Elena                Morillo-Peterson                      $100.00
   Sarah-Jane           Morin                                   $6.60
   Priya                Morine                                 $29.90
   Sherri               Morissette                             $15.00
   Julia                Moritis                                 $0.38
   Rene                 Morkos                                 $42.10
   Tracy                Morley                                 $50.00
   Holly                Moro                                   $62.30
   Meghan               Moroney                                $26.60
   Cynthia              Morowitz                               $38.87
   Jennifer             Morrella                               $17.25
   Jennifer             Morrice                                $79.30
   Amanda               Morris                                  $5.03
   Carey                Morris                                 $50.00
   Gitanjali            Morris                                 $50.00
   Gregory J            Morris                                  $0.11
   Jamie                Morris                                  $0.35
   Jayson               Morris                                 $27.35
   Katie                Morris                                  $0.41
   Kelly                Morris                                $383.95
   Lindsay              Morris                                 $31.40
   Lynne                Morris                                 $41.95
   Michael              Morris                                  $5.75
   Rachel               Morris                                 $99.60
   Richard              Morris                                 $50.00
   Sally                Morris                                  $0.30
   Seven                Morris                                 $17.30
   Simon                Morris                                 $15.10
   Haleigh              Morrison                                $0.29
   Joshua               Morrison                              $160.40
   Kerry                Morrison                               $95.05
   Lauren               Morrison                               $47.60
   Richard              Morrison                               $71.00
   Brittany             Morse                                 $586.40
   Julia                Morse                                  $28.94

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Lisa                 Morse                                   $11.65
   Allen                Mort                                     $0.70
   Sarah                Mortensen                                $0.70
   Gail                 Morthole                               $288.58
   Kathryn              Morton                                  $16.15
   Robert               Morton                                  $50.00
   Maria                Mortonson                               $75.00
   Suzanne              Morze                                    $7.35
   Erin                 Mosbaugh                                $15.85
   Derrick              Mosby                                   $48.05
   Joe                  Moschella                               $11.60
   Jessica              Moseley                                  $0.19
   Kristin              Moseley                                 $87.83
   Lonnie               Moseley                                 $10.00
   Jayne                Moser                                   $50.95
   Emily                Moses                                   $66.30
   Janel                Moses                                    $0.20
   Solomon              Moshkevich                              $64.80
   Becky                Moskowitz                               $50.00
   Cassie               Moskowitz                               $14.40
   Dan                  Moskowitz                                $9.05
   Dara                 Moskowitz                                $1.20
   Dina                 Moskowitz                                $2.15
   Alisa                Mosler                                   $0.10
   EB                   Moss                                    $11.12
   Jen                  Moss                                     $5.25
   Stacey               Moss                                     $8.95
   Dee                  Mostofi                                 $50.00
   Golnaz               Motiey                                   $0.15
   Lewis                Motisher                                 $0.20
   Tanya                Motorin                                 $95.04
   Carrie               Mottau                                  $30.00
   Cari                 Mottley                                 $52.15
   Andy                 Moudy                                    $0.35
   Alice                Moughamian                              $56.45
   Gloria               Mounger                                  $2.40
   Barbara              Moura                                   $50.00
   Katherine            Moura                                    $4.60
   Carolyn              Mourlas                                 $50.00
   Carrie               Mouro                                    $9.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   David                Mourra                                  $1.16
   Paul                 Mourraille                             $23.20
   Mahdis               Mousavi                                $20.60
   Bahar                Moussavian                              $1.50
   Sacha                Moustakas                               $0.15
   Susannah             Movsessian                              $4.30
   Alisha               Mowder                                 $38.65
   Alison               Moy                                     $0.23
   Bonnie               Moy                                    $86.25
   Danny                Moy                                    $50.40
   Polly                Moyer                                  $50.00
   Kimmy                Mozart                                  $3.95
   Kathleen             Mozena                                  $2.75
   Delinda              Mrowka                                $204.55
   Deborah              Mudd                                   $31.35
   Caroline             Muegge                                 $11.70
   Melissa              Muela                                  $11.15
   Adina                Mueller                                $49.11
   Eric                 Mueller                                $24.85
   Katy                 Mueller                                $75.00
   Neal                 Mueller                               $150.00
   Phillis              Mueller                                 $8.95
   Richard              Mueller                                $83.33
   Suzanne              Mueller                                $46.20
   Elizabeth            Mufti                                  $40.02
   Mwajuma              Mugambi                                $50.00
   Amy                  Mugg                                  $323.25
   Andrew               Mugica                                 $36.25
   Nevon                Muhammad                                $4.04
   Joselyn              Muhleisen                              $24.15
   Anthony              Mui                                    $10.12
   Carolyn              Muir                                    $1.19
   Kristen              Muir                                   $15.65
   Tracey               Mukoyama                                $5.70
   Nancy                Mulcahy                               $224.50
   Claire               Mulhern                               $485.72
   Stephen              Mulhern                                $65.10
   Ellen                Mulholland                             $30.00
   James                Mulholland                             $60.35
   Elycia               Mulholland Graves                      $24.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jenny                Mulholland-Beahrs                      $87.10
   William              Mulkerin                              $244.15
   Caitlin              Mullan                                  $0.60
   Nate                 Mullaugh                               $20.75
   James                Mullen                                 $75.00
   Jessica              Mullen                                $150.00
   Seth                 Mullen                                  $3.50
   Anel                 Muller                                  $1.25
   Kris                 Muller                                $289.70
   Mimi                 Muller                                 $19.20
   Lee And Mike         Mullery                                 $5.30
   Lisa                 Mulligan                               $31.76
   Kirsten              Mullin                                 $16.10
   Melissa              Mullineaux                             $11.39
   Caitlin              Mullinix                               $36.60
   Anna                 Mullins                                $58.15
   Julie                Mullins                                $30.00
   Laura                Mullins                                 $1.60
   Roger                Mullins                                $11.85
   Stephanie            Mullins                                $35.50
   Rachel               Mulry                                  $42.70
   Suraj                Multani                               $126.10
   Maria                Mulvihill                               $2.72
   Stephanie            Mulvihill                              $16.20
   Girish               Mulye                                 $170.45
   Myles                Mumford                                 $0.20
   Gus                  Mumoz                                   $4.05
   Joseph               Munaretto                             $129.55
   Merle                Mund                                    $1.70
   Sasha                Mungal                                 $50.00
   Molly                Munk                                   $10.56
   Ale                  Munoz                                 $475.30
   Susana               Munoz                                  $45.02
   Abigail              Munro                                   $0.70
   Mia                  Munson                                $246.95
   Pamela               Munster                               $125.00
   Lauren               Muraczewski                            $50.00
   Emily                Murai                                   $0.55
   Gary                 Murakami                               $50.00
   Anoop                Muraleedharan                           $0.60

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jeanine              Murch                                   $2.81
   Moira                Murdock                                 $1.86
   Ina                  Murdock-Santos                         $31.42
   Perla                Murillo                                $17.05
   Kerry                Murolo                                $100.95
   Christy              Murphey                               $107.37
   Ali                  Murphy                                  $6.40
   Christopher          Murphy                                 $54.25
   Clare                Murphy                                  $7.80
   Deborah              Murphy                                 $11.83
   Emily                Murphy                                 $67.60
   Gina                 Murphy                                  $0.86
   James                Murphy                                 $17.90
   Jodi                 Murphy                                  $2.20
   Kaitlyn              Murphy                                $155.70
   Karrie               Murphy                                  $3.54
   Kathleen             Murphy                                 $57.55
   Katy                 Murphy                                 $26.05
   Kelly                Murphy                                 $56.95
   Kimberly             Murphy                                 $16.98
   Lara                 Murphy                                 $14.54
   Laura                Murphy                                 $19.55
   Marie                Murphy                                 $32.90
   Mark                 Murphy                                $250.00
   Mary                 Murphy                                 $45.25
   Maureen              Murphy                                $300.00
   Melissa              Murphy                                 $32.75
   Michael              Murphy                                  $7.30
   Nancy                Murphy                                 $20.57
   Nicolle              Murphy                                 $10.05
   Sara                 Murphy                                 $60.05
   Scott                Murphy                                 $22.15
   Shelby               Murphy                                 $19.10
   Stephen              Murphy                                $100.00
   Suzanne              Murphy                                  $4.20
   Tanya                Murphy                                 $16.50
   Tee                  Murphy                                  $5.15
   Tori                 Murphy                                 $23.90
   Traci                Murphy                                 $10.31
   Victoria             Murphy                                 $62.65

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Nicole               Murphy-Colonna                        $168.35
   Tonya                Murphy-Toft                           $114.40
   Candi                Murray                                 $10.25
   Candice              Murray                                $277.87
   Ciaran               Murray                                $318.20
   Erin                 Murray                                  $0.20
   Jamie                Murray                                  $0.40
   Jim                  Murray                                  $1.13
   Jo                   Murray                                 $20.45
   Kate                 Murray                                  $5.50
   Kylie                Murray                                 $20.90
   Lindsay              Murray                                 $19.30
   Meghan               Murray                                  $0.85
   Melanie              Murray                                  $4.75
   Michael              Murray                                $100.00
   Miranda              Murray                                 $16.80
   Sarah                Murray                                  $0.15
   Thomas               Murray                                  $1.65
   Tracey               Murray                                 $15.50
   Wesley               Murray                                  $4.25
   Anna                 Murrietta                              $18.15
   Fauzia               Musa                                   $50.00
   Amanpreet            Musafar                                 $0.65
   Karen                Musalo                                $127.90
   James                Muscarella                             $23.60
   Kendra               Muscarella                              $3.80
   Gabrielle            Muse                                  $111.40
   Jane                 Muse                                   $34.05
   Anne                 Muse-Fisher                            $11.25
   Lauren               Muse-Fisher                           $145.85
   Greg                 Mushen                                $100.00
   Lisa                 Musick                                  $3.70
   Darcy                Musso                                   $3.60
   Scott                Musson                                $130.10
   Jonelle              Mustich                                 $0.80
   Izak                 Mutlu                                   $7.43
   Yuka                 Muto                                   $31.68
   Chomba               Muwele                                  $0.35
   Patricia             Muzikar                                 $6.73
   Catherine            Muzzy                                  $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Marjorie             Mvemba                                  $0.76
   Joya                 Myer                                  $104.65
   Brett                Myers                                  $11.70
   Dana                 Myers                                 $133.30
   Don                  Myers                                  $30.30
   Jenny                Myers                                  $24.85
   Laura                Myers                                  $56.10
   Mandy                Myers                                  $37.55
   Mindy                Myers                                 $100.00
   Alex                 Myerson                                 $2.54
   Garrett              Myklak                                  $0.15
   Kristine             Mylius                                 $10.05
   Liz                  Mylod                                   $2.05
   Katie                Myrick                                $163.60
   Kim                  Myrick                                 $55.60
   Priscilla            Myrick                                  $2.80
   Clarice              Myszka                                 $50.30
   Jeannie              Myung                                 $123.10
   Hannah               Na                                      $0.40
   Jooree               Na                                      $0.75
   Khandaa              Na                                     $19.10
   Sepideh              Nabavi                                 $50.00
   Malik                Naber                                  $60.05
   Asaf                 Nachmany                               $53.56
   Joan                 Nackerud                                $4.65
   Caroline             Nadal                                   $0.35
   Eleanor              Nadal-Wei                               $8.95
   Jaybal               Nadar                                  $50.00
   Bosmat               Nadav                                   $0.55
   Bryan                Nadeau                                 $33.60
   Catherine            Nadeau                                 $14.15
   Marie-Claude         Nadeau                                  $0.75
   Tina                 Nadeem                                  $0.75
   Jennifer             Nadler                                  $5.20
   Mariana              Nadler                                  $5.45
   Jeff                 Naecker                                 $5.30
   Ashish               Nag                                    $53.20
   Dymphna              Nagar                                  $55.25
   Vijaya               Nagarajan                             $183.60
   Elaine               Nagashima                               $2.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Stephanie            Nagata                                $180.10
   Lisa                 Nager                                  $11.91
   Mckenzie             Nagle                                  $51.75
   Cathy                Nagy                                  $172.35
   Nick                 Nagy                                    $2.85
   Jonathan             Nahass                                 $45.08
   Sara                 Nahass                                  $8.40
   Noushin              Nahavandi                              $30.05
   Lata                 Naidu                                  $26.20
   Jennifer             Naigle                                  $4.52
   Dita                 Naik                                    $9.70
   Puneeta              Naik                                   $40.00
   Colby                Naiker                                 $10.25
   Anita                Nail                                   $33.75
   Fahim                Naim                                   $25.00
   Alex                 Naimark                                $17.80
   Nairin               Nairin                                 $40.35
   Eduardo              Nairn                                   $8.75
   Andrea               Najor                                  $64.95
   Erika                Nakada                                  $1.55
   Eri                  Nakagami                                $0.70
   Gail                 Nakahira                              $100.00
   Steve                Nakajo                                $100.00
   Alicia               Nakamoto                                $7.62
   Emma                 Nakamoto                               $35.85
   Damon                Nakamura                                $1.01
   Mariko               Nakanishi                              $77.05
   Maiko                Nakano                                  $1.65
   Sara                 Nakashima                              $62.05
   Cindy                Nakasuji                                $8.95
   Tera                 Nakata                                 $11.30
   Sharon               Nakatani                              $177.65
   Taylor               Nakayama                               $76.75
   Christa              Nakazawa                                $6.87
   David                Nakley                                 $13.90
   Ayse                 Nal                                     $1.01
   Caitlin              Nalty                                  $40.10
   Hyunjoo              Nam                                    $31.40
   Yuree                Nam                                    $45.00
   Rashmi               Nanal                                  $30.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Elise                Nance                                 $274.30
   Sarah                Nance                                  $16.10
   Seeta                Nangia                                  $0.80
   Sandra               Nanney                                  $2.12
   Ryan                 Nanni                                   $3.43
   Gianna               Nannini                                $50.00
   Tim                  Nanphosy                               $50.00
   Jill                 Napier                                  $3.00
   Susan                Napier                                 $41.90
   Danielle             Napolitano                             $34.23
   Shaila               Narang                                  $2.65
   Maithili             Narasimha                               $2.35
   Shweta               Narasimhadevara                        $38.65
   Shalini              Narayan                                $44.05
   Vasant               Narayanan                               $4.10
   Vinay                Nariani                               $622.15
   Ashley               Narsutis                              $126.16
   Megy                 Nascimento                             $47.80
   Amber                Nash                                   $17.05
   Anne                 Nash                                  $170.00
   Beth                 Nash                                   $11.55
   Eileen               Nash                                  $103.60
   Jenna                Nash                                    $6.45
   Sanee                Nashashibi                             $55.75
   Alissa               Nasiatka                                $4.90
   Heather              Nason                                  $60.00
   Levin                Nason                                  $32.25
   Ethan                Nasr                                    $0.85
   Samira               Nasser                                 $50.00
   Shirin               Nassi                                   $6.00
   Alex                 Nassief                               $250.00
   Barbara              Natali-Sherman                        $148.17
   Himanshu             Nath                                   $50.00
   Amanda               Nathan                                  $0.08
   Annie                Nathan                                  $5.45
   Diane                Nathan                                 $50.00
   Nathalee             Natividad                               $0.20
   Amar                 Natt                                   $11.75
   Linnea               Natt Och Dag                           $17.70
   Charlene             Naughton                              $200.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Antonio              Nava                                  $103.05
   Nathan               Nava                                    $0.90
   Jennifer             Naval                                  $21.17
   Kathleen             Navarra                                 $6.00
   Cecil                Navarrete                              $80.00
   Lynn                 Navarrete                              $44.20
   Andy                 Navarro                                $22.50
   Jimmy                Navarro                                 $0.85
   Nestor               Navarro                                 $1.02
   Tara                 Navarro                                $50.00
   Sarah                Navratil                                $8.95
   Lenore               Naxon                                 $203.01
   Lalita               Nayak                                   $0.30
   Shruthi              Nayak                                  $29.61
   Ash                  Nayar                                   $0.40
   Crystal              Naylon                                 $25.90
   Steve                Naylor                                $165.55
   Shetal               Nayyar                                $125.69
   Yeukaren             Ndlovu                                  $0.95
   Mickey               Ndnu                                   $26.45
   Nana                 Nduom                                  $65.10
   John                 Neal                                   $18.05
   Emma                 Neale                                  $59.70
   Andrew               Neang                                  $55.00
   Liza                 Nebel                                  $50.70
   Sherry               Nebel                                   $4.27
   Harry                Nebenzahl                               $3.65
   Karen                Nedbal                                 $39.10
   Andrew               Neddo                                  $15.06
   Lauren               Neel                                   $49.16
   Jacob                Neeley                                 $12.25
   Yen                  Neely                                  $38.98
   Anne                 Neff                                   $87.90
   Paula                Neff                                   $36.87
   Robert               Negrin                                 $13.20
   Jennie               Neigel                                  $0.05
   Bill                 Neill                                   $8.95
   Kathleen             Neilson                                 $0.20
   Simon                Neilson                               $100.00
   Terrell              Neilson                                 $1.70

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Rachel               Neiman                                      $4.15
   Romni                Neiman                                     $50.00
   Melanie              Neishi                                      $8.95
   Nina                 Nejah                                       $4.60
   Anton                Nel                                        $68.10
   Vincent              Nel                                        $70.48
   Kristi               Nellor                                     $13.38
   Alexandra            Nelson                                     $30.96
   Andrea               Nelson                                     $55.80
   Barbara              Nelson                                     $35.35
   Beryl                Nelson                                     $39.85
   Caitlin              Nelson                                      $1.25
   Dakota               Nelson                                     $12.05
   Jaime                Nelson                                      $0.46
   Jan                  Nelson                                   $108.65
   John                 Nelson                                   $100.00
   Josh                 Nelson                                      $0.10
   Karlyn               Nelson                                  $1,062.76
   Katie/Chase          Nelson                                   $227.55
   Kristen              Nelson                                   $100.00
   Lacey                Nelson                                     $15.06
   Lauren               Nelson                                   $189.16
   Leah                 Nelson                                      $0.05
   Michelle             Nelson                                     $40.00
   Nancy                Nelson                                     $79.70
   Natacha              Nelson                                      $1.35
   Nia                  Nelson                                     $17.95
   Pam                  Nelson                                     $18.94
   Rebekah              Nelson                                     $29.70
   Stacey               Nelson                                     $64.55
   Stephen              Nelson                                      $3.30
   Tessa                Nelson                                   $205.15
   Tom                  Nelson                                      $1.03
   Travis               Nelson                                      $3.10
   Victoria             Nelson                                     $54.45
   Dana                 Nelson-Isaacs                              $15.10
   Howard               Nemerovski                               $100.00
   Michelle             Nemeth                                     $73.53
   Michele              Nemschoff                                  $54.25
   Laura                Nenada                                     $66.10

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sumita               Neogi                                  $19.60
   Allana               Nepomuceno                             $62.20
   Satya                Neppalli                               $13.60
   Sage                 Neri                                   $58.05
   Kim                  Nero                                   $83.90
   Elizabeth            Nesbit                                 $85.55
   Christine            Nesbitt                                 $1.07
   Greer                Nesbitt                                 $1.56
   Kathie               Nesci                                  $50.00
   Marci                Neste                                   $4.17
   Melissa              Neta                                    $4.92
   Kristin              Nethken                                $10.05
   Claire               Nettle                                  $8.95
   Jennifer             Neubauer                              $100.00
   Jonathan             Neumann                                 $6.30
   Sara                 Neuville                                $6.25
   Sylvia               Neuweiler                               $1.90
   Natalie              Nevard Cole                            $36.09
   Harriet              Neves                                  $19.65
   Amy                  Nevin                                   $1.30
   Taylor               Nevin                                  $78.80
   Adam                 Nevins                                 $31.77
   Naaman               Newbold                                $19.17
   Cheryl               Newbrough                               $8.80
   Amy                  Newby                                   $2.38
   Julie                Newcomer                               $15.04
   Emily                Newman                                $100.00
   Jen                  Newman                                  $2.10
   Jennifer             Newman                                 $20.00
   Kent                 Newman                                $148.36
   Lauren               Newman                                  $7.52
   Lesley               Newman                                  $2.55
   Riley                Newman                                 $70.20
   Sarah                Newman                                  $7.20
   Lisa                 Newman-Wise                             $3.00
   Amanda               Newsome                                 $1.00
   Marsha               Newstat                                 $2.85
   Kate                 Newton                                $100.00
   Kory                 Newton                                  $4.30
   Chris                Nezbeth                                $75.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Allen                Ng                                      $0.10
   Amelia               Ng                                     $48.65
   Arthur               Ng                                     $89.13
   Audrey               Ng                                     $74.45
   Chin                 Ng                                      $8.95
   Damond               Ng                                      $7.85
   Destini              Ng                                     $15.80
   Genevieve            Ng                                      $4.20
   Herlina              Ng                                     $36.80
   Jimmy                Ng                                      $1.85
   Marlene              Ng                                      $5.00
   Nathan               Ng                                      $0.95
   Prentice             Ng                                      $4.46
   Rebecca              Ng                                     $27.02
   Sharon               Ng                                     $12.70
   Stanley              Ng                                     $95.30
   Steven               Ng                                      $0.05
   Yvonne               Ng                                      $2.15
   May                  Ngeow                                  $48.20
   Julie                Ngin                                   $23.60
   Anhthi               Ngo                                     $0.60
   Mai                  Ngo                                     $4.82
   Sam                  Ngo                                     $2.90
   Steve                Ngo                                     $1.00
   Antony               Ngondara                                $0.80
   Debbie               Ngow                                  $100.00
   Albert               Nguyen                                  $2.10
   Annie                Nguyen                                 $76.45
   Brian                Nguyen                                 $22.06
   Chau                 Nguyen                                 $10.05
   Christina            Nguyen                                 $40.10
   Christine            Nguyen                                  $0.30
   Dan                  Nguyen                                 $58.20
   John                 Nguyen                                $134.90
   Kim                  Nguyen                                  $9.50
   Kimmie               Nguyen                                  $4.80
   Kristin              Nguyen                                  $8.95
   Linh                 Nguyen                                  $3.05
   Linh                 Nguyen                                 $21.25
   Lisa                 Nguyen                                  $0.59

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Loan                 Nguyen                                  $2.15
   Megan                Nguyen                                 $48.57
   Meredith             Nguyen                                 $32.65
   Minh Thu             Nguyen                                 $21.95
   My Le                Nguyen                                  $5.90
   Mychi                Nguyen                                  $8.95
   Mylana               Nguyen                                  $4.95
   Nancy                Nguyen                                  $4.35
   Sarah                Nguyen                                  $0.09
   Tanya                Nguyen                                  $5.80
   Taylor               Nguyen                                 $16.00
   Theresa              Nguyen                                  $0.95
   Thu                  Nguyen                                 $25.00
   Tommy                Nguyen                                 $50.00
   Tram                 Nguyen                                 $72.08
   Tram                 Nguyen                                $271.40
   Uyen                 Nguyen                                  $9.15
   Vi                   Nguyen                                  $1.36
   Wendy                Nguyen                                 $46.10
   Shelly               Ni                                     $20.75
   Nicabot              Nicabot                                 $5.20
   Matt                 Nichol                                  $2.60
   Annika               Nicholas                                $0.70
   Kelli                Nicholas                                $2.25
   Lindsay              Nichole                                $36.10
   Chris                Nichols                                 $0.01
   Eunice               Nichols                                $73.15
   Frederick            Nichols                                $35.80
   Jenna                Nichols                                $65.25
   Joanne               Nichols                                $39.09
   Karen                Nichols                                $23.10
   Ken                  Nichols                                $12.05
   Liz                  Nichols                                $12.15
   Mildred              Nichols                                $10.00
   Shannon              Nichols                                 $6.81
   Andrew               Nicholson                              $10.25
   Daren                Nicholson                               $0.01
   Devon                Nicholson                              $87.87
   Gina                 Nicholson                             $174.00
   Tristan              Nicholson                              $25.88

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Kendra               Nickel-Nguy                           $106.95
   Kristen              Nickl                                  $50.00
   Stanley              Nicks                                   $6.45
   Kristen              Nicodemus                              $88.50
   Terence              Nicol                                   $4.20
   Lucie                Nicolai                                $32.05
   Keithryn             Nicolas                                 $3.95
   Sarah                Nicoletti                              $10.30
   Keith                Nida                                    $6.49
   Caitlin              Niedermeyer                            $30.55
   Sara                 Niedzwiecki                             $4.10
   Jean                 Niehaus                                $50.45
   Kate                 Niehaus                                $70.80
   Martha               Niehoff                                 $8.95
   Amy                  Nielsen                                $16.10
   Jackee               Nielsen                                 $3.60
   Kaili                Nielsen                                 $4.85
   David                Nieman                                $100.00
   Erik                 Nierenberg                             $63.01
   Karen                Nierenberg                              $8.31
   Rebeccah             Niesen                                $140.40
   Cathy                Nieto                                  $39.85
   Paul                 Niewiadomski                           $85.00
   Angelic              Nigam                                   $9.20
   Camille              Nightingale                             $8.95
   Angy                 Nigro                                   $0.85
   Kathleen             Nihill                                 $50.00
   Diana                Nikci                                   $3.20
   Anna                 Nikhinson                              $15.60
   Melissa              Nikolic                               $252.45
   Kathleen             Niles                                  $25.25
   Pirouz               Nilforoush                             $15.10
   George               Nilsen                                  $2.95
   Jennifer             Nimmer                                 $50.32
   James                Nimri                                 $288.07
   Ashley               Nini                                  $188.53
   Noah                 Nisenkier                               $7.70
   Annie                Nisenson                               $70.05
   Bonnie               Nishihara                              $73.05
   Kimi                 Nishita                                $77.65

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Darlene              Nisleit                                $10.85
   Kristin              Nissim                                 $51.37
   Brett                Nitschke                                $4.15
   Mary                 Nitschke                                $0.65
   Becca                Nitta                                  $76.60
   Dickey               Nitta                                   $1.65
   Carlyn               Nixon                                  $50.00
   Cherie               Nixon                                   $8.11
   Kendra               Nixon                                  $22.55
   Matthew              Nixon                                   $3.75
   Molly                Nixon                                   $1.70
   Ejiofor              Nnaemeka                               $80.65
   Nnkassab             Nnkassab                               $13.35
   Yooju                No                                     $50.00
   Andrew               Noble                                  $25.15
   Elizabeth            Noble                                  $79.15
   Gary                 Noble                                  $12.95
   Tom                  Noble                                 $152.05
   Victor               Noble                                   $2.65
   Aaron                Nobles                                  $0.90
   Paul                 Nock                                  $321.25
   Irene                Nocon                                  $20.90
   Catherine            Noellert                                $2.60
   Lindsay              Nofziger                               $15.03
   Amaya                Noguera                               $163.60
   Cathy                Noh                                    $14.20
   David                Noii                                  $387.85
   Charles              Nol                                   $503.70
   Maria                Nolan                                  $40.25
   Michael              Nolan                                  $26.28
   Victor               Nolasco                                $14.14
   Clari                Nolet                                  $15.15
   Lindsay              Nolte                                  $42.05
   Cate                 Noonan                                 $58.85
   Manjula              Noone                                  $48.80
   Kristin              Nord                                   $36.10
   Lynn                 Nordberg                               $65.18
   Marianne             Norden                                  $5.40
   Heather              Nordlund                               $14.01
   Alison               Nordstrom                              $22.87

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Alison               Nordstrom                               $5.10
   Kasey                Nordvik                                 $4.64
   Shawn                Norlin                                $100.00
   Michael              Norman                                  $5.05
   Caren                Normandin                              $59.15
   Moses                Nornberg                               $11.25
   Alec                 Norris                                  $8.50
   Brian                Norris                                 $66.60
   C Todd               Norris                                  $8.25
   Charles              Norris                                 $74.95
   Will                 Norris                                $100.00
   Fantasia             Norse                                   $0.05
   Amy                  Norstad                                $16.65
   Dawno                North                                 $247.05
   Donn                 North                                  $13.70
   Sara                 Northam                                 $4.15
   Toby                 Northcote-Smith                         $8.95
   Jessica              Northey                                $26.53
   Margot               Northover                              $90.00
   Chris                Norton                                $124.50
   Erin                 Norton                                  $2.60
   Kelsey               Norton                                  $3.20
   Michael              Norton                                  $2.65
   Paget                Norton                                  $7.35
   Sam                  Norwood                                $42.40
   Not A Business       Not A Business                          $9.15
   Ratna                Noteman                                $13.75
   Anna-Lisa            Notter                                 $14.05
   Lou                  Notti                                  $41.10
   Thomas               Noud                                    $8.50
   Beth                 Novak                                  $26.40
   Karolina             Novak                                  $74.55
   Sara                 Novak                                   $1.75
   Nina                 Novasic                                 $3.16
   Michael              Novati                                 $50.00
   Steve                Noveshen                                $2.25
   Brett                Nowak                                 $137.40
   Emma                 Nowinski                               $11.30
   David                Nowlin                                  $4.65
   Jeannette            Noyes                                  $16.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   John                 Nuckel                               $100.00
   Daniel               Nuckles                                 $7.00
   Geoffrey             Nudd                                   $38.85
   Kimberly             Nuessmann                            $100.00
   Kathryn              Nugent                               $250.00
   Kia                  Nugent                                 $11.05
   Lorene               Nugent                               $433.10
   Michelle             Numbers                                 $7.60
   Carrie               Nunes                                  $50.00
   Alexander            Nunez                                   $0.98
   Amy                  Nunez                                   $8.30
   Kayla                Nunez                                   $1.76
   Melissa              Nunez                                  $14.35
   Rona                 Nunez                                   $3.30
   Melanie              Nuni                                   $30.30
   Alane                Nusbaum                                $40.00
   Aron                 Nussbaum                               $50.00
   Kathy                Nusser                                 $84.05
   Michaela             Nuth                                   $25.25
   Izzy                 Nuttall                              $148.18
   Michael              Nuttall                                $50.00
   Aj                   Nuzz                                   $12.55
   Parker               Nygo                                    $1.25
   Krista               Nylen                                  $13.71
   Eamon                O Shaughnessy                          $50.00
   Matthew              Oakland                                $16.30
   Gwen                 Oaksmith                               $10.70
   Leigh Ann            O'Banion                                $8.85
   Yvonne               Obenchain                               $1.95
   Shane                Oberg                               $1,838.65
   Blair                Oberman                                 $3.90
   Gaurav               Oberoi                                 $44.22
   Teresa               Obert                                $100.00
   Caitlyn              Obolsky                                $18.18
   Kufre Abasi          Obong-Eren                             $65.03
   Michael              O'Boyle                                $33.95
   Patty                Obregon                                $13.01
   John                 Obrien                                  $7.00
   Katie                Obrien                               $127.35
   Leslie               Obrien                                  $0.10

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Valerie              Obrien                                  $250.00
   Brett                O'Brien                                  $30.13
   Mark                 O'Brien                                 $150.00
   Nancy                O'Brien                                  $38.90
   Joey                 O'Bryan                                  $78.80
   Kristy               Ocampo                                    $1.70
   Diem                 O'Carroll                                 $2.16
   Allyson              Ocean                                    $35.90
   Nicole               Ochoa                                     $2.83
   Kelly                O'Connell                                 $0.45
   Pilar                O'Connell                               $100.00
   Brendan              Oconnor                                  $45.35
   Liam                 OConnor                                   $5.56
   Rachel               Oconnor                                  $50.00
   Jim                  O'Connor                                 $13.55
   Lindsat              O'Connor                                 $55.59
   Molly                O'Connor                                 $50.00
   Patricia             O'Connor                                 $88.73
   Kristen              Oda                                      $16.90
   Patricia             Oda                                      $28.20
   Julia                Odelowo                                  $95.05
   Derek                O'Donabhain                             $100.00
   Colleen              Odonnell                                  $4.50
   Jacolyn              Odonnell                                  $4.78
   Sabrina              Odonnell                                  $4.40
   Kristen              O'Donnell                                $67.80
   Garrett              Odonoghue                                $39.80
   Julie                Oeffinger                                 $0.65
   Soomin               Oeffinger                                $50.00
   Sarah                Oeltjen                                  $14.39
   Maria                Oettinger                                 $0.84
   Deborah              Offner                                    $0.77
   Jackie               Oflynn                                   $50.00
   Fritz                Ofner                                   $132.80
   Jasmine              Ofodu                                     $1.00
   Cassandra            O'Gara                                   $70.70
   Deb                  Ogburn                                   $16.11
   Linnea               Ogden                                    $37.85
   Breyn                Ogg                                     $150.00
   Leanne               Oggier                                   $26.55

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kelley               Ogle                                   $100.00
   Max                  Oglevee                                  $0.30
   Kate                 O'Grady                                 $57.35
   Tayo                 Oguntebi                                $35.00
   Erin                 Oh                                      $18.20
   Jen                  Oh                                     $208.75
   Kyuli                Oh                                       $7.02
   Francesca            Ohanessian                              $11.20
   Coral                Ohara                                    $1.35
   Maureen              Ohara                                  $223.85
   Allison              Ohori                                   $75.90
   Masako               Oishi                                  $108.90
   Sai                  Okabayashi                               $2.43
   Paul                 Okada                                   $47.40
   Betty                Okamura                                  $9.28
   Shannon              Okeefe                                  $64.98
   Chrissy              O'Keefe                                  $8.65
   Jeremy               O'Keefe                                  $2.15
   Kate                 O'Keefe                                 $44.00
   Michelle             O'Keefe                                  $2.60
   Stephanie            O'Keefe                                 $15.20
   Suzanne              O'Kelley                               $111.95
   Kerry                O'Kelly                                 $16.10
   Karen                Okerlund                                $80.55
   Donna                Oksenberg                               $15.25
   Craig                Oku                                    $127.65
   Julia                Okuda                                    $5.25
   Josh                 Okun                                    $47.49
   Leonore              Okwara                                   $2.35
   Linda                Okwu                                     $7.00
   Amy                  Olander                                 $20.10
   Danielle             Olander                                 $24.20
   Eric                 Oldendick                               $73.15
   Alison               Oldford                                 $28.15
   Elizabeth            Oldiges                                  $0.90
   Katy                 Olds                                    $24.20
   Morgan               O'Leary                                 $14.55
   Susan                O'Leary                                 $40.21
   Janet                Olejar                                   $8.95
   Kim                  Olenic                                   $4.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kim                  Olenic                                 $354.95
   Beth                 Olenik                                 $194.70
   Juan                 Olguin                                 $184.01
   Crystal              Olig                                    $13.50
   Heather              Oliphant                                $16.23
   Christina            Oliva                                   $40.00
   Jasmin               Oliva                                    $3.80
   Javier               Olivan                                 $250.00
   Lea                  Oliveira                               $124.65
   Marcelo              Oliveira                                 $0.80
   Diana                Oliver                                  $51.70
   Marie                Oliver                                 $200.00
   Patrick              Oliver                                  $65.05
   Rachel               Olivia                                   $5.85
   Sandro               Olivieri                               $129.30
   Danielle             Olivotto                                 $6.20
   David                Olkovetsky                              $12.30
   Louise               Ollano                                 $100.00
   Chris                Ollila                                  $81.05
   Richard              Olmstead                                $80.00
   Mary Susan           Olmsted                                  $5.94
   Martin               Oloughlin                                $7.80
   Kristin              O'Loughlin                             $100.00
   Alyssa               Olow                                    $16.35
   Ola                  Olow                                     $5.24
   Keri                 Olrich                                  $50.00
   Cinthya              Olsen                                   $74.10
   Erik                 Olsen                                   $31.05
   Jessica              Olsen                                   $15.56
   Katie                Olsen                                    $2.40
   Lynn                 Olsen                                  $163.14
   Megan                Olsen                                   $70.10
   Paul                 Olsen                                    $8.85
   Ronen                Olshansky                               $50.00
   Sara                 Olsher                                  $29.56
   Belinda              Olson                                    $4.10
   Bonny                Olson                                   $50.00
   Callie               Olson                                   $29.00
   Chelsea              Olson                                   $22.82
   Evan                 Olson                                   $77.17

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Hanna                Olson                                   $6.49
   Jennie               Olson                                  $38.30
   Jodi                 Olson                                  $26.45
   Kathleen             Olson                                 $100.00
   Kay                  Olson                                  $19.40
   Kristin              Olson                                  $64.84
   Linda                Olson                                   $3.20
   Mats                 Olson                                 $103.50
   Robert               Olson                                  $49.30
   Shana                Olson                                 $178.10
   Tracy                Olson                                  $18.63
   Bob                  Oltmans                                $79.15
   Wendy                Olwell                                  $2.65
   Tom                  Om                                      $3.30
   Melissa              Omahony                                 $0.07
   Nicole               Omalley                                 $0.01
   Ibrahim              Omar                                    $6.05
   Ron                  O'Meara                                $68.20
   Iori                 Omura                                  $92.80
   Ben                  Onanian                                 $0.37
   Lisa                 Oneil                                  $80.60
   Joe                  Oneill                                $100.00
   Yvonne               Oneill                                  $0.25
   Audrey               O'Neill                                 $3.06
   Casey                O'Neill                               $128.25
   Marianne             O'Neill                                 $8.58
   Rebecca              O'Neill                                 $4.05
   Sara                 O'Neill                                $13.90
   Terry                O'Neill                                $11.80
   Angeline             Ong                                     $1.80
   Anna                 Ong                                    $45.95
   Ash                  Ong                                    $12.17
   Bernardette          Ong                                   $361.35
   Edda                 Ong                                    $12.25
   Holly                Ong                                     $6.60
   Janice               Ong                                   $425.63
   Karen                Ong                                    $52.10
   Lin                  Ong                                    $42.55
   Denise               Onishi                                 $78.90
   Glenn                Onizuka                                $69.75

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Vanessa              Onsurez                                  $11.40
   Melih                Onvural                                   $5.35
   Marcus               Oostdam                                  $11.90
   Cynthia              Opanhoske                                 $2.95
   Ilyse                Opas                                     $33.25
   Ellen                Opie                                    $233.35
   Michelle             Oppen                                     $0.95
   Ellen                Oppenheim                                 $4.59
   Laura                Oppenheimer                              $56.25
   Jessica              Oqvist                                   $10.25
   David                Orasin                                   $25.00
   Michele              Oravec                                    $8.26
   Matthew              Orcutt                                   $49.65
   Vanessa              Orcutt                                    $2.65
   Catherine            Oregan                                   $31.30
   Marie                Oregan                                   $78.85
   Hannah               O'Reilly                                 $73.50
   Rose                 O'Reilly                                 $56.65
   Merle                Orelove                                  $44.75
   James                Orengo                                    $2.80
   Matt                 Orfuss                                  $500.00
   Megan                Organ                                    $50.00
   Angel                Orinion                                 $204.25
   Rachel               Orkand                                    $7.65
   Amy                  Orlandi                                   $4.00
   Shalom               Ormsby                                    $1.50
   Julie                Ornelas                                  $47.05
   Nicole               Ornelas                                  $37.80
   Rosa                 Ornelas                                  $40.00
   Barbara              Ornellas                                 $12.45
   Jaclyn               ORourke                                  $31.30
   Joanne               Orourke                                   $0.20
   Christina            Orozco                                    $1.30
   Samantha             Orr                                       $0.43
   Vanessa              Orr                                      $16.40
   Gilbert              Orser                                     $4.05
   Caroline             Orsi                                    $237.45
   Alexis               Ortega                                   $32.64
   Alice                Orth                                      $5.95
   Brenda               Ortiz                                   $263.65

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Shannon              Ortiz                                  $24.45
   Kimberly             Ortiz- Hartman                         $54.10
   Barbara              Ortutay                                $15.69
   Joanna               Ortynska                               $35.80
   Joseph               Orzano                                $250.00
   Jeff                 Osborn                                 $13.12
   Lois                 Osborn                                  $8.30
   Carlton              Osborne                                $50.00
   Don                  Osborne                                 $1.05
   Jamie                Osborne                                $14.11
   Roland               Osborne                                 $6.05
   Vanessa              Oseguera                                $6.10
   Wendy                Oser                                  $115.75
   David                Oseroff                                $10.55
   Sophie               O'Shaughnessy                           $0.15
   Michael              O'Shauughnessy                         $10.75
   Joan                 Oshea                                   $2.88
   Liz                  OShea                                   $8.65
   Shiva                Oshea                                   $4.15
   Fiona                O'Shea                                  $0.70
   Judy                 O'Shea                                $203.15
   Melody               O'Shea                                 $92.15
   Taylor               O'Shea                                 $56.30
   Chris                Osian                                  $23.15
   Beth                 Osier                                   $1.15
   Sibelle              Oskarsson                              $66.30
   Nadia                Oskolkoff                              $50.00
   Amy                  Osman                                   $0.15
   Nicole               Osmer                                   $2.10
   Anne                 Osmun                                 $100.00
   Araceli              Osorio                                $115.03
   Christina            Osorio                                 $26.60
   L                    Osterman                               $25.70
   Emily                O'Sullivan                             $50.00
   Elizabeth            Oswald                                 $18.58
   Asuka                Ota                                    $77.15
   Francisco            Otero                                  $59.04
   Renee                Otero                                   $7.40
   Shane                Otis                                   $53.25
   Paula                O'Toole                                 $7.60

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Kimberly             Otsuka                                 $17.95
   Lisa                 Ott                                     $0.20
   Mary                 Ott                                     $8.95
   Matthew              Ott                                    $21.20
   Britta               Ottersgard                              $5.69
   David                Otterson                               $50.00
   Joyce                Ottey                                   $1.15
   Rebekah              Otto                                   $18.75
   Allie                Ottoboni                               $11.10
   Jennifer             Ottovegio                              $23.65
   Michael              Ou                                     $90.25
   Stephanie            Ouadah                                 $62.05
   Al                   Ovadia                                  $8.95
   Kassa                Overall                                $90.25
   Justin               Overdorff                              $32.10
   Lynn                 Overgaard                             $186.05
   Elisa                Overholt                               $66.60
   Adam                 Overholtzer                            $50.00
   Kari                 Oversvee-Choi                         $182.10
   Sarah                Overton                                $36.55
   Susan                Overton                               $100.00
   Anne                 Owen                                   $56.17
   David                Owen                                   $50.00
   Emily                Owen                                   $18.20
   Graham               Owen                                   $14.60
   Shawna               Owen                                  $100.00
   Therese              Owen                                    $1.55
   Travis               Owen                                    $0.93
   Will                 Owen                                   $82.46
   Jen                  Owens                                   $0.05
   Maria                Owens                                  $27.95
   Suzanne              Owens                                   $1.45
   Meghan               Ownbey                                  $5.08
   Natalie              Owsley                                  $9.60
   Geoff                Oxholm                                  $6.13
   Sandra               Oza                                    $99.45
   Eilene               Ozawa                                  $13.45
   Gizem                Ozbay                                  $41.65
   Volkan               Ozcelik                                 $2.60
   Simal                Ozen Irmak                            $220.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Okan                 Ozkan                                  $50.35
   Alexis               Ozuna                                  $25.00
   Annamarie            P                                      $48.80
   John And Christina   P                                      $50.00
   Lori                 P                                      $19.20
   Lisa                 P.                                     $10.60
   Socha                Pa                                     $53.70
   Katie                Paap                                    $0.35
   Paul                 Pacampara                              $34.31
   Danielle             Pace                                  $213.63
   William              Pacheco                                $53.10
   Deanna               Pachinger                              $50.00
   Becky                Packard                                 $5.75
   Heath                Packard                                 $1.14
   Rebecca              Packard                                $15.60
   Brad                 Packer                                $245.90
   Tracey               Packer                                 $32.26
   Matt                 Paden                                   $0.12
   Mita                 Padhi                                  $33.48
   Lori                 Padilla                               $111.90
   Drew                 Pador                                   $0.25
   David                Padowitz                               $29.80
   Amy                  Padula                                 $35.80
   Chelsea              Pagan                                  $50.00
   Kim                  Pagani                                $135.82
   Rebecca              Pagani                                $543.74
   Erin                 Pagano                                $129.10
   Judee                Pagarigan                              $11.55
   Ali                  Page                                  $108.65
   Chris                Page                                   $25.35
   Pavey                Page                                   $11.50
   Shane                Page                                    $1.01
   Dylanjoryp           Pager                                   $1.98
   Rathna               Pai                                     $0.55
   Sybil                Paige                                  $20.68
   Lucy                 Paik                                   $50.00
   Remy                 Paille                                  $6.15
   Kelly                Paine                                  $32.45
   Eugene               Pak                                   $675.96
   Jennifer             Pak                                     $7.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Julie                Pak                                     $0.90
   Kyong                Pak                                   $100.00
   Neda                 Pakdaman                               $23.65
   Alex                 Palacios                                $5.00
   Carlos               Palacios                               $32.25
   Rachel               Palangie                                $8.95
   Satya                Palani                                  $1.40
   Jenn                 Palbusa                                $55.75
   Orven                Palencia                               $15.95
   Denise               Paler,O                                 $1.25
   Carleen              Pallavicini                            $15.25
   Lindsey              Palm                                    $8.95
   Christine            Palma                                   $3.76
   Brandon              Palmen                                  $8.45
   Christine            Palmer                                  $9.86
   Holly                Palmer                                 $56.20
   Jamie                Palmer                                  $0.97
   Kara                 Palmer                                  $5.89
   Kate                 Palmer                                 $15.69
   Kirby                Palmer                                $208.20
   Sally                Palmer                                $250.00
   Sharon               Palmer                                 $85.55
   Sharon               Palmer                                  $5.20
   Yavonne              Palmer                                 $11.05
   Ashley               Palmquist                              $50.00
   Lizzy                Palmquist                             $191.13
   Patricia             Palomares                             $186.70
   Daniella             Palomo Watkins                          $7.40
   Kelli                Palsha                                 $20.89
   Jason                Palumbo                                $46.05
   Elysha               Paluszek                               $19.90
   Corinne              Pampinella                             $29.45
   Peter                Pampusch                                $8.20
   Qianyao              Pan                                     $0.77
   Kasra                Panah                                  $26.42
   Kristen              Pandhi                                  $6.80
   Adarsh               Pandit                                 $14.05
   Jessica              Panes                                   $1.60
   Tamara               Pang                                   $15.47
   Chris                Pangilinan                              $0.30

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Teresa               Pangilinan                             $50.00
   Linda                Panico                                 $51.21
   Sunil                Panikkath                              $31.36
   Greg                 Panos                                   $0.50
   Jane                 Pansky                                  $0.53
   Matthew              Pansy                                  $15.55
   Ashley               Pantuliano                             $99.05
   Athena               Panzar                                 $59.15
   Luke                 Pao                                     $0.80
   Tina                 Pao                                    $17.35
   Gregory              Paolino                                $10.95
   Lauren               Paolino                               $100.00
   Karen                Paone                                   $1.65
   Joanna               Papaioannou                            $23.15
   Antonio              Papale                                 $93.56
   Robyn                Papanek                                $53.25
   Lara And Christina   Papanestor-Chan                         $4.40
   Amanda               Papanikolas                            $65.42
   Tanya                Paparella                               $0.90
   Elise                Papazian                               $20.10
   Deanna               Papedis                               $119.40
   Phanessa             Pappas                                 $31.58
   Josh                 Pappert                                $30.45
   Kathleen             Pappert                               $103.35
   Celine               Parade                                  $1.90
   Lia                  Paradiso                                $0.80
   Cheryl               Paraguya                               $50.00
   Efren                Pardilla                                $2.25
   Colette              Pardini                                 $1.60
   Isela                Pardo                                   $7.65
   Megan                Pardo                                   $0.20
   Pearl                Pardo                                   $1.30
   Becky                Paredes                                $13.25
   Ivonne               Paredes                                $40.00
   Audrey               Parent                                  $0.78
   Linda                Parent                                 $16.39
   Valentin             Parge                                   $0.90
   Arpan                Parikh                                $113.60
   Needhi               Parikh                                 $90.10
   Rujuta               Parikh                                 $55.16

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Austiaj              Parineh                                 $0.30
   Shadie               Parivar                                 $2.07
   Aromi                Park                                   $56.10
   Chantra              Park                                  $143.86
   Chloe                Park                                    $7.36
   Crystal              Park                                   $36.07
   David                Park                                    $4.60
   Dennis               Park                                    $2.65
   Ed                   Park                                   $80.00
   Elisha               Park                                    $8.30
   Gerald               Park                                   $10.05
   Hailey               Park                                    $0.05
   Irene                Park                                  $100.00
   James                Park                                  $200.00
   Jason                Park                                    $3.80
   Jessica              Park                                  $109.15
   Jung                 Park                                   $19.85
   K. D.                Park                                    $1.60
   Lisa                 Park                                  $138.75
   Patrick              Park                                    $8.95
   Rebecca              Park                                    $1.30
   Shan                 Park                                   $21.50
   Sophia               Park                                   $13.75
   Suhee                Park                                    $0.15
   Susie                Park                                   $15.74
   Sylvia               Park                                    $0.35
   Becky                Parker                                 $14.55
   Cynthia              Parker                                $100.00
   David                Parker                                 $50.00
   Geoff                Parker                                 $45.98
   Heidi                Parker                                  $1.65
   Kellie               Parker                                $136.12
   Larry                Parker                                  $3.60
   Leslie               Parker                                $279.95
   Lexie                Parker                                  $3.20
   Marney               Parker                                  $8.65
   Matt                 Parker                                 $12.52
   Melanie              Parker                                  $3.53
   Michelle             Parker                                 $93.60
   Nansee               Parker                                 $11.10

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Teri                 Parker                                 $433.20
   Cathy                Parkes                                  $10.30
   Scott                Parkin                                   $3.60
   Stephanie            Parkins                                  $0.23
   David                Parkinson                              $194.25
   Yetty                Parkman                                $206.85
   Sheila               Parmar                                   $1.25
   Ilana                Parmer                                 $218.20
   Joan                 Parmer                                  $13.30
   Julia                Parmer                                   $7.45
   Michelle             Parnes                                  $54.70
   Renee                Paro                                    $68.35
   Zoe                  Parr                                     $4.75
   Alex                 Parra                                   $11.36
   Pascal               Parra                                   $31.06
   Sara                 Parra                                   $23.60
   Neil                 Parris                                   $7.25
   Kyle                 Parrish                                  $1.20
   Maggie               Parros                                   $0.29
   Charlene             Parry                                   $28.60
   Leah                 Parsanko                               $100.00
   Berj                 Parseghian                               $6.26
   Kate                 Parsons                                 $82.27
   Marit                Parten                                   $2.80
   Johanna              Partin                                   $1.86
   Patti                Partington                              $50.00
   Diana                Partovi                                $166.40
   Haleh                Partovi                                  $0.15
   Bill                 Partridge                              $235.06
   Savannah             Partridge                              $106.77
   Tamasin              Partridge                               $39.15
   Jessica              Pasa                                     $6.41
   Cherry               Pasamba                                  $0.70
   Hayley               Pascale                                  $2.40
   Jimidenise           Paschal                                  $0.90
   David                Pascoe                                  $50.00
   Mia                  Pascoe                                  $40.00
   Steve                Pascucci                                $21.95
   Lisa                 Pascuzzi                                $34.92
   Joe                  Pasini                                  $55.01

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Susan                Pasnick                                    $2.35
   Mike And Joanne      Pasotti                                   $71.05
   Sara                 Pasquinelli                                $1.25
   Sergio               Pasquini                                  $50.00
   Celimene             Pastor                                   $111.05
   Sarah                Pastran                                  $292.68
   Daniel               Pastrana                                  $17.26
   Blair                Pasut                                      $5.60
   Stefan               Paszke                                    $10.29
   Saad                 Patail                                     $5.34
   Tim                  Pataki                                    $11.21
   Josh                 Patashnik                                  $9.85
   Karen                Patchell                                  $50.00
   Colin                Patchin                                  $138.90
   Susan                Pate                                       $6.85
   Anant                Patel                                     $20.50
   Ankita               Patel                                      $4.40
   Devanshu             Patel                                    $200.00
   Hetal                Patel                                      $4.20
   Jalpa                Patel                                     $18.20
   Kirsten              Patel                                     $73.50
   Kruti                Patel                                      $4.95
   Laura                Patel                                     $38.30
   Lina                 Patel                                      $8.95
   Minal                Patel                                     $39.25
   Mital                Patel                                     $25.15
   Monique              Patel                                     $48.13
   Neelam               Patel                                      $8.95
   Nirali               Patel                                    $112.70
   Ronak                Patel                                     $82.10
   Samir                Patel                                     $81.38
   Seema                Patel                                      $4.95
   Shivani              Patel                                      $2.85
   Roshni               Patel-Romero                              $24.65
   Bhavana              Patil                                      $0.25
   Jp                   Patil                                     $20.10
   Niteen               Patkar                                    $76.45
   Gregg                Patner                                    $50.00
   Gregg                Patner                                     $0.30
   Lynn                 Patner                                     $3.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sarah                Patrick Morgese                        $27.89
   Anthony              Patroni                               $124.46
   Diana                Patterson                              $38.15
   Emily                Patterson                              $12.95
   Jennifer             Patterson                              $17.96
   Joseph               Patterson                             $135.70
   Karen                Patterson                             $210.00
   Kristin              Patterson                               $0.89
   Kristy               Patterson                             $211.05
   Mike                 Patterson                              $24.35
   Rachel               Patterson                              $29.80
   Sarah                Patterson                              $33.45
   Tamara               Patterson                              $43.70
   Maggi                Pattillo                               $28.30
   Shion                Pattishall                              $4.05
   Ginny                Patton                                  $0.50
   Bonnie               Pau                                   $100.00
   Dereck               Paul                                    $3.20
   Emily                Paul                                  $102.65
   Erich                Paul                                    $4.31
   Evan                 Paul                                   $19.40
   Jackie               Paul                                   $24.25
   Jessica              Paul                                   $50.00
   Megan                Paul                                    $1.85
   Patrice              Paul                                  $136.76
   Renee                Paul                                  $139.10
   Rick                 Paul                                    $0.01
   Sharon               Paul                                  $100.00
   Cindy                Paulazzo                                $4.25
   Erica                Paulhus                                $50.00
   Marian               Pauli                                 $102.75
   Mark                 Paulino                                $70.95
   Amy                  Paulsen                                $19.30
   Kevin                Paulsen                                 $5.25
   Robert               Paulsen                                 $6.70
   Christine            Paulson                                 $0.70
   Kale                 Paulson                                 $0.41
   Lisa                 Paulson                                 $8.15
   Laurie               Pauselius                              $20.20
   Pierre               Pavageau                                $0.11

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Marina               Pavlova                                  $0.50
   Corinne              Pavlovic                                $42.05
   Jean                 Pawek                                    $6.35
   Megan                Pawloski                                $50.00
   Eliza                Pawlowski                                $0.20
   Amy                  Paylor                                  $55.25
   Aaron                Payne                                   $32.30
   Jenny                Payne                                   $15.85
   Maren                Payne                                   $11.95
   Oliver               Payne                                   $18.05
   Stacey               Paynter                                 $50.00
   Kristina             Payton                                  $81.65
   Lara                 Payton                                   $3.87
   Karla                Paz                                      $1.70
   Sarah                Peabody                                 $10.15
   Elizabeth            Peacock                                  $3.40
   John                 Peacock                                 $15.35
   Laurel               Peacock                                 $10.37
   Sarah                Peacock                                  $8.95
   Courtney             Peagler                                 $13.25
   Irvin                Peagler                                 $20.00
   Lance                Peak                                   $197.75
   Jonathan             Peake                                   $20.05
   Jennifer             Pearce                                  $45.15
   Kaycey               Pearce                                   $4.46
   Kristen              Pearce                                 $250.00
   Sonny                Pearce                                   $4.80
   William              Pearce                                 $326.49
   Jonathon             Pearman                                 $59.80
   Kelly                Pearsall                                $23.95
   Amber                Pearson                                 $32.08
   Joelle               Pearson                                  $8.95
   Jonathan             Pearson                                 $28.60
   Stephanie            Pearson                                  $5.90
   Emily                Pease                                   $10.65
   Mariana              Pease                                   $75.00
   Maggie               Peat                                   $157.40
   Nick                 Pecchenino                              $30.30
   Nikki                Pechet                                  $67.30
   Maddie               Pecini                                  $80.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Joseph               Peck                                   $180.55
   Matthew              Peck                                     $2.85
   Lanchi               Pedersen                                 $2.25
   Becky                Pederson                                $50.00
   Brian                Pederson                                $47.20
   Erica                Pederson                               $313.35
   Tiffany              Pedigo                                  $83.10
   Ana                  Pedros                                  $64.39
   Paul                 Pedtke                                  $36.20
   Maryann              Peebles                                  $7.35
   Jessica              Pegue                                   $43.51
   Joseph               Peha                                     $3.15
   Mary-Bridget         Pehl                                    $29.30
   Michelle             Peifer                                  $41.96
   Melissa              Pelaez                                  $75.00
   Greg                 Pelander                                 $0.95
   Maribeth             Pelayo                                  $24.40
   Nicholas             Pelczar                                 $27.35
   Dana                 Pelfini                                 $25.82
   Josh                 Pelham                                   $4.85
   Nick                 Pelis                                   $38.36
   Annie                Pellegrini                              $10.65
   Jeanne               Pelletier                               $75.00
   Deb                  Pellinacci                               $3.30
   Sarah                Pelonio                                  $0.02
   Jonathan             Pelsis                                  $75.65
   Josh                 Pelz                                     $0.99
   Larry                Pelzner                                $115.05
   Lily                 Pemberton                              $302.10
   Cristiana            Pena                                    $51.35
   Sunray               Pena                                    $79.41
   Tyler                Pender                                   $6.25
   Althea               Peng                                    $29.16
   Carol                Peng                                    $10.20
   Emma                 Peng                                    $63.00
   Kitty                Peng                                     $5.50
   Rebecca              Penn                                    $43.95
   Jocelyn              Penner                                   $0.07
   Laura                Penner                                 $186.80
   Marnie               Pennington                              $35.80

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Esther               Penny                                     $3.40
   Anne                 Pennypacker                               $4.22
   Florence             Pennywell                                 $8.90
   Megan                Penrose                                  $10.02
   Naveen               Pentapelli                               $50.00
   Amy                  Pentico                                   $1.50
   Jodi                 Penzer                                    $0.08
   Chris                Pepper                                    $2.25
   Noah                 Pepper                                   $35.05
   Sean                 Pepper                                   $49.30
   Jack                 Peralta                                 $100.00
   Marie                Peralta                                   $4.76
   Monica               Peralta                                   $1.10
   Laurie               Percival                                  $2.70
   Cameron              Percy                                    $29.57
   Janelle              Perdue                                    $8.95
   Tara                 Perea                                     $6.10
   Emily                Pereira                                   $4.15
   Fernando             Pereira                                  $16.20
   Leticia              Pereira                                  $26.60
   Lo                   Pereira                                  $64.00
   Maria                Pereira                                   $4.12
   Sian                 Pereira                                  $34.10
   Davylyn              Perez                                   $171.60
   Grace                Perez                                    $10.65
   Julie                Perez                                     $6.50
   Katherine            Perez                                     $1.30
   Lucy                 Perez                                     $5.15
   Luis                 Perez                                    $74.15
   Melanie              Perez                                   $100.00
   Nicole               Perez                                     $0.05
   Sandy                Perez                                   $176.72
   Sharon               Pergoda                                  $11.74
   Sarada               Peri                                    $206.30
   Marnie               Perini                                   $16.05
   Nancy                Peritz                                   $35.80
   Brooke               Perkins                                 $123.80
   Cecilia              Perkins                                   $1.70
   Erik                 Perkins                                  $30.70
   Erin                 Perkins                                  $92.13

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Haley                Perkins                                 $2.06
   Hansen               Perkins                                $58.23
   Lena                 Perkins                                $52.80
   Elizabeth            Perla                                  $18.20
   Cara                 Perlas                                $160.00
   Ashley               Perlman                                $16.11
   Maggie               Perlman                                $80.00
   Michelle             Permutt                                $59.80
   Zhanna               Pernik                                  $6.50
   Andrea               Perr                                   $34.15
   Kathy                Perrault                               $49.06
   Paula                Perron                                $150.00
   Gina                 Perrone                                 $8.95
   Amanda               Perrot                                $100.35
   Joey                 Perrott                                 $3.95
   Emily                Perrucci                                $8.41
   Amy                  Perry                                  $43.15
   Andrea               Perry                                   $8.60
   Brandon              Perry                                   $0.30
   Caroline             Perry                                  $46.20
   Cynthia              Perry                                  $17.72
   Deanna               Perry                                   $1.39
   Drea                 Perry                                 $100.00
   Lindsay              Perry                                  $15.75
   Lisa                 Perry                                  $15.50
   Ashley               Perryman                                $0.45
   Ganesh               Persad                                  $2.80
   Jamie                Persad                                  $0.50
   Eric                 Persha                                  $0.70
   Sharon               Persson                               $134.00
   Kelsi                Perttula                              $100.00
   Veronica             Pesant                                  $8.20
   Ryan                 Pesarillo                             $108.03
   Sara                 Pesicka                                $15.80
   Gidon                Pesso                                  $15.00
   Alexander            Pesssah                                 $7.95
   Carmela              Peter                                  $75.85
   Alexandra            Peters                                 $22.50
   Allison              Peters                                 $11.00
   Annie                Peters                                  $7.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   David                Peters                                 $18.20
   Elizabeth            Peters                                  $8.95
   Jennifer             Peters                                 $16.93
   Marsh                Peters                                  $4.03
   Penny                Peters                                 $24.80
   Sydney               Peters                                  $0.30
   Inka                 Petersen                                $2.92
   Jeff                 Petersen                                $6.86
   Jennifer             Petersen                               $44.75
   Laura                Petersen                               $77.92
   Mary                 Petersen                              $100.00
   Aleese               Peterson                                $1.50
   Alma                 Peterson                              $253.20
   Bettie               Peterson                                $0.80
   Christa              Peterson                               $59.25
   Cristine E           Peterson                                $0.85
   Cynthia              Peterson                                $7.15
   David                Peterson                              $271.75
   Emily                Peterson                               $11.50
   Eric                 Peterson                                $7.25
   Greg                 Peterson                                $3.60
   Heidi                Peterson                                $6.84
   Jaime                Peterson                                $2.30
   Jeff                 Peterson                               $24.35
   Joanne               Peterson                              $100.00
   Julie                Peterson                               $11.36
   Kaari                Peterson                               $14.00
   Kariss               Peterson                                $1.70
   Kelly                Peterson                               $18.90
   Lael                 Peterson                               $49.86
   Samantha             Peterson                               $40.70
   Susan                Peterson                               $29.15
   Valerie              Peterson                                $0.05
   Von                  Peterson                                $3.85
   Rita                 Peth                                   $12.05
   Austin               Petito                                 $19.80
   Ava                  Petrash                                 $1.55
   Katilyn              Petreszyn                               $0.10
   Bret                 Petrick                                $88.45
   Vincenza             Petrilli                               $12.85

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Steve                Petrillo                                  $5.25
   Pam                  Petronis                                 $95.45
   Ben                  Petrosky                                $125.00
   Wendy                Petrovich                                $57.85
   Gabrielle            Pett                                     $39.79
   Jay                  Pettigrew                                $39.70
   Allie                Pettitt                                  $88.50
   Bess                 Petty                                     $8.80
   Antoine              Peugeot                                   $8.80
   Sonia                Peugnet                                   $1.15
   Heather              Pew                                      $46.71
   Molly                Peyton                                    $0.65
   Jenna                Pfaff                                    $17.20
   Michael              Pfeffer                                   $3.25
   Landrus              Pfeffinger                               $32.65
   Myra                 Pfeifer                                  $18.44
   Julia                Pfeiffenberger                            $0.20
   Elizabeth            Pfeiffer                                  $0.40
   Mc                   Pfeiffer                                 $31.43
   Tammy                Pfeiffer-Gustin                          $50.00
   Hollis               Pfitsch                                 $150.00
   Adam                 Pflug                                   $167.83
   Jenny                Pflughoeft                              $102.65
   Lindsey              Pflugrath                                $60.15
   Achyut               Phadke                                   $50.00
   Eva And Justin       Phalen                                  $105.46
   A                    Pham                                    $119.95
   Aimee                Pham                                     $64.65
   Allison              Pham                                     $12.65
   Andy                 Pham                                      $7.80
   Anh Van              Pham                                      $2.40
   Annie                Pham                                     $16.30
   Emily                Pham                                    $200.00
   Ipsmom2015           Pham                                     $92.68
   Johny                Pham                                      $0.16
   Kathie               Pham                                     $64.20
   Leah                 Pham                                      $0.41
   Linda                Pham                                      $3.35
   Ngai                 Pham                                      $0.30
   Richard              Pham                                    $119.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Rie                  Pham                                   $50.00
   Tru                  Pham                                   $51.31
   Trung                Pham                                   $13.90
   Tyson                Pham                                    $8.95
   Jen                  Pham-Corbett                           $15.15
   Holly                Phan                                   $21.25
   Jessica              Phan                                   $23.35
   Lisa                 Phan                                   $50.00
   Nga                  Phan                                   $60.15
   See-Ming             Phan                                    $3.86
   Thanh-Mai            Phan                                    $0.30
   Tuan                 Phan                                    $1.35
   Elspeth              Phares                                 $35.40
   Elizabeth            Phelan                                $116.48
   Michelle             Phelan                                 $12.09
   Paul                 Phelan                                  $0.35
   Tyler                Phelps                                 $10.45
   Pallavi              Phene                                  $22.00
   Lisa                 Phi                                     $3.70
   James                Philip                                  $2.83
   Sandi                Philippen                              $50.00
   James                Philipps                               $16.40
   Rich                 Philliposian                            $0.77
   David                Phillips                               $11.60
   Dennis               Phillips                               $14.10
   Jason                Phillips                               $26.20
   Jessica              Phillips                                $1.75
   Joshua               Phillips                                $5.03
   Katie                Phillips                              $107.45
   Kimberly             Phillips                               $49.61
   Leigh                Phillips                               $30.40
   Marise               Phillips                                $5.55
   Matthew              Phillips                               $19.15
   Natalie              Phillips                              $100.00
   R                    Phillips                                $8.95
   Rae                  Phillips                               $15.80
   Sharon               Phillips                                $0.55
   Suzanne              Phillips                               $11.80
   Webb                 Phillips                              $180.20
   Amber                Phillips-Cruz                         $200.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Adrienne             Philpart                                  $4.30
   Marni                Phippen                                  $16.50
   Mike                 Phippen                                  $30.95
   Allen                Phipps                                   $11.70
   Greg                 Phipps                                   $68.78
   Jenny                Phoumivong                              $100.00
   Phan                 Phu                                      $51.60
   Allan                Phua                                      $7.55
   Jennifer             Phun                                     $20.20
   Cindy                Phung                                     $2.15
   Kelly                Piacente                                 $50.20
   Birgitta             Piamonte                                  $2.00
   Stephanie            Pianka                                    $7.83
   Dominic              Piazza                                   $12.86
   Beverly              Picardo                                  $42.95
   Lisa                 Picarille                                 $2.65
   Sandra               Piccini                                   $9.10
   Mary                 Pickard                                  $60.10
   Tom                  Pickard                                  $29.40
   Maggie               Pickavance                               $26.85
   Skye                 Picker                                   $17.20
   Allison              Pickerd                                   $4.70
   Brent                Pickert                                 $162.05
   Jennifer             Pickett                                  $21.20
   Patricia             Pickett                                   $2.40
   Patricia             Picou Green                              $80.00
   Chris                Picozzi                                   $9.20
   Joohi                Piechota                                 $12.95
   William.             Piedemonte                                $4.45
   Michael              Pielocik                                $100.00
   Lizl                 Pienaar                                  $41.65
   Anna                 Pienkos                                 $113.65
   Anna                 Pienkos                                   $7.90
   Lucy                 Pieper                                  $128.15
   Claudia              Pierce                                   $12.35
   Emily                Pierce                                   $50.00
   Kori                 Pierce                                   $18.65
   Sue                  Pierce                                    $1.00
   Vanessa              Pierce                                   $10.30
   Zane                 Pierce                                   $80.80

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Dawn                 Pierini                                 $16.10
   Amy                  Piers                                    $1.95
   Laura Jason Jack     Pierson                                  $0.25
   Paul                 Pierson                                  $6.86
   William              Pierson                                  $1.35
   Kristen              Pietropoli                               $4.25
   Jocelyn              Pietsch                                  $0.35
   Luca                 Pignata                                $266.10
   Arika                Pike                                    $64.55
   Renee                Pike                                    $34.00
   Glenn                Pilapil                                 $41.35
   Shy                  Pilgreen                                $19.05
   Leslie               Pilgrim                                 $50.00
   Tim                  Pilla                                   $13.50
   Sharon               Pillsbury                              $130.70
   Kathy                Pilosi                                  $10.06
   Joy                  Pimentel                                $56.65
   Blanca               Pina-Pinon                               $2.25
   Sarah                Pinckney                                $22.45
   Shelley              Pinckney                                $10.55
   Traci                Pincus                                  $50.00
   Mona                 Pine                                    $39.75
   Brittney             Pineda                                   $2.31
   Cecilia              Pineda                                   $1.70
   Mila                 Pineda                                  $68.65
   Bobby                Pinero                                 $209.60
   Roberta              Pinheiro                                $29.52
   Marguerite           Pini                                   $133.95
   Jeni                 Pinkard                                 $10.73
   Kristine             Pinner                                   $4.65
   Humberto             Pinon                                    $0.15
   Deborah              Pinsky                                   $0.90
   Luisa                Pinto                                   $30.10
   Stephanie            Pinto                                   $43.85
   Cindy                Pintor                                   $0.05
   Dina                 Pinza                                   $68.85
   Michael              Pio                                     $32.45
   James                Pipe                                    $25.00
   Heather              Piper                                    $5.00
   Samantha             Piper                                   $20.75

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Taylor               Pipes                                  $23.85
   Amanda               Pipkin                                  $0.23
   Karissa              Pique                                  $30.90
   Doris                Pira                                    $6.05
   Jen                  Pirak                                 $176.60
   Sue                  Pirazzi                                 $0.70
   Madelyn              Piretti                                 $0.40
   Susan                Pirkle                                $125.15
   Susan                Pirman                                  $2.30
   Ciara                Piron                                  $38.05
   Kevin                Pirozzoli                              $42.25
   Nina                 Pisano                                 $26.85
   Gloria               Pitagorsky                            $125.00
   Yannik               Pitcan                                 $50.00
   Megan                Pitcavage                              $10.88
   Lauren               Pitcher                                $10.10
   Emily                Pitkin                                  $5.90
   Paul                 Pitkin                                $207.55
   La Keisha            Pittman                                $92.50
   Stacey               Pittman                                 $8.31
   Will                 Pitts                                  $35.80
   Jacob                Pitzer                                 $96.05
   Kimberly             Pitzer                                  $0.25
   Isaac                Pizano Zamora                           $1.27
   Marisa               Pjerrou                                $59.80
   Parrish              Placencia                              $37.40
   Phoebe               Plagens                                 $0.97
   Kassey               Plaha                                  $12.20
   Prabal               Plaha                                   $0.15
   Vandita              Plaha                                  $50.00
   Christopher          Plain                                   $2.95
   Marlene              Plain                                   $6.59
   Allison              Plambeck                                $4.25
   Shannon              Plath                                  $49.85
   Elizabeth            Platte-Bermeo                          $61.20
   Rita                 Plattner                               $45.10
   Barbara              Platzer                                $33.61
   Nadine               Plaut                                   $1.13
   Terri                Plemons                                $14.60
   Irene                Plenefisch                             $18.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Giovanni             Plenos                                   $1.70
   Jeel-Marie           Plenos                                  $10.70
   Alisa                Ple-Plakon                             $110.10
   Alisa                Ple-Plakon                              $78.75
   Renee                Plessner                                 $2.10
   Annie                Pletz                                  $100.00
   Monica               Plischke                               $250.00
   Hal                  Plotkin                                  $2.63
   Molly                Plotnik                                 $26.35
   Jessica              Pluess                                   $9.95
   Erica                Plumlee                                 $58.35
   Jen                  Plumlee                                  $1.25
   Jennifer             Plummer                                $200.00
   Robin                Plutchok                                $26.15
   Tamara               Pochebyt                               $300.00
   Kurt                 Pocsi                                    $5.65
   Liz                  Podgurski                                $0.80
   Swapna               Podlich                                  $0.25
   Michael              Podoll                                 $100.00
   Elaine               Podulka                                 $77.12
   Janis                Poe                                      $8.95
   Andrew               Poes                                     $1.20
   Dorothee             Poetter                                  $3.67
   Cheri                Poff                                    $15.20
   Patricia             Poffenroth                               $3.76
   Joanne               Poggi                                  $100.00
   Marilia              Poggiali                               $110.65
   Chris                Pohl                                   $108.26
   Jonathan             Pohl                                    $11.65
   Krysia               Pohl                                    $22.60
   Michael              Pohl                                    $13.16
   Lucia                Pohlman                                 $64.65
   Kelly                Poirier                                $175.09
   Brian                Poissant                                $83.10
   Alexander            Poklewski                               $12.60
   Nicole               Pokojny                                $100.00
   Liz                  Pola                                   $213.11
   Martha               Polacek                                 $25.00
   Jeff                 Polacheck                                $5.05
   Caroline             Poland                                  $57.95

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Deanna               Polani                                  $61.03
   Daniella             Polar                                   $90.60
   Kari                 Polcari                                 $57.35
   Maria                Polich                                  $50.00
   Rebecca              Polidano                                 $4.40
   Alan                 Polish                                  $12.95
   Rosalia              Polizzi                                  $7.01
   Emily                Poll                                     $1.38
   Jessica              Pollack                                 $35.00
   Kaila                Pollart                                  $3.95
   Sharon               Pollio                                   $5.90
   Andrea               Pollitt                                 $99.92
   James                Pollock                                  $8.95
   Joyce                Pollock                                 $49.05
   Nicole               Pollock                                  $5.85
   Gina                 Polly                                    $1.27
   Linda                Polovetsky                             $210.35
   Nick                 Polsky                                   $2.60
   William              Polson                                   $0.15
   Stanislas            Polu                                    $53.50
   Kerri                Pomarolli                                $5.00
   Bill                 Pomerans                                $14.91
   Dana                 Pomerantz                               $46.50
   Drew                 Pomeranz                               $177.30
   Madelon              Pomeroy                                $237.05
   Christy              Pommerien                              $117.10
   Vickie               Pomo                                   $100.00
   Joanna               Pomykala                                $47.05
   Barbara              Pon                                      $0.70
   Linda                Pon                                     $18.70
   Julia                Ponce                                  $186.30
   Jamie                Pong                                     $0.80
   Kevin                Pong                                   $180.90
   Edith                Ponnath                                 $10.15
   Stephen              Pons                                   $158.11
   Mark                 Pontier                                  $6.60
   Amy                  Pool                                     $0.49
   Annie                Pool                                     $0.93
   Harold               Poole                                   $10.10
   Albert               Poon                                   $109.42

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Angela               Poon                                    $17.65
   Becky                Poon                                    $30.00
   Betty                Poon                                   $153.65
   David                Poon                                   $115.10
   David                Poon                                    $50.00
   Patrick              Poon                                    $14.20
   Rosa                 Poon                                    $12.45
   Joris                Poort                                    $8.95
   Leslie               Poortman                                 $1.05
   Vlad                 Popa                                    $48.15
   Anna                 Pope                                    $50.00
   Alice                Popejoy                                  $4.91
   Grayden              Poper                                  $192.10
   Lucy                 Popkin                                  $23.95
   Rachel               Poplack                                 $36.65
   Katie                Poplin                                   $6.00
   Irving               Popovetsky                              $31.35
   Mark                 Popovich                                $27.15
   Stella               Porath                                   $0.70
   Shaun                Porcar                                  $50.00
   Tracy                Pore                                    $26.40
   Alexa                Porges                                  $28.30
   Alison               Poritzky                                 $0.52
   Patrick              Porosky                                 $50.00
   Courtney             Portal                                   $0.42
   Hanna                Porten                                   $1.20
   Sima                 Porten                                   $6.80
   Agata                Porter                                   $2.85
   Anne                 Porter                                 $129.60
   Christopher          Porter                                  $74.60
   Dan                  Porter                                   $1.15
   Danielle             Porter                                  $25.70
   Emily                Porter                                  $49.05
   Nathan               Porter                                  $55.54
   Richard              Porter                                 $100.00
   Rosey                Porter                                 $250.00
   Stacy                Porter                                  $90.65
   Stephanie            Porter                                   $2.60
   Nicole               Portet                                   $7.15
   Athena               Portillo                               $100.00

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Robert               Portillo                                   $46.55
   Nicole               Portmann                                   $36.75
   Chiara               Portner                                    $11.45
   Holly                Portwine                                    $1.65
   Aarti                Porwal                                      $9.70
   Dan                  Posel                                      $67.20
   Diahanna             Post                                       $13.75
   Melly                Post                                       $10.31
   Tracy                Post Teixeira                               $0.44
   Katherine            Poster                                     $17.45
   Melissa              Postier                                   $152.85
   Marije               Pothof                                      $3.25
   Renee                Pothula                                    $38.90
   Andrea               Potischman                                  $2.35
   Andrew               Potselueff                                 $32.25
   Bob                  Potter                                      $0.25
   Tarra                Potts                                       $1.53
   Tyler                Potts                                       $4.89
   Marcia               Poulin                                      $5.40
   Tim                  Poulin                                      $9.95
   Lindsay              Poulis                                      $2.03
   Lisa                 Poulson                                     $2.00
   Sue                  Pound                                       $5.10
   Jennifer             Pourchot                                    $9.00
   Shahrzad             Pourfathi                                  $75.00
   Munkhtuul            Pourtau                                    $75.00
   Alison               Powell                                     $24.85
   Carrie               Powell                                    $530.05
   Chris                Powell                                      $5.17
   Christopher          Powell                                     $14.47
   Ginger               Powell                                     $83.20
   Jamie                Powell                                      $3.35
   Kristen              Powell                                     $53.89
   Sachia               Powell                                      $8.95
   Wyatt                Powell                                      $0.32
   Carol                Power                                      $25.35
   Marylee              Power                                       $2.50
   Noemi                Power                                       $3.75
   Beth                 Powers                                      $2.05
   Ellie                Powers                                    $100.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Erin                 Powers                                  $280.00
   Greg                 Powers                                    $2.93
   John                 Powers                                   $13.20
   Maria                Powers                                   $25.70
   Matt                 Powers                                   $38.50
   Robert               Powers                                   $89.28
   Susan                Powers                                  $104.90
   Michael              Powlen                                   $31.35
   Amy                  Powne                                     $9.35
   Amy                  Powter                                    $5.00
   Cecile               Poyet                                    $22.10
   Noel                 Poyner                                   $17.85
   Elizabeth            Prabhakar                                 $9.40
   Rashmi               Prabhu                                    $0.55
   Maria                Prado                                   $100.00
   Joe                  Praetorius                              $127.35
   Jack                 Praetzellis                             $146.20
   Mary                 Prahl                                     $2.15
   Nena                 Pranivong                               $180.00
   Carolyn              Prasad                                   $32.30
   Joseph               Prast                                    $20.07
   Kendra               Pratt                                   $133.05
   Marci                Preble                                    $1.20
   Amanda               Preikschat                               $18.10
   Catherine            Preisler                                  $0.19
   Dj                   Premvaree                                 $0.10
   Charlene             Premyodhin                               $52.00
   Ellie                Prentice                                $536.30
   Ellen                Presleg                                  $86.10
   Nancy                Press                                    $91.48
   Trevor               Pressman                                 $37.95
   Toni                 Presta                                   $60.00
   Shannon              Prestella                                $50.00
   Jessica              Presto                                  $142.86
   Etienne              Preston                                   $0.40
   Tatiana              Pretlow                                   $0.85
   Andrew               Price                                   $250.00
   Becky                Price                                    $59.60
   Carli                Price                                    $26.05
   Clay                 Price                                     $5.15

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Elissa               Price                                     $42.20
   Erin                 Price                                      $8.70
   Georgie              Price                                     $24.50
   Jennifer             Price                                     $73.90
   Kelly                Price                                    $100.00
   Lindsay              Price                                      $2.60
   Sarah                Price                                      $5.00
   Sasha                Price                                      $0.80
   Stacey               Price                                     $94.70
   Tiffany              Price                                    $100.00
   Shifra               Pride Raffel                               $0.81
   Sharon               Priest                                   $267.41
   Laura                Prietto                                  $143.55
   Brian                Primer                                   $584.10
   Brooke               Prince                                   $129.40
   Karen                Prince                                    $28.90
   Tom                  Prince                                    $50.00
   Tiffany              Principi                                  $17.15
   Derek                Prine                                     $13.20
   Mary Michael         Pringle                                    $0.25
   William              Prinzmetal                                 $4.10
   Daniel               Pristavec                                 $50.00
   Stephanie            Pritchard                                  $0.66
   Ariana               Pritchett                                  $2.75
   Andy                 Pritikin                                  $38.30
   Steven               Pritzker                                  $32.60
   Kaethin              Prizer                                     $0.56
   Dimitri              Proano                                     $3.05
   Elijah               Probst                                     $0.25
   Katherine            Procida                                    $8.95
   Gregory              Proctor                                   $28.40
   Rad                  Proctor                                   $20.15
   Catharine            Prodromou                                  $4.65
   Elissa               Profant                                  $149.45
   Rachel               Proffitt                                 $280.35
   Francine             Profitt                                    $0.52
   Chris                Pronchik                                   $2.30
   Shauna               Prosser                                    $0.20
   Elizabeth            Proulx                                     $0.20
   Stuart               Prout                                     $25.60

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Natalie              Provence                                $0.30
   Kevin                Provost                                $24.20
   Kate                 Prugh                                 $102.16
   Andrew               Prupas                                  $6.45
   Dane                 Pryce                                  $50.00
   Emily                Psyk                                    $0.66
   Kristen              Pszonowsky                             $16.40
   Michelle             Pualuan                                 $0.25
   Adrienne             Publicover                              $8.20
   Tara                 Pucci                                  $16.40
   Sandra               Puccinelli                             $17.15
   John                 Puccini                                $71.05
   Sarah                Puckett                               $200.00
   Kristina             Pugh                                    $1.20
   Silvina              Pugliese                              $156.95
   Katherine            Puglisi-Chan                           $20.15
   Pierre               Pujol                                   $0.17
   Sandra               Pula                                   $50.00
   Cheryl               Pulanco                                 $0.30
   Karena               Puldon                                $366.60
   Ashley               Pulido                                 $76.20
   Laura & Kendra       Pullen                                  $9.90
   Ric                  Pulley                                  $1.80
   Allison              Pullins                                $77.50
   Juliet               Pult                                   $34.40
   Amy                  Pulver                                $367.47
   Andrea               Pulver                                  $6.60
   Mark                 Pundsack                               $61.80
   Ellen                Punyon                                 $14.75
   Marge                Punzo                                   $3.05
   Lauren               Purcell                                 $0.78
   Nicholas             Purcell                                 $0.04
   Carol                Purdy                                   $9.85
   Karen                Purdy                                   $4.20
   Cecile               Puretz                                 $35.65
   David                Puretz                                  $2.03
   Jesse                Purewal                                $68.89
   Michael              Purkey                                  $3.95
   Gerald W             Purmal                                 $10.45
   Senthil              Purushothaman                         $125.95

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Carrie               Purvis                                   $30.80
   Mark                 Pushinaitis                             $136.91
   Neha                 Pyle                                     $12.21
   Cheng                Qian                                    $256.76
   Jessica              Qian                                      $0.30
   Yi                   Qiang                                     $3.15
   Huashuai             Qu                                       $73.05
   Alexander            Quach                                     $0.13
   Mary                 Quade                                    $46.64
   Heidi                Quadra                                   $17.30
   Nitin                Quadros                                 $200.00
   Tammy                Qualls                                  $216.60
   Ashley               Quan                                     $14.40
   Donna                Quan                                      $3.67
   Hanson               Quan                                      $0.11
   Spencer              Quan                                     $29.29
   Trina                Quandt                                   $39.21
   Zoe                  Quandt                                  $221.00
   Rachel               Quarles                                  $33.46
   Mary-Ann             Quattrocchi                               $1.70
   Rassan               Queen                                    $62.15
   Shannon              Quek                                     $12.86
   Jamie                Quella                                    $0.05
   Nuria                Queralto                                  $3.95
   Jennifer             Quevedo                                  $11.75
   Michael              Quick                                     $3.70
   Bryan                Quigley                                   $0.35
   Regina               Quigley                                 $152.15
   Julia                Quijano                                  $22.30
   Lesly                Quijas                                  $140.65
   Brendan              Quinlan                                  $39.30
   Emily                Quinlan                                  $15.00
   Alyson               Quinn                                    $13.25
   Anna                 Quinn                                   $206.60
   Bret                 Quinn                                     $1.56
   Carol                Quinn                                     $1.05
   Elena                Quinn                                     $1.61
   Erin                 Quinn                                     $3.60
   Geoffrey             Quinn                                   $151.17
   Georgianna           Quinn                                    $34.86

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   Jennifer             Quinn                                    $42.74
   Katie                Quinn                                    $43.10
   Katie                Quinn                                     $1.62
   Kerry                Quinn                                    $78.00
   Kevin                Quinn                                    $24.65
   Linda                Quinn                                     $0.30
   Martin               Quinn                                    $50.00
   Melissa              Quinn                                    $52.60
   Michelle             Quinn                                    $86.50
   Patti                Quinn                                   $244.58
   Shannon              Quinn                                     $4.80
   Siobhan              Quinn                                    $44.25
   Thomas               Quinn                                   $180.10
   Claudia              Quinonez                                  $4.76
   Jen                  Quintal                                   $1.65
   Julie                Quintana                                 $88.74
   Rick                 Quintana                                  $7.25
   Gina                 Quintanilla                               $0.40
   Tessa                Quintanilla                               $8.60
   Amparo               Quirarte                                 $23.15
   Brandi               Quirarte                                  $4.35
   Tricia               Quirk                                     $9.05
   Traci                Quiroz                                  $100.00
   Samantha             Quist                                    $66.15
   Steve                Quist                                    $17.89
   Natalie              Quizon                                    $1.88
   Teresa               Quizon                                   $90.10
   Jeff                 Quon                                    $466.36
   Omer                 Qureshi                                   $0.53
   Carla                Quzts                                     $2.10
   Beth                 R                                        $50.00
   M                    R                                         $0.20
   Rohan                R                                        $50.00
   Brooke               Raaberg                                  $50.00
   Sandra               Rabbin                                  $100.00
   Michael              Rabbino                                 $250.00
   Terence              Rabbitt                                   $3.15
   Karen                Rabe                                      $1.40
   Dale                 Rabinov                                  $23.75
   Jonathan             Rabinovitz                               $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Brent                Raboli                                 $23.15
   Mary                 Race                                  $410.10
   Justin               Racelis                                $50.00
   Laura                Rachleff                                $0.67
   Caroline             Racine                                 $21.65
   Mike                 Racine                                  $2.05
   Melissa              Racz                                  $600.00
   Bridget              Radachy                               $100.00
   Suzie                Radack                                 $38.48
   Mary                 Radanovich                             $20.05
   Donna                Radatz                                  $1.72
   Amanda               Radcliff                               $51.70
   Beth                 Rader                                  $59.90
   David                Radetich                                $3.73
   Yoshie               Radhakrishnan                          $13.30
   Nebojsa              Radovic                                 $5.05
   Anthony              Raduazo                                $35.10
   Amr                  Radwan                                $161.25
   Jennifer             Raeder                                  $1.85
   Hayley               Raetz                                  $45.05
   Stefan               Raev                                   $24.95
   Carter               Raff                                   $14.40
   Curtis               Raff                                    $0.15
   Steven               Raffin                                  $3.30
   Isolde               Raftery                                $26.10
   Lisa                 Rager                                   $9.85
   Dave                 Raggio                                  $8.95
   Steven               Ragland                                $68.76
   David                Ragni                                  $23.80
   Philip               Ragozzino                               $0.35
   Amy                  Ragsdale                               $30.52
   Peppe                Ragusa                                 $47.65
   Sharif               Rahimian                                $5.25
   Anita                Rahmani                                $61.13
   Krishmin             Rai                                   $118.15
   Meghan               Railey                                $125.63
   Laura                Railton                                $57.60
   Brittany             Rainey                                 $58.35
   Tom                  Rainey                                  $3.90
   Heather              Rainusso                              $102.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Kara                 Rainusso                                $0.56
   Camy                 Raissian                              $100.00
   Jess And Hicham      Raissouni                              $31.25
   Pushpa               Raja                                    $5.75
   Anand                Rajan                                   $8.20
   Neyha                Rajan                                  $75.00
   Vineeth              Rajendran                              $75.00
   Shannon              Rajewski                               $23.35
   Saru                 Raju                                    $4.95
   Marijean             Rak                                     $1.05
   Diana                Rakow                                  $85.00
   Michael              Rallo                                  $24.60
   Tony                 Ralph                                   $6.15
   Julia                Ralston                                 $4.56
   Nick                 Ralston                                 $1.76
   Nicole               Ralston                                 $1.90
   Tina                 Ramaiya                                $50.00
   Arathi               Ramalingam                             $80.00
   Krithika             Ramamoorthy                            $43.85
   Vasanth              Ramamurthy                              $5.25
   Sanjay               Raman                                   $2.20
   Prasanth             Ramanand                               $24.95
   Sandeep              Ramani                                 $13.95
   Nima                 Ramazan-Nia                           $650.00
   Renette              Rambeau                                $29.10
   Vijay                Ramesh                                 $50.00
   Martha               Ramey                                   $0.10
   Renella              Ramey                                   $4.60
   Albert               Ramies                                $129.21
   Andrea               Ramirez                                 $2.30
   Ben                  Ramirez                                $26.20
   Daisy                Ramirez                                $11.55
   Dollie               Ramirez                                 $1.30
   Ernest               Ramirez                                $50.00
   Janelle              Ramirez                                $58.70
   Kathryn              Ramirez                               $142.45
   Magie                Ramirez                                 $2.15
   Valerie S            Ramirez                                 $0.10
   Vincent              Ramirez                                $50.00
   Bea                  Ramos                                  $69.10

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Catalina             Ramos                                  $61.07
   Erica                Ramos                                  $50.85
   Jim                  Ramos                                  $16.90
   Lisa                 Ramos                                   $0.40
   Maria                Ramos                                 $292.00
   Rhea                 Rampel                                $106.35
   Lindsay              Ramsay                                  $2.40
   Matthew              Ramsell                                 $5.66
   Angelique            Ramsey                                 $57.05
   Katherine            Ramsey                                 $50.00
   Joe                  Ramseyer                                $8.45
   Kayreen              Ramuta                                 $20.59
   Neelav               Rana                                   $50.00
   Donna                Rancatore                             $164.58
   Sachin               Ranchod                               $249.21
   Meghana              Randad Mehta                          $207.20
   Anne                 Randall                               $100.25
   Dalyn                Randall                               $115.02
   Sonnie               Randall                                $92.51
   Terry                Randall                                $13.60
   Ferial               Randera                                $10.30
   Kiran                Randhawa                                $0.80
   Rama                 Ranganath                             $100.00
   Connie               Ranieri                                $51.18
   Gale                 Rankin                                  $0.20
   Kathleen             Rankin                                 $41.62
   Kenna                Ranson                                  $0.70
   Tamara               Rant                                   $20.45
   Angela               Rao                                     $2.45
   Asha                 Rao                                   $102.91
   Deepak               Rao                                    $50.00
   Dennis               Rapoport                               $11.40
   Rebecca              Rapoport                                $6.00
   Anna                 Rapp                                    $2.16
   Kathleen             Rardon                                  $3.50
   Inger                Rarick                                 $43.45
   Jessica              Rarity                                  $0.05
   Andra                Rasby                                   $0.95
   Josephine            Rasella                                 $0.50
   Cody                 Rasmussen                              $85.26

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Nathan               Rasmussen                             $100.00
   Viki                 Rasmussen                               $2.23
   Mark                 Rasoul                                  $4.76
   Carrie               Rassbach                               $30.75
   Mandana              Rastegar                                $0.95
   Ryan                 Rastetter                              $50.00
   Neda                 Ratanawongsa                          $107.80
   Veronica             Ratcliff                               $23.00
   Chip                 Rath                                   $72.20
   Rosie                Rathburn                               $50.00
   Kay                  Rathe                                  $81.10
   Shalini              Rathnavel                             $100.00
   Erik                 Rathwell                               $66.10
   Carol                Ratliff                                $50.00
   Rachel               Ratliff                                $24.40
   Daniel               Ratner                                  $7.66
   Joe                  Ratti                                  $14.50
   Kristi               Raube                                  $10.25
   Adina                Rauchwerger                             $8.95
   Anna                 Raus                                   $35.74
   Perrin               Rausch                                  $3.89
   Josh                 Rautenberg                             $65.10
   Ali                  Rav                                     $9.40
   Dikisha              Raval                                  $33.60
   Meredith             Ravano                                 $10.85
   Jeff                 Rave                                   $48.01
   Bryan                Raven                                  $10.60
   Jessica              Ravetto                                 $0.80
   Tejaswini            Ravindra                               $68.15
   Heidi                Raxon                                  $18.80
   Andrew               Ray                                    $20.25
   Jennifer             Ray                                     $4.10
   Marcel               Ray                                    $15.00
   Ronak                Ray                                    $24.35
   Elba                 Raygosa                                $13.20
   Bruce                Rayl                                   $41.85
   Julie                Raymann                                $11.60
   Austin               Raymer                                  $6.20
   Elizabeth            Raymer                                 $39.40
   Deborah              Raymond                               $303.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Deborah              Raymond                                 $1.95
   Patricia             Raymond                                 $8.95
   Alicia               Razi                                   $16.72
   Bridget              Razo                                   $50.00
   Ashlee               Rea                                     $3.85
   Sharon               Reackhof                               $17.30
   Dianne               Read                                    $3.80
   Laura                Read                                   $35.65
   Christopher          Reade                                  $42.15
   Steven               Reading                                $19.30
   Marissa              Reale                                   $1.45
   Betsy                Ream                                   $17.95
   Nicole               Ream                                  $200.00
   Mariann              Reardon                                $93.60
   Lindsey              Rearick                                 $4.95
   Prescott             Reavis                                  $1.35
   Sue                  Rebagliati                             $33.45
   David                Rebd                                   $71.60
   Louie                Rebecca                                $10.20
   John                 Rebeiro                                 $2.76
   April                Rebollo                                 $3.77
   Pauline              Rebong                                 $13.50
   Kelley               Rebro                                   $6.15
   Anne                 Rebstock-Hoeksema                     $100.00
   Summer               Rechenmacher                            $2.19
   Julianne             Recine                                 $13.79
   Jennifer             Reck                                   $34.05
   Bret                 Recor                                  $37.85
   Maria                Records                                 $0.04
   Cristina             Reddell                                 $4.35
   Amara                Reddick                                $68.45
   Jan                  Redenbarger                            $62.50
   George               Redhead                                 $4.15
   Annie                Reding                                 $12.60
   Gary                 Redler                                 $20.00
   Jenny                Redling                                 $5.30
   Laura                Redmond                               $100.00
   Tania                Redondo                                $50.00
   Margaret             Reeb                                    $9.82
   Annie                Reece                                  $30.50

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Andeline             Reed                                       $6.70
   Christine            Reed                                      $50.00
   Dan                  Reed                                      $19.25
   Darien               Reed                                     $113.30
   David                Reed                                      $36.20
   Jane                 Reed                                      $26.55
   Jessica              Reed                                       $1.80
   Katie                Reed                                       $9.79
   Liane                Reed                                     $100.00
   Mary                 Reed                                      $29.05
   Matt                 Reed                                       $7.85
   Michelle             Reed                                      $12.60
   Nori                 Reed                                       $0.45
   Paul                 Reed                                      $39.05
   Shelby               Reed                                     $117.34
   Will                 Reed                                      $60.15
   Nancy                Reed Mason                                $42.60
   Daniel               Reeder                                     $3.70
   Jessica              Reeder                                    $30.80
   Steven               Reed-Pittman                               $2.10
   Sandy                Reek                                      $13.20
   Aimee                Reenders                                  $55.45
   Annacleaveland       Rees                                     $150.00
   Paula                Rees                                       $0.84
   Ccrystal             Reese                                     $36.25
   Saren                Reese                                    $100.00
   Susannah             Reese                                      $0.35
   Anna                 Reeve                                      $6.71
   Marilyn              Reeve                                    $395.05
   Jessica              Reeves                                    $69.90
   Rossannah            Reeves                                    $50.00
   Tiffany              Refuerzo                                  $17.40
   Dan                  Regan                                     $14.20
   Rebecca              Regan                                     $29.95
   Sara                 Regan                                     $15.80
   Elizabeth            Regensburger                               $3.90
   Martin               Regge                                     $22.25
   Michael              Regimbal                                   $0.70
   Nicole               Reginelli                                  $6.00
   Brie                 Regis                                      $0.75

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   Buyer First Name     Buyer Last Name               Gift Card Amount
   Andrea               Regjo                                       $35.05
   Karen                Regnier                                      $0.61
   Delamon              Rego                                        $83.75
   Roni                 Rego                                         $2.00
   David                Rehberger                                   $19.00
   Mike                 Rehberger                                    $8.95
   Faraz                Rehman                                      $51.41
   Jason                Reich                                        $5.90
   Leigh                Reichley                                  $142.30
   Judi                 Reichman                                    $30.00
   Nicole               Reich-Weiser                                 $1.45
   Rick                 Reicker                                   $202.70
   Charlie              Reid                                         $3.25
   Colin                Reid                                         $0.45
   Libby                Reid                                        $76.15
   Rachel               Reid                                        $20.10
   Rebecca              Reid                                        $36.08
   Ronald               Reid                                         $1.70
   Jessica              Reid Sliwerski                              $62.93
   Steve                Reidy                                     $100.00
   Muriel               Reiley                                      $50.00
   Allie                Reilly                                      $73.60
   Jen                  Reilly                                       $0.60
   Kelly                Reilly                                   $2,161.27
   Maria                Reilly                                      $13.30
   Michele              Reilly                                    $461.20
   Ashley               Reineman                                    $11.20
   Jennifer             Reiner                                      $39.16
   Ryan                 Reines                                       $0.05
   Dana                 Reinhardt                                   $34.71
   George               Reinhardt                                    $8.95
   Bob                  Reinhart                                    $50.00
   Christiana           Reining                                     $17.91
   Michelle             Reininger                                 $103.35
   Franck               Reis                                         $6.55
   Jennifer             Reisch                                       $8.10
   Julia                Reischl                                     $34.50
   Barbara              Reisinger                                    $3.26
   Janine               Reisinger                                    $7.00
   Daniel               Reiss                                        $8.25

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   Dotti                Reiss                                  $78.25
   Lance                Reiss                                 $143.20
   Sabrina              Reiss                                   $0.45
   Jess                 Reiter                                 $26.05
   Jeff                 Reitman                               $276.29
   Katie                Reitter                                $62.76
   Melanie              Reitz                                  $12.20
   Macarena             Reitze                                 $79.32
   Shahram              Rejvani                               $150.00
   Ross                 Ren                                    $53.30
   Xiaoxia              Ren                                   $545.30
   Michael              Renan                                  $22.15
   Susan                Renati                                  $7.25
   Kelly                Renauld Lewis                           $1.55
   Natasha              Renda                                  $41.30
   Tony                 Renda                                 $150.00
   Amanaa               Rendall                                 $2.14
   Monica               Rende                                  $13.08
   Christina            Rendel                                $100.00
   John                 Rengstorff                              $3.30
   Lynda                Renn-Cosenza                            $2.75
   Kenneth              Renshaw                               $100.00
   Rob                  Renteria                               $50.00
   Elizabeth            Renyi                                  $15.31
   Rebecca              Renzas                                 $42.75
   Carla                Renzi                                  $36.35
   Tara                 Requa                                   $2.49
   Cara                 Reschke                                 $4.15
   Amy                  Resling                                 $9.08
   Sumaya               Restagno                                $0.70
   Nicholas             Restani                                $50.00
   Holly                Restanj                                $40.25
   Rosa                 Retana                                 $27.45
   John                 Retherford                             $75.10
   Tom                  Rettig                                 $18.38
   Claire               Reuss                                   $0.35
   Tim                  Reuter                                $100.00
   Krista               Reuther                                $42.15
   Jessica              Reveri                                  $2.96
   Eric                 Rewitzer                               $16.90

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Starr                Rey                                      $114.70
   Christine            Reyes                                    $100.00
   Evelyn               Reyes                                      $3.80
   Jazmin               Reyes                                     $16.05
   Laudevinia           Reyes                                      $0.85
   Lurlyn               Reyes                                     $12.85
   Yasmin               Reyes                                      $9.00
   Brian                Rey-Hipolito                               $4.26
   Emily                Reyna                                      $0.13
   Renee                Reyna                                      $1.16
   Jennie               Reynard                                  $100.00
   Laurie               Reynard                                  $188.05
   Sarah                Reyneveld                                 $26.39
   Kim                  Reynick                                  $126.30
   Debbie               Reynolds                                   $0.20
   Jessica              Reynolds                                  $12.15
   Karyn                Reynolds                                  $49.35
   Kelly                Reynolds                                  $37.05
   Sinead               Reynolds                                 $189.35
   Panteha              Rezai                                     $65.70
   Reza                 Rezaian                                   $63.60
   Natalie              Rezayani                                 $250.00
   Taissa               Rezende                                    $7.85
   Carol                Rheaume                                    $0.75
   Christine            Rhee                                       $4.75
   David                Rhee                                       $0.04
   Lauren               Rheinecker                                $71.60
   David                Rhima                                    $200.00
   Sue                  Rhinehart                                  $2.80
   Lauren               Rhizor                                    $14.20
   Ashlee               Rhodes                                   $102.50
   Gillian              Rhodes                                    $27.30
   Holly                Rhodes                                    $15.71
   Karen                Rhodes                                     $9.46
   Meghan               Rhodes                                    $93.60
   Michael              Rhodes                                     $8.95
   Nathan               Rhodes                                    $34.85
   Tracy                Rhodes                                     $3.65
   Cassandra            Rhone                                      $0.15
   Jamie                Rhonheimer                               $432.25

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   Adam                 Rhuberg                                $126.50
   Susanna              Ribaudo                                $223.45
   Angela               Ribeiro                                  $3.95
   Karina               Ribeiro                                  $0.15
   Stacey               Ribeiro                                 $19.40
   Ric                  Ric                                     $42.95
   Andrew               Rice                                     $3.70
   Lillian              Rice                                     $3.84
   Virginia             Rice                                    $15.70
   Wendy                Rice                                   $219.40
   Dawn                 Rich                                    $25.00
   Linnea               Rich                                     $8.30
   Nathan               Rich                                    $10.25
   Shaleia              Rich                                     $9.94
   Manal                Richa                                   $50.00
   Ted                  Richane                                 $50.55
   Theresita            Richard                                $100.00
   John                 Richards                               $140.65
   Karen                Richards                                 $3.44
   Katie                Richards                                 $5.75
   Kristin              Richards                                $30.25
   Lp                   Richards                                 $1.07
   Lynne                Richards                                 $0.25
   Megan                Richards                                $50.00
   Roxanne              Richards                                 $1.85
   Sara                 Richards                                 $1.40
   Shane                Richards                                $32.81
   Amanda               Richardson                             $149.75
   Gaye                 Richardson                              $53.15
   Kevin                Richardson                             $147.15
   Kirsten              Richardson                              $13.43
   Robyn                Richardson                               $8.95
   Sabrina              Richardson                               $3.30
   Joni                 Richcreek                               $61.50
   Sarah                Riches                                   $0.85
   Karin                Richey                                   $7.15
   Vic                  Richmond                               $250.00
   Julia                Richter                                 $24.50
   Evan                 Rick                                    $33.35
   Jennifer             Rickard                                 $16.30

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Brianna              Ricks                                  $50.00
   Ashley               Rico                                   $47.94
   Mary Joy             Rico                                    $1.36
   Olga                 Rico                                   $23.15
   Joe                  Ricupero                              $100.00
   Stuart               Riddle                                  $2.20
   Abbie                Ridenour                               $27.55
   Kathryn              Rider                                  $47.61
   Diana                Ridge                                   $1.63
   David                Ridgeway                                $9.25
   Matthew              Ridgway                               $446.11
   Stephanie            Ridings                                 $8.95
   Amy                  Ridout                                  $8.20
   Josh                 Ridout                                $100.00
   Leny                 Riebli                                 $29.80
   Kurt                 Riedinger                               $2.20
   Dave                 Riege                                  $18.35
   Nardine              Riegels                               $121.40
   Renee                Riemer                                $165.23
   Luis                 Riera                                   $0.06
   Kelly                Rierson                                $50.00
   Jean                 Ries                                    $0.40
   Suzanne              Riessen                                 $3.40
   Jessica              Riewe                                   $3.05
   Claire               Rifelj                                  $1.70
   Sam                  Rifkin                                 $22.30
   Danielle             Rigali                                  $0.91
   Nora                 Rigby                                   $0.30
   Theo                 Rigby                                   $0.06
   Erika                Rigger                                  $0.80
   Steven               Riker                                   $0.06
   Tatyana              Rikhter                                $29.82
   Cheryl               Riley                                  $26.20
   Colleen              Riley                                   $2.10
   Dan                  Riley                                  $11.18
   James                Riley                                   $6.19
   Lindsay              Riley                                   $1.80
   Megan                Riley                                  $10.20
   Tamika               Riley                                   $2.21
   Val                  Riley                                   $1.50

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Gillian              Rimicci                                $26.15
   Shany                Rimon                                  $43.82
   David                Rinaldis                                $2.60
   Lilian               Rincon                                $100.00
   Christine            Ring                                  $134.85
   Robert               Ring                                   $17.70
   Sandy                Ring                                   $43.35
   Kris                 Ringenbach                            $100.00
   Kate                 Ringness                               $59.80
   Frances              Ringold                                $15.98
   Jeannette            Ringold                                 $0.35
   Molly                Rinke                                  $17.05
   Amanda               Rinkoff                               $189.20
   Jeff                 Rinna                                  $59.81
   Annalisa             Rinna.Barrett                           $6.20
   Nicole               Rinsky                                 $57.20
   Nick                 Rintalan                                $6.30
   Ari                  Rinzler                                 $0.50
   Sahyeh               Riopelle                                $0.10
   Ashley               Riordan                                $14.06
   Elizabeth            Rios                                    $0.40
   Dyanna               Ripley-Shaw                            $37.35
   Levi                 Rippy                                  $41.05
   Carlos               Riquelme Ruiz                           $2.25
   Sara                 Ris                                    $20.55
   Teresa               Riseborough                             $6.35
   Ron                  Rishagen                              $193.05
   Rol                  Risska                                 $66.05
   Joe                  Ritchey                                $24.10
   Pamela               Ritchey                                $21.95
   Brad                 Ritchie                               $407.20
   Jenny                Ritchie                                $72.30
   Allyson              Ritger                                $156.45
   Carey                Ritola                                  $1.20
   Chad                 Rittenbaum                              $1.45
   Gail                 Ritter                                  $3.55
   Margaret             Ritter                                  $4.72
   Monique              Ritter                                  $1.35
   Stephan              Ritter                                 $18.40
   Tracy                Ritter                                $150.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Tiina                Ritval                                   $11.86
   Ann                  Ritzma                                    $9.70
   Julie                Ritzman                                  $51.45
   Emily L              Ritzo                                     $1.10
   Roseana              Riva                                     $10.05
   Maria                Rivadeneira                             $200.00
   Carol                Rivano                                    $0.65
   Abe                  Rivera                                    $6.40
   Blanca               Rivera                                   $26.85
   Cheri                Rivera                                  $146.80
   Consuelo             Rivera                                    $0.90
   Cristina             Rivera                                   $22.55
   John                 Rivera                                   $20.20
   Lauren               Rivera                                   $27.40
   Lauren               Rivera                                   $16.70
   Ron                  Rivera                                   $20.71
   Sylvia               Rivera                                  $238.57
   Kim                  Rivielle                                 $31.10
   Kate                 Rix                                      $10.75
   Christie             Rixford                                  $64.65
   Sue                  Rizzi                                    $33.80
   Dolly                Rnollito                                $250.00
   Alycia               Roach                                    $50.00
   Anne                 Roake                                     $8.95
   Bob                  Roalfe                                   $17.35
   Bryan                Robarge                                   $1.50
   Leslie               Robarge                                   $1.33
   David                Robb                                    $299.15
   William              Robb                                    $100.00
   Christi              Robbin                                   $16.71
   Anastasia            Robbins                                   $6.25
   Ashley               Robbins                                  $14.51
   Erica                Robbins                                   $0.63
   Kristin              Robbins                                   $7.84
   Mary                 Robbins                                  $50.00
   Noelle               Robbins                                  $40.50
   Mary                 Roberge                                  $75.00
   Elle                 Roberson                                 $26.60
   Ray                  Roberson                                  $4.50
   Shammy               Roberson                                 $35.10

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Bea                  Robert                                   $7.10
   Alisha               Roberts                               $100.00
   Ann                  Roberts                                 $37.20
   Ann                  Roberts                                 $76.40
   Brad                 Roberts                                 $33.14
   Britta               Roberts                                 $50.00
   Brittany             Roberts                                  $0.20
   Carol                Roberts                                  $6.12
   Casey                Roberts                                  $0.65
   Christina            Roberts                                 $19.00
   Dale                 Roberts                                  $3.00
   Gardenia             Roberts                                 $11.55
   Hilary               Roberts                                  $0.25
   Katherine            Roberts                                 $24.77
   Katheryn             Roberts                                  $0.65
   Kris                 Roberts                               $161.67
   Laura                Roberts                                 $50.00
   Matthew              Roberts                                  $6.84
   Paul                 Roberts                                  $0.49
   Philip               Roberts                                 $16.65
   Rachelle             Roberts                                  $8.95
   Laurie               Roberts Kowalski                        $14.81
   Amy                  Robertson                               $45.65
   Blake                Robertson                             $174.91
   Cassandra            Robertson                             $384.45
   Debra                Robertson                               $49.30
   Drew                 Robertson                               $21.45
   Hannah               Robertson                               $22.15
   Helen                Robertson                                $4.30
   Jason                Robertson                                $6.31
   Karla                Robertson                               $93.05
   Ken                  Robertson                                $6.72
   Ruth                 Robertson                            $1,000.00
   Jeff                 Robidoux                                 $1.55
   Renette              Robillard                                $0.57
   Barbara              Robinson                                 $4.61
   Casey                Robinson                                 $8.00
   Darcy                Robinson                              $116.37
   David                Robinson                              $100.00
   Dawn                 Robinson                                $15.75

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Gerry-Louise         Robinson                                 $2.21
   Jake                 Robinson                                 $7.05
   Joe                  Robinson                               $150.00
   Karen                Robinson                                $41.90
   Margee               Robinson                                 $5.20
   Marjorie             Robinson                                 $3.35
   Owen                 Robinson                               $100.00
   Rebekah              Robinson                                 $1.24
   Robinsonloisjean     Robinson                                $69.10
   Sandra               Robinson                                 $2.09
   Taylor               Robinson                               $116.13
   Victoria             Robinson                                $20.25
   Victoria             Robinson                                 $7.22
   Walter               Robinson                                $18.25
   Andres               Robles                                  $44.10
   Jose                 Robles                                   $1.35
   Barnaby              Robson                                  $30.07
   Larkin               Robson                                 $686.18
   Amanda               Rocha                                   $14.45
   Celine               Roche                                   $63.20
   Scott                Rocher                                   $1.40
   Tyler                Rochwerg                                 $0.90
   Michelle             Rock                                    $94.05
   Richard              Rocke                                   $72.75
   M                    Rocket                                  $46.20
   Carol                Rockett                                 $31.15
   Amanda               Rockhold                                $82.80
   Charlie              Rockman                                  $6.80
   Cate                 Rockstad                                $42.05
   Emily                Rodda                                  $140.00
   Julie                Roddick                                  $0.25
   Jared                Rodecker                                 $1.70
   Tuttofare13          Rodenmeyer                              $17.25
   Ashley               Rodenspiel                              $11.60
   Laurie               Roderick                                $22.30
   Michael              Roderick                               $100.00
   Leah                 Roderman                               $132.23
   George               Rodgers                                 $40.20
   Heather              Rodgers                                 $24.34
   Marsha               Rodgers                                 $50.00

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   Nedra                Rodheim                                $19.05
   Mary                 Rodihan                                 $0.01
   Kate                 Rodman                                  $0.30
   Michael              Rodman                                $138.85
   Robert               Rodrigues                               $7.59
   Sheri                Rodrigues                               $0.10
   Alex                 Rodriguez                               $5.75
   Amanda               Rodriguez                              $91.80
   Ana                  Rodriguez                              $12.20
   Beverly              Rodriguez                              $54.00
   Bianca               Rodriguez                              $92.45
   Cyndi                Rodriguez                               $2.30
   Elizabeth            Rodriguez                              $15.45
   Elizabeth            Rodriguez                               $1.35
   Felicia              Rodriguez                               $0.60
   Jolynn               Rodriguez                               $6.10
   Julie                Rodriguez                               $3.95
   Lorinda              Rodriguez                               $0.10
   Megan                Rodriguez                              $10.35
   Monica               Rodriguez                               $2.65
   Nancy                Rodriguez                              $19.35
   Naphtali             Rodriguez                               $1.30
   Nell                 Rodriguez                             $119.30
   Noemi                Rodriguez                             $250.00
   Patricia             Rodriguez                             $157.75
   Patti                Rodriguez                               $4.58
   Robert               Rodriguez                              $62.90
   Stephany             Rodriguez                               $5.40
   Susanna              Rodriguez                               $0.40
   Ian                  Rodriquez                              $30.30
   Melissa              Roe                                     $8.67
   John                 Roelofs                                 $1.35
   Marcia               Roesch                                  $1.91
   Jessica              Roessler                                $8.40
   Shavonne             Roeter                                 $89.07
   Gretchen             Roethle                                $50.00
   Heather              Rogan                                 $100.00
   Loic                 Roger                                  $30.12
   Barbara              Rogers                                 $62.45
   Carolyn              Rogers                                  $0.55

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Gray                 Rogers                                $100.00
   Jena                 Rogers                                  $8.95
   Jill                 Rogers                                  $1.85
   Julia                Rogers                                  $6.50
   Kelly                Rogers                                 $16.60
   Leslie               Rogers                                  $6.50
   Maritza              Rogers                                 $24.95
   Matthew              Rogers                                 $79.71
   Rebekah              Rogers                                 $13.95
   Rodman               Rogers                                 $81.98
   Stanley              Rogers                                 $25.00
   Susie                Rogers                                $355.64
   Thomas               Rogers                                 $68.35
   Amy                  Rogg                                    $6.20
   Carli                Rogosin                               $101.58
   Sara                 Rohlfing                                $1.10
   Faith                Rohlke                                  $3.66
   Katherine            Rohrs                                   $2.20
   Libby                Roin                                   $50.30
   Helen                Rojas                                  $50.00
   Janeen               Rojas                                  $47.10
   Trudy                Rokas                                  $51.65
   Kathleen             Roland                                 $54.45
   Liz                  Roland                                  $6.20
   Pearl                Rollinger                               $0.30
   Barbara              Romain                                 $50.00
   Juliana              Roman                                  $31.75
   Sire                 Roman                                 $100.00
   Bianca               Romano                                 $10.05
   Donna                Romano                                 $95.93
   Maria                Romano                                 $50.00
   Dan                  Romanow                                 $0.75
   Daniel               Romanski                                $7.60
   Lorrie               Rome                                    $3.80
   Mallory              Rome                                   $30.98
   R.R.                 Romell                                 $13.56
   Roxanne              Romell                                  $9.20
   Jennie               Romeo                                 $167.02
   Annie                Romero                                  $8.00
   Dylan                Romero                                  $0.60

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   Hannelore            Romero                                 $44.60
   Malou                Romero                                 $23.30
   Maria                Romero                                 $10.30
   Sue                  Romero                                  $1.01
   Mario                Romero-Labariega                       $50.00
   Anitra               Romfh                                   $2.70
   Wes                  Romine                                 $41.70
   Nicole               Romoli                                 $20.75
   Jamie                Ronalter                              $113.01
   Meg                  Ronayne                               $100.00
   Curtiss              Rooks                                   $2.00
   Georgia              Rooney                                 $18.72
   Kevin                Rooney                                $200.00
   Denise               Root                                    $4.35
   Kim                  Root                                   $18.39
   Ed                   Rooth                                   $6.75
   Nancy                Roquero                                 $1.95
   Tamara               Rosa                                   $12.10
   Olivia               Rosaldo-Pratt                           $8.95
   Erik                 Rosales                                 $4.65
   Ivonne               Rosales                                 $0.60
   Nidia                Rosales                               $102.80
   Carol                Rosario                                $18.00
   Mona                 Rosas                                   $0.65
   Ofelia               Rosas                                  $42.85
   Ashley               Rose                                  $113.20
   Belinda              Rose                                  $118.20
   Cullen               Rose                                  $150.00
   Janet                Rose                                   $44.35
   Joseph               Rose                                   $20.20
   Larry                Rose                                   $48.10
   Monte                Rose                                   $50.00
   Nick                 Rose                                    $6.75
   Nick                 Rose                                   $20.10
   Norman               Rose                                   $48.15
   Josh                 Roselle                               $400.10
   Lauren               Roseman                                 $3.45
   Amanda               Rosen                                  $50.00
   Brittnie             Rosen                                  $44.72
   Chad                 Rosen                                  $11.50

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Clark                Rosen                                   $28.10
   Jennifer             Rosen                                   $15.50
   Judith               Rosen                                    $0.11
   Margot               Rosen                                   $18.55
   Sarah                Rosen                                   $31.55
   Shannon              Rosenauer                              $100.00
   Ilyssa               Rosenbaum                                $6.81
   Erika                Rosenberg                                $5.08
   Hope                 Rosenberg                               $26.60
   Jacob                Rosenberg                               $50.00
   John                 Rosenberg                               $10.15
   Margot               Rosenberg                               $44.95
   Michelle             Rosenberg                               $96.44
   Samantha             Rosenberg                               $66.80
   Casson               Rosenblatt                               $2.22
   Andrew               Rosenblum                               $27.10
   Malerie              Rosenblum                                $6.10
   Rachel               Rosenblum                               $53.11
   Candice              Rosene                                  $17.10
   Jori                 Rosenfield                              $20.00
   Tyler                Rosengren                               $14.30
   Kimberly             Rosenthal                              $100.00
   Michelle             Rosenthal                                $0.35
   Melizza              Rosich                                   $3.52
   Bob                  Rosin                                   $13.00
   Shelley              Rosinsky                                $13.95
   Jennifer             Rosko                                   $14.65
   Mark                 Rosmann                                $200.00
   Arielle              Rosner                                   $5.61
   Benjamin             Rosnick                                 $43.90
   Anne                 Rosnow                                  $11.89
   Rebecca              Rosow                                   $19.15
   Antonio              Ross                                    $22.40
   Danielle             Ross                                     $8.95
   Gavin                Ross                                    $34.15
   Laura                Ross                                     $1.35
   Laurie               Ross                                    $43.55
   Linda                Ross                                     $0.50
   Marlene              Ross                                     $2.60
   Michelle             Ross                                   $108.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Olivia               Ross                                   $22.35
   Romi                 Ross                                   $51.70
   Ryan                 Ross                                   $30.10
   Tarryn               Rossetti                                $4.65
   Candace              Rossi                                  $31.65
   Gina                 Rossi                                  $62.65
   Jonna                Rossi                                   $0.05
   Tina                 Rossi                                  $49.10
   Michael              Rossiter                             $100.00
   Ashley               Rossman                                $50.00
   Chris                Rossman                                $29.34
   Andrew               Roth                                    $1.60
   Betsy                Roth                                   $50.00
   Jason                Roth                                    $4.65
   Jillian              Roth                                    $3.68
   Leslie               Roth                                   $24.56
   Randy                Roth                                $1,061.28
   Sarah                Rothe                                  $82.07
   Sarah And Jordan     Rothe                                  $89.57
   Brad                 Rothenberg                           $100.00
   Brian                Rothenberg                             $33.95
   Kristin              Rothenbuescher                         $52.30
   Dana                 Rothermel                            $202.35
   Leah                 Rothman                                $50.00
   Lisa                 Rothman                                $38.15
   Sarah                Rothman                                 $8.95
   Diana                Rothschild                             $24.05
   Amy                  Rothstein                              $61.25
   Arlene               Rothstein                              $66.30
   Aron                 Rotklein                               $10.05
   Cole                 Rotman                                 $57.30
   Jackie               Rotman                                 $79.20
   Amanda               Rotondo                                 $3.50
   Alana                Rotter                                  $0.40
   H                    Rottersman                              $7.15
   Stefanie             Roumeliotes                            $17.25
   Paden                Rourk                                $115.80
   Ryan                 Rourke                               $161.95
   Courtney             Rouse                                   $8.50
   Donna                Roush                                   $3.26

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Cristina             Rout                                      $6.81
   Sherry               Routson                                  $64.90
   Rob                  Rovig                                    $14.14
   Esther               Rov-Ikpah                                 $0.15
   Laurene              Rovins                                  $146.20
   Dan                  Rowan                                    $96.35
   Kei                  Rowan-Young                              $14.75
   Chantel              Rowe                                      $0.55
   Elyse                Rowe                                    $150.00
   Mary                 Rowe                                      $7.60
   Peggy                Rowe                                    $142.45
   Laura                Rowley                                   $67.60
   Chhanda              Roy                                     $100.00
   Chhanda              Roy                                     $139.49
   Jenny                Roy                                     $103.31
   Monica               Roy                                       $0.87
   Susan J              Roy                                       $1.15
   Tuhin                Roy                                       $3.20
   Chris                Royal                                   $130.75
   Elizabeth            Royalty                                  $61.00
   Jasmine              Royce                                     $0.25
   Martha               Royo                                      $1.30
   Lise                 Rubarth                                   $1.20
   Cyndie               Rubash                                   $37.90
   Miriam               Rubelt                                   $39.08
   Jason                Ruben                                   $163.95
   Amy                  Rubenstein                               $80.55
   Gregg                Rubenstein                                $0.60
   Tode                 Rubenstein                               $10.43
   Ariel                Rubin                                    $50.00
   Erendira             Rubin                                     $4.10
   Jody                 Rubin                                     $8.95
   Tracy                Rubin                                   $204.10
   Zhana                Rubin                                     $1.76
   Aileen               Rubio                                     $7.50
   Matt                 Ruble                                    $43.15
   Stephanie            Ruble                                     $1.70
   Susanne              Ruble                                    $27.27
   Marcia               Rubnestein                               $74.15
   Marla                Ruby                                    $287.65

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Debra                Ruckery                                 $53.75
   Joann                Ruckman                                  $4.70
   Todd                 Rudak                                    $9.65
   Catherine            Rude                                     $4.73
   Ann                  Ruderman                                $45.05
   Tamar                Rudnick                                $100.00
   Whitney              Rudolpg                                  $2.16
   Naomi                Rudolph                                 $28.55
   Matthew              Rudy                                   $223.55
   Samuel               Rudy                                     $2.46
   Gaby                 Rueda                                    $0.25
   Maye                 Rueda                                  $440.20
   Magali               Ruer                                    $25.00
   Maura                Ruffatto                                $50.00
   Ronald               Ruggiero                                 $0.75
   Johanna              Ruhe                                     $5.51
   Tammy                Ruhle                                   $58.98
   Susan                Ruhne                                    $4.12
   Lauren               Ruhstaller                              $44.50
   Judah                Ruiz                                    $50.00
   Luz Marina           Ruiz                                    $21.60
   Mary                 Ruiz                                    $40.00
   Michelle             Ruiz                                   $168.45
   Miguel               Ruiz                                   $130.00
   Catalina             Ruiz-Healy                               $0.60
   Kathleen C           Ruiz-Healy                               $4.10
   Kristina             Ruiz-Healy                              $10.85
   Todd                 Rullman                                 $61.18
   Danila               Rumold                                   $0.51
   Zany                 Rumon                                   $77.80
   Claire               Rumore                                  $30.00
   A                    Rumple                                 $250.00
   Pat                  Rune                                     $2.05
   Gailen               Runge                                    $4.25
   Chick                Runkel                                   $1.30
   Cheryl               Runkle                                 $154.34
   Michael              Runzler                                $100.00
   Andrea               Ruotsi                                   $9.95
   John                 Rupe                                    $17.50
   Clark                Rupp                                    $16.25

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Cara                 Ruppert                                 $178.10
   Reea                 Rus                                       $0.15
   Valerie              Ruschke                                 $253.90
   Reshelle             Rush                                     $10.05
   Jamie                Rushton                                  $12.02
   Brooke               Russakoff                                $14.22
   Emily                Russel                                  $267.85
   Ali                  Russell                                  $41.00
   Ashley               Russell                                   $0.24
   Aundi                Russell                                   $1.13
   Brenda               Russell                                  $50.00
   Bryan                Russell                                 $135.02
   Caitlin              Russell                                  $28.70
   Charlotte            Russell                                  $66.25
   Dania                Russell                                 $115.71
   Jarrod               Russell                                   $4.15
   Jeff                 Russell                                  $33.13
   Jennifer             Russell                                  $97.10
   Raina                Russell-Shaffer                          $19.95
   Lauren               Russi                                   $513.15
   Heather              Russo                                     $8.95
   Joan                 Russo                                    $20.86
   Joe                  Russo                                   $169.87
   Kristin              Russo                                    $71.15
   Sarah                Russo                                    $84.10
   Chris                Russsi                                   $15.30
   Kayo                 Rust                                     $35.10
   Jennifer             Rustan                                   $33.87
   Janel                Rustay                                    $6.00
   Eugenia              Rutenberg                               $125.90
   Wendy                Rutenberg                               $260.98
   Stephanie            Rutgers                                  $38.35
   Jenny                Rutherford                                $1.50
   Shannon              Rutherford                              $323.30
   Martin               Rutkowski                                $44.05
   Caleb                Rutledge                                $123.50
   Praveen              Rutnam                                   $21.58
   Kelly                Rutschman                               $176.40
   Megan                Ruxton                                  $437.75
   Anna                 Ryan                                     $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Christine            Ryan                                    $37.26
   Colman               Ryan                                     $1.35
   Courtney             Ryan                                   $110.52
   Emily                Ryan                                     $8.95
   Hillary              Ryan                                   $250.00
   Jennifer             Ryan                                     $2.30
   Joan                 Ryan                                   $379.18
   Lauren               Ryan                                    $22.15
   Marianne             Ryan                                    $62.30
   Mary                 Ryan                                    $64.05
   Shana                Ryan                                     $2.45
   Terrence             Ryan                                    $50.18
   Tim                  Ryan                                    $30.00
   Virginia             Ryan                                    $10.55
   William              Ryan                                    $60.70
   Francois             Rybarczyk                                $0.35
   Shirley              Rybock                                  $75.00
   Justin               Ryckebusch                              $35.00
   Jessica              Rycroft                                 $19.00
   Terri                Ryder                                  $100.00
   Christine            Rydzik                                  $21.22
   Robb                 Rye                                      $0.50
   Barbara              Ryken                                   $27.55
   Erin                 Rynn                                     $1.94
   Megan                Ryskamp                                $155.35
   Chanel               Ryssel                                   $1.98
   Joelle               Ryssemus                                $13.95
   Ari                  S                                        $0.10
   Brandy               S                                        $9.30
   D                    S                                       $15.40
   Ivria                S                                       $27.25
   L                    S                                        $8.95
   Shannonallen         Sa                                       $4.60
   Janet                Saalfield                               $10.60
   Shannon              Saam                                    $16.40
   Charlene             Saavedra                                $20.00
   Nicole               Saavedra                                 $0.25
   Natalie              Saba                                   $500.00
   Janet                Sabatino                                 $0.70
   Lisa                 Sabbeth                                $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Roz                  Sabella                                $250.00
   Gail                 Sabin                                   $50.48
   Eilleen              Sabino-Laughlin                         $39.70
   Melissa              Saboowala                               $61.81
   Michelle             Saburomaru                              $61.60
   Marianne             Sacasa De Strasberg                     $25.00
   Matt                 Sachs                                   $69.79
   Phoebe               Sackett                                  $9.15
   Robert               Sacks                                   $37.10
   Milena               Sadee                                   $59.00
   Shajib               Sadhukha                               $100.00
   Aida                 Sadikovic                               $60.65
   Ursula               Sadlowski                              $868.85
   Ursula               Sadlowski                                $2.50
   Jennifer             Sadr                                   $124.70
   Jane                 Sadri                                    $0.20
   Kane                 Saechao                                $122.35
   Tracy                Saechao                                 $27.05
   Noah                 Saederup                                 $0.05
   Yao                  Saelee                                   $2.60
   Lydia                Saenz                                    $2.05
   Randi                Saffian                                $197.55
   Skylar               Saffold                                 $78.60
   Kent                 Safford                                 $79.55
   Sassadsdh            Safgddahchbb                            $10.00
   Isaac                Safier                                 $100.00
   Makiko               Safken                                 $132.06
   Ruta                 Safranavicius                           $10.05
   Viviane              Safrin                                   $0.45
   Cristina             Sagala                                  $80.46
   Melanie              Sagcan                                  $17.20
   Christina            Sage                                    $14.05
   Mary Jane            Sager                                    $4.30
   Azita                Saghafi                                  $4.95
   Neda                 Saghafi                                $100.00
   Nerminda             Sagum                                    $0.10
   Laura                Saha                                     $8.95
   Tamar                Sahaf                                    $0.35
   Michael              Sahm                                    $12.30
   Jaspreet             Sahota                                 $239.35

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Vandana              Sahrawat                                $124.60
   Delaram              Saidi                                     $5.70
   Moira                Saign                                    $19.15
   Ashley               Sailor                                    $3.65
   Beca                 Saines                                  $712.10
   Aarti                Saini                                    $72.05
   Erin                 Sainsbury                               $150.00
   Federica             Sainte-Rose                             $100.00
   Randy                Saito                                   $164.05
   Aya                  Sakaguchi                                $27.20
   Stephanie            Sakai                                     $5.40
   Derek                Sakakura                                 $43.15
   Kimi                 Sakashita                                $20.25
   Sara                 Sakhrani                                 $15.30
   Natalie              Sakkal                                    $6.90
   Jeffrey              Sakson                                   $30.80
   Fredo                Sal                                     $100.00
   Kami                 Sala                                      $7.15
   Marissa              Sala                                      $0.21
   Dmitri               Saladze                                   $0.20
   Malik                Salam                                    $50.00
   Marina               Salama                                   $66.15
   Seif                 Salama                                   $26.10
   Amal                 Salameh                                  $13.95
   Fred                 Salan                                     $6.25
   Christina            Salani                                    $2.41
   Carlos               Salanova                                  $7.85
   Eric                 Salas                                    $59.65
   Lydia                Salas                                    $86.20
   Anne                 Salazar                                  $70.65
   David                Salazar                                  $15.65
   Esteban              Salazar                                  $23.98
   Judith               Salazar                                   $1.60
   Stephanie            Salazar                                  $75.33
   Jessica              Salcedo                                  $35.25
   Mica                 Saldivar                                $360.66
   Anna                 Sale                                    $107.07
   Myriam               Salem                                    $12.00
   Andrew               Salentine                                $40.00
   Kim                  Salerno                                 $100.00

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Nicole               Saleta                                      $0.65
   Amy                  Salfen                                      $0.80
   Olga                 Salinas                                   $100.00
   Natalie              Salisbury                                 $171.46
   Caroline             Sallee                                     $50.40
   Katie                Salma                                     $111.70
   Ellen                Saltarelli                                 $80.70
   Alex                 Salter                                    $100.00
   Will                 Saltz                                      $38.05
   Jacqueline           Saltzer-Lamb                               $26.25
   Elizabeth            Salud                                      $54.41
   Amethyst             Saludo                                    $100.00
   Shane                Salvata                                    $59.10
   Edith                Salvatore                                  $50.66
   Julie                Salz                                        $8.15
   Albert               Sam                                        $67.20
   Sarah                Sam                                        $34.72
   Isavane              Samanna                                     $0.31
   Nina                 Samarguliani                               $50.00
   Albert               Sambat                                    $140.65
   Kassandra            Samman                                      $6.81
   Derek                Samn                                        $2.65
   Ashvin               Sampath                                    $69.85
   Christine            Sampson                                    $50.00
   Ian                  Sams                                       $30.00
   Erwin                Samson                                      $1.10
   Ruthie               Samson                                     $59.60
   Paras                Samsukha                                  $119.35
   Abhishek             Samuel                                    $100.00
   Laura                Samul                                     $500.00
   Cheryl               San Filippo                               $100.00
   Gigi                 San Sebastian                              $44.35
   Brett                Sanborn                                    $10.25
   Scott                Sanbrook                                    $4.46
   Allegra              Sanchez                                     $1.81
   Amy                  Sanchez                                    $54.70
   Bonnie               Sanchez                                     $4.28
   Desiree              Sanchez                                    $58.76
   Diana                Sanchez                                   $323.16
   Hilda                Sanchez                                     $5.10

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Laura                Sanchez                                $26.00
   Maria                Sanchez                                 $0.40
   Marlene              Sanchez                                $50.70
   Mike                 Sanchez                               $100.00
   Mily                 Sanchez                                $50.00
   Robert A.            Sanchez                                 $1.06
   Sheri                Sanchez                                $10.80
   Susan                Sanchez                                $12.15
   Susan                Sanchez                                $56.30
   Jennifer             Sanchez-Miranda                         $3.40
   Jean-Paul            Sanday                                  $8.00
   Dag                  Sandbakken                            $152.25
   Stephanie            Sandbo                                $288.45
   Andrea               Sander                                $108.57
   Eric                 Sander                                  $1.25
   Amanda               Sanders                               $250.00
   Cassidy              Sanders                                 $1.55
   Don                  Sanders                               $176.85
   Edward               Sanders                               $159.90
   Grant                Sanders                                $68.25
   John                 Sanders                                $29.85
   Julie                Sanders                                 $9.20
   Lisa                 Sanders                                $50.00
   Noah                 Sanders                               $250.00
   Theresa              Sanders                                $68.30
   Dana                 Sanderson                              $28.30
   Justin               Sanderson                              $59.25
   K                    Sanderson                             $100.00
   Sara                 Sandifer                              $100.00
   Gina                 Sandler                                $53.25
   Reuben               Sandler                                 $4.90
   Lisa                 Sandman                                 $1.80
   Kevin                Sandness                               $15.85
   Heidi                Sandoval                                $7.55
   Michelle             Sandoval                                $0.42
   Susan                Sandoval                               $10.00
   Valdemar             Sandoval                              $201.12
   Dave                 Sandretto                              $11.25
   Blake                Sandy                                  $39.50
   Christina            Sanford                                $12.52

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   Buyer First Name      Buyer Last Name            Gift Card Amount
   Danielle              Sanford                                   $7.14
   Prerana               Sangani                                  $25.00
   Claudia               Sanii                                     $8.95
   Nazanin               Sanii                                    $13.15
   Steve                 Sanislow                                 $60.00
   Bharath               Sankaran                                 $16.00
   Judy                  Sanner-Chase                            $143.06
   Akihiko               Sano                                     $49.35
   Martha                Sanossian                                $83.50
   John                  Sant                                     $19.60
   Peter                 Santa Maria                               $5.27
   Chris                 Santana                                   $0.11
   Yvette                Santana                                 $200.00
   Saul & Julia          Santell Salinas                         $422.15
   Arianne               Santi                                    $15.50
   Catherine             Santiago                                 $22.20
   Liza                  Santiago                                $100.00
   Chelsea               Santiful                                 $40.05
   Renata                Santillan                                $37.55
   Brigitte              Santini                                  $16.24
   Noreen                Santini                                   $2.15
   Desiree               Santos                                   $14.05
   Eva                   Santos                                    $5.15
   Hernan                Santos                                   $10.95
   Jason                 Santos                                   $49.75
   Margaret              Santos                                   $28.08
   Maricel               Santos                                   $12.95
   Amanda                Sanyal                                  $100.00
   Natalia               Sanz                                     $26.45
   Jill                  Saper                                    $79.15
   Rachel                Saperstein                               $35.40
   Steve                 Saporita                                 $62.60
   Tiffany               Sapp                                     $19.95
   Anna                  Sapre                                     $8.95
   Taryn                 Saragoza                                 $66.90
   Marina                Sarao                                    $38.62
   Jacob                 Sarfaty                                  $16.60
   Damian                Sargent                                 $100.00
   Lauren                Sargent                                 $117.20
   Joanna                Saribalis                               $342.30

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Inbar                Sarig                                     $3.85
   Amit                 Sarin                                     $0.60
   Stanton              Sarjeant                                  $9.40
   Anna                 Sarly                                   $102.75
   Sharmistha           Sarma                                    $37.10
   Heidi                Sarracino                                $88.45
   Gabor                Sarusi                                   $32.75
   Barney               Sasaki                                    $0.60
   Joel                 Sasaki                                  $200.00
   Ruth                 Sasaki                                  $100.00
   Jeff                 Sasao                                   $145.60
   Kristi               Saso                                     $12.60
   Jd                   Sassaman                                $245.36
   Mariangela           Sassi                                    $11.20
   Ibby                 Sasso                                    $41.42
   Jonathan             Sasssani                                 $50.00
   Jane                 Sastra                                  $146.70
   Orla                 Sater                                    $43.05
   Orla                 Sater                                    $13.55
   Anita                Sathe                                     $8.70
   Amanda               Sather                                   $24.80
   Katie                Sathre                                    $4.48
   Kio                  Sato                                     $11.05
   Nellie               Sato                                     $32.16
   Jennifer             Satoh                                    $10.05
   Nancy                Satola                                    $7.41
   Brandon              Satoren                                 $180.55
   Kwame                Satterfield                               $5.05
   Stuart               Satterfield                              $42.45
   Courtney             Satterwhite                               $1.10
   Leyli                Satvat                                    $0.25
   Carrie               Satyshur                                  $0.39
   Dominique            Sauer                                     $0.90
   Lauren               Sauer                                    $11.50
   Daniel               Sauers                                    $3.35
   Erin                 Saul                                      $2.90
   Jennifer             Saul-Klein                               $23.10
   Carla                Saulter                                   $7.58
   Alisha               Saunders                                  $2.50
   Jane                 Saunders                                 $13.57

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Michael              Saunders                                 $13.90
   Ruth                 Saunders                                 $18.00
   Sarah                Sautot                                   $94.05
   Annaliza             Savage                                    $6.23
   Danielle             Savage                                    $0.55
   Rowland              Savage                                    $3.30
   Shivani              Savdharia                                 $0.23
   Liz                  Savery                                   $27.90
   Elizabeth            Saviano                                   $1.07
   L                    Savidge                                $179.55
   Ann                  Savoie                                   $63.10
   Brooke               Savona                                    $7.91
   Catherine            Sawall                                $1,397.36
   George               Sawaya                                   $45.86
   Dhruv                Sawhney                                $250.00
   Bruce                Sawle                                    $54.20
   Lisa                 Sawtell                                $100.00
   Caitlin              Sawyer                                   $16.97
   David                Sawyer                                 $100.00
   Suzana               Sawyer                                   $27.30
   Tara                 Sawyer                                    $2.25
   Richard              Sax                                       $4.10
   Shel                 Saxon                                  $162.65
   Karen                Sayah                                    $31.63
   Teresa               Sayno-Posas                              $48.20
   Winnie               Sayre                                    $14.40
   Suzanne              Saysette                               $252.90
   Scott                Saywell                                  $18.10
   Amy                  Scala                                    $50.00
   Cassie               Scalettar                                $24.15
   Susan                Scalice                                   $6.65
   Jennifer             Scangos                                  $53.25
   Christine            Scanlon                                   $2.05
   Colin                Scanlon                                   $7.32
   Betty                Scarborough                              $50.00
   Elizabeth            Scarborough                               $5.75
   Elizabeth            Scarborough                            $100.00
   Jenifer              Scarborough                               $0.90
   John                 Scarborough                              $15.15
   Jessica              Scarpino                                 $58.71

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Paula                Scavera                                     $0.24
   Louis                Scavo                                      $73.50
   Meghan               Scelfo                                    $204.25
   Carly                Schaaf                                     $25.00
   Sage                 Schaan                                     $35.70
   Jill                 Schachtel                                   $2.08
   Charlene             Schachter                                   $9.35
   Steven               Schachter                                  $98.05
   Janet                Schaeffer                                 $193.85
   Maria                Schafer                                   $100.00
   Emily                Schaffer                                   $39.46
   Rebecca              Schaffer                                    $3.05
   Kari                 Schaiman                                   $20.47
   Caitlyn              Schalich                                  $276.72
   Lindsay              Schallich                                 $265.23
   Jillian              Schapiro                                   $72.90
   Emily                Schardt                                   $240.75
   Mary                 Schardt                                    $11.65
   Alexis               Schassberger                               $39.55
   Regina               Schauerte                                   $3.15
   Cara                 Scheffler                                  $17.97
   Eileen               Schefsky                                   $13.15
   Connie               Scheidecker                                $73.20
   Celine               Scheidt                                    $30.57
   Maren                Scheiner                                   $50.00
   Adam                 Schellinger                                $72.15
   Lisa                 Schen                                       $3.40
   Christina            Scher                                     $229.55
   Samantha             Scher                                      $43.15
   Amanda               Scherck                                    $38.95
   Ben                  Scherer                                   $110.16
   Heidi                Scherrer                                    $0.55
   Beth                 Scherzo                                    $50.00
   Sam                  Schickler                                  $21.15
   Joyce                Schieferstein                             $200.00
   Daniel               Schiemel                                   $15.39
   Heidi                Schiessler                                 $69.87
   Alec                 Schiff                                      $9.15
   Arielle              Schiff                                     $20.15
   Jodi                 Schilf                                      $2.90

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jesse                Schiller                               $59.25
   Alexandra            Schilling                              $30.00
   Jill                 Schilling                              $62.05
   Liesel               Schilperoort                          $134.00
   Nita                 Schilperoort                           $80.00
   Heidi                Schindler                              $50.00
   Kevin                Schindler                               $1.00
   Kara                 Schinella                              $31.50
   Paulina              Schipke                                $61.70
   Lois                 Schipper                              $250.00
   Allison              Schippers                              $96.54
   Alexandra            Schirding                               $2.25
   Andrew               Schlaikjer                             $55.95
   Sam                  Schlang                                 $0.25
   Jason                Schleifer                              $78.55
   Lauren               Schless                                $54.15
   Delia                Schletter                               $1.11
   Kathleen             Schliemann                              $8.25
   Brian                Schlinkert                             $59.25
   Michael              Schloss                               $137.15
   Adi                  Schlosser                               $5.16
   Aimee                Schlosser                             $224.40
   Thomas               Schluchter                             $29.02
   Carolina             Schmale                                $25.00
   Eva                  Schmid                                 $15.71
   Sandra               Schmid                                $100.45
   Alicia               Schmidt                                 $9.40
   Anna                 Schmidt                                $21.45
   Hans                 Schmidt                                 $4.05
   Heidi                Schmidt                                $62.20
   Kenneth              Schmidt                                $12.15
   Marie                Schmidt                                $87.55
   Soraia               Schmidt                                $42.25
   Tamera               Schmidt                                 $1.15
   Tiffany              Schmidt                                 $4.25
   Tiffany              Schmidt                                 $9.15
   Katie                Schmidt Skoog                          $26.38
   Hayden               Schmidter                              $37.65
   Martine              Schmidtpoolman                        $221.55
   Judi                 Schmitt                                 $2.08

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Emily                Schmitz                               $256.55
   Jessica              Schmuke                                $15.00
   Amanda               Schmutzler                             $25.75
   Stephanie            Schnapp                                 $2.85
   Elizabeth            Schneider                              $36.45
   Erik                 Schneider                              $41.95
   Erin                 Schneider                              $27.40
   Ian                  Schneider                              $50.00
   Lisa                 Schneider                              $20.68
   Melissa              Schneider                              $45.50
   Rosa                 Schneider                               $0.06
   Sandy                Schneider                              $64.30
   Sieglinde            Schneider                               $3.65
   Suzan                Schneider                               $1.02
   Suzanne              Schneider                               $6.55
   Tim                  Schneider                              $33.18
   Anna                 Schnell                               $182.55
   Charlie              Schnellbacher                           $9.60
   Natalie              Schnuck                                $28.75
   Alan                 Schoen                                $100.00
   Marisa               Schoen                                 $11.09
   Julie                Schoening                             $123.30
   Mike                 Schoenwetter                            $0.30
   Bheron89             Schofield                               $0.81
   April                Scholz                                  $0.20
   Birte                Scholz                                $100.00
   Heather              Scholz                                  $2.15
   Jason                Schoonover                            $100.00
   Desa                 Schrader                                $2.09
   Sarah                Schrader                               $84.90
   Jeannette            Schreckenghaust                        $68.25
   Annapurna            Schreiber                              $75.00
   Claire               Schreiber                             $205.07
   Donald               Schreiber                              $33.20
   Gretchen             Schreiber                             $116.35
   Sam                  Schreiber                             $100.00
   Astrid               Schreuder                               $9.50
   Erica                Schrey                                 $21.66
   Julien               Schreyer                              $102.45
   David                Schrimpf                              $309.80

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Emilie               Schroeder                               $20.48
   Jennifer             Schroeder                                $8.33
   Mayumi               Schroeder                                $4.15
   Tim                  Schroeder                                $4.25
   Tracey               Schroeder                               $13.53
   Sandy                Schroedl                                 $4.25
   Natalie              Schroeter                                $0.75
   Carol                Schrumpf                                $41.35
   Eric                 Schuehle                                 $2.09
   Kristin              Schueler                                $80.25
   Tom                  Schuetz                                 $24.50
   Carl                 Schulkin                               $124.95
   Jay                  Schulkin                                $18.93
   Ariel                Schulman                                 $1.45
   Loren                Schulman                                 $0.17
   Robin                Schulman                                $56.90
   Sue                  Schultes                                $11.25
   Alison               Schultz                                 $23.90
   Christian            Schultz                                  $0.10
   Jenny                Schultz                                  $3.51
   Mila                 Schultz                                $311.86
   Tim                  Schultz                                 $11.30
   Alisha               Schulz                                   $7.40
   Katrin               Schulze                                 $11.15
   Diane                Schumacher                              $50.00
   Heather              Schumacher                              $85.00
   Heather              Schumacher                              $12.70
   Sandy                Schumacher                               $0.06
   Alexandra            Schuman                                 $70.15
   Nicholas             Schutt                                  $19.20
   Julien               Schwab                                   $0.96
   Matthew              Schwab                                 $150.00
   Julie                Schwach                                 $65.65
   Nick                 Schwanz                                 $44.75
   Adrienne             Schwartz                                $68.29
   Alison               Schwartz                                 $0.58
   Brie                 Schwartz                                 $0.51
   Britton              Schwartz                               $275.00
   Catherine            Schwartz                               $145.59
   Jeanne               Schwartz                                $44.75

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kelly                Schwartz                               $318.79
   Krissa               Schwartz                                $76.66
   Lilia                Schwartz                                $45.90
   Luke                 Schwartz                               $137.57
   Madalyn              Schwartz                                $34.65
   Marie                Schwartz                               $126.59
   Michelle             Schwartz                               $111.10
   Nicky                Schwartz                               $147.54
   Rachel               Schwartz                                $34.55
   Sam                  Schwartz                                $24.55
   Sarah                Schwartz                                $22.53
   Andrea               Schwartz Boone                          $93.45
   Chad                 Schwartzman                              $0.20
   Adele                Schwarz                                 $32.40
   Erika                Schwarz                                $250.00
   Megan                Schwarzman                               $8.95
   Daniel               Schweitzer                              $71.65
   Kristen              Schweitzer                             $195.25
   Sunny                Schweitzer                              $50.00
   Melissa              Schweizer                               $19.15
   Yann                 Schwermer                               $19.15
   Roxana               Schwettmann                             $74.35
   Tammy                Schwieder                               $30.10
   Mary                 Schwwedhelm                             $44.90
   Eric                 Sciammas                                 $3.95
   Elisa                Sciaroni - Huebner                      $26.30
   Maria                Scofield                                 $0.45
   Lep                  Scola                                   $44.75
   Nichole              Scoles                                 $500.00
   Andrea               Scott                                   $88.85
   Andrew               Scott                                    $1.35
   Beverly              Scott                                   $30.00
   Carl                 Scott                                   $52.95
   Denise               Scott                                    $7.40
   Heather              Scott                                   $15.49
   Jen                  Scott                                   $64.85
   Jenna                Scott                                   $73.30
   Joan                 Scott                                  $100.00
   Kent                 Scott                                  $250.00
   Lashawna             Scott                                   $21.80

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Leslie               Scott                                      $25.35
   Martin               Scott                                      $13.10
   Marty                Scott                                       $9.30
   Mindy                Scott                                      $68.20
   Sunny                Scott                                     $170.45
   Susan                Scott                                       $0.25
   Wendy                Scott                                     $125.00
   Andrea               Scott Koerber                              $16.20
   Sean                 Scotten                                    $26.06
   Samantha             Scovanner                                  $30.70
   Julie                Scribner                                    $6.05
   Ross                 Scroggs                                   $100.00
   Erin                 Scruby                                      $3.55
   Kimberly             Scruggs                                    $42.41
   Anne                 Scully                                      $1.15
   Liz                  Scully                                      $1.20
   Dsfg                 Sdgf                                        $0.60
   Garrett              Seabolt                                     $8.95
   Mary                 Seabury                                    $24.77
   Heather              Sears                                      $11.25
   Maryann              Sears                                       $4.70
   Joan                 Seavey                                    $125.00
   Suzanne              Seavey                                     $11.60
   Sevgi                Seba                                       $15.70
   Sara                 Seberger                                  $100.00
   Lucy                 Seche                                      $23.60
   Jane                 Seck                                       $12.35
   Sally                Sedadi                                    $126.15
   Brian                Sedgeley                                   $15.05
   Skye                 Sedivy                                     $13.95
   Iaroslav             Sedrichev                                  $57.80
   Christina            Seeber                                     $67.10
   Franziska            Seeger                                     $35.67
   Gene                 Seelbach                                   $21.20
   Katie                Segev                                       $0.40
   Erika                Segraves                                    $7.25
   Joel                 Segre                                     $150.25
   Christina            Segura                                      $2.30
   Amy                  Sehnert                                   $157.25
   Josh                 Seidenfeld                                 $15.80

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Carrie               Seidl                                  $20.00
   Randi                Seidner                                 $3.86
   Yusef                Seidy                                   $3.90
   Jenny                Seifers                                 $2.73
   Vaughan              Seifert                                 $0.82
   Rahael               Seifu                                 $113.50
   Mario                Seijo                                  $11.72
   Yuki                 Seiki                                  $12.25
   Crystal              Seiler                                $138.25
   Karin                Selbach                                 $2.55
   Eric                 Selby                                  $50.00
   Heather              Selby                                  $75.66
   Leslie               Selcow                                  $0.15
   Patricia             Seldner-Brown                         $210.60
   Anna                 Selena                                 $17.95
   Nick                 Self                                   $37.60
   Paul                 Self                                   $50.00
   Shane                Self                                  $100.00
   Pam                  Seligman                                $6.60
   Bob                  Selinger                               $75.00
   Joe                  Sell                                  $112.75
   Melissa              Sellam                                  $7.30
   Sara                 Sellar                                  $2.22
   Alison               Sellers                                $49.59
   Matt                 Sellers                               $132.40
   Michelle             Sellers                                $50.00
   Donald               Sellon                                  $3.95
   Elizabeth            Selmo                                  $11.95
   Caitlin              Selvaag                                $36.95
   Jeanne               Selvester                              $42.35
   Sydney               Selzer                                 $28.68
   Bonnie               Semans                                  $7.15
   Paul                 Semenza                                $59.10
   Kazuo                Semitsu                                $29.10
   Julia                Sen                                     $9.90
   Dan                  Senatore                                $1.00
   Catherine            Seneviratne                           $149.62
   Kevin                Seng                                    $1.45
   Saumitra             Sengupta                              $100.00
   Elyse                Sensabaugh                              $0.20

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Michelle             Sense                                   $6.33
   Erin                 Senter                                $100.00
   Carla                Sentivany                              $75.00
   Damla                Senturk                                 $5.30
   Trish                Sep                                    $15.10
   Vladimir             Sepetov                                $15.26
   Julie                Sequeira                              $189.60
   Debbie               Sera                                   $50.00
   Eduardo              Sera                                    $1.05
   Elissa               Serapio                                $14.00
   Anne-Sophie          Seret                                  $31.05
   Heidi                Seretan                                $29.02
   Nancy                Serio                                  $36.66
   Max                  Serleth                               $150.00
   Jon                  Serna                                   $3.08
   Mike                 Serpe                                   $1.76
   Candice              Serran                                  $5.80
   Emi                  Serrato                                 $2.95
   Gina                 Serrato                                $97.55
   Scott                Sershen                                $20.75
   Lauren               Sertich                                $17.60
   Krishnan             Seshadri                               $23.20
   Alison               Sesko                                 $231.46
   Kathy                Sesnon                                  $0.35
   Kevin                Sessums                                $39.75
   Joanna               Sesti                                  $18.97
   Mehar                Sethi                                 $150.00
   Simran               Sethi                                  $23.75
   Uma                  Sethi                                 $199.60
   Michelle             Seto                                    $4.25
   Rowena               Seto                                    $1.45
   Patty                Setrakian                              $40.80
   Tuelo                Setswamorago                            $1.30
   Puja                 Setty                                  $80.55
   Tina                 Setzer                                 $55.85
   Jonne                Sevekow                               $101.55
   Lori                 Severino                               $12.80
   Anna                 Severn                                 $13.43
   David                Severson                               $28.90
   Jessica              Severt                                  $2.91

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Anneleen             Severynen                               $24.70
   Sean                 Sevey                                   $89.75
   Carlos               Sevilla                                 $26.20
   Dennis               Sevilla                                 $36.65
   Sandee               Sewell                                  $74.10
   Omar                 Seyal                                   $66.30
   Patrick              Seybold                                 $64.81
   Nima                 Seyedali                                $24.38
   Bettina              Sferrino                                 $0.85
   Melissa              Shabason                                $26.55
   Lindsay              Shadrick                                 $0.55
   Jason                Shaeffer                                 $1.95
   Jessica              Shafer                                  $10.20
   Julia                Shafer                                   $8.65
   Candia               Shaffer                                $214.40
   Lisa                 Shaffer                                 $42.55
   Sandra               Shaffer                                  $0.25
   Sandra               Shaffer                                 $12.05
   Birju                Shah                                     $0.91
   Heena                Shah                                   $197.30
   Jess                 Shah                                    $20.60
   Kamal                Shah                                    $50.00
   Kunal                Shah                                    $39.70
   Lena                 Shah                                    $26.80
   Mrudula              Shah                                     $9.69
   Nirao                Shah                                     $3.85
   Nishit               Shah                                     $0.30
   Prachi               Shah                                    $50.00
   Rishi                Shah                                    $52.85
   Ronak                Shah                                    $44.75
   Ruchir               Shah                                   $130.03
   Sachin               Shah                                    $10.15
   Saloni               Shah                                    $17.10
   Laleh                Shahideh                                 $1.90
   Brittany             Shahin                                   $7.45
   Erin                 Shailendra                              $32.10
   Kimberly             Shakeri                                  $0.75
   Sharon               Shakked                                  $2.80
   Julia                Shalen                                 $200.82
   Miki                 Shaler                                  $18.05

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Ophira               Shalev                                    $131.85
   Kamma                Shallenberger                              $14.65
   Jonathan             Shallow                                     $0.95
   Israel               Shalom                                     $50.00
   Brad                 Shambaugh                                  $14.40
   Nathan               Shamosh                                     $6.60
   Katherine            Shamraj                                   $150.00
   Mike                 Shanahan                                    $6.20
   Megan                Shand                                      $50.00
   Steve                Shandobil                                  $13.40
   Blair                Shane                                     $151.36
   Molly                Shane                                       $0.90
   Dana                 Shank                                       $0.75
   Deepthi              Shankar                                     $7.85
   Caitlin              Shanley                                    $13.15
   Marian               Shannahan                                  $11.35
   Charles              Shannon                                    $50.00
   Dominique            Shannon                                     $1.88
   Patricia             Shannon                                    $12.30
   Michael              Shantzis                                   $14.94
   Stephen              Shapero                                    $79.28
   Barbara              Shapiro                                    $27.10
   Betsey               Shapiro                                    $14.25
   Dmitry               Shapiro                                    $18.32
   Emilia               Shapiro                                    $54.90
   Jenelle              Shapiro                                     $0.50
   Josslyn              Shapiro                                    $14.47
   Sam                  Shapiro                                     $8.95
   Steve                Shapiro                                     $1.05
   Susan                Shapiro                                    $96.15
   Zach                 Shapiro                                     $1.90
   Kristina             Shapona                                   $150.20
   Jarrod               Shappell                                    $3.75
   Eric                 Share                                     $111.90
   Shari                Shari                                     $230.89
   Jeremy               Sharib                                     $13.80
   Natasha              Sharma                                      $0.96
   Pranab               Sharma                                      $8.95
   Bob                  Sharp                                      $12.28
   Kirsten              Sharp                                      $96.99

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Shannon              Sharp                                  $59.40
   Sherice              Sharp                                  $80.00
   Tara                 Sharp                                 $101.32
   Alexander            Shartsis                                $8.60
   Hanya                Shatara                               $150.00
   Larisa               Shaterian                             $100.00
   Audris               Shau                                   $75.00
   Braun                Shaughnessy                            $31.20
   Jennifer             Shaull                                  $1.10
   Julia                Shaver                                 $32.80
   Eithan               Shavit                                 $35.65
   Shira                Shavit                                  $7.35
   Aglae                Shaw                                  $145.75
   Amy                  Shaw                                   $48.05
   Ann                  Shaw                                    $8.25
   Barb                 Shaw                                   $50.00
   Catherine            Shaw                                   $66.15
   Courtney             Shaw                                    $3.15
   Elizabeth            Shaw                                    $2.25
   Geri                 Shaw                                    $1.10
   Gina                 Shaw                                   $14.65
   Heather              Shaw                                   $16.10
   Ian                  Shaw                                   $50.00
   Jessica              Shaw                                    $7.20
   Jessica              Shaw                                   $16.44
   Kate                 Shaw                                  $222.34
   Kathy                Shaw                                    $0.05
   Kenneth              Shaw                                    $7.90
   Mark                 Shaw                                   $50.00
   Megan                Shaw                                  $169.27
   Nicole               Shaw                                    $1.20
   Rob                  Shaw                                   $18.60
   Shannon              Shaw                                   $74.59
   Shelley              Shaw                                    $1.22
   Janet                Shaw Jay                               $50.00
   River                Shay                                    $3.93
   Sara                 Shayesteh                               $0.85
   Sahar                Shayestehmehr                          $10.76
   Becky                Shea                                   $97.45
   Nancy                Shea                                   $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Patrick              Shea                                   $85.67
   Tess                 Shea                                   $18.54
   Lillian              Sheahan                                $21.20
   Mark                 Sheahan                               $300.00
   Kelly                Sheard                                 $16.30
   Robin                Sheared                                 $0.20
   Rachel               Shearer                                 $0.95
   Brent                Shedd                                   $0.70
   Catriona             Shedd                                   $8.57
   Elizabeth            Shedden                                 $1.05
   Franklin             Sheehan                                 $4.25
   Maureen              Sheehan                                $14.35
   Mike                 Sheehan                                $66.88
   Patricia             Sheehan                                 $1.60
   Traci                Sheehan                                 $9.56
   Taylor               Sheehan-Farley                          $1.13
   Sean                 Sheer                                  $55.22
   Amanda               Sheets                                $100.00
   Kristin              Sheffield-Whitehead                     $5.65
   Alexus               Shefts                                  $8.96
   Caryn                Shehi                                  $10.95
   Amina                Sheikh                                $145.95
   Jennifer             Shein                                   $2.65
   Scott                Sheinbaum                              $19.30
   Odessa               Shekar                                 $34.76
   Ratna                Shekhawat                              $13.85
   Dana                 Sheldon                                $11.90
   Stacy                Shelhorse                               $5.65
   Quincey              Shelton                                 $2.08
   Lauren               Shelzam                                 $3.72
   Nicole               Shema                                  $12.04
   Alison               Shemyakin                             $112.65
   75Lily               Shen                                   $11.66
   Alex                 Shen                                   $50.80
   Jenny                Shen                                   $35.30
   Ji Young             Shen                                  $100.00
   Margaret             Shen                                   $43.75
   Tong                 Shen                                    $9.41
   Diana                Sheng                                 $100.00
   Sarah                Shenk                                 $170.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sheri                Shenk                                  $50.00
   Sara                 Shenkan                                 $9.85
   Barbara              Shenson                                $51.25
   Andrew               Shepard                                 $0.75
   Sandy                Shepard                               $376.15
   Jonathan             Sheperd                                $24.55
   Josie                Shephard                                $0.20
   Ann                  Shepherd                               $58.45
   Greg                 Shepherd                               $40.63
   Roger                Shepherd                               $13.65
   Michelle             Sheppard                                $0.85
   Michelle             Sheppard                                $9.55
   Scott                Sheppick                               $79.59
   Dana                 Sher                                    $1.95
   James                Sheridan                               $20.80
   Laura                Sheridan                               $36.21
   Adam                 Sherman                                $15.50
   Alex                 Sherman                                $73.60
   Alison               Sherman                               $150.00
   Jennifer             Sherman                                 $5.15
   Kristen              Sherman                                $19.60
   Maureen              Sherman                                 $1.50
   Rebecca              Sherman                                $19.55
   Sarah                Sherman                               $249.95
   Spencer              Sherman                                $34.15
   Stephen              Sherman                                 $0.29
   Stephen              Sherman                                 $6.50
   Rebecca              Sherr Christian                        $50.02
   Karina               Sherry                                  $8.25
   Linda                Sherry                                  $8.60
   Ellen                Shershow Pe√±A                         $22.36
   Bruce                Sherter                                $50.00
   Ashwini              Sheth                                  $10.11
   Caroline             Shettle                                $10.55
   Anita                Sheung                                 $64.15
   Lilian               Shevchenko                              $0.70
   Tatyana              Sheyner                                $41.60
   Yelena               Sheyser                                 $0.65
   Tony                 Shi                                    $12.45
   Betty                Shiao                                   $0.75

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Meagan               Shields                                $35.20
   Tiffany              Shih                                   $12.74
   Brian                Shiller                                $62.60
   Stephen              Shilling                              $127.45
   Janet                Shim                                  $235.50
   Nancy                Shim                                    $3.05
   Juanita              Shimada                                $50.00
   Sayuri               Shimada                                 $2.55
   Susan                Shimazu                                 $0.20
   Alex                 Shimek                                  $2.90
   Kendra               Shimmell                               $33.95
   Tomomi               Shimokawa                              $71.90
   Miyuki               Shimono                                $71.01
   Daniel               Shin                                  $100.00
   Susan                Shin                                   $88.35
   Beth                 Shindler                               $18.05
   Kanade               Shinkai                                $88.40
   Sara                 Shinoda                                $19.48
   Jean                 Shintani                                $1.30
   Aj                   Shipley                                 $1.05
   Tim                  Shipman                                $53.15
   Tiereney             Shiroma                                $10.54
   Brian                Shiroyama                             $150.00
   Sadaf                Shirvani                                $0.90
   Gretchen             Shively                                 $1.06
   Liz                  Shoemaker                              $37.85
   Max                  Shoemaker                               $1.40
   Benjamin             Shomair                                 $8.95
   Rebecca              Shomair                                $20.20
   John                 Shon                                   $50.00
   Shannon              Shondeff                               $44.60
   Lorak                Shop                                   $82.90
   Anna                 Shope                                 $100.00
   Adam                 Shorsher                               $36.96
   Danielle             Short                                   $5.55
   Karen                Short                                   $5.76
   Laura                Short                                   $3.20
   Lauren               Short                                  $30.00
   Kim                  Shottan                               $105.80
   Allison              Shoulw                                 $89.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kristin              Shoup                                   $16.85
   Joshua               Shrager                                 $30.35
   Yael                 Shrager                                  $0.02
   David                Shreni                                  $18.55
   Kate                 Shreve                                 $139.55
   Porter               Shreve                                 $250.00
   Daniel               Shrey                                    $8.95
   Bharat               Shrinevas                              $250.00
   Caitlin              Shrum                                  $100.00
   Elena                Shtromberg                               $8.25
   Megan                Shub                                     $6.17
   Jocelyn              Shugart                                  $0.75
   Nathan               Shugart                                  $6.50
   Aditi                Shukla                                   $8.95
   Rebecca              Shultz                                  $45.70
   Jennifer             Shumway                                $424.66
   Brian                Shurm                                   $13.95
   Lorilynne            Shusta                                  $50.00
   Jaclyn               Shusterman                              $23.52
   Scott                Shute                                   $48.95
   Barry                Sia                                    $352.70
   Michelle             Sibly                                  $100.00
   Ingrid               Sibrian                                  $4.60
   Rhonda               Sicher                                  $50.00
   Andrea               Siciliano                               $29.58
   Daryl                Sid                                     $58.15
   Samir                Siddhanti                               $13.20
   Ghazala              Siddiqui                               $165.70
   Mona                 Siddiqui                               $396.55
   Jennifer             Siden                                   $39.40
   Nicole               Sidlauskas                               $8.55
   Rebecca              Sidor                                    $6.43
   Mike                 Siebold                                  $0.65
   Cynthia              Siedel                                   $0.60
   Patrice              Siefers                                 $13.90
   Gillian              Siegal                                  $76.00
   Debbie               Siegel                                  $12.75
   Tara                 Siegel                                  $53.90
   Trisha               Siegel                                  $40.00
   Robert               Siegfried                                $8.72

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Gretchen             Siegrist                                    $7.94
   Philip               Sieh                                        $6.55
   Stacy                Siele                                       $8.85
   Joy                  Siemens                                     $0.15
   Mary                 Sienkiewicz                                $50.00
   Alina                Siert                                       $1.25
   Justin               Sieve                                       $1.10
   Ambrose              Siew                                       $31.25
   Andy                 Sigears                                     $3.30
   Brian                Sigler                                     $76.10
   John                 Sigler                                      $0.35
   Andrea               Sigler Castro                               $8.95
   Yuvraj               Sihra                                       $2.95
   Shanaz               Sikder                                     $35.55
   Ezekiel              Sikelianos                                 $29.99
   Lindsey              Sikes                                      $66.85
   Noah                 Silas                                      $63.70
   Sandy                Silas                                       $3.90
   Janet                Silberman                                  $10.40
   Sarah                Siler                                      $13.18
   Ilene                Silk                                        $0.05
   Patty                Silk                                      $540.27
   Oscar                Silla                                       $2.50
   Cara                 Silva                                       $0.95
   Christopher          Silva                                      $50.00
   Danielle             Silva                                      $31.70
   Diana                Silva                                      $33.30
   Evonne               Silva                                       $0.35
   Kristen              Silva                                       $3.15
   Leonte               Silva                                       $2.17
   Nicole               Silva                                      $50.00
   Paula                Silva                                      $23.10
   Shannon              Silva                                       $1.10
   David                Silver                                     $44.30
   Elizabeth            Silver                                     $10.05
   Ike                  Silver                                    $250.00
   Jeff                 Silver                                      $8.63
   Josh                 Silver                                    $100.00
   Missy                Silver                                     $14.38
   Tosha                Silver                                      $6.10

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Zo                   Silver                                    $0.85
   Ann                  Silverberg                               $27.15
   Benjamin             Silverman                                $50.00
   Chad                 Silverman                                $73.82
   Dorna                Silverman                                $14.80
   Gina                 Silverman                                 $1.95
   Joybell              Silverman                               $260.30
   Mia                  Silverman                                $50.00
   Sarah                Silverman                                $50.13
   Dara                 Silverstein                              $30.95
   Karol                Silverstein                              $45.15
   Marsha               Silverstein                              $51.25
   Claire               Simeone                                   $5.45
   Natasha              Simkovich                                $57.02
   Andrew               Simmons                                 $102.60
   Janell               Simmons                                  $18.31
   Michelle             Simmons                                   $0.75
   Shana                Simmons                                  $13.80
   Shon                 Simmons                                  $57.20
   Thomas               Simmons                                  $47.70
   Tricia               Simmons                                  $80.25
   Robert               Simms                                    $27.40
   Sylvia               Simms                                   $100.00
   Emily                Simon                                    $10.66
   Jeunee               Simon                                     $3.30
   Judith               Simon                                    $50.00
   Kia                  Simon                                     $0.95
   Lateefah             Simon                                     $3.85
   Loran                Simon                                     $0.15
   Margaret             Simon                                     $1.90
   Anna                 Simonin                                  $32.73
   Carolyn              Simons                                   $26.95
   Emily                Simons                                   $17.65
   Teddi                Simons                                   $50.00
   Marilyn              Simonsen                                $100.00
   Emily                Simonson                                $123.35
   Bradley              Simpson                                   $3.30
   Gale                 Simpson                                   $0.45
   Jill                 Simpson                                   $1.30
   Martin               Simpson                                 $286.75

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Shawn                Simpson                                   $310.00
   Ian                  Sims                                      $153.95
   Kelly                Sims                                       $22.20
   Sammy                Sims                                        $1.05
   Jim                  Sinai                                     $423.39
   Vanessa              Sinai                                       $6.85
   Joseph               Sinatra                                   $260.75
   Shaum                Sinawi                                      $8.50
   Katie                Sinchek                                   $139.72
   Dean                 Sinclair                                   $75.52
   Beth                 Singer                                     $23.05
   Doug                 Singer                                     $50.00
   Jennifer             Singer                                     $71.70
   Marjorie             Singer                                     $70.20
   Aarti                Singh                                      $23.45
   Amit                 Singh                                      $80.80
   Amrinder             Singh                                       $0.80
   Joti                 Singh                                      $35.11
   Katie                Singh                                       $6.32
   Nathan               Singh                                      $20.50
   Nicole               Singh                                       $6.41
   Pratibha             Singh                                      $16.15
   Talwinder            Singh                                     $167.55
   Tara                 Singh                                      $17.69
   Kevin                Sinha                                      $20.53
   Carlotta             Siniscalco                                  $9.55
   Nerija               Sinkevi-Titus                              $30.77
   Lyn                  Sinko                                      $13.80
   Paula                Sinkovitz                                 $379.45
   Chris                Sinn                                       $21.55
   Reeves               Sinnott                                    $27.45
   Sabrina              Sinton                                     $12.75
   Philippe             Sion                                        $8.33
   Hanley               Siou                                        $2.55
   Maria                Sipka                                       $0.31
   Anne-Marie           Sircello                                    $7.05
   Stephen              Siri                                        $3.80
   Kathryn              Siry                                        $5.80
   Ron                  Sison                                       $1.65
   Ben                  Sitler                                    $144.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Krysten              Sitterding                              $18.15
   Anneliese            Sitterly                                $28.10
   Ricky                Siu                                     $80.00
   Sabrina              Siu                                     $29.30
   Tammy                Siu                                     $13.70
   Deeksha              Sivakumar                               $60.27
   Kasey                Sixt                                   $150.71
   Linda                Skaife                                  $96.90
   Sarah                Skanchy                                  $8.95
   Michelle             Skinner                                 $22.10
   Terri                Skjei                                    $8.96
   Naomi                Skoglund                                 $6.20
   Nicole               Skogstad                                $46.05
   Samantha             Skolnik                                  $8.02
   Liz                  Skopp                                    $1.20
   Heather              Skorupa                                  $8.95
   Lisa                 Skowrup                                $100.10
   Andrea               Slager                                  $59.63
   Caeli                Slagle                                  $12.05
   Adam                 Slater                                   $1.20
   Ashley               Slater                                  $58.48
   Christopher          Slater                                   $3.75
   Fred                 Slater                                   $8.95
   Patricia             Slater                                  $33.85
   Rebecca              Slater                                   $0.45
   Lee Ann              Slaton                                   $0.09
   Bridgette            Slattery                                $54.95
   Maeve                Slattery                                $11.65
   Edward               Slazinik                                 $4.86
   Laurie               Slez                                    $22.05
   Jennifer             Sligh                                   $21.35
   Cammie               Slikker                                 $24.90
   Gretchen             Sloan                                   $58.50
   Raquel               Sloan                                    $2.30
   Monica               Sloboda                                 $25.15
   Noah                 Sloss                                    $2.15
   Kevin                Slovick                                $100.00
   Kathy                Slusser                                 $80.00
   Sherry               Sly                                      $8.13
   Jason                Slye                                    $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Tia                  Small                                   $0.20
   Haely                Smalle                                 $76.30
   Linda                Smalls                                 $14.00
   Amanda               Smallwood                              $54.06
   Kirstin              Smart                                   $5.49
   Kristina             Smathers                               $80.00
   Laura                Smeby                                   $1.84
   Camille              Smicker                                 $0.15
   Jen                  Smidt                                   $1.34
   Lisa                 Smiley                                  $2.15
   Eric                 Smillie                                 $4.95
   Jenny                Smit                                   $38.20
   Abigail              Smith                                  $78.24
   Adrian               Smith                                 $137.73
   Amanda               Smith                                  $70.07
   Amanda               Smith                                  $14.05
   Amy                  Smith                                  $27.14
   Ann                  Smith                                  $10.75
   Anton                Smith                                  $13.94
   Ashley               Smith                                  $40.80
   Ashley               Smith                                   $2.60
   Austin               Smith                                  $88.10
   Austin               Smith                                   $2.10
   Bever                Smith                                   $0.92
   Bill                 Smith                                  $48.10
   Bradley              Smith                                  $35.80
   Brock                Smith                                  $15.65
   Cambria              Smith                                   $2.35
   Chelsea              Smith                                  $28.90
   Christopher          Smith                                  $80.00
   Connor               Smith                                  $31.55
   Cynthia              Smith                                 $220.50
   Daniel               Smith                                   $0.40
   Danielle             Smith                                 $250.00
   David                Smith                                 $161.90
   David                Smith                                   $1.95
   David                Smith                                  $75.60
   Diana                Smith                                   $8.95
   Eileen               Smith                                   $1.40
   Emma                 Smith                                   $5.45

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Eric                 Smith                                  $24.15
   Erica                Smith                                  $10.25
   Erin                 Smith                                 $463.30
   Fallyn               Smith                                  $14.85
   Gillian              Smith                                  $16.85
   Grant                Smith                                  $24.28
   Holly                Smith                                  $92.94
   Jen                  Smith                                 $106.40
   Jenn                 Smith                                  $25.00
   Jenny                Smith                                   $1.15
   John                 Smith                                  $11.15
   Julie                Smith                                  $50.00
   Julie                Smith                                  $44.75
   Justin               Smith                                  $49.35
   Kathy                Smith                                 $100.00
   Katie                Smith                                  $53.05
   Keiko                Smith                                   $1.00
   Kel                  Smith                                   $1.01
   Kendra               Smith                                   $0.90
   Kerstirae            Smith                                   $0.35
   Kevin                Smith                                   $6.19
   Kristina             Smith                                  $50.00
   Lara                 Smith                                  $59.20
   Lauren               Smith                                  $23.47
   Leslie               Smith                                   $2.05
   Liane                Smith                                   $7.51
   Lisa                 Smith                                  $59.67
   M                    Smith                                 $100.00
   Maria                Smith                                  $71.60
   Mark                 Smith                                  $37.90
   Martha               Smith                                  $25.60
   Mary                 Smith                                  $81.42
   Melissa              Smith                                   $1.25
   Morgan               Smith                                  $50.00
   Nathan               Smith                                   $1.20
   Nicholas             Smith                                  $72.48
   Nick                 Smith                                  $49.85
   Nicole               Smith                                   $3.85
   Rebecca              Smith                                  $71.20
   Roberta              Smith                                 $107.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Rolana               Smith                                   $20.40
   Sarah                Smith                                  $224.17
   Sarah                Smith                                    $0.65
   Shannon              Smith                                   $79.55
   Shelley              Smith                                   $17.50
   Siobhan              Smith                                  $167.10
   Starlit              Smith                                    $1.85
   Stewart              Smith                                    $1.69
   Susan                Smith                                    $8.95
   Tara                 Smith                                   $11.85
   Ted                  Smith                                  $164.48
   Terry                Smith                                   $38.20
   Thea                 Smith                                    $1.40
   Tracy                Smith                                   $80.00
   Tricia               Smith                                  $149.92
   Tyler                Smith                                   $50.00
   Vicki                Smith                                   $14.75
   Wendy                Smith                                    $4.15
   Wendy                Smith                                    $9.25
   Leah                 Smithers                                 $4.20
   Ben                  Smithgall                               $50.00
   Petra                Smitkov√°                                $8.95
   Cory                 Smits                                   $24.85
   Jeffrey              Smock                                  $186.35
   Kay                  Smolin                                 $100.00
   Susie                Smookler                                $68.90
   Kendra               Smoot                                  $121.05
   Justin               Smutko                                   $3.55
   Jim                  Smyrak                                  $50.00
   James                Snavely                                  $1.37
   Vladimir             Sneblic                                 $11.35
   Tierney              Sneeringer                               $4.65
   Jim                  Snelling                               $226.00
   Mathew               Snider                                  $34.95
   Scotty               Snider                                   $7.25
   Guy                  Snir                                   $176.40
   Rich                 Snodsmith                                $8.95
   Amy                  Snook                                    $6.37
   Lorann               Snow                                    $22.65
   Margo                Snow                                   $203.77

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Scott                Snow                                   $868.90
   Steven               Snowling                               $224.15
   Ariel                Snyder                                   $8.15
   Frances              Snyder                                 $250.00
   Grady                Snyder                                   $1.00
   Jennifer             Snyder                                  $35.00
   John                 Snyder                                  $81.10
   Kaitlin              Snyder                                   $4.79
   Lindsay              Snyder                                   $1.55
   Marcy                Snyder                                   $0.75
   Matthew              Snyder                                   $9.60
   Nicole               Snyder                                   $1.33
   Ramona               Snyder                                   $1.30
   Sean                 Snyder                                  $57.65
   Laura                Snydsman                                 $8.95
   Clarence             So                                      $49.70
   Steph                So                                       $3.06
   Liz                  Soares                                  $17.60
   Jason                Sobel                                  $100.00
   Michael              Sobel                                   $55.70
   Rebecca              Sobel                                  $159.65
   Anton                Sobolik                                 $30.05
   Amanda               Sobrepena                                $0.80
   Sheryl               Sobrepena                                $0.20
   Jonathan             Sockell                                  $8.95
   Jamie                Soderquist                               $3.34
   Candy                Sohn                                    $14.50
   Mara                 Sohn                                     $7.55
   Larry                Soibel                                  $71.66
   Roman                Sokol                                   $12.15
   Oleksandr            Sokolov                                  $0.30
   Martina              Sola                                    $38.05
   Sandeep              Solanki                                 $59.00
   Kit                  Soldato                                 $23.25
   Virginia             Soldi                                  $100.00
   Sarah                Soli                                    $44.65
   Colleen              Sollars                                 $16.15
   Angela               Solleder                                 $5.10
   Julie                Soller                                   $4.85
   Janet                Sollod                                 $174.65

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Amanda               Solnit                                  $50.00
   Addie                Solomon                                  $0.07
   Hagu                 Solomon                                 $17.15
   Mara                 Solomon                                 $87.31
   Tanya                Solomon                                 $80.00
   Tessa                Solomon                                  $1.50
   Virginia             Solomon                                $115.31
   Jennifer             Solorzano                               $26.15
   Laura                Sols                                     $5.95
   Monique              Soltani                                 $25.25
   Sunitha              Soman                                    $2.50
   Soo                  Somerset                                $28.60
   Julia                Sommerfeld                             $100.00
   Joey                 Sommers                                $250.00
   Monette              Sommers                                 $19.45
   Nita                 Sommers                                  $0.20
   Chong                Son                                      $3.84
   Theresa              Sondgroth                                $9.00
   David                Sondheim                                $90.30
   Ada                  Song                                    $80.00
   Alice                Song                                   $292.00
   Caroline             Song                                   $295.05
   Christine            Song                                    $80.44
   Daniel               Song                                     $2.20
   E                    Song                                     $0.54
   Esther               Song                                     $1.86
   James                Song                                    $25.00
   Myungshik            Song                                     $3.10
   Sarah                Song                                     $3.51
   Sharon               Song                                    $20.60
   Josh                 Sonnenfeld                               $9.60
   Jacquelyn            Sonner                                   $0.45
   Anelise              Sonoda                                   $3.35
   Nancy                Soo                                     $28.70
   Jayant               Sood                                    $31.34
   Erin                 Soohoo                                   $0.25
   Chungwai             Soong                                    $6.23
   Donald               Soong                                    $0.25
   Lauren               Sooudi                                  $67.85
   Raygosa              Sophia                                   $2.95

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jimmy                Sopko                                    $3.46
   Mari                 Sorber                                   $0.15
   Miriam               Sorell                                  $16.00
   Chris                Sorensen                                $13.95
   Denise               Sorensen                                $36.10
   Kirsten              Sorensen                                $18.20
   Matthew              Sorenson                                 $7.00
   Burt                 Soriano                                 $43.65
   Jeremias             Sorongon                                 $0.10
   Kelly                Sortino                                 $96.00
   Monica               Sosa                                    $21.35
   Janelle              Sosh                                   $100.00
   Gabriel              Sosienski                                $0.08
   Tyler                Sosin                                   $50.00
   Davide               Sosso                                    $5.90
   Aleksandra           Sotelo                                  $11.25
   Ginger               Soto                                     $0.95
   Pierre               Souillot                                $22.65
   Kelly                Soulard                                  $2.95
   Jean-Marc            Soumet                                 $100.00
   Saroeuth             Sous                                     $0.50
   Monique              Sousa                                    $1.80
   Lynn                 Southall                                 $6.71
   Catherine            Southwick                               $20.00
   Rosemary             Southwood                                $0.75
   Negin                Souti                                  $159.35
   Bruna                Souza                                   $45.05
   Judith               Souza                                    $0.45
   Kassie               Souza                                  $200.00
   Adam                 Souzis                                  $58.10
   Alexandra            Sowa                                     $1.84
   Sara                 Sowa                                    $17.50
   Tiffany              Sowell                                 $150.00
   Michele              Sowers                                  $14.25
   Peri                 Soyugenc                                $14.15
   Sarah                Sozzi                                   $55.83
   Jack                 Spaargaren                               $1.35
   Kristen              Spachman                                $21.10
   Vanessa              Spadaro                                 $63.90
   Cindy                Spade                                  $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Debbie               Spaizman                                $25.10
   Katie                Spalding                                $71.70
   Irene                Spang                                   $50.02
   Lisa                 Spangler                                 $0.28
   Megan                Spangler                                $76.27
   Sarah                Spanko                                  $15.95
   Kristin              Spanos                                   $0.25
   Elizabeth            Sparber                                $117.60
   Maya                 Spark                                   $84.81
   Maya                 Spark                                   $26.85
   Shari                Sparling                                 $2.71
   Lehua                Sparrow                                 $14.85
   Rosie                Spaulding                               $60.05
   Diane                Spear                                   $34.39
   Andrea               Specht                                   $1.79
   Barney               Speckman                                $25.13
   David                Spector                                 $42.55
   Remi                 Spector                                 $46.60
   Lindsay              Spector Pelkey                          $57.90
   Andrea               Spediacci                                $8.15
   Deborah              Speece                                   $2.41
   Dale                 Speer                                   $16.25
   Janai                Speer                                    $3.10
   Josh                 Speer                                    $4.23
   Joe                  Speicher                                 $4.20
   Katy                 Spence                                 $100.00
   Noel                 Spence                                  $20.80
   Shannon              Spence                                  $19.71
   Joelle               Spencer                                 $28.10
   Margaret             Spencer                                 $31.70
   Mernay               Spencer                                $250.00
   Sara                 Spencer                                 $13.15
   Andrew               Sperling                                 $8.95
   Ben                  Sperling                                 $0.25
   William              Sperling                               $200.20
   Roman                Speron                                   $9.70
   Beth                 Sperry                                  $19.35
   Matthew              Sperry                                   $0.65
   Libby                Speth                                  $455.15
   Max                  Spevack                                 $50.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Brad                 Spicer                                     $3.12
   Alisoin              Spiegel                                  $115.51
   Brendan              Spiegel                                    $0.15
   Sarah                Spiegel                                   $29.20
   Taryn                Spiegel                                  $100.00
   Dan                  Spiegelman                               $435.21
   Stephanie            Spieker                                   $36.35
   Greg                 Spiker                                    $36.40
   Steve                Spiker                                    $15.10
   Karl                 Spiller                                    $0.70
   Tymica               Spiller                                    $8.95
   Laura                Spinella                                  $17.55
   Nicole               Spinelli                                  $13.03
   Kate                 Spinello                                   $5.90
   Kristen              Spires                                   $156.70
   Nancy                Spiro                                      $2.76
   Nathan               Spitler                                    $0.55
   Russell              Spitler                                   $13.75
   Alastair             Spitzley                                   $2.15
   Cherie               Spivey                                    $21.20
   Savannah             Spivey Young                               $1.48
   Samantha             Spragg                                    $44.35
   Dennis               Sprague                                   $40.75
   Elizabeth            Sprague                                  $100.00
   James                Spray                                    $828.43
   Jonathan             Spring                                     $7.55
   Kate                 Spring                                    $22.30
   Lauren               Sprinz                                   $100.00
   Kirsten              Sprott                                     $3.75
   David                Sproul                                     $0.13
   Sharon               Spry                                       $2.70
   Morgan               Spurlock                                   $7.33
   Nicolas              Spurlock                                   $3.65
   Helen                Spurr                                     $18.62
   Anne S.              Squadron                                  $17.90
   Yolanda              Squillacioti                              $51.90
   Selena               Srabian                                    $4.11
   Boon                 Sramala                                   $48.30
   Mara                 Sredanovich                                $5.65
   Bharath              Sridhar                                  $527.22

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Meena                Srinivasan                                $74.03
   Sandeep              Sripada                                   $18.55
   Karin                Srisilpanand                              $29.35
   Utkarsh              Srivastava                               $214.20
   Katie                Sroka                                     $53.75
   Mark                 Ssuu                                      $46.01
   Sean                 St Germain                               $179.49
   Maria                St John                                   $15.20
   Michele              St Laurent                               $146.96
   Kitty                St. Denis                                 $23.00
   Mary                 St. Germain                                $4.10
   Lisa                 St. John                                 $232.42
   Mike                 Stabile                                   $38.35
   Ashley               Stachon                                   $93.05
   Molly                Stack                                      $0.55
   Krista               Stackhouse                                $30.93
   Alan                 Stadelhofer                              $200.00
   Ingrid               Stadnick                                 $100.00
   Christina            Stafford                                  $10.05
   Brooke               Stage                                     $31.15
   Maggie               Stagg                                      $2.40
   Zach                 Staggs                                    $68.00
   Katherine            Stahl                                     $50.00
   Kristopher           Stahl                                     $13.69
   Vicki                Stairs                                     $9.45
   Leela                Stake                                     $26.90
   Ben                  Stalder                                   $80.15
   Adam                 Stalker                                  $100.00
   Cathy                Stalker                                    $0.10
   Ariel                Stallings                                 $11.70
   Caroline             Stanculescu                               $13.06
   Jeff                 Standard                                   $8.95
   Jj                   Standing                                   $2.75
   Pat                  Standley                                  $25.13
   Astrid               Staneff                                  $109.11
   Gretchen             Stanerson                                  $0.35
   Abigail              Stangier                                   $5.90
   Alan                 Stanley                                    $0.60
   Brian                Stanley                                    $0.05
   Lisa                 Stanley                                   $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Liz                  Stanley                                 $43.85
   Claire               Stanly                                   $0.33
   Anthony              Stanton                                 $50.00
   Charles              Stanton                                  $3.41
   Loretto              Stanton                                  $0.95
   Melanie              Stanton                                 $12.05
   Nancy                Stanton                                 $73.60
   Bahara               Stapelberg                              $42.50
   Tom                  Staples                                 $50.00
   Cheryl               Starer                                  $65.38
   Susanne              Stark                                  $277.23
   Tuyen                Stark                                   $40.00
   Nicole               Starkenburg                              $0.35
   Leeann               Starovasnik                              $0.57
   Diana                Starr                                    $3.52
   Lori                 Starr                                   $46.40
   Hal                  Starratt                                 $6.40
   Matthew              Stasior                                  $8.95
   Wendy                Stauff                                  $55.91
   Stephanie            Stavrianoudakis                          $3.60
   Carol                Stearns                                $109.40
   Michael              Stearns                                 $25.00
   Leann                Stebbens                                $19.36
   Marilyn              Stebbins                                $22.10
   Kristin              Stecher                                 $40.84
   Oleg                 Steciw                                  $32.60
   Katja                Steckenborn                              $0.35
   Nancy                Steckley                                 $0.36
   Benjamin             Steed                                   $11.95
   Mary Ann             Steedman                                 $1.60
   Caitlin              Steele-Williams                          $3.00
   Eric                 Steen                                  $192.20
   Jennifer             Steenstra                                $0.09
   Alison               Steer                                  $125.20
   Diane                Steer                                   $16.20
   John                 Steer                                    $8.95
   Morgan               Stefan                                  $50.00
   Lisa                 Stefanac                                $97.65
   Nicole               Stefani                                 $12.25
   Kate                 Steff                                    $1.57

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Katrina              Steffek                                  $2.55
   Ted                  Steffen                                $256.13
   Bettina              Steffen Setrakian                       $66.25
   Tessa                Steffens                                $26.75
   Derek                Steffien                                 $1.24
   Hunter               Steffien                                $80.30
   Joey                 Steger                                 $150.00
   Melinda              Stegmann                                $29.10
   Renae                Steichen                                 $0.55
   Katie                Steiman                                 $36.55
   Allison              Stein                                   $20.85
   Donna                Stein                                   $17.81
   Joanna               Stein                                   $19.35
   Kristina             Stein                                  $164.20
   Lauren               Stein                                    $9.10
   Lois                 Stein                                   $59.10
   Sarah                Stein                                   $31.75
   Sebastian            Stein                                  $169.20
   Taylor               Stein                                    $3.55
   Jessica              Steinberg                                $0.83
   Kathryn              Steinberg                              $132.40
   Marilyn              Steinberg                                $8.95
   Greg                 Steinbruner                            $100.00
   Alice                Steiner                                $281.21
   Meghan               Steinharter                              $6.10
   Melissa              Steller                                  $4.60
   Greg                 Stemel                                   $1.25
   Peter                Stemler                                  $0.95
   Brian                Stempeck                                $10.30
   Mary Jean            Stempien                                 $0.30
   Yvonne               Stender                                 $37.80
   Anabel               Stenzel                                  $6.69
   Megan                Stepanek                                $61.55
   Monica               Stephen                                 $14.35
   Elise                Stephens                               $109.82
   Gwen                 Stephens                                $19.15
   Kim                  Stephens                                $45.20
   Kimberly             Stephens                                $10.55
   Kyle                 Stephens                                 $0.15
   Michelle             Stephens                                $40.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sara                 Stephens                                $0.30
   Terry                Stephens                                $0.90
   Amy                  Stephenson                              $5.91
   Kristen              Stephenson                              $0.50
   Pamela               Stephenson                              $3.82
   Kirsten              Sterba                                  $0.75
   Daniel               Sterling                               $12.43
   Deborah              Sterling                                $0.35
   Wendy                Sterling                              $100.00
   Emma                 Stern                                   $9.70
   Evan                 Stern                                 $100.00
   Jacqueline           Stern                                  $60.51
   Laura                Stern                                  $92.85
   Matthew              Stern                                   $5.39
   Miriam               Stern                                 $101.21
   Stephanie            Stern                                   $0.45
   Andre                Sternberg                              $10.95
   Colin                Sternberg                              $50.00
   Jeannie              Sternberg                             $100.00
   Meg                  Sterne                                 $23.15
   Liz                  Stettiner                             $108.15
   Ashley               Stevanovic                             $50.00
   Cary                 Stevens                                 $2.15
   Daniel               Stevens                                $75.00
   Ida                  Stevens                                 $3.45
   Iris                 Stevens                                 $5.25
   Mike                 Stevens                                 $0.05
   Sally                Stevens                               $235.80
   Joshua               Stevenson                               $0.70
   Megan                Stevenson                               $0.10
   Terrell              Stevenson                             $309.75
   Wendy                Stevenson-Vrame                        $73.15
   Benstever            Stever                                 $50.00
   Heather              Steves                                  $3.45
   Lisa                 Steward                                 $3.19
   Earl                 Stewart                               $100.00
   Erin                 Stewart                                $88.25
   Frances              Stewart                                 $0.67
   Joanne               Stewart                                $63.00
   Lindsey              Stewart                                 $0.25

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Lisa                 Stewart                                  $125.00
   Lynette              Stewart                                  $100.00
   Sage                 Stewart                                    $1.75
   Sara                 Stewart                                   $22.60
   Sean                 Stewart                                   $30.15
   Shana                Stewart                                   $50.00
   Susan                Stewart                                    $4.95
   Bessie               Stewart-Ross                              $24.35
   Nicole               Stice                                    $200.00
   Raquelle             Stiefler                                  $81.96
   Mc                   Stiefvater                                 $0.65
   Jon                  Stierwalt                                 $33.95
   Lindsey              Stiles                                    $25.10
   Madeline             Stilley                                   $30.00
   Dareyn               Stilwell                                   $4.35
   Jay                  Stilwell                                 $225.91
   Jenny                Stinchcomb                                $41.75
   Nicholas             Stine                                      $0.75
   David                Stinnette                                $105.70
   Kathy                Stinson                                   $11.80
   Larisa               Stiris                                    $20.30
   Steve                Stirling                                   $6.97
   Keith                Stobie                                     $8.17
   Adam                 Stock                                    $102.25
   Cally                Stock                                     $13.20
   Stephane             Stocki                                    $55.15
   Nancy                Stocks                                    $25.00
   Corey                Stodolnic                                 $66.03
   Dale                 Stohr                                     $35.80
   Jennifer             Stokes                                     $3.95
   Craig                Stokle                                    $17.38
   Alberto              Stolfi                                    $47.91
   Eric                 Stoll                                     $43.85
   Jessica              Stoltz                                    $55.80
   Alyson               Stone                                      $0.25
   Courtney             Stone                                      $8.55
   Matthew              Stone                                     $12.65
   Patricia             Stone                                    $150.00
   David                Stonehill                                 $89.61
   Sam                  Stones                                     $5.38

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Dallas               Stonhaus                                $28.80
   Kate                 Stopic                                 $117.65
   Lauren               Storella                                 $0.55
   Emily                Storer                                  $12.39
   Nathaniel            Storer                                  $15.80
   Kate                 Storey                                  $22.10
   Tonia                Stoski                                 $123.75
   Christine            Stouffer                                $42.36
   Jennifer             Stout                                   $52.13
   Thomas               Stout                                  $500.00
   Ellie                Stover                                   $1.22
   Bradley              Stow                                    $15.25
   Debbie               Strachan                                 $1.45
   Taylor               Strachan                                 $8.30
   Jill                 Stracko                                 $22.65
   Juli                 Straehle                                 $1.70
   Neil                 Straghalis                              $97.50
   Sharon               Strahm                                  $63.95
   Anna                 Strain                                  $12.10
   Helen                Strain                                  $10.75
   Mari                 Strain                                  $36.35
   Kari                 Straley                                 $63.51
   Edythe               Strand                                 $117.15
   Jason                Strand                                  $10.15
   Pat                  Strandburg                              $13.77
   Laurie               Strange                                  $5.70
   Jake                 Stras                                  $452.55
   Marina               Strasser                                 $0.70
   Dustin               Stratton                                 $7.75
   Gerald               Stratton                                $68.70
   Katie                Stratton                                $29.57
   Kelsey               Stratton                               $250.00
   Nicolas              Strauli                                 $30.85
   Connor               Strauss                                  $4.20
   Roni                 Strauss                                  $6.30
   Roni                 Strauss                                  $2.35
   Ann                  Straw                                  $223.05
   Shanae               Strayer                                 $50.00
   Melissa              Strecker                                $42.66
   Lissa                Streegan                                 $0.20

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Becky                Street                                     $3.50
   Beth                 Streeter                                  $25.00
   Jon                  Streeter                                   $9.60
   Sara                 Stremple                                  $68.50
   Judi                 Stretz                                    $16.98
   Teri                 Streusand                                  $2.75
   Emily                Streutker                                  $2.70
   Michela              Stribling                                  $0.30
   Abigailqadams        Stricker                                  $11.05
   Amy                  Strickland                                $94.05
   Jordan               Strickland                                $10.65
   Brian                Strickrodt                                $11.90
   Lauren               Strickroth                                $50.00
   Jennifer             Strider                                    $0.30
   David                Strimple                                  $17.10
   Stacey               Stringer                                  $41.30
   Jonathan             Strober                                  $356.35
   Martin               Strohm                                    $27.83
   Matt                 Strom                                     $38.71
   Russell              Strom                                      $2.35
   Sarah                Stromska                                  $12.69
   Eric                 Strong                                   $155.90
   Tracy                Stroud                                     $8.95
   Don                  Strub                                      $5.03
   Sally                Strubinger                                $34.40
   Katie                Struble                                   $50.30
   Rosanne              Strucinski                                 $1.31
   Helen                Struck                                     $8.95
   Liliya               Strupinskaya                               $4.75
   Lorraine             Struthers                                 $32.15
   Patrick              Strutjers                                $161.15
   Arlene               Stuart                                     $7.20
   Beth                 Stuart                                    $71.10
   Christine            Stuart                                     $3.65
   Cindy                Stuart                                   $183.65
   Sara                 Stubbs                                    $41.04
   Robyn                Stuber                                     $0.50
   Steven               Stuber                                     $5.30
   Lauralynn            Stubler                                   $50.00
   Alexis               Stubson                                   $36.85

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Kelli                Stuckart                                  $42.05
   Sonia                Stuebe                                    $16.20
   Jonathan             Stumpf                                     $1.12
   Michael              Stuntz                                     $1.11
   Hamish               Sturgeon                                  $39.10
   Sylvia               Sturges                                   $67.60
   Jeff                 Sturgis                                    $2.45
   Katie                Sturm                                     $15.05
   Dana                 Sturtz                                     $0.45
   Jennifer             Styx                                      $14.03
   Annie                Su                                        $50.00
   Elizabeth            Su                                        $26.15
   Hannah               Su                                        $10.35
   Yingting             Su                                        $79.10
   Freya                Suarez                                   $100.00
   Heather              Suarez                                   $187.03
   Sara                 Suastez                                   $13.40
   Neesha               Subramaniam                                $1.10
   Karthik              Subramanian                              $156.10
   Sheela               Subramanian                              $106.90
   Sushmita             Subramanian                               $41.55
   Mehvish              Suchedina                                  $0.20
   Sabrina              Suckiel                                   $34.37
   Carey                Suckow                                    $87.70
   Cheryl               Sud                                       $45.26
   Reena                Sud                                        $1.30
   Sushant              Sudame                                     $9.25
   Nora                 Sudarsan                                  $22.48
   Jennie               Sue                                      $131.10
   Rachelle             Sue                                        $0.35
   Lorraine             Suen                                      $36.80
   Lisa                 Suennen                                    $5.10
   Stef                 Sugar                                    $100.00
   Carlton              Sugarman                                 $143.20
   Rebecca              Sugerman                                  $40.00
   Leslie               Sugiura                                   $13.19
   Heather              Suguitan-Lee                              $26.90
   Donna                Suh                                       $80.85
   Gemma                Suh                                       $16.55
   Matthew              Suidan                                    $46.73

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Eric                 Suliga                                  $50.00
   Alexandra            Sullivan                                $15.21
   Allison              Sullivan                                $25.00
   Candace              Sullivan                                $20.15
   Chris                Sullivan                                 $3.60
   Christine            Sullivan                                 $1.00
   Hannah               Sullivan                                 $9.85
   Jessica              Sullivan                               $153.25
   Jill                 Sullivan                               $156.85
   Julie                Sullivan                                 $0.10
   Karen                Sullivan                                $67.50
   Kathleen             Sullivan                                $50.00
   Lori                 Sullivan                               $186.11
   Margaret             Sullivan                                $92.80
   Mark                 Sullivan                               $253.93
   Megan                Sullivan                                 $2.85
   Michele              Sullivan                                 $9.75
   Mollie               Sullivan                                $14.85
   Natalie              Sullivan                                 $2.90
   Nicole               Sullivan                                $31.75
   Shawn                Sullivan                                 $0.55
   Susan                Sullivan                                $24.08
   Tara                 Sullivan                               $100.00
   Ranjani              Sulur                                   $35.80
   Edmond               Sum                                     $29.15
   Henry                Sum                                    $100.00
   Mary Lou             Sumberg                                 $26.05
   Soleil               Summer                                   $1.95
   Chris                Summers                                 $27.10
   Jordan               Summers                                 $45.30
   Kelli                Sumrok                                   $2.75
   Connie               Sun                                     $11.40
   Xiaodan              Sun                                      $2.15
   Elaine               Sun1                                     $0.95
   Andrew               Sunada                                  $54.70
   Supriya              Sundaram                                $93.80
   Thaila               Sundaresan                              $11.10
   Kia                  Sundberg                                 $4.10
   Kirsten              Sundius                                  $3.22
   Anh                  Sundstrom                              $172.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Bael                 Sung                                   $44.30
   Dawn                 Sung                                   $22.80
   Max                  Sung                                    $8.40
   Sangita              Sungu                                  $30.00
   Lyndsey              Sunseri-Romine                          $2.75
   Dilip                Sunuwar                                 $0.27
   June                 Sunwoo                                 $65.30
   Peter                Sunwoo                                 $39.20
   Sean                 Sunyoto                                $30.00
   Member               Support                               $586.78
   Navinder             Suprai                                 $50.00
   Ritaja               Sur                                     $0.15
   Renee                Surcouf                                $33.20
   Sharmeen             Suri                                   $74.15
   Colleen              Surlyn                                $144.14
   Ranjit               Survanshi                              $96.05
   Kristina             Susac                                   $3.60
   Patrick              Susemihl                              $100.00
   Andrew               Susskind                                $8.16
   Lucas                Sussman                                $57.25
   Patricia             Sussman                                $24.70
   Rai Sue              Sussman                               $149.35
   Carol                Sussman Becker                         $72.15
   Brooke               Suther                                  $0.95
   Brittney             Sutherland                             $50.50
   Cara                 Sutherland                              $5.46
   Holly                Sutter                                 $18.25
   Dawn                 Sutter Sotelo                           $3.30
   Nicole               Sutton                                  $9.60
   Paul                 Sutton                                 $50.00
   Susan                Sutton                                 $13.34
   Dear                 Suvanaket                              $18.25
   Charlotte            Suzanne                                $40.70
   Kimberly             Svarney                                 $1.63
   Christie             Svec                                  $121.51
   Erica                Swain                                  $19.40
   Jesse                Swain                                  $60.55
   Ashwin               Swaminathan                           $100.00
   Dorothy              Swan                                   $50.00
   Tim                  Swan                                   $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Dayana               Swank                                   $8.20
   Jessica              Swann                                   $8.95
   Aimee                Swanson                                $67.60
   Bergen               Swanson                                 $0.38
   Claudia              Swanson                                $14.40
   Kristen              Swanson                                $25.00
   Brianna              Swartz                                 $30.21
   Janet                Swartz                                 $25.00
   Ryan                 Swedalla                                $0.35
   Ian                  Sweedler                                $7.03
   Alexandra            Sweeney                                 $8.95
   Dana                 Sweeney                                $41.70
   Erin                 Sweeney                                $21.25
   Kate                 Sweeney                                 $9.55
   Michaela             Sweeney                                 $7.15
   Laura                Sweet                                   $2.40
   Wyatt                Sweet                                   $8.95
   Lauren               Sweitzer                              $100.00
   Anna                 Swenson                                 $2.45
   Barbara              Swenson                                $60.10
   Karsten              Swenson                                 $0.75
   Kirsten              Swenson                                $34.90
   Marie                Swenson                                $20.55
   Ashleigh             Swiatkowski                            $29.35
   Daniel               Swick                                  $14.40
   Jaime                Swickard                              $135.72
   Cissy                Swiernik                               $14.40
   Patrick              Swillinger                             $50.00
   Lisa                 Switkin                                $62.19
   David                Swope                                  $19.80
   Judith               Swope                                   $9.93
   Jayme                Sy                                     $60.61
   Rachelle             Sy                                     $23.52
   Lee                  Syatt                                   $0.60
   Dk                   Sykes                                  $15.15
   Hollly               Sykes                                 $100.00
   Emily                Sylak-Glassman                          $0.65
   Giselle              Sylvester                              $20.70
   Matt                 Sylvester                              $25.83
   Tracey               Sylvester                              $50.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Sarah                Symcox                                     $0.36
   Kirk                 Syme                                      $88.40
   Leigh                Symkowick                                $221.40
   Christina            Syrett                                   $250.00
   Laura                Szabo-Kubitz                              $19.85
   Brian                Szady                                     $69.50
   Jennifer             Szeto                                     $90.70
   Liana                Szeto                                     $50.00
   Michael              Szilagyi                                   $8.95
   Sara                 Szkola                                    $56.76
   Melissa              Sznajder                                   $3.25
   Molly                Szuminski                                 $30.00
   Clare                Szydlowski                               $185.51
   Kazimierz            Szymczyk                                  $11.64
   Danielle             T                                         $42.45
   Lori                 T                                         $85.05
   Qfang                T                                         $75.00
   Yvonne               T                                          $3.50
   Benjamin             T.                                       $138.60
   Quyen                Ta                                        $17.70
   Ted                  Tabacco                                   $50.00
   Steven               Tabak                                      $2.25
   Patti                Tabangcura                               $125.00
   Kevin                Tabari                                   $160.85
   Katrina              Tabati                                     $1.65
   Kelly                Tabis                                      $2.60
   Olivia               Tablante                                  $84.35
   Heather              Tabler                                    $24.03
   Arianna              Taboada                                    $9.45
   Sofia                Taboada                                   $62.30
   Effie                Tabor                                     $14.85
   Nancy                Tabor                                     $24.20
   Jeffrey              Tachiki                                   $36.70
   Mandy                Tachiki                                   $57.20
   Marianne             Tada                                       $6.11
   Lauren               Taddune                                   $19.20
   Anahita              Tafvizi                                   $42.17
   Julia                Tai                                       $50.00
   Ofa                  Taimani                                   $17.90
   Sarah                Taines                                     $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Rey                  Taira                                   $2.80
   Betty                Taisch                                $250.00
   Jean                 Tajima                                $230.15
   Bernice              Tak                                   $161.50
   Brigitte             Takach                                 $45.25
   Melanie              Takahashi                               $4.10
   Sharon               Takahashi                               $7.20
   Vanessa              Takahashi                               $2.05
   Sherrie              Takaki                                $166.10
   Jeanine              Takala                                  $8.16
   Mark                 Takamoto                                $9.18
   Fumiyo               Takano                                 $65.60
   Makoto               Takashina                              $71.65
   Jo                   Takata                                 $70.95
   Mktakata25           Takata Der                             $32.20
   Frank                Takeuchi                               $14.35
   Mini                 Takeuchi                               $30.30
   Jas                  Takhar                                $212.65
   Mark                 Takisaki                               $84.06
   Kelli                Takushi-Geyrozaga                      $10.20
   Nadine               Takvorian                              $44.45
   Adrian               Takyi                                   $0.30
   Nicholas             Talarico                              $100.00
   Bridget              Talavera                                $0.20
   Chancey              Talavera                              $152.55
   Jeremie              Talbot                                $100.00
   Natalie              Talbott                                $24.35
   Yvonne               Talbott                                $26.65
   Darius               Talesh                                 $50.00
   Nona                 Tallada                                $20.22
   Kristin              Talsky                                $111.15
   Lance                Talsky                                $149.90
   Harri                Talvala                                 $2.40
   Outi                 Talvala                                 $1.55
   Edison               Tam                                    $10.90
   Elaine               Tam                                    $35.25
   Eva                  Tam                                    $70.60
   Janice               Tam                                    $38.77
   Jennifer             Tam                                     $2.35
   Kathleen             Tam                                   $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Pearl                Tam                                     $2.95
   Travis               Tam                                   $100.00
   The                  Tams                                   $19.65
   Scott                Tamura                                 $56.15
   Chris                Tan                                     $8.95
   Helena               Tan                                     $1.35
   Jessica              Tan                                     $0.20
   Kim                  Tan                                   $451.98
   Pearly               Tan                                    $14.00
   Vicki                Tan                                    $24.15
   Jireh                Tanabe                                 $34.60
   Cheryl               Tanaka                                  $4.05
   Joy                  Tanaka                                 $59.21
   Florentina           Tanase                                  $4.60
   Leonard              Tancuan                                $10.00
   Lisa                 Tandoc                                  $9.25
   Celeste              Tandy                                 $100.00
   Diedre               Tanenberg                              $26.95
   Amy                  Tang                                   $50.00
   Brian                Tang                                  $250.00
   Derek                Tang                                   $50.05
   Diana                Tang                                   $75.00
   Emily                Tang                                   $25.95
   Lillian              Tang                                   $43.17
   Lynn                 Tang                                   $26.55
   Michele              Tang                                  $180.13
   Miranda              Tang                                   $69.60
   Rebecca              Tang                                  $100.00
   Robert               Tang                                    $9.25
   Sara                 Tang                                  $122.20
   Shelley              Tang                                   $11.30
   Mikaela              Tangemann                               $1.00
   John                 Tangney                                $50.00
   Staci                Tangney                               $100.00
   Trish                Taniguchi                              $30.00
   Joylyn               Tanner                                 $14.25
   Mitchelle            Tanner                                 $17.65
   Christine            Tannous-Jekelian                       $24.87
   Christine            Tantoco                                $51.85
   Teresa               Tan-Vial                              $205.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Tina                 Tan-Zane                               $51.60
   Kara                 Tanzer                                $200.00
   Katie                Taormino                               $74.97
   Bernadette           Tapella                               $153.55
   Tamiko               Taplin                                  $8.35
   Lizette              Tapp                                   $31.91
   Veronika             Taptunova                               $4.80
   Lauren               Taralli                                $62.70
   Musa                 Tariq                                  $25.00
   Marc                 Tarlock                                 $2.50
   Thomas               Tarn                                    $5.30
   Maura                Tarnoff                                $73.15
   Maayan               Tarnopolsky Yaakov                      $0.50
   Danielle             Tarp                                   $50.00
   Tahlia               Tartakovsky                            $40.80
   Mitchell             Tarver                                  $5.15
   Deborah              Tash                                   $13.13
   Sara                 Tashakori                             $128.50
   Kalsang              Tashi                                   $8.35
   Nina                 Tassio                                  $8.55
   Monica               Tasso                                  $25.95
   Marie                Tassy                                  $44.75
   Anne-Marie           Tasto                                  $15.10
   Danielle             Tat                                     $0.40
   Kristina             Tate                                    $0.75
   Lesley               Tate-Gould                              $3.35
   Sonja                Tateo                                  $17.30
   Christophe           Taton                                   $3.30
   Diana                Tauder                                  $0.30
   Lindsay              Tauscher                              $177.70
   Liz                  Tausend                               $235.50
   Brenda               Taussig                                $50.00
   Brian                Taussig                                 $1.35
   Christophe           Tauziet                                $50.00
   Arastoo              Tavakoli                               $45.70
   Arsalan              Tavakoli                              $423.10
   Kristin              Tavernetti                             $34.85
   Sachin               Tayade                                  $0.95
   Eric                 Tayag                                  $50.00
   Andrea               Taylor                                 $21.10

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Ann-Marie            Taylor                                 $198.05
   Anya                 Taylor                                  $30.56
   Ashley               Taylor                                   $2.10
   Ashlie               Taylor                                   $8.95
   Beth                 Taylor                                  $55.75
   Brent                Taylor                                  $11.05
   Brian                Taylor                                 $260.30
   Christa              Taylor                                  $22.40
   Colin                Taylor                                   $8.15
   Colleen              Taylor                                 $100.00
   Darlene              Taylor                                  $66.15
   David                Taylor                                  $34.40
   Dawn                 Taylor                                  $16.20
   Edith                Taylor                                 $115.59
   Elizabeth            Taylor                                  $50.00
   Elizabeth            Taylor                                   $4.10
   Elizabeth            Taylor                                  $12.20
   Emily                Taylor                                 $119.95
   Gregory              Taylor                                   $5.80
   Jessica              Taylor                                  $61.45
   Joe                  Taylor                                   $8.95
   Jonathan             Taylor                                 $254.25
   Julia                Taylor                                   $5.23
   Justin               Taylor                                  $29.07
   Kelly                Taylor                                  $46.36
   Kristina             Taylor                                   $0.86
   Kristine             Taylor                                  $50.00
   Lucille              Taylor                                   $1.10
   Matt                 Taylor                                  $15.95
   Mike                 Taylor                                   $3.13
   Mike                 Taylor                                  $26.15
   Patrick              Taylor                                 $250.00
   Peg                  Taylor                                  $38.10
   Rob                  Taylor                                   $1.15
   Sharon               Taylor                                   $7.35
   Stephanie            Taylor                                   $7.75
   Sydnie               Taylor                                   $3.00
   Yousun               Taylor                                  $17.17
   Leah                 Taylor Pimentel                         $32.25
   Andy                 Taylor-Fabe                              $3.30

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Melissa              Taylor-Salvador                         $30.00
   Laney                Teals                                    $3.25
   Maureen              Tedesco                                 $50.00
   Cheryl               Tedrow                                  $80.00
   Stephanie            Tedy                                     $9.15
   Jay                  Tee                                     $50.00
   Melanie              Teel                                   $250.00
   Ryan                 Teel                                    $20.34
   Ngan                 Tefera                                  $50.00
   Arianne              Teherani                                 $4.14
   Evan                 Teiger                                   $0.35
   Rochelle             Teising                                 $26.85
   Gerry                Teitelbaum                               $0.50
   Joel                 Teitelbaum                              $25.00
   Delia                Teixeira                               $150.00
   Rosie                Tejada                                 $157.14
   Clara                Tejerina                                $33.10
   Suzanne              Telan                                    $3.75
   Alex                 Telinde                                  $0.40
   Mike                 Telkamp                                 $50.00
   Heather              Tell                                   $242.35
   Shanna               Tellerman                              $250.00
   Ashley               Tellez                                   $0.80
   Pablo                Tellez                                  $12.40
   Naomi                Temes                                  $138.15
   Sam                  Temes                                    $2.30
   Dianne               Temkin                                  $62.65
   Karsten              Temme                                  $144.60
   Jeff                 Temmermand                              $29.88
   Laurie               Temperley                              $119.12
   Alanna               Tempest                                  $0.10
   Rosi                 Temple                                 $113.00
   Jess                 Templeton                               $10.08
   Olivia               Ten Kate                                 $6.75
   Iv                   Tench                                  $100.00
   Dana                 Tendler                                 $40.90
   Hweesee              Teng                                    $37.80
   Poh                  Teng                                    $14.88
   Jessica              Tennant                                  $4.95
   Ryan                 Tenney                                   $1.00

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Dan                  Tensfeldt                                 $0.15
   Megan                Tepper                                   $19.35
   Willow               Tepper                                    $5.65
   Kelli                Terada                                    $0.25
   Michelle             Teramatsu                                $43.88
   Kelsey               Teravest                                 $23.60
   Jennifer             Terenzini                                $13.55
   Katie                Terhar                                   $42.70
   Juliana              Terheyden                               $108.20
   Kevin                Terjesen                                 $50.00
   Kerri                Terk                                    $200.00
   Geneya               Terlouw                                  $15.05
   Stanley              Terman                                   $85.25
   Basia                Terrell                                  $71.60
   Kate                 Terrell                                  $10.45
   Celeste              Terrell-Rudloff                           $0.05
   Davon                Terry                                     $9.35
   Jillane              Terry                                   $100.00
   Laura                Terry                                    $48.94
   Sandy                Tesch Wilkins                             $4.10
   Leuwam               Tesfai                                    $5.31
   Shannon              Teshima                                  $37.45
   Denys                Teslenko                                  $0.19
   Adam                 Tesler                                    $2.00
   Yuriy                Teslyar                                   $5.00
   Brianna              Testa                                     $1.90
   Meghan               Tetwiler                                  $2.00
   Andrea               Tevez                                     $3.80
   Sarah                Thach                                    $21.20
   Josh                 Thacker                                   $4.92
   Reshma               Thadani                                 $100.00
   Jackie               Thai                                     $72.10
   Jason                Thai                                     $19.70
   Jonathan             Thai                                     $15.30
   Kamal                Thakarsey                                 $3.18
   Bhavika              Thakkar                                  $20.65
   Susan                Thakore                                  $50.00
   Anita                Tham                                    $215.85
   Khoi                 Than                                      $0.60
   Peter                Thana                                    $79.85

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Martine              Tharp                                  $57.85
   David                Thayer                                  $8.95
   Kelsey               Thayer                                $150.00
   Chris                Theg                                   $84.36
   Marc                 Theobald                                $2.50
   Paul                 Theobald                               $24.70
   Tara                 Theobald-Anderson                     $114.95
   Pierre               Theodore                               $34.20
   Hewotte              Theodros                                $1.46
   Kelly                Theriault                             $200.00
   Thewongstuff         Thewongstuff                           $23.25
   Jenny                Thi                                     $2.06
   Antony               Thier                                 $364.45
   Daniel               Thind                                  $31.20
   Robert               Thiraphoj                               $2.06
   Deb                  Thirion                                 $2.30
   Monique              Thiry-Zaragoza                         $16.08
   Dj                   Thistle                               $238.00
   Kelly                Thistle                                $50.00
   Robbie               Thng                                   $11.08
   Keisha               Thoene                                  $3.30
   Barry                Thom                                    $2.45
   Ceci                 Thom                                   $50.70
   Robert               Thoma                                   $7.95
   Susan                Thomakos                              $303.18
   Alyson               Thomas                                  $9.65
   Ann                  Thomas                                  $1.20
   Brittany             Thomas                                 $50.00
   Candy                Thomas                                $100.00
   Carla                Thomas                                 $42.05
   Conner               Thomas                                  $7.92
   Deirdre              Thomas                                $145.10
   Diamond              Thomas                                $158.30
   Dianne               Thomas                                $362.05
   Genevieve            Thomas                                 $40.00
   Gibu                 Thomas                                 $42.65
   Isaac                Thomas                                  $1.08
   Kristen              Thomas                                $180.80
   Lindsey              Thomas                                 $49.05
   Marian               Thomas                                  $0.80

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Mark                 Thomas                                $250.00
   Pilar                Thomas                                  $0.70
   Ryan                 Thomas                                 $14.25
   Stephan              Thomas                                 $75.48
   Teri                 Thomas                                  $1.25
   Tony                 Thomas                                  $0.22
   Scott                Thomas-Fitch                           $70.30
   Meaghan              Thomas-Kennedy                          $6.40
   Kathy                Thomason                                $2.30
   Scott                Thomassen                             $100.00
   Angela               Thompson                               $50.00
   Anne                 Thompson                               $43.30
   Arnold               Thompson                              $151.80
   Brit                 Thompson                                $8.82
   Casey                Thompson                                $0.10
   David                Thompson                              $100.00
   Em                   Thompson                               $11.75
   Fred                 Thompson                                $2.25
   Jake                 Thompson                               $50.00
   Kenton               Thompson                                $7.85
   Kim                  Thompson                              $100.00
   Larabeth             Thompson                              $100.00
   Lindsay              Thompson                               $34.15
   Matt                 Thompson                                $3.30
   Norma                Thompson                              $150.00
   Patricia             Thompson                               $18.05
   Phelicia             Thompson                               $25.55
   Rachel               Thompson                               $27.70
   Rachel               Thompson                              $170.54
   Samuel               Thompson                               $30.52
   Sarah                Thompson                              $100.00
   Stephanie            Thompson                               $31.75
   Suzy                 Thompson                              $107.30
   Sasha                Thompson Bachtold                      $45.03
   Jeri                 Thomsen                               $100.00
   Susan                Thomsen                                $37.10
   Annie                Thomson                               $145.05
   Ceylan               Thomson                                $15.25
   Elliot               Thomson                                 $1.20
   Lindsay              Thomson                                 $0.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Ron                  Thomson                                 $56.43
   Charles              Thor                                    $50.00
   Dana                 Thor                                     $9.95
   Kate                 Thorbeck                                $32.57
   Ellen                Thordarson                              $50.00
   Annie                Thorkelson                               $0.06
   Clif                 Thorn                                    $6.23
   Jessica              Thorn                                  $145.97
   Joanne               Thorne                                  $65.55
   Lisa                 Thorne                                  $14.25
   Marisa               Thorne                                   $1.70
   Maryann              Thornes                                  $0.70
   Jalen                Thornley                                 $4.05
   Amy                  Thornton                                 $0.80
   Beverly              Thornton                                 $6.15
   Brad                 Thornton                                $50.00
   Vivian               Thorp                                   $72.00
   Dan                  Thorsen                                  $4.65
   Kate                 Thorson                                 $41.83
   Rebecca              Thoumie                                $100.00
   Katie                Thrash                                   $3.05
   Michael              Thrasher                                $10.10
   Daniel               Thresher                                $71.60
   Joseph               Thuney                                  $97.95
   Noelle               Thurlow                                 $36.90
   Scott                Thurm                                   $40.35
   Mark                 Thurman                                 $34.05
   Sara                 Thurston                                $50.00
   Bruce                Tian                                     $2.27
   Cynthia              Tian                                    $61.15
   Sea Chenxi           Tian                                     $1.20
   John                 Tibbetts                                 $2.20
   Christine            Tibbits                                 $40.00
   Carrie               Tice                                    $50.00
   Christine            Tice                                     $0.67
   Nikki                Tichy                                  $119.32
   Robert               Tidmore                                 $70.15
   Hanne                Tidnam                                   $5.65
   Timothy              Tidwell                                $130.03
   Leeann               Tiede                                    $3.64

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Danielle             Tiedt                                   $73.30
   Virginia             Tieman                                   $5.80
   Susan                Tien                                    $23.00
   Susan                Tien                                     $8.05
   Wanda                Tienken                                 $11.04
   Ellen                Tiep                                     $2.00
   Sarah                Tierney                                $519.24
   Laura                Tietjen                                  $0.85
   Lina                 Tieu                                   $134.25
   Juliet               Tiffany-Morales                        $103.25
   Roi                  Tiger                                  $158.35
   Brett                Tighe                                   $55.30
   Susan                Tighe                                   $22.15
   Elliot               Tight                                  $200.00
   Rebecca              Tihon                                  $100.00
   Nichole              Tilbury                                $100.00
   Lindsay              Tiles                                    $4.70
   Allison              Tilley                                  $70.15
   Jana                 Tilley                                  $42.05
   Michael              Tillotson                                $8.30
   Dana                 Tillson                                 $54.75
   Lauren               Tilston                                 $19.80
   Clio                 Tilton                                  $30.00
   T_Mignon             Tilton                                   $4.80
   Linda                Tim                                      $0.05
   Sixxx                Timez                                  $257.95
   Stephanie            Timm                                   $200.00
   Gene                 Timmons                                $100.00
   Kaycie               Timmons                                 $74.90
   Eric                 Timmreck                                $15.15
   Low                  Tina                                    $22.15
   Amy                  Ting                                    $50.00
   Sarah                Ting                                     $2.65
   Dilla                Tingley                                  $4.10
   Rachel               Tinker                                  $77.05
   Juliette             Tinnus                                  $19.90
   Ken                  Tinsley                                 $27.25
   Ana                  Tintocalis                              $41.35
   Ronan                Tiongson                                $22.00
   Will                 Tipton                                  $14.10

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Consolacion          Tiqui                                     $0.65
   Daniel               Tiraschi                                 $18.95
   Heather              Tiraschi                                  $2.50
   Claire               Tirtoprodjo                              $54.68
   Christy              Tise                                    $119.80
   Svetlana             Titova                                   $29.18
   Giuliana             Titus                                     $7.25
   Sarah                Titus                                     $4.07
   Andrea               Tivers                                   $12.35
   Sophie               Tivona                                   $47.05
   Abhinav              Tiwari                                   $64.60
   Jessica              Tiwari                                   $60.29
   Danielle             Tizol                                    $49.00
   Ray                  Tjen-A-Looi                              $82.40
   Gloria               Tjoe                                     $58.00
   Ted                  Tksteph                                   $0.75
   Odelia               To                                        $3.40
   Toan                 To                                        $1.45
   Anna                 Tobes                                    $10.35
   Julie                Tobia                                     $0.74
   Sharon               Tobias                                  $100.00
   Holly                Toboni                                   $18.30
   Karen                Toda                                      $4.30
   Kevin                Toda                                     $50.00
   Jonathan             Todd                                      $1.35
   Matthew              Todd                                     $53.30
   Monica               Todd                                      $5.60
   Susan                Todd                                      $6.40
   Jim                  Todhunter                                $18.15
   Natalia              Todorov                                  $41.10
   Alyse                Tognotti                                 $93.50
   Melanie              Tokarski                                 $50.00
   Karine               Tokatlian                                $50.00
   Dave                 Tokiwa                                  $114.78
   Eisaku               Tokuyama                                 $74.95
   Evelyn               Tokuyama                                $120.00
   Greg                 Toland                                    $0.50
   Mari                 Toledo                                    $2.54
   Casandra             Tolentino                               $100.00
   Richard              Toletti                                  $19.35

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Nicole               Toliver                                $10.45
   Andrea               Toll                                  $103.84
   Koshtra              Tolle                                   $0.65
   K                    Tollefson                               $2.99
   Danielle             Tolley                                 $36.15
   Lynda                Tolley                                  $0.20
   Alfred               Tom                                    $56.15
   Amy                  Tom                                     $8.95
   Ellen                Tom                                    $35.50
   Jennifer             Tom                                    $46.20
   Jennifer             Tom                                     $1.35
   Jim                  Tom                                    $57.95
   Michelle             Tom                                    $53.60
   Sharon               Tom                                     $6.55
   Jonathan             Toma                                  $113.55
   Agnieszka            Tomalak                               $143.05
   Dean                 Tomarat                                 $9.65
   Paige                Tomaselli                              $10.20
   Sarah                Tomashek                              $101.22
   Cathleen             Tomasini                               $33.84
   Sarah                Tomastik                               $21.40
   Tanya                Tomkins                                 $0.20
   Shannon              Tom-Lau                                $71.30
   Matt                 Tomlin                                 $76.10
   Suzanne              Tomlinson                               $0.25
   Quyen                Ton                                   $101.40
   Hilda                Tonarely                               $43.60
   Connie               Toncic                                  $2.30
   Lisa                 Tonelli                                $81.70
   Alexis               Toney                                  $50.00
   Nancy                Toney                                   $0.20
   Raymond              Toney                                  $60.00
   Adrianne             Tong                                   $30.25
   Chang                Tong                                    $7.60
   Eric                 Tong                                    $3.65
   Lisa                 Tong                                    $3.99
   Loretta              Tong                                   $28.85
   Suzanne              Tong                                   $55.35
   Wendy                Tong                                   $20.45
   Denise               Tonner                                 $23.12

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Mary                 Tonner                                 $103.25
   Daphne               Tooke                                    $2.80
   Erica                Toomajian                               $50.00
   Jennifer             Toomey                                   $0.15
   Sarah                Toomey                                  $30.45
   Jessika              Toothman                                $18.20
   Joyce                Toothman                                $49.60
   Denise               Top                                     $47.20
   Frances              Topaci                                   $0.70
   Cheyenne             Topete                                  $20.00
   Tony                 Toppenberg                             $115.15
   Jim                  Torch                                   $20.80
   Kyle                 Torgrimson                               $8.86
   Sarah                Torgrimson                              $13.00
   Nathalie             Toribio                                 $25.00
   Kolaleh              Torkaman                                 $6.02
   Diane                Torkelson                               $26.85
   Elijah               Torn                                     $0.13
   Gael                 Tornatore                               $33.45
   Janaki               Torrence                               $102.41
   Alfa                 Torres                                   $0.60
   Areli                Torres                                  $13.40
   Elise                Torres                                  $36.16
   Heather              Torres                                 $125.00
   Ivette               Torres                                  $50.00
   Lin                  Torres                                   $8.95
   Lindsey              Torres                                  $54.90
   Nerine               Torres                                 $217.05
   Richard              Torres                                 $234.74
   Robert               Torres                                  $41.22
   Sam                  Torres                                  $74.10
   Belen                Torres-Gil                               $9.49
   Connie               Torrey                                  $53.70
   Eileen               Torrez                                   $8.10
   Laura                Torrez                                 $100.00
   Gwen                 Toso                                     $3.75
   Margie               Tostado                                 $75.73
   Louis                Tosti                                    $0.15
   Al                   Totagrande                              $50.00
   Niko                 Toubia                                  $12.20

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Jessica              Toubol                                    $0.15
   Gene                 Toulouse                                 $50.00
   Kim                  Touneh                                    $0.36
   Mollie               Tovar                                    $50.05
   Kate                 Tovias                                   $50.00
   Katie                Towe                                     $53.30
   Charles              Town                                     $10.40
   Jennifer             Townsend                                 $84.03
   Katherine            Townsend                                 $50.00
   Lani                 Townsend                                $275.50
   Tara                 Townsend                                 $61.70
   Loretta              Toy                                       $0.25
   William              Toy                                      $55.65
   Bryson               Toyama                                  $124.60
   Jerry                Trac                                    $100.00
   Linda                Tracey                                    $1.25
   Joe                  Tracy                                    $20.35
   Julia                Tracy                                     $8.95
   Kimberly             Tracy                                     $6.43
   Robbie               Tradal                                    $0.26
   Alane                Trafford                                 $50.00
   Ryan                 Trager                                   $89.77
   Marisol              Trailer                                  $24.95
   Kari                 Trainor                                 $200.00
   Kim                  Tramel                                  $300.00
   Donna                Tramontozzi                              $19.75
   Cathy                Tran                                      $5.40
   Claire               Tran                                     $60.11
   Dao                  Tran                                      $0.70
   Diana                Tran                                     $10.65
   Diana                Tran                                     $10.20
   Elise                Tran                                     $51.76
   Kim                  Tran                                     $71.56
   Kimanh               Tran                                     $88.90
   Lise                 Tran                                      $7.20
   Nancy                Tran                                     $20.29
   Ngoc                 Tran                                      $2.08
   Nick                 Tran                                    $112.45
   Nicole               Tran                                     $35.67
   Rosanna              Tran                                      $2.75

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Stephanie            Tran                                  $145.60
   Thanh                Tran                                   $61.60
   Thuy                 Tran                                   $32.05
   Tuan                 Tran                                  $126.75
   Vi                   Tran                                   $35.70
   Vincent              Tran                                    $9.90
   Whitney              Tran                                   $14.10
   Adam                 Trang                                  $50.00
   Lilly                Tran-Garde                             $50.00
   Heidi                Tranisi                                 $8.95
   Rachelle             Trank                                  $14.85
   Sarah                Trank                                   $3.28
   Richelle             Traugh                                 $50.00
   Julie                Traun                                  $74.05
   Cindy                Traverso                               $20.65
   John                 Traverso                               $21.20
   Nick                 Travis                                 $46.60
   Wally                Travis                                 $80.00
   Karen                Trayer                                  $2.65
   David                Treacy                                  $9.10
   Molly                Treadway                               $51.25
   Patty                Treadwell                              $13.05
   Sandra               Treadwell-Monk                          $8.95
   Eileen               Treanor                                 $0.23
   Julie                Tredway                                 $7.44
   Kelly                Tregillus                              $14.50
   Lisa                 Trei                                    $8.42
   Randy                Treibel                               $171.15
   Jayce                Treible                                $18.85
   Margaret             Trejo                                   $0.70
   Sarah                Trela                                 $100.00
   Kathryn              Tremaine                                $1.30
   Creed                Tremaine Nelson                         $0.02
   Connie               Tremblay                                $0.35
   Katie                Tremper                                 $0.74
   Meghan               Trenary                                $19.36
   Kathryn              Trent                                   $3.22
   Sandy                Tresan                                 $16.20
   Daniella             Tress                                   $9.10
   Anne                 Trester                               $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Peter                Trestyanszki                           $20.05
   Vanessa              Tretton                                $35.00
   Maylis               Treuil                                 $75.00
   Jen                  Treuting                                $8.25
   Shannon              Treverton                              $20.17
   Elias                Trevino                               $100.00
   Nathalie             Trevor                                 $20.90
   Juliana              Triadafilopoulos                       $21.05
   April                Trieu                                  $19.80
   Jennifer             Trieu                                  $65.46
   Ruth                 Trigg                                   $3.20
   Mario                Trigueros                              $67.30
   Micah                Trilling                               $27.60
   Denny                Trimble                                 $1.36
   Jennifer             Trimble                                 $4.05
   Teddy                Trimble                               $250.00
   Harold               Trimmer                                 $0.55
   Angela               Trinder-Clements                       $10.47
   Carolyn              Trinh                                 $145.65
   Esther               Trinh                                 $100.00
   Kimberly             Trinh                                  $53.70
   Linda                Trinh                                   $0.55
   Shirley              Trinh                                   $0.05
   Tom                  Trinh                                  $27.43
   Jenny                Triplett                               $43.98
   Kimberly             Tripp                                 $100.00
   Owen                 Tripp                                  $13.90
   John                 Triska                                 $20.10
   Rebecca              Trissell                               $37.07
   Christopher          Tritto                                 $71.35
   Michael              Trocchia                               $10.16
   Lille                Troelstrup                             $50.00
   Matt                 Trojnar                                $15.30
   Shanna               Trombetta                              $11.85
   Kati                 Trono                                   $6.55
   David                Trossen                                 $2.30
   Cindi                Trost                                 $352.55
   Analisa              Trott                                  $12.30
   Lowell               Trott                                 $174.46
   Alix                 Trouillet                               $0.15

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Milana               Trounce                                $500.00
   Jeff                 Trowbridge                             $150.00
   Tom                  Trowbridge                               $3.30
   Phil                 Trowler                                  $5.70
   Dionne               Trowse                                  $30.00
   Jessica              Troy                                     $1.75
   Owen                 Troy                                   $100.00
   Stephanie            Troy                                    $42.79
   Sara                 Troyani                                 $13.88
   Josie                Truchan                                 $50.00
   Jennifer             True                                    $71.96
   Nancy                Truesdale                                $0.74
   Carrie               Trujillo                                $22.15
   Dena                 Trujillo                                $20.17
   Guillermo            Trujillo                                $16.90
   Katie                Trujillo                                $15.25
   Tiffany              Trujillo                               $100.00
   Jennifer             Trull                                    $8.95
   Nikki                Trunnell                                $50.00
   Cindy                Truong                                  $11.80
   Edward               Truong                                   $0.98
   Johnathan            Truong                                   $1.29
   Lan                  Truong                                   $8.95
   Constantine          Tsagaris                                $53.10
   Andrew               Tsai                                   $100.00
   Davidson             Tsai                                     $0.30
   Helen                Tsai                                    $49.25
   Helen                Tsai                                    $26.25
   Jennifer             Tsai                                   $104.80
   Jennifer             Tsai                                     $5.15
   Jerry                Tsai                                    $83.40
   Tiffany              Tsai                                     $1.40
   Vince                Tsai                                    $27.80
   Anna                 Tsang                                   $94.20
   Jessica              Tsang                                  $159.00
   Siu Leung            Tsang                                   $20.55
   Binh-Young           Tsao                                   $181.60
   Shirley              Tse                                     $61.70
   Victoria             Tse                                      $3.95
   Angela               Tseng                                    $2.05

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Hannah               Tseng                                     $4.20
   Ivy                  Tseng                                   $143.24
   Tina                 Tseng                                    $50.00
   Uvan                 Tseng                                     $9.16
   Li Anne              Tseu                                    $332.20
   Sara                 Tsilipounidakis                          $19.15
   Christina            Tsou                                      $0.35
   Kira                 Tsu                                       $0.10
   Casey                Tsui                                      $2.70
   Laine                Tsujii                                    $7.23
   Michael              Tsun                                    $100.00
   Kenny                Tsung                                   $143.45
   Yoran                Tsur                                      $1.55
   Gary                 Tsuruda                                 $189.34
   Lisa                 Tsuruoka                                 $10.45
   Marcus               Tsurusaki                                $56.47
   Joey                 Tsutsui                                  $50.60
   Jennifer             Tsutsumi                                $300.00
   Kseniya              Tsvetkov                                  $0.10
   Aiti                 Tu                                      $109.97
   Shawn                Tu                                        $1.35
   Stephanie            Tucci                                    $50.00
   Charlene             Tuchman                                   $8.70
   Pamela               Tuchscherer                              $39.10
   Katie                Tuck                                     $15.75
   Cory                 Tucker                                   $14.55
   Gina                 Tucker                                  $100.00
   Jesse                Tucker                                   $23.86
   Steve                Tucker                                    $9.05
   Diana                Tudora                                    $0.25
   Mawuli               Tugbenyoh                                $14.30
   Ateet                Tuli                                      $0.65
   Cheryl               Tulkin                                    $3.11
   Keri                 Tully                                   $199.90
   Michele              Tuman                                    $32.45
   Eunah                Tung                                    $100.00
   Grace                Tung                                      $4.75
   Joyce                Tung                                    $175.06
   Larry                Tung                                      $0.15
   Nancy                Tung                                      $3.21

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Richard              Tung                                    $14.65
   Vicki                Tung                                     $0.25
   Brooke               Tunnacliffe                             $50.00
   Nigel                Tunnacliffe                             $16.00
   Kelly                Tunstall                                $10.60
   Ariane               Tuomy                                    $1.25
   Allie                Tupman                                  $50.00
   Liza                 Turchinsky                              $80.00
   John                 Turcios                                  $7.20
   Megan                Turco                                    $1.10
   Simone               Tureck                                   $1.90
   Deanna               Turley                                 $500.00
   Kim                  Turley                                  $57.20
   Robert               Turley                                  $42.20
   Debra                Turnage                                  $8.95
   Afsoon               Turner                                   $5.65
   Carah                Turner                                   $5.61
   Cheryl               Turner                                  $78.39
   John                 Turner                                   $6.55
   Lainey               Turner                                 $750.20
   Laura                Turner                                  $83.95
   Michelle             Turner                                  $77.03
   Nathan               Turner                                  $30.00
   Pat                  Turner                                  $41.53
   Racheal              Turner                                  $23.70
   Kristin              Turner Hulquist                          $0.25
   Katherine            Tursi                                  $122.00
   Barbara              Turvett                                  $0.27
   Gretchen             Turzo                                   $77.55
   Sari                 Tushcman                               $114.45
   Marissa              Tuttle                                   $0.45
   Sandro               Tuzzo                                   $30.60
   Adam                 Tweed                                   $12.65
   Angela               Twining                                 $21.90
   Charlotte            Twiss                                  $132.50
   Alyssa               Twitchell                               $58.15
   Anna                 Twitchell                                $0.15
   Blake                Tye                                     $25.35
   Kate                 Tylee                                   $54.42
   Barbara              Tyler                                   $68.65

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Shannon              Tyman                                    $1.85
   James                Tynan                                   $81.56
   Katie                Tynan                                    $1.37
   Kyla                 Tynes                                    $3.72
   Janese               Tyree                                    $1.25
   Jon                  Tyson                                   $46.30
   Paul                 Tyson                                    $6.01
   Christina            Tzagarakis-Foster                       $16.70
   Jason                Tzau                                    $21.64
   Richard              Tzeng                                 $100.00
   Sharon               Tzuang                                  $50.00
   Ohad                 Tzur                                    $57.00
   Amanda               Uber                                    $29.50
   Pavni                Uberoi                                  $54.25
   Mayda                Ubungen                              $1,517.60
   Samantha             Uchida                                  $21.55
   Kori                 Ucko                                    $22.44
   Kristen              Ude                                     $50.00
   Kathleen             Udo                                     $59.84
   Vaishali             Udupa                                 $200.00
   Barbara              Ueda                                    $94.05
   Hiroki               Uematsu                                 $80.00
   Jessica              Uhl                                      $8.95
   Harriet              Ukaoma                                   $0.60
   Anna                 Ulikhanian                               $2.35
   Joan                 Ullyot                                  $71.05
   Erica                Ulrich                                   $3.15
   Mary                 Ulrich                                   $9.30
   Blake                Ulveling                                $66.80
   Jay Jay              Umali                                   $94.50
   Pamela               Umali                                   $10.26
   Marc                 Umscheid                                $61.45
   Royce                Umstattd                                $16.84
   Marcy                Unal                                  $131.15
   Erin                 Underbrink                               $3.55
   Justine              Underhill                             $104.70
   April                Underwood                             $100.00
   Francine             Ung                                   $100.00
   Veronica             Unger                                 $100.00
   Lori                 Unis                                    $70.10

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Nancy                Unsworth                                  $39.60
   Charito              Untalan                                   $56.90
   Annine               Untiedt                                   $42.45
   Sapna                Upadhyay                                 $250.00
   Ushma                Upadhyay                                  $10.00
   Vijay                Uppal                                     $23.15
   Steve                Urban                                     $36.95
   John                 Urdal                                     $26.95
   Christina            Uriarte                                   $40.60
   Wakako               Uritani                                   $17.25
   Mike                 Urnun                                      $2.00
   Marta                Urquilla                                   $0.57
   Cristina             Urrutia                                   $26.05
   Dan                  Urrutia                                  $150.00
   Victor               Urrutia                                   $37.45
   Ali                  Uscilka                                   $47.96
   Justin               Usher                                     $26.15
   David                Ushijima                                  $13.15
   Jennifer             Usner                                     $29.13
   Carrie               Usui Johnson                               $3.20
   Anna                 Utgoff                                    $25.15
   Heather              Utley                                      $2.33
   Stefanie             Utomo                                     $81.55
   Kristy               Uy                                        $16.90
   Salvador             Uy                                         $3.68
   Midori               Uyehara                                   $14.79
   Aki                  Uyeki                                     $66.27
   Ginny                Uyesugi                                   $16.20
   Dheyvi               V                                         $50.00
   Jessica              Va√±Era                                    $0.65
   Mary                 Vaamonde                                  $24.21
   Shaheen              Vaaz                                      $52.80
   Louis                Vachon                                    $50.00
   Reshmi               Vadakel                                    $3.60
   Amelia               Vader                                     $32.57
   Dhanush              Vadlamudi                                  $8.95
   Vijay                Vadlamudi                                 $30.75
   Christine            Vaggione                                  $27.98
   Dhwani               Vahia                                      $2.35
   Ashvin               Vaidyanathan                              $22.40

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Rona                 Vail                                  $616.82
   Jacqueline           Vaisman                                 $0.75
   Nina                 Vakhlamova                            $135.65
   Tara                 Valcarcel                               $0.40
   Mamta                Valderrama                             $15.25
   Sunshine             Valderrama                             $31.15
   Lauren               Valdez                                  $0.30
   Adrian               Valdivieso                            $485.55
   Rob                  Valencia                                $5.55
   Lori                 Valene                                 $10.05
   Anna                 Valente                               $100.00
   Dorothy              Valentine                              $50.00
   Emilie               Valentine                               $8.95
   Euni                 Valentine                              $23.30
   Kelly                Valentine                              $18.75
   Reikov               Valentine                               $0.44
   Tracy                Valentine                              $35.40
   Tina                 Valenzuela                             $67.35
   Svetlana             Valer'Evna                              $0.67
   Martin               Valeri                                 $58.63
   Amir                 Valiani                                $72.08
   Ro                   Valiao                                 $27.10
   Juliet               Valkosky                               $50.00
   Nick                 Valldeperas                            $20.30
   Anthony              Valle                                  $20.99
   Jeannie              Vallecer                                $4.40
   Robert               Vallejo                                 $2.65
   Jennifer             Vallidis                               $50.00
   Ceinwyn              Valo                                  $244.11
   Flora                Van                                   $274.20
   Renee                Van Alyea                              $58.95
   Janice               Van Asche                              $80.00
   Maria                Van Buiten                             $17.15
   Molly                Van Campen                             $45.17
   Trina                Van Cott                              $439.00
   David                Van Der Bokke                           $6.11
   Roma                 Van Der Walt                            $0.32
   Amy                  Van Dyke                               $69.95
   Heather              Van Epps                               $47.35
   Joseph               Van Geffen                             $62.70

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sheeva               Van Gemeren                             $4.55
   Rob                  Van Harken                             $17.50
   Jenee                Van Hofwegen                            $3.30
   Christian            Van Horn                              $250.00
   Kellee               Van Horne                              $10.15
   John                 Van Hoy                                $20.20
   Emma                 Van Inwegen                            $26.02
   Inge                 Van Kooten                             $12.85
   Emma                 Van Niekerk                            $59.70
   Michael              Van Orden                              $50.00
   Sheena               Van Orden                               $1.35
   Shayne               Van Outryve                            $30.65
   Cherry               Van Overstraeten                        $3.82
   Amy                  Van Pelt                                $1.35
   Lauren               Van Roden                               $0.10
   Peter                Van Roden                              $45.10
   Cliff                Van Sickel                             $19.10
   Lori                 Van Tassell                            $50.00
   Michelle             Van Tijen                               $8.60
   Nicole               Van Tongeren                           $11.25
   Janessa              Van Vechten                             $0.40
   Kira                 Vance                                  $17.20
   Dave                 Vandament                               $0.47
   Jessica              Vanderberg                             $40.00
   Ray                  Vanderborght                          $117.31
   Gay                  Vanderleest                            $20.45
   Eric                 Vanderlin                              $17.20
   Ronit                Vanderlinden                           $50.00
   Jane                 Vanderveer                              $1.50
   Tobee                Vanderwall                            $174.55
   Alison               Vandis                                 $51.60
   Mary                 Vandro                                 $50.00
   Dorothy              Vandyke                                $11.20
   Friendly             Vang-Johnson                            $5.26
   Zoe                  Vanhoover                              $26.05
   Ines                 Vaniman                               $437.51
   Rachna               Vanjani                                $57.80
   Elena                Vanloo                                  $1.70
   Linda                Vann-Adibe                            $128.40
   Maryanne             Vannasdale                             $54.25

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Helen                Vannelli                                  $49.06
   Jodi                 Vanneman                                   $1.30
   Sarah                Vannucchi                                 $23.85
   Samantha             Vanover                                   $50.40
   Molly                Varanini                                  $39.60
   Gil-Li               Vardi                                      $5.60
   Sarah                Vared                                    $100.00
   Edgar                Varela                                     $0.25
   Priscilla            Varela                                    $38.55
   Caro                 Vargas                                   $145.10
   Danajane             Vargas                                    $44.55
   Lucy                 Vargas                                    $80.00
   Sara                 Vargas                                    $13.95
   Matthew              Vargo                                     $91.05
   Angela               Varnado                                   $28.05
   Scott                Varner                                   $299.27
   Kate                 Varni-Leake                                $3.20
   Sarah                Varro                                     $36.25
   Jennifer             Varsanyi                                   $2.20
   Laura                Vartain                                    $4.25
   Mary                 Vascellaor                                $75.00
   Robert               Vasconcellos                              $37.05
   Nicki                Vaseghi                                   $48.05
   Arsenii              Vaselenko                                 $50.15
   Simoina              Vasen                                     $72.45
   Melissa              Vasiliades                                 $1.45
   John                 Vaskis                                     $4.69
   Sandra               Vasquez                                    $1.70
   Siena                Vasquez                                    $7.80
   Anna                 Vassar                                   $272.15
   Helen                Vassiliadis                              $250.00
   David                Vaughan                                   $38.20
   Kim                  Vaughn                                     $8.20
   Linda                Vaughn                                    $52.30
   Lydia & Mitch        Vaughn                                    $50.00
   Chris                Vavrosky                                  $45.26
   Rina                 Vazirani                                   $0.40
   Daron                Vchulek                                    $5.74
   Janet                Veatch                                     $2.75
   Elvin                Vedar                                      $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Brian                Veen                                  $260.25
   Sietske              Veenman                                 $2.65
   Ana                  Veera                                 $210.25
   Nathan               Veeraraghavan                         $183.00
   Samantha             Vega                                  $201.35
   Peter                Veilleux                              $291.05
   Jose                 Vela                                   $11.65
   Karina               Vela                                   $20.45
   Phillip              Velasco                                $23.45
   Brenda               Velasquez                               $2.66
   Consuelo             Velasquez                              $34.90
   Kate                 Velasquez                              $15.04
   Ashley               Velategui                              $15.54
   Nathalie             Velazquez                             $132.31
   Lisa                 Velega                                  $4.40
   Ric                  Velez                                 $479.15
   Christina            Velissaratos                            $8.34
   Rob                  Veliz                                  $33.99
   Casie                Vella                                  $71.20
   Chris                Vella                                   $0.45
   Fred                 Vella                                   $0.65
   Katelyn              Vella                                  $36.21
   Lisa                 Vella                                  $50.00
   Connie               Ven                                     $7.45
   Genevieve            Venable                                 $1.89
   Catherine            Vendola                               $206.10
   Mariela              Venglevska                              $6.60
   Smita                Venkat                                $182.11
   Suraj                Venkataraman                            $1.65
   Matt                 Ventura                                 $9.85
   Srini                Venugopal                               $8.95
   Claire               Vera                                    $2.80
   Mathieu              Verbeeck                                $2.30
   Patricia             Verbryke                               $24.86
   Patricia             Verbryke                               $70.69
   Claire               Vercammen                             $132.40
   Ann                  Verdi                                  $25.10
   Nicholas             Vereczkei                              $12.70
   Maria                Vergara-Lluri                          $12.78
   Kate                 Verges                                 $19.80

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Sebastiaan           Verhaar                                  $8.95
   Lacey                Verhage                                  $1.95
   Sasha                Verhage                                 $20.48
   John-Paul            Verkamp                                  $0.98
   Manish               Verma                                    $2.95
   Puja                 Verma                                  $130.00
   Helen                Vernier                                  $4.14
   Colin                Vernon                                  $94.68
   Marisa               Veroneau                               $172.00
   Elysse               Versher                                 $10.10
   Laurie               Vertelney                               $14.45
   Jim                  Vessella                                 $9.30
   Marie                Vestermark                               $8.24
   M.                   Vetersneck                              $50.00
   Ashley               Vetter                                  $12.75
   Leia                 Vetter                                  $13.15
   Mark                 Veverka                                $142.15
   Amy                  Vezzetti                                $42.56
   Monica               Viale                                   $71.07
   Joanne               Vian                                     $1.15
   Alexander            Vicas                                  $232.99
   Meagan               Vickers                                 $19.94
   Rachael              Victoria                                 $0.39
   Katie                Victorine                                $1.60
   Shirlee              Victorio                                $42.69
   Christina            Vidal                                   $14.95
   Danielle             Vidal                                   $11.25
   Pedro                Vidal                                  $137.80
   Theresa              Vidaurri                               $164.46
   Candice              Videna                                   $0.70
   Steve                Vidibor                                 $30.00
   Kim                  Vieira                                  $35.80
   Lily                 Vieira                                   $8.95
   Werner               Vielman                                 $29.95
   Sara                 Vierra                                  $60.00
   Laura                Vig                                     $90.05
   Pam                  Vig                                      $4.60
   Joe                  Vigil                                   $17.65
   Avital               Vigilla                                 $21.10
   Voula                Viglis                                  $86.10

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Joanna               Viglizzo                                  $14.10
   Rina                 Vignola                                   $18.11
   Amanpreet            Vijan                                      $1.48
   Shardul              Vikram                                    $67.20
   Marta                Vilalta                                   $30.00
   Elena                Villa                                      $5.25
   Toby                 Villa                                     $52.60
   Nikki                Villabroza                                $10.25
   Brenda               Villalobos                                 $5.35
   Juha                 Villanen                                  $45.52
   Jean                 Villanueva                                $12.20
   Karla                Villanueva                                $30.55
   Sandra               Villanueva                                 $5.40
   Karen                Villaruz                                   $2.90
   Eduardo              Villasenor                                 $9.07
   Fernando             Villasenor                               $100.00
   Brenda               Villatoro                                $100.00
   Henry                Villeda                                   $24.85
   Matthew              Villwock                                  $34.55
   Jennifer             Viloudaki                                  $0.21
   Steven               Vince                                     $50.00
   Emily                Vincent                                   $40.00
   Greg                 Vincent                                    $6.65
   Heather              Vincent                                   $83.63
   Libby                Vincent                                   $17.45
   Sarah                Vincent                                    $6.15
   Jill                 Vincenzo                                   $1.05
   Janelle              Vinette                                    $4.63
   A                    Vinikoor                                   $5.39
   Jonathan             Vinocour                                  $19.85
   Franny               Viola                                     $14.55
   Nuruddin             Virani                                   $226.10
   Ashish               Virmani                                  $250.00
   Srini                Vishnubhatta                              $76.15
   Paul                 Visick                                     $6.90
   Suzanna              Visocky                                   $10.05
   Lydia                Visser                                    $12.75
   Nadir                Visstrong                                  $8.55
   Vijay                Viswanathan                               $50.00
   Asha                 Visweswaran                               $32.10

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Dulce                Vita                                   $14.55
   Asha                 Vitatoe                                 $1.55
   Gina                 Vittori                               $100.00
   Scott                Vix                                   $319.40
   Patty                Vlahakos                              $120.90
   Lizzy                Vlasses                                $22.15
   Loan                 Vo                                      $9.50
   Loan                 Vo                                    $250.00
   Lucy                 Vo                                    $109.99
   Lynn                 Voccola                                 $0.52
   Rachel               Vocino                                 $45.07
   Amy                  Voedisch                               $40.20
   Eillen               Voellinger                            $200.00
   Erica                Voelz                                   $8.30
   Hank                 Voge                                  $100.00
   Ryan                 Voge                                  $250.00
   Casey                Vogel                                  $60.60
   Tom                  Vogel                                  $18.65
   Gavan                Vogler                                  $0.58
   Ursula               Vogler                                $135.68
   Amanda               Vohs                                  $418.15
   Noreen               Vokic                                   $8.95
   Margaret             Volcy                                  $13.10
   Anna                 Volk                                   $80.10
   Hannah               Volkman                                $10.02
   Natalia              Volkova                                 $0.85
   Robert               Vollmar                                 $4.45
   Stacie               Voloshin                               $12.17
   Laura                Volovski                               $22.45
   Joshua               Volpert                                $26.00
   Barbra               Voltaire                               $18.84
   Max                  Volz                                   $60.00
   Michael              Volz                                   $63.88
   Colette              Von                                    $42.70
   Krista               Von Blohn                             $100.00
   Owen                 Von Kugelgen                          $112.30
   Andrew               Von Mayrhauser                          $0.40
   Marcio               Von Muhlen                             $55.60
   Carl                 Von Rueden                             $15.95
   Julia                Von Schilling                         $100.00

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Max                  Von Webel                                  $9.05
   David                Von Winckler                             $241.80
   Vena                 Vongachariya                              $11.57
   Tara                 Voogt                                     $11.10
   Stephanie            Voong                                    $473.64
   Matt                 Voorhees                                   $7.40
   Alejandra            Voors                                     $18.65
   Bharath              Vootukuru                                  $5.95
   Tina                 Vora                                      $23.50
   Kathryn              Vosburg                                    $1.75
   Christine            Vose                                      $36.35
   Heather              Votel                                      $2.90
   Rosemary             Voulgaris                                 $25.08
   Connie               Vo-Vu                                      $4.95
   Kay                  Voyvodich                                 $10.70
   Willem               Vroegh                                    $55.30
   Maxim                Vskolovskiy                                $0.75
   Andrew               Vu                                        $12.95
   Bryan                Vu                                         $1.10
   Jacyntha             Vu                                         $1.70
   Judy                 Vu                                       $250.00
   Lan                  Vu                                        $12.35
   Monica               Vu                                       $117.30
   Vy                   Vu                                         $0.70
   Susannah             Vukosa                                     $5.70
   Rebecca              Vyduna                                   $181.65
   A                    W                                         $79.48
   Jeff                 Wachhorst                                 $10.10
   Gwyn                 Wachtel                                    $0.35
   Molly                Wachtel                                    $6.10
   Robert               Wachter                                    $6.65
   Ginger               Wada                                      $68.85
   Janet                Wada                                      $27.10
   Sho                  Wada                                      $63.25
   Chris                Wade                                     $100.00
   Devon                Wade                                      $10.00
   Hannah               Wade                                     $159.59
   Jennifer             Wade                                      $24.60
   Lindsey              Wade                                      $65.10
   Raquel               Wade                                       $6.66

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sarah                Wagener                                $86.50
   Jennifer             Waggoner                                $1.85
   Neeti                Wagle                                  $97.65
   Pushkar              Wagle                                  $10.50
   Alix                 Wagner                                $116.30
   Andrew               Wagner                                $266.65
   Angela               Wagner                                 $72.18
   Audrey               Wagner                                 $18.75
   Bethann              Wagner                                 $11.65
   Chris                Wagner                                 $66.20
   Doreen               Wagner                                 $59.05
   Emilie               Wagner                                $100.60
   Frances              Wagner                                  $1.45
   Jade                 Wagner                                  $6.90
   Katie                Wagner                                  $3.00
   Kelly                Wagner                                 $11.36
   Laura                Wagner                                  $1.35
   Melanie              Wagner                                 $78.15
   Patricia             Wagner                                  $5.30
   Rachel               Wagner                                  $0.88
   Sarah                Wagner                                  $0.10
   Thomas               Wagner                                  $0.05
   Valerie              Wagner                                  $4.28
   Alison               Wagonfeld                              $28.20
   Lindsey              Wagster                                 $0.05
   Michael              Wahl                                   $73.60
   Victoria             Wahlgren                               $12.20
   Lindsay              Wai                                     $5.60
   Mary                 Waikiki                                 $0.65
   Marvalee             Wake                                  $117.90
   Stephanie            Wakefield                               $6.99
   Patricia             Wakida                                 $24.15
   Sarah                Wakida                                 $25.13
   Aly                  Walansky                               $76.80
   Sharon               Walchak                                $25.05
   Kristin              Walczak                                 $1.00
   Courtney             Waldie                                 $50.00
   Todd                 Waldman                               $117.13
   Julian               Waldo                                  $63.70
   Paige                Waldron                                $87.44

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Stephan              Waldstrom                               $300.00
   Susan                Walenta                                  $64.35
   Daniel               Walentowski                             $398.70
   Amanda               Walker                                  $133.75
   Brian                Walker                                   $35.10
   Brian                Walker                                    $0.95
   Chris                Walker                                   $46.30
   Christy              Walker                                   $18.85
   Corey                Walker                                    $8.95
   Courtney             Walker                                    $2.05
   Dan                  Walker                                   $18.38
   David                Walker                                  $121.20
   Elizabeth            Walker                                    $0.74
   Genevieve            Walker                                    $5.25
   Jackee               Walker                                   $13.91
   James                Walker                                    $5.40
   Kurt                 Walker                                    $8.95
   Lynn                 Walker                                   $28.20
   Norman               Walker                                    $1.70
   Philip               Walker                                  $663.85
   Quinn                Walker                                  $100.00
   Suzanne              Walker                                   $37.85
   Kathy                Wall                                      $0.70
   Leslie               Wall                                     $16.70
   Robert               Wall                                     $11.70
   Andy                 Wallace                                 $200.00
   Brook                Wallace                                  $13.56
   Cheryl               Wallace                                  $23.05
   Hannah               Wallace                                 $500.00
   Julie                Wallace                                  $47.10
   Katharine            Wallace                                 $139.30
   Kelsey               Wallace                                 $348.30
   Lori And Stan        Wallace                                  $69.30
   Mannon               Wallace                                  $38.20
   Phillippe            Wallace                                   $1.15
   Regina               Wallace                                  $83.60
   Robby                Wallace                                   $4.55
   Scott                Wallace                                  $50.00
   Sommer               Wallace                                  $10.10
   Anne                 Walling                                  $52.65

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Lauren               Wallins                                  $7.75
   Holly                Wallis                                 $157.40
   Diana                Walls                                   $25.00
   Carol                Walovich                               $100.00
   Kate                 Walrath                                  $5.75
   Meredith             Walsey                                  $24.15
   Adam                 Walsh                                    $0.01
   Alisa                Walsh                                    $8.95
   Amy                  Walsh                                   $36.15
   Anna                 Walsh                                    $3.55
   Daniel               Walsh                                   $46.34
   Eileen               Walsh                                  $157.61
   Erica                Walsh                                   $70.08
   Erin                 Walsh                                  $111.00
   Laura                Walsh                                   $50.00
   Laura                Walsh                                    $1.55
   Mary                 Walsh                                   $17.95
   Michael              Walsh                                  $151.05
   Thomas               Walsh                                   $16.70
   Tracy                Walsh                                   $62.15
   Elizabeth            Walter                                   $7.83
   Jeff                 Walter                                  $24.15
   Lauren               Walter                                  $72.60
   Jen                  Walter-Ballantyne                        $2.10
   Alexander            Walters                                  $1.20
   Katherine            Walters                                 $63.05
   Kathryn              Walters                                  $3.30
   Kimberly             Walters                                  $2.10
   Lindsay              Walters                                 $75.00
   Mandy                Walters                                 $15.84
   Monica               Walters                                 $39.78
   Shane                Walters                                  $0.48
   Chris                Walti                                    $4.07
   Cassie               Waltman                                 $50.00
   Georgia              Walton                                 $161.95
   Jeffrey              Walton                                   $8.95
   Joanne               Walton                                   $6.85
   Craig                Waltz                                  $150.00
   Karen                Waltz                                   $35.10
   Jennifer             Walwark                                $100.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Michael              Walz                                    $10.15
   Cecelia              Wambach                                 $12.15
   Kenton               Wan                                    $124.23
   Monica               Wan                                     $12.75
   Angela               Wanderer                                $89.75
   Adam                 Wandy                                    $9.48
   Aaron                Wang                                    $63.20
   Alan                 Wang                                   $100.00
   Alice                Wang                                    $50.00
   Andrew               Wang                                   $110.69
   Angela               Wang                                     $8.95
   Ann                  Wang                                    $50.00
   Austin               Wang                                    $32.31
   Constance            Wang                                     $7.20
   Ellen                Wang                                   $150.00
   Elsie                Wang                                     $0.71
   Erica                Wang                                    $11.32
   Henry                Wang                                     $4.65
   Jianpu               Wang                                   $100.00
   Joellen              Wang                                     $0.45
   Lawrence             Wang                                    $41.70
   Leo                  Wang                                    $39.20
   Melissa              Wang                                     $9.25
   Michael              Wang                                   $151.50
   Nancy                Wang                                   $337.07
   Raincat              Wang                                     $0.76
   Serene               Wang                                    $18.36
   Sherry               Wang                                    $17.00
   Sherry               Wang                                     $8.15
   Teresa               Wang                                     $7.15
   Wei-Ying             Wang                                    $52.70
   Yoshiko              Wang                                     $1.20
   Novatila             Wangili                                  $6.20
   Nilesh               Wani                                    $50.88
   Sarita               Wanichpan                               $46.10
   Aaron                Wansch                                  $12.10
   Meagan               Wansong                                  $2.43
   Blake                Warbington                               $3.00
   Susan                Warburg                                $166.25
   Colin                Ward                                   $103.40

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Katherine            Ward                                    $30.00
   Lela                 Ward                                    $59.51
   Lisa                 Ward                                    $13.05
   Matt                 Ward                                    $45.75
   Michelle             Ward                                    $30.18
   Tracey               Ward                                    $91.51
   Anusheh              Warda                                    $1.55
   Marcee               Wardell                                  $0.40
   Christine            Warden                                  $46.25
   Eric                 Wardisko                                $14.14
   Jessica              Ware                                     $9.60
   Elisabeth            Waring                                   $0.16
   Amy                  Warkentin                                $0.25
   Diane                Warkentin                               $34.21
   Ellen                Warner                                  $20.05
   Grant                Warner                                   $4.67
   Katie                Warner                                   $4.95
   Miya                 Warner                                  $13.35
   Sierra               Warner                                  $10.70
   Stacey               Warner                                  $52.70
   Suzannne             Warner                                  $49.75
   Cherie               Warren                                   $2.34
   Megan                Warren                                  $59.65
   Meredith             Warren                                   $6.35
   Patrick              Warren                                   $2.70
   Sandy                Warren                                  $27.22
   Sheila               Warren                                  $45.00
   Katie                Warrener                                $19.65
   Clarice              Warrick                                 $45.35
   Mary Ann             Warrington                              $14.05
   Mike                 Warshaw                                $202.10
   Judith               Washburn                                $47.62
   Betty                Washington                              $12.55
   Samuel               Washington                               $1.05
   Sheena               Washington                               $2.21
   Tomasz               Wasilczyk                               $83.10
   Jessica              Wasse                                    $5.94
   Clare                Wasserman                                $0.10
   Gregory              Wasson                                  $18.18
   Gina                 Wassyng                                 $28.12

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Evan                 Watanabe                                $50.00
   Samantha             Waterhouse                               $4.70
   Clare                Waterloo                               $130.05
   Cindy                Waters                                  $84.15
   Rachel               Waters                                   $7.13
   Una                  Waters                                 $261.40
   Joanne               Wathen                                 $225.00
   Harrison             Watkins                                 $33.00
   Susan                Watkins                                 $80.25
   Clarice              Watson                                   $6.85
   Jennifer             Watson                                   $1.06
   Karolina             Watson                                   $5.10
   Nicole               Watson                                 $473.12
   Mindee               Watt                                     $0.65
   Alan                 Watters                                 $53.77
   Mark                 Watters                                 $89.30
   Joanna               Watterson                              $112.66
   Rachel               Wattier                                 $37.80
   Ashley               Watts                                   $19.15
   Devon                Watts                                  $770.70
   Julie                Watts                                  $179.66
   Keith                Watts                                   $75.20
   Robert               Watts                                    $3.88
   Thomas               Watts                                    $4.44
   Britney              Waugh                                   $72.70
   Sarah                Waxman                                 $130.40
   Isaac                Way                                     $10.40
   Clay                 Wayman                                 $100.00
   Haley                Wayne                                    $8.95
   Kathryn              Wayne                                    $0.15
   Ron                  Wayne                                  $885.73
   Meghan               Wdowski                                $109.25
   Barbara              Weatherly                                $2.25
   Danielle             Weaver                                  $10.05
   Evan                 Weaver                                   $6.75
   Koko                 Weaver                                   $7.30
   Sharon               Weaver                                   $0.65
   Thomas               Weaver                                  $50.00
   Bobbie               Webb                                    $20.80
   Brad                 Webb                                    $84.51

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Darlene              Webb                                    $6.05
   Dawn                 Webb                                    $0.20
   Jen                  Webb                                   $50.00
   Karen                Webb                                   $52.30
   Michael              Webb                                    $1.24
   Nora                 Webb                                    $4.20
   Peter                Webb                                    $0.30
   Rachel               Webb                                   $25.55
   Tycine               Webb                                   $50.00
   David                Webber                                 $50.00
   Lindsay              Webb-Peploe                            $34.50
   Jessica              Weber                                  $39.40
   Julie                Weber                                  $33.75
   Kate                 Weber                                  $22.40
   Kelsey               Weber                                  $20.00
   Marla                Weber                                  $72.32
   Mirelle              Weber                                   $5.40
   Rebecca              Weber                                  $19.75
   Sarahjdefreitas      Weber                                  $17.58
   Jordan               Webster                                 $1.35
   Lauren               Webster                               $113.45
   Shaun                Webster                                $18.85
   Yasmin               Webster-Woog                           $40.00
   Jenny                Weddle                                  $2.50
   Claire               Wedekin                                 $8.95
   G                    Wedemeyer                              $12.10
   Cicely               Wedgeworth                             $19.20
   Margaret             Weeks                                  $27.39
   Shannon              Weeks                                 $107.05
   Beth                 Weesner                                 $0.65
   Jesse                Weglein                                $54.15
   Christina            Wegner                                  $3.00
   Kendra               Wehmeyer                               $22.15
   Sunna                Wehrmeijer                              $8.95
   David                Wei                                    $44.46
   Isabella             Wei                                     $0.70
   Joyce                Wei                                   $113.40
   Lynn                 Weichert                               $57.20
   Jess                 Weida                                 $237.89
   Kris                 Weidenbach                             $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Christi              Weidling                               $37.10
   Nicole               Weigel                                 $30.90
   Peter                Weight                                $169.45
   Laurel               Weil                                    $6.60
   Mike                 Weil                                   $30.80
   Kate                 Weiland                                $29.50
   Lian                 Weiland                                $18.38
   Shanni               Weilert                                $19.35
   Claire               Weinberg                               $17.97
   Leigha               Weinberg                               $79.85
   Nhu                  Weinberg                               $54.85
   Ashley               Weiner                                 $28.05
   Carolyn              Weiner                                 $28.10
   Elizabeth            Weiner                                 $11.15
   Jeffrey              Weiner                                  $2.20
   Mairin               Weiner                                 $75.00
   Mairin               Weiner                                  $1.30
   Rebecca              Weiner                                  $6.20
   Sarah                Weiner                                 $45.75
   Shay                 Weiner                                 $16.50
   Neal                 Weingart                               $58.25
   Valerie              Weingarten                             $23.85
   Serena               Weingrod                               $48.65
   Alicia               Weinman                               $400.00
   Judy                 Weinreich                               $0.05
   Bill                 Weinstein                              $31.80
   Joshua               Weinstein                             $170.15
   Kate                 Weinstein                               $2.48
   Rachel               Weinstein                               $5.10
   Sarina               Weinstein                              $84.85
   Susan                Weinstein                             $450.00
   Gerald               Weintraub                               $2.15
   Chris                Weir                                    $0.60
   Jamie                Weir                                    $0.37
   Melina               Weir                                   $29.55
   Melissa              Weir                                   $49.45
   Elizabeth            Weir Burke                             $12.83
   Alexi                Weirich                               $215.95
   Roni                 Weisberg-Ross                           $5.65
   Jane                 Weisbin                                $10.75

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Whitney              Weisel                                  $2.45
   Julia                Weisenburger                           $35.00
   Seth                 Weisfeld                              $102.52
   David                Weiskopf                                $1.80
   Adam                 Weiss                                   $4.55
   Eric                 Weiss                                 $150.00
   Evan                 Weiss                                 $153.60
   Howard               Weiss                                  $50.00
   Jennifer             Weiss                                  $50.00
   Kimberly             Weiss                                  $85.15
   Scott                Weiss                                   $1.25
   Todd                 Weiss                                 $250.00
   Courtney             Weissensee                             $15.27
   Cybele               Weisser                                $26.35
   Erika                Weissinger                             $96.30
   Heather              Weissman                               $49.35
   Jacquelyn            Weitz                                   $0.34
   Freda                Weitzer                                $50.00
   Michael              Weitzner                               $18.06
   Dan                  Wekselgreene                           $15.25
   Jennifer             Wekselgreene                           $27.00
   Caryl                Welborn                                $88.55
   Lisa                 Welborn                               $220.45
   Andrew               Welch                                  $22.65
   Katherine            Welch                                  $40.00
   Lindsey              Welch                                 $100.00
   Rhiannon             Welch                                 $126.00
   Ryan                 Welch                                   $4.70
   Mary                 Welday                                $395.18
   Linda                Weldele                                 $1.40
   Liz                  Weldon                                 $12.90
   Patrick              Weldon                                 $18.45
   Danielle             Welihozkiy                             $14.20
   Melanie              Wellbeloved                             $6.45
   Luz                  Wellington                             $17.10
   Rocio                Wellington                             $65.65
   Josh                 Wellman                                $18.33
   Amy                  Wells                                  $12.70
   Jenna                Wells                                   $2.90
   Jordan               Wells                                   $2.15

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Julie                Wells                                   $1.00
   Matt                 Wells                                  $19.81
   Joshua               Welt                                  $171.35
   Matthew              Welt                                   $45.79
   Brian                Welty                                   $7.40
   Cheryl               Wen                                    $25.54
   Cindy                Wen                                    $11.84
   Danielle             Wendel                                  $8.95
   Lyllian              Wendroff                               $30.45
   Sara                 Wener                                   $1.55
   Jonathan             Weng                                  $100.00
   Robert               Wenger                                  $5.40
   Tammy                Wensko                                 $50.00
   Dean                 Wenstrand                              $29.60
   Doris                Wenters                                $33.60
   Briana               Wentworth                               $0.28
   Maria                Wentworth                               $2.60
   Wizz                 Wentworth                              $25.00
   Erin                 Wentzien                              $140.45
   Abigail              Wenz                                  $191.05
   Carolyn              Wenzl                                  $51.03
   Patricia             Weott                                  $16.20
   Deb                  Wepman                                  $3.75
   Andrew               Werbrock                               $50.00
   Wendy                Werder                                 $50.00
   Shawna               Werle                                  $10.00
   Am√©Lie              Werner                                 $33.07
   Anke                 Werner                                  $5.95
   Gretchen             Werner                                 $34.65
   Megan                Werner                                 $45.80
   Randy                Werner                                $248.27
   Ruth                 Werner                                  $2.00
   Rebekah              Werth                                  $98.00
   Robert               Wertz                                  $20.00
   Breena               Wescott                                $69.20
   Chauncey             Wesley                                 $29.90
   Lisa                 Wesley                                  $2.30
   Norma                Wesley                                  $1.40
   Alexandra            Wessel                                  $0.35
   Jane                 West                                   $27.75

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Jesse                West                                    $69.95
   Jill                 West                                     $7.70
   Judy                 West                                    $70.57
   Kate                 West                                   $100.00
   Kimberly             West                                   $209.74
   Lindsay              West                                     $2.86
   Lucy                 West                                    $64.16
   Mary                 West                                     $2.70
   Michael              West                                    $31.15
   William              West                                    $58.34
   Erin                 Westen                                 $131.87
   Cooper               Westendarp                              $27.41
   Icy                  Westerdal                               $72.95
   Kim                  Westerman                               $19.30
   Lauren               Westfall                                $84.20
   Gabe                 Westmaas                               $441.90
   Lynn                 Westphal                                $12.20
   Shireen              Wetmore                                $485.87
   Madeline             Wetta                                   $82.10
   Erica                Wetter                                   $1.09
   Curt                 Wetzel                                  $68.90
   Michelle             Wetzler                                 $36.85
   Ryan                 Wevers                                  $10.95
   Dan                  Whalen                                   $5.15
   Dee                  Whalen                                  $22.45
   Jen                  Whalen                                  $18.30
   Tom                  Whalen                                  $77.60
   Andrew               Whang                                  $159.74
   Jennie               Whang                                    $2.25
   Gabrielle            Wheatley                                $28.95
   Chris                Wheeler                                 $11.11
   Cyndi                Wheeler                                $115.48
   Dawn                 Wheeler                                 $25.15
   Jaime                Wheeler                                $160.00
   Katrin               Wheeler                                  $0.05
   Melissa              Wheeler                                  $0.20
   Michael              Wheeler                                  $9.29
   Ross                 Wheeler                                 $22.08
   Valerie              Whetstone                              $250.00
   Daria                Whettam                                $157.48

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Judson               Whigham                                $64.85
   Teresa               Whinery                                 $0.25
   Sandra               Whipple                                $51.65
   Charles              Whisenhunt                              $1.56
   Matt                 Whisenhunt                              $1.35
   Victoria             Whisman                                $30.30
   Cullan               Whitaker                                $5.05
   Rowena               Whitaker                                $1.60
   Tana                 Whitaker                               $50.00
   Camille              Whitcomb                                $1.01
   Dan                  Whitcomb                                $1.45
   Erin-Kate            Whitcomb                                $3.45
   Alison               White                                 $100.00
   Ben                  White                                  $45.10
   Chelsea              White                                  $24.60
   Christina            White                                   $3.00
   David                White                                 $297.35
   David                White                                   $0.16
   Dulce                White                                  $17.99
   Emily                White                                  $87.20
   Erika                White                                  $24.65
   Jennie               White                                  $80.00
   Julie                White                                 $100.00
   Katy                 White                                  $62.05
   Kevin                White                                   $3.65
   Kristen              White                                  $12.95
   Kristen              White                                   $2.80
   Leah                 White                                   $7.62
   Maggie               White                                  $13.65
   Phoebe               White                                   $0.34
   Rebecca              White                                  $22.32
   San                  White                                   $1.75
   Star                 White                                  $69.00
   Susan                White                                   $0.10
   William              White                                  $39.45
   Yvette               White                                  $50.32
   Pauline              White Meeusen                           $0.49
   Chelene              Whiteaker                               $7.90
   Suriyun              Whitehead                               $5.95
   Melissa              Whitehouse                            $104.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Sivan                Whiteley                               $48.35
   Jerryan              Whiteman                                $5.30
   Molly                Whiteman                               $66.36
   Michael              Whiteshoes                             $20.00
   Abby                 Whiteside                             $128.66
   Emma                 Whitfield                               $5.15
   Stephanie            Whitfield                              $47.18
   John                 Whitford                               $19.60
   Whitney              Whitford                               $58.60
   Crenshaw             Whitley                                $49.55
   Jj                   Whitlinger                              $1.05
   Jacquie              Whitlock                               $34.35
   Matt                 Whitlock                               $32.81
   John                 Whitmer                                $50.00
   Roger                Whitmer                               $157.20
   Carrie               Whitmore                               $25.10
   Bob                  Whitney                                 $8.39
   Neil                 Whitney                                $18.20
   Dean                 Whittaker                               $8.55
   Elizabeth            Whittaker                             $250.00
   Kevin                Whittaker                               $2.89
   Airon                Whitt-De G                            $114.10
   Don                  Whittemore                             $50.00
   Amber                Whittier                                $2.45
   Sam                  Whittle                               $128.55
   Kevin                Wibg                                  $100.00
   Elena                Wible                                  $50.00
   Ann                  Wicker                                  $1.65
   Andrea               Wickremasinghe                         $10.15
   Alice                Wicks                                  $75.00
   Simon                Wicks                                 $429.95
   Kimberly             Wicoff                                 $51.35
   Kristin              Widergren                              $72.20
   Elisa                Widjaja                                 $0.35
   Caroline             Widman                                  $5.20
   David                Wiechers                                $2.25
   Karen                Wiederholt                             $74.70
   Michael              Wiehn                                  $44.82
   Jaimey               Wiener                                  $9.15
   Sharon               Wiener                                 $20.05

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Sandy                Wienholz                                 $0.75
   Jenni                Wight                                   $26.85
   Jenni                Wight                                   $50.00
   Jessica              Wijesekera                             $100.00
   Sarah                Wikander                                $11.95
   Debbie               Wilber                                  $15.20
   Julie                Wilcox                                 $535.61
   Shyla                Wilcynski                                $6.87
   Cheri                Wild                                     $0.12
   Katrin               Wilde                                  $100.00
   Lindsey              Wilde                                   $13.10
   Michela              Wilde                                    $3.70
   Amy                  Wilder                                 $166.10
   Jordan               Wilder                                 $175.00
   Kelli                Wilder                                  $16.50
   Suzanne              Wildey                                  $24.60
   Julie                Wilensky                                 $1.66
   Ilana                Wiles                                   $16.06
   Alexa                Wiley                                   $55.40
   Bart                 Wiley                                   $12.58
   Deane                Wiley                                  $146.83
   Erin                 Wiley                                    $0.30
   Jamie                Wiley                                   $50.00
   Katie                Wiley                                   $54.70
   Patrick              Wiley                                   $30.05
   Erin                 Wilfong                                  $0.20
   Eric                 Wilford                                 $74.05
   Shaw                 Wilhelm                                 $50.00
   Kevin                Wilhelmsen                               $0.93
   Tori                 Wilhelmsen                               $2.85
   Emaleigh             Wilhite                                $148.81
   Karen                Wilhoyte                                $69.15
   J                    Wilk                                    $57.90
   Jennifer             Wilka                                   $16.60
   Rachel               Wilka                                    $3.34
   Jennifer             Wilkin                                 $205.08
   Crystal              Wilkinson                                $4.10
   Freddi               Wilkinson                              $205.80
   Jackson              Wilkinson                               $23.65
   Michaela             Wilkinson                               $46.75

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   Buyer First Name       Buyer Last Name           Gift Card Amount
   Simon                  Wilkinson                               $58.65
   Jennifer               Wilkoff                                  $0.30
   Oz                     Wilks                                   $66.80
   Brian                  Will                                     $4.25
   Sari                   Will                                    $67.56
   Kerri                  Willa                                   $27.35
   Meredith               Willa                                   $13.60
   Erin                   Willard                                 $21.50
   Jess                   Willard                                 $12.50
   Christine              Willemsen                                $4.60
   Lisa                   Willett                                 $44.30
   Simone                 Willett                              $5,938.09
   Mayumi                 Willgerodt                               $0.02
   Verhanika              Willhelm                              $182.35
   Alison                 Williams                              $250.00
   Ashley                 Williams                                $86.97
   Brianna                Williams                              $100.00
   Brittany               Williams                                 $8.95
   Caren                  Williams                                $30.60
   Christina              Williams                                $87.10
   Christine              Williams                                 $5.65
   Danielle               Williams                                $40.00
   Darrolyn               Williams                                 $2.50
   David                  Williams                                 $2.25
   Dodge                  Williams                                $74.15
   Dorothy                Williams                                 $1.35
   Erika                  Williams                                $11.27
   Esther                 Williams                                 $3.60
   Greg                   Williams                                 $6.05
   Jacqueline             Williams                                 $0.95
   Jared                  Williams                                 $2.15
   Jessica                Williams                                $56.20
   Jessie & Tom           Williams                                 $0.05
   Jill                   Williams                                $59.15
   Judith                 Williams                                $20.75
   Kenneth                Williams                                $46.31
   Kirsty Elizabeth Ann   Williams                                $51.20
   Kyontae                Williams                                $50.00
   Lara                   Williams                                $40.20
   Lesley                 Williams                                 $2.75

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Liliana              Williams                                $50.00
   Lori                 Williams                                $35.40
   Melanie              Williams                               $100.00
   Michael              Williams                                $50.00
   Monica               Williams                               $130.10
   Nancy                Williams                                $25.20
   Nari                 Williams                                 $5.72
   Nicole               Williams                                $44.50
   Pete                 Williams                                $42.70
   Rehema               Williams                                 $2.65
   Stacy                Williams                                 $3.60
   Tad                  Williams                                $34.04
   Tiffany              Williams                                 $3.30
   Timothy E.M.         Williams                                $26.80
   Blair                Williamson                               $7.95
   David                Williamson                             $688.30
   Fumiko               Williamson                              $48.95
   Jenevieve            Williamson                              $93.65
   Suzanne              Williamson                              $33.40
   Bart                 Willis                                  $59.30
   Lisa                 Willis                                   $3.55
   Madeline             Willman                                  $0.65
   Denise               Willmes                                  $0.05
   Anne                 Willson                                 $32.90
   Julie                Wilner                                  $34.69
   Rachel               Wilner                                   $5.15
   Alex                 Wilson                                  $12.35
   Alexandra            Wilson                                 $100.00
   Alicia               Wilson                                 $100.26
   Amanda               Wilson                                   $4.10
   Angela               Wilson                                 $187.86
   April                Wilson                                  $31.72
   Ashley               Wilson                                   $8.95
   Bill                 Wilson                                  $12.15
   Bronwen              Wilson                                   $4.90
   Brooke               Wilson                                  $65.05
   Cindy                Wilson                                 $215.65
   Elena                Wilson                                   $8.40
   Emily                Wilson                                  $10.41
   Gayle                Wilson                                  $27.25

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Hallie               Wilson                                 $97.23
   Hanna                Wilson                                 $13.20
   Jaron                Wilson                                  $2.30
   Jennifer             Wilson                                $205.40
   Julia                Wilson                                  $4.25
   Julie                Wilson                                 $18.22
   Karen                Wilson                                 $23.05
   Katie                Wilson                                $273.90
   Kendall              Wilson                                  $1.35
   Kevin                Wilson                                 $50.00
   Kristina             Wilson                                $243.16
   Lawrence             Wilson                                  $3.20
   Lindsey              Wilson                                 $27.85
   Maria                Wilson                                 $18.35
   Marisa               Wilson                                $178.20
   Mark                 Wilson                                 $50.00
   Marlinda             Wilson                                 $39.65
   Matt                 Wilson                                  $3.30
   Michaeli             Wilson                                 $21.97
   Nicholas             Wilson                                $100.00
   Reed                 Wilson                                 $36.15
   Sarah                Wilson                                  $9.00
   Sarah                Wilson                                 $92.91
   Savannah             Wilson                                  $0.84
   Scott                Wilson                                  $2.55
   Shannon              Wilson                                  $0.45
   Stacey               Wilson                                 $37.12
   Stephanie            Wilson                                  $0.81
   Steve                Wilson                                  $5.70
   Steven               Wilson                                 $16.00
   Wanda                Wilson                                  $2.88
   Will                 Wilson                                 $55.47
   William              Wilson                                 $25.00
   Nick                 Wilson-Codega                           $1.92
   Martha               Wiltamuth                             $250.00
   Erica                Wiltermuth                             $15.01
   Ethan                Wimert                                 $54.00
   Jacqueline           Win                                     $4.90
   Jeanie               Win                                    $50.00
   James                Windeler                               $22.85

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Caroline             Windell                                 $24.15
   Jenille              Winder                                  $29.05
   Lesley               Windham                                $236.70
   Kinnereth            Winegarner                               $0.05
   Brian                Wines                                   $15.60
   Wesley               Wing                                    $43.38
   Ariel                Winger                                  $31.59
   Beth                 Winger                                  $27.50
   Emily                Wingo                                    $0.35
   Diva                 Winje                                   $17.85
   Brittni              Winkelman                               $69.65
   Erica                Winkelman                               $30.11
   Caroline             Winkie                                  $20.64
   Adam                 Winkleman                               $12.25
   Ji                   Winkler                                 $58.10
   Mike                 Winlo                                    $9.65
   Jennifer             Winn                                    $35.65
   Doug                 Winnie                                 $210.65
   Jane                 Winslow                                 $50.00
   Erin                 Winston                                  $1.20
   Sarah                Winter                                  $40.00
   Max                  Wintermark                               $8.11
   Jennifer             Winters                                $145.25
   Nadia                Winters                                $100.00
   Shelley              Winters                                 $75.00
   David                Winton                                  $86.35
   Anne                 Wintroub                                $18.75
   Charles              Wirth                                  $100.00
   Chelsea              Wirtz                                   $14.96
   Shannah              Wischik                                 $38.59
   Jennifer             Wisdom                                   $0.35
   Kacie                Wise                                    $35.47
   Karen                Wise                                    $21.60
   Laura                Wise                                   $134.95
   Linda                Wise                                     $3.40
   Mark                 Wise                                    $85.81
   Tracy                Wiseman                                 $10.05
   Barbara              Wismer                                 $417.20
   Jeremy               Wismer                                   $1.90
   Tim                  Wisniewski                              $32.25

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Stacey               Wisnom                                  $17.45
   Kelly                Wissolik                                 $8.70
   Adam                 Witherspoon                            $150.00
   Liz                  Witherspoon                            $265.64
   Kathryn              Withycombe                             $126.85
   Debra                Witkowsky                                $1.13
   Irmgard              Witte                                    $8.40
   Carla                Wittenberg                               $1.90
   Harry                Wittenberg                             $114.45
   Meghan               Wittich                                 $65.85
   Abby                 Wittman                                  $9.90
   Joanne               Wixon                                    $0.50
   Benny                Wizansky                                 $0.25
   Kirsten              Wlaschin                                 $9.02
   Jessica              Woersching                               $7.70
   John                 Wohlfarth                               $30.25
   Brinden              Wohlstattar                             $65.40
   Chelsa               Wojciakowski                             $1.08
   Katie                Wojnoonski                               $0.30
   Elizabeth            Wolcott                                 $36.27
   Catherine            Wold                                    $26.00
   Rahhel               Woldu                                   $13.01
   Brandee              Woleslagle Blank                         $1.55
   Annette              Wolf                                   $229.99
   Barbara              Wolf                                    $20.14
   Catherine            Wolf                                   $100.50
   Danny                Wolf                                    $79.70
   Dc                   Wolf                                    $26.38
   Eva                  Wolf                                   $295.97
   Lauren               Wolf                                    $31.40
   Maria                Wolf                                     $1.65
   Marion               Wolf                                    $36.55
   Nathaniel            Wolf                                    $50.00
   Shaye                Wolf                                     $0.80
   Becky                Wolfe                                   $50.00
   Elysa                Wolfe                                    $8.92
   Joyce                Wolfe                                    $4.10
   Kathryn              Wolfe                                   $61.85
   Rebeca               Wolfe-Balbuena                         $100.00
   Erica                Wolff                                   $31.31

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Nicole               Wolff                                  $56.20
   Nicole               Wolfgram                              $105.25
   Ian                  Wolfley                                 $0.30
   Amy                  Wolfrum                                $91.01
   Molly                Wolfsehr                               $13.95
   Sandy                Wolger                                $150.00
   Rick                 Wolin                                  $31.05
   Anna                 Wolitzky                              $100.00
   A                    Wolter                                  $4.06
   Lisa                 Wolters                               $198.31
   Andy                 Wolverton                               $5.96
   Gina                 Won                                    $96.67
   Alex                 Wong                                    $9.50
   Alice                Wong                                   $29.50
   Amy                  Wong                                    $0.18
   Angela               Wong                                    $7.85
   Angela               Wong                                    $0.15
   Anna                 Wong                                   $97.55
   Art                  Wong                                   $40.50
   Beatrice             Wong                                    $0.51
   Beth                 Wong                                   $51.75
   Brenda               Wong                                  $150.00
   Brenda               Wong                                   $46.75
   Caitlin              Wong                                    $7.25
   Carmen               Wong                                    $6.20
   Catherine            Wong                                  $154.10
   Chihunt              Wong                                    $8.95
   Chris                Wong                                   $14.90
   Cynthia              Wong                                  $132.10
   Edward               Wong                                   $29.50
   Edward               Wong                                   $23.05
   Elise                Wong                                    $5.40
   Ella                 Wong                                   $67.24
   Felix                Wong                                    $8.95
   Garrick              Wong                                  $250.00
   Gayle                Wong                                    $5.65
   Gerrye               Wong                                    $3.70
   Ginny                Wong                                    $2.00
   Holly                Wong                                  $250.00
   Irene                Wong                                    $8.95

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Jaclyn               Wong                                   $49.68
   Jacquelyn            Wong                                   $22.90
   Jamie                Wong                                    $5.30
   Jennie               Wong                                    $0.02
   Jennifer             Wong                                    $1.76
   Karen                Wong                                    $1.31
   Keith                Wong                                    $3.54
   Kevin                Wong                                    $2.20
   Kim                  Wong                                    $2.60
   Kimberly             Wong                                   $24.40
   Kristin              Wong                                   $74.15
   Ky-Yen               Wong                                   $59.30
   Lisa                 Wong                                    $5.60
   Melissa              Wong                                  $250.00
   Patricia             Wong                                    $1.00
   Peter                Wong                                   $73.60
   Phyllis              Wong                                  $100.00
   Raylan               Wong                                  $149.75
   Robin                Wong                                   $94.05
   Rose                 Wong                                    $3.21
   Sheldon              Wong                                   $13.03
   Shirley              Wong                                    $0.15
   Sophia               Wong                                    $7.99
   Stanley              Wong                                    $0.42
   Stella               Wong                                    $9.90
   Stephanie            Wong                                   $94.05
   Stuart               Wong                                   $28.75
   Sueanna              Wong                                  $150.00
   Susan                Wong                                  $145.52
   Tania                Wong                                   $78.55
   Thanh                Wong                                  $335.05
   Tricia               Wong                                   $19.15
   Vincent N            Wong                                    $0.35
   Wailing              Wong                                  $170.00
   Winchelle            Wong                                    $3.60
   Judy                 Wong-Chen                               $1.90
   Connie               Wong-Kondrick                          $83.55
   Carolyn              Wong-Woo                                $4.73
   Austin               Woo                                     $0.55
   Bob                  Woo                                    $50.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Christine            Woo                                     $1.11
   Cynthia              Woo                                    $26.55
   Heidi                Woo                                    $27.60
   Joanne               Woo                                     $0.73
   Kathy                Woo                                     $5.73
   Linda                Woo                                    $59.15
   Sarah                Woo                                    $37.80
   Tina                 Woo                                    $77.10
   Barbra               Wood                                    $6.95
   Brennan              Wood                                  $187.05
   Chellene             Wood                                    $0.35
   Dianne               Wood                                   $60.74
   Douglas              Wood                                   $63.99
   Eric                 Wood                                   $50.00
   Joel                 Wood                                    $8.60
   Judith V             Wood                                   $23.05
   Lesli                Wood                                    $5.75
   Matt                 Wood                                  $150.00
   Wesley               Wood                                    $0.40
   Ashley               Woodall                                 $7.33
   Diane                Woodall                                 $1.65
   Tess                 Woodall                                 $0.85
   Jessica              Woodall-Massey                        $101.30
   Susan                Woodard                                 $4.10
   Adam                 Woodbury                               $99.25
   Stephanie            Woodcox                                $15.95
   Stephen              Woodford                               $45.30
   Pat                  Woodley                                $10.86
   Lisa                 Woodrich                               $94.15
   Carlo                Woods                                 $150.00
   David                Woods                                   $3.95
   Holly                Woods                                   $2.35
   Kathryn              Woods                                  $54.80
   Kelsey               Woods                                  $55.20
   Kristin              Woods                                   $2.53
   Sean                 Woods                                 $274.10
   John                 Woodside                              $104.47
   Elana                Woodward                               $12.85
   Jason                Woodward                                $0.85
   Jesse                Woodward                              $130.70

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Kim                  Woodward                                 $0.10
   Susan                Woodward                                $10.05
   Stacy                Woodworth                                $0.10
   Mary Elizabeth       Woofter                                 $50.00
   Tom                  Wooldridge                              $15.90
   Leslie               Wooley                                   $6.00
   Tiffany              Woolf                                  $159.40
   Maggie               Wooll                                    $1.02
   Heather              Woollen                                 $64.35
   Pearl                Woon-Tai                                $43.55
   Heather              Wooten                                   $8.95
   Christian            Wopperer                                 $7.05
   Cynthia              Wordell                                 $17.90
   Stephanie            Worden                                   $0.35
   Lauren               World                                   $33.75
   Theodore             Worrall                                $139.70
   Brittany             Worth                                   $59.55
   Thaddeus             Wozniak                                 $69.20
   Danielle             Wrather                                  $0.40
   Debbie               Wredberg                               $160.36
   Ian                  Wren                                    $38.50
   Jean                 Wren                                   $101.07
   Emma                 Wrenn                                    $7.15
   Pat                  Wrenn                                   $50.00
   Adam                 Wright                                  $56.65
   Andrew               Wright                                 $126.00
   Caitrin              Wright                                  $45.35
   Chad                 Wright                                   $7.45
   Dan                  Wright                                   $3.25
   Erika                Wright                                 $114.47
   Heather              Wright                                  $74.96
   Jermon               Wright                                  $64.90
   Jesse                Wright                                  $26.15
   Joanna               Wright                                  $49.85
   Joanne               Wright                                 $500.00
   Jordan               Wright                                  $33.65
   Kaitlin              Wright                                  $56.98
   Katharine            Wright                                 $271.12
   Kelly                Wright                                  $50.00
   Kristiana            Wright                                 $100.00

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Meshawn              Wright                                  $5.03
   Nancy V.             Wright                                $191.65
   Nate                 Wright                                 $12.65
   Rachel               Wright                                $100.00
   Tara                 Wright                                 $89.75
   Victoria             Wright                                 $17.60
   Gillian              Wright-Cassone                          $8.25
   Jane                 Wrightson                              $60.55
   Hayley               Wrubel                                 $22.60
   Blake                Wu                                    $203.90
   Ellen                Wu                                      $0.15
   Eric                 Wu                                    $100.00
   Ethel                Wu                                     $31.15
   Grace                Wu                                    $338.11
   Heidi                Wu                                     $50.00
   Jamie                Wu                                      $2.15
   Janet                Wu                                     $84.10
   Jing-Fun             Wu                                     $20.20
   Joann                Wu                                      $9.21
   Judy                 Wu                                    $194.60
   Karen                Wu                                      $1.25
   Katherine            Wu                                      $8.95
   Kendall              Wu                                    $200.00
   Leon                 Wu                                     $37.91
   Mark                 Wu                                      $9.05
   Nini                 Wu                                      $0.35
   Ruth                 Wu                                     $26.10
   Sandy                Wu                                     $50.00
   Sonny                Wu                                      $0.30
   Terry                Wu                                      $0.65
   Walter               Wu                                     $14.20
   Wanzhen              Wu                                     $10.35
   Yikun                Wu                                      $8.15
   Monica               Wu Daughhetee                          $13.30
   Stacey               Wueste                                 $34.30
   Lory                 Wuethrich                               $4.34
   Bahareh              Wullschleger                           $25.15
   Lisa                 Wurtzel                               $984.34
   David                Wurzburg                               $32.55
   Susan                Wuthrich                               $31.90

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Susan                Wuthrich                                   $4.10
   Dawn                 Wyatt                                     $24.43
   Gina                 Wyatt                                     $19.65
   Shalayne             Wyatt                                      $5.60
   Willis               Wygant                                    $10.20
   Amy                  Wylde                                      $2.38
   Michaele             Wylde                                     $17.09
   Faye                 Wylder                                     $8.95
   Greg                 Wylie                                      $1.80
   Michele              Wymer                                     $49.55
   Emily                Wynns                                      $9.45
   Yasmin               Wyrick                                    $25.95
   Alan                 Wysling                                  $106.40
   Elizabeth            Wytychak                                   $0.74
   Christian            Xavier                                     $0.80
   Sushma               Xavier                                    $36.96
   Athena               Xenakis                                   $32.85
   Hui                  Xian                                      $27.75
   Rong                 Xiang                                      $0.55
   Bei                  Xiao                                      $25.00
   Jennifer             Xu                                         $2.65
   Kuai                 Xu                                        $72.30
   Mengle               Xue                                       $38.11
   Alex                 Xx                                       $100.00
   A                    Y                                         $11.77
   Sascha               Y                                         $57.60
   Timothy              Yaeger                                    $70.05
   Ben                  Yaffee                                    $23.60
   Kathleen             Yago                                      $10.65
   Bob                  Yakominich                                 $6.35
   Harsha               Yalamanchili                              $14.05
   Alice                Yam                                       $49.44
   Anne                 Yamada                                    $36.25
   Daryl                Yamamoto                                   $3.30
   Dorothy              Yamamoto                                   $8.95
   Joyce                Yamamoto                                 $174.10
   Stephanie            Yamamoto                                  $28.29
   Jordan               Yamashita                                $235.83
   Marrie               Yamashita                                 $50.00
   Michi                Yamashita                                  $2.54

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Alfred               Yan                                       $1.84
   Amanda               Yan                                       $4.30
   John                 Yan                                     $110.45
   Karen                Yan                                     $156.16
   Bin                  Yang                                      $0.80
   Chandra              Yang                                     $21.95
   Desiree              Yang                                      $4.12
   Elizabeth            Yang                                     $14.45
   Francis              Yang                                      $0.21
   Fred                 Yang                                    $380.00
   Grace                Yang                                      $0.95
   Jeni                 Yang                                     $21.59
   Nabee                Yang                                     $30.40
   Tien-An              Yang                                    $110.20
   Oren                 Yaniv                                    $47.05
   Gennady              Yanovsky                                $100.00
   Ryan                 Yanuss                                  $150.00
   Gabriella            Yao                                      $15.00
   Simo                 Yao                                       $0.57
   Tammy                Yao                                       $0.50
   Andrew               Yap                                     $150.00
   Annette              Yap                                     $110.05
   Christine            Yap                                     $150.00
   Ez                   Yap                                     $647.42
   Andy                 Yapp                                      $9.38
   Shelly               Yapp                                    $113.04
   Jennifer             Yarger                                   $37.69
   Sarah                Yarger                                    $9.40
   Debra                Yarnall                                  $18.25
   David                Yaroslavsky                             $100.00
   Lisa                 Yarrow                                    $8.15
   Omar                 Yassin                                    $3.95
   Makiko               Yasuda                                    $0.42
   Ellen                Yasumura                                 $32.80
   Gabrielle            Yates                                     $8.10
   Hope                 Yates                                    $69.70
   Allison              Yau                                       $6.47
   Karissa              Yau                                       $2.30
   Maayan               Yavne                                    $35.45
   Dave                 Yeap                                     $22.02

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Derek                Yecies                                 $56.80
   Naomi                Yedlosky                                $3.55
   Oscar                Yedra                                  $12.50
   Ben                  Yee                                    $58.25
   Brandon              Yee                                    $31.00
   Janice               Yee                                    $74.35
   Jordan               Yee                                   $100.00
   Megan                Yee                                    $41.10
   Olivia               Yee                                    $36.43
   Simon                Yee                                    $44.75
   Tanya                Yee                                   $138.45
   Thomas               Yee                                    $18.17
   Lisa                 Yeeles                                 $15.24
   Bryan                Yeh                                    $58.70
   Carol                Yeh                                     $0.69
   Jennifer             Yeh                                    $20.33
   Stephanie            Yeh                                    $60.00
   Victor               Yeh                                    $28.45
   Shabnam              Yekta                                  $23.70
   Sarita               Yeldandi                               $18.65
   Erica                Yelensky                                $6.25
   Jenny                Yelin                                  $12.15
   Aditya               Yelisetty                             $129.82
   Erica                Yen                                    $83.40
   Gina                 Yen                                    $41.20
   Kylene               Yen                                   $106.07
   Lulu                 Yen                                    $59.05
   Sandy                Yen                                     $2.85
   Tracy                Yen                                    $54.30
   Zoe                  Yentzer                                $14.80
   Michelle             Yeo                                     $4.60
   Melissa              Yep                                    $71.60
   Sarah                Yeregui                                $25.45
   Lisa                 Yergovich                               $0.10
   Greg                 Yermakov                               $49.48
   Jenn                 Yettke                                 $29.90
   Benjamin             Yeung                                   $2.10
   Cathy                Yeung                                 $131.81
   Richard              Yeung                                   $4.10
   Zo√´                 Yeung                                  $28.30

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   Buyer First Name     Buyer Last Name              Gift Card Amount
   Jane                 Yi                                         $39.20
   Serap                Yigit Elliott                              $15.53
   Grace                Yim                                       $150.00
   Alan                 Yin                                        $76.25
   Elaine               Yin                                       $107.40
   Carol                Ying                                       $21.59
   Anne                 Yip                                        $44.60
   Channing             Yip                                        $42.85
   Jason                Yip                                         $0.30
   Linda                Yip                                        $32.25
   Steve                Yob                                         $0.45
   Cheryl               Yochum                                      $8.95
   Ayal                 Yogev                                     $238.50
   Danielle             Yokell                                     $46.60
   Ryan                 Yokogawa                                    $1.05
   Ei-Lun               Yokomizo                                   $61.85
   Nathaniel            Yolles                                     $86.55
   Vanessa              Yonan                                      $49.30
   Tiffany              Yonts                                      $11.20
   Dave                 Yoo                                        $36.15
   Haeyoung             Yoon                                        $1.55
   Mary                 Yoon                                       $17.25
   Sarah                Yoon                                       $35.80
   Tacie                Yoon                                      $279.42
   Bron                 York                                      $100.00
   Caitlin              York                                       $30.15
   Rachel               York                                        $1.66
   Sarah                York                                       $80.10
   Frank                Yoshida                                    $39.48
   Koji                 Yoshida                                   $100.00
   Masumi               Yoshida                                    $40.00
   Megan                Yoshimura                                   $0.77
   David                Yosso                                     $115.25
   Amy                  Yotopoulos                                  $0.39
   Nina                 Youmans                                    $21.25
   Shannon              Youmans                                    $14.28
   Benjamin             Young                                       $2.39
   Braeden              Young                                      $47.25
   Denise               Young                                      $25.00
   Elizabeth            Young                                      $67.05

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Eve                  Young                                   $1.70
   Georgia              Young                                  $32.90
   Helena               Young                                   $6.90
   James                Young                                   $6.02
   Jennifer             Young                                   $8.13
   Katie                Young                                  $45.25
   Kelly                Young                                   $2.35
   Kirby                Young                                 $150.09
   Lauren               Young                                   $0.30
   Lindsey              Young                                  $58.15
   Lisa                 Young                                  $12.15
   Malila               Young                                   $5.95
   Marielle             Young                                  $29.48
   Marlene              Young                                  $12.05
   Marsha               Young                                   $0.65
   Mary                 Young                                  $10.11
   Matt                 Young                                  $77.15
   Rachel               Young                                  $50.00
   Rachel               Young                                  $19.70
   Raimi                Young                                  $32.45
   Rebecca              Young                                  $17.82
   Ryan                 Young                                 $188.75
   Samantha             Young                                 $188.15
   Sheryl               Young                                  $14.95
   Travis               Young                                  $74.85
   Courtney             Young-Law                               $4.60
   Sam                  Yount                                   $8.31
   Dabney               Youtz                                  $50.97
   Aria L               Yow                                    $16.80
   Bronzon              Yslas                                 $100.00
   Penny                Ysursa                                 $50.05
   Andrew               Yu                                      $6.05
   Brian                Yu                                      $0.65
   Carolina             Yu                                      $1.75
   Daniel               Yu                                     $58.65
   George               Yu                                    $113.15
   Gloria               Yu                                     $80.00
   Helen                Yu                                     $19.15
   Janet                Yu                                      $0.25
   Janet                Yu                                     $10.54

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Katherine            Yu                                      $1.25
   Lily                 Yu                                      $7.25
   Sunny                Yu                                     $20.90
   Tammy                Yu                                      $5.00
   Weijia               Yu                                      $0.75
   Winnie               Yu                                      $3.35
   Xinxin               Yu                                    $440.12
   Annie                Yuan                                    $0.96
   Betsy                Yuan                                  $200.00
   Sumiko               Yuan                                   $50.00
   Sylvia               Yuan                                    $3.10
   Terry                Yuan                                    $3.52
   Elaine               Yue                                     $3.35
   Kathy                Yuen                                  $100.15
   Sandy                Yuen                                   $18.20
   Anthea               Yugawa                                 $38.65
   Jae                  Yun                                     $8.95
   Yeri                 Yun                                     $2.19
   Thomas               Yunck                                   $0.25
   John                 Yupangco                               $40.35
   Kristina             Yuret                                   $0.31
   Eberly               Yvonne                                 $11.35
   Randy                Zabaneh                                $36.20
   George               Zabel                                   $0.10
   Maryia               Zabo                                    $1.10
   Priscilla            Zaccalini                              $12.15
   Hayleigh             Zachary                                 $1.30
   Rachelle             Zadigian                               $12.96
   Alexis               Zager                                  $55.10
   Ronald               Zagoria                                $39.20
   Alyssa               Zagorie                                $70.10
   Stephanie            Zaharias                               $67.61
   Heather              Zahiri                                  $0.35
   Paul                 Zaich                                  $10.65
   Sylvia               Zaich                                  $20.30
   Uwais                Zaid                                    $3.40
   Karen                Zak                                     $8.95
   Omar                 Zakaria                                 $2.35
   Gennadii             Zakusylo                                $8.95
   Lauren               Zalabak                                 $2.30

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   Buyer First Name     Buyer Last Name          Gift Card Amount
   Selin                Zalma                                  $10.28
   Christopher          Zaloumis                               $20.65
   Heidi                Zamora                                 $93.61
   Marlene              Zamora                                $100.00
   Nina Belle           Zamora                                 $77.55
   Olya                 Zamucen                                 $0.90
   Nash                 Zamzow                                 $46.40
   Alessandra           Zandi                                 $100.00
   Tia                  Zandona                                 $0.40
   Courtney             Zane                                   $13.35
   Lindsay              Zane                                    $7.25
   Emily                Zank                                    $1.60
   Joseph               Zanovitch                              $50.00
   Megan                Zapala                                 $14.60
   Paul                 Zaporteza                              $42.05
   Nick                 Zappas                                 $14.55
   Shannon              Zaragoza                               $10.80
   Angelica             Zarate                                 $50.00
   Brenda               Zarate                                $150.00
   Devin                Zarkowsky                               $2.65
   Geraldine            Zaroukian                               $3.96
   Liz                  Zarr                                   $16.27
   Diana                Zaslaw                                 $50.00
   Naomi                Zaul                                   $18.20
   Esau                 Zavala                                 $13.00
   Roman                Zawodny                                 $4.28
   Ekaterina            Zdorov                                 $21.95
   Justin               Zealand                                 $9.60
   Jesica               Zebouah                                $26.25
   Jerry                Zee                                    $50.00
   Regan                Zeebuyth                              $114.39
   Jasmin               Zeger                                   $3.20
   Margie               Zeiger                                 $40.01
   Amy                  Zeigler                                $79.17
   Sanford              Zeigler                                 $0.30
   Elizabeth            Zeiter                                  $0.75
   Monica               Zeitzer                                $34.15
   Katie                Zejdlik                                $12.09
   Melanie              Zeldin                                  $0.80
   Jimmy                Zelinskie                              $50.00

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   Buyer First Name     Buyer Last Name           Gift Card Amount
   Brandon              Zell                                   $220.85
   Cara                 Zeller                                  $16.15
   Danaa                Zellers                                  $6.05
   Laura                Zellmer                                $100.00
   Rebecca              Zelo                                     $0.26
   Mara                 Zemon                                   $93.50
   Angel                Zeng                                    $82.20
   Lisa                 Zengel                                   $1.35
   Bertoldo             Zepeda                                 $100.00
   Norma                Zepeda                                   $6.65
   Darlene              Zertuche                                 $8.30
   Rubina               Zertuche-Tarrant                         $3.00
   George               Zetina                                   $2.50
   Lili                 Zetina                                   $0.25
   Bonnie               Zhang                                    $0.90
   Jiajia               Zhang                                   $25.00
   Mike                 Zhang                                    $8.95
   Stephie              Zhang                                   $31.30
   Brandon              Zhao                                     $0.43
   Brendan              Zhao                                    $25.75
   Judy                 Zhao                                     $0.04
   Chase                Zheng                                    $0.70
   Jenny                Zheng                                   $49.20
   Binghui              Zhong                                   $10.05
   Amy                  Zhou                                     $2.90
   Andrea               Zhou                                     $2.39
   Veronica             Zhou                                    $57.30
   Yuling               Zhou                                    $27.26
   Greg                 Zhovreboff                               $2.08
   Ethan                Zhu                                      $7.10
   Jasmine              Zia                                    $107.10
   Junia                Ziblay                                   $4.75
   Michelle             Zieglar                                  $3.91
   Michelle             Zieglar                                  $3.00
   Christina            Ziegler                                  $4.95
   Veronika             Ziegler                                 $42.59
   Vanessa              Zielke                                  $40.60
   Tyler                Ziemkowski                               $4.65
   Mark                 Ziffer                                  $72.31
   Laura                Zimbaldi                               $198.64

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   Buyer First Name     Buyer Last Name            Gift Card Amount
   Alicia               Zimbalist                                $66.70
   Rhonda               Zimberg-Lin                               $1.85
   Yaniv                Zimet                                    $15.80
   Andrew               Zimmerman                                $33.54
   Brooke               Zimmerman                                $17.46
   Eva                  Zimmerman                                 $5.60
   Matt                 Zimmerman                                 $4.72
   Steve                Zimmerman                                $14.75
   Gero                 Zimmermann                                $8.50
   Scott                Zimmermann                              $124.00
   Caroline             Zinchik                                  $15.25
   Vincent              Zinck                                   $100.00
   Andrew               Zingale                                 $250.00
   Joseph               Zinger                                   $13.50
   Marisa               Zink                                     $22.20
   Libby                Zinke                                    $47.32
   Mina                 Zinkosky                                 $12.89
   Claire               Zintak                                  $140.50
   Michael              Zipkin                                   $55.70
   Jill                 Zitnik                                   $16.19
   Nina                 Zivanovic                                 $5.85
   Rhiannon             Zivin                                    $22.35
   Amy                  Zlatoper                                $224.90
   Holly                Zoffoli                                   $1.45
   Afsaneh              Zolfaghari                                $3.40
   Beverly              Zoller                                    $8.30
   Allison              Zollinger                                $15.15
   Chrysann             Zongus                                   $14.15
   Lucy                 Zou                                       $9.45
   Niha                 Zubair                                    $6.12
   Kimia                Zucker                                  $108.30
   Stephanie            Zudekoff                                 $27.20
   Dan                  Zuehlsdorf                               $29.95
   Paul                 Zuhorski                                  $2.80
   Lorraine             Zullo                                   $105.45
   Leni                 Zumas                                    $66.10
   Sarah                Zumbiel                                   $9.30
   Jacqueline           Zummo                                     $5.35
   Ben                  Zumsteg                                  $50.00
   Matt                 Zumstein                                 $12.10

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   Buyer First Name     Buyer Last Name             Gift Card Amount
   Lauren               Zuniga                                    $32.80
   Sarah                Zuniga                                    $14.55
   Josh                 Zupan                                     $50.05
   Polina               Zvyagina                                   $0.65
   Maurice              Zwass                                     $50.00
   Jill                 Zweig                                     $10.65
   Raleigh              Zwerin                                    $78.85
   Katie                Zwicharowski                               $0.20
   Dena                 Zwingle                                   $43.60
   Sarah                Zwingman                                 $100.00
   Tiffany              Zychinski                                 $37.85
   Samantha             Zylberman                                  $1.70
   Gena                 Zyung                                    $100.00
   Bajgray                                                        $11.45
   Frdan                                                          $96.60
   Itsusjnl                                                       $27.90
   Jnk5625                                                        $54.25
   Kmkendr                                                        $15.78
   Marlyeiford                                                    $51.30
   Mbpb73                                                        $259.60
   Sashaindy                                                     $166.85
   Tcdanhof                                                       $12.20
   Victoi                                                         $50.00
   Total:                                                  $1,032,184.11




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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Pamela                           Abbes Atkins                         $25.00
  Johanna                          Abbinante                            $15.00
  Johanna                          Abbinante                            $10.00
  Julian                           Abdey                               $500.00
  Rigele                           Abilock                             $100.00
  Richard                          Absher                              $200.00
  Elissa                           Accardo                              $20.00
  Bev                              Achterhof                            $25.00
  Stacy                            Achuck                              $100.00
  Elinor                           Actipis                              $50.00
  Maya                             Adam                                 $60.00
  Daniel                           Adams                                $25.00
  Adebowale                        Adetula                              $20.00
  Elizabeth                        Adkison                              $50.00
  Garrett M                        Adler                                $10.00
  Naomi                            Adler                                $40.00
  Belal                            Aftab                                $30.00
  Aditya                           Agarwal                              $50.00
  Janet                            Agius                                $50.00
  Anabel                           Agloro                               $50.00
  James                            Agnew                                $40.00
  Shilpa                           Agrawal                               $5.00
  Shafqat                          Ahmed                                $50.00
  Kim                              Ahrens                              $250.00
  Mary                             Aikenhead                            $30.00
  Mike                             Aimo                                 $75.00
  Kristin                          Ainslie                              $25.00
  Brittney                         Aitken                               $30.00
  Jeffery                          Ajer                                $100.00
  Adnan                            Alam                                 $50.00
  Jessica                          Albertson                            $20.00
  Hamid                            Ali                                  $30.00
  Eric                             Allenspach                           $25.00
  Sarah                            Almy                                 $50.00
  Mawadda                          Al-Naeeli                            $20.00
  Sara                             Altier                               $25.00
  Amada                            Alvarez                              $50.00
  Kristen                          Alvarez                              $50.00
  Vanessa                          Alvarez                              $10.00
  Sara                             Amaral                               $25.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Darius                           Ameri                                $20.00
  Lisa                             Amirkhan                            $125.00
  Todd                             Amodeo                               $20.00
  Avery                            Anderson                             $20.00
  Jihan                            Anderson                             $20.00
  Laurel                           Anderson                             $20.00
  Lita                             Anderson                             $40.00
  Melissa                          Anderson                             $50.00
  Rolfe                            Anderson                            $200.00
  Shealyn                          Anderson                             $40.00
  Charlotte                        Andrew                               $25.00
  Karyn                            Andriesen                            $50.00
  Kevin                            Angel                                $20.00
  Shaun                            Ansel                                $25.00
  Camille                          Antinori                             $10.00
  Joy                              Apple                                $50.00
  Alexis                           Aragon                               $25.00
  David                            Archer                               $25.00
  Rebecca                          Archer                               $50.00
  Carol                            Arciaga Paat                         $20.00
  John                             Arena                                $10.00
  Isil                             Arican                               $50.00
  Leslie                           Arioto                               $25.00
  Brad                             Arnold                               $35.00
  Thomas                           Arnold                               $50.00
  Bruce                            Arnow                                $50.00
  Amanjit                          Arora                               $250.00
  Gonzalo L.                       Arrizon                              $25.00
  Christina                        Arthur                               $20.00
  Michael                          Asercion                            $100.00
  Cameron                          Ashbaugh                             $50.00
  Mandy                            Au Yeung                            $100.00
  Anne                             Aubert-Santelli                      $25.00
  James                            Aubuchon                             $50.00
  Konrad                           Augustin                             $10.00
  Konrad                           Augustin                             $10.00
  Mechelle                         Augustin                             $25.00
  Sandeep                          Aujla                               $100.00
  Terry                            Avery                                $25.00
  Kristin                          Avicolli                             $50.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Uday                            Ayyagari                             $50.00
  Danielle                        Azzalino                             $75.00
  Quentin                         Baca                                 $50.00
  Ami                             Badani                               $35.00
  Krishnan                        Badrinarayanan                       $20.00
  Linda                           Baer                                 $50.00
  Prashant                        Baheti                               $20.00
  John                            Bai                                  $10.00
  Sasha                           Bainer                               $40.00
  MC                              Bainton                              $25.00
  Mari                            Baker                                $25.00
  Teresa                          Baker                                 $9.00
  Sarah                           Bakker                               $20.00
  Marc                            Balaban                              $40.00
  Laura-Mae                       Baldwin                              $30.00
  Lindsi                          Baldwin                              $25.00
  Megan                           Baldwin                              $10.00
  Emily                           Balkin                               $20.00
  Carolina                        Balladares                           $75.00
  Leslie                          Banks Miller                         $25.00
  Mary                            Bankston                             $50.00
  Heather                         Baraga                               $50.00
  Ben                             Barber                              $100.00
  Cathy                           Barber                              $200.00
  Ehsan                           Barekati                             $10.00
  Ilana                           Bareket                              $15.00
  Ilana                           Bareket                              $30.00
  Anna                            Barlesi                              $10.00
  Linda                           Barnes                               $30.00
  James R                         Barnett                              $25.00
  Kia                             Barone                               $10.00
  Kia                             Barone                               $15.00
  Molly                           Barrett                              $50.00
  Amanda                          Barron                               $50.00
  Megan                           Bartel-Honsel                       $100.00
  Christopher                     Bartley                              $50.00
  Meg                             Bartley                              $10.00
  Meg                             Bartley                              $10.00
  Ty                              Bartosh                              $20.00
  Sha                             Bass                                 $50.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Jerry                           Bastida                              $50.00
  Reema                           Batnagar                             $10.00
  Kathy                           Battat                               $25.00
  Andrea                          Bauer                                $20.00
  Betina                          Baumgarten                           $25.00
  York                            Baur                                $100.00
  Yvonne                          Baur                                 $30.00
  Kathleen Mae                    Bautista                             $20.00
  Neha                            Bazaj                                $16.00
  Catherine                       Beamer                               $40.00
  Sheri                           Beasley                              $50.00
  Dana                            Beausang                             $50.00
  Hannah                          Bebbington                           $20.00
  Caroline                        Bechtel                              $30.00
  Kristen                         Beck                                 $30.00
  Pauline                         Becker                              $100.00
  Felipe                          Bellot                              $100.00
  Elinor                          Benami                               $20.00
  Grace                           Bender                               $40.00
  Meredith                        Benedict                             $10.00
  Sandra                          Benefraim                            $40.00
  Brittany                        Bennett                              $50.00
  Brittany                        Bennett                             $100.00
  John                            Bennett                              $10.00
  Kimberly                        Bennion                              $20.00
  Alexandra                       Benson                              $100.00
  Ross                            Benson                               $25.00
  Noel                            Berghout                             $40.00
  Nicole                          Berkin                               $10.00
  Nicole                          Berkin                               $15.00
  Nicole                          Berkin                               $20.00
  Marida                          Berlin                               $40.00
  Courtney                        Berman                               $18.00
  Alex                            Bernath                             $125.00
  Mark                            Bernfield                            $50.00
  Michelle                        Berti                                $20.00
  Alexander                       Bertone                              $25.00
  Frances                         Berwick                             $150.00
  Madeleine                       Besse                                $50.00
  Debbi                           Bettinger                            $50.00
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  Buyer First Name                Buyer Last Name         Group Gift Amount
  Paula                           Bevilacqua                            $75.00
  Shreyans                        Bhansali                             $100.00
  Sarah                           Bharier                               $30.00
  Bhavna                          Bharvani                              $10.00
  Mike                            Biddlecombe                          $100.00
  Jessica                         Biehl                                 $20.00
  S                               Bishop                                $25.00
  Colin                           Bishopp                               $25.00
  Jennifer                        Bixby                                $120.00
  Amy                             Black                                 $50.00
  Amy                             Black                                 $25.00
  Amy                             Black                                 $25.00
  Nicole                          Black                                 $25.00
  Rachel                          Blair                                 $50.00
  Christine                       Blasey                                $50.00
  Michelle                        Bleasdell                            $100.00
  Elizabeth                       Blevins                               $20.00
  Judy                            Blond                                 $25.00
  Jennifer                        Bodnick                               $50.00
  Cody                            Boeger                                $20.00
  Emma                            Bohmke                                $25.00
  Joelle                          Boismenu                              $50.00
  Kristen                         Bole                                  $10.00
  Ryan                            Boles                                 $10.00
  Jerre                           Bolton                                $30.00
  Tomas                           Boman                                 $50.00
  Jocelyn                         Boneso                                $50.00
  John                            Bongiovanni                           $75.00
  Julie                           Bonomi                               $100.00
  Lindsay                         Borg                                  $45.00
  Rinat                           Borgardt                              $20.00
  Claudia                         Borgelt                               $15.00
  Genio                           Borghi                                $15.00
  Cindy                           Bosch-Ellis                            $9.00
  Satarupa                        Bose                                  $20.00
  Bryn                            Boslett                               $50.00
  William                         Bottini                               $50.00
  Megan                           Boucher                               $20.00
  Edna                            Boulad                                $40.00
  Riley                           Bove                                  $50.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Dean                             Bowker                              $20.00
  Kara                             Bowling                             $50.00
  Lynn                             Box                                 $50.00
  Lisa                             Boyadjian                           $20.00
  Jeanne                           Boyce                               $75.00
  Tracey                           Bracco                             $100.00
  Betsy                            Bradford                            $25.00
  Rebecca                          Bradley                             $25.00
  Elizabeth                        Bragg                               $20.00
  Elizabeth                        Bragg                               $20.00
  Jeff                             Branion                            $100.00
  Kjersti                          Braunstein                          $30.00
  Chelseamgreene                   Bray                                $50.00
  A                                Brennan                            $100.00
  Jasmine                          Brennan                             $25.00
  Michelle                         Brennan-Cooke                      $100.00
  Cristina                         Brickman                            $50.00
  Jessica                          Bridges Mikesell                    $50.00
  Elizabeth                        Briggs                              $30.00
  Elizabeth                        Briggs                             $100.00
  Elizabeth                        Briggs                              $50.00
  Elizabeth                        Briggs                               $5.00
  Elizabeth                        Briggs                              $40.00
  Elizabeth                        Briggs                              $40.00
  Kate                             Briggs                              $20.00
  Heather                          Briscoe                             $25.00
  Beth                             Brockerman                          $25.00
  Cindy                            Brodie                              $30.00
  Shauna                           Brodie                              $80.00
  Allison                          Brown                               $30.00
  Amanda                           Brown                               $50.00
  Caroline                         Brown                              $100.00
  Carolyn                          Brown                               $20.00
  Joel                             Brown                               $20.00
  Joshua                           Brown                               $75.00
  Laura                            Brown                               $50.00
  Sarah                            Brown                               $30.00
  Sarah                            Brown                               $20.00
  Steven                           Brown                               $20.00
  Jed                              Brubaker                            $25.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Stephanie                        Bruhnke                              $50.00
  Amber                            Brumfiel                             $25.00
  Katherine                        Brummett                             $20.00
  Tony                             Brundage                             $10.00
  Jo                               Bryant                              $150.00
  Carol                            Buchan                              $100.00
  William                          Buchanan                            $100.00
  Jessica                          Bucher                               $75.00
  Jennifer                         Buckley                             $100.00
  Stephanie                        Buetow-Nelson                        $50.00
  Vinh-Huong                       Bui                                  $20.00
  Colleen                          Bullington                           $50.00
  Ellen                            Bullock                              $35.00
  Deila                            Bumgardner                          $100.00
  Sandra                           Buon                                 $15.00
  Carole                           Burchnell - Selegean                 $20.00
  Leah                             Burke                                $75.00
  Leah                             Burke                                $20.00
  Terry                            Burke                                 $9.00
  Catherine                        Burkett                              $50.00
  Phyllida                         Burlingame                           $25.00
  Rachael                          Burns                               $190.00
  Hannah                           Burque                               $50.00
  Christopher                      Burrows                              $75.00
  Monika                           Burzynska-Evje                       $40.00
  Lauren                           Busley                               $30.00
  Isabel                           Bustamante                           $50.00
  Christina                        Buttler                              $10.00
  Hillary                          Buyea                                $50.00
  Tim                              Byrd                                 $50.00
  Kristin                          Byrne                                $20.00
  Ellie                            Cachette                              $5.00
  Kristen                          Cadigan                              $10.00
  Darla                            Cady                                 $50.00
  Joanne                           Caggiano                             $20.00
  Colleen                          Cagurangan                           $30.00
  Joannie                          Cahill                               $25.00
  Robert                           Cahn                                 $20.00
  Ashley                           Calderhead                           $40.00
  Pamela M                         Calderon                             $20.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Evelyn                          Caldwell                             $30.00
  Jared                           Call                                 $40.00
  Anna                            Camacho                              $50.00
  Rene                            Camacho                              $30.00
  Michael                         Cameron                              $50.00
  Adrienne                        Canales                             $100.00
  Matthew                         Candito                              $30.00
  Melissa                         Cannon                               $20.00
  Susan                           Canny                                $20.00
  Qun                             Cao                                  $20.00
  Laurel                          Caplan                               $10.00
  Julie                           Carlevaro                            $50.00
  Elizabeth                       Carley                               $50.00
  Steve                           Carlin                               $50.00
  Zach                            Carlsen                              $20.00
  Laine                           Carlsness                           $100.00
  Lisa                            Carlson                              $25.00
  Wendy                           Carmody                              $50.00
  Jose                            Carrasco                             $50.00
  Antoine                         Carriere                            $100.00
  Barbara                         Carste                               $25.00
  Andrea                          Carter                               $20.00
  Joan                            Carter                              $100.00
  Kathleen                        Carter                              $100.00
  Shelley                         Carter                              $100.00
  Amida                           Cary                                 $50.00
  Amanda                          Cass                                $100.00
  Mathieu                         Cassagne                             $20.00
  Siobhan                         Cassidy                               $5.00
  Linda                           Castillo                             $20.00
  Samuel                          Castillo                             $20.00
  Susannah                        Castle                               $25.00
  Kathleen                        Cattani                              $40.00
  Cindy                           Cattell                              $75.00
  Dana                            Caulder                              $30.00
  Sezin                           Cavusoglu                            $50.00
  Brian                           Celenza                              $50.00
  Kimberly                        Cerda                                $50.00
  Jessica                         Chacon                               $20.00
  Mamatha                         Challapalli                          $25.00
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  Buyer First Name                Buyer Last Name      Group Gift Amount
  Robin                           Chamberlain                       $200.00
  Katie                           Champagne                          $40.00
  Angel                           Chan                               $20.00
  Carol                           Chan                               $20.00
  Jennifer                        Chan                               $20.00
  Kristine                        Chan                              $200.00
  Marilyn                         Chan                               $40.00
  Sandy                           Chan                               $20.00
  Shannon                         Chan                               $50.00
  Victoria                        Chan                               $75.00
  Evelyn                          Chanasyk                           $15.00
  Priya                           Chandrasekar                      $100.00
  Kevin                           Chang                              $25.00
  Ruth                            Chang                              $75.00
  Christine                       Chao                               $30.00
  Cecilia                         Chapman                            $50.00
  Cecilia                         Chapman                            $50.00
  Kyron                           Chapple                            $25.00
  Kyron                           Chapple                            $25.00
  Cameron                         Charles                            $50.00
  Cameron                         Charles                            $50.00
  Bhavin                          Chasmawala                         $40.00
  Katie                           Chau                               $75.00
  Brian                           Chavanne                           $10.00
  Arthur                          Che                                $25.00
  Jennifer                        Chelstad                           $30.00
  Dai                             Chen                               $25.00
  Flora                           Chen                               $50.00
  Haiyin                          Chen                               $20.00
  Weiju                           Chen                               $60.00
  Kay                             Cheng                              $20.00
  Taissa                          Cherry                             $75.00
  Tiffany                         Cheuk                              $40.00
  Tiffany                         Cheung                             $50.00
  Leslie                          Chew                               $50.00
  Suparna                         Chhibber                           $15.00
  David                           Chin                               $20.00
  Rodney                          Chin                              $100.00
  Gorton                          Chiu                               $50.00
  Esther                          Cho                                $40.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Esther                          Cho                                  $10.00
  Esther                          Cho                                  $50.00
  Sungjung                        Cho                                  $30.00
  Su-Mien                         Chong                                $40.00
  Charles                         Choo                                 $20.00
  Maxwell                         Chor                                 $40.00
  Joyce                           Chou                                 $50.00
  Albert                          Chow                                 $25.00
  Joanna                          Chow                                 $20.00
  Dwight                          Christenson                          $40.00
  Dwight                          Christenson                          $20.00
  Diana                           Christie                             $50.00
  Conrad                          Chu                                   $5.00
  Tiffany                         Chu                                  $20.00
  Eunice                          Chuang                               $50.00
  Christine                       Chung                                $30.00
  Susannah                        Churchill                            $25.00
  Michal                          Cierniak                             $50.00
  Kira                            Citron                               $36.00
  Lauren                          Clapperton                           $50.00
  Gary                            Clarien                             $100.00
  Erin                            Clark                                $40.00
  Shelley                         Clark                               $100.00
  Matthew                         Cleinman                             $20.00
  Jeanie                          Clemmens                             $34.00
  Terri                           Cloutier                             $40.00
  Ronald                          Clyborne                            $100.00
  Alex                            Cmaylo                               $50.00
  John                            Coates                               $10.00
  Juliana                         Cochnar                              $25.00
  Gary                            Cockrell                             $50.00
  Linda                           Coffee                               $50.00
  Janet                           Coffey                               $25.00
  Melissa                         Coffey                               $25.00
  Jason                           Cohen                                $50.00
  Kim                             Cohen                               $160.00
  Kim                             Cohen                                $40.00
  Jeremiah                        Cohick                               $40.00
  Roxanne                         Cohn                                 $50.00
  Shara                           Cohn                                 $50.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Kathryn                          Colbert                             $10.00
  Anna                             Colby                               $40.00
  Allison                          Cole                                $20.00
  Charles                          Collins                            $100.00
  Elizabeth                        Colomello                           $25.00
  Erin                             Colton                              $55.00
  Sarah                            Combellick                          $18.00
  Emma                             Conboy                              $30.00
  Terra                            Condit                              $25.00
  Chris                            Conklin                             $20.00
  Philip                           Conley                              $50.00
  Nora                             Connor                              $25.00
  Amy                              Connors                             $15.00
  Stephanie                        Connors                             $50.00
  Stephanie                        Connors                             $40.00
  Mark                             Cook                               $500.00
  Diana                            Cooney                              $30.00
  Glen                             Cooper                              $50.00
  Paula                            Cooper-Tipton                       $25.00
  Tara                             Copeland                            $50.00
  Wilbert                          Copeland                            $20.00
  Karen                            Corby                               $20.00
  Kerry                            Corcoran                           $100.00
  Tiffany                          Cordero                             $40.00
  Daniel                           Corey                              $150.00
  Heidi                            Corkern                             $50.00
  Elaine                           Coronado                            $10.00
  Rachel                           Cortese                             $50.00
  Yvonne                           Cortez                              $20.00
  Mario                            Cotto                               $80.00
  Cynthia                          Coulthard                            $5.00
  Sarah                            Cover                               $30.00
  Shelley                          Covey                               $75.00
  Abigail                          Cowan                               $25.00
  Jennifer                         Cox                                $100.00
  Jennifer                         Crabtree                            $40.00
  Dan                              Craft                               $20.00
  Rometra                          Craig                              $100.00
  Erin                             Crawford                            $30.00
  John                             Crissman                           $100.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Anne                            Cristofano                           $50.00
  Karen                           Crockett                             $25.00
  Justin                          Crum                                $100.00
  Y                               Cui                                 $100.00
  Jacque                          Cully                                $75.00
  Mary                            Cunningham                           $50.00
  Mary                            Cunningham                           $50.00
  Maxime                          Curioni                              $50.00
  Elizabeth                       Curtis                                $5.00
  Vanessa                         Cutler                               $10.00
  Diane                           Cutts                               $100.00
  Yan                             Da                                   $25.00
  Anneleen                        Daemen                               $20.00
  Rebecca                         Dafydd                               $25.00
  Arati                           Dahal                                $10.00
  Amanda                          Dahan                                $25.00
  Kari                            Dahlgren                             $50.00
  Jennifer                        Dahmus                               $50.00
  Corinna                         Dalcolletto                          $30.00
  Suzanne                         Dalcourt                             $50.00
  Brian                           Daly                                 $25.00
  Suzanne                         Daly                                 $25.00
  Alison                          D'Amato                              $15.00
  Kristen                         Dambrowski                           $15.00
  Tamara                          Danoyan                              $20.00
  Ramie                           Dare                                 $30.00
  Ben                             Darfler                             $100.00
  Kamariah                        Dascola                              $50.00
  Flore                           Dastier                              $40.00
  Monica                          David                                $50.00
  Deborah                         Davis                                $25.00
  Jane                            Davis                                $25.00
  Kerry                           Davis                                $50.00
  Ryan                            Davis                                $15.00
  Barbara                         Dawson                              $200.00
  Caroline                        De Baere                             $30.00
  Amyra                           De Carion                            $50.00
  Taryn                           De Jesus                             $10.00
  Leslie                          Dean                                $100.00
  Mary                            Dearth                               $20.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Ursula                          Deelstra                             $10.00
  Shamis                          Deguzman                            $100.00
  Rachel                          Del Monte                            $50.00
  Elia                            Deluca                               $40.00
  Nicolette                       Deluccia                             $50.00
  Barbara                         Demartinis                           $50.00
  Clemence                        Demoncheaux                          $25.00
  Lisa                            Demoney                              $25.00
  Curtis                          Denton                              $100.00
  Kristen                         Deo                                  $10.00
  William                         Derdzinski                           $25.00
  Stephen                         Deredita                            $150.00
  Corina                          Desiga                               $25.00
  Laura                           Devendorf                            $20.00
  Marissa                         Devito - Siegal                      $20.00
  Anubhav                         Dewan                                $20.00
  Toni                            Di Cicco                             $25.00
  Charles                         Dickinson                            $25.00
  Scott                           Didrickson                           $25.00
  Krista                          Dieffenbach                          $20.00
  Eric                            Diem                                $100.00
  Matthew                         Diephuis                             $10.00
  Talin                           Dikranian                           $100.00
  Court                           Dimon                                $15.00
  Tim                             Dionne                               $25.00
  Jo                              Disante                             $100.00
  Anne                            Diskin                               $75.00
  Andra                           Distefano                            $10.00
  Sibyl                           Diver                                $25.00
  Ngoc                            Do                                   $25.00
  Jennie                          Doberne                              $20.00
  Teresa                          Dodds                                $25.00
  Caroline                        Dodge                                $25.00
  Kathy                           Doggett                              $20.00
  Matthew                         Doherty                              $50.00
  Timie                           Dolan                                $20.00
  Lura                            Dolas                                $50.00
  Jakub                           Dolecki                              $35.00
  Mariana                         Dominguez                            $15.00
  Abigail                         Donaldson                            $25.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Ava                             Donaldson                           $30.00
  Christine                       Donatelli                           $50.00
  Yan                             Dong                                $20.00
  Michelle                        Dono                                $20.00
  Dave                            Donohue                             $50.00
  Abigail                         Dorjsuren                           $20.00
  Neeti                           Doshi                               $30.00
  Kathy                           Dotson                             $100.00
  Corinne                         Double                              $20.00
  Christine                       Dow                                 $50.00
  Ashley                          Downend                             $20.00
  Carrie                          Doyle                              $100.00
  Lenny                           Dragone                             $50.00
  Alison                          Dreiblatt                           $10.00
  Sean                            Dries                               $50.00
  Marlene                         Drobick                            $250.00
  Jonathan                        Dufau                               $30.00
  Elizabeth                       Duffy                               $50.00
  Elizabeth                       Duffy                               $20.00
  Maureen                         Dugan                               $50.00
  Erica                           Duharte                             $20.00
  Maya                            Dunstan                             $20.00
  Jenny                           Duong                               $50.00
  Lorene                          Dupeuble                            $15.00
  Kathleen                        Dutcher                             $50.00
  Marie-Cecilia                   Duvernoy                            $10.00
  Sue                             Dwyer                               $25.00
  Norman                          Dy                                  $20.00
  Omima                           Dykes                               $30.00
  Nicki                           Ebeid                               $50.00
  Lindsey Godfrey                 Eccles                              $50.00
  Mary                            Eckert                              $25.00
  Brenda                          Eddy                               $200.00
  Chris                           Edwards                             $50.00
  Elizabeth                       Edwards                             $30.00
  Carol                           Eggers                              $50.00
  Yasmin                          Eichmann                            $75.00
  Christopher                     Eilerman                            $30.00
  A                               El Ghandour                         $40.00
  Jason                           Elias                               $12.00
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  Buyer First Name                Buyer Last Name         Group Gift Amount
  Carol                           Elliott                               $50.00
  Ian                             Elliott                               $50.00
  Stephen                         Elliott                               $30.00
  Tracy                           Ellman                                $50.00
  Lydia                           Ely                                   $25.00
  Christopher                     Emley                                 $50.00
  Brian                           Enfantino                              $9.00
  Brian                           Eng                                   $40.00
  Joseph                          Eng                                   $40.00
  Joanne                          Engel                                 $50.00
  Amelito                         Enriquez                              $25.00
  Celina                          Epperson                              $50.00
  Ravi                            Epuri                                $100.00
  Douglas                         Erb                                   $50.00
  Tali                            Erez-Klinger                          $20.00
  Justin                          Estermann                             $20.00
  Nancy                           Estes                                 $25.00
  Sandy                           Estremera-Zink                        $50.00
  Je Anne                         Ettrick                               $30.00
  Je Anne                         Ettrick                               $30.00
  Leslie                          Euell                                 $15.00
  Leslie                          Euell                                 $10.00
  Leslie                          Euell                                 $10.00
  Lindsay                         Evans                                 $15.00
  Laura                           Fabela                                $25.00
  Steven                          Fabre                                 $15.00
  Victoria                        Fahrenbach                            $50.00
  Kevin                           Faist                                 $10.00
  Patrick                         Falls                                 $30.00
  Teagan                          Fardell                               $25.00
  Pete                            Farley                                $20.00
  Laurence                        Favrot                                $20.00
  Michael                         Faw                                   $50.00
  Michael                         Faw                                   $50.00
  Rachel                          Federman                              $50.00
  C                               Feds                                  $50.00
  Jeff                            Feiereisen                            $25.00
  Caryl                           Feldacker                             $25.00
  Hui                             Feng                                  $50.00
  Caroline                        Ferguson                              $25.00
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  Buyer First Name                Buyer Last Name         Group Gift Amount
  Zoltan                          Fern                                  $50.00
  Rahul                           Fernandes                              $5.00
  David                           Fernandez                             $50.00
  Elizabeth                       Fernandez                             $15.00
  James                           Ferrara                               $25.00
  Amy                             Ferro                                 $10.00
  Sabrina                         Feve                                  $50.00
  Dana                            Fgold                                 $18.00
  Conny                           Fiala                                 $20.00
  Casey                           Fiesler                               $30.00
  Karen                           Fiester                               $20.00
  Lisa                            Filippi                               $35.00
  Kristi                          Finley                                $20.00
  Courtney                        Finnegan                              $50.00
  Stephanie                       Fish                                  $40.00
  Anne                            Fisher                                $25.00
  Nathaniel                       Fisher                               $100.00
  Nasha                           Fitter                                $50.00
  Mary                            Fitzgerald                           $100.00
  Mary                            Fitzgerald                           $100.00
  Annette                         Fitzpatrick                           $20.00
  Amy                             Flaskerud                             $50.00
  David                           Flemate                               $25.00
  Jennifer                        Flint                                 $20.00
  Ryan                            Flynn                                $150.00
  Cindy                           Folker                                $25.00
  Diane                           Follain                               $50.00
  Charlen                         Fong                                  $25.00
  Michelle                        Fong                                  $10.00
  Laura                           Ford                                  $20.00
  Erica                           Forstadt                             $100.00
  Audrey                          Fox                                  $500.00
  Sarah                           Fox                                   $25.00
  Sarah                           Fox                                   $25.00
  Timothy                         Fox                                   $20.00
  Kendr                           Fox-Davis                             $50.00
  Jacob                           Franklin                              $20.00
  David                           Fraser                                $30.00
  K                               Fre                                   $45.00
  Karen                           Fredericks                           $100.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Michael                         Frederickson                         $75.00
  Valerie                         Freeman                              $50.00
  Amber Z                         French                               $20.00
  Amber Z                         French                               $25.00
  Kathleen M                      French                              $250.00
  Kimberly                        French                              $150.00
  Sarah                           Fried                                $25.00
  Sarah                           Fried                                $25.00
  Barbra                          Friedman                             $50.00
  Bianc                           Frogner                              $10.00
  Cesley                          Frost                                $50.00
  Annie                           Frye                                 $50.00
  David                           Fuchs                                $20.00
  Lindsey                         Fuller                               $20.00
  Gina                            Fulton                               $30.00
  Stacie                          Furia                                $20.00
  Christian                       Gaitan                               $20.00
  Neil                            Gako                                 $20.00
  Michelle                        Galipeau                             $75.00
  Robert                          Galla                                $20.00
  Christina                       Galliano                             $30.00
  Christie                        Gallo                                $25.00
  Paul                            Gambino                             $100.00
  Sujatha                         Ganapathy                           $100.00
  Abhay                           Gangadharan                          $30.00
  Bella                           Gangnes                              $10.00
  Sally                           Garbarini                           $100.00
  Amie                            Garcia                               $60.00
  Christopher                     Garcia                               $25.00
  Genesis                         Garcia                               $20.00
  Heather                         Garcia                               $20.00
  Olga                            Garcia                              $200.00
  Olga                            Garcia                               $40.00
  Ginger                          Garff                                $20.00
  Megha                           Garg                                $100.00
  Matthew                         Garr                                $100.00
  Roberta                         Gates                               $100.00
  Roberta                         Gates                                $50.00
  Megan                           Gaudet                               $50.00
  Amy                             Gee                                  $50.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Amy                              Gee                                 $50.00
  Lauren                           Gelman                              $50.00
  Kaitlin                          Gemar                               $20.00
  Rita                             Gennawey                            $25.00
  Elizabeth                        Gentile                             $50.00
  Isabela                          Georgescu                           $50.00
  Theodore                         Georgiou                            $20.00
  Regina                           Getz-Kikuchi                        $50.00
  Gracie                           Ggliano                            $100.00
  Janet                            Ghan                               $100.00
  Alexandra                        Gherghina                           $20.00
  Howard                           Giang                               $25.00
  Cris                             Giannetto                           $30.00
  Megan                            Gibbons                             $35.00
  Beatrice                         Gibson                              $50.00
  Erica                            Gill                                $50.00
  Lian                             Gill                                $20.00
  Bonnie                           Gillman                            $100.00
  Stephanie                        Giluso                              $10.00
  Diana                            Ginnebaugh                          $40.00
  Mindy                            Ginsburg                           $200.00
  Skye                             Giordano                            $20.00
  Mark                             Glick                              $100.00
  Christopher                      Goddard                             $40.00
  Emily                            Godfrey                             $20.00
  Emma                             Godfrey                             $50.00
  Melissa                          Goebel                              $20.00
  Ankita                           Goel                                $20.00
  Caitlin                          Goetze                              $30.00
  Hannah                           Gogel                               $10.00
  Stacy                            Gohman                              $15.00
  Bethann                          Goldberg                            $20.00
  Bethann                          Goldberg                            $50.00
  Marcy                            Golden                              $50.00
  Naomi                            Goldin                              $50.00
  Naomi                            Goldin                              $50.00
  Jill                             Goldring                            $25.00
  Antoanela                        Gomard                              $30.00
  Josephine                        Gomez                              $100.00
  Rosanna                          Gomez                               $75.00
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  Buyer First Name                 Buyer Last Name         Group Gift Amount
  Kyle                             Gong                                  $25.00
  Beiling                          Gonzalez                              $30.00
  Paulina                          Gonzalez                              $50.00
  Ernesto                          Gonzalez Urdaneta                     $30.00
  Nora                             Gooch                                 $50.00
  Jenaver                          Goodman                               $50.00
  Allison                          Goodson                               $50.00
  Cheryl                           Gore-Felton                           $50.00
  Stephen                          Gotlieb                               $25.00
  Matt                             Goucher                               $50.00
  Svetlana                         Gous                                 $100.00
  Erin                             Gover                                 $50.00
  Michael                          Grace                                $100.00
  Christopher                      Grant                                  $5.00
  Marcella                         Grant                                 $50.00
  Kimberly                         Gray                                 $200.00
  Tiara                            Grayson                               $20.00
  Junko                            Green                                 $50.00
  Kate                             Green                                 $20.00
  Kristen                          Green                                 $25.00
  Marc                             Greenberg                             $50.00
  Lindsey                          Greenberger                           $50.00
  Heather                          Grenning                              $50.00
  Michael                          Gretczko                              $50.00
  Sriharsha                        Grevich                               $20.00
  Maninderpal                      Grewal                                $50.00
  Adam                             Griffin                              $100.00
  Meredith                         Griffin                                $9.00
  Jeffrey                          Grimes                                 $5.00
  Lynn                             Grimsby                               $20.00
  Lisa                             Grisim                                $50.00
  Janie                            Griswold                              $50.00
  Cat                              Gross                                 $25.00
  Holly                            Grossman                              $72.00
  Hunter                           Guarino                               $10.00
  Rosalie                          Guico                                 $75.00
  Scott                            Gullick                               $40.00
  Feny                             Gunawan                               $50.00
  Mehmet                           Gunay                                 $25.00
  Denghui                          Guo                                   $50.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Lu                              Guo                                  $20.00
  Wenqiong                        Guo                                  $50.00
  Rahul                           Gupta                                $25.00
  Sarah                           Gur                                  $50.00
  Joel                            Gussman                              $20.00
  Ben                             Gutierrez                            $50.00
  Ben                             Gutierrez                           $100.00
  Stephan                         Guttman                             $100.00
  Amie                            Haas                                 $25.00
  Cynthia                         Hadley                              $100.00
  Cynthia                         Hadley                              $200.00
  Cynthia                         Hadley                              $100.00
  Cynthia                         Hadley                              $100.00
  Cynthia                         Hadley                              $100.00
  Jonathan                        Hahn                                $200.00
  Mona                            Halaby                               $50.00
  Julie                           Hales                                $40.00
  Kayla                           Haley                                $10.00
  Diana                           Hall                                 $50.00
  Lee                             Halverson                            $50.00
  Keeley                          Hammond                             $100.00
  Kimberly                        Hanley                               $50.00
  Sonya                           Hanna                                $20.00
  Bonnie                          Hansen                               $50.00
  Noemie                          Hansen                               $30.00
  Melissa                         Hanson                               $20.00
  Rebecca                         Hanson                               $30.00
  Timothy                         Hanson                               $50.00
  Kimberly                        Harding                             $100.00
  Kathryn                         Hardy                               $100.00
  Victoria                        Hardy                                $10.00
  Anirudha                        Harihara                             $15.00
  Ruth                            Harper                               $20.00
  Yanaika                         Harrigan                             $50.00
  Tony                            Harrington                           $20.00
  Bronwyn                         Harris                               $30.00
  Haiyin                          Harris                               $15.00
  Kylie                           Harrison                             $25.00
  Kathryn                         Hart                                 $25.00
  Geoff                           Hart-Cooper                          $40.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Lauren                          Hartman                             $50.00
  Yaffa                           Hartman                             $25.00
  Gail                            Hashimoto                           $50.00
  Jacquelyn                       Haskell                             $15.00
  Sheila                          Hasser                             $100.00
  Caleb                           Hauser                             $100.00
  Jacob                           Hauskens                           $100.00
  Jennifer                        Hauth                              $100.00
  Katherine                       Hay                                 $50.00
  Steven                          Hayden                             $300.00
  Adrienne                        Hayes                              $100.00
  Dayle                           Hayes                              $500.00
  Jabari                          Hearn                               $50.00
  Michelle                        Heath                               $20.00
  Sally                           Heath                               $40.00
  Cindy                           Heavens                             $50.00
  Laura                           Heckenberg                          $50.00
  Owen                            Heery                              $100.00
  Paul                            Heery                              $100.00
  Amber                           Heffernan                           $15.00
  Chelsee                         Heley                               $25.00
  Neil                            Helfand                             $50.00
  Natalie                         Henderson                           $50.00
  Kristine                        Hendrickson                        $200.00
  Kristine                        Hendrickson                        $200.00
  Melissa                         Henss                               $25.00
  Amy Beth                        Herman                             $100.00
  Jeff                            Herman                              $30.00
  Lauren                          Herpich                             $50.00
  Alexandra                       Herron                              $50.00
  Paul                            Herzmark                           $100.00
  Jonathon                        Hett                                $50.00
  Robin                           Heuer                               $50.00
  Melissa                         Hewko                               $25.00
  Neil                            Hildick-Smith                       $20.00
  Jennifer                        Hill                                $30.00
  Kimberly                        Hill                                $25.00
  Jo                              Himan                               $35.00
  Seth                            Hindman                             $30.00
  Miyuki                          Hino                                $20.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Matt                            Hitchcock                           $50.00
  Monique                         Ho                                  $50.00
  Victor                          Ho                                  $20.00
  Carolyn                         Hobbs                               $50.00
  Flo                             Hodes                               $25.00
  Latisha                         Hodges                               $9.00
  Zachary                         Hoene                               $20.00
  Flora                           Hoffman                             $25.00
  Jill                            Hoffmann                            $30.00
  Jennifer                        Hohman                              $30.00
  Robert                          Holaway                             $25.00
  Sarah                           Holevoet                            $15.00
  Henning                         Hollah                              $20.00
  Douglas                         Holmes                             $100.00
  Ida                             Holmes                              $25.00
  Bekah                           Holt                                $25.00
  John                            Holt                               $150.00
  Theresa                         Holt                               $100.00
  Jeff                            Homan                               $25.00
  Richard                         Hong                                $15.00
  Maria                           Hooey Mcculloch                    $100.00
  Maria                           Hooey Mcculloch                     $50.00
  Kelly                           Hopping                             $20.00
  Amy                             Hopson                              $25.00
  Ahn Lee                         Horn                               $100.00
  Michelle                        Hornberger                          $50.00
  John                            Hornsby                             $50.00
  Claire                          Horton                              $25.00
  Junko                           Hoshide                            $100.00
  Meredith                        Hoskins                             $50.00
  Robert                          Hotz                               $100.00
  Maya S                          Hough                               $20.00
  Amberly                         Howe                                $20.00
  Karen                           Hoyt                                $30.00
  Karen                           Hoyt                                $30.00
  M Elisabeth                     Hruska                              $35.00
  Jenny                           Hsieh                               $20.00
  Kay                             Hsu                                $100.00
  Chi                             Huang                               $50.00
  Brandi                          Hudson                              $25.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Ryan                             Hudson                               $50.00
  Charles                          Hughes                               $50.00
  John                             Hughes                               $50.00
  Karina                           Hughes                               $25.00
  Linda                            Hughes                              $100.00
  Dorothy                          Hui                                  $50.00
  Karen                            Huie                                 $30.00
  Hsiaoching                       Hung                                 $20.00
  Clayton                          Hunter                               $20.00
  Melanie                          Huntley                              $25.00
  Kaitlyn                          Hurst                                $30.00
  Ann                              Huston                               $75.00
  Ting-Hsiang                      Hwang                                $20.00
  Thomas                           Hymes                                $15.00
  Thomas                           Hymes                                $15.00
  Amanda                           Ibrahim                             $100.00
  Jillian                          Igarashi                             $50.00
  Grace                            Ihn                                  $20.00
  Brooke                           Ike                                  $30.00
  Kenneth                          Ike                                 $100.00
  Kelly                            Ikezoye                              $20.00
  Haylie                           Ingman                               $10.00
  Jenette                          Intrachat                            $30.00
  Laura                            Irwin                                $30.00
  Christine                        Isaac                                $50.00
  Aya                              Ishikawa                             $50.00
  Sam                              Israelit                             $40.00
  Dinko                            Ivanov                               $20.00
  Emily                            Jackson                              $40.00
  Ellen                            Jacobson                             $20.00
  Jill                             Jacobson                             $20.00
  Beth                             Jaeger-Skigen                        $20.00
  Nicole                           Jala                                $100.00
  Justin                           James                                $25.00
  Wendy                            James                                $40.00
  Wendy                            James                                $40.00
  Raghuram                         Jandhyala                            $15.00
  Lauren                           Jardot                               $40.00
  Jenny                            Jarvis                              $100.00
  Emily                            Jasiak                               $50.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Kelly                            Jasso                               $100.00
  Scott                            Jaworski                             $50.00
  Adam                             Jayne-Jensen                         $50.00
  Laura                            Jelniker                             $40.00
  Sheila                           Jenkins                              $25.00
  Joanne                           Jennings                             $25.00
  Jennifer                         Jew                                  $40.00
  Kajal                            Jhaveri                              $50.00
  Jie                              Ji                                   $25.00
  Sung                             Joh                                  $30.00
  Jasmeet Kaur                     Johal                                $15.00
  Rosa                             Johansen                             $20.00
  Dave                             Johnson                              $50.00
  Erin                             Johnson                              $50.00
  Heather                          Johnson                              $25.00
  Jennifer                         Johnson                              $20.00
  Kristin                          Johnson                              $15.00
  Kyle                             Johnson                              $20.00
  Marianna                         Johnson                              $15.00
  Michael                          Johnson                              $25.00
  Sharon                           Johnson                              $20.00
  Jamie                            Johnston                             $30.00
  Jeanette                         Johnston                             $50.00
  Mary                             Johnston                             $35.00
  Semay                            Johnston                             $50.00
  Jeremy                           Jonas                                $25.00
  Amanda                           Jones                                $30.00
  Barnard                          Jones                                $20.00
  Brandon                          Jones                                $30.00
  Brittany                         Jones                                $25.00
  Chris                            Jones                                $40.00
  Eric                             Jones                                 $9.00
  Joma                             Jones                                $20.00
  Lewis                            Jones Jr                             $75.00
  Thidaratana                      Jonjai                              $100.00
  DL                               Jordan                               $25.00
  John                             Jordan                              $100.00
  Samantha                         Jordan                               $20.00
  Mersedeh                         Jorjani                              $50.00
  Michael                          Joseph                               $30.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Allyson                          Josephs                              $75.00
  Phil                             Juang                                $20.00
  Sachin                           Kadakia                              $50.00
  Melissa                          Kaiser                               $40.00
  Jean-Claude                      Kalache                             $500.00
  Natalia                          Kalinina                            $100.00
  Richard                          Kallet                               $50.00
  David                            Kamalsky                             $50.00
  Emi                              Kamemoto                             $25.00
  Carolyn                          Kaneda                               $25.00
  Purti                            Kanodia                              $40.00
  Clarissa                         Kao                                  $50.00
  Theodore                         Kapusta                              $30.00
  Deepti                           Karandur                             $25.00
  Serdar                           Karatekin                            $50.00
  Brent                            Kardell                              $25.00
  Terry                            Karp                                $110.00
  Rob                              Kashima                              $25.00
  Van                              Kasiske                              $20.00
  Matthew                          Kassan                               $25.00
  Jennifer                         Katz                                 $10.00
  Sam                              Katzen                               $25.00
  Emily                            Katzif                               $10.00
  Jonathan                         Katzman                              $30.00
  June                             Katzschner                           $50.00
  Danielle                         Kaufman                              $50.00
  Pamela                           Kawaguchi                            $75.00
  Haley                            Kayser                               $45.00
  Stephanie                        Kayser                               $15.00
  Marina                           Kazulin                              $50.00
  Kimi                             Kean                                 $20.00
  Jason                            Kearns                               $40.00
  Brian                            Keegan                               $20.00
  Molly                            Keegan                               $50.00
  Rebecca                          Keenan                               $20.00
  Kimberly                         Kehrberger                          $100.00
  Krista                           Keintz                               $45.00
  Lynnette                         Keller                               $20.00
  Christi                          Kelley                               $30.00
  Erin                             Kelly                                $50.00
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  Buyer First Name                 Buyer Last Name         Group Gift Amount
  Kitt                             Kelly                                 $25.00
  Samantha                         Kelly                                 $25.00
  Cynthia                          Kennedy                               $30.00
  Sarah                            Kennedy                              $100.00
  Jamie                            Kent                                  $30.00
  Lisa                             Kermish                               $25.00
  Heidi                            Kestelyn                              $50.00
  Kathryn                          Ketchum                              $100.00
  Jonathan                         Kevles                                $25.00
  Zahra                            Khan                                  $30.00
  Zahra                            Khan                                  $20.00
  Gabrielle                        Khedr                                 $20.00
  Leila                            Khoury                                $40.00
  Brandon                          Khuu                                  $25.00
  Padma                            Kidambi                               $15.00
  Debbi                            Kightlinger                           $25.00
  Kristin                          Kildall                               $40.00
  Sabrina                          Kilpatrick                            $40.00
  Ki Hyun                          Kim                                   $30.00
  Kirim                            Kim                                   $50.00
  Liz                              Kim                                   $50.00
  Jeff                             Kindred                               $30.00
  Erin                             King                                  $25.00
  Beth                             Kingsley                             $125.00
  Marina                           Kipnis                                $10.00
  Faith                            Kirkpatrick                           $25.00
  Kristen                          Kirsch                                $25.00
  Mikhail                          Kiselgof                              $25.00
  Elyse                            Klein                                 $10.00
  Kristifir                        Klein                                 $50.00
  Randolf                          Klein                                 $10.00
  Travis                           Knight                                $30.00
  Carolyn                          Knobel                                $10.00
  Ken                              Knobel                                $20.00
  Hennessey                        Knoop                                 $50.00
  Susan                            Knox                                 $200.00
  Mattias                          Kodzoman                              $25.00
  Valerie                          Kodzoman                              $50.00
  Wendy                            Koegel                                $25.00
  Maria M                          Koengeter                             $40.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Dusty                           Koenig                              $100.00
  Barbara                         Konstantinidis                       $20.00
  Jessica                         Koontz                               $40.00
  Victoria                        Kopper                              $100.00
  Richard                         Kosarchuk                            $50.00
  Suzanne                         Koski                                $25.00
  Brigitte L                      Kouba                                $50.00
  Regina                          Koumantaros                          $50.00
  Roxanne                         Kovacich                             $50.00
  Benjamin                        Kowalski                             $20.00
  Denise                          Krah                                $100.00
  Carolyn                         Krahn                                $40.00
  Adam                            Krasny                               $50.00
  Tia                             Kratter                             $100.00
  Claire                          Kraus                                $25.00
  Tina                            Krauss                              $100.00
  Sue                             Krenek                               $25.00
  Sue                             Krenek                               $60.00
  Brianna                         Kreple                               $15.00
  Kate                            Kresge                               $40.00
  Eugene                          Krimkevich                           $30.00
  Kaushik                         Krishnamurthy                        $30.00
  Theresa                         Kronemeyer                           $25.00
  Mrunalini                       Kulkarni                             $15.00
  Akash                           Kumar                                $21.00
  Amanda                          Kumar                                $50.00
  Sarah                           Kummerfeld                           $10.00
  Paul                            Kunkel                               $75.00
  Denis                           Kurth                                $20.00
  Laura                           Kurtzman                             $10.00
  Stephanie                       Kwan                                 $50.00
  Dennis                          Kwok                                 $10.00
  Rolland                         Kwok                                 $25.00
  Sabrina                         Kyhn                                 $50.00
  Ami                             L                                    $25.00
  Sophia                          Labeko                               $10.00
  Bj                              Lackland                             $50.00
  Audrey                          Lafforgue                            $25.00
  Monica                          Lai                                  $30.00
  Alkarim                         Lalani                               $25.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Garland                         Lamb                                 $50.00
  Jennifer                        Lamb                                 $10.00
  Gurmeet                         Lamba                               $275.00
  Jane                            Lambert                             $150.00
  Michael                         Lampe                               $100.00
  Todd                            Lanam                                $20.00
  Kris                            Lande                                $50.00
  Amy                             Lang                                 $50.00
  Christina                       Lang                                  $5.00
  Maria                           Lang                                 $25.00
  Olivia                          Lang                                 $50.00
  Anne-Elise                      Lansdown                             $50.00
  Amy                             Lara                                 $40.00
  Joshua                          Lateiner                             $50.00
  Khatra                          Latifi                               $20.00
  Bonnie                          Lau                                  $30.00
  Howie                           Lau                                  $10.00
  Lydia                           Lau                                  $20.00
  Lydia                           Lau                                  $40.00
  Tze                             Lau                                  $50.00
  Alan                            Laver                                $20.00
  Michael                         Lavigna                              $10.00
  Geoff                           Law                                  $40.00
  John                            Lawrence                            $100.00
  Margaret                        Laws                                 $50.00
  Stacy                           Lawson                              $200.00
  Khanh-Dung                      Le                                   $50.00
  Dennis Craig                    Le Claire                            $25.00
  Norman                          Leaf                                 $50.00
  Paul                            Leak                                 $30.00
  Saidah                          Leatutufu                             $5.00
  Sara                            Leaverton                            $20.00
  Alan                            Leber                                $25.00
  Alton                           Lee                                  $15.00
  Andrew                          Lee                                  $20.00
  Angela                          Lee                                  $50.00
  Annie                           Lee                                  $50.00
  Bridget                         Lee                                  $10.00
  Bridget                         Lee                                  $40.00
  Bridget                         Lee                                  $10.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Bridget                         Lee                                 $10.00
  Chase                           Lee                                 $40.00
  Janice                          Lee                                 $30.00
  Karina                          Lee                                 $50.00
  Kevin                           Lee                                 $30.00
  Minjae                          Lee                                 $10.00
  Peter                           Lee                                 $25.00
  Sarah                           Lee                                $100.00
  Rachel                          Leeman-Munk                         $50.00
  Suzanne                         Leigh                               $10.00
  Joshua                          Leihe                               $10.00
  Kristine                        Leja                                $50.00
  Matt                            Lembo                               $50.00
  Jerry                           Leo                                $200.00
  Donald                          Leon                                $20.00
  Patrick                         Leonetti                            $40.00
  Carrianne                       Letchworth                          $25.00
  Cynthia                         Leung                               $20.00
  Kathryn                         Leung                               $25.00
  Charles                         Leveridge                           $30.00
  Shari                           Levine                             $100.00
  Stacey                          Levy                                $25.00
  Christine H                     Lew                                 $50.00
  David                           Lewis                              $100.00
  Erika                           Lewis                               $50.00
  Jackie                          Lewis                               $50.00
  Jennifer                        Lewis                               $25.00
  Matthew                         Lewis                               $50.00
  Nicholas                        Leydon                              $50.00
  Huimin                          Li                                  $25.00
  Mengsong                        Li                                  $25.00
  Samantha                        Liapes                              $20.00
  Stacey                          Lien                                $25.00
  David                           Liggett                             $50.00
  Munirah                         Lim                                 $30.00
  Tatiana                         Lim-Breitbart                       $20.00
  Wendy                           Liming                             $100.00
  Chia-Wei                        Lin                                 $20.00
  Chia-Wei                        Lin                                 $30.00
  Jaime                           Lin                                 $20.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Jennifer                        Lin                                 $100.00
  Yanwei                          Lin                                  $25.00
  Megan                           Lingo                                $50.00
  Steve                           Lippi                               $100.00
  Jason                           Liquori                              $75.00
  Carol Ann                       Lisanti                              $50.00
  Nancy                           Liu                                  $50.00
  Stephen                         Lloyd                               $100.00
  Jocelyn                         Lo                                   $20.00
  Robert                          Lockwood                            $100.00
  Warren                          Longmire                             $50.00
  Somer                           Loomis                               $35.00
  Malik                           Looper                               $50.00
  Linda                           Lopez                                $30.00
  Cc                              Lorenzana                           $100.00
  Nathan                          Losch                                $50.00
  Mara                            Loth                                 $50.00
  Danielle                        Loughridge                           $30.00
  Adara                           Louis                                $40.00
  Beth                            Lovett                               $20.00
  Alyssa                          Lowe                                 $20.00
  J. Graeme                       Lowe                                 $50.00
  Julie                           Lowe                                $100.00
  Michelle                        Lowell Brogger                       $30.00
  Qinghua                         Luan                                 $20.00
  Bradley                         Lucas                                $40.00
  Megan                           Luckhardt                            $15.00
  Beatrice                        Lucquet                              $25.00
  Niki                            Ludovico                             $50.00
  Rajan                           Lukose                               $30.00
  Andrea                          Lund                                 $20.00
  Christine                       Lunde                                 $5.00
  Diane                           Luu                                  $15.00
  Matt                            Lyman                                $50.00
  Anna                            Lynch                                $50.00
  Danielle                        Lyons                               $100.00
  Evan                            Lyons                                $40.00
  Matthew                         M√ºller                              $40.00
  Cynthia                         Ma                                   $10.00
  Garret                          Ma                                   $10.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Suzanne                         Ma                                  $20.00
  Andrea                          Maayeh                              $50.00
  Leila                           Mabourakh                           $30.00
  Mark                            Machado                             $25.00
  Stephanie                       Mackenzie                           $50.00
  Kyle                            Macnaughton                        $100.00
  Irvin                           Macquarrie                          $20.00
  Mcneal                          Maddox                              $40.00
  Ronae                           Madrid                              $10.00
  Laura                           Maestrelli                          $50.00
  Stefano                         Maffulli                            $50.00
  Michelle                        Maggs                               $50.00
  Amy                             Magni                               $50.00
  Rachel                          Magnusson                           $15.00
  Saneeha                         Mahadevaiah                         $30.00
  Cresey                          Maher                               $50.00
  Patrick                         Maier                               $20.00
  Lawrence                        Mak                                 $10.00
  Ashley                          Mallinson                           $15.00
  Candice                         Manion                              $20.00
  Michael                         Mann                                $50.00
  David                           Manning                             $20.00
  Morgan                          Manos                               $40.00
  Elana                           Manson                             $100.00
  Imran                           Mansuri                             $25.00
  Alice                           Mao                                 $40.00
  Audrey                          Mao                                 $50.00
  Kobi                            Mar                                 $25.00
  Jyothi                          Marbin                              $50.00
  Elisa                           Marcaletti                          $25.00
  Jay                             Marchesseault                       $50.00
  Larisa                          Marinas                             $40.00
  Caressa                         Marion                              $30.00
  Caressa                         Marion                              $25.00
  Caressa                         Marion                              $25.00
  Caressa                         Marion                              $20.00
  Martha                          Maris                              $100.00
  Amanda                          Marmer                              $40.00
  Andrea                          Marmor                              $50.00
  Nicole                          Marokus                             $50.00
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  Buyer First Name                Buyer Last Name      Group Gift Amount
  Sally                           Marone                             $40.00
  Mariana                         Marques                            $10.00
  Alex                            Marshall                          $200.00
  Bev                             Marshall                           $10.00
  Joann                           Marshall                           $50.00
  Loren                           Marshall                           $20.00
  Alison                          Martin                             $50.00
  Lindsey                         Martin                             $10.00
  Reed                            Martin                             $20.00
  Adriana                         Martinez                           $40.00
  Amanda                          Martinez                           $15.00
  Javier                          Martinez                           $50.00
  Jessica                         Martinez                           $40.00
  Kristina                        Martinez                           $50.00
  Dustin                          Martinka                           $40.00
  Luke                            Martorelli                         $75.00
  Jeffrey                         Mascarenas                         $10.00
  Christopher                     Masone                            $250.00
  Dena                            Masuda                             $30.00
  Harper                          Matheson                           $10.00
  Tippi                           Mathison                           $50.00
  Elena                           Matsis                             $20.00
  Tanya                           Matthews                          $100.00
  Jacob                           Mattingley                         $40.00
  Casey                           Maue                               $10.00
  Peter                           Maxfield                          $100.00
  Katherine                       May                                $25.00
  Christina                       Maybaum                            $45.00
  Becca                           Mcarthur                           $40.00
  Michael                         Mcauliffe                          $50.00
  Kyle                            Mccall                             $10.00
  Ashley                          Mccalley                           $50.00
  Kelly                           Mccallion                          $25.00
  Anna                            Mccall-Taylor                      $15.00
  Kathleen                        Mccarthy                          $150.00
  Leslie                          Mccarthy                           $50.00
  Ruth                            Mccarthy                           $20.00
  Yvonne                          Mccarty                            $25.00
  Justine                         Mcclain                            $10.00
  Megan                           Mcclellan                          $10.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Rose                            Mcclure                             $30.00
  Arlen                           Mccluskey                           $25.00
  Andrea                          Mccook                              $10.00
  Scott                           Mccracken                           $10.00
  Justin                          Mccullum                            $20.00
  Heather                         Mccune                              $50.00
  Nancy                           Mcdermand                          $100.00
  Kara                            Mcdermott                           $30.00
  Clare                           Mcdonald                            $20.00
  Gwen                            Mcdonald                            $50.00
  Gwen                            Mcdonald                           $200.00
  Kaci                            Mcgary                              $50.00
  Theresa                         Mcgillie                            $50.00
  Jeanne                          Mcginnis                            $40.00
  Laura                           Mcgladrey                           $50.00
  Annette                         Mcgovern                            $50.00
  Geraldine                       Mcgrath                             $50.00
  Nanea                           Mcguigan                            $50.00
  Megan                           Mckay                               $20.00
  Mikaela                         Mckenna                             $50.00
  Tania                           Mckeown                             $25.00
  Beth                            Mcknight                            $25.00
  Corinne                         Mcleary                             $50.00
  Dawn                            Mclellan                            $50.00
  Dave                            Mcmahon                             $25.00
  Margret                         Mcmahon                             $50.00
  Thomas                          Mcmanus                             $40.00
  Judith                          Mcmurry                             $20.00
  Amy                             Mcnamara                           $100.00
  Christopher                     Mcnulty                            $400.00
  Dennis                          Mcsweeney                          $100.00
  Patricia                        Mears Clardy                        $15.00
  Cindy                           Medal                               $20.00
  Gabrielle                       Meeker                              $40.00
  Shabnum                         Mehra                               $50.00
  Emily                           Meier                               $40.00
  James                           Meininger                           $30.00
  Andrea                          Mejia                               $20.00
  Sara                            Meldrum                             $35.00
  Nathan                          Melsted                            $100.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Wendy                           Meluch                               $50.00
  Jody                            Menerey                              $20.00
  Charlene                        Mercadante                          $250.00
  Samantha                        Meredith                             $25.00
  E. Porter                       Merriman                             $20.00
  E. Porter                       Merriman                             $80.00
  Nicholas                        Merski                               $20.00
  Nicholas                        Merski                               $50.00
  Julia                           Meter                                $15.00
  John                            Metzinger                             $5.00
  Bethany                         Meuleners                            $40.00
  Adam                            Meyer                                $25.00
  Nicholas                        Meyer                                $50.00
  Ruthie                          Meyer                                $35.00
  Kelly                           Meyers                               $25.00
  David                           Milam                                 $5.00
  Chris                           Miller                               $50.00
  Garrett                         Miller                               $25.00
  Georgina                        Miller                               $30.00
  Georgina                        Miller                               $20.00
  Hannah                          Miller                               $20.00
  Lauren                          Miller                               $25.00
  Lina                            Miller                               $10.00
  Lisa                            Miller                               $50.00
  Margot                          Miller                               $50.00
  Mary                            Miller                               $50.00
  Rose                            Miller-Sims                          $50.00
  Sydney                          Milligan                             $15.00
  Renee                           Mills                                $25.00
  Francine                        Miltenberger                        $200.00
  Gloria Chua                     Min                                  $10.00
  William                         Minahen                              $25.00
  Mary L                          Mines                                $25.00
  Yulia                           Minina                               $30.00
  Crispna                         Miranda                              $25.00
  Irina                           Mirlas                               $30.00
  Laurie                          Misra                                $40.00
  Alexandra                       Mitchell                             $25.00
  Dacia                           Mitchell                            $150.00
  Brita                           Mittal                               $20.00
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  Buyer First Name               Buyer Last Name         Group Gift Amount
  Sheonna                        Mix                                   $50.00
  Tee                            Mo                                    $25.00
  Alexandra                      Mobley                               $200.00
  Loretta                        Mockler                               $50.00
  Joan                           Moffitt                               $50.00
  Michael                        Moffitt                               $50.00
  Amy                            Mohelnitzky                           $30.00
  Erfan                          Mojaddam                              $50.00
  Erfan                          Mojaddam                              $25.00
  Elizabeth                      Mokyr Horner                          $50.00
  Jeannine                       Moline                                $25.00
  Jamie                          Molleson                              $40.00
  Brenda                         Mollis                                $20.00
  Benjamin                       Monson                                $50.00
  Basia                          Montauk                               $50.00
  Erika                          Montes                                $20.00
  John                           Montes                                $40.00
  Robert                         Montgomery                            $15.00
  Robert                         Montgomery                            $20.00
  Paul                           Montoy-Wilson                         $20.00
  Larissa                        Mooney                                $60.00
  Alexandra                      Moore                                 $50.00
  Elizabeth                      Moore                                 $50.00
  Tova                           Moore                                 $20.00
  Julie                          Moree                                 $30.00
  Marie                          Morgan                                $50.00
  Kent                           Moriarty                              $50.00
  Tracey                         Morley                                $20.00
  Brooke                         Morris                                $50.00
  Erin                           Morrison                              $20.00
  Jason                          Morrison                              $50.00
  John                           Morro                                $100.00
  Patrick                        Morrow                                $25.00
  Bhavana                        Moryani                               $15.00
  Magdalena                      Morysewicz                            $20.00
  Eric                           Mose                                  $20.00
  Donna                          Motta                                 $50.00
  Emily                          Moxley                                $40.00
  Natalia                        Mulholland                            $50.00
  Linda                          Muller                                $30.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Benjamin                        Murphy                               $20.00
  Michelle                        N                                    $25.00
  Ben                             Nadel                               $250.00
  Aki                             Nagatomi                             $50.00
  Nick                            Nagy                                 $50.00
  Cynthia                         Nakayama                             $10.00
  Satoko                          Nakayama                             $10.00
  Jaime                           Namimatsu                            $50.00
  Kabita                          Nanda                                $25.00
  Jessica                         Nastor                               $20.00
  Anna                            Navarro                              $20.00
  Raveesh                         Nayar                                $20.00
  Marria                          Nazif                                $20.00
  Nicole                          Nealon                               $40.00
  Jessica                         Neely                                $30.00
  Bryan                           Neider                              $200.00
  Quinn                           Neidig                               $45.00
  Juanita                         Nelson                               $25.00
  Judy                            Nelson                               $50.00
  Lauren                          Nelson                               $25.00
  Randy                           Nelson                              $100.00
  Jane                            Nemenman                             $20.00
  Peter                           Nevermann                            $20.00
  Jessica                         Newburn                              $20.00
  Deborah                         Newhouse                             $30.00
  Cynthia                         Newman                               $30.00
  Alvin                           Ng                                   $20.00
  Ann                             Ng                                   $50.00
  Andre                           Ngo                                  $50.00
  Khanh                           Nguyen                               $10.00
  Khanh                           Nguyen                               $10.00
  Michael                         Nguyen                               $50.00
  Peter                           Nguyen                               $50.00
  Tracy                           Nguyen                                $5.00
  Tracy                           Nguyen                                $5.00
  Harriet                         Nibbelin                             $50.00
  Christian                       Nibler                               $50.00
  Kiley                           Nichols                              $25.00
  Dorothee                        Nickles                              $20.00
  Rebecca                         Niemiec                              $15.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Renae                           Niles                                $20.00
  Oluf                            Nissen                               $10.00
  Nancy                           Nix                                  $40.00
  Nancy                           Nix                                  $40.00
  Kevin                           Noble                                $50.00
  Elisa                           Nocedal                              $25.00
  Niklas                          Nordlof                              $20.00
  Catherine                       Norris                              $100.00
  Ryan                            Nosek                               $100.00
  Nathan                          Nottke                               $50.00
  Janet                           Nunan                                $50.00
  Andrew                          Nusbaum                              $50.00
  Jesse                           Nussbaum                             $40.00
  Erik                            Oberholtzer                         $100.00
  John                            Obrien                              $100.00
  Julie                           Obrien                               $25.00
  Amy                             O'Brien                              $50.00
  Jaclyn                          O'Brien                              $50.00
  Lisa                            Ochoa-Frongia                        $25.00
  Aline                           Ocon                                 $25.00
  Greg                            Oconnell                             $25.00
  Lina                            O'Connor                             $50.00
  Jenny                           Odegard                              $50.00
  James                           Odom                                 $20.00
  Claudia                         Oelschig                             $50.00
  Alexandra                       Ogburn                               $20.00
  Jenna                           Ogier-Marangella                     $25.00
  Julie                           Oh                                  $100.00
  Kimberly                        O'Hagan                             $100.00
  Taleen                          Ohanian                             $250.00
  Kelli                           Ohara                                $10.00
  Rendy                           Oka                                  $20.00
  Suzanne                         O'Kelley                             $50.00
  Cheryl                          Oku                                  $50.00
  Andrea                          Olah                                 $40.00
  Willow                          Older                               $100.00
  Sophia                          Olliver                             $100.00
  Stephen                         Olmstead                             $25.00
  Richard                         Olney                                $75.00
  Christine                       Olsen                                $40.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Erik                            Olsen                                $20.00
  Sandra                          Olson                               $100.00
  Chikara                         Onda                                 $40.00
  Kelsey                          Oneal                                $15.00
  Clifford                        O'Neill                              $50.00
  Adaurennaya                     Onyewuenyi                           $50.00
  Andrea                          Oprel                                $20.00
  Taina                           Oquendo                              $20.00
  Teresa                          Oquendo                              $50.00
  Elsa                            Ordway                               $40.00
  Will                            Oremus                               $30.00
  John                            Orlowski                             $25.00
  Steven                          Orme                                 $25.00
  Halley                          Ornstein                             $20.00
  Kristina                        Ortega                               $10.00
  Liz                             Osaki                                $25.00
  Ryan                            Osborne                              $15.00
  Emily                           Ou                                   $25.00
  Bryan                           Ouchi                                $25.00
  Timothy                         Owen                                 $50.00
  Joanie                          Pacheco                              $50.00
  Rachel                          Pacheco                             $100.00
  Nancy                           Paduano                              $20.00
  Elizabeth                       Paesch                              $100.00
  Gopal                           Pai                                  $20.00
  Joshua                          Palkki                               $20.00
  Sushien                         Pang                                 $30.00
  David                           Paquette                             $50.00
  Janice                          Paquette                             $20.00
  Adam                            Parast                               $50.00
  Megan                           Pardo                                $10.00
  Shuly                           Paret                                $10.00
  Abhirath                        Parikh                               $15.00
  Chris                           Parikh                               $50.00
  Nina                            Parikh                               $15.00
  Celeste                         Parisi                               $50.00
  Ji-Hyun                         Park                                 $15.00
  Kathy                           Park                                 $50.00
  Stephanie                       Park                                 $20.00
  Ashley                          Parker                               $30.00
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  Buyer First Name               Buyer Last Name        Group Gift Amount
  Jena                           Parson                               $50.00
  Monica                         Patel                                $50.00
  Payal                          Patel                                $10.00
  Rahul                          Patil                                $25.00
  Radu                           Patrichi                             $25.00
  Danielle                       Patterson                            $10.00
  Danielle                       Patterson                            $10.00
  Davis                          Patterson                            $10.00
  Laura                          Patterson                            $20.00
  Laura                          Patterson                            $20.00
  Tracey                         Patterson                            $25.00
  Jordan                         Paul                                 $50.00
  Michael                        Paul                                 $20.00
  Jakub                          Pawlowski                            $25.00
  Na                             Paye                                 $50.00
  Anne Kerwin                    Payne                               $100.00
  Muffy                          Pease                                $15.00
  Shannon                        Peavey                               $10.00
  Serhan                         Pekel                                $20.00
  Ryan                           Pemberton                            $20.00
  Elizabeth                      Penn                                $100.00
  Tracy                          Penn                                 $25.00
  Steve                          Pepple                               $20.00
  Shanna                         Perales                              $50.00
  Katherine                      Perasso                             $125.00
  Georgia                        Perez                               $100.00
  Jon                            Perez                                $50.00
  Ricardo                        Perez                                $20.00
  Sophie                         Perisic                             $100.00
  Chris                          Perrone                             $100.00
  Marisa                         Perrotti                            $250.00
  Renee                          Perry                                $75.00
  Ciara                          Peter                               $100.00
  Melanie                        Peters                               $50.00
  Bendeck                        Peterson                             $75.00
  Caryl K                        Peterson                             $50.00
  Jeffrey                        Peterson                             $50.00
  John Paul                      Peterson                             $50.00
  Linda                          Petrie                                $9.00
  Gus                            Petropiulos                          $75.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Lisa                            Petrus                               $50.00
  Beth                            Pfunder                              $50.00
  Binh                            Pham                                $100.00
  Jennifer                        Phillips                             $23.00
  Kyoki                           Phillips                             $50.00
  Martha                          Phillips                             $40.00
  Srin                            Phosri                              $100.00
  Ann                             Pinkas                               $50.00
  James D                         Piper                                $25.00
  Lexine                          Pishue                               $20.00
  Kathleen                        Pittman                              $35.00
  Louise                          Place                                $10.00
  Julia                           Player                               $15.00
  Olesya                          Pokorna                              $35.00
  David                           Polett                               $50.00
  Emily                           Pollard                              $40.00
  Margo                           Polley                               $50.00
  Julie                           Poochigian                          $200.00
  Heide                           Poppenberg                          $200.00
  Katherine                       Porter                               $30.00
  Aarti                           Porwal                               $50.00
  Colin                           Potter                               $50.00
  Vaughn                          Potter                               $50.00
  Linda                           Poullier                             $25.00
  Kristen                         Powell                               $50.00
  Susan                           Powell                               $20.00
  Vishwas                         Prabhakara                           $10.00
  Prachi                          Pradhan                              $20.00
  Jan                             Prahm                               $200.00
  Pamela                          Prahm                               $250.00
  Ira                             Pramanick                            $50.00
  Shannon                         Pratt                                $30.00
  Ana Maria                       Preller                              $25.00
  Jonathan                        Prentice                             $20.00
  Stephanie                       Preo                                 $20.00
  Jordana                         Price                                $40.00
  Whitney                         Price                               $100.00
  Jason                           Primuth                              $50.00
  Ramona                          Pufan                                $50.00
  Cynthia                         Pun                                  $25.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Jason                            Pun                                 $50.00
  Kevin                            Punzalan                            $15.00
  Xin                              Qi                                 $100.00
  Mimi                             Quan                                $20.00
  James                            Quarles                             $50.00
  Rett                             Quattlebaum                         $20.00
  Karen                            Quinn                              $100.00
  Harmony                          Quiroz                              $50.00
  Megan                            Rabin                              $100.00
  Suzie                            Radack                              $50.00
  Nicole                           Radlow                              $25.00
  Gail                             Ragains                             $30.00
  Sandra                           Rago                                $20.00
  Tanya                            Rago                                $50.00
  Radhika                          Ragsdale                            $50.00
  Rezaur                           Rahman                              $15.00
  Chanera                          Rahming                             $20.00
  Richel                           Raich-Cantu                         $80.00
  Harish                           Rajamani                            $75.00
  Jayant                           Rajan                               $50.00
  Allison                          Rak                                 $50.00
  Amanda                           Ralls                               $50.00
  Jabina                           Ramde                               $75.00
  Vanessa                          Ramirez                             $30.00
  Nicole                           Ramos                               $25.00
  Jose L                           Ramos Serrano                       $50.00
  Adam                             Rand                                $25.00
  William M                        Rank                                $25.00
  Alya                             Raphael                             $40.00
  Michelle                         Rappaport                           $50.00
  Desiree                          Rauterkus                           $50.00
  Michael                          Ray                                 $20.00
  Sucharita                        Ray                                 $30.00
  Farhez                           Rayani                              $50.00
  Heidi                            Raymond                             $75.00
  Stephen                          Ready                               $25.00
  Christine                        Reals                               $10.00
  Shannon                          Redington                           $45.00
  Jeffrey                          Reed                               $150.00
  Jess                             Reed                                $60.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Jocelyn                          Reed                                $30.00
  Katherine                        Reeves                             $100.00
  Katherine                        Reeves                              $50.00
  William                          Reich                               $20.00
  Denise                           Reid                               $200.00
  Joan                             Remmert                             $50.00
  Jordan                           Rempel                              $50.00
  Anjali                           Renavikar                           $50.00
  Jesica                           Resmini                             $30.00
  Cata                             Reyes                               $25.00
  Melissa                          Reyes                               $20.00
  Kristin                          Rhodes                              $50.00
  Michelle                         Riband                              $45.00
  Paula                            Rice                                $50.00
  Priscilla                        Rice                                $20.00
  Wesley                           Rich                               $100.00
  Liz                              Rich Reardon                       $100.00
  Jennifer                         Richard                             $25.00
  Shaun                            Richardson                          $30.00
  Heather                          Richer                              $25.00
  Haoning                          Richter                             $22.00
  Kizzie                           Ricks                               $50.00
  Sotara                           Rico                                $25.00
  Janett                           Riebe                               $50.00
  Christopher                      Rienas                              $20.00
  Daniel                           Rietz                               $50.00
  Robby                            Rigby                               $25.00
  Jeanne                           Riley                               $50.00
  Nicola                           Rinaldi                             $20.00
  Elyakim                          Rinat                               $45.00
  Sarah                            Ringold                             $40.00
  Shannon                          Rinzler                             $25.00
  Venetia                          Riso                               $100.00
  Tracy                            Rittenhouse                         $25.00
  Jonas                            Rivera                             $100.00
  Larissa                          Rivers                              $50.00
  Carla                            Roa                                 $40.00
  Carolyn                          Robbins                             $60.00
  Daniel                           Robbins                             $50.00
  Mark                             Robbins                             $50.00
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  Buyer First Name                Buyer Last Name       Group Gift Amount
  Sharon                          Robertson                       $10,000.00
  Terrence                        Robertson                           $20.00
  Camille                         Robinson                            $20.00
  Henry                           Robinson                            $10.00
  Henry                           Robinson                            $15.00
  Henry                           Robinson                            $15.00
  Kelsie                          Robinson                            $20.00
  Kristen                         Robinson                            $25.00
  Rick                            Robinson                            $50.00
  Sharon                          Robinson                           $100.00
  Grant                           Rochelle                            $25.00
  Mary                            Rockers Tyni                        $50.00
  Matthew                         Rodgers                             $50.00
  Matthew                         Rodgers                             $50.00
  Dorisa                          Rodney                              $30.00
  Nathaly                         Rodrigues                           $20.00
  Erendira                        Rodriguez                           $50.00
  Stefanie                        Rodriguez                           $25.00
  Peter                           Roe                                $100.00
  Briana                          Rogers                              $15.00
  Leif                            Rogers                             $200.00
  Lauren                          Rolfe                               $30.00
  Daniel                          Rolinek                             $50.00
  Stacy                           Rollo                               $35.00
  Itai                            Rolnick                             $48.00
  Jeff                            Root                                $30.00
  Erica                           Rose                                $20.00
  Roses                           Rosemary                           $300.00
  Brooke                          Rosen                               $25.00
  Claire                          Rosenfeld                           $30.00
  Emily                           Rosenfeld                           $50.00
  Darah                           Roslyn                              $30.00
  Holly                           Ross                                $20.00
  Tanja                           Ross                               $100.00
  Terry                           Rossow                              $50.00
  Justin                          Roth                                $20.00
  Jonathan                        Rowny                               $20.00
  Lenka                           Rozporka                            $10.00
  George Manalo                   Rr                                  $25.00
  David                           Ruben                               $25.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Avinia                           Rucker                               $20.00
  Michael                          Ruff                                 $25.00
  Rand                             Rusher                              $100.00
  Alan                             Ruskin                               $50.00
  Scott                            Russell                               $0.00
  Tsehai                           Russell                              $30.00
  Jessica                          Rycroft                              $18.00
  M                                S                                    $20.00
  Harkanwal                        Sachdev                             $250.00
  Lisa                             Sachs                                $50.00
  Sandra                           Sacks                                $15.00
  Sathish                          Sadagopan                            $20.00
  Dorothee                         Saddier                              $20.00
  Liat                             Sadler                               $75.00
  Bryson                           Saez                                 $40.00
  Mitra                            Safa                                 $25.00
  Deepti                           Sahrawat                             $50.00
  Walkens                          Sainvil                              $40.00
  Susan                            Sakai-Mcclure                        $30.00
  Yvonne                           Salamini                             $25.00
  Caitlin                          Sale                                 $25.00
  Satyajeet                        Salgar                               $20.00
  Randy                            Salim                                $20.00
  Jennifer                         Salisbury                           $200.00
  Charles                          Salter                               $25.00
  Molly                            Salzetti                             $25.00
  Parul                            Samdarshi                            $30.00
  Krista                           Sammons                              $50.00
  Maria                            Sanchez                              $40.00
  Leo                              Sanders                              $10.00
  Dr R K                           Sanderson                            $20.00
  Meredith                         Sandland                             $25.00
  Vanitha                          Sankaran                             $50.00
  Chuanpis                         Santilukka                           $25.00
  Gabriela                         Sar                                  $50.00
  Ranita                           Saraiya                              $50.00
  Sashaoleary                      Sashaoleary                          $10.00
  Sashaoleary                      Sashaoleary                          $20.00
  Patricia                         Savelli                              $20.00
  Vorada                           Savengseuksa                         $30.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Justin                           Savich                              $20.00
  MD                               Savoie                              $50.00
  Niharika                         Saw                                 $50.00
  Julia                            Saxnov                              $40.00
  Elise                            Sbarbori                            $30.00
  Sarah                            Scalera                             $15.00
  David                            Schannon                            $25.00
  Theodore                         Scheel                              $15.00
  Benjamin                         Schiffler                           $25.00
  Hannah                           Schlesinger                         $20.00
  Lauren                           Schmidt                             $50.00
  Natalie                          Schmidt                             $50.00
  Maureen                          Schnabolk                          $100.00
  Christopher                      Schoberl                            $10.00
  Todd                             Schoepflin                          $20.00
  Rashida                          Scholz                             $150.00
  Andrew                           Schorr                              $50.00
  Nancy M                          Schorr                              $25.00
  Katie                            Schramm                             $50.00
  Susan                            Schreiber                           $50.00
  Chris                            Schretzenmayer                      $20.00
  Deanna                           Schroder                            $40.00
  Deanna                           Schroder                            $50.00
  Claudia                          Schroeppel                          $40.00
  Betty                            Schrohe                            $100.00
  Alison                           Schumer                             $15.00
  Dan                              Schwab                              $30.00
  Allison                          Schwartz                            $50.00
  Gena                             Schwartz                            $50.00
  Ben                              Schwartzbach                        $15.00
  Lily                             Schwartzman                         $20.00
  Noah                             Schwarz                             $20.00
  Josh                             Schwarzapel                         $20.00
  Carsten                          Schwesig                            $10.00
  Emily                            Scott                               $30.00
  Lena                             Scotto                              $40.00
  Camara                           Scremin                             $75.00
  Kylah                            Searing                            $100.00
  David                            Sears                               $75.00
  Clair                            Secomb                              $20.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Maureen                         Sedonaen                             $50.00
  Bryan                           Seely                                $25.00
  Susanna                         Segre                                $50.00
  Mary                            Selby                                $20.00
  Kristen                         Self                                 $50.00
  Sarah                           Semple                               $25.00
  Jonathan                        Senigaglia                           $20.00
  Ronald                          Sera                                $100.00
  Sarah                           Serna                                $20.00
  Camille                         Servan-Schreiber                     $30.00
  Julie                           Seureau                              $40.00
  Andrew                          Sewell                               $20.00
  Chris                           Sewell                              $200.00
  Jenava                          Sexton                               $50.00
  Amee                            Shah                                 $15.00
  Nirali                          Shah                                 $20.00
  Purvi                           Shah                                 $25.00
  Devon                           Shannon                              $25.00
  Shannon                         Shaper                               $20.00
  Sarah                           Shapiro                              $18.00
  Ahmed                           Sharif                               $25.00
  Rajesh                          Sharma                               $50.00
  Robrt                           Sharp                                $20.00
  Lauren                          Shaughnessy                          $20.00
  Stephanie                       Shaw                                 $25.00
  Sharon                          Shea                                 $50.00
  Lorelle                         Shearer                             $100.00
  Rong                            Shen                                 $20.00
  Brooke                          Shepard                              $20.00
  Katherine                       Shepherd                             $10.00
  Lindsey                         Shepherd                             $50.00
  Claire                          Shepley                              $53.00
  Stephen                         Sherbrook                            $20.00
  Emily                           Sheridan                             $10.00
  Emily                           Sheridan                             $25.00
  Lani                            Sheridan                             $10.00
  Stacie                          Sherwood                             $40.00
  Chaitra                         Shetty                               $50.00
  Lin                             Shi                                  $20.00
  Cathy                           Shields                              $25.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Tia                              Shimada                              $40.00
  Shoefly                          Shoefly                              $10.00
  Hilda                            Shou                                 $30.00
  Uzma                             Shoukat                              $10.00
  David                            Shuff                               $100.00
  Ashutosh                         Shukla                               $20.00
  Matthew                          Sibigtroth                           $10.00
  Faye                             Siegler                              $50.00
  Katarina                         Sieling                              $50.00
  Diane                            Silverman                           $100.00
  Kimberly                         Simmons                              $20.00
  Kim                              Simon                                $18.00
  Mathew                           Simonton                             $50.00
  Aaron                            Simpson                              $15.00
  Lauren                           Simpson                              $20.00
  Pamela                           Sims                                 $40.00
  David                            Sinclair                             $10.00
  Sourabh                          Singhal                              $50.00
  Shantanu                         Sinha                                $50.00
  Justin                           Siou                                 $20.00
  Ruth                             Sipple                               $20.00
  Karen                            Sipprell                            $100.00
  Joseph                           Sirianni                             $50.00
  Shane                            Sitzman                              $50.00
  Kristin                          Skager                               $50.00
  Laura                            Skelton                              $15.00
  Dara                             Sklar                                $40.00
  Jared                            Skolnick                             $20.00
  Heather                          Skratulia                            $15.00
  Michael                          Skupin                               $20.00
  Sean                             Skuro                                $25.00
  Geoffrey                         Sledge                               $25.00
  Lauren                           Sloane                               $50.00
  Alexis                           Smith                                $50.00
  Connor                           Smith                                $30.00
  Diana                            Smith                                $50.00
  Erin                             Smith                                $20.00
  Heidi                            Smith                                $10.00
  Janae                            Smith                                $10.00
  Jeffrey                          Smith                               $100.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Joel                            Smith                                $50.00
  Kimberly                        Smith                                $40.00
  Kirsten                         Smith                                $25.00
  Kirsten                         Smith                                $25.00
  Rachel                          Smith                                $50.00
  Rebecca                         Smith                                $25.00
  Caragh                          Smyth                                $50.00
  Edward                          Snow                                 $40.00
  Gregory                         Snyder                               $20.00
  Srimayani                       Soewignjo                           $100.00
  Aparajita                       Sohoni                              $100.00
  Michael                         Solheim                              $25.00
  Hilary                          Somers                               $50.00
  Clayton                         Sontheimer                           $25.00
  Andrea                          Soroko                               $20.00
  Anne                            Souter                              $100.00
  Jessica                         Spaly                               $100.00
  Kerstin                         Spangner                             $50.00
  Erin                            Spannan                              $65.00
  Michael                         Sparber                              $50.00
  Karen                           Sparks                               $50.00
  Marsha                          Spector                              $25.00
  Mary                            Spicer                               $40.00
  Brooke                          Spreckman                            $15.00
  John                            Springmann                           $25.00
  Suzanne                         Springs                              $30.00
  Brookelyn                       Sproviero                            $50.00
  Robin                           Spruce                               $50.00
  Vinod                           Srinivasan                           $20.00
  Garima                          Srivastava                           $20.00
  Jay                             Stack                                $25.00
  Jennifer                        Stacy                                $50.00
  Genevieve                       Stahl                                $50.00
  Brenda                          Staley                               $30.00
  Jennifer                        Staples                             $100.00
  Clifford                        Staton                               $50.00
  Michelle                        Stavrou                              $10.00
  Pamela                          Steckler                            $100.00
  Lisa                            Stefanac                             $30.00
  Nicole                          Stefani                              $50.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Lauren                          Steffel                               $5.00
  Jennifet                        Steinle                              $50.00
  Jaime                           Stella                              $100.00
  Joanne                          Stephane                             $50.00
  Charles                         Stephens                             $15.00
  Eileen                          Stephens                             $50.00
  Grant                           Stephens                             $50.00
  Kari                            Stephens                             $40.00
  Tamara                          Stern                               $100.00
  Ashley                          Stevanovic                           $45.00
  Anne                            Stevens                              $40.00
  Melissa                         Stevens                              $40.00
  Amy                             Stewart                              $50.00
  Laurie                          Stewart                             $250.00
  Christopher                     Stinson                              $10.00
  Jasmine                         Stirling                             $25.00
  Isabel                          Stone                                $50.00
  Jeff                            Stone                                $20.00
  Michelle                        Stone                                $25.00
  Beverly                         Storrs                               $30.00
  Peter                           Straus                               $20.00
  David                           Strick                               $50.00
  Liane                           Strub                                $50.00
  Spencer                         Strub                                $35.00
  Emilie                          Struthers                            $25.00
  Candy                           Stryker                              $50.00
  Dominique                       Suarez                               $20.00
  Jee                             Suh                                  $50.00
  Joseph                          Sulistyo                             $25.00
  Kara                            Sullivan                             $25.00
  Kara                            Sullivan                             $25.00
  Patricia                        Sullivan                             $25.00
  Jennifer                        Sulon                                $25.00
  Kartik                          Sundar                               $25.00
  Kartik                          Sundar                               $20.00
  Kartik                          Sundar                               $20.00
  Kristen                         Sundberg                            $100.00
  Suzi                            Sutherland                          $100.00
  Aleksandr                       Sutkin                              $100.00
  Ann                             Sutphin                             $100.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Christine                       Svallin                              $25.00
  Amy                             Swain                                $20.00
  Gary                            Swanson                              $75.00
  Andrew                          Sweeney                              $50.00
  Nicole                          Sweetman                             $40.00
  Anna                            Swenson                              $25.00
  Gregory                         Sweriduk                             $20.00
  Briana                          Swette                               $20.00
  Danielle                        Szafir                               $20.00
  Krista                          Szyndlar                             $40.00
  Frank                           Tai                                 $100.00
  Evelyn                          Tam                                  $20.00
  Padma                           Tamirisa                             $25.00
  Hui                             Tan                                  $15.00
  Pearly                          Tan                                  $50.00
  Sheila                          Tan                                  $50.00
  Mary Ann                        Tancuan                             $150.00
  Janis                           Tani                                 $50.00
  Janet                           Tarkoff                             $100.00
  Peter                           Tauber                               $20.00
  Scott                           Tavenner                            $250.00
  Ivana                           Tay                                  $30.00
  Gayle                           Taylor                               $30.00
  Laura L                         Taylor                               $50.00
  Leslie                          Taylor                              $100.00
  Lisa                            Taylor                               $50.00
  Miranda                         Taylor                               $40.00
  Mountain                        Taylor                               $10.00
  Paul                            Teddy                               $100.00
  Tiffany                         Teele                                $20.00
  Vidushi                         Tekriwal                              $5.00
  Julie                           Templeton                            $25.00
  Barbara                         Thayer                               $25.00
  Martina                         Thimot                              $100.00
  Corinne                         Thomas                               $25.00
  Corinne                         Thomas                               $20.00
  Cory                            Thomas                               $50.00
  Katherine                       Thomas                               $10.00
  Kelly                           Thomas                               $25.00
  Melissa                         Thomas                               $25.00
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  Buyer First Name                 Buyer Last Name        Group Gift Amount
  Tasha                            Thomas                               $20.00
  Robert                           Thomas Jr                             $9.00
  Aaron                            Thompson                             $25.00
  Allison                          Thompson                             $25.00
  Kristy                           Thompson                            $100.00
  Meg                              Thompson                             $45.00
  Penelope                         Thompson                            $100.00
  Elizabeth                        Thomsen                              $60.00
  Brienne                          Thomson                              $20.00
  Iain                             Thomson                              $50.00
  Tannis                           Thorlakson                           $30.00
  Adele                            Thornbury                            $40.00
  Melissa                          Thurman                              $75.00
  Jasmine                          Tibbits                              $50.00
  Tara                             Tichy                                $50.00
  Lisa                             Tierney                              $20.00
  Michael                          Tierney                              $50.00
  Oliver                           Tilk                                 $20.00
  Stephanie                        Tipton                               $50.00
  Stefanie                         Todd                                 $50.00
  Nichole                          Tolani                               $50.00
  Kathy                            Tomaszewski                          $50.00
  Marko                            Tomic                                $25.00
  Tyler                            Tory-Murphy                          $25.00
  Christina                        Toutoungi                            $40.00
  Beth                             Trakimas                             $75.00
  Denise                           Tran                                $100.00
  Peter                            Tran                                 $25.00
  Quyen                            Tran                                $100.00
  Vicki                            Tran                                $100.00
  Claudia                          Traverso                             $50.00
  Laura                            Traxler                              $20.00
  Stephanie                        Trees                                $30.00
  Maria                            Trent                                $50.00
  Anne                             Trester                             $100.00
  Rachel                           Trindade                             $50.00
  Jennifer                         Trombley                             $25.00
  Alison                           Trotta-Marshall                     $100.00
  Kathleen                         Trotter                              $25.00
  Lauren                           Troxel                               $10.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Andrew                          Truong                               $20.00
  Leslie                          Truong                               $25.00
  Jennie                          Tsang                                $10.00
  Natalie                         Tse                                  $30.00
  Victor                          Tso                                  $20.00
  Ho Ying                         Tsui                                 $20.00
  Neil                            Tuch                                $200.00
  Craig                           Tucker                              $100.00
  Laurel                          Turner                               $75.00
  Jennifer                        Tyler                                $30.00
  Elizabeth                       Umbrino                              $20.00
  Doris                           Untalan                              $40.00
  Krishna                         Upadhya                              $50.00
  Krishna                         Upadhya                              $50.00
  Maria                           Upmeyer                              $25.00
  Jose Ricardo                    Urteaga Augier                       $25.00
  Heli                            Uusitalo                            $100.00
  Cheryl                          Uyehara                              $50.00
  Madonna                         Uyenoyama                            $25.00
  Christine                       Uytengsu                             $50.00
  Jane                            Vail                                 $25.00
  Rosalinda                       Valdez                               $75.00
  Rose                            Valencia                             $40.00
  Sylvia                          Vallat                               $10.00
  Sylvia                          Vallat                               $10.00
  Sylvia                          Vallat                               $25.00
  Ron                             Van De Crommert                      $30.00
  Hannah                          Van Niekerk                          $20.00
  Lauren                          Van Sickle                          $300.00
  Maria C                         Van Valkenburgh                      $30.00
  Linda                           Vang                                 $25.00
  Matthew                         Vanis                               $100.00
  Heather                         Vanni                                $25.00
  Jamie                           Vanover                              $50.00
  Sorapong                        Veatural                             $40.00
  Ryan                            Velasco                             $100.00
  Ivan                            Vendrov                              $30.00
  Kathryn                         Venezia                              $25.00
  Rachel                          Verboort                             $20.00
  Ashley                          Verinsky                             $40.00
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  Buyer First Name                Buyer Last Name        Group Gift Amount
  Lis                             Vesurai                             $25.00
  Ashley                          Vetter                              $25.00
  Gabriel                         Veuve                               $50.00
  Lidia                           Vieyra                              $50.00
  Lydia                           Villalobos                          $25.00
  Donna                           Villamil                            $50.00
  Priscilla                       Villanueva                          $10.00
  Elyse                           Vitale                              $25.00
  Olivia                          Viveros                             $40.00
  Liya                            Vlahov                              $25.00
  Virgil                          Vo                                  $25.00
  Pierce                          Vollucci                            $15.00
  Anneliese                       Vranizan                            $50.00
  T                               W                                   $25.00
  T                               W                                   $50.00
  Elizabeth                       Wade                                $30.00
  Nadine                          Wade-Gravett                        $75.00
  Romina                          Wahab                               $30.00
  Abbey                           Walker                              $50.00
  Courtney                        Walker                              $25.00
  Donna                           Walker                              $50.00
  Neva                            Walker                              $50.00
  Sara                            Walkup                              $25.00
  Amanda                          Wallace                             $35.00
  Sabine                          Wallis                              $20.00
  Sabine                          Wallis                              $20.00
  Sabine                          Wallis                              $15.00
  Sabine                          Wallis                              $20.00
  Sabine                          Wallis                               $5.00
  Sabine                          Wallis                              $20.00
  Andrea                          Walt                                $30.00
  Sarah                           Walter                              $45.00
  Sarah                           Walter                              $45.00
  Sarah                           Walter                              $25.00
  Sarah                           Walter                              $20.00
  Judith                          Walters                             $25.00
  Judith                          Walters                             $25.00
  Katie                           Walther                             $50.00
  Sara                            Walton                              $50.00
  Jennifer                        Wang                                $25.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Jiun-Ru                          Wang                                $30.00
  Kara                             Wang                                $15.00
  Lisa                             Wang                                $25.00
  Naxin                            Wang                                $25.00
  Phillip                          Wang                                $50.00
  Sherry                           Wang                                $15.00
  Tammy                            Wang                                $50.00
  Deirdre                          Warin                              $100.00
  Julie                            Warner                             $100.00
  Reid                             Warner                              $50.00
  Beth                             Warren                              $50.00
  Adam                             Was                                 $50.00
  Mary                             Washburn                            $50.00
  Sara                             Wasserbauer                        $500.00
  Cindy                            Waters                              $70.00
  Helen                            Waters                              $50.00
  Braden                           Watkins                             $50.00
  Brendan                          Watkins                             $50.00
  Lauren                           Watley                              $50.00
  Corey                            Watson                              $25.00
  Shane                            Watson                              $75.00
  Michael                          Wattendorf                          $25.00
  Lane                             Weaver                              $25.00
  Yelana                           Webb                                $25.00
  Grey                             Wedeking                            $20.00
  Kathleen                         Wehr                                $20.00
  Stephanie                        Wehrung                             $75.00
  Yi                               Wei                                 $50.00
  Nicholas                         Weiler                              $10.00
  Jessica                          Weinberg                            $40.00
  Zach                             Weiner                              $50.00
  Emily                            Weisner                             $30.00
  Brooke                           Welch                               $20.00
  Blair                            Wellington                          $25.00
  Constance                        Wellman                             $20.00
  David                            Wells                              $150.00
  Louise                           Wen                                 $50.00
  Cynthia                          Wener                               $60.00
  Jessica                          Weng                                $20.00
  Megan                            West                                $50.00
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  Buyer First Name                 Buyer Last Name       Group Gift Amount
  Larry                            Westdahl                           $100.00
  Kate                             Westling                            $50.00
  James                            Wetmore                             $25.00
  Christina                        Weyer Jamora                        $75.00
  John                             Whalen                             $100.00
  Kathryn                          Whalen                              $50.00
  Patricia                         Whaley                              $10.00
  Holly                            Wheaton                             $30.00
  Caitlin                          Whitaker                            $20.00
  Eliza                            White                              $100.00
  Kimberly                         White                               $50.00
  Tracy                            White                               $50.00
  Erik                             Whiteley                            $20.00
  Douglas                          Whiting                             $20.00
  Pamela                           Whiting                             $15.00
  Pamela                           Whiting                             $10.00
  John                             Whitman                             $20.00
  Aaron                            Whitmore                            $15.00
  Gregg                            Whitnah                             $25.00
  Jessica                          Whittemore                          $30.00
  Andrew                           Whittock                           $100.00
  Kenneth                          Wicks                               $75.00
  Molly                            Wickstrom                          $100.00
  Jim                              Wiese                               $50.00
  Jennifer                         Wilds                              $300.00
  Jennifer                         Wilds                              $300.00
  Bill                             Wilhite                             $20.00
  Jane                             Wilkins                             $20.00
  Tony                             Wilkins                             $20.00
  Tara                             Wilkinson                           $50.00
  Julia                            Wilkowski                           $50.00
  Ellita                           Williams                           $100.00
  Hilary                           Williams                            $50.00
  Joan                             Williams                            $75.00
  Lariece                          Williams                            $25.00
  Porsche                          Williams                            $50.00
  Dana                             Williamson                          $30.00
  Deborah                          Willingham                          $15.00
  Deborah                          Willingham                          $15.00
  Jonathan                         Wills                               $20.00
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  Buyer First Name                Buyer Last Name      Group Gift Amount
  Emily                           Wilska                             $50.00
  Brett                           Wilson                            $100.00
  Jacqueline                      Wilson                             $55.00
  Romaine                         Wilson                             $25.00
  Teresa                          Wilson                             $40.00
  Heidi                           Wiltsee                            $25.00
  Pamela                          Wimberly                           $50.00
  Sabine                          Wimmer                             $25.00
  Sabine                          Wimmer                              $5.00
  Brian                           Wing                               $30.00
  Erin                            Winters                            $25.00
  Bryce Edward                    Winzenried                        $100.00
  Chris                           Wire                               $50.00
  Elizabeth                       Witwer                             $20.00
  Ellie                           Witwer                             $10.00
  Michael                         Wohl                              $100.00
  Lauren                          Wohl-Sanchez                       $30.00
  Sherri                          Wolf                              $100.00
  Geri                            Wolfsheimer                        $40.00
  Melanie                         Wollenweber                        $40.00
  Alexandra                       Wong                              $100.00
  Christina                       Wong                               $30.00
  Glen                            Wong                               $40.00
  Irene                           Wong                               $20.00
  Melissa                         Wong                               $20.00
  Melody                          Wong                               $15.00
  Lisa                            Woo                                 $5.00
  Natalie                         Woo                                $30.00
  Jessica                         Woodall-Massey                      $5.00
  Jessica                         Woodall-Massey                      $5.00
  Claudia                         Woodard                            $30.00
  Sophia                          Woodhouse                          $50.00
  Taylor                          Woods                              $10.00
  Morgan                          Woodward                           $50.00
  Afton                           Wooters                            $20.00
  Frank                           Worsley                            $25.00
  Caryl                           Woulfe                             $25.00
  Daniel                          Wright                             $30.00
  Leslie                          Wright                             $25.00
  Lorraine                        Wright                             $50.00
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  Buyer First Name                Buyer Last Name         Group Gift Amount
  Michael                         Wright                                $25.00
  David                           Wu                                    $50.00
  Meredith                        Wu                                    $25.00
  Teresa                          Wu                                    $20.00
  Yanyun                          Wu                                    $50.00
  Nicolas                         Wynn                                 $100.00
  Gemma                           Yamamoto                              $30.00
  Jonathan                        Yang                                  $15.00
  Weihong                         Yang                                  $50.00
  Patricia                        Yarbro                                $30.00
  Elham                           Yeganeh                               $20.00
  Kuo-Hua                         Yeh                                   $75.00
  Cynthia                         Yilmaz                                $50.00
  Andrew                          Yip                                   $20.00
  Janet                           Yoder                                $100.00
  Adelle                          York                                  $30.00
  Mary                            Yoshida                              $500.00
  Sedonia                         Yoshida                              $250.00
  Linda                           Young                                 $40.00
  Amy                             Youngman                              $25.00
  Jennifer                        Yu                                    $20.00
  Jongwon                         Yu                                    $20.00
  Ali                             Yuen                                  $25.00
  Kanako                          Yujuico                              $150.00
  Shabnam                         Yunis                                 $20.00
  Shabnam                         Yunis                                 $20.00
  Shelley                         Zabel                                 $50.00
  Alice                           Zanforlin                             $50.00
  Daniel                          Zaslavsky                             $30.00
  Mandana                         Zavosh                                $25.00
  Ariel                           Zeitler                               $30.00
  Yiyi                            Zeng                                  $20.00
  Yongdong                        Zhao                                  $30.00
  Lin                             Zhou                                  $40.00
  Tingfang                        Zhou                                 $220.00
  Monica                          Zigman                                $10.00
  Robin                           Zimbler                               $25.00
  Jacqueline                      Zimmerman                            $100.00
  Xochitl                         Zuniga                                $25.00
  Total:                                                          $116,216.00
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Basel                        A.                                              $2.96
   Carolyn                      Abate                                           $0.55
   Sara                         Ackerman                                       $13.85
   Felicity                     Ackers                                          $1.55
   Cathleen                     Ackley                                         $47.39
   Michelle                     Acosta                                        $815.00
   Celia                        Adelson                                        $53.76
   Sola                         Ademola                                       $805.00
   Ray                          Aganon                                        $798.77
   Rohit                        Agarwal                                        $18.86
   Kimberly                     Aguilar                                        $35.25
   Jessica                      Albertson                                     $190.00
   Daniela                      Aldrich                                       $210.50
   Melissa                      Alfred                                        $222.75
   Joelle                       Alhadeff                                      $476.40
   Eric                         Allenspach                                     $61.25
   Tuuli                        Almgren                                       $189.81
   Caren                        Alpert                                        $186.00
   Brian                        Altano                                        $243.05
   Hayley                       Alverson                                       $51.25
   E                            Amagna                                        $541.30
   Nellie                       Ancel                                          $89.95
   Emily                        Anderegg                                        $6.75
   Alexis                       Anderson                                        $0.15
   Emily                        Anderson                                        $6.70
   Kris                         Anderson                                      $465.56
   L                            Andr                                            $8.95
   Shirley                      Andreotti                                      $44.50
   Jennifer                     Anthony                                      $1,160.73
   Wendy                        Antoncich                                      $12.88
   Jesse                        Appelman                                       $64.90
   Gene                         Aquino                                        $225.00
   Collette                     Arechavaleta                                   $85.48
   Maria                        Ariens                                        $135.71
   Jp                           Arpino                                         $60.18
   Semira                       Asaro                                         $240.00
   Ruchi                        Asava                                         $375.00
   Catherine                    Asbun                                         $115.63
   Elizabeth                    Ashley                                       $1,506.30
   Frances                      Asiedu                                          $9.60
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   Buyer First Name            Buyer Last Name                  Group Gift Amount
   Adam                        Aston                                          $82.05
   Remi                        Audfray                                       $160.95
   Bruce                       Austin                                         $62.65
   Dave                        Aydelott                                     $7,127.70
   Damian                      Bacich                                         $90.38
   San                         Baek                                           $13.90
   Lauren                      Baines                                        $263.26
   Barbara                     Baker                                         $101.89
   Ian                         Balkissoon                                      $8.95
   Danielle                    Ballard                                        $83.45
   Brunilda                    Balliu                                        $330.73
   Yaniv                       Bar-Cohen                                      $86.80
   Lisa                        Barker                                        $221.65
   Greg                        Barlow                                          $0.15
   Kelly                       Barna                                          $48.50
   Molly                       Barnes                                        $357.50
   Valerie                     Barnes                                        $146.50
   Chris                       Bartley                                         $2.35
   Andrew                      Basile                                         $20.46
   Anthony                     Battaglia                                      $97.30
   Lesley                      Bell                                          $292.72
   Kari                        Benassi                                         $5.20
   Meredith                    Benedict                                       $68.28
   Betsy                       Benson                                         $12.30
   Ann                         Beresford                                      $56.45
   Jessica                     Berger                                        $105.00
   Katie                       Berger                                        $684.70
   Eryn                        Bergquist                                      $35.50
   Ali                         Berlin                                        $552.62
   Micha                       Berman                                          $8.95
   Alex                        Bernath                                       $145.70
   Richard                     Bernius                                         $0.49
   Morgan                      Bernstein                                    $1,303.71
   Kelci                       Berto                                          $50.33
   Jenny                       Betz                                          $307.96
   Ellie                       Beyers                                        $442.27
   Debbie                      Bhatt                                           $0.74
   Jeramie                     Bianchi                                         $5.60
   Sandra                      Bibian                                        $196.45
   Katia                       Bienenfeld                                      $2.60
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   Buyer First Name              Buyer Last Name                   Group Gift Amount
   Danielle                      Blacet                                          $15.11
   Shannon                       Blackman                                         $8.95
   Jane                          Blaylock                                       $111.82
   Angela                        Blemker                                         $61.05
   Michele                       Bleser                                         $650.15
   Kelli                         Blocker                                        $598.65
   Debbie                        Blucher                                        $435.00
   Julia                         Blum                                             $6.90
   Lianna                        Bode                                            $61.14
   Jennifer                      Bohman                                         $202.85
   Helen                         Boniske                                        $120.00
   Jamie                         Bonnifield                                     $375.00
   Monica                        Bonnington (Flores                              $63.97
   Rinat                         Borgardt                                       $105.00
   Diana                         Bowar                                          $550.00
   Rachel                        Bowles                                          $22.17
   Dorothy                       Bracken                                        $966.88
   Alayna                        Brauer                                          $87.16
   Krystine                      Breier                                         $120.00
   Sara                          Brenner                                         $75.00
   Darin                         Bresnitz                                        $80.50
   Debbie                        Bright                                          $81.73
   Kate                          Brisbois                                       $886.00
   May                           Brock                                          $150.00
   Hilary                        Bromaghim                                      $235.00
   Laurie                        Brookner                                       $154.96
   Nayo                          Brooks-Santos                                   $77.10
   Janie                         Brotemarkle                                      $2.23
   Annica                        Brown                                          $179.96
   Dorthey                       Brown                                          $129.15
   Erica                         Brown                                          $940.40
   Joel                          Brown                                          $389.47
   Lillian                       Brown                                           $17.05
   Traci                         Brown                                           $23.45
   Andrew                        Bruce                                           $52.06
   Nadine                        Brune                                          $100.00
   Tim                           Bruss                                            $8.95
   Wynn                          Bubnash                                        $263.59
   Penny                         Buchignani                                     $142.05
   Derek                         Buchner                                        $277.56
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Laura                        Buck                                          $130.25
   Alex                         Buckwald                                       $11.85
   Stephanie                    Buechner                                      $200.00
   Amanda                       Bugge                                         $131.63
   Linda                        Bui                                           $212.50
   Deila                        Bumgardner                                    $154.04
   Kathleen                     Buompensiero                                   $33.71
   Brittany                     Burk                                          $161.80
   Melissa                      Burke                                          $27.25
   Lisa                         Burnett                                      $1,265.00
   Holly                        Burns                                         $223.72
   Sharon                       Burns                                          $91.25
   William                      Burroughs                                     $414.50
   Sarah                        Burton                                        $243.30
   A                            Busse                                         $961.50
   Justin                       Butler                                        $167.28
   Nancy                        Butts                                          $40.25
   Amrish                       C Acharya                                      $27.70
   Helen                        C.                                           $1,668.00
   Carol                        Cadavid                                        $15.98
   Carolyn                      Cadloni                                         $8.45
   Melissa                      Cahoon                                         $14.00
   Audrey                       Cain                                          $100.00
   James                        Calabrese                                     $376.45
   Sarah                        Calderon                                       $93.20
   Melissa                      Calidonna                                      $24.60
   Keana                        Callon                                        $195.00
   Barbara                      Calloway                                      $500.00
   Kathleen                     Calvert                                         $8.95
   Sara                         Cameron                                       $130.35
   Hannah                       Campbell                                      $117.65
   Rana                         Campbell                                     $1,200.00
   Danielle                     Cannon                                        $205.00
   Maristela                    Cardoso                                        $44.09
   Tim                          Carless                                      $1,725.00
   John                         Carlstroem                                    $835.34
   Elisabeth                    Carr                                          $203.50
   Carlo                        Casella                                       $218.35
   Rachel                       Castro                                         $25.70
   Mariko                       Cates                                         $469.65
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   Buyer First Name              Buyer Last Name                  Group Gift Amount
   Jessica                       Cathey                                         $73.05
   Rebecca                       Cavanaugh                                     $189.50
   Christine                     Chagnon                                       $708.67
   Chia-Wen                      Chan                                          $129.60
   Nicole                        Chan                                            $2.50
   Tsin-Ming                     Chang-Goldsmith                               $380.25
   Christina                     Chao                                          $673.71
   Rachel                        Chard                                         $452.80
   Meera                         Chary                                          $45.60
   Christopher                   Chase                                         $150.00
   Calvin                        Chen                                           $10.37
   Jean                          Chenevert                                     $119.40
   Angela                        Cheung                                        $104.76
   Brandon                       Chinn                                         $391.00
   Alison                        Chisholm                                      $905.00
   David                         Chiu                                          $650.00
   Nicholas                      Choong                                          $1.30
   Bernadette                    Christensen                                   $715.85
   Karen                         Christie                                      $596.90
   Arnold                        Chua                                          $300.00
   Christina                     Chung                                          $59.95
   Kristin                       Cimini                                         $95.61
   Ernest                        Cirangle                                      $722.91
   Bridget                       Clark                                         $203.60
   Lisa                          Clarke                                        $100.00
   Tim                           Clarke                                        $110.95
   Dwight                        Clifford                                     $1,667.62
   Kristin                       Clinch                                         $65.30
   Suwei                         Cobb                                         $1,195.43
   Maggie                        Cocca                                         $186.70
   Carmen                        Coffey                                        $120.00
   Corey                         Cohen                                         $150.34
   Kate                          Cohen                                          $14.35
   Pauline                       Cohen Vorms                                     $4.05
   Katie                         Coleman                                        $40.00
   Nick                          Coleman                                        $25.69
   Julia                         Colenbrander                                   $17.80
   Courtney                      Collins                                        $88.54
   Jenny                         Collins                                        $12.80
   Stephanie                     Colosi                                         $30.00
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Andrew                       Connelly                                       $28.71
   Sharon                       Connelly                                      $826.57
   Jordan                       Connor                                        $280.19
   Linda                        Contarino                                     $400.00
   Tina                         Conti                                           $2.69
   Jc                           Coo                                           $154.81
   Tatiana                      Cordoba                                        $24.17
   Jeni                         Corso                                          $15.60
   Strphanie                    Costello                                       $57.89
   Charlotte                    Cox                                           $307.99
   Linda                        Craig                                          $24.10
   Carly                        Cram                                          $112.00
   Jean                         Cripps                                         $12.37
   Dana                         Cristalli                                     $102.21
   Christina                    Crowther                                     $7,707.80
   Jill                         Cubbison                                      $125.15
   Zachary                      Curry                                         $148.10
   Shakema                      Cyrus                                         $405.35
   Nancy                        Daetz                                          $87.30
   Kathy                        Dagio                                         $111.85
   Andrew                       Dailey                                        $179.60
   Dave                         Dalessandro                                   $210.00
   Emma                         Dalessandro                                    $92.86
   Christina                    Dang                                          $150.00
   Emily                        Daniel                                         $59.35
   Justin                       Danks                                         $361.11
   Audrey                       Davenport                                     $100.00
   Kerry                        Davis                                         $139.30
   Pierce                       Davison                                       $666.66
   Sherry                       Day                                             $3.75
   Michalina                    De Groot                                      $511.00
   Liza                         De Weerd                                       $96.85
   Bob                          Deardorff                                      $31.25
   Andrew                       Debell                                        $439.83
   Brittany                     Deboer                                          $0.40
   Guadalupe                    Del Forno                                     $113.20
   Daniel                       Della Maggiora                                $280.26
   Brandon                      Delosreyes                                    $446.36
   Joyce                        Delosreyes                                    $414.34
   Ginny                        Demartini                                      $61.30
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Liz                          Demme                                         $693.62
   Jean-Marc                    Denis                                         $198.65
   Colleen                      Derstine                                        $7.55
   Chris                        Detrick                                       $474.55
   Andrea                       Diaz                                           $36.00
   Anne                         Diaz                                           $12.58
   Cristina                     Diaz                                           $63.11
   Jill                         Diaz                                           $91.96
   Rich                         Dickman                                      $1,492.10
   Erin                         Dieterich                                       $9.55
   Jonathan                     Dietz                                           $8.95
   Brad                         Dijulio                                       $873.30
   Nina                         Dimitreli                                     $148.36
   May                          Dinh                                          $255.93
   Amy                          Dobras                                         $42.70
   Randi                        Dodge                                           $8.95
   Raul                         Dominguez                                    $1,776.80
   Brian                        Donecho                                      $1,249.03
   Monique                      Donecho                                        $85.33
   Karah                        Donovan                                         $9.55
   Betty                        Dooley                                        $653.59
   Pamela                       Double                                         $71.05
   Cecilia                      Dougherty                                     $138.70
   Amber                        Douglas                                       $140.00
   Jennifer                     Draffen                                       $950.00
   Melissa                      Dressman                                        $3.00
   Katherine                    Driggs                                          $9.99
   Claire                       Droll                                          $32.97
   Robin                        Drysdale                                      $142.36
   Patricia                     Dunbar                                          $3.05
   Sarah                        Duncanson                                     $327.90
   Laurie                       Dunivant                                       $21.15
   Kara                         Dunnett                                       $157.05
   Amy                          Dunphy                                        $179.76
   Hayley                       Dupuy                                          $20.84
   Morgan                       Durham                                         $71.60
   Amy                          Dynes                                          $75.00
   Mark                         Dysert                                         $16.20
   Sarah                        Earl-Novell                                    $20.90
   Judy                         Edgar                                          $31.45
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Sheri                        Edwards                                        $33.90
   Angelina                     Edwins                                          $0.15
   Chandra                      Egan                                           $11.95
   Colby                        Egbert                                         $11.25
   David                        Eisenberg                                      $19.05
   Lindsay                      Ekstrom                                         $8.95
   Susanne                      Eleazer                                       $200.00
   Julia                        Elitzer                                        $63.00
   Kyla                         Eller                                         $520.45
   Alaynna                      Elliot                                        $291.95
   Joanne                       Emmons                                        $149.10
   Kristen                      Emmons D'Arrigo                               $100.00
   Annalisa                     Engel                                         $147.45
   Manish                       Engineer                                      $135.00
   Kim                          English                                      $1,544.79
   Marilyn                      Enos                                          $312.44
   Pamela                       Erickson                                      $477.50
   Jiahan                       Ericsson                                      $156.21
   Becky                        Escobar                                       $381.95
   Arion                        Espinoza                                      $260.55
   Lori                         Estronick                                      $98.75
   Kendell                      Evans                                          $66.10
   Julie                        Everett                                       $299.40
   Daria                        Ewin                                            $1.14
   Gabriele                     Fain                                         $1,056.00
   Diana                        Falcon                                         $54.70
   Morey                        Family                                       $1,175.00
   Cathie                       Farr                                          $460.00
   Deborah                      Farr                                            $2.30
   Peter                        Farrell                                       $355.30
   Faye                         Fatehi                                        $227.80
   Megan                        Faughnan                                      $305.00
   Shana                        Faust                                          $88.61
   Laurence                     Favrot                                        $138.97
   Leah                         Faw                                           $205.65
   Michael                      Faw                                            $25.00
   Carrie                       Feigenbaum                                      $0.65
   Stephen                      Feloney                                       $250.00
   Gregory                      Felton                                       $1,097.11
   Elizabeth                    Fernandes                                     $145.70
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   Buyer First Name             Buyer Last Name                   Group Gift Amount
   Andrea                       Fernandez                                      $270.00
   Norma                        Fernandez                                      $840.00
   Taninha                      Ferreira                                         $6.53
   Donna                        Ferris                                         $700.00
   Kelly                        Ferriss                                         $57.80
   Stewart                      Ferry                                            $3.20
   Kristi                       Finley                                           $0.11
   Amy                          Finze                                          $174.75
   Mina                         Fisher                                          $80.00
   Deve                         Fitzgerald                                       $8.95
   Lindsay                      Flaherty                                       $177.67
   Brittany                     Flath                                          $344.50
   Barbara Mcgrath              Fleming                                         $50.00
   Seth                         Fleming                                        $305.00
   Charles                      Flewellen                                       $52.40
   Gena                         Flick                                           $41.25
   Denise                       Foley                                          $135.40
   Erin                         Folk                                            $12.35
   Ellen                        Fortier                                          $0.50
   Danny                        Fortson                                          $5.95
   Jessica                      Forys                                          $190.33
   Meaghan                      Fowler                                          $54.13
   Eileen                       Foy                                            $259.80
   Leslie                       Francavilla                                     $93.05
   Jen                          Franco                                         $150.00
   Alice                        Frankowski                                      $63.25
   Jill                         Frederiksen                                    $209.24
   Piper                        Freeman                                         $22.56
   Mayme                        Frey                                           $100.00
   David                        Friedlander                                    $165.00
   Betsy                        Friedman                                        $20.42
   Tara                         Friedman                                        $98.86
   Eric                         Friesth                                        $266.37
   Alicia                       Frost                                          $350.00
   Katie                        Fry                                              $1.15
   Naishin                      Fu                                             $175.00
   Adam                         Fudala                                          $12.95
   Abigail                      Fuentes                                         $12.95
   Ana                          Fuentes                                          $2.75
   Casey                        Fulford                                        $130.40
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   Buyer First Name              Buyer Last Name                  Group Gift Amount
   Lia                           Fulgaro                                        $95.00
   Aaron                         Fulk                                           $70.93
   Sharla                        Fullerton                                       $4.20
   Claudia                       Fung                                          $117.55
   Phillip                       Fung                                          $133.87
   Rachel                        Fyall                                         $198.55
   Cristian                      Gaedicke                                      $185.00
   Lisa                          Galaites                                      $360.00
   Yvonne                        Gando                                         $350.00
   Hope                          Garbo                                          $69.42
   Olga                          Garcia                                        $300.00
   Renee                         Garcia                                        $108.90
   Khylee                        Garibay                                        $60.00
   Matt                          Garmur                                         $68.11
   Victoria                      Gatzke                                        $130.75
   Alicia                        Gaynor                                        $264.79
   Jacqui                        Gerbracht                                     $849.66
   Lisa                          Gerhardt                                       $92.58
   Aazam                         Ghelani                                        $87.95
   Lucia                         Giacomantonio                                 $271.70
   Rhonda                        Giannini                                       $73.01
   Shirley                       Gibson                                        $225.00
   Simone                        Giertz                                       $1,035.00
   Bryce                         Gifford                                       $250.00
   Grace                         Gill                                          $757.34
   Peggy                         Gilpatric                                       $8.95
   Julia                         Gilroy                                        $225.00
   Joan Marie                    Gimbel                                        $875.00
   Joel                          Ginsberg                                      $100.00
   Bill                          Glenn                                          $80.07
   Nicole                        Gogolak                                        $56.75
   Sarah                         Goldman                                       $110.00
   Kathryn                       Goldstein                                    $1,130.00
   Rebecca                       Gondola                                         $0.25
   Nicole                        Gonzales                                       $11.10
   Aditya                        Goradia                                      $1,644.15
   Thomas                        Gorman                                        $120.64
   Brigitte                      Gosselink                                     $345.95
   Katherine                     Gothreau                                      $100.00
   Jean                          Gould                                         $285.00
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   Buyer First Name             Buyer Last Name                   Group Gift Amount
   Elizabeth                    Goya                                          $1,281.93
   Erin                         Graham                                           $0.14
   Erin                         Granados                                        $26.85
   Anne                         Granderson                                      $17.68
   Nicole                       Grayer                                          $86.65
   Sherie                       Graysmark                                     $3,106.97
   Doug                         Grebe                                          $600.25
   James                        Green                                          $262.85
   Katie                        Green                                          $592.40
   Shari                        Green                                          $110.50
   Tiffany                      Green                                          $110.15
   Virginia                     Green                                            $1.55
   Mikael Anne                  Greenwood-Hickman                               $10.50
   Brent                        Greer                                            $5.25
   Jim                          Gregoire                                         $4.65
   Maurice                      Gregoire                                       $227.25
   Garrett                      Gretsch                                        $370.00
   Aramis                       Grey                                           $110.82
   Julia                        Gribschaw                                       $36.50
   Jeff                         Grose                                          $144.33
   Laura                        Grose                                           $96.86
   Michael                      Gross                                          $270.90
   Dayong                       Gu                                             $325.00
   Lindsey                      Gudger                                         $237.32
   David                        Guerra                                         $457.12
   Pierre                       Guilloteau                                     $253.01
   Nick                         Gundry                                          $87.15
   Rupali                       Gupta                                          $132.55
   Ellen                        Gustafson                                       $80.00
   Marisol                      Gutierrez                                        $1.55
   Maggie                       Gutnik                                         $140.00
   Taylor                       Hadley                                         $625.00
   Michelle                     Hagan                                          $129.90
   Rhonda                       Hagen                                          $196.55
   Adrienne                     Hagerty                                        $164.15
   Liz                          Haggerty                                       $193.35
   Amir                         Haghighat                                      $800.00
   William                      Hairston                                      $1,693.56
   Mona                         Halaby                                          $33.45
   Tricia                       Hamilton                                       $843.20
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   Buyer First Name             Buyer Last Name                 Group Gift Amount
   Rachel                       Hammack                                        $1.03
   Cherie                       Hammer                                         $5.71
   Rahul                        Hampole                                      $262.00
   Margaret                     Handley                                       $16.33
   Kathryn                      Haniuk                                       $184.96
   Eli                          Hanna                                        $150.00
   John                         Hannigan                                     $162.05
   Andi                         Hansen                                       $405.00
   Ivana                        Hansen                                       $315.76
   Luanne                       Hansen                                        $48.70
   Erik                         Hanson                                       $133.90
   Naomi                        Hanson                                        $12.95
   Terra                        Harper                                        $50.00
   Aaron                        Harries                                        $6.15
   Neil                         Harris                                       $405.00
   Nina                         Harris                                       $361.00
   Diane                        Hart                                         $130.55
   Nicole                       Harter                                       $157.70
   Lisa                         Hayes                                        $160.00
   John                         Heck                                          $50.00
   Brian                        Hedford                                      $198.10
   Emmy                         Heimann                                      $593.80
   Corinne                      Heinen                                       $148.00
   Jason                        Heitman                                      $192.08
   Ulrich                       Heitzlhofer                                    $0.75
   Liz                          Helton                                        $13.75
   Mia                          Hemstad                                       $21.28
   Mike                         Henneberry                                  $1,076.91
   Andrea                       Henry                                        $226.65
   Elaine                       Hering                                        $38.50
   Maria                        Hernandez                                     $46.00
   Ben                          Hewitt                                         $9.50
   Monica                       Heyneker                                      $18.10
   Joe                          Hicken                                       $565.00
   Erin                         Higham                                        $67.60
   Liana                        Hill                                         $470.00
   Marisa                       Hill                                         $245.00
   Errin                        Hinojosa                                     $343.60
   Krista                       Hirasuna                                     $235.00
   Mivic                        Hirose                                       $300.00
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   Buyer First Name             Buyer Last Name                   Group Gift Amount
   David                        Hirsch                                         $335.05
   Charles                      Hirschkind                                     $912.52
   Frank                        Hoffman                                         $35.84
   Mark                         Hoffmann                                        $60.40
   Ben                          Holfeld                                        $445.60
   Jessica                      Hollander                                       $53.70
   Rebecca                      Holliday                                         $8.21
   Lindsay                      Honorof                                         $80.00
   Michael                      Honsel                                           $0.70
   Dafna                        Hopenstand                                     $212.45
   Florentin                    Hortopan                                        $66.80
   Jeremy                       Hou                                             $76.30
   Peggy                        Houseman                                       $570.00
   Amy                          Howells                                        $171.85
   Caroline                     Hribar                                          $88.49
   Diana                        Hristova                                       $216.79
   Olivia                       Hsiao                                            $0.05
   Tiffany                      Hsieh                                          $280.00
   Kyle                         Huang                                          $326.65
   Gloria                       Huet                                          $5,465.53
   Ryan                         Huff                                             $3.35
   Drew                         Huffine                                        $382.28
   Kim                          Humphreys                                      $275.00
   Addie                        Husted                                         $421.70
   Pat                          Huttlinger                                     $889.05
   Fatima                       Ibrahim                                        $584.03
   Maha                         Ibrahim                                          $7.78
   Jennifer                     Ikezawa                                       $2,402.05
   Darcy                        Irvin                                            $8.95
   Shanda                       Isaacs                                           $0.80
   Kenneth                      Ish                                            $510.00
   Colleen                      Isley                                          $150.00
   Maya                         Itenberg                                        $80.10
   Ben                          Jackson                                        $247.67
   Ellie                        Jackson                                          $5.98
   Elizabeth                    Jacobs                                           $8.95
   Sonja                        Jacobsen                                       $305.00
   Christine                    Jacobson                                       $224.41
   Keanan                       Jacobson                                         $0.13
   Rohela                       Jalali                                         $267.55
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Ponthip                      Janthawet                                      $76.05
   Claire                       Jarry                                           $8.06
   Laura                        Jarvis                                        $995.55
   Jennifer                     Jastrab                                        $49.17
   Katy                         Jayson                                          $5.96
   Sharon                       Jeans                                        $1,367.45
   Lori                         Jee                                           $115.55
   Moanalani                    Jeffrey                                        $50.00
   Marisa                       Jeffries                                      $223.51
   Laura                        Jelniker                                      $468.70
   Ben                          Jester                                        $285.00
   Rekia                        Jibr                                           $34.65
   Mary                         Joe                                           $205.15
   Eric                         Johanson                                      $100.00
   Jan                          John                                           $19.10
   Elizabeth                    Johnson                                       $231.34
   Karyn                        Johnson                                       $104.08
   Michelle                     Johnson                                       $265.19
   Nickie                       Johnson                                        $15.98
   Kathleen                     Johnson-Silk                                  $265.15
   Alexis                       Jones                                         $500.00
   Barney                       Jones                                         $607.21
   James                        Jordan                                        $350.00
   Jeff                         Josephsen                                     $153.75
   Ryanne                       Joslin                                        $539.19
   Joan                         Joyner                                        $180.00
   Dana                         Jung                                           $13.70
   Margaret                     Jungk                                         $195.35
   Lori                         Kadezabek                                     $327.74
   Maasha                       Kah                                           $496.36
   Vanessa                      Kainz                                         $430.50
   Kimberly                     Kalmanson                                      $30.00
   Jeffrey                      Kalmikoff                                       $1.98
   K                            Kamian                                          $1.35
   Shani                        Kaplan                                         $22.25
   Mike                         Kartchner                                      $43.30
   Michelle                     Kasten                                        $510.00
   Cyrina                       Kataoka                                        $78.67
   Courtney                     Katen                                         $255.00
   Pixie                        Kather                                         $15.00
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   Buyer First Name             Buyer Last Name                 Group Gift Amount
   Jessica                      Katz Shimshak                                $447.80
   Beth                         Kaufman                                       $91.25
   Heather                      Kaufman                                       $26.85
   Marci                        Kaufman                                       $89.92
   Stephanie                    Kays                                           $0.85
   Patrick                      Kearney                                      $130.62
   Michelle                     Keehner                                       $92.75
   Jenny                        Keene                                        $220.05
   Dean                         Keesey                                        $24.55
   Liz                          Keleher                                      $317.40
   Ann                          Keller                                       $118.95
   Lauren                       Kelley                                       $255.12
   Gaku                         Kelliher                                     $264.48
   Anneliese                    Kertson                                      $530.25
   Shivam                       Khullar                                       $24.18
   Kassidy                      Kidushim                                     $300.00
   Jessica                      Kiessel                                       $85.00
   Alison                       Kilkenny                                     $188.22
   Mandy                        Kiluk                                        $118.56
   Carrie                       Kim                                          $430.00
   Dawn                         Kim                                           $36.55
   Erin                         Kim                                          $183.10
   Julie                        Kim                                          $221.17
   Bri                          King                                          $18.75
   Jo Ann                       Kington                                        $0.40
   Linda                        Kinkade                                      $451.73
   Jamie                        Kirkwood                                       $0.82
   Sergey                       Kisselev                                      $42.63
   Devon                        Klatell                                      $156.06
   Alexandra                    Klein                                        $155.00
   Diana                        Klein                                          $5.55
   Elyse                        Klein                                        $134.30
   Elizabeth                    Kline                                        $168.20
   Jill                         Klingensmith-Grandfield                       $80.00
   Vicki                        Klopsch                                        $0.54
   Kim                          Klute                                        $339.05
   Vanessa                      Koelling                                       $6.40
   Ryan                         Koeneke                                       $22.90
   Allyson                      Koh                                          $691.91
   Pamela                       Kohler                                        $15.54
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   Buyer First Name             Buyer Last Name                   Group Gift Amount
   Linden                       Kohtz                                          $116.79
   Amy                          Koivu                                          $262.14
   Fred                         Konrad                                        $2,315.75
   Els                          Korteland                                      $551.15
   Christina                    Kothari                                        $310.00
   Hope                         Kragh                                          $235.00
   Tanja                        Krampfert                                       $26.70
   Jessica                      Krieck                                         $541.15
   Karen                        Krimmer                                        $258.50
   Dmitriy                      Kumets                                         $321.51
   Eric                         Kushman                                        $265.00
   Shu                          Kwan                                           $842.94
   Vi                           Lafond                                           $4.10
   Jennifer                     Lam                                             $78.61
   Jennifer                     Lam                                            $145.00
   Colleen                      Lamotte                                        $291.35
   Willow                       Lancaster                                       $87.97
   Jenna                        Land                                            $93.72
   Nekita                       Land                                           $255.00
   Scott                        Lane                                            $12.75
   Laura                        Lanzerotti                                     $147.14
   Greg                         Lapittus                                         $8.95
   Chris                        Laroche                                        $181.08
   Molly                        Lateiner                                        $16.66
   Anne                         Laurence                                        $22.75
   Linda                        Lavin                                          $320.32
   Crystal                      Lawrence                                       $437.90
   Joe                          Lazar                                           $78.45
   Rebecca                      Lazarus                                         $88.91
   Phan                         Le                                             $130.00
   Jenny                        Leavens                                        $140.00
   Jenny                        Leder                                          $150.00
   J Nicole                     Lederman                                       $750.00
   Barbara                      Lee                                            $225.00
   Caroline                     Lee                                            $300.00
   Dibora                       Lee                                             $51.96
   Hua Hua                      Lee                                            $253.59
   Johanna                      Lee                                             $24.51
   Leslie                       Lee                                              $0.63
   Tina                         Lee                                            $255.31
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   Buyer First Name            Buyer Last Name                  Group Gift Amount
   Steve                       Legrande                                     $1,109.90
   Karen                       Leikin                                         $71.15
   Jeff                        Lemas                                         $600.00
   Rachel                      Lentz                                         $200.00
   Landon                      Lerner                                        $100.00
   Kimberly                    Leroy                                          $36.26
   David                       Lesage                                          $0.94
   Tony Linda                  Leung Leach                                   $291.55
   Shoshana                    Levenberg                                       $4.01
   Robyn                       Levinson                                      $582.85
   Jeffrey                     Levy                                          $171.83
   Brian                       Lewis                                          $69.04
   Tina                        Lewis                                        $1,640.75
   Edward                      Li                                            $476.60
   Laura                       Li                                            $100.00
   Maggie                      Li                                            $715.65
   Jenny                       Lill                                          $388.54
   Kathleen                    Lim                                           $117.11
   Megan                       Lim                                             $8.95
   John                        Liu                                           $898.56
   Katherine                   Liu                                           $189.35
   Laura                       Liu                                            $85.00
   James                       Lloyd-Smith                                   $197.95
   Christina                   Lockwood                                        $8.95
   Kristine                    Logan                                         $167.63
   Christopher                 Lonergan                                     $1,063.24
   Joanne                      Long                                          $178.85
   Andrew                      Lopez                                         $475.00
   Jessica                     Lopez                                           $1.70
   Melanie                     Lopez                                          $19.29
   Jason                       Lorentzen                                     $285.00
   Christine                   Lorho                                         $267.47
   Furusho                     Lori                                          $400.00
   Freideleen                  Lou                                          $1,288.43
   Shawn                       Loudenback                                     $17.90
   Jessica                     Low                                           $251.34
   Franklin                    Lowe                                         $1,576.39
   Josephine                   Loy                                            $52.30
   Richard                     Lu                                              $0.47
   Jamie                       Lubeck                                        $191.20
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   Jennifer                     Lucas                                           $3.65
   Patricia                     Luchsinger                                     $52.36
   Douglas                      Lum                                           $290.07
   Julie                        Lundgren                                       $80.00
   Linda                        Luong                                           $7.20
   Paige                        Lutter                                         $48.40
   Sarah                        Lyman                                         $332.60
   B                            M                                             $360.00
   Kingsley                     Ma                                            $231.85
   James                        Maberry-Hall                                  $130.00
   Patrick                      Mace                                          $592.58
   Ebony                        Mackey                                        $830.00
   Jennifer                     Mackley                                       $151.80
   Devin                        Macrea                                          $8.17
   Jennifer                     Madden                                        $515.00
   Sandy                        Madeleine                                     $104.55
   Octavious                    Madrigal                                       $74.57
   Richard                      Magee                                         $308.55
   Jenn                         Magid                                          $73.45
   Theresa                      Magliozzi                                      $88.24
   Safi                         Mahboobi                                       $95.10
   Elise                        Mahoney                                        $25.10
   Brittany                     Mahugh                                        $181.28
   Brian                        Malamet                                      $1,070.58
   Christopher                  Malin                                         $119.22
   Ashley                       Mallinson                                     $100.00
   Laina                        Malnight                                        $2.40
   Alison                       Maloney                                        $28.95
   Chris & Tessa                Mamales                                        $75.00
   Jackie                       Mangiolino                                      $4.93
   Vince                        Maniago                                       $222.72
   Eliza                        Manilla                                        $30.70
   Alison                       Mankin                                         $79.35
   Elena                        Mano                                            $5.50
   Hannah                       Manson                                          $3.20
   Muzhgan                      Mansoori                                      $285.00
   Edmund-Russell               Manzano                                       $610.00
   Jyothi                       Marbin                                        $743.27
   Teresa                       Marisko                                        $33.11
   Brandon                      Marks                                          $18.40
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   Buyer First Name             Buyer Last Name                   Group Gift Amount
   Benita                       Marquez                                        $102.53
   Carlos                       Marquez                                        $640.00
   Mary                         Marshall                                       $663.60
   Taylor                       Marshall                                       $576.50
   Rebecca                      Martens                                         $16.80
   Barry                        Martin                                         $274.02
   Julianna                     Martin                                          $50.00
   Melina                       Martinez                                       $161.17
   Esther                       Martosoetjipto                                 $134.88
   Nimmy                        Mathew                                         $130.35
   Christi                      Matson                                         $517.83
   Steve                        Matthews                                       $400.00
   Heather                      Maxwell                                         $43.31
   Chrissy                      Mazzeo                                          $68.71
   David                        Mazzola                                        $200.00
   Andrew                       Mcallister                                     $130.10
   Fiona                        Mcallister                                     $700.00
   Carvette                     Mccalib                                        $130.15
   Jody                         Mcclain                                         $17.28
   Chelsea                      Mcclure                                        $628.80
   Ronald                       Mccomb                                          $51.40
   Debbie                       Mccommon                                       $152.00
   Kirsteen                     Mccormack                                      $176.73
   Kathleen                     Mccrea                                         $200.00
   Molly                        Mcdermott                                        $4.55
   Vidette                      Mcdowall                                       $199.70
   Niamh                        Mcelwain                                         $1.95
   Michelle                     Mcelyea                                          $0.76
   Debbie                       Mcginnis                                        $99.40
   Michelle                     Mcginnis                                        $12.70
   Meg                          Mcgraw                                          $62.75
   Karen                        Mchugh                                          $82.40
   Karyn                        Mckay                                          $279.60
   Patrick                      Mckenna                                         $21.11
   Ryan                         Mckenzie                                       $351.35
   Noel                         Mckenzie Johnson                               $599.15
   Emily                        Mckeon                                         $642.93
   Jack                         Mckeown                                          $8.95
   Dane                         Mckinley                                        $50.40
   Neil                         Mckinnnell                                     $177.04
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   Buyer First Name             Buyer Last Name                 Group Gift Amount
   Matt                         Mcmullen                                      $53.00
   Andrew                       Mcnees                                       $817.43
   Matthew                      Mcnichol                                     $186.01
   Kathryn                      Mcrae                                         $16.90
   Brianna                      Mctee                                        $946.41
   Shirit                       Megiddo                                      $100.00
   Heather                      Meiring                                        $0.80
   Jolene                       Melissa                                       $33.65
   Nick                         Melosh                                      $1,087.14
   Ashley                       Melwani                                       $88.60
   Gloria                       Meneses                                      $436.53
   Tam                          Mercer                                        $17.58
   Christina                    Merriweather                                 $762.05
   Nicole                       Mesick                                       $385.05
   Siobhan                      Metke                                        $130.00
   Lisa                         Milburn                                        $1.88
   Amanda                       Miller                                       $100.00
   Emily                        Miller                                       $110.99
   Greg                         Miller                                        $62.65
   Malinda                      Miller                                       $460.00
   Rosina                       Minjares                                      $19.96
   Jason                        Minters                                     $2,490.20
   Sally                        Miskelly                                       $7.10
   Katie                        Mlakar                                        $39.05
   Lisa                         Modena                                        $40.33
   Tara                         Moeller                                      $129.34
   Katherine                    Monagle-Olson                                $168.61
   Mandy                        Montano                                      $385.00
   Marcie                       Montgomery                                    $84.07
   Anelise                      Moon                                         $188.86
   Monika                       Moorlach                                     $212.00
   Melinda                      Moose                                        $200.00
   Daniel                       Morales                                      $179.30
   Kyle                         Morean                                        $42.50
   Jason                        Morrell                                       $26.15
   Rose Ellen                   Morrell                                      $249.17
   Amber                        Morse                                        $200.81
   Blaire                       Morse                                         $35.60
   Doris                        Mucha                                        $292.90
   Jerry                        Mulder                                         $0.13
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   Buyer First Name              Buyer Last Name                  Group Gift Amount
   Virginia                      Mullen                                        $401.40
   Rebecca                       Mullin                                          $1.80
   Donnalyn                      Murphy                                        $150.00
   Doris                         Murphy                                         $52.55
   Mark                          Murphy                                        $207.95
   Robert                        Murphy                                         $17.46
   Dana                          Murray                                          $6.78
   Scott                         Musson                                        $204.75
   Scott                         Musson                                       $3,302.70
   Abi                           Muthuramalingam                                 $0.60
   Candace                       Myers                                          $45.36
   David                         Myre                                          $418.60
   Gretchen                      Nakamura                                      $458.46
   Toni                          Nankova                                      $1,115.47
   Michelle                      Narayan                                       $850.00
   Iran                          Narges                                        $133.15
   Kristal                       Navarro                                       $355.65
   Henk                          Neefs                                         $421.36
   Carlyn                        Negaard                                         $1.53
   David                         Neiman                                        $200.00
   Caitlin                       Nelson                                        $243.85
   Justin                        Nelson                                        $105.20
   Traci                         Nelson                                        $246.96
   Zachary                       Nelson                                        $304.60
   Thomas                        Nemeth                                        $212.59
   Tamara                        Neuhaus                                       $389.87
   Bret                          Neuman                                         $66.08
   Jennifer                      Newheiser                                      $71.30
   Sarah                         Newman                                         $23.50
   Susan                         Newman                                        $747.40
   Cynthia                       Ng                                            $957.86
   Henry                         Ngo                                             $8.95
   Mary                          Ngo                                             $0.34
   Kelly                         Nicholls                                        $8.95
   Devon                         Nicholson                                     $313.03
   Almaz                         Nigusse Bland                                  $76.10
   Kathryn                       Nowacki                                       $224.55
   Mark                          Nsimbi                                          $0.11
   Molly                         O'Balle                                       $155.15
   Matt                          O'Donnell                                      $13.20
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   Buyer First Name             Buyer Last Name                   Group Gift Amount
   Bliss                        Ogilvie                                         $15.28
   Ricardo                      Oliveira                                       $127.48
   Stacey                       Oliverio                                       $376.14
   Liz                          Olson                                          $499.35
   Ryan                         Olson                                          $820.11
   Dan                          O'Mahony                                       $185.00
   Jamie                        Onakoya                                          $0.40
   Emily                        Ortmans                                          $2.50
   Adrienne                     Osborne                                         $34.70
   Jenna                        Osborne                                        $155.00
   Nicole                       Osby                                             $0.02
   Mark                         Ostler                                         $156.33
   Caroline                     Ostro                                           $28.93
   Monica                       Ouijdani                                       $300.00
   Harald                       Oyen                                            $57.31
   Amber                        Pacheco                                         $80.25
   Maria                        Pacheco                                       $1,133.77
   Michael                      Padgen                                           $9.10
   Susan                        Paeth                                            $8.95
   Nicole                       Palczynski                                     $218.71
   Nigel                        Palfreeman                                     $112.15
   Kirby                        Palmer                                          $53.70
   Patricia                     Palmer                                         $549.86
   Carolyn                      Pan                                             $22.70
   Chinmoy                      Panigrahi                                      $355.00
   Jeffrey                      Pannullo                                       $245.35
   Aubri                        Parker                                           $5.10
   Erin                         Parker                                         $333.01
   Perla                        Pasallo                                        $233.22
   Dan                          Patterson                                       $30.00
   Seth                         Patton                                         $551.56
   Paula                        Paulin                                          $75.75
   Cody                         Peak                                           $280.25
   Ben                          Pearl                                            $1.76
   Phyllis                      Pearle                                         $290.20
   Christopher                  Pedregal                                        $45.87
   Mike                         Peel                                            $45.45
   Roberta                      Pereira                                        $114.28
   Marta                        Perez                                           $42.80
   Janette                      Perla                                          $233.37
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Supriya                      Perry                                          $22.30
   Donna                        Peruzzaro                                     $315.00
   Kevin                        Petersen                                     $1,089.20
   Lina                         Petra                                          $40.60
   Beverly                      Pharr                                         $185.66
   Brian                        Phillips                                       $21.00
   Linh                         Phung                                         $205.00
   Cathy                        Pienaar                                       $560.01
   Karli                        Pierce                                         $10.45
   Amber                        Pietrzyk                                      $258.00
   Emma                         Pigott                                         $40.55
   Erin                         Pindar                                          $0.41
   Amanda                       Pinkham                                       $288.06
   Leticia                      Pintado                                       $200.00
   Shana                        Pitstick                                      $890.22
   Laura                        Plassmeyer                                     $12.30
   David                        Polett                                          $0.20
   Teri                         Poon                                         $1,153.21
   Maria                        Porter Steward                               $1,872.25
   Cory                         Potts                                           $0.79
   Bobby                        Pouya                                         $430.65
   Tameir                       Powell                                        $345.08
   James                        Powers                                        $377.05
   Avantika                     Prabhakara                                      $0.30
   Vishwas                      Prabhakara                                    $297.33
   Amanda                       Price                                         $275.00
   Becky                        Price                                         $112.05
   Whitney                      Price                                          $33.80
   Carrie                       Priebe                                         $52.92
   Jasmine                      Prieto                                         $36.54
   Zach                         Proett                                         $29.65
   Alisa                        Pura                                           $64.37
   Vanessa                      Quesada                                       $202.35
   Melissa                      Quigg                                         $127.60
   Katelyn                      Quintero                                       $32.39
   Marley                       Quirante                                        $0.19
   Saloni                       Rai                                           $583.80
   Kothanda                     Ramaswamy                                     $166.85
   Perlarien                    Ramsey                                         $32.50
   Matthew                      Randall                                        $72.05
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Wilton                       Randel                                          $4.40
   Cynthia                      Raso                                          $348.62
   Nathan                       Ratledge                                      $230.00
   Albert                       Ray                                            $29.70
   Erin                         Reilly                                        $165.81
   Thomas                       Reinemer                                      $100.00
   Jerome                       Reinke                                         $30.50
   Justin                       Renard                                        $171.23
   Prasanna                     Revan                                          $72.35
   Nicole                       Revling                                       $430.00
   Robert                       Rex-Waller                                    $285.00
   Lally                        Reyes                                         $330.05
   Blake                        Rhinehart                                     $177.43
   Katie                        Ribald                                          $1.55
   Susanna                      Ribaudo                                       $890.00
   Irene                        Ribe                                           $50.00
   Solana                       Rice                                          $455.05
   Nicole                       Richardson                                    $213.55
   Adam                         Richman                                        $46.87
   Jane                         Rieder                                         $79.70
   Aaron                        Rieke                                         $100.00
   John                         Ries                                          $547.05
   Lisa                         Rigisich                                       $33.35
   Juddson                      Rivera                                        $269.95
   Julie                        Robertson                                       $0.77
   Peter                        Robertson                                     $147.05
   Glenda                       Robinson                                      $362.85
   Sara                         Roche                                         $272.95
   Salena                       Rochester                                     $214.96
   Diane                        Rodriguez                                      $34.02
   Melissa                      Rofer                                         $236.87
   Ashlee                       Rohnert                                         $1.15
   Stephan                      Rohrbach                                      $203.31
   Tania                        Rojas                                           $5.00
   Jasmine                      Romero                                        $165.00
   Shayna                       Rondon                                         $12.20
   Sister                       Rose                                          $375.65
   Sandy                        Rosen                                         $256.69
   Brian                        Rosenblat                                     $109.26
   Kimberly                     Rosenthal                                      $19.54
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   Buyer First Name              Buyer Last Name                  Group Gift Amount
   Natalie                       Ross                                           $93.30
   Ruth                          Roth                                           $26.60
   Emily                         Rowan                                         $163.41
   Rachel                        Rowe                                          $445.70
   William                       Rowe                                         $1,075.00
   Louise                        Rowland                                        $22.00
   Carrie                        Rozoff                                         $14.80
   Benny                         Rubin                                          $89.66
   Elise                         Rubin                                         $874.17
   Aura                          Ruddell                                        $42.73
   Mary                          Ruddy                                         $138.40
   Alexandria                    Ruisenor                                       $34.35
   Sarah                         Ruppert                                       $442.56
   Dave                          Russell                                       $464.55
   Wendy                         Rutenberg                                     $190.00
   Rosanna                       Ryskasen                                      $134.88
   F                             S                                             $641.70
   Naisha                        S                                             $270.00
   Jennifer                      Sabounchi                                     $280.00
   Anna                          Sackmann                                      $545.00
   Zainab                        Sadoun                                         $44.75
   Masoud                        Safi                                          $153.31
   Erin                          Sainsbury                                     $205.86
   Paulina                       Salceda                                        $30.63
   Caitlin                       Sale                                          $340.00
   Nikki                         Samonte                                       $251.10
   Lupe                          Sanchez                                       $727.02
   Denise                        Sandell                                       $144.75
   Kathleen                      Sandys                                          $4.90
   Kathleen                      Sanford                                        $56.33
   Biagio                        Sarich                                        $400.00
   Wynne                         Satterwhite                                  $1,763.48
   Shanti                        Sattler                                       $146.20
   Sharon                        Sauk                                            $9.60
   Meve                          Savard                                        $300.00
   David                         Schachner                                     $111.81
   Lori                          Schack                                        $156.16
   Leslie                        Schaffer                                      $121.61
   Adam                          Schecter                                        $3.09
   Valarie                       Schenken                                        $0.64
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Kristen                      Scherrer                                      $185.00
   Danielle                     Schiavone                                     $150.00
   Loretta                      Schlansky                                     $670.39
   Kathryn                      Schlenker                                     $360.00
   Mark                         Schneider                                     $147.90
   Christy                      Schoos                                        $340.00
   Erik                         Schten                                         $11.10
   Rachel                       Schulkin                                      $272.35
   Stacey                       Schultz                                         $4.95
   Candice                      Schwartz                                      $107.40
   Jennifer                     Schweitzer                                     $78.20
   Lili                         Schwimmer                                     $420.00
   Karla                        Scott                                         $259.70
   Laurie                       Scott                                         $335.00
   Sean                         Scotten                                        $50.04
   Kim                          Scott-Olson                                   $293.05
   Chessa                       Scullin                                       $180.00
   Sally                        Sedadi                                         $61.90
   Nancy                        Segal                                           $1.97
   Ned & Maya                   Segal                                         $185.22
   Meghan                       Selinger                                       $58.15
   Holly                        Senaga                                         $65.30
   Jermaine                     Shaffer                                        $48.80
   Ali                          Shahrokhi                                     $345.00
   Scott                        Shealy                                          $0.40
   Gary                         Sheetz                                        $250.00
   Ahmad                        Sheikh                                        $214.40
   Meghan                       Sheridan                                       $44.55
   Stacie                       Sherwood                                       $29.91
   William                      Shie                                          $265.00
   Kelly                        Shimabukuro                                    $81.30
   Yesul                        Shin                                           $34.80
   Alissa                       Shipp                                         $261.20
   Eric                         Shutt                                         $268.52
   Marta                        Siberio                                         $1.30
   Sarah                        Sikich                                          $0.80
   Margaret                     Silver                                        $266.16
   Dacien                       Sims                                          $402.90
   Selene                       Singares                                      $343.10
   Christina                    Singh                                           $8.90
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   Buyer First Name            Buyer Last Name                  Group Gift Amount
   Liliana                     Sirotzky                                      $497.50
   Laura                       Skelton                                      $1,085.00
   Lisa                        Skylynd                                        $34.80
   Broderick                   Smith                                         $350.00
   Michael                     Smith                                          $20.00
   Monica                      Smith                                         $375.00
   Susie                       Smith                                         $153.84
   Zorianna                    Smith                                        $4,150.36
   Scott                       Smithson                                      $229.20
   Jeff                        Sobotka                                        $24.92
   Marta                       Soden                                         $361.70
   Ramona                      Sojot                                         $118.95
   Stacey                      Somilleda                                     $220.00
   Farzan                      Soodavar                                      $118.25
   Stephanie                   Soper                                          $21.65
   Spike                       Speicher                                      $579.45
   Geoff                       Spence                                        $145.47
   Ammi                        Spencer                                        $60.00
   Jayme                       Spiegel                                        $45.25
   Kathy                       Spina                                          $47.85
   Jennifer                    Splaine                                        $13.80
   Patrick                     Srail                                          $98.95
   Robert                      St. John                                       $47.75
   Jared                       Stacy                                         $150.00
   Jennifer                    Stager                                         $39.20
   Rachel                      Starr                                         $435.00
   Terry                       Statt                                           $8.95
   Danny                       Steffel                                       $325.00
   Steve                       Steinberg                                    $1,364.60
   Kathryn                     Stenberg                                       $50.00
   Megan                       Stepanek                                      $141.72
   Linda                       Stephan                                       $315.00
   Linda                       Stephan                                       $400.00
   Sarah                       Stephenson                                     $33.80
   Jimmy                       Stewart                                       $511.31
   Joe                         Stewart                                         $5.60
   Sara                        Stewart                                        $28.60
   Lisa                        Stifelman                                     $322.90
   Tim                         Stirrat                                       $226.30
   Nick                        Stoubis                                       $600.00
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   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Maria                        Stout                                          $37.30
   Betsy                        Stover                                        $431.25
   Griffin And Brad             Street                                         $40.76
   Eric                         Strong                                         $37.60
   Jolene                       Su                                           $1,755.00
   Matt                         Sudol                                           $8.95
   Winston                      Suk                                           $150.00
   Kate                         Sullivan                                      $557.62
   Kristen                      Sullivan                                      $759.90
   Theresa                      Summer                                        $630.53
   Rachel                       Swaby                                          $31.09
   James                        Sweeney                                      $1,157.40
   Michael                      Sweeney                                       $367.83
   Lisa                         Sweginnis                                    $2,383.56
   Jill                         Sweringen                                     $172.60
   Michael                      Szarowicz                                       $8.95
   Frank                        Tai                                           $138.13
   Irfana                       Tajuddin                                      $213.55
   Jason                        Talbott                                      $1,067.84
   Tamara                       Tamara                                          $7.49
   Angela                       Tang                                         $1,105.06
   Derek                        Tang                                          $846.25
   Alejandra                    Tapiero                                      $1,185.95
   Melania                      Tarifa                                        $274.30
   Lily                         Tarjan                                        $244.59
   Tanay                        Tatum-Edwards                                  $47.39
   Ashley                       Taylor                                        $504.11
   Rhona                        Taylor                                        $109.80
   Tiffany                      Teele                                          $81.10
   Julian                       Terkaly                                       $190.30
   Ruchi                        Thiru                                         $532.75
   Eric                         Thomas                                        $321.35
   Joseph                       Thome                                          $47.80
   Ellis                        Thompson                                       $39.25
   Mary                         Tierney                                       $151.31
   Russ                         Tisinger                                      $916.20
   Corina                       Tom                                           $258.55
   Karla                        Tomlin                                        $650.00
   Antonia                      Torreblanca                                    $77.81
   Daniel                       Torres                                         $72.10
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Munchery, Inc.
Case No. 19-30232
Schedule EF, Part 2: Group Gifts - Redeemed

   Buyer First Name             Buyer Last Name                  Group Gift Amount
   Sherice                      Torres                                        $105.27
   Judi                         Torrico                                      $2,232.00
   Mark                         Totten                                        $183.13
   Grace                        Tow-Obertik                                    $64.15
   Adrienne                     Tran                                          $114.80
   Terry                        Tran                                          $396.25
   Anne                         Trester                                       $170.90
   Bethany                      Tuggle                                        $300.00
   Amy                          Tull                                          $165.00
   Mary                         Tunnell                                       $105.00
   Brook                        Turner                                         $50.05
   Leah                         Tyler                                          $11.10
   Ms                           Ung                                            $17.90
   Omar                         Vaishnavi                                     $419.36
   Sylvia                       Vallat                                         $38.01
   Qarin                        Van Brink                                     $455.35
   Tom                          Van Waardhuizen                                $26.72
   Aaron                        Vanderwerff                                     $0.21
   Christina                    Vandunk                                       $768.95
   Shirley                      Varela                                        $186.68
   Anurag                       Varma                                          $57.98
   Andi                         Varon                                          $50.00
   Ajoy                         Vase                                            $0.61
   Arthur                       Velayo                                        $175.10
   Emily                        Velez                                         $400.33
   Yanisa                       Velez                                         $235.46
   Rosa                         Villegas                                       $61.70
   Stephanie                    Visua√±O                                        $2.35
   Kate                         Vogel                                           $4.95
   Gary                         Vosters                                        $38.01
   Stephanie                    Vrablik                                       $522.50
   Mindy                        Vredevoogd                                    $222.75
   Pauline                      W                                             $100.00
   India                        Wade                                            $8.15
   Cameron                      Waldman                                       $512.60
   Sahar                        Wali                                         $1,279.24
   Catherine                    Wallace                                        $38.35
   Melissa                      Walthers                                      $116.85
   Zheng                        Wan                                          $1,547.03
   Lela                         Ward                                           $89.15
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Case No. 19-30232
Schedule EF, Part 2: Group Gifts - Redeemed

   Buyer First Name              Buyer Last Name                  Group Gift Amount
   Pamela                        Ward                                          $507.65
   Bill                          Wardlow                                        $15.60
   Kyle                          Warneck                                         $5.20
   Jamie                         Warner                                          $5.70
   Cori-Ann                      Warren                                          $0.79
   Miriam                        Warren                                          $1.05
   Mark                          Wasacz                                        $241.66
   Amanda                        Watson                                         $35.25
   Jen                           Watson                                        $537.45
   Amy                           Way                                           $200.00
   Eden                          Way-Willliams                                 $181.53
   Mia                           Weinberg                                       $40.55
   Lisa                          Weinstein                                      $19.48
   Bobbie                        Welling                                       $183.03
   Leigh                         Wenstad                                       $700.00
   Robert                        Wertz                                          $15.76
   Desiree                       West-Mccarty                                 $1,416.25
   Andrea                        Whitmore                                        $0.25
   Donna                         Whitney                                        $20.65
   Kirsten                       Whitsett                                        $0.20
   Kristin                       Wiggins                                       $518.25
   Diana                         Williams                                      $470.00
   Leah                          Williams                                       $41.34
   Terry                         Williamson                                     $19.10
   Ann                           Wilson                                        $492.04
   Grant                         Wilson                                          $1.50
   Yitka                         Winn                                          $132.09
   Simone                        Winters                                       $190.00
   Chris                         Wire                                           $43.38
   Peter                         Wisnovsky                                     $933.44
   Shauna                        Witt                                          $522.38
   Michael                       Wittekind                                     $700.00
   Meredith                      Wold                                          $250.00
   Jennifer                      Wong                                            $3.83
   Megan                         Wong                                          $365.15
   Rebecca                       Wong                                          $270.11
   Suzanne                       Wong                                          $550.00
   Trisha                        Wood                                           $42.39
   Andrew                        Woolard                                       $220.00
   Liberty                       Worth                                           $3.80
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Munchery, Inc.
Case No. 19-30232
Schedule EF, Part 2: Group Gifts - Redeemed

   Buyer First Name              Buyer Last Name                 Group Gift Amount
   Tiffany                       Worthy                                         $3.55
   Jennifer                      Wright                                       $350.00
   Janson                        Wu                                           $441.96
   Mark                          Wu                                            $67.33
   Lauren                        Xaba                                          $71.60
   Laurel                        Yamaguchi                                    $541.05
   Caitlin                       Yamashita                                      $8.95
   Albert                        Yang                                         $123.26
   Liyan                         Yang                                          $91.01
   Samantha                      Yard                                          $75.00
   Devon                         Yates                                        $152.01
   Jeff                          Yeung                                        $124.75
   Dani                          Young                                         $16.02
   Dmitri                        Young                                        $150.00
   Jim                           Young                                        $270.15
   Betsy                         Yuan                                         $108.45
   Shannon                       Yuen                                           $7.68
   Betsy                         Zager                                        $252.00
   Patricia                      Zayas                                        $239.61
   Jacob                         Zegers                                         $1.58
   Judith                        Zeitlin                                      $864.10
   Brandon                       Zell                                           $4.10
   Adam                          Zimmerman                                     $78.80
   Liliann                       Zipfel                                       $268.82
   Sarah                         Zwingman                                     $240.94
   Total:                                                                 $329,743.05




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United States Bankruptcy Court for the Northern District of California
Case number (if known):                19-30232


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     LEASE                                                AMIN GROUP, LLC
2.1      lease is for and the nature                                                         4367 CLEAR VALLEY DR
         of the debtor's interest                                                            ENCINO, CA 91436



         State the term remaining       Ends 12/31/2019
         List the contract number of
         any government contract


         State what the contract or     SUBLEASE                                             BLUE APRON
2.2      lease is for and the nature                                                         40 WEST 23RD ST, 5TH FL
         of the debtor's interest                                                            NEW YORK, NY 10010



         State the term remaining       Ends 02/28/19
         List the contract number of
         any government contract


         State what the contract or     LEASE                                                BREATHER PRODUCTS INC
2.3      lease is for and the nature                                                         165 10TH ST
         of the debtor's interest                                                            SAN FRANCISCO, CA 94103



         State the term remaining       month-to-month
         List the contract number of
         any government contract


         State what the contract or     LEASE                                                CENTURY ENTERTAINMENT INC.
2.4      lease is for and the nature                                                         4508 DEL REY AVE
         of the debtor's interest                                                            LOS ANGELES, CA 90292



         State the term remaining       Ends 9/3/2019
         List the contract number of
         any government contract


         State what the contract or     LEASE                                                EUREKA VENTURES VI
2.5      lease is for and the nature                                                         434 NORTH CANAL, 11
         of the debtor's interest                                                            SOUTH SAN FRANCISCO, CA 94080



         State the term remaining       Ends 4/30/2025
         List the contract number of
         any government contract



  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                         Page 1 of 3
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Debtor Name            Munchery, Inc.                                                            Case number (if known): 19-30232


          Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
          State what the contract or    LEASE                                        FARZANEH AMINI
2.6       lease is for and the nature                                                260 VICENTE ST
          of the debtor's interest                                                   SAN FRANCISCO, CA 94127



          State the term remaining      Ends 7/31/2019
          List the contract number of
          any government contract


          State what the contract or    SUBLEASE                                     HIGH QUALITY NUTRITION, LLC
2.7       lease is for and the nature                                                AKA KETTLEBELL KITCHEN
          of the debtor's interest                                                   97 SUNFIELD AVE, STE C
                                                                                     EDISON, NJ 08837


          State the term remaining      Ends 12/31/19
          List the contract number of
          any government contract


          State what the contract or    SUBLEASE                                     HIGH QUALITY NUTRITION, LLC
2.8       lease is for and the nature                                                AKA KETTLEBELL KITCHEN
          of the debtor's interest                                                   97 SUNFIELD AVE, STE C
                                                                                     EDISON, NJ 08837


          State the term remaining      Ends 06/30/21
          List the contract number of
          any government contract


          State what the contract or    SUBLEASE                                     HIGH QUALITY NUTRITION, LLC
2.9       lease is for and the nature                                                AKA KETTLEBELL KITCHEN
          of the debtor's interest                                                   97 SUNFIELD AVE, STE C
                                                                                     EDISON, NJ 08837


          State the term remaining      Ends 11/30/20
          List the contract number of
          any government contract


          State what the contract or    SUBLEASE                                     LIGHT & GREEN, INC.
2.10      lease is for and the nature                                                5242 WEST WASHINGTON BLVD
          of the debtor's interest                                                   LOS ANGELES, CA 90016



          State the term remaining      Ends 08/31/19
          List the contract number of
          any government contract


          State what the contract or    SUBLEASE                                     SEMKKANN, LLC
2.11      lease is for and the nature                                                8451 SE 68TH ST, STE 200
          of the debtor's interest                                                   MERCER ISLAND, WA 98040



          State the term remaining      Ends 3/1/2021
          List the contract number of
          any government contract




  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases               Page 2 of 3
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Debtor Name         Munchery, Inc.                                                            Case number (if known): 19-30232


       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LEASE                                        TABLEART, INC.
2.12   lease is for and the nature                                                8024 MELROSE AVE
       of the debtor's interest                                                   LOS ANGELES, CA 90046



       State the term remaining      Ends 8/31/2019
       List the contract number of
       any government contract


       State what the contract or    LEASE                                        TF CORNERSTONE/95-97 HORATIO LLC
2.13   lease is for and the nature                                                387 PARK AVE SOUTH, 7TH FL
       of the debtor's interest                                                   NEW YORK, NY 10016



       State the term remaining      Ends 11/30/2020
       List the contract number of
       any government contract


       State what the contract or    LEASE                                        TOWNHOUSE MANAGEMENT
2.14   lease is for and the nature                                                FIRST YORK 86TH STREET COMPANY
       of the debtor's interest                                                   70 EAST 55TH ST
                                                                                  NEW YORK, NY 10022


       State the term remaining      Ends 11/30/2019
       List the contract number of
       any government contract


       State what the contract or    LEASE                                        WINDSOR OWNERS CORP
2.15   lease is for and the nature                                                250 PARK AVE SOUTH, 4TH FL
       of the debtor's interest                                                   NEW YORK, NY 10003



       State the term remaining      Ends 6/30/2021
       List the contract number of
       any government contract




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United States Bankruptcy Court for the Northern District of California
Case number (if known):             19-30232


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?
        No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes.
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                         Column 2: Creditor

      Name                     Mailing Address                                                   Name                                  Check all schedules
                                                                                                                                       that apply
2.1     CONRAD CHU                    2001 CENTRAL AVE, APT B                                  Windsor Owners Group                               D
                                      ALAMEDA, CA 94501
                                                                                                                                                  E/F
                                                                                                                                                  G



2.2     TRI TRAN                      44 WILLIAR AVE.                                          Area Distributors                                  D
                                      SAN FRANCISCO, CA 94112
                                                                                                                                                  E/F
                                                                                                                                                  G



2.3     TRI TRAN                      44 WILLIAR AVE.                                          DelMonte/ Chefs Warehouse                          D
                                      SAN FRANCISCO, CA 94112
                                                                                                                                                  E/F
                                                                                                                                                  G



2.4     TRI TRAN                      44 WILLIAR AVE.                                          Rocker Brothers                                    D
                                      SAN FRANCISCO, CA 94112
                                                                                                                                                  E/F
                                                                                                                                                  G




 Official Form 206H                                     Schedule H: Codebtors                                                    Page 1 of 1




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United States Bankruptcy Court for the Northern District of California
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Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                          12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.


             Declaration and signature

       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true
       and correct:


          Schedule A/B: Assets- Real and Personal Property        (Official Form 206 A/B)

          Schedule D: Creditors Who Have Claims Secured by Property           (Official Form 206 D)

          Schedule E/F: Creditors Who Have Claims Unsecured Claims            (Official Form 206 E/F)

          Schedule G: Executory Contracts and Unexpired Leases           (Official Form 206 G)

          Schedule H: Codebtors                                          (Official Form 206 H)

          Summary of Assets and Liabilities for Non-Individuals       (Official Form 206Sum)

          Amended Schedule

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
          (Official Form 204)

          Other document that requires a declaration



        I, the of the Munchery, Inc., declare under penalty of perjury that I have read the foregoing summary and schedules,
        consisting of 1093 sheets, and that they are true and correct to the best of my knowledge, information, and belief.



                                                                    /s/ James Beriker
 Executed on: 3/28/2019                                Signature ___________________________________________
              MM / DD / YYYY
                                                           James Beriker
                                                       Printed Name
                                                         CEO
                                                       Title




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